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XAVIER BECERRA, State Bar Number 118517
Attorney General of California

MARGARITA PADILLA, State Bar Number 99966
Supervising Deputy Attorney General
DENNIS L. BECK, JR., State Bar Number 179492
Deputy Attorney General
1300 I Street, Suite 125
P.O. Box 944255
Sacramento, CA 94244-2550
Telephone: (916) 210-7801
Fax: (916) 323-2319
Email: Dennis.Beck@doj.ca.gov

Attorneys for the California Department of Toxic Substances Control and
Toxic Substances Control Account

(Continued on following page)



                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA
                             FRESNO DIVISION




 THE STATE OF CALIFORNIA                            No. CV-F-96-6055 AWI LJO
 DEPARTMENT OF TOXIC SUBSTANCES
 CONTROL, et al.

                      Plaintiffs,
                                                    CONSENT DECREE
                                v.
 COAST WOOD PRESERVING, INC., et al.,

                      Defendants.




                                                                     Consent Decree
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ELLEN M. MAHAN
Deputy Section Chief
Environmental Enforcement Section
Environment and Natural Resources Division
United States Department of Justice

DAVIS H. FORSYTHE (Mass. Bar No. 667115)
Environmental Enforcement Section
Environment & Natural Resources Division
United States Department of Justice
999 18th Street, South Terrace – Suite 370
Denver, CO 80202
Telephone: 303-844-1391
Fax: 303-844-1350
Email: davis.forsythe@usdoj.gov

Attorneys for the United States of America




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                                 I.      BACKGROUND
        A.     In September 1989, the U.S. Environmental Protection Agency (“EPA”)

placed the Site, described herein in Section IV, below, on the National Priorities List

(“NPL”). Also in 1989 the California Department of Toxic Substances Control

(“DTSC”) became the lead Agency for the Site and continues to be the lead agency.

        B.     In December 1994, EPA and defendant Coast Wood Preserving, Inc., and

other respondents entered into an Administrative Order on Consent, CERCLA Docket

No. 95-06 (“1994 AOC”) that, inter alia, required Coast Wood Preserving, Inc., to

establish and to fund a $500,000 trust fund to pay for estimated future costs of Site clean-

up (the “Trust Fund”). The parties to the 1994 AOC contemplated that DTSC, as lead

agency, would be the primary beneficiary of the Trust Fund, and EPA the second

beneficiary.

        C.     In 1996, DTSC and other plaintiffs (not including the United States), filed

a complaint (“Complaint”) in this litigation against Defendant Coast Wood Preserving,

Inc. (“Performing Settling Defendant” or “Coast Wood Preserving, Inc.”); Joyce

Logsdon; and Harold Logsdon pursuant to, among other provisions of law, Section 107

of the Comprehensive Environmental Response, Compensation, and Liability Act

(“CERCLA”), 42 U.S.C. § 9607. [Docket No. 1.] DTSC in its Complaint sought, inter

alia, reimbursement of response costs it incurred in connection with response actions at

the Site.

        D.     On August 16, 2006, the Court entered a consent decree between DTSC

and the Performing Settling Defendant in this litigation [Docket No. 64] (the “2006

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Consent Decree”), that, among other provisions, required the Performing Settling

Defendant to (i) maintain the Trust Fund for the future remediation of the Site, (ii) to

review every three years the needed future remedial actions and (iii) to prepare a tri-

annual cost estimate of the needed remedial work beginning in August 2006 (the

“Remedial Cost Estimate”). The 2006 Consent Decree also required that, in the event

that the Site had not been fully remediated by July 31, 2016, that the Performing Settling

Defendant agreed to “enter into a new Custodian Fund Agreement with substantially

identical requirements on or before the date (July 31, 2016) the existing Trust Fund is

terminated.” (2006 Consent Decree, Paragraph 51.) The Custodian Fund Agreement was

extended to and including January 31, 2017, by way of a First Amendment to the

Custodian Fund Agreement. The Custodian Fund Agreement was extended to and

including June 30, 2017 by way of the Second Amendment to the Custodian Fund

Agreement, extended to and including December 31, 2017 by way of the Third

Amendment to the Custodian Fund Agreement, and again extended to and including July

31, 2018 by way of the Fourth Amendment to the Custodian Fund Agreement, which is

attached as Appendix A. The Fourth Amendment to the Custodian Fund Agreement will

be superseded by this Consent Decree on the Effective Date, as defined herein. The

United States was not a party to the 2006 Consent Decree, the Custodian Fund

Agreement, or the First or Second Amendment to the Custodian Fund Agreement.

       E.      Paragraph 63 of the 2006 Consent Decree additionally stated, among other

things, that it may be modified upon written approval of the parties to the 2006 Consent

Decree and the Court, and, in Paragraph 66, that the parties’ order for dismissal of this


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action shall expressly indicate the court’s retention of jurisdiction to enforce the terms of

the 2006 Consent Decree.

       F.      DTSC has billed Performing Settling Defendant for response costs

incurred by DTSC at or in connection with the Site, and the Performing Settling

Defendant has timely paid DTSC for its response costs billed through June 30, 2017.

       G.      EPA has billed Performing Settling Defendant for response costs incurred

by the United States at or in connection with the Site, and the Performing Settling

Defendant has timely paid EPA for its response costs due, consistent with the terms of the

1994 AOC, billed through April 30, 2016.

       H.      Performing Settling Defendant does not admit any liability to Plaintiffs, as

defined herein, arising out of the transactions or occurrences alleged in the Complaint,

nor does it acknowledge that the release or threatened release of hazardous substance(s)

at or from the Site constitutes an imminent and substantial endangerment to the public

health or welfare or the environment.

       I.      Certain individuals and personal estates and trusts associated with the Site

through past involvement with Coast Wood Preserving, Inc., including without limitation

as shareholders, project coordinators, owners, operators and/or employees (collectively

“Settling Individuals”), are also signatories to this revised Consent Decree. Joyce

Logsdon, who is among the Settling Individuals, has previously been found liable under

Section 107(a) of CERCLA in this litigation. The opportunity to participate in this

revised Consent Decree and to receive the full benefit of Section XXII (Covenants by



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Plaintiffs for Settling Individuals) provided incentive for Settling Individuals to transfer

100% of the shares of the corporate stock of Coast Wood Preserving, Inc. to new owners,

under whose ownership Coast Wood Preserving, Inc. is willing and able to enter into this

Consent Decree and assume obligations set forth herein, including completion of the

remaining Work necessary at the Site (Section VI (Performance of the Work by

Performing Settling Defendant)) and provision of necessary financial assurances for that

Work (Section XIII (Performance Guarantee)).

       J.      Settling Individuals that have entered into this Consent Decree do not

admit any liability to Plaintiffs arising out of the transactions or occurrences alleged in

the Complaint, nor do they acknowledge that the release or threatened release of

hazardous substance(s) at or from the Site constitutes an imminent and substantial

endangerment to the public health or welfare or the environment.

       K.      The FOURTH FIVE-YEAR REVIEW for the Site, completed in

September 2011 (approved by DTSC on September 22, 2011, and approved by EPA on

September 28, 2011), set forth the course of the past remediation of the Site as follows:

               1.      “In 1972, the California Department of Fish and Game notified the

Regional Water Quality Control Board (RWQCB) that chromated copper arsenate (CCA)

wood preservation solution was being discharged via surface water runoff into tributaries

of the Russian River. CWP [Coast Wood Preserving, Inc.] installed a slurry wall to

contain the chromium-impacted groundwater and began groundwater extraction and

treatment. The United States Environmental Protection Agency (EPA) listed the CWP

[Site] on the National Priorities List (NPL) in September [1983]. The Department of

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Toxic Substances Control (DTSC) has been the lead Agency overseeing the site

investigation and cleanup.”

               2.      “The remedy for soil and groundwater contamination selected in

the September 1989 Remedial Action Plan (RAP) and 1989 Record of Decision (ROD)

included paving the Site with an asphalt or concrete cap to prevent run-off and leaching

of wood treatment solutions to the subsurface; installation of a downgradient slurry wall;

groundwater extraction, treatment and reinjection; and soil excavation and off-site

disposal after plant closure. Institutional controls were also implemented at the Site

through a Land Use Covenant between DTSC and CWP, which imposes a limitation on

the Site for non-residential use only.”

               3.      “In July 1999, DTSC approved an amendment to the 1989 RAP

which changed the remedial action for groundwater from extraction and treatment to in

situ reduction and fixation of hexavalent chromium via direct injection and infiltration of

calcium polysulfide reductant. The RAP Amendment also included a provision for using

the in situ reduction and fixation for treating hexavalent chromium in soil. EPA

concurred with the 1999 RAP Amendment in a letter dated August 25, 1999. Since the

initiation of reductant injection and infiltration, chromium concentrations have decreased

dramatically as compared to the former groundwater extraction remedy. Groundwater

extraction controlled the spread of contamination, but was limited in its effectiveness in

reducing chromium concentrations due to the low permeability of the Site subsurface soil

and seasonal fluctuations of groundwater levels. Since 1990, no groundwater




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contamination above the arsenic or chromium Maximum Contaminant Level (MCL) has

been detected beyond the CWP property boundary.”

                 4.    “In August 2003, DTSC prepared and EPA concurred with an

Explanation of Significant Differences (ESD). The ESD revised the cleanup goals for

hexavalent chromium and arsenic in soil to 42 milligrams per kilogram (mg/kg) and 27

mg/kg, respectively. The ESD also modified the timing and the scope of the soil

remediation. The RAP anticipated that soil cleanup would not be undertaken until the

cessation of wood-preservation activities at the Site. In 2003, CWP proposed that some

accessible contaminated soil could be remediated during plant operation due to upgrades

that were being made. The ESD documented the modification of the scope and timing of

soil cleanup.”

       L.        A work plan was developed and approved by DTSC on December 13,

2002, for soil sampling within the accessible area south of the wood treatment area

on the Site. This soil sampling results identified the areas contaminated with arsenic

and hexavalent chromium above the soil cleanup goals. From September 2003 to

February 2004, approximately 2,966 tons of accessible, impacted soil and surface

cover material were removed in three excavation phases south of the wood treatment

area on the Site and hauled to a permitted landfill for disposal. The soil removal was

documented in the report titled "Final Summary of Removal and Replacement of

Accessible Contaminated Soil at the Coast Wood Preserving Facility Ukiah,

California,” dated April 14, 2004 (revised June 14, 2004) (MWH, 2004b) (the “Final




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Accessible Soil Summary Report”). DTSC approved the Final Accessible Soil

Summary Report in writing on June 18, 2004.

       M.        In 2005, Coast Wood Preserving, Inc., conducted additional removal of

approximately 2,734 tons of accessible soil beneath the former northern storm water

tank farm and former 330,000-gallon water tank after these tanks had been removed.

The soil removal was documented in the report titled "Final Summary of

Characterization and Removal of Soil Beneath the Former Northern Storm Water

Tank Farm and the 330,000-Gallon Water Tank (Report) for the Coast Wood

Preserving Facility Ukiah, California,” dated January 13, 2006 (revised September 22,

2006) (the “Final Tank Removal Soil Summary Report”). DTSC approved the Final

Tank Removal Soil Summary Report in writing on November 8, 2006.

       N.        In 2006, Coast Wood Preserving, Inc., conducted additional removal of

accessible soil beneath the new and former mix tank farm and associated utility trench

after these tanks and surface fixtures had been removed. The soil removal was

documented in the report titled "Final Summary of Characterization and Removal of

Soil Beneath the New and Former Mix Tank Farm and Associated Utility Trench at

the Coast Wood Preserving Facility Ukiah, California,” dated December 19, 2006

(revised February 26, 2007) (the “Final Mix Tank Removal Soil Summary Report”).

DTSC approved the Final Mix Tank Removal Soil Summary Report in writing on

April 6, 2007.

       O.        The current Remedial Cost Estimate, dated April 29, 2016, generally

covers the costs of removing currently inaccessible soil beneath current wood

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treatment operation areas and ongoing groundwater treatment and monitoring. It was

reviewed and approved by DTSC on June 29, 2016.

       P.     The Fifth Five-Year Review “recommends assessing the current

remedy considering the site-specific risk for hexavalent chromium and consider

whether it is appropriate to modify the remedy to include the new MCL [for

hexavalent chromium].” The referenced “new MCL” of 10 µg/L is no longer

applicable, due to the May 5, 2017 ruling in California Manufacturer’s &

Technology Ass’n., et al. v. State Water Resources Control Board, Sacramento

County Superior Court Case No. 34-2014-80001850. Nevertheless, DTSC, after

consultation with EPA, currently believes that (1) the current remedy would be fully

protective of human health and the environment in both the short and long term if the

Performance Standards were modified to cleanup levels of 10 µg/L for hexavalent

chromium and (ii) changes to the remedy design and remedy implementation will not

be needed to achieve groundwater cleanup levels of 10 µg/L for hexavalent

chromium because, as stated in the Fifth Five-Year Review, “The remedy at the

Coast Wood Preserving Superfund Site currently protects human health and the

environment because the remedy is functioning as intended and no exposure

pathways to contaminated media exist.” (Fifth Five-Year Review at page ii.)

Additionally, the Land Use Covenant recorded with respect to the Site (attached as

Appendix B) limits the land uses at the Site to commercial and industrial uses and

restricts the extraction of groundwater at the Site, which the Parties currently believe




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will provide long term protection from contaminated soil and groundwater at the

Site.

        Q.     Based on the information presently available to EPA and DTSC, EPA and

DTSC believe that the Work will be properly and promptly conducted by Performing

Settling Defendant if conducted in accordance with the requirements of this Consent

Decree and its appendices.

        R.     Solely for the purposes of Section 113(j) of CERCLA, 42 U.S.C. §

9613(j), the remedy set forth in the Remedial Cost Estimate and the Work to be

performed by Performing Settling Defendant shall constitute a “response action taken or

ordered by the President for which judicial review shall be limited to the administrative

record.”

        S.     The Parties recognize, and the Court by entering this Consent Decree

finds, that this Consent Decree has been negotiated by the Parties in good faith and that

implementation of this Consent Decree will expedite the cleanup of the Site and will

avoid prolonged and complicated litigation between the Parties, and that this Consent

Decree is fair, reasonable, and in the public interest.

        NOW, THEREFORE, it is hereby Ordered, Adjudged, and Decreed:

                                  II.     JURISDICTION
        1.     This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1345, and 42 U.S.C. §§ 9606, 9607, and 9613(b). This Court

also has personal jurisdiction over Performing Settling Defendant and Settling



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Individuals. Solely for the purposes of this Consent Decree and the underlying

Complaint, Performing Settling Defendant and Settling Individuals waive all objections

and defenses that they may have to jurisdiction of the Court or to venue in this District.

Performing Settling Defendant and Settling Individuals shall not challenge the terms of

this Consent Decree or this Court’s jurisdiction to enter and enforce this Consent Decree.

                                III.    PARTIES BOUND
         2.    This Consent Decree applies to and is binding upon the Plaintiffs and upon

Performing Settling Defendant and its successors and assigns. Any change in ownership

or corporate status of Performing Settling Defendant including, but not limited to, any

transfer of assets or real or personal property, shall in no way alter Performing Settling

Defendant’s responsibilities under this Consent Decree. This Consent Decree also

applies to and is binding upon the Settling Individuals to the extent provided in Section

III.4.

         3.    Performing Settling Defendant shall provide a copy of this Consent

Decree to each contractor hired to perform the Work required by this Consent Decree and

to each person representing Performing Settling Defendant with respect to the Site or the

Work, and shall condition all contracts entered into hereunder upon performance of the

Work in conformity with the terms of this Consent Decree. Performing Settling

Defendant or its contractors shall provide written notice of the Consent Decree to all

subcontractors hired to perform any portion of the Work required by this Consent Decree.

Performing Settling Defendant shall nonetheless be responsible for ensuring that its

contractors and subcontractors perform the Work in accordance with the terms of this


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Consent Decree. With regard to the activities undertaken pursuant to this Consent

Decree, each contractor and subcontractor shall be deemed to be in a contractual

relationship with Performing Settling Defendant within the meaning of Section 107(b)(3)

of CERCLA, 42 U.S.C. § 9607(b)(3).

       4.      Certain Sections and Paragraphs of this Consent Decree address the

specific obligations and covenants applicable to Settling Individuals, and accordingly

only the following Sections and Paragraphs apply to and are binding upon Settling

Individuals: (a) Section I (Background); (b) Section II (Jurisdiction); (c) Section IV

(Definitions); (d) Section XXII (Covenants by Plaintiffs for Settling Individuals); (e)

Section XXIII (Covenants by Performing Settling Defendant and Settling Individuals for

Plaintiffs); (f) Section XXIV (Effect of Settlement; Contribution); (g) Paragraph 114

(Surrender of Site-related Records by Settling Individuals); (h) Section XXVIII

(Retention of Jurisdiction); (i) Section XXXI (Modification); (j) Section XXXII (Lodging

and Opportunity for Public Comment); and (k) Section XXXIII (Signatories/Service).

                                  IV.     DEFINITIONS
       5.      Unless otherwise expressly provided in this Consent Decree, terms used in

this Consent Decree that are defined in CERCLA or in regulations promulgated under

CERCLA shall have the meaning assigned to them in CERCLA or in such regulations.

Whenever terms listed below are used in this Consent Decree or its appendices, the

following definitions shall apply solely for purposes of this Consent Decree:




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       “1994 AOC” shall mean the December 4, 1994 Administrative Order on Consent,

CERCLA Docket No. 95-06, between EPA and Performing Settling Defendant and other

respondents. The 1994 AOC is attached as Appendix C.

       “2003 ESD” shall mean the Explanation of Significant Differences prepared by

DTSC, and concurred to by EPA, in August 2003.

       “2006 Consent Decree” shall mean the prior consent decree entered by this Court

on August 16, 2006 [Docket No. 64].

       “CERCLA” shall mean the Comprehensive Environmental Response,

Compensation, and Liability Act, 42 U.S.C. §§ 9601-9675.

       “Coast Wood Preserving Special Account (SSID 0945)” shall mean the special

account, within the EPA Hazardous Substance Superfund, established for the Site by

EPA pursuant to Section 122(b)(3) of CERCLA, 42 U.S.C. § 9622(b)(3).

       “Consent Decree” shall mean this Consent Decree and all appendices attached

hereto (listed in Section XXIX). In the event of conflict between this Consent Decree

and any appendix, this Consent Decree shall control.

       “Day” or “day” shall mean a calendar day unless expressly stated to be a working

day. The term “working day” shall mean a day other than a Saturday, Sunday, or federal

or state holiday. In computing any period of time under this Consent Decree, where the

last day would fall on a Saturday, Sunday, or federal or state holiday, the period shall run

until the close of business of the next working day.




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       “DOJ” shall mean the United States Department of Justice and its successor

departments, agencies, or instrumentalities.

       “DTSC” shall mean the State of California Department of Toxic Substances

Control and any successor departments or agencies of the State of California.

       “DTSC Future Response Costs” shall mean all costs, including, but not limited to,

direct and indirect costs, that DTSC incurs, after the Effective Date, in reviewing or

developing plans, reports, and other deliverables submitted pursuant to this Consent

Decree, in overseeing implementation of the Work, or otherwise implementing,

overseeing, or enforcing this Consent Decree, including, but not limited to, payroll costs,

contractor costs, travel costs, laboratory costs, the costs incurred pursuant to Paragraph 9

(Permits), Paragraph 10 (Notice to Successors-in-Title and Transfers of Real Property),

Section VII (Remedy Review), Section IX (Access and Institutional Controls) (including,

but not limited to, the cost of attorney time and any monies paid to secure access and/or

to secure, implement, monitor, maintain, or enforce Institutional Controls including, but

not limited to, the amount of just compensation), Section XV (Emergency Response),

Paragraph 48 (Funding for Work Takeover), and Section XXX (Community

Involvement). DTSC Future Response Costs shall also include all DTSC Interim

Response Costs.

       “DTSC Interest” shall mean interest at the rate specified in California Health and

Safety Code § 25360.1.




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       “DTSC Interim Response Costs” shall mean all costs, including, but not limited

to, direct and indirect costs, (a) paid by DTSC in connection with the Site between July 1,

2017, and the Effective Date, or (b) incurred by DTSC in connection with the Site prior

to the Effective Date but paid by DTSC after that date.

       “Effective Date” shall mean the later of: (1) the date upon which this Consent

Decree is entered by the Court as recorded on the Court docket, or, if the Court instead

issues an order approving the Consent Decree, the date such order is recorded on the

Court docket; or (2) the date upon which a consent decree resolving the claims of the

United States and DTSC in the related case United States v. Valley Wood Preserving,

Inc., et. al., Civil Action No. 94-5984, is entered by the Court as recorded on the Court

docket, or if the Court instead issues an order approving the consent decree, the date such

order is recorded in the Court docket.

       “EPA” shall mean the United States Environmental Protection Agency and its

successor departments, agencies, or instrumentalities.

       “EPA Hazardous Substance Superfund” shall mean the Hazardous Substance

Superfund established by the Internal Revenue Code, 26 U.S.C. § 9507.

       “Groundwater Monitoring Plan” shall mean the Monitoring and Reporting

Program Order No. R1-2012-0055 for Coast Wood Preserving issued by the California

Regional Water Quality Control Board, North Coast Region, dated April 3, 2012.

       “Institutional Controls” or “ICs” shall mean Proprietary Controls and state or

local laws, regulations, ordinances, zoning restrictions, or other governmental controls or


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notices that: (a) limit land, water, and/or resource use to minimize the potential for human

exposure to Waste Material at or in connection with the Site; (b) limit land, water, and/or

resource use to implement, ensure non-interference with, or ensure the protectiveness of

the Remedial Action; and/or (c) provide information intended to modify or guide human

behavior at or in connection with the Site.

       “Interest” for EPA shall mean interest at the rate specified for interest on

investments of the EPA Hazardous Substance Superfund established by 26 U.S.C.

§ 9507, compounded annually on October 1 of each year, in accordance with 42 U.S.C.

§ 9607(a). The applicable rate of interest shall be the rate in effect at the time the interest

accrues. The rate of interest is subject to change on October 1 of each year.

           “National Contingency Plan” or “NCP” shall mean the National Oil and

Hazardous Substances Pollution Contingency Plan promulgated pursuant to Section 105

of CERCLA, 42 U.S.C. § 9605, codified at 40 C.F.R. Part 300, and any amendments

thereto.

       “Operation and Maintenance” or “O&M” shall mean all activities required to

operate, maintain, and monitor the effectiveness of the Remedial Action as specified in

the SOW, Remedial Cost Estimate, or any DTSC-approved O&M Plan.

       “Paragraph” shall mean a portion of this Consent Decree identified by an Arabic

numeral or an upper or lower case letter.

       “Parties” shall mean the Plaintiffs, Performing Settling Defendant and Settling

Individuals.


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        “Performance Standards” shall mean the cleanup standards and other measures of

achievement of the goals of the Remedial Action, set forth in the general assumptions of

the Remedial Cost Estimate and any modified standards established pursuant to this

Consent Decree, which include specifically the soil and groundwater Performance

Standards for total chromium, hexavalent chromium, and arsenic as listed in the table

below and established pursuant to the ROD and ESD.

           Soil Cleanup Goals                         Groundwater Cleanup Goals
 Total Chromium       100 mg/kg1                Total Chromium     50 µg/L 3
 Hexavalent           42 mg/kg2                 Hexavalent         50 µg/L4
 Chromium                                       Chromium
 Arsenic              27 mg/kg2                 Arsenic            10 µg/L5
 1
   Applicable or relevant and appropriate       3
                                                  ARARs as shown in the 1989 ROD (Section
 requirement (ARARs) as shown in the 2003 ESD   6.3.1, p. 30, and Table 10, p. 56).
 page 4.                                        4
                                                  ARARs as shown in the 1989 ROD (Table 10, p.
 2
   ARARs as shown in the 2003 ESD Page 3.       56)
                                                5
                                                  The California MCL for arsenic is 10 µg/L as of
                                                November 28, 2008.

                                                µg/L = micrograms per liter.




       “Performing Settling Defendant” shall mean Coast Wood Preserving, Inc.

       “Plaintiffs” shall mean the United States, DTSC, and the California Toxic

Substances Control Account.

       “Proprietary Controls” shall mean easements or covenants running with the land

that (a) limit land, water, or resource use and/or provide access rights and (b) are created

pursuant to common law or statutory law by an instrument that is recorded by the owner

in the appropriate land records office.


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       “RCRA” shall mean the Solid Waste Disposal Act, 42 U.S.C. §§ 6901-6992 (also

known as the Resource Conservation and Recovery Act).

       “Record of Decision” or “ROD” shall mean the EPA Record of Decision relating

to the Site signed on September 29, 1989, by the Regional Administrator, EPA Region

IX, or his/her delegate, and all attachments thereto. The ROD is attached as Appendix D.

       “Remedial Action” shall mean all activities Performing Settling Defendant is

required to perform under the Consent Decree to implement the ROD and RAP, in

accordance with the SOW, Remedial Cost Estimate and other plans approved by DTSC,

including implementation of Institutional Controls, until the Performance Standards are

met, and excluding performance of O&M and the activities required under Section XXVI

(Retention of Records).

       “Remedial Action Plan” or “RAP” shall mean the 1989 RAP as amended by the

1999 RAP Amendment and later revised by the 2003 ESD. The RAP including the RAP

Amendment and ESD is attached at Appendix E.

       “Remedial Cost Estimate” shall mean the Remedial Cost Estimate for Coast

Wood Preserving dated April 29, 2016, and reviewed and approved by DTSC on June 29,

2016, including the “Revised Appendix A Third Revision April 2016.” The current

Remedial Cost Estimate is attached as Appendix F. The next Remedial Cost Estimate

must be submitted for review and approval by DTSC by April 1, 2021, and shall be

submitted every five years thereafter until such time that the Five-Year Review

requirement under the NCP no longer requires such Five-Year Reviews.



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       “Section” shall mean a portion of this Consent Decree identified by a Roman

numeral.

        “Settling Individuals” shall mean the Michael Logsdon Wood Trust, the Schmidt

Wood Trust, Joyce Logsdon and Eugene E. Pietila, all of whom hold, or have previously

held, shares in Coast Wood Preserving, Inc., and Robert Schmidt, who was formerly the

designated Project Coordinator for the Coast Wood Preserving, Inc. Site.

       “Site” shall mean the Coast Wood Preserving, Inc. facility located at the

southwest corner of Taylor Drive and Plant Roads on the southern side of the City of

Ukiah, Mendocino County, California, which includes approximately 8 acres and is

generally identified as Mendocino County Assessor Parcel Numbers 184-140-08 and

184-110-11. The Site includes all areas, including those areas outside the described

parcels, where hazardous substances disposed of at the Coast Wood Preserving, Inc.

facility or released from the Coast Wood Preserving, Inc. facility have come to be

located. The Site is depicted generally on the map attached as Appendix G.

       “State” shall mean the State of California.

       “Statement of Work” or “SOW” shall mean the statement of work for

implementation of the Remedial Design, Remedial Action, and O&M at the Site, as set

forth in Appendix H to this Consent Decree and any modifications made in accordance

with this Consent Decree.




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       “Supervising Contractor” shall mean the principal contractor retained by

Performing Settling Defendant to supervise and direct the implementation of the Work

under this Consent Decree.

       “Toxic Substances Control Account” shall mean the account within the State of

California General Fund, established by California Health and Safety Code § 25173.6.

and administered by the director of DTSC, which, under California Health and Safety

Code §25361(a), is a party in any action for recovery of response costs or expenditures

incurred from the account under Chapter 6.8 of Division 20 of the California Health and

Safety Code.

       “Transfer” shall mean to sell, assign, convey, lease, mortgage, or grant a security

interest in, or where used as a noun, a sale, assignment, conveyance, or other disposition

of any interest by operation of law or otherwise.

       “United States” shall mean the United States of America and each department,

agency, and instrumentality of the United States, including EPA.

       “United States Future Response Costs” shall mean all costs, including, but not

limited to, direct and indirect costs, that the United States incurs in reviewing or

developing plans, reports, and other deliverables submitted pursuant to this Consent

Decree, in overseeing implementation of the Work, or otherwise implementing,

overseeing, or enforcing this Consent Decree, including, but not limited to, payroll costs,

contractor costs, travel costs, laboratory costs, the costs incurred pursuant to Paragraph

10 (Notice to Successors-in-Title and Transfers of Real Property), Section VII (Remedy

Review), Section IX (Access and Institutional Controls) (including, but not limited to, the

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cost of attorney time and any monies paid to secure access and/or to secure, implement,

monitor, maintain, or enforce Institutional Controls including, but not limited to, the

amount of just compensation), Section XV (Emergency Response), Paragraph 48

(Funding for Work Takeover), and Section XXX (Community Involvement). Future

Response Costs shall also include all United States Interim Response Costs.

       “United States Interim Response Costs” shall mean all costs, including, but not

limited to, direct and indirect costs, (a) paid by the United States in connection with the

Site between May 1, 2016, and the Effective Date, or (b) incurred prior to the Effective

Date but paid after that date.

       “United States Past Response Costs” shall mean fifty-seven thousand, four

hundred and fifty and 38/100 dollars ($57,450.38) in unreimbursed costs, including, but

not limited to, direct and indirect costs, that the United States paid at or in connection

with the Site from and including March 1, 1994 through and including April 30, 2016.

       “Waste Material” shall mean (1) any “hazardous substance” under Section

101(14) of CERCLA, 42 U.S.C. § 9601(14); (2) any pollutant or contaminant under

Section 101(33) of CERCLA, 42 U.S.C. § 9601(33); (3) any “solid waste” under Section

1004(27) of RCRA, 42 U.S.C.§ 6903(27); and (4) any California Non-RCRA hazardous

waste, pursuant to the California Code of Regulations (CCR) Title 22, Section 66261.

       “Work” shall mean all activities and obligations Performing Settling Defendant is

required to perform under this Consent Decree, except the activities required under

Section XXVI (Retention of Records).



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                            V.      GENERAL PROVISIONS
       6.      Objectives of the Parties. The objectives of the Parties in entering into this

Consent Decree are: (1) to protect public health or welfare or the environment by the

design and implementation of response actions at the Site by Performing Settling

Defendant; (2) to resolve the claims of Plaintiffs against Performing Settling Defendant

as provided in this Consent Decree; and (3) to resolve the claims or potential claims of

Plaintiffs against Settling Individuals in connection with the Site as provided in this

Consent Decree.

       7.      Commitments by Performing Settling Defendant. Performing Settling

Defendant shall finance and perform the Work in accordance with this Consent Decree,

Remedial Cost Estimate, the SOW, and all work plans and other plans, standards,

specifications, and schedules set forth in this Consent Decree or developed by Performing

Settling Defendant and approved by DTSC or EPA pursuant to this Consent Decree.

Performing Settling Defendant shall pay for DTSC Future Response Costs, United States

Future Response Costs, and United States Past Response Costs as provided in this

Consent Decree.

       8.      Compliance With Applicable Law. All activities undertaken by

Performing Settling Defendant pursuant to this Consent Decree shall be performed in

accordance with the requirements of all applicable federal, state and local laws and

regulations. Performing Settling Defendant must also comply with all applicable or

relevant and appropriate requirements of all federal and state environmental laws as set

forth in Remedial Cost Estimate and the SOW and the Performance Standards defined in


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the Consent Decree. The activities conducted pursuant to this Consent Decree, if

approved by DTSC or EPA, shall be deemed to be consistent with the NCP.

       9.      Permits.

              a.        As provided in Section 121(e) of CERCLA, 42 U.S.C. § 9621(e),

and Section 300.400(e) of the NCP, no permit shall be required for any portion of the

Work conducted entirely on-Site (i.e., within the areal extent of contamination or in very

close proximity to the contamination and necessary for implementation of the Work).

Where any portion of the Work that is not on-Site requires a federal, state or local permit

or approval, Performing Settling Defendant shall submit timely and complete

applications and take all other actions necessary to obtain all such permits or approvals.

              b.        Performing Settling Defendant may seek relief under the

provisions of Section XVIII (Force Majeure) for any delay in the performance of the

Work resulting from a failure to obtain, or a delay in obtaining, any permit or approval

referenced in Paragraph 9.a. and required for the Work, provided that it has submitted

timely and complete applications and taken all other actions necessary to obtain all such

permits or approvals.

              c.        This Consent Decree is not, and shall not be construed to be, a

permit issued pursuant to any federal, state or local statute or regulation.

              d.        DTSC agrees that any DTSC permit relating to the Work shall be

conformed to the requirements of this Consent Decree, and that to the extent such

conformance does not occur (or for any period during which such conformance has not


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occurred) and relates to Work that is on-Site, such permit shall be inapplicable to the

Work pursuant to Section 121(e) of CERCLA, 42 U.S.C. § 9621(e).

       10.     Notice to Successors-in-Title and Transfers of Real Property.

              a.       Performing Settling Defendant shall, at least 60 days prior to any

Transfer of any real property comprising part of the Site, give written notice: (1) to the

transferee regarding the Consent Decree and any Institutional Controls regarding the real

property; and (2) to DTSC and EPA regarding the proposed Transfer, including the name

and address of the transferee and the date on which the transferee was notified of the

Consent Decree and any Institutional Controls.

              b.       Performing Settling Defendant recorded the Institutional Control

(Land Use Covenant) on November 29, 1989, with the County of Mendocino (Official

Records of the Recorders Office: Book 1729, Page 564). (Appendix B.)

              c.       In the event of any Transfer of real property comprising part of the

Site, unless DTSC otherwise consents in writing, after reasonable opportunity for review

and comment by EPA, Performing Settling Defendant shall continue to comply with its

obligations under the Consent Decree, including, but not limited to, its obligation to

provide and/or secure access; to implement, maintain, monitor, and report on Institutional

Controls; and to abide by such Institutional Controls.

       11.     Effect of this Consent Decree on 2006 Consent Decree and Administrative

Order on Consent. The obligations, liabilities and duties of Performing Settling

Defendant contained in this Consent Decree supersede and replace any obligations,


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liabilities and duties of Performing Settling Defendant set forth in: (a) the 2006 Consent

Decree that was entered by the Court on August 16, 2006 [Docket No. 64]; and (b) the

1994 AOC, with the sole exception set forth in Paragraph 54.a regarding payment of the

United States Past Response Costs.

      VI.     PERFORMANCE OF THE WORK BY PERFORMING SETTLING
                             DEFENDANT

       12.     Selection of Supervising Contractor.

              a.      All aspects of the Work to be performed by Performing Settling

Defendant pursuant to Sections VI (Performance of the Work by Performing Settling

Defendant), VIII (Quality Assurance, Sampling, and Data Analysis), IX (Access and

Institutional Controls), and XV (Emergency Response) shall be under the direction and

supervision of the Supervising Contractor. Performing Settling Defendant selected and,

after reasonable opportunity for review and comment by EPA, DTSC approved hiring by

Performing Settling Defendant of the following person as Supervising Contractor: Mark

Underwood of EnvironAnalytics Group, LLC. If at any time hereafter, Performing

Settling Defendant proposes to change this Supervising Contractor, Performing Settling

Defendant shall give such notice to EPA and DTSC and must obtain an authorization to

proceed from DTSC, after a reasonable opportunity for review and comment by EPA,

before the new Supervising Contractor performs, directs, or supervises any Work under

this Consent Decree. Performing Settling Defendant shall demonstrate that the proposed

replacement contractor has a quality assurance system that complies with ANSI/ASQC

E4-1994, “Specifications and Guidelines for Quality Systems for Environmental Data


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Collection and Environmental Technology Programs” (American National Standard,

January 5, 1995), by submitting a copy of the proposed contractor’s Quality Management

Plan (“QMP”). The QMP should be prepared in accordance with “EPA Requirements for

Quality Management Plans (QA/R-2)” (EPA/240/B-01/002, March 2001, reissued May

2006) or equivalent documentation as determined by EPA.

              b.      If DTSC disapproves a replacement Supervising Contractor, DTSC

will notify Performing Settling Defendant in writing. Performing Settling Defendant

shall submit to DTSC and EPA a list of contractors, including the qualifications of each

contractor, that would be acceptable to it within 30 days after receipt of DTSC’s

disapproval of the contractor previously proposed. DTSC will provide written notice of

the names of any contractor(s) that it approves and an authorization to proceed with

respect to those contractors. Performing Settling Defendant may select any contractor

from that list and shall notify DTSC and EPA of the name of the contractor selected

within twenty-one (21) days after DTSC’s authorization to proceed.

              c.      If DTSC fails to provide written notice of its authorization to

proceed or disapproval as provided in this Paragraph and this failure prevents Performing

Settling Defendant from meeting one or more deadlines in a plan approved by DTSC

pursuant to this Consent Decree, Performing Settling Defendant may seek relief under

Section XVIII (Force Majeure).

       13.     Remedial Design and Remedial Action




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              a.      Performing Settling Defendant shall conduct the following

remedial action for the Site: removal of contaminated soil following the cessation of

wood treatment business operations at the Site and an assessment and implementation of

any necessary institutional and engineering controls, including paving soil remediation

areas if necessary, and continued groundwater sampling and management until

Performance Standards have been met in all Site wells.

              b.      Performing Settling Defendant has already submitted the Remedial

Cost Estimate (Appendix F). DTSC has approved the Remediation Cost Estimate and it

is incorporated into and is an enforceable part of this Consent Decree.

              c.      Performing Settling Defendant has already submitted a Site Health

and Safety Plan for field activities required by the Remedial Cost Estimate that DTSC

and EPA has reviewed and that conforms to the applicable Occupational Safety and

Health Administration and EPA requirements including, but not limited to, 29 C.F.R. §

1910.120.

              d.      Performing Settling Defendant. shall conduct activities and submit

deliverables to EPA and DTSC for completion of the removal of contaminated soil

following the cessation of wood treatment business operations at the Site and continued

groundwater sampling and management as set forth in this Consent Decree and the SOW.

              e.      Performing Settling Defendant shall continue to implement the

Remedial Action until the Performance Standards are achieved. Performing Settling

Defendant shall implement O&M for so long thereafter as is required by the Land Use



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Covenant, Groundwater Monitoring Plan, Remedial Cost Estimate, the SOW, or any

other portion of this Consent Decree and consistent with CERCLA Section 121(c), 42

U.S.C. § 9621(c).

       14.     Modification of SOW or Related Work Plans.

              a.       If DTSC determines that it is necessary to modify the work

specified in the SOW and/or in work plans already submitted to and approved by DTSC

or developed pursuant the SOW, in order to achieve and maintain the Performance

Standards or to carry out and maintain the effectiveness of the remedy set forth in the

Remedial Cost Estimate and this Consent Decree, and such modification is consistent

with the scope of the remedy set forth in the Remedial Cost Estimate and this Consent

Decree, then DTSC may, after a reasonable opportunity for review and comment by EPA,

issue such modification in writing and shall notify Performing Settling Defendant of such

modification. For the purposes of this Paragraph and Paragraphs 50 (Completion of the

Remedial Action) and 51 (Completion of the Work) only, the scope of the remedy is:

The removal of contaminated soil following the cessation of wood treatment business

operations at the Site and an assessment and implementation of any necessary

institutional and engineering controls, including paving soil remediation areas if

necessary, and continued groundwater sampling and management until Performance

Standards are met in all Site wells. If Performing Settling Defendant objects to the

modification it may, within 30 days after DTSC’s notification, seek dispute resolution

under Paragraph 72 (Record Review) Section XIX.




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               b.      The SOW and/or related work plans shall be modified (1) in

accordance with the modification issued by DTSC, or (2) if Performing Settling

Defendant invokes dispute resolution, in accordance with the final resolution of the

dispute. The modification shall be incorporated into and enforceable under this Consent

Decree, and Performing Settling Defendant shall implement all work required by such

modification. Performing Settling Defendant shall incorporate the modification into the

Remedial Cost Estimate under Paragraph 13 (Remedial Design and Remedial Action).

               c.      Nothing in this Paragraph shall be construed to limit DTSC’s or

EPA’s authority to require performance of further response actions as otherwise provided

in this Consent Decree.

       15.     Nothing in this Consent Decree, the SOW, or the Remedial Cost Estimate

constitutes a warranty or representation of any kind by Plaintiffs that compliance with the

work requirements set forth in the SOW and the work plans will achieve the Performance

Standards.

       16.     Off-Site Shipment of Waste Material.

               a.      Performing Settling Defendant may ship Waste Material from the

Site pursuant to this Consent Decree to an off-Site facility only if it verifies, prior to any

shipment, that the off-Site facility is operating in compliance with the requirements of

Section 121(d)(3) of CERCLA, 42 U.S.C. § 9621(d)(3), and 40 C.F.R. § 300.440, by

obtaining a determination from EPA that the proposed receiving facility is operating in

compliance with 42 U.S.C. § 9621(d)(3) and 40 C.F.R. § 300.440.



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              b.       Performing Settling Defendant may ship Waste Material from the

Site pursuant to this Consent Decree to an out-of-state waste management facility only if,

prior to any shipment, it provides written notice to the appropriate state environmental

official in the receiving facility’s state and to the DTSC and EPA Project Managers. This

notice requirement shall not apply to any off-Site shipments when the total quantity of all

such shipments will not exceed ten cubic yards. The written notice shall include the

following information, if available: (1) the name and location of the receiving facility; (2)

the type and quantity of Waste Material to be shipped; (3) the schedule for the shipment;

and (4) the method of transportation. Performing Settling Defendant shall also notify the

state environmental official referenced above and the DTSC and EPA Project Managers

of any major changes in the shipment plan, such as a decision to ship the Waste Material

to a different out-of-state facility. Performing Settling Defendant shall provide the

written notice after the award of the contract for Remedial Action construction and before

the Waste Material is shipped.

                                 VII.   REMEDY REVIEW
       17.     Periodic Review. Performing Settling Defendant shall conduct any studies

and investigations that DTSC or EPA requests in order to permit DTSC or EPA to

conduct reviews of whether the Remedial Action is protective of human health and the

environment at least every five years as required by Section 121(c) of CERCLA, 42

U.S.C. § 9621(c), and any applicable regulations.

       18.     Selection of Further Response Actions. If DTSC or EPA determines, at

any time, that the Remedial Action is not protective of human health and the


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environment, DTSC, with concurrence from EPA, may select further response actions for

the Site in accordance with the requirements of CERCLA and the NCP, or DTSC may

select further response actions for the Site in accordance with applicable state law.

       19.     Opportunity To Comment. Performing Settling Defendant and, if required

by Sections 113(k)(2) or 117 of CERCLA, 42 U.S.C. § 9613(k)(2) or 9617, the public,

will be provided with an opportunity to comment on any further response actions

proposed by DTSC, with concurrence from EPA, as a result of the review conducted

pursuant to Section 121(c) of CERCLA and to submit written comments for the record

during the comment period.

       20.     Performing Settling Defendant’s Obligation To Perform Further Response

Actions. If DTSC, with concurrence from EPA, selects further response actions relating

to the Site, DTSC, in consultation with EPA, may require Performing Settling Defendant

to perform such further response actions, but only to the extent that the reopener

conditions in Paragraph 90 or Paragraph 91 (DTSC’s Pre- and Post-Certification

Reservations) are satisfied. Performing Settling Defendant may invoke the appropriate

procedures set forth in Section XIX (Dispute Resolution) to dispute (a) DTSC’s

determination that the reopener conditions of Paragraph 90 or Paragraph 91 are satisfied,

(b) DTSC’s or EPA’s determination that the Remedial Action is not protective of human

health and the environment, or (c) DTSC’s selection of the further response actions.

Disputes pertaining to whether the Remedial Action is protective or to selection of further

response actions shall be resolved pursuant to Paragraph 72 (Record Review) for

decisions made by DTSC and Paragraph 67 (Record Review) for decisions made by the

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United States, respectively. For purposes of satisfying the reopener conditions in

Paragraph 90 or 91 (DTSC’s Pre- and Post-Certification Reservations), establishment of a

new California MCL for hexavalent chromium will constitute “information, previously

unknown” to DTSC and EPA.

       21.     Submission of Plans. If Performing Settling Defendant is required to

perform further response actions pursuant to Paragraph 20, it shall submit a plan for such

response action to DTSC and EPA, for approval by DTSC, in consultation with EPA, in

accordance with the procedures of Section VI (Performance of the Work by Performing

Settling Defendant). Performing Settling Defendant shall implement the approved plan

in accordance with this Consent Decree.

       VIII.   QUALITY ASSURANCE, SAMPLING, AND DATA ANALYSIS
       22.     Quality Assurance.

               a.     Performing Settling Defendant shall use quality assurance, quality

control, and chain of custody procedures that have been previously approved, as modified

in the future as appropriate, for all samples in accordance with “EPA Requirements for

Quality Assurance Project Plans (QA/R5)” (EPA/240/B-01/003, March 2001, reissued

May 2006), “Guidance for Quality Assurance Project Plans (QA/G-5)” (EPA/240/R-

02/009, December 2002), and subsequent amendments to such guidelines upon

notification by DTSC to Performing Settling Defendant of such amendment. Amended

guidelines shall apply only to procedures conducted after such notification.

               b.      The previously approved Quality Assurance Project Plan

(“QAPP”), as modified in the future as appropriate, is incorporated into the SOW. If

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relevant to the proceeding, Plaintiffs and Performing Settling Defendant agree that

validated sampling data generated in accordance with the QAPP and reviewed and

approved by DTSC shall be admissible as evidence, without objection, in any proceeding

under this Consent Decree. Performing Settling Defendant shall ensure that EPA and

DTSC personnel and their authorized representatives are allowed access at reasonable

times to all laboratories utilized by Performing Settling Defendant in implementing this

Consent Decree. In addition, Performing Settling Defendant shall ensure that such

laboratories shall analyze all samples submitted by DTSC pursuant to the QAPP for

quality assurance monitoring. Performing Settling Defendant shall ensure that the

laboratories it utilizes for the analysis of samples taken pursuant to this Consent Decree

perform all analyses according to accepted methods. Accepted methods consist of those

methods that are documented in the “USEPA Contract Laboratory Program Statement of

Work for Inorganic Analysis, ILM05.4,” and the “USEPA Contract Laboratory Program

Statement of Work for Organic Analysis, SOM01.2,” and any amendments made thereto

during the course of the implementation of this Consent Decree; however, upon approval

by DTSC, after opportunity for review and comment by EPA, Performing Settling

Defendant may use other analytical methods that are as stringent as or more stringent

than the CLP-approved methods. Performing Settling Defendant shall ensure that all

laboratories it uses for analysis of samples taken pursuant to this Consent Decree

participate in an EPA or EPA-equivalent quality assurance/quality control (“QA/QC”)

program. Performing Settling Defendant shall use only laboratories that have a

documented Quality System that complies with ANSI/ASQC E4-1994, “Specifications


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and Guidelines for Quality Systems for Environmental Data Collection and

Environmental Technology Programs” (American National Standard, January 5, 1995),

and “EPA Requirements for Quality Management Plans (QA/R-2)” (EPA/240/B-01/002,

March 2001, reissued May 2006) or equivalent documentation as determined by DTSC.

DTSC may consider laboratories accredited under the National Environmental

Laboratory Accreditation Program (“NELAP”) as meeting the Quality System

requirements. Performing Settling Defendant shall ensure that all field methodologies

utilized in collecting samples for subsequent analysis pursuant to this Consent Decree are

conducted in accordance with the procedures set forth in the QAPP approved by DTSC.

       23.     Upon request, Performing Settling Defendant shall allow split or duplicate

samples to be taken by DTSC and by EPA, or their authorized representatives.

Performing Settling Defendant shall notify DTSC and EPA not less than 28 days in

advance of any sample collection activity unless shorter notice is agreed to by DTSC. In

addition, DTSC and EPA shall have the right to take any additional samples that DTSC

and EPA deem necessary. Upon request, DTSC and EPA shall allow Performing Settling

Defendant to take split or duplicate samples of any samples they take as part of Plaintiffs’

oversight of Performing Settling Defendant’s implementation of the Work.

       24.     Performing Settling Defendant shall submit to EPA and DTSC electronic

copies of the results of all sampling and/or tests or other data obtained or generated by or

on behalf of Performing Settling Defendant with respect to the Site and/or the

implementation of this Consent Decree unless DTSC and EPA agree otherwise.




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       25.     Notwithstanding any provision of this Consent Decree, DTSC, other

California state agencies, and the United States retain all of their information gathering

and inspection authorities and rights, including enforcement actions related thereto, under

CERCLA, RCRA, and any other applicable statutes or regulations.

                    IX.    ACCESS AND INSTITUTIONAL CONTROLS
       26.     If the Site, or any other real property where access or land/water use

restrictions are needed, is owned or controlled by Performing Settling Defendant:

               a.         Performing Settling Defendant shall, commencing on the date of

lodging of the Consent Decree, provide DTSC and the United States with access at all

reasonable times to the Site, or such other real property, to conduct any activity regarding

the Consent Decree including, but not limited to, the following activities:

                          (1)    Monitoring the Work;

                          (2)    Verifying any data or information submitted to the DTSC

        and the United States;

                          (3)    Conducting investigations regarding contamination at or

        near the Site;

                          (4)    Obtaining samples;

                          (5)    Assessing the need for, planning, or implementing

        additional response actions at or near the Site;

                          (6)    Assessing implementation of quality assurance and quality

        control practices as defined in the approved QAPP;

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                      (7)     Implementing the Work pursuant to the conditions set forth

        in Paragraph 94 (Work Takeover);

                      (8)     Inspecting and copying records, operating logs, contracts,

        or other documents maintained or generated by Performing Settling Defendant

        or its agents, consistent with Section XXV (Access to Information);

                      (9)     Assessing Performing Settling Defendant’s compliance

        with the Consent Decree;

                      (10)    Determining whether the Site or other real property is being

        used in a manner that is prohibited or restricted, or that may need to be

        prohibited or restricted under the Consent Decree; and

                      (11)    Implementing, monitoring, maintaining, reporting on, and

        enforcing any Institutional Controls.

              b.      Commencing on the date of lodging of the Consent Decree,

Performing Settling Defendant shall not use the Site, or such other real property, in any

manner that DTSC determines will pose an unacceptable risk to human health or to the

environment due to exposure to Waste Material or interfere with or adversely affect the

implementation, integrity, or protectiveness of the Remedial Action or O&M.

       27.     As required by the 1989 DTSC approved RAP and the EPA approved

Record of Decision, a Land Use Covenant between DTSC and the Performing Settling

Defendant was recorded on November 29, 1989, with the County of Mendocino (Official

Records of the Recorders Office: Book 1729, Page 564.) that restricts the use of the Site


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to non-residential uses and requires the maintenance of an asphalt or concrete cap over

the Site until such time as the soil remediation has begun in accordance with the

approved RAP and Remedial Design. (Appendix E.)

       28.     If the Site, or any other real property where access and/or land/water use

restrictions are needed, is owned or controlled by persons other than Performing Settling

Defendant, Performing Settling Defendant shall use best efforts to secure from such

persons:

               a.      An agreement substantially in the form of the access agreement

exemplar attached as Appendix I to provide access thereto for the United States, DTSC,

and Performing Settling Defendant, and their representatives, contractors, and

subcontractors, to conduct any activity regarding the Consent Decree including, but not

limited to, the activities listed in Paragraph 26.a; and

               b.      An agreement, enforceable by Performing Settling Defendant and

DTSC, to refrain from using the Site, or such other real property, in any manner that

DTSC, in consultation with EPA, determines will pose an unacceptable risk to human

health or to the environment due to exposure to Waste Material or interfere with or

adversely affect the implementation, integrity, or protectiveness of the Remedial Action.

The agreement shall include, but not be limited to, the land/water use restrictions listed in

Paragraph 26.b.

       29.     As used in this Section, “best efforts” means the efforts that a reasonable

person in the position of Performing Settling Defendant would use so as to achieve the



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goal in a timely manner, including the cost of employing professional assistance and the

payment of reasonable sums of money to obtain access or agreement to restrict property

use as describe in Paragraph 28. If Performing Settling Defendant is unable to

accomplish what is required under Paragraph 28 through “best efforts” in a timely

manner, Performing Settling Defendant shall notify DTSC, and include a description of

the steps that Performing Settling Defendant has taken to comply with Paragraph 28. If

DTSC deems it appropriate, it may assist Performing Settling Defendant, or take

independent action, in obtaining access or agreements to restrict property use. All costs

incurred by DTSC and the United States in providing such assistance or taking such

action, including the cost of attorney time and the amount of monetary consideration or

just compensation paid, constitute Future Response Costs (if incurred by the United

States) or DTSC Future Response Costs (if incurred by DTSC) to be reimbursed under

Section XVI (Payments for Response Costs).

       30.     If DTSC determines in a decision document prepared in accordance with

the NCP, and approved by EPA, that additional Institutional Controls in the form of state

or local laws, regulations, ordinances, zoning restrictions, or other governmental controls

are needed at or in connection with the Site, Performing Settling Defendant shall

cooperate with DTSC’s and EPA’s efforts to secure and ensure compliance with such

Institutional Controls.

       31.     Notwithstanding any provision of the Consent Decree, the United States

and DTSC retain all of their access authorities and rights, as well as all of their rights to




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require Institutional Controls, including enforcement authorities related thereto, under

CERCLA, RCRA, and any other applicable federal or state statute or regulations.

                         X.     REPORTING REQUIREMENTS
       32.     In addition to any other requirement of this Consent Decree, Performing

Settling Defendant shall submit to DTSC and EPA electronic copies of Semi-Annual

Groundwater Monitoring Reports that: (a) describe the actions that have been taken

toward achieving compliance with this Consent Decree during the previous six months;

(b) include a summary of all results of sampling and tests and all other data received or

generated by Performing Settling Defendant or its contractors or agents in the previous

six months; (c) identify all plans, reports, and other deliverables required by this Consent

Decree completed and submitted during the previous six months; (d) describe all actions,

including, but not limited to, data collection and implementation of work plans, that are

scheduled for the next six months and provide other information relating to the progress

of the remediation; (e) include information regarding percentage of completion,

unresolved delays encountered or anticipated that may affect the future schedule for

implementation of the Work, and a description of efforts made to mitigate those delays or

anticipated delays; and (f) include any modifications to the work plans or other schedules

that Performing Settling Defendant has proposed to DTSC or that have been approved by

DTSC. Performing Settling Defendant shall submit these Semi-Annual Groundwater

Monitoring Reports to DTSC and EPA by the twenty-eighth day of February and the

thirtieth day of August following the lodging of this Consent Decree until DTSC notifies

Performing Settling Defendant pursuant to Paragraph 51 (Completion of the Work). If


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requested by DTSC, in consultation with EPA, Performing Settling Defendant shall also

provide briefings for DTSC and EPA to discuss the progress of the Work.

        33.    Performing Settling Defendant shall notify DTSC and EPA of any change

in the schedule described in the Annual Groundwater Monitoring Report for the

performance of any activity, including, but not limited to, data collection and

implementation of work plans, no later than seven days prior to the performance of the

activity.

        34.    Upon the occurrence of any event during performance of the Work that

Performing Settling Defendant is required to report pursuant to Section 103 of CERCLA,

42 U.S.C. § 9603, or Section 304 of the Emergency Planning and Community Right-to-

know Act (“EPCRA”), 42 U.S.C. § 11004, Performing Settling Defendant shall within 24

hours of the onset of such event orally notify the DTSC Project Manager or, in the event

of the unavailability of the DTSC Project Manager, the EPA Project Coordinator. These

reporting requirements are in addition to the reporting required by CERCLA Section 103

or EPCRA Section 304.

        35.    Within 20 days after the onset of such an event, Performing Settling

Defendant shall furnish to DTSC and EPA a written report, signed by Performing Settling

Defendant’s Project Coordinator, setting forth the events that occurred and the measures

taken, and to be taken, in response thereto. Within 30 days after the conclusion of such

an event, Performing Settling Defendant shall submit a report setting forth all actions

taken in response thereto.



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       36.       Performing Settling Defendant shall submit electronic copies of all plans,

reports, data, and other deliverables required by the SOW, the Remedial Cost Estimate,

or any other approved plans to DTSC and EPA in accordance with the schedules set forth

in such plans.

       37.       All deliverables submitted by Performing Settling Defendant to DTSC and

EPA that purport to document Performing Settling Defendant’s compliance with the

terms of this Consent Decree shall be signed by an authorized representative of

Performing Settling Defendant.

 XI.     DTSC APPROVAL OF PLANS, REPORTS, AND OTHER DELIVERABLES
       38.       Initial Submissions.

                 a.     After review of any plan, report, or other deliverable that is

required to be submitted for approval pursuant to this Consent Decree, DTSC, after

reasonable opportunity for review and comment by EPA, shall: (1) approve, in whole or

in part, the submission; (2) approve the submission upon specified conditions; (3)

disapprove, in whole or in part, the submission; or (4) any combination of the foregoing.

                 b.     DTSC also may modify the initial submission to cure deficiencies

in the submission if: (1) DTSC determines that disapproving the submission and

awaiting a resubmission would cause substantial disruption to the Work; or (2) previous

submission(s) have been disapproved due to material defects and the deficiencies in the

initial submission under consideration indicate a bad faith lack of effort to submit an

acceptable plan, report, or deliverable.



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       39.     Resubmissions. Upon receipt of a notice of disapproval under Paragraph

38.a.(3) or (4), or if required by a notice of approval upon specified conditions under

Paragraph 38.a.(2), Performing Settling Defendant shall, within 10 days or such longer

time as specified by DTSC in such notice, correct the deficiencies and resubmit the plan,

report, or other deliverable for approval. After review of the resubmitted plan, report, or

other deliverable, DTSC may: (a) approve, in whole or in part, the resubmission; (b)

approve the resubmission upon specified conditions; (c) modify the resubmission; (d)

disapprove, in whole or in part, the resubmission, requiring Performing Settling

Defendant to correct the deficiencies; or (e) any combination of the foregoing.

       40.     Material Defects. If an initially submitted or resubmitted plan, report, or

other deliverable contains a material defect, and the plan, report, or other deliverable is

disapproved or modified by DTSC under Paragraph 38.b.(2) or 39 due to such material

defect, then the material defect shall constitute a lack of compliance for purposes of

Paragraph 39. The provisions of Section XIX (Dispute Resolution) and Section XX

(Stipulated Penalties) shall govern the accrual and payment of any stipulated penalties

regarding Performing Settling Defendant’s submissions under this Section.

       41.     Implementation. Upon approval, approval upon conditions, or

modification by DTSC under Paragraph 38 (Initial Submissions) or Paragraph 39

(Resubmissions), of any plan, report, or other deliverable, or any portion thereof: (a)

such plan, report, or other deliverable, or portion thereof, shall be incorporated into and

enforceable under this Consent Decree; and (b) Performing Settling Defendant shall take

any action required by such plan, report, or other deliverable, or portion thereof, subject

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only to its right to invoke the Dispute Resolution procedures set forth in Section XIX

(Dispute Resolution) with respect to the modifications or conditions made by DTSC. The

implementation of any non-deficient portion of a plan, report, or other deliverable

submitted or resubmitted under Paragraph 38 or 39 shall not relieve Performing Settling

Defendant of any liability for stipulated penalties under Section XX (Stipulated

Penalties).

               XII.    PROJECT MANAGERS AND COORDINATORS
       42.     Within 20 days after lodging this Consent Decree, Performing Settling

Defendant, DTSC and EPA will notify each other, in writing, of the name, address,

telephone number, and email address of their respective designated Project Managers and

Coordinators and Alternate Project Managers or Coordinators. If a Project Manager or

Coordinator, or Alternate Project Manager or Coordinator, initially designated is

changed, the identity of the successor will be given to the other Parties, excluding

Settling Individuals, at least five working days before the change occurs, unless

impracticable, but in no event later than the actual day the change is made. Performing

Settling Defendant’s Project Coordinator shall be subject to approval by DTSC and shall

have the technical expertise sufficient to adequately oversee all aspects of the Work.

Performing Settling Defendant’s Project Coordinator shall not be an attorney for

Performing Settling Defendant in this matter. The Project Coordinator designated by

Performing Settling Defendant may assign other representatives, including other

contractors, to serve as a Site representative for oversight of performance of daily

operations during remedial activities.


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       43.     Plaintiffs may designate other representatives, including, but not limited

to, DTSC and EPA employees, and federal and DTSC contractors and consultants, to

observe and monitor the progress of any activity undertaken pursuant to this Consent

Decree. DTSC’s Project Manager and Alternate Project Manager shall have the authority

lawfully vested in a Remedial Project Manager (“RPM”) and an On-Scene Coordinator

(“OSC”) by the NCP, 40 C.F.R. Part 300. DTSC’s Project Manager under State law, or

EPA’s Project Coordinator or Alternate Project Coordinator, consistent with the NCP,

shall have authority to halt any Work required by this Consent Decree and to take any

necessary response action when he or she determines that conditions at the Site constitute

an emergency situation or may present an immediate threat to public health or welfare or

the environment due to release or threatened release of Waste Material.

       44.     DTSC’s Project Manager and Performing Settling Defendant’s Project

Coordinator will meet at such times as required by DTSC.

                        XIII.     PERFORMANCE GUARANTEE
       45.     In order to ensure the full and final completion of the Work, Performing

Settling Defendant shall establish and maintain a performance guarantee in the amount of

$976,063 as the current estimated cost of completing the Work for the benefit of DTSC

and EPA. The performance guarantee, which must be satisfactory in form and substance

to DTSC, shall be in the form of one or more of the following mechanisms (provided

that, if Performing Settling Defendant intend to use multiple mechanisms, such multiple

mechanisms shall be limited to surety bonds guaranteeing payment, letters of credit, trust

funds, and insurance policies):


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               a.       A surety bond unconditionally guaranteeing payment and/or

performance of the Work that is issued by a surety company among those listed as

acceptable sureties on federal bonds as set forth in Circular 570 of the U.S. Department

of the Treasury;

               b.       One or more irrevocable letters of credit, payable to or at the

direction of DTSC or EPA, whichever is lead Agency, that is issued by one or more

financial institution(s) (1) that has the authority to issue letters of credit and (2) whose

letter-of-credit operations are regulated and examined by a federal or state agency;

               c.       A trust fund established for the benefit of DTSC and EPA that is

administered by a trustee (1) that has the authority to act as a trustee and (2) whose trust

operations are regulated and examined by a federal or state agency;

               d.       A policy of insurance that (1) provides DTSC and EPA with

acceptable rights as a beneficiary thereof; and (2) is issued by an insurance carrier (i) that

has the authority to issue insurance policies in the applicable jurisdiction(s) and (ii)

whose insurance operations are regulated and examined by a federal or state agency;

        46.     Performing Settling Defendant has selected, and DTSC has found

satisfactory, as an initial performance guarantee a trust fund pursuant to Paragraph 45.c.,

in the form attached hereto as Appendix I. Within ten days after the Effective Date,

Performing Settling Defendant shall execute or otherwise finalize all instruments or other

documents required in order to make the selected performance guarantee(s) legally

binding in a form substantially identical to the documents attached hereto as Appendix I,



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and such performance guarantee(s) shall thereupon be fully effective. Upon its execution

the performance guarantee shall supersede and replace the Custodian Fund Agreement, as

amended. Within 30 days after the Effective Date, Performing Settling Defendant shall

submit copies of all executed and/or otherwise finalized instruments or other documents

required in order to make the selected performance guarantee(s) legally binding to the

DTSC Project Manager and the EPA Regional Financial Management Officer in

accordance with Section XXVII (Notices and Submissions), with a copy to the United

States and EPA and DTSC as specified in Section XXVII.

       47.     In the event that DTSC, after reasonable opportunity for review and

comment by EPA, determines at any time that a performance guarantee provided by

Performing Settling Defendant pursuant to this Section is inadequate or otherwise no

longer satisfies the requirements set forth in this Section, whether due to an increase in

the estimated cost of completing the Work or for any other reason, or in the event that

Performing Settling Defendant becomes aware of information indicating that a

performance guarantee provided pursuant to this Section is inadequate or otherwise no

longer satisfies the requirements set forth in this Section, whether due to an increase in

the estimated cost of completing the Work or for any other reason, Performing Settling

Defendant, within 30 days after receipt of notice of DTSC’s determination or, as the case

may be, within 30 days after Performing Settling Defendant became aware that the

performance guarantee provided pursuant to this Section is inadequate or otherwise no

longer satisfies the requirements set forth in this Section, shall obtain and present to

DTSC for approval a proposal for a revised or alternative form of performance guarantee


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listed in Paragraph 45 that satisfies all requirements set forth in this Section XIII;

provided, however, that if Performing Settling Defendant cannot obtain such revised or

alternative form of performance guarantee within such 30-day period, and provided

further that Performing Settling Defendant shall have commenced to obtain such revised

or alternative form of performance guarantee within such 30-day period, and thereafter

diligently proceeds to obtain the same, DTSC shall extend such period for such time as is

reasonably necessary for Performing Settling Defendant in the exercise of due diligence

to obtain such revised or alternative form of performance guarantee, such additional

period shall not exceed 60 days. On day 30, Performing Settling Defendant shall provide

to DTSC a written status report on its efforts to obtain the revised or alternative form of

guarantee. In seeking approval for a revised or alternative form of performance

guarantee, Performing Settling Defendant shall follow the procedures set forth in

Paragraph 49.b.(1). Performing Settling Defendant’s inability to post a performance

guarantee for completion of the Work shall in no way excuse performance of any other

requirements of this Consent Decree, including, without limitation, the obligation of

Performing Settling Defendant to complete the Work in strict accordance with the terms

of this Consent Decree.

       48.     Funding for Work Takeover. The commencement of any Work Takeover

pursuant to Paragraph 94 shall trigger DTSC and EPA’s right to receive the benefit of

any performance guarantee(s) provided pursuant to Paragraphs 45.a, 45.b, 45.c, or 45.d,

and at such time DTSC and EPA shall have immediate access to resources guaranteed

under any such performance guarantee(s), whether in cash or in kind, as needed to


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continue and complete the Work assumed by DTSC and/or EPA under the Work

Takeover. Upon the commencement of any Work Takeover, if (a) for any reason DTSC

or EPA is unable to promptly secure the resources guaranteed under any such

performance guarantee(s), whether in cash or in kind, necessary to continue and complete

the Work assumed by DTSC and/or EPA under the Work Takeover, Performing Settling

Defendant shall immediately upon written demand from DTSC or EPA deposit into a

special account within the California Toxic Substances Control Account or such other

account as DTSC or EPA may specify, in immediately available funds and without setoff,

counterclaim, or condition of any kind, a cash amount up to but not exceeding the

estimated cost of completing the Work as of such date, as determined by DTSC or EPA.

In addition, if at any time DTSC or EPA is notified by the issuer of a performance

guarantee that such issuer intends to cancel the performance guarantee mechanism it has

issued then, unless Performing Settling Defendant provide a substitute performance

guarantee mechanism in accordance with this Section XIII no later than 30 days prior to

the impending cancellation date, DTSC or EPA shall be entitled (as of and after the date

that is 30 days prior to the impending cancellation) to draw fully on the funds guaranteed

under the then existing performance guarantee. All DTSC or EPA Work Takeover costs

not reimbursed under this Paragraph shall be reimbursed under Section XVI (Payments

for Response Costs).

       49.     Modification of Amount and/or Form of Performance Guarantee.

              a.       Reduction of Amount of Performance Guarantee. Except as set

forth in Appendix I for payment from the Fund for Work performed, Performing Settling

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Defendant may, no more than once during each calendar year following the first

anniversary of the Effective Date, or at any other time agreed to by DTSC and

Performing Settling Defendant, petition DTSC in writing to request a reduction in the

amount of the performance guarantee provided pursuant to this Section so that the

amount of the performance guarantee is equal to the estimated cost of completing the

Work. Performing Settling Defendant shall submit a written proposal for such reduction

to DTSC that shall specify, at a minimum, the estimated cost of completing the Work and

the basis upon which such cost was calculated. In seeking approval for a reduction in the

amount of the performance guarantee, Performing Settling Defendant shall follow the

procedures set forth in Paragraph 49.b.(1) for requesting a revised or alternative form of

performance guarantee, except as specifically provided in this Paragraph 49.a. If DTSC,

after reasonable opportunity for review and comment by EPA, decides to accept

Performing Settling Defendant’s proposal for a reduction in the amount of the

performance guarantee, either to the amount set forth in Performing Settling Defendant’s

written proposal or to some other amount as selected by DTSC, DTSC will notify

Performing Settling Defendant of such decision in writing. Upon DTSC’s written

acceptance of a reduction in the amount of the performance guarantee, the estimated cost

of work shall be deemed to be the estimated cost of completing the Work set forth in

DTSC’s written decision. After receiving DTSC’s written decision, Performing Settling

Defendant may reduce the amount of the performance guarantee in accordance with and

to the extent permitted by such written acceptance and shall submit copies of all executed

and/or otherwise finalized instruments or other documents required in order to make the


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selected performance guarantee(s) legally binding in accordance with Paragraph 49.b.(1).

In the event of a dispute, Performing Settling Defendant may reduce the amount of the

performance guarantee required hereunder only in accordance with a final administrative

or judicial decision resolving such dispute pursuant to Section XIX (Dispute Resolution).

No change to the form or terms of any performance guarantee provided under this

Section, other than a reduction in amount, is authorized except as provided in Paragraphs

47 and 49.b.

               b.      Change of Form of Performance Guarantee.

                       (1)   If, after the Effective Date, Performing Settling Defendant

        desires to change the form or terms of any performance guarantee(s) provided

        pursuant to this Section, Performing Settling Defendant may, on any anniversary

        of the Effective Date, or at any other time agreed to by DTSC and Performing

        Settling Defendant, petition DTSC in writing to request a change in the form or

        terms of the performance guarantee provided hereunder. The submission of such

        proposed revised or alternative performance guarantee shall be as provided in

        Paragraph 49.b.(2). Any decision made by DTSC on a petition submitted under

        this Paragraph shall be made in DTSC’s sole and unreviewable discretion, and

        such decision shall not be subject to challenge by Performing Settling Defendant

        pursuant to the dispute resolution provisions of this Consent Decree or in any

        other forum.

                       (2)   Performing Settling Defendant shall submit a written

        proposal for a revised or alternative performance guarantee to DTSC that shall

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     specify, at a minimum, the estimated cost of completing the Work, the basis

     upon which such cost was calculated, and the proposed revised performance

     guarantee, including all proposed instruments or other documents required in

     order to make the proposed performance guarantee legally binding. The

     proposed revised or alternative performance guarantee must satisfy all

     requirements set forth or incorporated by reference in this Section. Performing

     Settling Defendant shall submit such proposed revised or alternative

     performance guarantee to the DTSC Project Manager in accordance with Section

     XXVII (Notices and Submissions). DTSC, after reasonable opportunity for

     review and comment by EPA, will notify Performing Settling Defendant in

     writing of its decision to accept or reject a revised or alternative performance

     guarantee submitted pursuant to this Paragraph. Within ten days after receiving

     a written decision approving the proposed revised or alternative performance

     guarantee, Performing Settling Defendant shall execute and/or otherwise finalize

     all instruments or other documents required in order to make the selected

     performance guarantee (s) legally binding in a form substantially identical to the

     documents submitted to DTSC as part of the proposal, and such performance

     guarantee (s) shall thereupon be fully effective. Performing Settling Defendant

     shall submit copies of all executed and/or otherwise finalized instruments or

     other documents required in order to make the selected performance guarantee(s)

     legally binding to the DTSC Project Manager within 30 days after receiving a

     written decision approving the proposed revised or alternative performance


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        guarantee(s) in accordance with Section XXVII (Notices and Submissions) and

        to the United States and EPA and DTSC as specified in Section XXVII.

              c.       Release of Performance Guarantee. Performing Settling Defendant

shall not release, cancel, or discontinue any performance guarantee provided pursuant to

this Section except as provided in this Paragraph. If Performing Settling Defendant

receive written notice from DTSC in accordance with Paragraph 51 (Completion of the

Work) that the Work has been fully and finally completed in accordance with the terms

of this Consent Decree, or if DTSC otherwise so notifies Performing Settling Defendant

in writing, Performing Settling Defendant may thereafter release, cancel, or discontinue

the performance guarantee(s) provided pursuant to this Section. In the event of a dispute,

Performing Settling Defendant may release, cancel, or discontinue the performance

guarantee(s) required hereunder only in accordance with a final administrative or judicial

decision resolving such dispute pursuant to Section XIX (Dispute Resolution).

                      XIV. CERTIFICATION OF COMPLETION
       50.     Completion of the Remedial Action.

              a.       Within 90 days after Performing Settling Defendant concludes that

the Remedial Action has been fully performed and the Performance Standards have been

achieved, Performing Settling Defendant shall schedule and conduct a pre-certification

inspection to be attended by Performing Settling Defendant, DTSC and EPA. If, after the

pre-certification inspection, Performing Settling Defendant still believes that the

Remedial Action has been fully performed and the Performance Standards have been

achieved, it shall submit a written report requesting certification to DTSC for approval,

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with a copy to EPA, pursuant to Section XI (DTSC Approval of Plans, Reports, and

Other Deliverables) within 30 days after the inspection. In the report, a registered

professional engineer or a California-registered professional geologist and Performing

Settling Defendant’s Project Coordinator shall state that the Remedial Action has been

completed in full satisfaction of the requirements of this Consent Decree. The written

report shall include as-built drawings, if any, signed and stamped by a professional

engineer or a professional geologist. The report shall contain the following statement,

signed by a responsible corporate official of Performing Settling Defendant or

Performing Settling Defendant’s Project Coordinator:

       I certify under penalty of law that this document and all attachments were

       prepared under my direction or supervision in accordance with a system designed

       to assure that qualified personnel properly gather and evaluate the information

       submitted. Based on my inquiry of the person or persons who manage the system,

       or those persons directly responsible for gathering the information, the

       information submitted is, to the best of my knowledge and belief, true, accurate,

       and complete. I am aware that there are significant penalties for submitting false

       information, including the possibility of fine and imprisonment for knowing

       violations.

If, after completion of the pre-certification inspection and receipt and review of the

written report, DTSC, after reasonable opportunity for review and comment by EPA,

determines that the Remedial Action or any portion thereof has not been completed in

accordance with this Consent Decree or that the Performance Standards have not been

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achieved, DTSC will notify Performing Settling Defendant in writing of the activities that

must be undertaken by Performing Settling Defendant pursuant to this Consent Decree to

complete the Remedial Action and achieve the Performance Standards. DTSC will set

forth in the notice a schedule for performance of such activities consistent with the

Consent Decree and the SOW or require Performing Settling Defendant to submit a

schedule to DTSC for approval pursuant to Section XI (DTSC Approval of Plans,

Reports, and Other Deliverables). Performing Settling Defendant shall perform all

activities described in the notice in accordance with the specifications and schedules

established pursuant to this Paragraph, subject to its right to invoke the dispute resolution

procedures set forth in Section XIX (Dispute Resolution).

              b.       If DTSC concludes, based on the initial or any subsequent report

requesting Certification of Completion of the Remedial Action and after a reasonable

opportunity for review and comment by EPA, that the Remedial Action has been

performed in accordance with this Consent Decree and that the Performance Standards

have been achieved, DTSC will so certify in writing to Performing Settling Defendant.

This certification shall constitute the Certification of Completion of the Remedial Action

for purposes of this Consent Decree, including, but not limited to, Section XXI

(Covenants by Plaintiffs for Performing Settling Defendant). Certification of Completion

of the Remedial Action shall not affect Performing Settling Defendant’s remaining

obligations under this Consent Decree.

       51.     Completion of the Work.




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              a.       Within 90 days after Performing Settling Defendant concludes that

all phases of the Work, other than any remaining activities required under Section VII

(Remedy Review), have been fully performed, Performing Settling Defendant shall

schedule and conduct a pre-certification inspection to be attended by Performing Settling

Defendant, DTSC and EPA. If, after the pre-certification inspection, Performing Settling

Defendant still believes that the Work has been fully performed, Performing Settling

Defendant shall submit a written report by a registered professional engineer or a

California-registered professional geologist stating that the Work has been completed in

full satisfaction of the requirements of this Consent Decree. The report shall contain the

statement set forth in Paragraph 50.a, signed by a responsible corporate official of

Performing Settling Defendant or Performing Settling Defendant’s Project Coordinator.

If, after review of the written report, DTSC, after reasonable opportunity for review and

comment by EPA, determines that any portion of the Work has not been completed in

accordance with this Consent Decree, DTSC will notify Performing Settling Defendant in

writing of the activities that must be undertaken by Performing Settling Defendant

pursuant to this Consent Decree to complete the Work, provided, however, that DTSC

may only require Performing Settling Defendant to perform such activities pursuant to

this Paragraph to the extent that such activities are consistent with the “scope of the

remedy set forth in Remedial Cost Estimate,” as that term is defined in Paragraph 14.a.

DTSC will set forth in the notice a schedule for performance of such activities consistent

with the Consent Decree and the SOW or require Performing Settling Defendant to

submit a schedule to DTSC for approval pursuant to Section XI (DTSC Approval of


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Plans, Reports, and Other Deliverables). Performing Settling Defendant shall perform all

activities described in the notice in accordance with the specifications and schedules

established therein, subject to its right to invoke the dispute resolution procedures set

forth in Section XIX (Dispute Resolution).

              b.       If DTSC concludes, based on the initial or any subsequent request

for Certification of Completion of the Work by Performing Settling Defendant and after a

reasonable opportunity for review and comment by EPA, that the Work has been

performed in accordance with this Consent Decree, DTSC will so notify Performing

Settling Defendant in writing.

                            XV.     EMERGENCY RESPONSE
       52.     If any event occurs during performance of the Work that causes or

threatens to cause a release of Waste Material on, at, or from the Site and that either

constitutes an emergency situation or that may present an immediate threat to public

health or welfare or the environment, Performing Settling Defendant shall, subject to

Paragraph 53, immediately take all appropriate action to prevent, abate, or minimize such

release or threat of release, and shall immediately notify the DTSC Project Manager, or if

the Project Manager is unavailable, DTSC’s Branch Chief. If neither of these persons is

available, Performing Settling Defendant shall notify the EPA Project Coordinator.

Performing Settling Defendant shall take such actions in consultation with DTSC Project

Manager or other available authorized DTSC employee, or as appropriate the EPA

Project Coordinator, and in accordance with all applicable provisions of the Health and

Safety Plans, the Contingency Plans, and any other applicable plans or documents


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developed pursuant to the SOW. In the event that Performing Settling Defendant fails to

take appropriate response action as required by this Section, and DTSC or, as appropriate,

EPA, take such action instead, Performing Settling Defendant shall reimburse EPA and

DTSC all costs of the response action under Section XVI (Payments for Response Costs).

       53.       Subject to Sections XXI (Covenants by Plaintiffs for Performing Settling

Defendant) and XXII (Covenants by Plaintiffs for Settling Individuals), nothing in the

preceding Paragraph or in this Consent Decree shall be deemed to limit any authority of

DTSC or the United States (a) to take all appropriate action to protect human health and

the environment or to prevent, abate, respond to, or minimize an actual or threatened

release of Waste Material on, at, or from the Site; or (b) to direct or order such action, or

seek an order from the Court, to protect human health and the environment or to prevent,

abate, respond to, or minimize an actual or threatened release of Waste Material on, at, or

from the Site.

    XVI. PAYMENTS FOR DTSC AND UNITED STATES RESPONSE COSTS
       54.       Payments by Performing Settling Defendant for United States Past

Response Costs, United States Future Response Costs and DTSC Future Response Costs.

                 a.     Payment of United States Past Response Costs. Settling

Performing Defendant shall continue to pay the United States Past Response Costs

pursuant to the terms of paragraph 5 of the 1994 AOC, provided, however, that

references in paragraph 5 of the 1994 AOC to any other paragraphs or provisions of the

1994 AOC are no longer applicable, and are substituted with the following clarifications:

Upon approval by DTSC, after a reasonable opportunity for review and comment by

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EPA, of the Post Closure confirmatory soil sampling reporting deliverable as required by

the Statement of Work (which shall constitute “completion of the soil remediation at the

Site” for purposes of paragraph 5 of the 1994 AOC), EPA will send Performing Settling

Defendant a bill requiring payment of all unreimbursed United States Past Response

Costs that includes a SCORPIOS (EPA’s “Superfund Cost Recovery Package Imaging

and On-line System”) cost summary report, which includes direct and indirect costs

incurred by EPA, its contractors, and DOJ. Performing Settling Defendant shall make all

payments within 30 days after Performing Settling Defendant’s receipt of each bill

requiring payment, except as otherwise provided in Paragraph 56, in accordance with

Paragraph 55.a. The total amount to be paid by Performing Settling Defendant pursuant

to this Paragraph 54.a shall be deposited by EPA in the Coast Wood Preserving Special

Account (SSID 0945) to be retained and used to conduct or finance response actions at or

in connection with the Site, or to be transferred by EPA to the EPA Hazardous Substance

Superfund. In the event of any conflict between this Consent Decree and the 1994 AOC,

this Consent Decree shall control.

              b.      Payment of United States Future Response Costs. Performing

Settling Defendant shall pay to EPA all Future Response Costs not inconsistent with the

NCP. On a periodic basis, which will begin on an annual-billing cycle, EPA will send

Performing Settling Defendant a bill requiring payment that includes a SCORPIOS cost

summary report which includes direct and indirect costs incurred by EPA, its contractors,

and DOJ. Performing Settling Defendant shall make all payments within 30 days after

Performing Settling Defendant’s receipt of each bill requiring payment, except as


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otherwise provided in Paragraph 56, in accordance with Paragraph 55.a. The total

amount to be paid by Performing Settling Defendant to EPA pursuant to this Paragraph

54.b. shall be deposited by EPA in the Coast Wood Preserving Special Account (SSID

0945) to be retained and used to conduct or finance response actions at or in connection

with the Site, or to be transferred by EPA to the EPA Hazardous Substance Superfund.

              c.      Payment of DTSC Future Response Costs. Performing Settling

Defendant shall pay to DTSC all DTSC Future Response Costs not inconsistent with the

NCP. DTSC will send Performing Settling Defendant a bill requiring payment that

includes a DTSC-prepared cost summary, which includes direct and indirect costs

incurred by DTSC and its contractors and subcontractors on a periodic basis. Performing

Settling Defendant shall make all payments within 30 days after its receipt of each bill

requiring payment, except as otherwise provide in Paragraph 56. DTSC Interest accrues

from the billing date on any balances that remain unpaid after 60 days from billing.

       55.     Payment Instructions for Performing Settling Defendant.
              a.      Payments to EPA. All payments required to EPA under this

Consent Decree shall be made by Fedwire EFT to:

              Federal Reserve Bank of New York
              ABA = 021030004
              Account = 68010727
              SWIFT address = FRNYUS33
              33 Liberty Street
              New York NY 10045
              Field Tag 4200 of the Fedwire message should read “D 68010727
              Environmental Protection Agency”




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and shall reference the CDCS Number, Site/Spill ID Number (SSID) 0945, and DOJ

Case Number. At the time of any payment required to be made to EPA under this

Consent Decree, Performing Settling Defendant shall send notice that payment has been

made to the United States, and to EPA, in accordance with Section XXVII (Notices and

Submissions), and to the EPA Cincinnati Finance Office by email at

cinwd_acctsreceivable@epa.gov, or by mail at 26 Martin Luther King Drive, Cincinnati,

Ohio 45268. Such notice shall also reference the CDCS Number, Site/Spill ID Number,

and DOJ Case Number.

              b.       Payments to DTSC. All payments required to DTSC under this

Consent Decree shall be made payable to:

              Cashier
              Department of Toxic Substances Control
              Accounting Office, MS-21A
              1001 I Street
              P.O. Box 806
              Sacramento, CA 95812-0806

and shall bear on its fact both the docket number of this action, and the phrase “Site

Code” [200021]. A copy of each payment to DTSC shall be mailed to:

              Lynn Goldman
              Office of Legal Counsel
              California Department of Toxic Substances Control
              1001 I Street, 23rd Floor
              P.O. Box 806
              Sacramento, CA 95812-0806

Or e-mailed to Lynn.Goldman@dtsc.ca.govmailto: in .pdf or .jpg. format.




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       56.     Contested United States Future Response Costs, United States Past

Response Costs, and DTSC Future Response Costs.

              a.      Procedure for Contesting United States Future Response Costs and

United States Past Response Costs. Performing Settling Defendant may contest any

United States Future Response Costs and United States Past Response Costs that are

billed by EPA under Paragraphs 54.b. (Payments by Performing Settling Defendant for

United States Future Response Costs) and Paragraph 54.a. (Payment by Performing

Settling Defendant for United States Past Response Costs) if it determines that EPA has

made a mathematical error or included a cost item that is not within the definition of

United States Future Response Costs or United States Past Response Costs, or if it

believes EPA incurred excess costs as a direct result of an EPA action that was

inconsistent with a specific provision or provisions of the NCP. Such objection shall be

made in writing within 30 days after receipt of the bill and must be sent to the United

States pursuant to Section XXVII (Notices and Submissions). Any such objection shall

specifically identify the contested Future Response Costs and the basis for objection. In

the event of an objection, Performing Settling Defendant shall pay all uncontested United

States Future Response Costs or United States Past Response Costs to the United States

within 30 days after Performing Settling Defendant’s receipt of the bill requiring

payment. Simultaneously, Performing Settling Defendant shall establish, in a duly

chartered bank or trust company, an interest-bearing escrow account that is insured by the

Federal Deposit Insurance Corporation (“FDIC”), and remit to that escrow account funds

equivalent to the amount of the contested United States Future Response Costs or United


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States Past Response Costs. Performing Settling Defendant shall send to the United

States, as provided in Section XXVII (Notices and Submissions), a copy of the

transmittal letter and check paying the uncontested United States Future Response Costs

or United States Past Response Costs, and a copy of the correspondence that establishes

and funds the escrow account, including, but not limited to, information containing the

identity of the bank and bank account under which the escrow account is established as

well as a bank statement showing the initial balance of the escrow account.

Simultaneously with establishment of the escrow account, Performing Settling Defendant

shall initiate the Dispute Resolution procedures in Section XIX (Dispute Resolution). If

the United States prevails in the dispute, Performing Settling Defendant shall pay the

sums due (with accrued interest) to the United States within five working days after the

resolution of the dispute. If Performing Settling Defendant prevails concerning any

aspect of the contested costs, Performing Settling Defendant shall pay that portion of the

costs (plus associated accrued interest) for which it did not prevail to the United States

within five working days after the resolution of the dispute. Performing Settling

Defendant shall be disbursed any balance of the escrow account. All payments to the

United States under this Paragraph shall be made in accordance with Paragraph 55.a.

              b.       Procedure for Contesting DTSC Future Response Costs. If

Performing Settling Defendant disputes a DTSC billing, or any part thereof, Performing

Settling Defendant shall notify DTSC’s assigned project manager and attempt to

informally resolve the dispute with DTSC’s project manager and branch chief. If

Performing Settling Defendant desires to formally request dispute resolution with regard


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to the billing, Performing Settling Defendant shall submit to DTSC a request for dispute

resolution in writing within 45 days of receipt of the billing in dispute. The written

request shall describe all issues in dispute and shall set forth the reasons for the dispute,

both factual and legal. If the dispute pertains only to a portion of the costs included in the

invoice, Performing Settling Defendant shall pay all costs which are undisputed in

accordance with Paragraph 55.b. The filing of a notice of dispute pursuant to this

Paragraph shall not stay the accrual of DTSC Interest on any unpaid costs pending

resolution of the dispute. The written request shall be sent to:

               Chief, Collections and Resolution Unit
               Department of Toxic Substances Control
               PO Box 806
               Sacramento, CA 96812-0806

A copy of the written request for dispute resolution shall also be sent to the person

designated by DTSC to receive submittals under this Consent Decree. A decision on the

billing dispute will be rendered by the Chief, Collections and Resolution Unit, or other

DTSC designee.

               c.      The dispute resolution procedures set forth in this Paragraph in

conjunction with the procedures set forth in Section XIX (Dispute Resolution) shall be

the exclusive mechanisms for resolving disputes regarding Performing Settling

Defendant’s obligation to reimburse the United States for its Future Response Costs or

DTSC for its DTSC Future Response Costs.




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                    XVII. INDEMNIFICATION AND INSURANCE
        57.    Performing Settling Defendant’s Indemnification of the United States and

DTSC.

               a.      The United States and DTSC do not assume any liability by

entering into this Consent Decree or by virtue of any designation of Performing Settling

Defendant as EPA’s authorized representative under Section 104(e) of CERCLA, 42

U.S.C. § 9604(e). Performing Settling Defendant shall indemnify, save and hold

harmless the United States and DTSC, and their respective officials, agents, employees,

contractors, subcontractors, and representatives for or from any and all claims or causes

of action arising from, or on account of, negligent or other wrongful acts or omissions of

Performing Settling Defendant, its officers, directors, employees, agents, contractors,

subcontractors, and any persons acting on its behalf or under its control, in carrying out

activities pursuant to this Consent Decree, including, but not limited to, any claims

arising from any designation of Performing Settling Defendant as EPA’s authorized

representatives under Section 104(e) of CERCLA. Further, Performing Settling

Defendant agrees to pay the United States and DTSC all costs they incur including, but

not limited to, attorneys’ fees and other expenses of litigation and settlement arising

from, or on account of, claims made against the United States or DTSC based on

negligent or other wrongful acts or omissions of Performing Settling Defendant, its

officers, directors, employees, agents, contractors, subcontractors, and any persons acting

on its behalf or under its control, in carrying out activities pursuant to this Consent

Decree. Neither the United States nor DTSC shall be held out as a party to any contract


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entered into by or on behalf of Performing Settling Defendant in carrying out activities

pursuant to this Consent Decree. Neither Performing Settling Defendant nor any such

contractor shall be considered an agent of the United States or DTSC.

                b.     DTSC and/or the United States shall give Performing Settling

Defendant notice of any claim for which the DTSC and/or the United States plans to seek

indemnification pursuant to this Paragraph, and shall consult with Performing Settling

Defendant prior to settling such claim.

          58.   Performing Settling Defendant covenants not to sue and agrees not to

assert any claims or causes of action against the DTSC and/or the United States for

damages or reimbursement or for set-off of any payments made or to be made to the

United States or DTSC, arising from or on account of any contract, agreement, or

arrangement between Performing Settling Defendant and any person for performance of

Work on or relating to the Site, including, but not limited to, claims on account of

construction delays. In addition, Performing Settling Defendant shall indemnify and hold

harmless the United States and DTSC with respect to any and all claims for damages or

reimbursement arising from or on account of any contract, agreement, or arrangement

between Performing Settling Defendant and any person for performance of Work on or

relating to the Site, including, but not limited to, claims on account of construction

delays.

          59.   No later than 15 days before commencing any on-Site Work, Performing

Settling Defendant shall secure, and shall maintain until the first anniversary after

issuance of the Certification of Completion of the Remedial Action pursuant to Paragraph

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50 of Section XIV (Certification of Completion), commercial general liability insurance

with limits of $1 million, for any one occurrence, and automobile liability insurance with

limits of $1 million, combined single limit, naming the United States and DTSC as

additional insureds with respect to all liability arising out of the activities performed by or

on behalf of Performing Settling Defendant pursuant to this Consent Decree. In addition,

for the duration of this Consent Decree, Performing Settling Defendant shall satisfy, or

shall ensure that its contractors or subcontractors satisfy, all applicable laws and

regulations regarding the provision of worker’s compensation insurance for all persons

performing the Work on behalf of Performing Settling Defendant in furtherance of this

Consent Decree. Prior to commencement of the Work under this Consent Decree,

Performing Settling Defendant shall provide to DTSC and EPA certificates of such

insurance and a copy of each insurance policy. Performing Settling Defendant shall

resubmit such certificates and copies of policies each year on the anniversary of the

Effective Date. If Performing Settling Defendant demonstrates by evidence satisfactory

to DTSC, with reasonable opportunity for review and comment by EPA, that any

contractor or subcontractor maintains insurance equivalent to that described above, or

insurance covering the same risks but in a lesser amount, then, with respect to that

contractor or subcontractor, Performing Settling Defendant need provide only that

portion of the insurance described above that is not maintained by the contractor or

subcontractor.




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                                XVIII. FORCE MAJEURE
       60.     “Force majeure,” for purposes of this Consent Decree, is defined as any

event arising from causes beyond the control of Performing Settling Defendant, of any

entity controlled by Performing Settling Defendant, or of Performing Settling

Defendant’s contractors that delays or prevents the performance of any obligation under

this Consent Decree despite Performing Settling Defendant’s best efforts to fulfill the

obligation. The requirement that Performing Settling Defendant exercise “best efforts to

fulfill the obligation” includes using best efforts to anticipate any potential force majeure

and best efforts to address the effects of any potential force majeure (a) as it is occurring

and (b) following the potential force majeure such that the delay and any adverse effects

of the delay are minimized to the greatest extent possible. “Force majeure” does not

include financial inability to complete the Work or a failure to achieve the Performance

Standards.

       61.     If any event occurs or has occurred that may delay the performance of any

obligation under this Consent Decree for which Performing Settling Defendant intends or

may intend to assert a claim of force majeure, Performing Settling Defendant shall notify

DTSC’s Project Manager orally or, in his or her absence, DTSC’s Branch Chief, within

24 hours of when Performing Settling Defendant first knew that the event might cause a

delay. Within seven days thereafter, Performing Settling Defendant shall provide in

writing to DTSC and EPA an explanation and description of the reasons for the delay; the

anticipated duration of the delay; all actions taken or to be taken to prevent or minimize

the delay; a schedule for implementation of any measures to be taken to prevent or


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mitigate the delay or the effect of the delay; Performing Settling Defendant’s rationale for

attributing such delay to a force majeure; and a statement as to whether, in the opinion of

Performing Settling Defendant, such event may cause or contribute to an endangerment

to public health or welfare, or the environment. Performing Settling Defendant shall

include with any notice all available documentation supporting its claim that the delay

was attributable to a force majeure. Performing Settling Defendant shall be deemed to

know of any circumstance of which Performing Settling Defendant, any entity controlled

by Performing Settling Defendant, or Performing Settling Defendant’s contractors knew

or should have known. Failure to comply with the above requirements regarding an

event shall preclude Performing Settling Defendant from asserting any claim of force

majeure regarding that event, provided, however, that if DTSC, despite the late notice, is

able to assess to its satisfaction whether the event is a force majeure under Paragraph 60

and whether Performing Settling Defendant have exercised their best efforts under

Paragraph 60, DTSC may, in its unreviewable discretion, excuse in writing Performing

Settling Defendant’s failure to submit timely notices under this Paragraph.

       62.     If DTSC, after a reasonable opportunity for review and comment by EPA,

agrees that the delay or anticipated delay is attributable to a force majeure, the time for

performance of the obligations under this Consent Decree that are affected by the force

majeure will be extended by DTSC, after a reasonable opportunity for review and

comment by EPA, for such time as is necessary to complete those obligations. An

extension of the time for performance of the obligations affected by the force majeure

shall not, of itself, extend the time for performance of any other obligation. If DTSC,


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after a reasonable opportunity for review and comment by EPA, does not agree that the

delay or anticipated delay has been or will be caused by a force majeure, DTSC will

notify Performing Settling Defendant in writing of its decision. If DTSC, after a

reasonable opportunity for review and comment by EPA, agrees that the delay is

attributable to a force majeure, DTSC will notify Performing Settling Defendant in

writing of the length of the extension, if any, for performance of the obligations affected

by the force majeure.

       63.     If Performing Settling Defendant elects to invoke the dispute resolution

procedures set forth in Section XIX (Dispute Resolution), it shall do so no later than 15

days after receipt of DTSC’s notice. In any such proceeding, Performing Settling

Defendant shall have the burden of demonstrating by a preponderance of the evidence

that the delay or anticipated delay has been or will be caused by a force majeure, that the

duration of the delay or the extension sought was or will be warranted under the

circumstances, that best efforts were exercised to avoid and mitigate the effects of the

delay, and that Performing Settling Defendant complied with the requirements of

Paragraphs 60 and 61. If Performing Settling Defendant carries this burden, the delay at

issue shall be deemed not to be a violation by Performing Settling Defendant of the

affected obligation of this Consent Decree identified to DTSC and the Court.

                            XIX. DISPUTE RESOLUTION
       64.     Unless otherwise expressly provided for in this Consent Decree, the

dispute resolution procedures of this Section shall be the exclusive mechanism to resolve

disputes regarding this Consent Decree. However, the procedures set forth in this Section


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shall not apply to actions by the United States to enforce obligations of Performing

Settling Defendant that have not been disputed in accordance with this Section.

Paragraphs 65 through 69 shall govern disputes between Performing Settling Defendants

and the United States. Paragraphs 70 through 74 shall govern disputes between

Performing Settling Defendants and DTSC.

       65.     Any dispute regarding this Consent Decree shall in the first instance be the

subject of informal negotiations between the parties to the dispute. The period for

informal negotiations shall not exceed 20 days from the time the dispute arises, unless it

is modified by written agreement of the parties to the dispute. The dispute shall be

considered to have arisen when one party sends the other parties a written Notice of

Dispute.

       66.     Statements of Position.

              a.       In the event that the parties cannot resolve a dispute by informal

negotiations under the preceding Paragraph, then the position advanced by EPA shall be

considered binding unless, within 30 days after the conclusion of the informal negotiation

period, Performing Settling Defendant invoke the formal dispute resolution procedures of

this Section by serving on the United States a written Statement of Position on the matter

in dispute, including, but not limited to, any factual data, analysis, or opinion supporting

that position and any supporting documentation relied upon by Performing Settling

Defendant. The Statement of Position shall specify Performing Settling Defendant’s

position as to whether formal dispute resolution should proceed under Paragraph 67



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(Record Review) or 68. The Statement of Position shall be provided to DTSC for

informational purposes as a courtesy at the time it is served on the United States.

              b.       Within 30 days after receipt of Performing Settling Defendant’s

Statement of Position, EPA will serve on Performing Settling Defendant its Statement of

Position, including, but not limited to, any factual data, analysis, or opinion supporting

that position and all supporting documentation relied upon by EPA. EPA’s Statement of

Position shall include a statement as to whether formal dispute resolution should proceed

under Paragraph 67 (Record Review) or Paragraph 68. Within 15 days after receipt of

EPA’s Statement of Position, Performing Settling Defendant may submit a Reply. The

United States’ Statement of Position shall be provided to DTSC for informational

purposes as a courtesy at the time it is served on the Performing Settling Defendant.

Performing Settling Defendant’s Reply shall be provided to DTSC for informational

purposes as a courtesy at the time it is served on the United States.

              c.       If there is disagreement between EPA and Performing Settling

Defendant as to whether dispute resolution should proceed under Paragraph 67 (Record

Review) or 68, the parties to the dispute shall follow the procedures set forth in the

paragraph determined by EPA to be applicable. However, if Performing Settling

Defendant ultimately appeals to the Court to resolve the dispute, the Court shall

determine which paragraph is applicable in accordance with the standards of applicability

set forth in Paragraphs 67 and 68.

       67.     Record Review. Formal dispute resolution for disputes pertaining to the

selection or adequacy of any response action and all other disputes that are accorded

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review on the administrative record under applicable principles of administrative law

shall be conducted pursuant to the procedures set forth in this Paragraph. For purposes of

this Paragraph, the adequacy of any response action includes, without limitation, the

adequacy or appropriateness of plans, procedures to implement plans, or any other items

requiring approval by EPA under this Consent Decree, and the adequacy of the

performance of response actions taken pursuant to this Consent Decree. Nothing in this

Consent Decree shall be construed to allow any dispute by Performing Settling Defendant

regarding the validity of Remedial Cost Estimate’s provisions.

               a.      An administrative record of the dispute shall be maintained by

EPA and shall contain all statements of position, including supporting documentation,

submitted pursuant to this Section. Where appropriate, EPA may allow submission of

supplemental statements of position by the parties to the dispute.

               b.      The Director of the Superfund Division, EPA Region IX, will issue

a final administrative decision resolving the dispute based on the administrative record

described in Paragraph 67. This decision shall be binding upon Performing Settling

Defendant, subject only to the right to seek judicial review pursuant to Paragraphs 67 and

68.

               c.      Any administrative decision made by EPA pursuant to Paragraph

67 shall be reviewable by this Court, provided that a motion for judicial review of the

decision is filed by Performing Settling Defendant with the Court and served on the

United States and EPA within ten days after receipt of EPA’s decision. The motion shall

include a description of the matter in dispute, the efforts made by the parties to resolve it,

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the relief requested, and the schedule, if any, within which the dispute must be resolved

to ensure orderly implementation of this Consent Decree. The United States may file a

response to Performing Settling Defendant’s motion.

               d.      In proceedings on any dispute governed by this Paragraph,

Performing Settling Defendant shall have the burden of demonstrating that the decision

of the Superfund Division Director is arbitrary and capricious or otherwise not in

accordance with law. Judicial review of EPA’s decision shall be on the administrative

record compiled pursuant to Paragraph 67.

       68.     Formal dispute resolution for disputes that neither pertain to the selection

or adequacy of any response action nor are otherwise accorded review on the

administrative record under applicable principles of administrative law, shall be governed

by this Paragraph.

               a.      Following receipt of Performing Settling Defendant’s Statement of

Position submitted pursuant to Paragraph 66, the Director of the Superfund Division,

EPA Region IX, will issue a final decision resolving the dispute. The Superfund Division

Director’s decision shall be binding on Performing Settling Defendant unless, within ten

days after receipt of the decision, Performing Settling Defendant files with the Court and

serve on the parties a motion for judicial review of the decision setting forth the matter in

dispute, the efforts made by the parties to resolve it, the relief requested, and the

schedule, if any, within which the dispute must be resolved to ensure orderly

implementation of the Consent Decree. The United States may file a response to

Performing Settling Defendant’s motion.

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              b.          Notwithstanding Paragraph S (CERCLA Section 113(j) Record

Review of Remedial Cost Estimate and Work) of Section I (Background), judicial review

of any dispute governed by this Paragraph shall be governed by applicable principles of

law.

       69.     The invocation of formal dispute resolution procedures under this Section

shall not extend, postpone, or affect in any way any obligation of Performing Settling

Defendant under this Consent Decree, not directly in dispute, unless EPA agrees or the

Court orders otherwise. Stipulated penalties with respect to the disputed matter shall

continue to accrue but payment shall be stayed pending resolution of the dispute as

provided in Paragraph 80. Notwithstanding the stay of payment, stipulated penalties shall

accrue from the first day of noncompliance with any applicable provision of this Consent

Decree. In the event that Performing Settling Defendant does not prevail on the disputed

issue, stipulated penalties shall be assessed and paid as provided in Section XX

(Stipulated Penalties).

       70.     DTSC Dispute Resolution Procedures. Any dispute regarding this

Consent Decree between Performing Settling Defendant and DTSC shall in the first

instance be the subject of informal negotiations between the parties to the dispute. The

period for informal negotiations shall not exceed 20 days from the time the dispute arises,

unless it is modified by written agreement of both Performing Settling Defendant and

DTSC. The dispute shall be considered to have arisen when Performing Settling

Defendant or DTSC sends the other party a written Notice of Dispute by Certified Mail

with Return Receipt requested. An advance copy of this Notice of Dispute (to be sent by

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Certified Mail) shall be sent by electronic mail to the person identified in Section XXVII

(Notices and Submissions) at the time the letter is mailed. However, the 20-day period

will not begin to run until actual receipt of the Certified Mail Return Receipt. The

informal dispute resolution will have concluded upon 20 days from the date of receipt of

the written Notice of Dispute, or such modified time agreed to in writing by the parties.

       71.     Statements of Position.

              a.       In the event that the dispute cannot be resolved by informal

negotiations under Paragraph 70, then the position advanced by DTSC shall be

considered binding unless, within 30 days after the conclusion of the informal negotiation

period, Performing Settling Defendant invokes the formal dispute resolution procedures

of this Section by serving on DTSC a written Statement of Position on the matter in

dispute, including, but not limited to, any factual data, analysis, or opinion supporting

that position and any supporting documentation relied upon by Performing Settling

Defendant. The Statement of Position shall specify Performing Settling Defendant’s

position as to whether formal dispute resolution should proceed under Paragraph 72

(Record Review) or Paragraph 73. The Statement of Position shall be provided to the

United States for informational purposes as a courtesy at the time it is served on DTSC.

              b.       Within 30 days after receipt of Performing Settling Defendant’s

Statement of Position, DTSC will serve on Performing Settling Defendant its Statement

of Position, including, but not limited to, any factual data, analysis, or opinion supporting

that position and all supporting documentation relied upon by DTSC. DTSC’s Statement

of Position shall include a statement as to whether formal dispute resolution should

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proceed under Paragraph 72 (Record Review) or Paragraph 73. DTSC’s Statement of

Position shall be provided to the United States for informational purposes as a courtesy at

the time it is served on Performing Settling Defendant. Within 15 days after receipt of

DTSC’s Statement of Position, Performing Settling Defendant may submit a Reply to

DTSC with an informational copy to the United States.

              c.       If there is disagreement between Performing Settling Defendant

and DTSC as to whether dispute resolution should proceed under Paragraph 72 (Record

Review) or Paragraph 73, the parties to the dispute shall follow the procedures set forth in

the paragraph determined by DTSC to be applicable shall be followed. However, if

Performing Settling Defendant ultimately appeals to the Court to resolve the dispute, the

Court shall determine which paragraph is applicable, in accordance with the standards of

applicability set forth in Paragraphs 72 (Record Review) and Paragraph 73.

       72.     Record Review. Formal dispute resolution for disputes pertaining to the

selection or adequacy of any response action shall be conducted pursuant to the

procedures set forth in this Paragraph under the administrative record and pursuant to

CERCLA. All other disputes that are accorded review on the administrative record under

applicable principles of administrative law shall be conducted pursuant to the procedures

set forth in this Paragraph. For purposes of this Paragraph, the adequacy of any response

action includes, without limitation, the adequacy or appropriateness of plans, procedures

to implement plans, or any other items requiring approval by DTSC under this Consent

Decree, and the adequacy of the performance of response actions taken pursuant to this

Consent Decree. Nothing in this Consent Decree shall be construed to allow any dispute

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by Performing Settling Defendant regarding the validity of the Remedial Cost Estimate

provisions.

               a.      An administrative record of the dispute shall be maintained by

DTSC and shall contain all statements of position, including supporting documentation,

submitted pursuant to this Section. Where appropriate, DTSC, at its sole discretion, may

allow submission of supplemental statements of position by the parties to the dispute.

               b.      The Director of DTSC will issue a final administrative decision

resolving the dispute based on the administrative record described in this Paragraph. This

decision shall be binding upon Performing Settling Defendant, subject only to the right to

seek judicial review pursuant to this Paragraph and Paragraph 73.

               c.      Provided that a motion for judicial review of the decision is filed

by Performing Settling Defendant with the Court and served on DTSC within ten days

after receipt of DTSC’s decision (with an informational copy provided to the United

States), any administrative decision made by DTSC pursuant to this Paragraph shall be

reviewable by this Court. The motion shall include a description of the matter in dispute,

the efforts made by the parties to resolve it, the relief requested, and the schedule, if any,

within which the dispute must be resolved to ensure orderly implementation of this

Consent Decree. DTSC may file a response to Performing Settling Defendant’s motion.

               d.      In proceedings on any dispute governed by this Paragraph,

Performing Settling Defendant shall have the burden of demonstrating that the decision

of DTSC is arbitrary and capricious or otherwise not in accordance with law. Judicial



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review of DTSC’s decision shall be on the administrative record compiled pursuant to

this Paragraph.

        73.       Formal dispute resolution for disputes that do not pertain to either the

selection or the adequacy of any response action, or are otherwise not accorded review on

the administrative record under applicable principles of California administrative law,

shall be governed by this Paragraph.

               a.        Following receipt of Performing Settling Defendant’s Statement of

Position submitted pursuant to Paragraph 71, the Director of DTSC will issue a final

decision resolving the dispute. The DTSC Director’s decision shall be binding on

Performing Settling Defendant unless, within ten days after receipt of the decision,

Performing Settling Defendant files with the Court and serves on DTSC a motion for

judicial review of the decision setting forth the matter in dispute, the efforts made by the

parties to resolve it, the relief requested, and the schedule, if any, within which the

dispute must be resolved to ensure orderly implementation of the Consent Decree. DTSC

may file a response to Performing Settling Defendant’s motion. Both Performing

Settling Defendant and DTSC shall provide the United States with copies of their

respective filings at the time of filing.

               b.        Notwithstanding Paragraph S (CERCLA Section 113(j) Record

Review of Remedial Cost Estimate and Work) of Section I (Background), judicial review

of any dispute governed by this Paragraph shall be governed by applicable principles of

law.



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       74.     The invocation of formal dispute resolution procedures under this Section

shall not extend, postpone, or affect in any way any obligation of Performing Settling

Defendant under this Consent Decree, not directly in dispute, unless DTSC agrees or the

Court orders otherwise. Stipulated penalties with respect to the disputed matter shall

continue to accrue, but payment shall be stayed pending resolution of the dispute as

provided in Paragraph 81. Notwithstanding the stay of payment, stipulated penalties shall

accrue from the first day of noncompliance with any applicable provision of this Consent

Decree. In the event that Performing Settling Defendant does not prevail on the disputed

issue, stipulated penalties shall be assessed and paid as provided in Section XX

(Stipulated Penalties).

                           XX.    STIPULATED PENALTIES
       75.     Stipulated Penalties for Failure to Comply with Consent Decree.

Performing Settling Defendant shall be liable for stipulated penalties to DTSC in the

amounts set forth below for failure to comply with the requirements of this Consent

Decree, unless excused under Section XVIII (Force Majeure). “Compliance” by

Performing Settling Defendant shall include completion of all payments and activities

required under this Consent Decree, or any plan, report, or other deliverable approved

under this Consent Decree, in accordance with all applicable requirements of law, this

Consent Decree, the SOW, and any plans, reports, or other deliverables approved under

this Consent Decree and within the specified time schedules established by and approved

under this Consent Decree. The following stipulated penalties shall accrue per violation

per day for any failure to comply with the requirements of this Consent Decree:


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                       Penalty Per Violation Per Day          Period of Noncompliance

                       $100                                   1st through 14th day

                       $250                                   15th through 30th day

                       $500                                   31st day and beyond

       76.     Stipulated Penalty for Work Takeover. In the event that DTSC or EPA

assumes performance of a portion or all of the Work pursuant to Paragraph 94 (Work

Takeover), Performing Settling Defendant shall be liable for a stipulated penalty in the

amount of $20,000. Stipulated penalties under this Paragraph are in addition to the

remedies available under Paragraphs 48 (Funding for Work Takeover) and 94 (Work

Takeover).

       77.     All penalties shall begin to accrue on the day after the complete

performance is due or the day a violation occurs and shall continue to accrue through the

final day of the correction of the noncompliance or completion of the activity. However,

stipulated penalties shall not accrue: (a) with respect to a deficient submission under

Section XI (DTSC Approval of Plans, Reports, and Other Deliverables), during the

period, if any, beginning on the 31st day after DTSC’s receipt of such submission until

the date that DTSC notifies Performing Settling Defendant of any deficiency; (b) with

respect to a decision by DTSC, under Paragraph 72.b. or 73.a. of Section XIX (Dispute

Resolution), during the period, if any, beginning on the 21st day after the date that

Performing Settling Defendant’s reply to DTSC’s Statement of Position is received until

the date that the Director issues a final decision regarding such dispute; or (c) with

respect to judicial review by this Court of any dispute under Section XIX (Dispute

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Resolution), during the period, if any, beginning on the 31st day after the Court’s receipt

of the final submission regarding the dispute until the date that the Court issues a final

decision regarding such dispute. Nothing in this Consent Decree shall prevent the

simultaneous accrual of separate penalties for separate violations of this Consent Decree.

       78.     Following DTSC’s determination that Performing Settling Defendant has

failed to comply with a requirement of this Consent Decree, DTSC may give Performing

Settling Defendant written notification of the same and describe the noncompliance.

DTSC may send Performing Settling Defendant a written demand for the payment of the

penalties. However, penalties shall accrue as provided in the preceding Paragraph

regardless of whether DTSC has notified Performing Settling Defendant of a violation.

       79.     All penalties accruing under this Section shall be due and payable to

DTSC within 30 days after Performing Settling Defendant’s receipt from DTSC of a

demand for payment of the penalties, unless Performing Settling Defendant invokes the

Dispute Resolution procedures under Section XIX (Dispute Resolution) within the 30-

day period. All payments to DTSC under this Section shall indicate that the payment is

for stipulated penalties and shall be made in accordance with Paragraph 55.b.

       80.     Penalties shall continue to accrue as provided in Paragraph 77 during any

dispute resolution period, but need not be paid until the following:

              a.       If the dispute is resolved by agreement of the parties or by a

decision of DTSC that is not appealed to this Court, accrued penalties determined to be




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owed shall be paid to DTSC within 15 days after the agreement or the receipt of DTSC’s

decision or order;

              b.       If the dispute is appealed to this Court and DTSC prevails in whole

or in part, Performing Settling Defendant shall pay all accrued penalties determined by

the Court to be owed to DTSC within 60 days after receipt of the Court’s decision or

order, except as provided in Paragraph 80; and

              c.       If the District Court’s decision is appealed by any Party,

Performing Settling Defendant shall pay all accrued penalties determined by the District

Court to be owed to DTSC into an interest-bearing escrow account, established at a duly

chartered bank or trust company that is insured by the FDIC, within 60 days after receipt

of the Court’s decision or order. Penalties shall be paid into this account as they continue

to accrue, at least every 60 days. Within 15 days after receipt of the final appellate court

decision, the escrow agent shall pay the balance of the account to DTSC or to Performing

Settling Defendant to the extent that they prevail.

       81.     If Performing Settling Defendant fails to pay stipulated penalties when

due, Performing Settling Defendant shall pay DTSC Interest on the unpaid stipulated

penalties as follows: (a) if Performing Settling Defendant has timely invoked dispute

resolution such that the obligation to pay stipulated penalties has been stayed pending the

outcome of dispute resolution, DTSC Interest shall accrue from the date stipulated

penalties are due pursuant to Paragraph 80 until the date of payment; and (b) if

Performing Settling Defendant fails to timely invoke dispute resolution, DTSC Interest

shall accrue from the date of demand under Paragraph 79 until the date of payment. If

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Performing Settling Defendant fails to pay stipulated penalties and DTSC Interest when

due, DTSC may institute proceedings to collect the penalties and DTSC Interest, and

DTSC is entitled to recovery for attorney’s fees and costs for such collection efforts.

       82.     The payment of penalties and DTSC Interest, if any, shall not alter in any

way Performing Settling Defendant’s obligation to complete the performance of the

Work required under this Consent Decree.

       83.     Nothing in this Consent Decree shall be construed as prohibiting, altering,

or in any way limiting the ability of the United States or DTSC to seek any other

remedies or sanctions available by virtue of Performing Settling Defendant’s violation of

this Consent Decree or of the statutes and regulations upon which it is based, including,

but not limited to, penalties pursuant to Section 122(l) of CERCLA, 42 U.S.C. § 9622(l),

provided, however, that the United States shall not seek civil penalties pursuant to

Section 122(l) of CERCLA, and DTSC shall not seek civil penalties, for any violation for

which a stipulated penalty is provided in this Consent Decree, except in the case of a

willful violation of this Consent Decree.

       84.     Notwithstanding any other provision of this Section, DTSC may, in its

unreviewable discretion, waive any portion of stipulated penalties that have accrued

pursuant to this Consent Decree.

       XXI. COVENANTS BY PLAINTIFFS FOR PERFORMING SETTLING
                           DEFENDANT
       85.     Covenants for Performing Settling Defendant by the United States. In

consideration of the actions that will be performed and the payments that will be made by


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Performing Settling Defendant under this Consent Decree, and except as specifically

provided in Paragraphs 87, 88 (United States’ Pre- and Post-Certification Reservations),

and 93 (General Reservations of Rights), the United States covenants not to sue or to take

administrative action against Performing Settling Defendant pursuant to Sections 106 and

107(a) of CERCLA and 7003 of RCRA relating to the site. Except with respect to future

liability, these covenants shall take effect upon the Effective Date of this Consent Decree.

With respect to future liability, these covenants shall take effect upon Certification of

Completion of the Remedial Action by DTSC pursuant to Paragraph 50 of Section XIV

(Certification of Completion). These covenants are conditioned upon the satisfactory

performance by Performing Settling Defendant of its obligations under this Consent

Decree. These covenants extend only to Performing Settling Defendant and do not

extend to any other person.

       86.     Covenants for Performing Settling Defendant by DTSC and the California

Toxic Substances Control Account. In consideration of the actions that will be performed

and the payments that will be made by Performing Settling Defendant under this Consent

Decree, and except as specifically provided in Paragraphs 90, 91 (DTSC’s Pre- and Post-

Certification Reservations), and 93 (General Reservations of Rights), DTSC and the

California Toxic Substances Control Account covenant not to sue or to take

administrative action against Performing Settling Defendant pursuant to CERCLA,

RCRA, and the California Health and Safety Code §§ 25300 et seq., to: (1) recover their

Response Costs related to the Site; or (2) require Performing Settling Defendant to

conduct response actions, including removal or remedial actions in response to the


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release or threatened release of hazardous substances at the Site, including the soils and

groundwater. Except with respect to future liability, these covenants shall take effect

upon the Effective Date of this Consent Decree. With respect to future liability, these

covenants shall take effect upon Certification of Completion of the Remedial Action by

DTSC pursuant to Paragraph 50 of Section XIV (Certification of Completion). These

covenants are conditioned upon the satisfactory performance by Performing Settling

Defendant of its obligations under this Consent Decree. These covenants extend only to

Performing Settling Defendant and do not extend to any other person.

       87.     United States’ Pre-Certification Reservations. Notwithstanding any other

provision of this Consent Decree, the United States reserves, and this Consent Decree is

without prejudice to, the right to institute proceedings in this action or in a new action,

and/or to issue an administrative order, seeking to compel Performing Settling Defendant

to perform further response actions relating to the Site and/or to pay the United States for

additional costs of response if, (a) prior to Certification of Completion of the Remedial

Action, (1) conditions at the Site, previously unknown to EPA, are discovered, or (2)

information, previously unknown to EPA, is received, in whole or in part, and (b) EPA

determines that these previously unknown conditions or information together with any

other relevant information indicates that the Remedial Action is not protective of human

health or the environment.

       88.     United States’ Post-Certification Reservations. Notwithstanding any other

provision of this Consent Decree, the United States reserves, and this Consent Decree is

without prejudice to, the right to institute proceedings in this action or in a new action,

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and/or to issue an administrative order, seeking to compel Performing Settling Defendant

to perform further response actions relating to the Site and/or to pay the United States for

additional costs of response if, (a) subsequent to Certification of Completion of the

Remedial Action, (1) conditions at the Site, previously unknown to EPA, are discovered,

or (2) information, previously unknown to EPA, is received, in whole or in part, and (b)

EPA determines that these previously unknown conditions or this information together

with other relevant information indicate that the Remedial Action is not protective of

human health or the environment.

       89.     For purposes of Paragraph 87 (United States’ Pre-Certification

Reservations), the information and the conditions known to EPA will include only that

information and those conditions known to EPA as of the date Remedial Cost Estimate

was approved by DTSC on June 29, 2016, and set forth in Remedial Cost Estimate or the

administrative record supporting Remedial Cost Estimate. For purposes of Paragraph 88

(United States’ Post-Certification Reservations), the information and the conditions

known to EPA shall include only that information and those conditions known to EPA as

of the date of Certification of Completion of the Remedial Action, and set forth in

Remedial Cost Estimate, the administrative record supporting Remedial Cost Estimate,

the post-ROD administrative record, or in any information received by EPA pursuant to

the requirements of this Consent Decree prior to Certification of Completion of the

Remedial Action.

       90.     DTSC’s Pre-Certification Reservations. Notwithstanding any other

provision of this Consent Decree, DTSC reserves, and this Consent Decree is without

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prejudice to, the right to institute proceedings in this action or in a new action, and/or to

issue an administrative order, seeking to compel Performing Settling Defendant to

perform further response actions relating to the Site and/or to pay DTSC for additional

costs of response if, (a) prior to Certification of Completion of the Remedial Action, (1)

conditions at the Site, previously unknown to DTSC, are discovered, or (2) information,

previously unknown to DTSC, is received, in whole or in part, and (b) DTSC determines

that these previously unknown conditions or information together with any other relevant

information indicates that the Remedial Action is not protective of human health or the

environment.

       91.     DTSC’s Post-Certification Reservations. Notwithstanding any other

provision of this Consent Decree, DTSC reserves, and this Consent Decree is without

prejudice to, the right to institute proceedings in this action or in a new action, and/or to

issue an administrative order, seeking to compel Performing Settling Defendant to

perform further response actions relating to the Site and/or to pay DTSC for additional

costs of response if, (a) subsequent to Certification of Completion of the Remedial

Action, (1) conditions at the Site, previously unknown to DTSC, are discovered, or (2)

information, previously unknown to DTSC, is received, in whole or in part, and (b)

DTSC determines that these previously unknown conditions or this information together

with other relevant information indicate that the Remedial Action is not protective of

human health or the environment.

       92.     For purposes of Paragraph 90 (DTSC’s Pre-Certification Reservations),

the information and the conditions known to DTSC will include only that information

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and those conditions known to DTSC as of the date Remedial Cost Estimate was

approved by DTSC on June 29, 2016, and set forth in Remedial Cost Estimate or the

administrative record supporting Remedial Cost Estimate. For purposes of Paragraph 91

(DTSC’s Post-Certification Reservations), the information and the conditions known to

DTSC shall include only that information and those conditions known to DTSC as of the

date of Certification of Completion of the Remedial Action, and set forth in Remedial

Cost Estimate, the administrative record supporting Remedial Cost Estimate, the post-

ROD administrative record, or in any information received by DTSC pursuant to the

requirements of this Consent Decree prior to Certification of Completion of the Remedial

Action.

          93.   General Reservations of Rights. The Plaintiffs reserve, and this Consent

Decree is without prejudice to, all rights against Performing Settling Defendant with

respect to all matters not expressly included within Plaintiff’s covenants.

Notwithstanding any other provision of this Consent Decree, the Plaintiffs reserve all

rights against Performing Settling Defendant with respect to:

                a.     liability for failure by Performing Settling Defendant to meet a

requirement of this Consent Decree;

                b.     liability arising from the past, present, or future disposal, release,

or threat of release of Waste Material outside of the Site;




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              c.       liability based on the ownership of the Site by Performing Settling

Defendant when such ownership commences after signature of this Consent Decree by

Performing Settling Defendant;

              d.       liability based on the operation of the Site by Performing Settling

Defendant when such operation commences after signature of this Consent Decree by

Setting Defendant and does not arise solely from Performing Settling Defendant’s

performance of the Work;

              e.       liability based on Performing Settling Defendant’s transportation,

treatment, storage, or disposal, or arrangement for transportation, treatment, storage, or

disposal of Waste Material at or in connection with the Site, other than as provided in

Remedial Cost Estimate, the Work, or otherwise ordered by DTSC, after signature of this

Consent Decree by Performing Settling Defendant;

              f.       liability for damages for injury to, destruction of, or loss of natural

resources, and for the costs of any natural resource damage assessments;

              g.       criminal liability;

              h.       liability for violations of federal or state law that occur during or

after implementation of the Work; and

              i.       liability, prior to Certification of Completion of the Remedial

Action, for additional response actions that EPA or DTSC determines are necessary to

achieve and maintain Performance Standards or to carry out and maintain the




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effectiveness of the remedy set forth in Remedial Cost Estimate, but that cannot be

required pursuant to Paragraph 14 (Modification of SOW or Related Work Plans);

       94.     Work Takeover.

              a.      In the event DTSC or EPA determines that Performing Settling

Defendant has (1) ceased implementation of any portion of the Work, (2) is seriously or

repeatedly deficient or late in its performance of the Work, or (3) is implementing the

Work in a manner that may cause an endangerment to human health or the environment,

DTSC or EPA may issue a written notice (“Work Takeover Notice”) to Performing

Settling Defendant. Any Work Takeover Notice issued by DTSC or EPA will specify the

grounds upon which such notice was issued and will provide Performing Settling

Defendant a period of ten days within which to remedy the circumstances giving rise to

DTSC’s or EPA’s issuance of such notice.

              b.      If, after expiration of the ten-day notice period specified in

Paragraph 94.a., Performing Settling Defendant has not remedied to DTSC’s or EPA’s

satisfaction the circumstances giving rise to DTSC’s or EPA’s issuance of the relevant

Work Takeover Notice, DTSC or EPA may at any time thereafter assume the

performance of all or any portion(s) of the Work as DTSC or EPA deems necessary

(“Work Takeover”). EPA or DTSC will notify Performing Settling Defendant in writing

(which writing may be electronic) if EPA or DTSC determines that implementation of a

Work Takeover is warranted under this Paragraph 94.b. Funding of Work Takeover costs

is addressed under Paragraph 48.



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                c.     Performing Settling Defendant may invoke the dispute resolution

procedures set forth in Section XIX to dispute DTSC’s or EPA’s implementation of a

Work Takeover under Paragraph 94.b. However, notwithstanding Performing Settling

Defendant’s invocation of such dispute resolution procedures, and during the pendency of

any such dispute, DTSC or EPA may in its sole discretion commence and continue a

Work Takeover under Paragraph 94.b. until the earlier of (1) the date that Performing

Settling Defendant remedy, to DTSC’s or EPA’s satisfaction, the circumstances giving

rise to DTSC’s or EPA’s issuance of the relevant Work Takeover Notice, or (2) the date

that a final decision is rendered in accordance with Paragraph 67 (Record Review)

requiring EPA to terminate such Work Takeover, or Paragraph 72 (Record Review)

requiring DTSC to terminate such Work Takeover.

          95.   Notwithstanding any other provision of this Consent Decree, the Plaintiffs

retain all authority and reserve all rights to take any and all response actions authorized

by law.

       XXII. COVENANTS BY PLAINTIFFS FOR SETTLING INDIVIDUALS
          96.   Covenants for Settling Individuals by the United States. In consideration

of the actions that will be performed by Performing Settling Defendant under this

Consent Decree and by Settling Individuals under Paragraph 114 (Surrender of Site-

related Records by Settling Individuals), and except as specifically provided in Paragraph

98 (Reservations of Rights as to Settling Individuals), the United States covenant not to

sue or to take administrative action against Settling Individuals pursuant to Sections 106




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and 107(a) of CERCLA and Section 7003 of RCRA relating to the Site. This covenant

shall take effect upon the Effective Date of this Consent Decree.

       97.     Covenants for Settling Individuals by DTSC and the California Toxic

Substances Control Account. In consideration of the actions that will be performed by

Performing Settling Defendant under this Consent Decree and by Settling Individuals

under Paragraph 114 (Surrender of Site-related Records by Settling Individuals), and

except as specifically provided in Paragraph 98 (Reservations of Rights as to Settling

Individuals), DTSC and the California Toxic Substances Control Account covenant not to

sue or to take administrative action against Settling Individuals pursuant to CERCLA,

RCRA, or the California Hazardous Substances Account (“HSAA”), California Health

and Safety Code §§ 25300 et seq., to (1) recover Response Costs related to the Site; or (2)

require Settling Defendants to conduct response actions, including removal or remedial

actions in response to the release or threatened release of hazardous substances at the

Site, including the soils and groundwater and California statutory and common law or to

seek penalties under the HSAA relating to the Site. This covenant shall take effect upon

the Effective Date of this Consent Decree.

       98.     Reservations of Rights as to Settling Individuals. The Plaintiffs’ reserve,

and this Consent Decree is without prejudice to, all rights against Settling Individuals

with respect to all matters not expressly included within Paragraphs 96 (Covenants for

Settling Individuals by the United States) and 97 (Covenants for Settling Individuals by

DTSC and the Toxic Substances Control Account). Notwithstanding any other provision




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of this Consent Decree, the Plaintiffs’ reserve all rights against Settling Individuals with

respect to:

               a.      liability for failure by any Settling Individual to meet a

requirement of this Consent Decree;

               b.      liability arising from the past, present, or future disposal, release,

or threat of release of Waste Material outside of the Site;

               c.      liability based on the ownership of the Site by any Settling

Individual when such ownership commences after signature of this Consent Decree by

that Settling Individual.

               d.      liability based on the operation of the Site by any Settling

Individual when such operation commences after signature of this Consent Decree by that

Settling Individual and does not arise solely from that Settling Individual’s performance

of the Work;

               e.      liability based on any Settling Individual’s transportation,

treatment, storage, or disposal, or arrangement for transportation, treatment, storage, or

disposal of Waste Material at or in connection with the Site, other than as provided in the

Remedial Cost Estimate, the Work, or otherwise ordered by DTSC, after signature of this

Consent Decree by that Settling Individual.

               f.      liability for damages for injury to, destruction of, or loss of natural

resources, and for the costs of any natural resource damage assessments; and

               g.      criminal liability.

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      XXIII. COVENANTS BY PERFORMING SETTLING DEFENDANT AND
                        SETTLING INDIVIDUALS
       99.     Covenants by Performing Settling Defendant and Settling Individuals.

Subject to the reservations in Paragraph 102, Performing Settling Defendant and Settling

Individuals covenant not to sue and agree not to assert any claims or causes of action

against the United States, DTSC or the California Toxic Substances Account, including

but not limited to any direct or indirect claim for reimbursement from the California

Hazardous Substances Account or any other State of California fund or account, with

respect to the Site and this Consent Decree, including, but not limited to:

              a.       any direct or indirect claim for reimbursement from the EPA

Hazardous Substance Superfund through CERCLA Sections 106(b)(2), 107, 111, 112 or

113, or any other provision of law;

              b.       any claims under CERCLA Sections 107 or 113, RCRA Section

7002(a), 42 U.S.C. § 6972(a), or state law regarding the Site and this Consent Decree; or

              c.       any claims arising out of response actions at or in connection with

the Site, including any claim under the United States Constitution, the California

Constitution, the Tucker Act, 28 U.S.C. §1491, the Equal Access to Justice Act, 28

U.S.C. § 2412, or at common law.

       100.    Except as provided in Paragraph 110 (Res Judicata and Other Defenses),

the covenants in this Section shall not apply to Performing Settling Defendant if the

United States , DTSC or the California Toxic Substances Account brings a cause of

action or issues an order pursuant to any of the reservations in Section XXI (Covenants


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by Plaintiffs for Performing Settling Defendant), other than in Paragraphs 93.a. (claims

for failure to meet a requirement of the Consent Decree), 93.g. (criminal liability), and

93.h. (violations of federal/state law during or after implementation of the Work), but

only to the extent that Performing Settling Defendant’s claims arise from the same

response action, response costs, or damages that the United States or DTSC is seeking

pursuant to the applicable reservation.

       101.    Except as provided in Paragraph 110 (Res Judicata and Other Defenses),

the covenants in this Section shall not apply to Settling Individuals if the United States,

DTSC or the California Toxic Substances Account brings a cause of action or issues an

order pursuant to any of the reservations in Section XXII (Covenants by Plaintiffs for

Settling Individuals), other than in Paragraphs 98.a. (claims for failure to meet a

requirement of the Consent Decree) and 98.g. (criminal liability), but only to the extent

that Settling Individuals’ claims arise from the same response action, response costs, or

damages that the United States or DTSC is seeking pursuant to the applicable reservation.

       102.    Performing Settling Defendant and Settling Individuals reserve, and this

Consent Decree is without prejudice to, claims against the United States, subject to the

provisions of Chapter 171 of Title 28 of the United States Code, and brought pursuant to

any statute other than CERCLA or RCRA and for which the waiver of sovereign

immunity is found in a statute other than CERCLA or RCRA, for money damages for

injury or loss of property or personal injury or death caused by the negligent or wrongful

act or omission of any employee of the United States, including as the term “United

States” is defined in 28 U.S.C. § 2671, while acting within the scope of his or her office

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or employment under circumstances where the United States, if a private person, would

be liable to the claimant in accordance with the law of the place where the act or

omission occurred. However, the foregoing shall not include any claim based on EPA’s

selection of response actions, or the oversight or approval of Performing Settling

Defendant’s plans, reports, other deliverables or activities.

       103.    Nothing in this Consent Decree shall be deemed to constitute

preauthorization of a claim within the meaning of Section 111 of CERCLA, 42 U.S.C.

§ 9611, or 40 C.F.R. § 300.700(d).

       104.    Claims Against De Micromis Parties. Performing Settling Defendant and

Settling Individuals agree not to assert any claims and to waive all claims or causes of

action (including but not limited to claims or causes of action under Sections 107(a) and

113 of CERCLA) that they may have for all matters relating to the Site against any

person where the person’s liability to Performing Settling Defendant or Settling

Individuals with respect to the Site is based solely on having arranged for disposal or

treatment, or for transport for disposal or treatment, of hazardous substances at the Site,

or having accepted for transport for disposal or treatment of hazardous substances at the

Site, if all or part of the disposal, treatment, or transport occurred before April 1, 2001,

and the total amount of material containing hazardous substances contributed by such

person to the Site was less than 110 gallons of liquid materials or 200 pounds of solid

materials.

       105.    The waiver in Paragraph 104 (Claims Against De Micromis Parties) shall

not apply with respect to any defense, claim, or cause of action that Performing Settling

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Defendant or Settling Individuals may have against any person meeting the criteria in

Paragraph 104 if such person asserts a claim or cause of action relating to the Site against

Performing Settling Defendant or Settling Individuals. This waiver also shall not apply

to any claim or cause of action against any person meeting the criteria in Paragraph 104 if

DTSC or EPA determines:

               a.          that such person has failed to comply with any DTSC or EPA

requests for information or administrative subpoenas issued pursuant to California Health

and Safety Code sections 25358.1 and/or 25185, or Section 104(e) or 122(e) of

CERCLA, 42 U.S.C. § 9604(e) or 9622(e), or Section 3007 of RCRA, 42 U.S.C. § 6927,

or has impeded or is impeding, through action or inaction, the performance of a response

action or natural resource restoration with respect to the Site, or has been convicted of a

criminal violation for the conduct to which this waiver would apply and that conviction

has not been vitiated on appeal or otherwise; or

               b.          that the materials containing hazardous substances contributed to

the Site by such person have contributed significantly, or could contribute significantly,

either individually or in the aggregate, to the cost of response action or natural resource

restoration at the Site.

                    XXIV. EFFECT OF SETTLEMENT; CONTRIBUTION
        106.    Except as provided in Paragraph 104 (Claims Against De Micromis

Parties), nothing in this Consent Decree shall be construed to create any rights in, or grant

any cause of action to, any person not a Party to this Consent Decree. Each of the Parties

expressly reserves any and all rights (including, but not limited to, pursuant to Section

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113 of CERCLA, 42 U.S.C. § 9613), defenses, claims, demands, and causes of action that

each Party may have with respect to any matter, transaction, or occurrence relating in any

way to the Site against any person not a Party hereto. Nothing in this Consent Decree

diminishes the right of the Plaintiffs, pursuant to Section 113(f)(2) and (3) of CERCLA,

42 U.S.C. § 9613(f)(2)-(3), to pursue any such persons to obtain additional response costs

or response action and to enter into settlements that give rise to contribution protection

pursuant to Section 113(f)(2).

       107.    The Parties agree, and by entering this Consent Decree this Court finds,

that this Consent Decree constitutes a judicially approved settlement for purposes of

Section 113(f)(2) of CERCLA, 42 U.S.C. § 9613(f)(2), and that Performing Settling

Defendant and each Settling Individual is entitled, as of the Effective Date, to protection

from contribution actions or claims as provided by Section 113(f)(2) of CERCLA, or as

may be otherwise provided by law, for “matters addressed” in this Consent Decree. The

“matters addressed” in this Consent Decree are all response actions taken or to be taken

and all response costs incurred or to be incurred, at or in connection with the Site, by the

United States, the California Toxic Substances Control Account, DTSC, the California

Hazardous Substances Account, or any other person provided, however, that if the United

States, the California Toxic Substances Control Account or DTSC exercises rights under

the reservations in Section XXI (Covenants by Plaintiffs for Performing Settling

Defendant) or Section XXII (Covenants by Plaintiffs for Settling Individuals), other than

in Paragraphs 93.a. or 98.a. (claims for failure to meet a requirement of the Consent

Decree), 93.g. or 98.g. (criminal liability), or 93.h. (violations of federal/state law during


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or after implementation of the Work), the “matters addressed” in this Consent Decree will

no longer include those response costs or response actions.

        108.    If Performing Settling Defendant or any Settling Individual intends to

bring any suit or claim for matters related to this Consent Decree, Performing Settling

Defendant or such Settling Individual shall notify the Plaintiffs in writing no later than 60

days prior to the initiation of such suit or claim.

        109.    If Performing Settling Defendant or any Settling Individual has a suit or

claim brought against him/her/it for matters related to this Consent Decree, Performing

Settling Defendant or such Settling Individual shall notify the Plaintiffs in writing within

ten days after service of the complaint on Performing Settling Defendant or such Settling

Individual. In addition, Performing Settling Defendant or such Settling Individual shall

notify the Plaintiffs within ten days after service or receipt of any Motion for Summary

Judgment and within ten days after receipt of any order from a court setting a case for

trial in any suit brought against the Performing Settling Defendant or such Settling

Individual for matters related to this Consent Decree.

        110.    Res Judicata and Other Defenses. In any subsequent administrative or

judicial proceeding initiated by the United States, DTSC or the California Toxic

Substances Account for injunctive relief, recovery of response costs, or other appropriate

relief relating to the Site, Performing Settling Defendant and Settling Individuals shall

not assert, and may not maintain, any defense or claim based upon the principles of

waiver, res judicata, collateral estoppel, issue preclusion, claim-splitting, or other

defenses based upon any contention that the claims raised by the United States, DTSC or

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the California Toxic Substances Account in the subsequent proceeding were or should

have been brought in the instant case; provided, however, that nothing in this Paragraph

affects the enforceability of the covenants not to sue set forth in Sections XXI (Covenants

by Plaintiffs for Performing Settling Defendant) and XXII (Covenants by Plaintiffs for

Settling Individuals).

                           XXV. ACCESS TO INFORMATION
       111.    Performing Settling Defendant shall provide to EPA and DTSC, upon

request, copies of all records, reports, documents, and other information (including

records, reports, documents, and other information in electronic form) (hereinafter

referred to as “Records”) within its possession or control or that of its contractors or

agents relating to activities at the Site or to the implementation of this Consent Decree,

including, but not limited to, sampling, analysis, chain of custody records, manifests,

trucking logs, receipts, reports, sample traffic routing, correspondence, or other

documents or information regarding the Work. Performing Settling Defendant shall also

make available to EPA and DTSC, for purposes of investigation, information gathering,

or testimony, its employees, agents, or representatives with knowledge of relevant facts

concerning the performance of the Work.

       112.    Business Confidential and Privileged Documents.

              a.         Performing Settling Defendant may assert business confidentiality

claims covering part or all of the Records submitted to Plaintiffs under this Consent

Decree to the extent permitted by and in accordance with Section 104(e)(7) of CERCLA,

42 U.S.C. § 9604(e)(7), and 40 C.F.R. § 2.203(b). Records determined to be confidential

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by EPA will be afforded the protection specified in 40 C.F.R. Part 2, Subpart B. If no

claim of confidentiality accompanies Records when they are submitted to EPA and

DTSC, or if EPA has notified Performing Settling Defendant that the Records are not

confidential under the standards of Section 104(e)(7) of CERCLA or 40 C.F.R. Part 2,

Subpart B, the public may be given access to such Records without further notice to

Performing Settling Defendant. With respect to documents submitted by the Performing

Settling Defendant to DTSC under this Consent Decree, Performing Settling Defendant

may assert trade secret claims or other claims of privilege or confidentiality under the

California Uniform Trade Secrets Act (“UTSA”), Cal. Civil Code § 3426, et seq., or the

California Public Records Act (“PRA”), Cal. Gov’t Code § 6254 et seq., covering all or

part of such documents. In the event of a third-party request for production of such

documents, DTSC shall, to the extent required by law, determine whether those

documents or portions thereof are subject to a claim of confidentiality or other privilege

under the PRA or the UTSA by Performing Settling Defendant. DTSC shall provide any

legally-required notice to Performing Settling Defendant that a request for documents

claimed confidential or privileged by Performing Settling Defendant has been made.

Performing Settling Defendant shall bear the responsibility to justify its asserted

privileges or confidentiality claims for the documents requested and to seek judicial relief

from disclosure.

              b.       Performing Settling Defendant may assert that certain Records are

privileged under the attorney-client privilege or any other privilege recognized by federal

law. If Performing Settling Defendant assert such a privilege in lieu of providing


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Records, it shall provide Plaintiffs with the following: (1) the title of the Record; (2) the

date of the Record; (3) the name, title, affiliation (e.g., company or firm), and address of

the author of the Record; (4) the name and title of each addressee and recipient; (5) a

description of the contents of the Record; and (6) the privilege asserted by Performing

Settling Defendant. If a claim of privilege applies only to a portion of a Record, the

Record shall be provided to the Plaintiffs in redacted form to mask the privileged portion

only. Performing Settling Defendant shall retain all Records that it claims to be

privileged until the Plaintiffs have had a reasonable opportunity to dispute the privilege

claim and any such dispute has been resolved in Performing Settling Defendant’s favor.

              c.       No Records created or generated pursuant to the requirements of

this Consent Decree shall be withheld from the Plaintiffs on the grounds that they are

privileged or confidential.

       113.    No claim of confidentiality or privilege shall be made with respect to any

data, including, but not limited to, all sampling, analytical, monitoring, hydrogeologic,

scientific, chemical, or engineering data, or any other documents or information

evidencing conditions at or around the Site.

                              XXVI. RETENTION OF RECORDS
       114.    Surrender of Site-Related Records by Settling Individuals. Within 180

days of the Effective Date, each Settling Individual shall make a reasonable effort to

locate Records relating to the Site that are within that Settling Individual’s possession or

control, and shall provide either originals or legible copies of any such Records to

Performing Settling Defendant by mailing or otherwise delivering them to the following

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address: Attn. Mark Underwood, EnviroAnalytics Group LLC, 1650 Des Peres Road,

Suite 303, St. Louis, MO 63131.

       115.    Until ten years after Performing Settling Defendant’s receipt of DTSC’s

notification pursuant to Paragraph 51 (Completion of the Work), Performing Settling

Defendant shall preserve and retain all non-identical copies of Records (including

Records in electronic form) now in its possession or control or that come into its

possession or control that relate in any manner to its liability under CERCLA with

respect to the Site, and all Records that relate to the liability of any other person under

CERCLA with respect to the Site. Performing Settling Defendant must also retain, and

instruct its contractors and agents to preserve, for the same period of time specified above

all non-identical copies of the last draft or final version of any Records (including

Records in electronic form) now in its possession or control or that come into its

possession or control that relate in any manner to the performance of the Work, provided,

however, that Performing Settling Defendant (and its contractors and agents) must retain,

in addition, copies of all data generated during the performance of the Work and not

contained in the aforementioned Records required to be retained. Each of the above

record retention requirements shall apply regardless of any corporate retention policy to

the contrary. Performing Settling Defendant shall also retain all non-identical copies of

Records relating to the Site provided to it by Settling Individuals, including but not

limited to Records provided pursuant to Paragraph 114 (Surrender of Site-Related

Records by Settling Individuals).




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        116.    At the conclusion of this record retention period, Performing Settling

Defendant shall notify Plaintiffs at least 90 days prior to the destruction of any such

Records, and, upon request by Plaintiffs, Performing Settling Defendant shall deliver any

such Records to DTSC or EPA. Performing Settling Defendant may assert that certain

Records are privileged under the attorney-client privilege or any other privilege

recognized by federal law. If Performing Settling Defendant asserts such a privilege, it

shall provide Plaintiffs with the following: (a) the title of the Record; (b) the date of the

Record; (c) the name, title, affiliation (e.g., company or firm), and address of the author

of the Record; (d) the name and title of each addressee and recipient; (e) a description of

the subject of the Record; and (f) the privilege asserted by Performing Settling

Defendant. If a claim of privilege applies only to a portion of a Record, the Record shall

be provided to Plaintiffs in redacted form to mask the privileged portion only.

Performing Settling Defendant shall retain all Records that it claims to be privileged until

the Plaintiffs have had a reasonable opportunity to dispute the privilege claim and any

such dispute has been resolved in Performing Settling Defendant’s favor. However, no

Records created or generated pursuant to the requirements of this Consent Decree shall

be withheld on the grounds that they are privileged or confidential.

        117.    Performing Settling Defendant certifies that, to the best of its knowledge

and belief, after thorough inquiry, it has not altered, mutilated, discarded, destroyed, or

otherwise disposed of any Records (other than identical copies) relating to its potential

liability regarding the Site since the earlier of notification of potential liability by the

United States or DTSC or the filing of suit against it regarding the Site and that it has


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  fully complied with any and all EPA and DTSC requests for information regarding the

  Site pursuant to Sections 104(e) and 122(e) of CERCLA, 42 U.S.C. §§ 9604(e) and

  9622(e), and Section 3007 of RCRA, 42 U.S.C. § 6927, and state law.

                       XXVII.          NOTICES AND SUBMISSIONS
          118.   Whenever, under the terms of this Consent Decree, written notice is

  required to be given or a report or other document is required to be sent by one Party to

  another, it shall be directed to the individuals at the addresses specified below, unless

  those individuals or their successors give written notice of a change to the other Parties in

  writing. All notices and submissions shall be considered effective upon receipt, unless

  otherwise provided. Written notice as specified in this Section shall constitute complete

  satisfaction of any written notice requirement of the Consent Decree with respect to the

  Plaintiffs and Performing Settling Defendant, respectively. Notices required to be sent to

  EPA, and not to the United States, under the terms of this Consent Decree should not be

  sent to the U.S. Department of Justice. The Parties contemplate that the notices and

  submissions required under this Consent Decree will generally not affect the obligations

  of or the protections afforded to Settling Individuals and therefore need not be provided

  to Settling Individuals.


As to the United States:                 Chief, Environmental Enforcement Section
                                         Environment and Natural Resources Division
                                         U.S. Department of Justice
                                         P.O. Box 7611
                                         Washington, D.C. 20044-7611
                                         Re: DJ # 90-11-3-835/2

As to EPA:                               Director, Superfund Division
                                         United States Environmental Protection Agency

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                                        Region IX
                                        75 Hawthorne Street
                                        San Francisco, CA 94105

and:
                                        Anhtu Nguyen
                                        EPA Project Coordinator
                                        United States Environmental Protection Agency
                                        Region IX
                                        75 Hawthorne Street
                                        San Francisco, CA 94105

As to the Regional Financial            Regional Financial Management Officer
Management Officer:                     75 Hawthorne Street
                                        San Francisco, CA 94105

As to DTSC and the California Toxic     Janet Naito, Branch Chief
Substances Control Act:                 Brownfields and Environmental Restoration Program
                                        California Department of Toxic Substances Control
                                        700 Heinz Avenue
                                        Berkeley, CA 94710-2721

                                        Lynn Goldman
                                        Office of Legal Counsel
                                        California Department of Toxic Substances Control
                                        1001 I Street, 23rd Floor
                                        P.O. Box 806
                                        Sacramento, CA 95812-0806


As to Performing Settling Defendant:    Thomas G. Pike, Esq.
                                        Performing Settling Defendant’s Project Coordinator
                                        Commercial Development Co.
                                        Environmental Liability Transfer, Inc.
                                        EnvironAnalytics Group, LLC
                                        1650 Des Peres Rd. – Suite 330
                                        Saint Louis, MO 63131
                                        tpike@cdcco.com
                     XXVIII.           RETENTION OF JURISDICTION
         119.    This Court retains jurisdiction over both the subject matter of this Consent

  Decree and Performing Settling Defendant for the duration of the performance of the

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terms and provisions of this Consent Decree for the purpose of enabling any of the

Parties to apply to the Court at any time for such further order, direction, and relief as

may be necessary or appropriate for the construction or modification of this Consent

Decree, or to effectuate or enforce compliance with its terms, or to resolve disputes in

accordance with Section XIX (Dispute Resolution).

                                   XXIX. APPENDICES
       120.    The following appendices are attached to and incorporated into this

Consent Decree:

       “Appendix A” is the Fourth Amendment to the Custodian Fund Agreement.

       “Appendix B” is the Land Use Covenant.

       “Appendix C” is the 1994 AOC.

       “Appendix D” is the Record of Decision (“ROD”).

       “Appendix E” is the RAP including the RAP Amendment and ESD.

        “Appendix F” is the Remedial Cost Estimate.

        “Appendix G” is the Site Map.

       “Appendix H” is the Statement of Work (“SOW”).

       “Appendix I” is the Performance Guarantee Trust.

       “Appendix J” is the Community Relations Plan




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                        XXX. COMMUNITY INVOLVEMENT
       121.    If requested by DTSC, after consultation with EPA, Performing Settling

Defendant shall participate in community involvement activities pursuant to the

Community Relations Plan developed by DTSC, as may be revised and updated to

comply with state law. The May 12, 1999 revision to the Community Relations Plan is

attached as Appendix J. Performing Settling Defendant shall also cooperate with DTSC

and EPA in providing information regarding the Work to the public. As requested by

DTSC, after consultation with EPA, Performing Settling Defendant shall participate in

the preparation of such information for dissemination to the public and in public meetings

that may be held or sponsored by DTSC or EPA to explain activities at or relating to the

Site. Costs incurred by the United States under this Section, including the costs of any

technical assistance grant under Section 117(e) of CERCLA, 42 U.S.C. § 9617(e), shall

be considered Future Response Costs that Performing Settling Defendant shall pay

pursuant to Section XVI (Payments for Response Costs). Costs incurred by DTSC under

this Section shall be considered DTSC Future Response Costs that Performing Settling

Defendant shall pay pursuant to Section XVI (Payments for Response Costs).

                                XXXI. MODIFICATION
       122.    Except as provided in Paragraph 14 (Modification of SOW or Related

Work Plans), material modifications to this Consent Decree, including the SOW, shall be

in writing, signed by the United States, DTSC, and Performing Settling Defendant, and

shall be effective upon approval by the Court. Except as provided in Paragraph 14, non-

material modifications to this Consent Decree, including the SOW, shall be in writing

and shall be effective when signed by duly authorized representatives of the United

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States, DTSC, and Performing Settling Defendant.       A modification to the SOW shall be

considered material if it fundamentally alters the basic features of the selected remedy

within the meaning of 40 C.F.R. § 300.435(c)(2)(ii).

       123.    Modifications (non-material or material) pursuant to Paragraph 122 that

affect the obligations of or the protections afforded to Settling Individuals must be

executed by Settling Individuals, in addition to Plaintiffs and Performing Settling

Defendant. Modifications (non-material or material) that do not affect the obligations of

or the protections afforded to Settling Individuals shall not require the signatures of

Settling Individuals.

       124.    Nothing in this Consent Decree shall be deemed to alter the Court’s power

to enforce, supervise, or approve modifications to this Consent Decree.

     XXXII.             LODGING AND OPPORTUNITY FOR PUBLIC COMMENT
       125.    This Consent Decree shall be lodged with the Court for a period of not less

than 30 days for public notice and comment in accordance with Section 122(d)(2) of

CERCLA, 42 U.S.C. § 9622(d)(2), and 28 C.F.R. § 50.7. The Plaintiffs each reserve the

right to withdraw or withhold their consent if the comments regarding the Consent

Decree disclose facts or considerations that indicate that the Consent Decree is

inappropriate, improper, or inadequate. Performing Settling Defendant and Settling

Individuals consent to the entry of this Consent Decree without further notice.

       126.    If for any reason the Court should decline to approve this Consent Decree

in the form presented, this agreement is voidable at the sole discretion of any Party and



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the terms of the agreement may not be used as evidence in any litigation between the

Parties.

                          XXXIII.        SIGNATORIES/SERVICE
           127.   Each undersigned representative of Performing Settling Defendant,

Settling Individuals, the Assistant Attorney General for the Environment and Natural

Resources Division of the Department of Justice, the State of California Attorney

General’s Office, DTSC and the California Toxic Substances Control Account certifies

that he or she is fully authorized to enter into the terms and conditions of this Consent

Decree and to execute and legally bind such Party to this document.

           128.   Performing Settling Defendant and Settling Individuals agree not to

oppose entry of this Consent Decree by this Court or to challenge any provision of this

Consent Decree unless the United States or DTSC has notified Performing Settling

Defendant and Settling Individuals in writing that it no longer supports entry of the

Consent Decree.

           129.   Performing Settling Defendant and Settling Individuals shall identify, on

the attached signature page, the name, address, and telephone number of an agent who is

authorized to accept service of process by mail on behalf of that Party with respect to all

matters arising under or relating to this Consent Decree. Performing Settling Defendant

and Settling Individuals agree to accept service in that manner and to waive the formal

service requirements set forth in Rule 4 of the Federal Rules of Civil Procedure and any

applicable local rules of this Court, including, but not limited to, service of a summons.




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  Signature Page for Consent Decree regarding the Coast Wood Preserving, Inc. Superfund
  Site


                                     FOR THE UNITED STATES OF AMERICA:
                                              -~      ;,,
                                               ~.~~`f               ,
Date                                  LLEN . MAHAN
                                     Deputy Section Chief
                                     Environmental Enforcement Section
                                     Environment and Natural Resources Division
                                     United States Department ofJustice
                                     Washington, D.C. 20530




                                               ti
                                     DAVIS FORSYT E
                                             H.
                                     Trial Attorney
                                     Environmental Enforcement Section
                                     Environment &Natural Resources Division
                                     United States Department of Justice
                                     999 18`h Street
                                     South Terrace —Suite 370
                                     Denver, CO 80202




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Signature Page for Consent Decree regarding the Coast Wood Preserving, Inc. Superfund
Site


                                   FOR THE UNITED STATES OF AMERICA
                                   (CONT.):


                                      ~ ia/c/i 7
                                   ENRIQUE MANZANILLA
                                   Superfund Division Director, Region IX
                                   U.S. Environmental Protection Agency
                                   75 Hawthorne Street
                                   San Francisco, CA 94105


                                   41d1~~~ //‘7 ~~I2__
                                   SARA GOLDSMITH
                                                                               !//2~~/1 7
                                   Assistant Regional Counsel
                                   U.S. Environmental Protection Agency
                                   Region IX
                                   75 Hawthorne Street
                                   San Francisco, CA 94105




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                                                        No. CV-F-96-6055 AWl LJO
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  Signature Page for Consent Decree regarding the Coast Wood Preserving, Inc. Superfund
  Site


                                     FOR PERFORMING SETTLING DEFENDANT
                                     COAST WOOD PRESERVING,INC.:



Date                                 N e(per t~: ~' C ~ e~ ~        ~
                                     Title: `\~    ~~j          ~~C~
                                     Address: ~ ~ ,~~~ —~ ~.~.~
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Agent Authorized to Accept Service   Name (print): ~pn 1--~ i ~ l ~('Ct
on Behalf ofAbove-signed Party:      Title: ~}}~r~2~~ GL--4-- t--L~.v~ J
                                     address: ~3D CrGUne
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  Signature Page for Consent Decree regarding the Coast Wood Preserving, Inc. Superfund
  Site


                                     FOR SETTLING INDIVIDUAL
                                     JOYCE LOGSDON,Trustee of the MICHAEL
                                     LOGSDON WOOD TRUST


                                        `~1 G`~i~
Date                                 Name (print):-gip ~ (~ ~~                  ~
                                     Title: --~`~~~
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Agent Authorized to Accept Service   Name (print): (~pn ~`i~
on Behalf of Settling Individuals:   Title: ~-~}prn,~ ~.+ ~
                                     Address: 130 Crlne ~.Y~,,~~~~2 C. ~ll~'~~G;C~ Ct538~
                                     Phone~2Gq~ (o(Q7- D~1Q ~
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  Signature Page for Consent Decree regarding the Coast Wood Preserving, Inc. Superfund
  Site


                                     FOR SETTLING INDIVIDUAL
                                     JOYCE LOGSDON,Trustee of the SCHMIDT
                                     WOOD TRUST:

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                                     Title: --~~~   5.~~.~
                                     Address: P,~,(~~ -~~
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Agent Authorized to Accept Service   Name (print): ~n ~}i(1be r~J
on Behalf of Settling Individuals:   Title:   A,+-k.p~ney ~ I-R.~iif
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  Signature Page for Consent Decree regarding the Coast Wood Preserving, Inc. Superfund
  Site


                                      FOR SETTLING INDIVIDUAL
                                      JOYCE LOGSDON:



Date                                 Name (print): ~Q ~o ~ ~ ~                  ~~
                                     Title:
                                     Address: ppP  jpK -~~p
                                                urlc~c k,C~ X538
Agent Authorized to Accept Service   Name (print):~b~ ~j ~ ~ ~~p~
on Behalf of Settling Individuals:   Title:   J.~-{-}p~-n~ A~ ~~J
                                     Address: ~3l~
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  Signature Page for Consent Decree regarding the Coast Wood Preserving, Inc. Superfund
  Site


                                     FOR SETTLING INDIVIDUAL
                                     EUGENE E. PIETILA:


"~31Y
Date                                 N e (print): ~u~ei,~ ~ ~i~         ~~~R
                                     Title: ~„~g~
                                     Address: ~p Bex~~~


Agent Authorized to Accept Service   Name (print):j~pr1 N~~~~ Ip~~
on Behalf of Settling Individuals:   Title: J~~~rn.~y ~,~ ~a~
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  Signature Page for Consent Decree regarding the Coast Wood Preserving, Inc. Superfund
  Site


                                     FOR SETTLING INDIVIDUAL
                                     ROBERT SCHMIDT:


 ~.~.~~
~Date                                         c`~ "
                                     Name (pnnt): R o b E rfi
                                                           \ S~ h m► ~c ~"
                                     Title: `~~~~~~t CoorO\NA~O ~(`
                                     Address: P,~, (~jx —~~,p
                                              Ti.~rlc~~~ G4 X5381
Agent Authorized to Accept Service   Name (print): 'EZ~ 1-~~~ ~~ ~ffz~
on Behalf of Settling Individuals:   Title: R-~prne ~ ~              Jvd
                                     Address: (Q~ C'rA.n2 /~`~e,~ S'I.li~ ~' l.t' ~C~~,~t ~~J3~~
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                                     email: r-~ @ {~<<~ be~lav~1, biZ




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                      APPENDIX A
   Fourth Amendment to Custodian
                  Fund Agreement
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                   APPENDIX B
                Land Use Covenant
                 Case
                 I - 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 126 of 708
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            " _I       "'°        _    "   "    \
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             7               ,/        Department  of Health   Servlce          :_!!$_::                                                             /          .
             8               _         Toxmc Substances   Control   Dlvisio_'_
                                       Region   2
              9                        2151 Berkeley Way, Annex 7
                                       Berkeley,  California    94704
            i0                         Attention:   Howard I(. Hatayama,     Chief

            ll

           12                                                             COVENANT        AND             AGREEMENT

            15

            14         This                Covenant              and    Agreement             ("Covenant")                  is    made        as    of    the

            18           25       th                       day    of September                ,       1989        by    Coast     Wood    Preserving,

            16         Inc.,                a       California          Corporation,               ("Covenantor")                who     is    the    owner

            17         of             record           of        certain           Property               situated         in    Ukiah,        State       of

            18          California,                        described          in Exhibit              A,        attached    hereto       and       incorpo-

            19          rated                  herein        by        this     reference                  ("the        Property")        and       by    the

            20          California                     Department             of    Health         Services,             with     reference          to   the

            21          following                     facts:

            22
                   I


             23         A.                 This         Property              has      contained                   and      currently              contains

             24                            hazardous             waste.

             25

             ;_0        B.                 This       Property          is the        site        of       a wood        preserving       plant       using

             27                            chromated             copper         arsenate.                 In      the    process       of using           this


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                      preservative           some       of    the        preservative                   has     been        released

       2              into    the    soil        on-site.         Various             governmental               agencies          have

       3              overseen        the        investigation                   of     the        site         and        currently

       4              oversee       activities          conducted           at the           site.

        @

        6             Pursuant        to     Section          25355.5(a)(i)               (B)       of        the     Health           and

        7             Safety     Code,       the Department                 issued        a Remedial                 Action       Order

        8             Docket     No.       HSA     88/89-015          on         December           16,       1988     to     require

        9             Coast    Wood     Preserving,               Inc.      to        implement           a Remedial           Action

      i0              Plan (RAP).

       II

      12              The     RAP     requires          continued                extraction              and        treatment           of

       13



       14
       15
            /I        contaminated



                       contaminated
                                                 groundwater,



                                             soil upon
                                                                            and         complete



                                                                  closure of the Property.
                                                                                                              remediation               of




       16        C.    Contamination             at the      Property

       17

        18             i.      Chromated            copper          arsenate                 is      a        wood         preserving

        19                     compound.            Over the years of operation,                                 the cumulative

        20                     drippings           or     spillage            of       the        chemical           solution          has

        21                     resulted           in soil      and    groundwater                  contamination.

        22

        e3             2.      soil        underlying          the        Property                has     been        contaminated

        24                     with     chromium,            arsenic             and copper.                  Arsenic        has       been

         25                     found       in    soils      in    concentrations                   as    high        as    220    parts

         26                    per     million          (ppm),       chromium            in       concentrations              as       high


         27                     as 540       ppm    and      copper        in concentrations                     as high          as    230

PAPER                                                                    --2--
 _LI_OmMIA
  IR£V. @.72)
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                                                         .




                                    ppm.        Generally,            concentrations               are     highest           near      the

           2                        retort and sump areas.
            3


           4                3.      Groundwater          underlying           and         adjacent       to    the     Property          is

           5                        contaminated              with      chromium            (V_)     and      total         chromium.

           6                        Chromium          (VI)      and     total       chromium          have       been        found       in

            7                       concentrations as high as 78 ppm.

            8

            9       D.      Health Effects

         i0

         ii         ARSENIC      (As)

         12

          13        The     principal        .uses      of      arsenic         and        arsenic         compounds             are     in


         14         pesticides,         cotton        desicants,         textiles,              glass,     alloys          and    in the
          15        manufacture         of      integrated            circuits.             Arsenic         is      well     absorbed

          16        via    the   oral,       dermal      and     inhalation               routes.        Acute        ingestion          of
                                                                                                                                              I


          17        a     high   dose      of    arsenic         leads        to      a    burning         sensation             in     thel

          18        mouth,       nausea         and     vomiting.             This          is     followed           by     muscular

          19        twitches,        liver,       kidney        and    heart       dysfunctions               and     by    delirium,

          20        coma     and death.           Chronic        exposure          to      arsenic       is associated                 with

          21        a persistent           metallic          taste     in the      mouth,          hyperke_atosis,                anemia

          22        and     peripheral          nerve        disease.         Chronic            exposure        to    arsenic          has

          23        also     been    shown      to    increase          the   risk         of    developing           skin       cancer,

          24        aplastic        anemia      and     leukemia.

           25

           26

           27


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          8-7Z)




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              1     cHROMIUM        (Cr)



              3     Chromium           is    used        in    the       metal,             chemical,            tanning,       and       paint

              4     industries.               Chromium          has       two    biologically                   important        oxidation

              5     states,       the       trivalent          (III)       and       hexavalent               (Vl)    forms.        Chromium

              6      (III)    is a nutritionally                     essential               trace       metal       thought     to play         a

              7     role     in    the       metabolism             of     insulin            and       the     regulation          of    blood

              8     glucose.           Chromium           (Vl)        is    a    corrosive                and    ulcerogenic             agent.

              9     chronic         inhalation                 of     chromium                   (VI)         compounds        have           been

          i0        associated          with       the     development               of      lung       disease       including          cancer

           Ii       in humans.

          12

              13     COPPER       (Cu)



              15     Copper       is a nutritionally                       essential              trace        element.        It     is used

              16     extensively             in    a wide       variety          of         industrial           processes       and      salts

              17     of    copper       are       also    used       as    algicides              and      fungicides.           Copper          is

              18     well-adsorbed                by     the    oral        route.               Acute         inhalation        of      copper

              19     fumes        or        dust       can      result          in           a      reversible            influenza-like

              20     syndrome.              Chronic       ingestion             of     high         levels       of    copper       has       been

              21     reported          to      cause          hemolysis,              fibrosis             and       cirrhosis           of    the

              22     liver,       nervous          system       damage          and     kidney           dysfunction.

              25

              24     E.      Routes          of Exposure             and Population                  at Risk

              25

              28              There         are    several          water        wells           within         a one-mile       radius          of

              27              the      Property.              The    Russian          River         is    downgradient           about        half


                                                                                     --4_
O,_LIFORNfA
           5-721




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         1               a    mile     from          the     Property.                Water        wells           and     the       Russian

         2               River       are       the     primary        water           supply           sources        for       the    Ukiah

         3               region.

         4

         5               Chromium,          arsenic          and     copper       present              in    surface        soil      may   be

         6               dispersed             and    become         airborne           if the              asphalt        pavement          is

         7               not      properly              maintained.                   Potential                routes           of     human

         8               exposure          resulting           from        wind       blown        dust        are       inhalation          or

          9              ingestion          of       contaminated           particles              in the          air.

         l0

         ii       F.     Covenantor            desires         and    intends           that       in order           to    protect         the

         12              present          or     future        public        health           and       safety,           the     Property

         13              shall       be    used        in    such     a manner              as    to        avoid    potential           harm

         14              to     persons          or     Property            which           may        result        from        hazardous

         15              wastes       which          have    been     deposited              on    the       Property.

         IS

         17                                                           ARTICLE           I

         18                                                   GEIqERALPROVISIONS

         19

         20       1.01       Provisions          to Run        with        the    Land.           This        Covenant          sets    forth

         21       protective          provisions,              covenants,               restrictions                 and        conditions

         22        (collectively            referred           to    as     "Restrlctlons                    ),    upon     and       subject

         23       to     which       the        Property            and      every          portion               thereof        shall       be

         24        improved,         held,           used,      occupied,               leased,              sold,        hypothecated,

          25       encumbered,            and/or       conveyed.             Each       and        all       of     the    Restrictions

          28       shall      run with          the     land,        and    pass       with        each        and       every       portion,

          27       the       Property,          and         shall     apply            to        and        bind     the        respective


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                                                                        .



                    1        successors            in     interest            thereof.                 Each       and     all     of    the     Restric-

O                   2        tions      are        imposed           upon         the      entire            Property           unless         expressly

                     3       stated      as        applicable               to     a    specific              portion           of     the     Property. _

                     4       Each     and    all     of    the        Restrictions                are       imposed        pursuant           to Section      i



                     5       25222.1         of     the        Health         and       Safety             Code     and     run        with    the     land

                     6       pursuant         to    Section            25230(a)           (i)     of       the     Health        and     Safety      Code.

                     7       Each      and    all         of     the        Restrictions                   are     for     the       benefit      of    and

                     8       enforceable            by the           Department.

                     9

                   i0         1.02     Concurrence               of     Owners          Presumed.                 All     purchasers,           lessees,

                   II         or    possessors            of    any. portion              of      the       Property        shall        be    deemed    by

                   12         their    purchase,               leasing,           or possession                   of such       Property        to be    in

                    13        accord     with       the 'foregoing                  and    to agree               for and among              themselves,


 O                 14         their   heirs,               successors,                   and           assignees,     and   the   agents,
                   15         employees,   and             lessees    of                such          owners,   heirs,   successors,   and

                    16        assignees           that      the       Restrictions                    as    herein         established           must    be

                    17        adhered        to     for        the     benefit            of    future            Owners        and     Occupants       and

                    iS        that     their         interest               in    the      Property               shall     be        subject     to    the

                     19       Restrictions              contained            herein.

                     2O

                    21        1.03      Incorporation                  into         Deeds        and        Leases.          Covenantor           desires

                    22        and     convenants               that         the     Restrictions                  set     out     herein        shall    be

                     23       incorporated                in,        and         this      Covenant               and      Agreement           shall     be

                     24       attached        to, each            and        all deeds           and        leases       of any portion              of the

                     25       Property.

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     1                                                ARTICLE
                                                            II

    2                                                 DEFINITIONS

     5

    4       2.01     Department.          "Department"           shall    mean     the    California             State

     5      Department      of    Health       Services     and     shall        include        its    successor

     6      agencies,      if any.

     7


     8      2.02      Improvements.            "Improvements"            shall     mean        all    buildings,

     9      roads,    driveways,      and paved        parking       areas,       constructed          or placed

    i0      upon    any portion      of the Property.

    ii

    12      2.03      Occupants.           "Occupants"           shall      mean       Owners         and        those

    13      persons       entitled        by    ownership,          leasehold,            or     other           legal

    14      relationship         to the    exclusive       right     to    occupy      any     portion       of    the

    15      Property.

    16

    17      2.04        Owner.       "Owner"       shall         mean      the      Covenantor              or     its

    18      successors       in    interest,      including         heirs        and     assigns,      who        hold

    19      title    to all or any portion             of the Property.

    2O

    21      2.05      Director.           "Director"       shall         mean    the      Director          of     the

    22      California        Department         of    Health           Services,         or     his        or     her

    23      designee.

    24

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    1                                                          ARTICLE
                                                                     III

    2                            DEVELOPMENt,        USE    AND      CONVEYANCE              OF    THE     PROPERTY

    S

    4          3.01     Restrictions              on Use.           Covenantor             promises        to     restrict          the

               use    of the        Property,       as   described             in    Exhibit         A,    as    follows:

    6

    7          (i) No owner           or occupant          of the Property                   shall        act in any manner

    8          that    will        aggravate       or    contribute             to     the    existing           contamination

     9         at     the     Property        or    interfere             with        the      implementation                 of     any

   i0          remedial          action     at the       Property.

   ii

   12          (2)     All       owners      and    occupants             of     the       Property         or        any    portion

    l_         thereof           shall     maintain         an      asphalt           or     concrete            cap        over     the !


   14          Property          until      such    time       as    the       soil        remediation           has        begun     in
    15         accordance           with    the    approved          RAP       and   Remedial         Design           (RD).

    16

    17          (3)   In     the    event    of    any     proposed            earth       movement        or    excavation           by

    18         Owner        or Occupant          upon    the     Property,            or     any   portion        thereof,           the

    19         Owner        or     Occupant        of    said        Property           shall        notify           and     receive

    20          approval           from    the     Director          of     such       proposed           activity           30     days

    21         prior        to     the     beginning        of       such        earth        movement           or     excavation

    22          activities           and shall:


         I

    24                  (A)        Comply        with       any       applicable                  requirements               of      the

    25                             California        Occupational                Health        and    Safety          Agency,        the

    26                             Mendocino        County          Air     Pollution             Control        District,           the

    27                             North Coast Regional Water Quality                                 Control Board, the

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     1                         United          States       Environmental                  Protection          Agency,        and the

     2                         Department             of Health           Services;
     5


     4               (B)       Utilize          appropriate              procedures              to    control         dust     during

     5                         the     period         of    earth       movement            or   excavation;
     6


     7               (C)       Handle          all      materials              excavated              on    the      premises         as

     8                         hazardous             wastes          unless          shown       otherwise           by    sampling

     9                          and testing             pursuant           to       the     hazardous            waste     criteria

    i0                          set       forth        in        Division            4,      Chapter           30,      Title        22,

    II                         California Code of Regulations;                                   and
    12


    15               (D)        Protect          any        stockpiled               hazardous             waste       from      wind,

    14                          rain,          and    any        other         condition          which          may      cause      the

    15                          dispersal of any such hazardous                                  waste.

    16


    17      In    the      event          of    an      emergency              any     owner          or    occupant            of   the

    18      Property           within      twenty-four                 (24) hours           of    such      an    emergency          may

    19      request        permission                from        the     Department              by     telephone             for    any

    20      proposed           earth       movement             or     excavation.                The       Department           shall

    21      either        approve          or        deny       any     such         request          within      one      business

    22      working        day       of     receipt             of     such     a     request.             A   written          report

    23      shall         be     submitted              within           five         days        of       the     Department's

    24      approval.            The      report           shall       include         a    description            of     emergency

    25      and     its    cause,         period           of    time     the        proposed          activity,          and    steps

    28      taken     to eliminate               the       emergency.

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   1     (4)     No     owner        or     occupant          of     the         Property           shall        disturb       the

   2     interim        asphalt       and    concrete           cover,           slurry       wall,       the     function      of

   5     any    portion         of    the    groundwater                extraction             and       treatment        system

   4     or     monitoring           system,        or     surface              water        run-off           control     other

   5     than     routine       maintenance           in accordance                    with     approved         RAP     and RD.
   6


   7     (5)     Any     or     all wastes           must        be managed                 in accordance              with    all

   8     applicable        requirements.
   9


  i0     (6)     No     production           wells        shall         be       drilled        without          the     express

  ii     prior     written        approval       of      the     Director              and    any    other        agency      with

  12     Jurisdiction.               Monitoring          or     other           test    wells       are    not     subject      to

  13     this     provision.



  15      (7)    Without        the       express        prior       written           approval           of    the    Director

  16     no     construction           or    placement             of       a    building          or     structure        shall

  17     occur     on     the     Property       which          is      intended             for    use    as any        of    the

  18     following,           nor     shall     any       new      use          of     an    existing           structure       or

  19     building        on the premises              occur         as any of the following:
  2O

  21              (A) A hospital;

  22              (B)     A school          for persons            under          21 years          of    age;

  25              (C)     A day-care           center;

  24              (D)     Any        permanently                occupied               human         habitation            other

  25                      than       those     used       for    industrial                 purposes.

  2S




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           1      3.02          Conveyance               of        Property.               Any         prospective                 purchaser,

          2       lessee,           or     assignee        of       the       Property           or    of        an    interest           in     the

           3      Property           must     demonstrate                to    the       satisfaction                 of the       Department

           4      that        said       purchaser,                lessee          or     assignee              of     the     Property            is

           5      financially              capable        of       implementing            the        selected          remedial           action       !

           6      for     the       Property.         The          Owner      or     Owners       shall          provide          thirty         (30)

            7     days       advance         notice           to    the       Department              of    any        sale,        lease,         or

           8      other       conveyance            of the          Property             or an     interest             in the           Property

            9     to     a    third        person.            The     Owner(s)            shall        provide              information            of

         i0       intended           use     for    the       Property             by subsequent                owner        to    the     extent

         Ii       the     existing           owner(s)          have       such       information.

         12

         13       3.03         Enforcement.               Failure             of    the    Owner           to    comply           with     any     of

         14       the     requirements,              as       set    forth         in paragraph                 3.01    above,           shall     be

          15      grounds            for     the      Department,                  by     reason           of        the     Covenant,             to

         16       require           that     the    Owner          or Occupants            modify           or       remove       any     Improve-

          17      ments        constructed            in violation                  of    the    paragraph.                  This        Covenant

          18       shall       be enforceable                 by the          Department          pursuant             to Section           25236

          19       of the Health              and Safety             Code.

          20

          21       3.04         Notice         in     Aqreement.                   All     Owners           and        Occupants            shall

         22        execute          a written        instrument                which      shall        accompany             all     purchase,

          23       lease,       sublease,           or    rental           agreements            relating              to    the     Property.

          24       The       instrument        shall          contain          the      following           statement:

          25

          2S                  The     land     described             herein          contains           hazardous             waste.           Such

          27                  condition        renders             the     land and the                owner,          lessee,           or other


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      1                  possessor        of     the     land        subject      to    requirements,               restric-

     2                   tions,    provisions,           and     liabilities           contained         in Chapter          6.5

                         (commencing            with     Section           25100)      of      Division        20    of      the

      4                  Health     and Safety           Code.         This     statement         is not        a declara-

      5                  tion that a hazard exists.

      6

      7          3.05     Disclaimer.            The     State       of    California          makes    no    representa-

      8          tions     as    the     suitability            of     the     Property          for    any     particular

      9          purpose.

     i0

     ii                                                         ARTICLE
                                                                      IV

     12                                              VARIANCE        AND   TERMINATION

     13

     14          4.01      Variance.            Any     Owner     or,      with     the     Owner's          consent,        any

     15          Occupant       of the Property              or any portion            thereof         may apply      to the

     16          Department        for     a written           variance         from    the      provisions          of     this

     17          Covenant.         Such       application        shall        contain       1)   a statement          of     who
           I

     18!         is applying         for the variance;                2) the proposed             variance;         and 3) a

     19          statement        of reasons           in support          of the    granting          of the variance.

     20          In addition,           the     owner    shall       demonstrate          to     the    satisfaction          of

     21          the     Department           that     the     proposed         variance         will     not       cause     or

     22          allow     any     of     the     following           effects       associates          with     hazardous

     25          waste     or extremely          hazardous           waste:

     24

      25                  A.      The     creation        or     increase         of    significant             present       or

      28                          future hazards to the public.




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               I                B.        Any        significant             diminution                of the         ability          tc mitigate

               2                          any        significant             potential                 or    actual       hazard         to public

                3                         health.

               4

                5               C.        Any         long-term             increase              in    the        number         of    humans         or

                6                           animals          exposed          to     significant                   hazards        which        affect

                ?                           the      health,       well-being,                or       safety       cf    the     public.

                8

                 9      Upon    making          a decislcn             to    approve          or       deny     the      proposed        variance,

              i0        the    Director           shall         issue       and    cause          to be       served        the    decision           and

              ii        findings          of    fact       on    the    owner        of      the        land,       the    legislative              body

              12        of    the    city       or county          in whose           jurisdiction                  the     land       is located,

              13        and    upon       any     other         interested          persons.                 If the       Department           agrees

              14        to    the     proposed          variance,             the     director               and    all     of     the    owers        of

               15       the    land       shall        execute          an    instrument                reflecting           this       agreement,

              16        shall        particularly               describe           the       real           property        affected           by     the

               17       variance,              and     the       owner        shall          record           the        instrument            in     the

              18        county        in which          the      land is located                       within       ten     (i0) days          of the

               19       date    of execution.

               20

               21       4.02         Termination.                Any        Owner     or,         with        the     Owner's          consent,        an

              22 i      Occupant          of      the Property               or    a portion                thereof        may     apply       to     the

               23       Department              for    a    termination             of       the        Restrictions              as    they        apply

               24       to     all     or      any     portion          of    the        Property             on    the     ground        that        the

               26       waste        no      longer          creates          a     significant                 existing           or    potential

               2S       hazard         to       present           or     future             public           health        or      safety.            Any




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          1           application          shall     contain        sufficient                evidence              for the          Department

          2           to make       a finding        upon    any or all              of the           following                grounds:

           3

          4                   A.      The      hazardous           waste           which             caused           the        land     to     be

           5                           contaminated            has      since        been            removed             or     altered     in    a

              6                       manner         which      precludes                 any        significant                 existing        or

              7                        potential        hazard        to      present           or     future            public       health.

              8

              9               B.       New    scientific         evidence                is    available                 concerning        either

          I0                           of the following:

          Ii

          12                           1.      The     nature        of       the    hazardous                  waste         contamination;

          13                                    ar

          14                           2.       The      geology              or      other            physical                 environmental

           15                                      characteristics              of       the        contaminated                land.

          16

              17       Upon        making      a     decision            to        approve                or        deny        the     proposed

              18       termination,           the    Director        shall          issue           and    cause          to be served           the

              19       decision        and     findings        of       fact        on     the        owners             of    the    land,      the

              20       legislative           body,     and     the      city        or        county           in    whose       jurisdiction

              21       the    land     is    located,        and     upon          any        other        interested             person.         If

              22       the    Department           approves,         in writing,                the       proposed             termination        of

              23       the    Restrictions,            the    Director             and        all    of the           owners         of the     land

              24        shall       record      or     cause       to      be       recorded,                  a    termination            of    the

               25       Restrictions          which     shall        particularly                   describe             the     real   property

               26       subject       to     the    Restrictions              and        which        shall           be      indexed      by    the

               27       recorder       in     the     grantor        index          in     the       name           of    the     record       title


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       1      owner      of     the      real         property          subject            to    the     Restrictions,                and    in

      2       the    grantee          index        in the         name      of the            Department.
       5


       4      4.03       Term.          Unless         terminated              in accordance                 with     paragraph            4.02

       5      above,       by      law        or      otherwise,              this         Covenant           shall        continue          in

       6      effect       in perpetuity.
       7

       8                                                                ARTICLE           V

       9                                                           MISCET,TANEOUS

      i0


      Ii      5.01       No    Dedication              Intended.              Nothing           set     forth        herein         shall    be

      12      construed            to    be       a    gift       or    dedication,                or        offer       of    a    gift     or

      iZ      dedication,               of    'the       Property              or        any     portion            thereof          to     the

      14      general         public         or    for      any    purposes              whatsoever.
      15


      16      5.02       Notices.             Whenever            any    person            gives        or    serves          any    notice,

      17      demand,         or     other         communication                   with        respect         to     this      Covenant,

      18      each       such      notice,            demand,          or      other           communication               shall      be     in

      19      writing         and       shall          be     deemed          effective            i)        when        delivered,          if

      20      personally           delivered             to    the      person           being     served           or to an officer

      21      of     a   corporate            party         being        served           or    official            of    a    government

      22      agency       being        served,          or 2) three                    (3) business           days      after       deposit

      23      in     the      mail       if        mailed         by     United               States         mail,       postage          paid

      24      certified,           return          receipt         requested:

      25

      26

      27


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                                                                                                                                  I
    1               To:      Harold       Logsdon

    2                        Coast     Wood       Preserving,                 Inc.

     3                       P.O.     Box    673

    4                        Ukiah, CA            95482

     5

     6       Copy    To:     Department           of    Health           Services

     ?                       Toxic     Substances                Control          Division

     8                       Region2

     9                       2151     Berkeley          Way,          Annex       7

    i0                       Berkeley,        CA        94704

    ll                       Attention:            Regional              Section            Chief

    12

    13       5.03      Partial       In_alidit         Z.        If    any       portion       of    the       Restriction             set

    14       forth     herein        or     terms           is     determined                to     be        invalid       for        any

    15       reason,       the    remaining            portion             shall        remain           in    full       force        and

    16       effect     as    if such       portion          had       not       been       included          herein.

    17

    18       5.04       Article        Headings.                 Headings              at     the     beginning             of        each

    19       numbered        article      of this           Covenant             are    solely       for       the       convenience

    20       of the parties            and are not               a past          of the Covenant.

    21

    ee       5.05         Recordat_on.              This              instrument              shall           be     executed           by
         l


    23       the      Covenantor,           and        by        the      Director,               California              Department

    24       of     Health       Services.              This           instrument              shall          be     recorded           by

    25       the     Owners      in    the        County           of      Mendocino              within           ten     (i0)       days

    26       of the date         of execution.


    27


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              1       5.06      References.            All    references         to    Code         sections           include

             2        successor        provisions.

               3

              4        IN   WITNESS     WHEREOF,       the   parties     execute      this       Covenant         as    of   the

               5      data    set     forth   above.

               6

               7                                                         COAST    WOOD     PRESERVING,             INC.

               8



                                                                                 Harold        W.   Logs_on
             lO


             ii                                                          Title :      _ _.,'_-L-/_.-d,,_--,--/
             12



             14

             15

             16                                                          DEPARTMENT        OF HEALTH             SERVICES

              17

             l_                                                          _y_-_¢'--_.._/'_--_"_ , -
                                                                                 Howard     _.      Hatay_
              19


              201                                                        Title: %         ,_     _,,/vq   "_}'_q'm'j    _'_ ¢-_
              21



              23

              24

              25

              26

              27


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     1     STATE       OF CALIFORNIA               )

    2                                              I
     5     COUNTY        OF ALAMEDA                )

     4

     5

     6


     7              On     0_.       _                          , 1989,        before      me,      the     undersigned,

     8     a     Notary        Public       in     and    for     said       state,        personally               appeared

     9     Howard         K.   Hatayama,         personally         known       to    me       or    proved       to    me    on

    i0     the     basis       of   satisfactory          evidence        to    be   the       person       who     executed

    ii!i   the     within         instrument       as Reqionai           Administrator,               Reqion        2, Toxic

    12     Substances             Control        Proqram,       DeDartment           of    Health          Services,          of

    13     the     agency         that   executed        the    within      instrument,              and    acknowledged

    14     to me       that       such agency          executed     the     same.

    15

    16              WITI_ESS        my hand       and    official        seal.



    18         _


    19           F_O                                      '!      _')    0.-'_:2,_C.. '_')1-
    20                                                              Notary        Public        in    and     for      said

    21         _AL_                                                 Countyand State
               ,,]/__'_    . ..      .OTTEM JACKSON I(




    24

    25

    26




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  1       STATE     OF    CALIFORNIA             )

  2                                             )

  3       COUNTY        OF STANISLAUS           )

  4

  5

  6


   7               On       .        .       _ _                 , 1989,          before            me,       the          undersigned,

   8       a     Notary    Public          in   and        for     said           state,             personally                    appeared

   9       Harold       Loqsdon,         personally         known           to      me      or      proved            to       me         on   the

i0         basis     of   satisfactory           evidence          to       he    the       person            who          executed            the

 ii        within       instrument         as President            of         the       corporation                  that          executed

12         the    within      instrument,            and   acknowledged                   to me that                  such         corpora-

 15        tion     executed       the same          pursuant       to its bylaws                        or a resolution                        of

14         its board       of directors.

 15

 16                 WITNESS     my   hand       and    official             seal.

 17

 18

 19                                                                                            r Cl
 20                                                                 Notary               Public           in a/_/for                 said

 21                                                                 County               and      State


                                                                        @     _                       C.:,-.C,,L   ...A-              ¢

 25                                                                     -"              -                                             ._
                                                                        .% .-       .            C6!jXv(,.91:S';;'-.'.':_'J,'J'3      .>
 2_                                                                     %_,              L%y   C¢:._;._.-¢;:9_'_SJrnuc_/    | 1, |993[_




 25

 26




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        4"


         1                                                                    EXHIBIT          A



          3

         4          The    description               of    the     two       lots       are     as       follows:

          5

          6         BEGINNING           at     the    point           of    intersection                 of     the      South        line        of    Lot

          7         70     of    the        Yckayo        Rancho,           with     the       East           line       of    Parcel        One,        as

          8         conveyed           in the        deed       executed           by     Edgar          W.    Dutton         et    al.      to    State

           9        of     california,               dated        November               29,       1961,           recorded           February            i,

        l0          1962,        in     Volume         588       of        official        Records,                 page       142,       Mendocino

        ii          County         Records;               thence           along         the       exterior              boundary            of        said

        12          Parcel        One,        North         5    degrees           52'        45"       West         S42.86         feet;         thence

         15         continuing              North'5        degrees           52'     45"       West        145.0         feet;      thence         North

        14          80 degrees               37'    15"     East       386.91           feet       to     the       South      line       of      the     50

         15         foot        road        described           in the        deed       to     City          of    Ukiah,         recorded            June

         16         8,     1956        in    Volume        432        of    official           Records,              page      543,       Msndocino

         17          County        Records;               thence            along        the         South           line        of      said           road

         18         Easterly           to     the West           line       of Parcel              Two     as      conveyed           in said           deed

         19          (588       O.R.142)          : thence        along        said       West          line       of Parcel           Two     South          7

         20          degrees           20'    46"     East        354.23        feet          to     the       said      South        line        of     Lot !

         21          70;        thence        Westerly            along         said           South           line       to       the    point           of

         22     I
                     beginning.

          23

         24          PARCEL        2,        as    numbered            and     designated                 on       the     Parcel         Map          filed

          25         April        24,        1974     in        Map     Case        2,     Drawer             23,     Page         89,    Mendocino

          28         County        Records.




CALIFO_HIA
        8.7_1




                                                                             ......"I'7C19 . _ <on
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                   APPENDIX C
                         1994 AOC
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             UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                            . REGION IX         .

 In the matter of:
 Coast Wood Preservirtg I Inc. ,                                             ·"   -~f.:
                                                                                  . :,,,.
 Harold w; Logsdon,                                                                     ",


 Joyce J. Logsdon;                                   CERCLA Docket No. '95-06
 Cordes P. Langley, and
 Marie J, Langley,
           Responde~ts.                               ADMINISTRATIVE ORDER
                                                           ON CONSENT
 Proceeding Under Section 122(h)(l)
 of the Comprehensive Environmental
 Response, Ccimpensati.on and Liability
 Act of 1980 (42 ·u.s.c.• s 9622 (h) (l))
 as amended by the Superfund
 Amendments and Reauthorization
 Act of 1986               ·

           This Administrative Order.on Consent ("AOC" or "or4er") is
  issued ·by the united state~'Envirorunental.Protection Agency.                ·
   { 11 EPA 11 ) and is agreed to by Coast Wood Preserving, Inc. ( 11 CWPi1 ) ,
  Harold W. Logsdon, JoyceJ. Logsdon, Cordes P. Langley, and Marie
· J. Langley (collectJlvely "Respondents"), T):l.e purposes of this
  Order are: (l) for EPA to recover past response costs incurred·
  and, as provided by paragraph 5 below;. future response costs to
  be incurred by.the United states at or.in connection with the·
  Coast Wood Preserving $uperfu11d Site ("Site.11 ) in Ukiah,
  California; (2) to prov,ide for the e·stablishment of a trust fund
  by Respondents for the payment of future response costs to be
  incurred at or in connection with the ·site; and (3) to resolve
  the liability of the Respondents for such costs.          ·
       EPA is authorized to enter into this Order.pursuant to the
·authority vested in the Administrator·of the EPA by Section
 122(h)(l) of the Comprehensive Environmental Response,
 Compensation, and Liability Act of 1980, as amended by the
 .Superfund Amendments and Reauthorization Act of 1986, Pub. L. No.
 99-499 ("CERCLA"), which authority has· been delegated to the
 Regional·Administrators of the EPA by EPA Delegation No. 14-14-P
  (Sept. 13, 1987), and redelegated to the Dir'ector, Hazardous
 Waste Management Division, EPA Region IX.            ·
     WHEREAS, EPA allegelil that hazardous substances as defined by
Section 101(14) of CERCLA, 42 o.s.c. § 960i(l4),.are present at
the Site and that such hazardous substances have been or are
threatened to- be released into the environment from the Site;
     .WHEREAS, EPA alleges that the Site i.s a "facilitY".as
defined .in Section 101(9), of CERCLA, 42 u.s.c. § 9601(9); ·
     WHEREAS, EPA alleges that such releases or threatened
releases required response action to be undertaken at the Site
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         purs~ant to section 104 of CERCLA, 42 u.s.c. S 9604, and wil.l
         require further reSJ?onse action to be undertaken in the. future;.
              WHEREAS, EPA alleges that it has incurred past response
         costs at or in connection with the site of at least $200,000,0~~~;
         through February 28, 1994 ,· including accrued interest pursuant,· 1:-g:i"·.
         section 107(a) of CERCLA, and that further response costs will be
         incurred in the future;
         .    WHEREAS, EPA alleges that the Respondents are liable parties
        pursuant to Section 107(a) of CERCLA, 42 U.S.C.
        § 9607(a), and are jointly and severally liable for· response
        .costs incurred and to be incurred at or in connection with the
        site;
             WHEREAS, the Attorney General or her designee has issued
        prior written approval of t:tie settlement embodied in this Order
        pursuant to Section 122(h)(l) of CERCLA; and                 ·
              WHEREAS·, EPA. and the Respondents desire to settle certain .
         claims arising from the Respondents' alleged involvement with the
         Site without litigation and without the admission or adjudication
         of any issue of fact or law; ··                           ·    ·
                                                                   .          .
              NOW, THEREFORE, in consideration of the promises herein, and .
         intending to be legally bound hereby, it is ordered and· agreed as
         follows:
               1. This Order shall be binding upon EPA and shall be
        . binding upon the Respondents and their successors and assigns.
          Each signatory to this .Order represents that he or she is fully
          authorized to enter into the terms and conditions of this Order.
          and to bind legally the party represented by·him or her.· The
          Respondents· agree to undertake all actions required by this
          Order. The Respondents conseri.t to the issu·ance of this Order and
          will not contest EPA 1 s·authority to enter into this order or to
          implement or enforce, its terms. Respondents participation· in
          this Order shall not. be deemed. to be an admission of liability as ·
          to any of the facts asserted herein by EPA.     ·               ·
                2.    The Respondents agree to pay to the Haz.ardous Substa.nce
         Superfund a total of $161,000.00, in reimbursement ·of EPA's past
         costs under the following terms c· 1) ·$100, 000. oo shall be paid
         within ten (10) days of th'e effective date of this .Order; and 2)
         the remaining $61,000.00 shall be paid in·equal installments of
         $30 1 500,00,- plus interest accurred on all unpa.i,d balances at.the
         rate specified for interest on investments of the Hazardous
        .substance Superfund in accordance with 42 u.s.c. § 9607(a) ,. over
         the succEi!eding two years after the effective .date of this Order.
         "Past Response costs" shall meari those costs incurred by EPA
         relating to the Site prior to and .including February 28, 1994.

                                             2.
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       3. The Respondents' payments shall be made by checks made
  payable to "EPA-Hazardous Substance Superfund. 11 The Respondent;s
  may submit their payments by one or more checks, but they are
  jointly and severally liable for payment of all amounts due under
  this order. The check(s) shall reference the· name and address of
  the Respondents, the site name and identification number, and-~;:,:.
  EPA docket number for ~his action and shall be sent by the
· Respqndents to :
                 EPA Region .;IX
                 ATTN: superfund Accounting
                 P.O. Bbx 360863M
                 Pittsburgh, PA 15251
     4,. The Respondents shall simultaneously send a copy of the
check(s) to:
               Andrew Lincoff
               Mail Code H-6-5
               u.s. Environmental Protection Agency, Region IX
               75 Hawthorne street
               San Francisco, CA 94105
In additiort, unless otherwise notified by.EPA or specified·
herein, all other ccirrespondence and. notifications to -EPA
required by or pertaining to this Qrder or the TrUst Fund shall
be sent to the above address.
      5. Respondent~ agree to pay all Future Response Costs
incurred by EPA relating to the Site in accordance with the tepns
of this pa,ragraph and paragraph 9 (k) • "Future Response costs''
shall mean all costs incurred by EPA relating to the .site from
and after March 1, 1994; including but not limited to indirect .
costs and oversight costs. "Future Re.sponse Costs" as defined in
th-is Section shall not include any amounts that Respondents have
paid into the 'Trust Fund pursuant to Paragraph 6 of this Order.
As _long as EPA is not tne "lead agency" as· defined by 40 C.F.R. §
300.5 and any amendments thereto, Respondents shall be required
to reimburse EPA no .more than $3,000.00 i!'l "future response
costs" in any given year up to and including the year of
completion of. the s1,il remediation at the Site, This limitation
shall not apply if EPA becomes'the "lead agency," as def.ined by
40 C.F,R. § 300.5 a11d ·any. amendments thereto, at. the Site.
Should EPA's "future response costs" exceed $3,ooo.oo in any
given·year, all costs in excess of $3,00o.oo shall be included in
th.e following year's .future response costs. At the· completion of
the soil remediation at the $ite, Respondents agree to pay all
unreimbursed future response costs to the extent provided by
paragraph 9(k). EPA shall provide a cost summary of its response
costs incurred to.Respondents no more often than annually, in the·
form of EPA's Agency Financial Management System cost .summary
data (SPUR Report), Respondents reserve the right to demonstrate
that EPA's cost sul!Unary contains accounting errors. Any such
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 disputed costs shall. be :i:-esolved in accordance with .the dispute
 resolution provision: contained in Section 14 of this Order. The
 Respondents shall.reimburse EPA for.all other response costs
 identified in the cost summary within thirty (30) days from
 Respondents• . receipt of the cost summary, in accordance with. the'*, .
 procedures set forth. in Paragraphs 3 and 4 of this Order.          ,:·. .;.,:.
        6(a). · Within ten (10) days of the effective.date of this
  Order, as required by the Record of Decision (RODl·issued by EPA
  dated September 29, 1989, Respondent·coast Wood shall establish a
  Trust Fund for tbe purposes of: (1) paying the costs of future
  response action(s), including but not l~mited to soil
 ·remediation, to be conducted at the Site in accordance with the
  ROD and any future amendments the:r;-eto; and (2) reimbursing EPA
  and the California Department of Toxic Substances Control
   ("DTSC") for any unreimbursed.response costs, as provided in
  section 9(k) of this Order. The total amount of principal the
  Respondent Coast Wood is required to place into the Trust Fund
  shall be five hundred thousand dollars ($500,000) •. The Trust
  Fund shall be funded in installment payments, as s~t forth in
  subparagraph (b) of ·this paragraph. In the event Respondents
  establish that no federally insured financial institution is
  willing to serve as Trustee for the Trust. Fund; the partieS'll!ay
  select a mutually agreeable independent third party·to act in'
.this capacity. Should the Coast Wood Preserving facility cease
  wood-treating operations prior to December 31, 2003, _it shall
  remain liable for continuing to make the remaining annual
  installment payments into the Trust Fund until the full amount of
  the principa_l is funi:!.ed •. In the even'!; .Respondent Coast; Wood
  fails at any time to make any payment in ·the amount or within the
  time frames set· forth in this paragraph, the missed payment and
  all remaining installme:nt payments listed in this paragraph shall
  become due and payable immediately by Respond~nt coast Wood.
           (b) Within either ten .(10) days of the effective date
of .this Or-der, or the time when Respondent CWP's next $50,000
payment would be due to.the Certificate of Deposit (Wells Fargo
Bank, N.A., account number 1256~066119-00.1, in Turlock,
California), which ever is later, but in no event later than
December 31, 1994, Respondent CWP shall pay into the Trust Fund
$50,000in principal. Re~pondent CWP shall thereafter, on an
annual basis, make annual payments of $50,000 into the Trust Fund
until such time as the principal amount of the Trust Fund
required by paragraph 6(a) is fully financed~ The Respondent CWP
~hall be permitted to use the. total amount of principal ~nd
accrued interest on the current Certificate of Deposit account
established by Respor1dent Coast wood (Wells Fargo Bank, N.A.,
account number 1256-066119-001, in Turlock, California) as a
portion of the principal to be paid into the Trust Fund. The
total amount of principal and accrued interest on the current
Certificate of Deposi.t shall be transferred, to the Trust Fund
within ten (10) days af.ter the expiration of the current te.rms of
                                      4
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current terms of the certificate of Deposit account.
      7.    Respondents· represent that there exists no mortgage or
 other known encumbrances on the title to the property which           ·
 comprises the Site. As assurance of Respondents• ability tofu~,:
the total principal amount of the Trust Fund set forth in         ···'· ·pc.'·.
Paragraph 6(a) above ($500,000), Respondents agree to the United
 states filing a lien on the Site property pursuant to section
107(1) of CERCLA in the full amount requi;i.-ed to be placed into
the Trust Fund and that this agreement shall serve as notice of
the filing of such lien as required by section 107(1)(3). In the
event other encumbrances presently not known to Respondents exist
on the Site property, Respondents agree to provide financial              ·
assurances of their ability to fund the total principal amount of
the Trust Fund in some other means mutually agreeable to the
parties. If Respondents are required to prc;,vide financial
assurances .other than the lien mentioned above, 'Respondents may
reduce the amount of financial assuranc.e required to be
maintained "t:ty this Paragraph·each year by the amount ·of the
payment made to the Trust Fund ·after such payment has been made
pursuant to subparagraph 6(b) above. EPA may, after consultation
with. DTSC, disapproye the financial assurance :mechanism presented.
if in EPA's determination, af~er consultation with DTSC, it does
not provide adequate assurance that Respondents are able to fund.
the total amount of principal remaining to be funded in the Trust
Fund. Respondents shall thereafter submit an altern.ative
financial mechanism to EPA within ten (10) days of EPA 1 s notice
of disapproval ot' the prior financial assurance mechanism. · If
Respondents fail to submit an alternative financial assurance
mechanism for EPA's approval within ten (10) days of notification
of EPA 1 s disapproval, Respondents shall be deemed to be·in
violat.ion of this order·. If EPA, after consultation with DTSC,
disapproves the alternative financial assuran·c.e mechanism
submitted by Respondents, Respondents shall have 10 days to
correct any (ieficiencies. If Respondents fail to correct any
such deficiencies within the 10 day period, Respondents shall be
deemed to be in violati.on of the this Order and penalties shall
accrue as provided in paragraph 12 of this Order, Penalties
shall continue to accrue until such time as Respondents cure the
deficiencies regarding the alternative financial mechanisms
disapproved by EPA pursuant to this paragraph. EPA agrees to
stay imposition of any penalties due as a result of the failure
to .provide.an-acceptable alternative financial assurance
mechanism provided Respondents continue to make timely payments
to the Trust Fund. Should Respondents fail to :make timely      ·
payments.to the Trust Fund, the EPA may seek all penalties which
have acor.ued from the date Respondents were otherwise required to .
cure any deficiencies regarding their proposed alternative
financial mechanisms pursuant to the paragraph.
     a.    Upon or prior to' the effective date of this Order,
Respondents shall (1) provide to EPA for approval, after
                                     5
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consultation with DTSC, a draft copy of the instrument
establishing the Trust Fund ("Trust Agreement"), ·primarily to
eJ7.sure that .the trust funds will l:>e managed as set forth by this
Order, and (2) notify EPA and DTSC of the id.entity and
qualifications of the Trustee(s). Neither EPA nor DTSC, throug)J~.,i:;.
their approval of and/or concurrence in the terms and conditions 'JJi/·.
of the Trust Agreement, 'guarantees the monetary sufficiency of
the.Trust Fund nor the legal sufficiency of the Trust Agreement.
                                                    ,•              .
       9. The Trust Agreement shall, at a minimum, provide that:
           (a) DTSC shall.be the·Primary Beneficiary, and the
·united States Environmental Protection Agency shall be the Third-
 Party Beneficiary;                                         ·
          ( b) The Ti:-ustee shall be an independent third party,
neither related to'nor employed by any Respondent;.
           (c) All funds.must be invested in :i.nswred, or
federally -issued, fixed income securities;
    ...· . . (d). Principal .and int~rest_ must be held. in a s_uitabl_e
account with a financial institution that is insured by the fDIC
or a.solvent state insurance agency;
.       , (e) The Trustee must provide either annual          or
quarterly accounting statements-to EPA Region IX and DTSC,          As to
EPA Region IX, such correspondence should be sent to:
                 Andy Lincoff .
                ·Mail Code H•6-3
                 U. s. Environmental Pr'otection Agency, Region IX ·
                 75 Hawthorne Street             ·
                 San Francisco, CA 94105
     As to DTSC, all correspondence should be sent to:
                 Barbara Cook, Site Mitigation Branch .Chief
                 California Department of Toxic Substances Control
                 Region 2
                 700 Heinz Avenue, Suite 200
                 Berkeley, California 94710;
          (f) All orders,· instructions, requests for payment;
etc,, to the Trustee shall be in writing, and the Trustee shall
promptly provide copies to EPA and DTSC, With respect to
requests for payments from the Trust Fund, the Trust Agreement
shall
 .
      further provide that:
                          .
               ( i) . .All requests for payments by Respondents fro111
the Trust Fund shall specifically itemize all costs for which
payment is requested.: The itemization shall include s1:1fficient
                                    6
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 detail to document to EPA and.DTSC that the costs incurred are
 consistent with the National Contingency Plan, 40 CFR § 300 et
 seq., and tlie Record of Decision ("ROD") for the Site; and
                  (ii) After receipt of a request for payment, the .
 . Trustee shall provide written notification and a copy of the ...~j-:
. itemized request for payment to EPA Region IX, at least thirty·
   (30) days in advance of. any payment f~om the Trust Fund, Upon
   request by EPA and/or OTSC, the party requesting payment shall
   provide additional documentation of such costs.    ·     .   ·
            (g) If, pursuant to an Order.or agreement with DTSC,
 the.Respondents conduct future remedial actions .at the Site
 required by the ROD and any amendments thereto, the Respondents
 may· submit requests for payment from the Trust Fund through DTSC,
 All such requests for payment are subject to the requirements set
 forth in subsection 9(f) of this Order;
           (h) The Trustee is .not authorized to make any payments
 to Respondents from the Trust Fund pursuant to subsection 9(g) of
 thts·order if: 1) Responden~s have failed to make any payment
 required by Paragraphs 2, 5, or Respondent coast Wood has failed
 to make any payment required by paragraphs 6(a), and 6(b) of this
 order; or 2) EPA and/or.DTSC determines that the costs being
·sought were not inc1lrred in a manner consistent with the NCP; 40
 C,F,R, § 300 et seq,;
               <il As long as the California Department of Toxic
  Substances Control remains the "lead agency 11 for the Site, as
  defined in 40 C,F,R, § 300.5 and any amendments·tllereto, DTSC may
  draw upon the amount in the Trust Fund to pay costs incurred in ·
  performing response ·act1on(s) at the Site; provided, however,
  that in :the.event that EPA.becomes the lead agency for the. Site,
  I>TSC may no longer dra:w upon the Trust Fund, Should EPA become
  lead agency pursuant to this subparagraph, Respondent Coast Wood
  shall continue to be able to.request payment from the Trust Fund,
  in accordance with paragraphs 9(f)(i) and 9(g), for all response
  actions it performs at the Site. If at any time after EPA·
· becomes lead agency at the Site, Resp.ondent Coast Wood fails to
  perform any response action required by the ROD and any future
  amendments thereto, and EPA is required to perfopn the same,
  EPA may direct the Trustee to transfer all amounts remaining in
  the Trµst Fund to a Hazardous Substance superfund Special Account
  pursuant t;.o section. 122 (b) (3) of CERCLA, to be used to pay
  response .costs incu.rred by EPA relating to the Site;
 .        (j)  nespondents shall bear all costs related to the
establishment and n1aintenance of the Trust Fund. Any interest
earned on the Trust. Fund shall b.e included in the Trust Fund to
be used to pay costs incurred in performing response ·action(s) as .
set forth herein; and

                                    7
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                   (k) Upon completion of the soil remediation and any
      other response action at or in.connection with the site,
      including without limitation, all response actions required by
     .the ROD and any amendments thereto, any funds remaining in the
      Trust Fund shall be disbursed as follows: First, to EPA or DTSC,
      whichever agency is the "lead agency," as defined by 40 C,F,R, . :~,.;f.
      300.5 and any amendments thereto, at the time of com'pletion of
      all response actions at or in connection with the Site, in           .
      payment of response costs incurred which have not been reimbursed
      by the Respondents. Second, to the extent any funds remain after
      reimbursement to the lead agency, to EPA or DTSC, whichever is
     ·not the "lead agency,." as defined by 4!) C.F.R. § 300.5 and any
      amendments thereto, at the time of completion of all response
      actions at or in connection with the site, in payment of response
      costs incurred which have not been reimbursed by the Respondents.
      'l'hird, any funds remaining in the Trust Account following payment
      of EPA and State costs shall be refunded to Respondent Coast
  .. Wood. In the event that the payments required by paragraph. 5
      and/or the amount of the Trust Fund proves insufficient to
      reimburse the Unite,:3. States its tot;,.l future costs ;,.t the Site,
      the United States, by this agreement, reserves its rights to seek
      recovery of these c:io_sts in the future.       ·
              10. Any disputes between EPA and DTSC relating to the T1:ust
         Fund, including but not limited to payments from the.Fund
         pursuant to subsection 9(f) of this Order, shall be resolved .
         pursuant to the Multisite cooperative Agreement (MSCA) governing
       . the Coast Wood Preserving site, and any other. applicable
         regulations, including but not limited to 40 CFR § 31,70.
           11. In the event that any payment required by Respondents
      by ParagrapJ;!.s 2, 5, or any payment required by Respondent c.oast
   . Wood under paragraphs 6 (a) and 6 (b) of this Ord.er is not made ·
      when due, interest shall accrue on the unpaid balance from,the
      due date through the date of paY'lllent, at the rate specified for
      interest on investments of the Hazardous Substance superfund in
     accordance with 42 u.s.c •.S 9607(a). In addition, if any payment
     required by Paragraphs 2, 5, or any payment required by
     .Respondent coast wood under par~graphs 6(a) and 6(b) are not paid
     by the required date, the Respondents shall pay to EPAi as a         ·
    'stipulated penalty, $100 per day that such payment is late,
     Stipulated penalties are due and payable within thirty (30) days
     of the Respondents• receipt f~om EPA of a demand for payment.of
     the penalties. All payments to EPA under this Pi;\ragraph shall be
     made in accordance with the requirements of Paragrc\phs 3 and 4 of
     this Order. Penalt,1es shall accrue as provided above regardless
     of whether EPA has notified the Respondents of the violation or
     made a demand for payment, but need only be paid upon demand.
            12. In addition to any other remedies or sanctions
       available to EPA, ar1y Rasponde.nt who fails or refuses to comply
       with any term or cortdition of this order shall be subject to
                                           a:
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 enforcement action pursuant to Section 122(h)(3) of CERCLA, 42
.o;s.c. § 9622(h) (J), and to civil penalties pursuant to Sections
 122(1) and 109 of CERCLA, 42 o.s.c. §§ 9622(1) and 9609. If .the
 United states must bring an action to collect any payment
 required by this Agreement, tbe Respondents shall reimburse the .
 United States for all costs of such action, including but not )r!I!!;.,:.
 limited to costs of attorney tiine.·.
       lJ. Subject tc1 Paragraph 15 of this Order, . upon y;>ayment · of
 the amount specified in Paragraph 2 of this Order, EPA agrees
 that the Respondents shall have resolved any and all civil
 liability to EPA under Section 107(a) of CERCLA, 42 o.s.c. §
 9607 (a), .for reimburseme.nt of EPA' s Past Response Costs incurred
 at or in connection with the Site as of February 28, 1994.
 Subject to Paragraph 15 of this Order, upon p~yment.by
 Respondents of the Future Response Costs billed by EPA pursuant
 to Paragraph 5 abov.e, and upon payments. by Respondent coast Wood
 into the Trust Flind pursuant to Paragraph 6 above, the
 Respondents shall also have -resolved· any and all civil liability
 to EPA under Section 107(a)'of CERCLA for the specific amounts
 paid.
        14. (a) Any disputes concerning the United States'.Fµture
  Response Costs, payable pursuant to the terms of Paragraph 5,
  shall be resolved in the following manner. Within thirty (JO)
  days fro~ receipt of EPA's cost.summary SPUR Report, Respondents
  shall notify the EPA contact listed in Paragraph.4 of their
  objections to'EPA's costs. Respondents• objections shall be.made
  in writing and shall define the.dispute, state the basis of            ·
  Respondent's objections, and be sent certified mail, return
  receipt requested. EPA shall not be obligated. to prQVitle      .
  additional cost documentation beyond the SPUR Report, but'!llay'do
  s.o at its discretion. All costs not disputed shall be paid ..
  pursuant to Paragraph 5 of this Order. EPA and the Respondents
  shall have fourteen (14) days 'from the date of· EPA's receipt of
  Respondents• objections to reach agreement'on th!:! disputel:i costs .
. EPA may extend this period as needed. If an agreement is        ·
.reached, Resp.on¢1erits 1 shall pay the agreed amount within fourteen
  (14) days after the date of such agreement.          ·
           (b) If ar1 agreement is not reached within said time
period including extensions, EPA or Respondents may request a
determination by EPA Region IX's Deputy Director for superfund.
The Deputy Director's determination shall constitute EPA's final
decision. Respondents shall pay the costs owed pursuant to EPA's
final decision, regardless of whether Re.spondents agree with the
decision, within fourteen (14) days after the d.ate of said
decision. ·Respondents' payment shall include interest on the
amount due, calculated. from· the date .of Respondents I receipt of
EPA's cost summary tQ the date of payment, at the rate specified
for interest on inv~stments. of the Hazardous substance superfund
in accordance.with 42 u.s.c. § 9607(a).
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            (c) If Respondents fail to make payment when due under
 this Section, EPA reserves the right to seek statutory penalties
 and/or any other appropriate relief,
            (d) Any di.sputes arising between Respondents and EPA . __ .
 concerning. the Trust Fund or other provisions of this Order sha-$•:
 be resolved according to the procedures set forth in paragraphs
 (a), (b), and (c) of this. Section.             ·
      15. Nothing in this Order is intended to be nor shall it be
 construed as ·a release, covenant not to sue, or compromise of any
 claim or cause of action, administrative or judicial, civil or
 criminal, past or future, in law or in equity, which EPA, DTSC,
 o~ any other governmental agency or instrumentality may have
 against the Respondents for:
            (a) any liability as a result of failure to make the
 payments required by Paragraphs 2, 5, and 6(a) and 6(b) of this
 Order or other failure to comply with the terms of this Order; or
   .         (b) any iiability not expressly included in_ Paragraph
  13 above, including, without limitation, ,any liability for i) .
  inj-unctive relief at the Site; ii) r·esponse costs other than I
  those specifically described under Paragraphs 2, 5, and.6(a) and
· 6(b) above, including but 'not limited to costs of soil
  remediation or other ;response aqtion that exceed the amount of
  the Trust Fund; iii) damages for injury to·or loss or destruction
  of.natural resources; or iv) criminal liability.
                              )              .                '
      . 16. · Nothing in this Order.is intended to'be nor shall it. be
  construed as a release, covenant not to sue; or compromise of any
  claim or. cause of.action, administrative or judicial, -civil or
  criminal, past or future, in law or in.'equity, which EPA, DTSC,
· or any other goverrunental agency or instrwnentality may have
  against any person, firm, corporation or other entity not a
· signatory to this Order.
      17. The Respondents a~ee not to assert any claims or
causes of action against the United States or the Hazardous
Substance Superfund arising out of response activities undertaken
at, or relating in any way to, .the Site, or to seek any other
costs, damages, or at,torney•s fees from the .United States, its
agencies, employees or contractors arising out of resp9nse
act.ivities undertake111 at, or relating in any way to, the Site.
The Respondents waive any right they might have to seek
reimbursement from EPA pursuant to section 106 o~ CERCLA, 42
u.s.c.· § 9606, for any costs -pertaining to the Site;
     18, Respondent Coast Wood Pr~serving, Inc., agrees to
indemnify, save and hold harmless the Uniteq. states, its
officials, agents, contractors, subcontractors, employees and
representatives from any and all claims or causes of action: a)
                                   10
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  arising· from or on elccount of acts or omissions of Respondent
  Coast Wood Preserving, Inc •.' s, officers, directors, employees,
  agents, contractors, subcontractors, successors, and assigns in
  conducting response actions at the Site relat-ing .to this Order;
  and b) for damages or reimbursement arising from or on account of
  any contract! agreement, or arrangeme~t between Respondent Coa~},i"'!,.:
  wood Preserving, Inc., and any person(s) for performance of·work
  at or reiating to the site, including claims arising out of
. construction. delays.. Respondent Coast Wood Preserving, Inc. ,
  al$o agree$ to pay the United state$ all costs incurred by the.
  United states, including litigation costs arising from or on
  account of claims made against the United States based on any of
  the acts or omissions referred to in this Section.
.     19, With regard to claims for contribution against the
Respondents for matbars addressed in this Order, the parties
hereto agree that the Respondents are entitled, as of the
 effective date·of this order, to such protection from
contribution actions or claims as is provided in.section
 122{h)(4) of CERCLA,
  .      20. This Order shall be subject to a thirty-day public
 colllltlent period pur$1.iant to Section 122 ( i) of CERCLA. In
 accordance with Section 122 ( i) ( 3) of CERCLA, EPA may modify ·or .
.withdraw its consent to thi$ Order if collllllent$ received disclose
 facts or considerations which indicate that this Order is
-inappropriate, improper or inadequate,'
      21. The effective date of this Order shall be the date upon
which EPA issues written notice to the Respondents tha.t the
public comment peri,od pursuant to Paragraph 20 of this Order has
cl,osed and that comments received, if any, do not require
modification of or EPA withdrawal from this order,




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IT IS SO AGREED:
Respondent Coast Wood Preserving, Inc.:
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By:     (/fA,llc.e/11. .,,.~~....,                                           ,..-~i:.
                                                                                 'Ji. ·.
        Harold w. Logsdn,President
                           I    11   .
                 /(.I    ~ - ~ > - .-
                                                Date
                                                  c'/1,ru-; If?', l'f'"f-Y
Resp~dent J           ceJ/ ogsdon

Respondent Cordes P. Langley                    Date

Respondent Marie J. Langley                     Date




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IT IS SO AGREED:
Respondent Coast Wood Preserving, Inc.:
By:                                                                     ,,,,$('!:,:
                                                                           " .... ·.

      Harold   w.   Lbgsdon, President       Date

Respondent Harold      w. Logsdon .          Date.

Respondent Joyce J. Log~don                ' Date

                                             Date      '   /
                                                     /I- :I.I- 9¥
                                             Date




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     The above being agreed and consented to, IT IS so ORDERED
     this       f{4       day of       7,ecai1frqc     ,   1994 ..

     U.S. Environmental Protection Agency
     By:                  a k:.-t· ........--
           Ll~~iz~ej1n1~k~s~o~n~,:-l1D~iGr~eacc~t:coiir~~~~~-
              azardous.Waste Management Division
             Region IX         ·




                                                 13.
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                   APPENDIX D
                 Record of Decision
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                                                         EPA/ROD/R09-89/038
                                                         1989




EPA Superfund
    Record of Decision:


      COAST WOOD PRESERVING
      EPA ID: CAD063015887
      OU 01
      UKIAH, CA
      09/29/1989
COAST WOOD PRESERVING, INC.
              Case 1:96-cv-06055-AWI-SAB
UKIAH, CALIFORNIA                               Document 73 Filed 03/01/18 Page 163 of 708

#SBP
STATEMENT OF BASIS AND PURPOSE:

THIS DOCUMENT SERVES AS EPA SELECTION OF THE REMEDIAL ACTION FOR THE COAST WOOD PRESERVING, INC.
SITE. THE CALIFORNIA DEPARTMENT OF HEALTH SERVICES, TOXIC SUBSTANCES CONTROL DIVISION, REGION
2, (CDHS) HAS APPROVED THIS REMEDIAL ACTION IN CONFORMANCE WITH: SECTION 13000 AND 13304 OF THE
CALIFORNIA WATER CODE, STATE OF CALIFORNIA HEALTH AND SAFETY CODE SECTION 25356.1, THE
COMPREHENSIVE ENVIRONMENTAL RESPONSE, COMPENSATION AND LIABILITY ACT (CERCLA) AND THE NATIONAL
CONTINGENCY PLAN.

THIS EPA SELECTION OF REMEDY IS BASED UPON THE CDHS REMEDIAL ACTION PLAN, THE RESPONSIVENESS
SUMMARY, THE REMEDIAL INVESTIGATION, THE FEASIBILITY STUDY, AND THE ADMINISTRATIVE RECORD FOR
THIS SITE. THE ATTACHED INDEX LISTS THE ITEMS COMPRISING THE ADMINISTRATIVE RECORD.

DESCRIPTION OF REMEDIAL ACTION

THE SELECTED REMEDY PROVIDES FOR FINAL CLEAN-UP REQUIREMENTS RELATED TO ONSITE SOILS AND
GROUNDWATER AND THE PREVENTION OF OFFSITE MIGRATION OF CONTAMINANTS. IN ADDITION, A CONTINGENCY
IS PROVIDED FOR THE REMEDIATION OF OFFSITE GROUNDWATER IN THE EVENT THAT CHROMIUM LEVELS RISE
OVER ACCEPTABLE LEVELS.

OVER THE YEARS, A NUMBER OF REMEDIAL MEASURES HAVE BEEN UNDERTAKEN BY COAST WOOD PRESERVING,
INC. TO REDUCE THE MIGRATION OF CHROMIUM, COPPER AND ARSENIC CONTAMINATION AND TO BEGIN
GROUNDWATER REMEDIATION. THESE MEASURES INCLUDED CONSTRUCTING SURFACE WATER RUN-OFF BERMS,
PAVING OVER EXPOSED SOIL ZONES, AND CONSTRUCTING ROOFS OVER THE RETORT AREAS TO REDUCE THE
POTENTIAL FOR ADDITIONAL SOIL, STORM WATER AND GROUNDWATER CONTAMINATION. IN 1983, WITHOUT
REGULATORY AGENCY APPROVAL, COAST WOOD PRESERVING CONSTRUCTED A 300-FOOT SLURRY CUTOFF WALL
ALONG THE EASTERN BOUNDARY OF THE SITE. A GROUNDWATER EXTRACTION TRENCH WAS INSTALLED ON THE
UPGRADIENT SIDE OF THE SLURRY WALL. EXTRACTED GROUNDWATER IS PIPED TO AN ON-SITE ELECTROCHEMICAL
TREATMENT FACILITY PRIOR TO REUSE, REINJECTION OR DISCHARGE. THE SLURRY WALL AND EXTRACTION
WELL HAVE BEEN EFFECTIVE IN REDUCING FURTHER OFF-SITE MIGRATION OF HEAVY METALS.

UNDER AGREEMENT WITH THE STATE OF CALIFORNIA, COAST WOOD PRESERVING WILL BE RESPONSIBLE FOR THE
REMEDIATION OF CONTAMINATED SOILS AT THE TIME OF CLOSURE OF THE FACILITY PROJECTED TO BE IN TEN
(10) YEARS. A TRUST FUND WILL BE ESTABLISHED WITH ANNUAL PAYMENTS TO BE MADE BY COAST WOOD
PRESERVING, INC. TO FUND THIS PORTION OF THE SITE REMEDIATION. TREATABILITY STUDIES WILL BE
CONDUCTED PRIOR TO CDHS AND EPA SELECTION OF THE MOST EFFECTIVE AND COST EFFICIENT TECHNOLOGY.

#DE
DECLARATION

EPA UNDER CERCLA, HAS SELECTED THIS GROUNDWATER REMEDY FOR THE COAST WOOD PRESERVING, INC. SITE.
THE REMEDY IS PROTECTIVE OF HUMAN HEALTH AND THE ENVIRONMENT, ATTAINS FEDERAL AND STATE
REQUIREMENTS THAT ARE APPLICABLE OR RELEVANT AND APPROPRIATE TO THE REMEDIAL ACTION, AND IS
COST- AND TIME EFFECTIVE. THIS REMEDY SATISFIES FEDERAL STATUTORY PREFERENCES FOR REMEDIES THAT
REDUCE TOXICITY, MOBILITY, OR VOLUME OF CONTAMINANTS AS A PRINCIPAL ELEMENT. IT ALSO UTILIZES
PERMANENT SOLUTIONS TO THE MAXIMUM EXTENT PRACTICABLE.

AS THIS REMEDY WILL RESULT IN HAZARDOUS SUBSTANCES REMAINING ON-SITE ABOVE HEALTH BASED LEVELS,
A REVIEW WILL BE CONDUCTED BY EPA EACH FIVE (5) YEARS AFTER COMMENCEMENT OF REMEDIAL ACTION TO
ENSURE THE REMEDY CONTINUES TO PROVIDE ADEQUATE PROTECTION OF HUMAN HEALTH AND THE ENVIRONMENT.
IF THIS SELECTED REMEDIAL ACTION DOES NOT MEET THE GOALS AND CLEANUP OBJECTIVES IDENTIFIED IN
THE REMEDY, OR IS NOT SUFFICIENTLY PROTECTIVE OF HUMAN HEALTH AND THE ENVIRONMENT, THEN EPA MAY,
UNDER THE AUTHORITIES OF CERCLA, REQUIRE ADDITIONAL RESPONSE ACTION FROM COAST WOOD PRESERVING,
INC.



  DATE:09/29/89                   DANIEL W. MCGOVERN
                                  REGIONAL ADMINISTRATOR
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1.0 INTRODUCTION     1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 164 of 708

SINCE JUNE 1980, A NUMBER OF STUDIES HAVE BEEN CONDUCTED TO INVESTIGATE THE PRESENCE OF
CHROMIUM, COPPER, AND ARSENIC IN THE SUBSURFACE ENVIRONMENT AT THE COAST WOOD PRESERVING, INC.
(CWP) FACILITY (THE SITE) IN UKIAH, CALIFORNIA. THE INVESTIGATIONS WERE DESIGNED TO
CHARACTERIZE SURFACE AND SUBSURFACE CONDITIONS AND DELINEATE THE AREAL AND VERTICAL EXTENT OF
CHROMIUM, COPPER, AND ARSENIC IN SOIL AND GROUND WATER AT THE SITE. CONCURRENT WITH THE
INVESTIGATIONS, A NUMBER OF INTERIM REMEDIAL MEASURES HAVE BEEN IMPLEMENTED TO CONTAIN THE
CHROMIUM PLUME IN GROUND WATER AND REMEDIATE SUBSURFACE CONDITIONS.

THE STATE AND FEDERAL AGENCIES RESPONSIBLE FOR OVERSEEING THE CWP INVESTIGATIONS INCLUDE THE
CALIFORNIA REGIONAL WATER QUALITY CONTROL BOARD, NORTH COAST REGION (RWQCB), DEPARTMENT OF
HEALTH SERVICES (DHS), AND US ENVIRONMENTAL AGENCY (EPA). THROUGHOUT THIS REPORT, THE RWQCB,
DHS, AND EPA ARE REFERRED TO COLLECTIVELY AS "THE REGULATORY AGENCIES."

IN COMPLIANCE WITH SECTION 25356.1 OF THE CALIFORNIA HEALTH AND SAFETY CODE (1986), THE
REGULATORY AGENCIES HAVE REQUESTED THAT CWP SUBMIT A REMEDIAL ACTION PLAN (RAP) TO ADDRESS SOIL
AND GROUND WATER CONTAMINATION WHICH MAY HAVE ORIGINATED FROM CWP'S OPERATION. ON BEHALF OF CWP
AND IN RESPONSE TO THIS REQUEST, GEOSYSTEM CONSULTANTS, INC. (GEOSYSTEM) SUBMITTED A PREDRAFT
PAP (GEOSYSTEM, SEPTEMBER IS, 1986) TO THE REGULATORY AGENCIES FOR REVIEW. SUBSEQUENT TO THE
SUBMITTAL OF THE PREDRAFT RAP, A NUMBER OF ADDITIONAL INVESTIGATIONS WERE PERFORMED AT THE SITE.
ALSO, IN FEBRUARY 1987, THE DHS ISSUED A DRAFT GUIDANCE DOCUMENT FOR RAP PREPARATION. THE DRAFT
GUIDANCE DOCUMENT PROVIDED THE FORMAT, CONTENT, AND PROCEDURES FOR PREPARATION, APPROVAL, AND
IMPLEMENTATION OF THE RAP.

UTILIZING THE 'RESULTS OF ADDITIONAL INVESTIGATIONS AND CONSIDERING THE REGULATORY AGENCIES'
REVIEW COMMENTS, A DRAFT RAP WAS PREPARED BY GEOSYSTEM IN ACCORDANCE WITH THE FEBRUARY 1987
DRAFT RAP GUIDELINES. SHE DRAFT RAP WAS SUBMITTED FOR REVIEW IN JULY 1987. IN SEPTEMBER 1987,
THE DHS ISSUED A DETAILED OUTLINE FOR THE PREPARATION OF RAPS ENTITLED "DHS, POLICY AND
PROCEDURE FOR REMEDIAL ACTION PLAN DEVELOPMENT AND APPROVED PROCESSES" (DHS, SEPTEMBER 1987).
ALSO, IN SEPTEMBER 1987, THE REGULATORY AGENCIES PROVIDED REVIEW COMMENTS ON THE DRAFT RAP
SUBMITTED IN JULY 1987. THE AGENCIES' COMMENTS AND THE CONTENT AND FORMAT OF THE MOST RECENT
RAP GUIDELINES (DHS, SEPTEMBER 1987) WERE CONSIDERED IN THE PREPARATION OF DRAFT NO. 2 OF THE
RAP, WHICH WAS ISSUED IN FEBRUARY 1988 (GEOSYSTEM, FEBRUARY 29, 1988). SUBSEQUENTLY, ON AUGUST
4, 1988, AGENCY COMMENTS ON DRAFT NO. 2 OF THE RAP WERE RECEIVED.1 ALSO, ON DECEMBER 16, 1988,
THE DHS ISSUED A REMEDIAL ACTION ORDER PROVIDING THE FRAMEWORK FOR FUTURE SITE ACTIVITIES,
INCLUDING THE PREPARATION OF THE THIRD DRAFT OF THE RAP. ON FEBRUARY 3, 1989, GEOSYSTEM ISSUED
THE THIRD DRAFT OF THE RAP FOR AGENCY REVIEW. AGENCY COMMENTS WERE CONSIDERED IN THE PREPARATION
OF THE FINAL DRAFT RAP, WHICH WAS ISSUED ON MAY 3, 1989. ON AUGUST 1, 1989, THE DHS ISSUED A
NUMBER OF COMMENTS AND CHANGES TO BE ADDRESSED IN THE FINAL RAP (DHS, AUGUST 1, 1989).

IT IS NOTED THAT THE RAP GUIDELINES PREPARED BY THE DHS ARE CONSISTENT WITH SECTION 25350,
SUBPART F OF THE NATIONAL OIL AND HAZARDOUS SUBSTANCES POLLUTION CONTINGENCY PLAN (US EPA, JULY
1985), SECTION 25356.1 OF THE CALIFORNIA HEALTH AND SAFETY CODE (1986), AND THE CALIFORNIA SITE
MITIGATION DECISION TREE (DHS, JUNE 1985).

1.1 OBJECTIVE

ACCORDING TO THE SEPTEMBER 1987 DHS GUIDELINES FOR RAP PREPARATION, THE PURPOSE OF A RAP IS TO
COMPILE AND SUMMARIZE SITE DATA GATHERED FROM THE REMEDIAL INVESTIGATION (RI) AND THE
FEASIBILITY STUDY (FS), IN ORDER TO IDENTIFY, AND SUBSEQUENTLY DESIGN, PLAN AND IMPLEMENT A
FINAL REMEDIAL ACTION FOR A HAZARDOUS SUBSTANCE RELEASE SITE." THE SPECIFIC OBJECTIVE OF THIS
RAP IS TO PRESENT THE FINDINGS OF THE INVESTIGATIONS PERFORMED AT THE CUP SITE, THE RATIONALE
FOR SELECTION OR REJECTION OF THE REMEDIAL ALTERNATIVES CONSIDERED, AND THE TIMEFRAME FOR
REMEDIAL ACTION IMPLEMENTATION. THE RAP IS INTENDED TO PROVIDE AN OPPORTUNITY FOR THE PUBLIC
AND OTHER INTERESTED PARTIES TO PARTICIPATE IN THE REMEDIAL ACTION DECISION-MAKING PROCESS.
ACCORDING TO THE DHS, IF THE REMEDIAL ACTION PLAN IS FULLY IMPLEMENTED AND COMPLETED, "THE SITE
WILL BE CERTIFIED AND TRANSFERRED TO A LIST OF SITES WHICH REQUIRE LONG TERM OPERATION AND
MAINTENANCE."

1.2 SITE IDENTIFICATION
THE SITE IS KNOWN AS THE COAST WOOD PRESERVING, INC. (CUP) FACILITY AND IS LOCATED THREE MILES
              Case
SOUTH OF UKIAH,     1:96-cv-06055-AWI-SAB
                CALIFORNIA, AT THE INTERSECTIONDocument
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LOCATION IS SHOWN IN FIGURE 1. CWP HAS CONDUCTED WOOD PRESERVING OPERATIONS AT THE SITE SINCE
1971 AND THE FACILITY IS CURRENTLY ACTIVE. ADDITIONAL DETAILS OF CUP'S WOOD PRESERVING
OPERATION ARE PRESENTED IN SECTION 3.2.1.

1.3 SCOPE AND REPORT ORGANIZATION

THE RAP INCLUDES RELEVANT BACKGROUND INFORMATION, A SUMMARY AND INTERPRETATION OF THE
HYDROGEOLOGIC DATA, A SUMMARY OF SOIL AND GROUND WATER QUALITY DATA, A DESCRIPTION OF THE
INTERIM REMEDIAL MEASURES IMPLEMENTED, A RISK ASSESSMENT, AND AN EVALUATION OF REMEDIAL ACTION
ALTERNATIVES, IN ADDITION, THE RATIONALE FOR SELECTION OF THE PROPOSED REMEDIAL ACTIONS AND
REJECTION OF HE OTHERS IS PRESENTED.

THE FORMAT AND ORGANIZATION OF THIS DOCUMENT ARE CONSISTENT WITH THE RAP GUIDELINES (DHS,
SEPTEMBER 1987). AN EXECUTIVE SUMMARY, INCLUDING A BRIEF DESCRIPTION OF SIGNIFICANT FINDINGS,
CONCLUSIONS, AND RECOMMENDATIONS, IS PROVIDED IN SECTION 2.0. SECTION 3.0 PRESENTS A SITE
DESCRIPTION, INCLUDING THE HISTORY OF WOOD PRESERVING OPERATIONS AND THE PHYSICAL
CHARACTERISTICS OF THE SITE. SECTION 4.0 CONTAINS A SUMMARY OF THE GEOLOGIC, HYDROLOGIC, AND
CHEMICAL CHARACTERISTICS OF SOIL, SURFACE WATER, AND GROUND WATER AT THE SITE AND IMMEDIATE
VICINITY BASED ON THE REMEDIAL INVESTIGATIONS PERFORMED. SECTION 5.0 DESCRIBES THE INTERIM
REMEDIAL MEASURES IMPLEMENTED DURING THE COURSE OF THE INVESTIGATIONS AT THE SITE. SECTION 6.0
SUMMARIZES POTENTIAL MIGRATION PATHWAYS AND CHROMIUM TOXICITY, AND EVALUATES THE POSSIBLE
EXPOSURE OF THE CONTAMINANTS' TO POTENTIAL RECEPTORS.

SECTION 7.0 PRESENTS THE REMEDIAL ACTION ALTERNATIVES CONSIDERED TO ADDRESS SOIL AND GROUND
WATER CONTAMINATION, INCLUDING ALTERNATIVE METHODS OF GROUND WATER TREATMENT AND DISCHARGE. IN
ADDITION, THE RECOMMENDED REMEDIAL ACTION TO ADDRESS SOIL AND GROUNDWATER CONTAMINATION IS
PRESENTED IN SECTION 7.0. THE RATIONALE FOR THE SELECTION OF THE PROPOSED REMEDIAL PLAN AND THE
APPLICABLE REGULATIONS ARE ALSO PRESENTED IN THIS SECTION.

THE SCHEDULE FOR IMPLEMENTATION OF THE RAP IS PRESENTED IN SECTION 8.0. THE ALLOCATION OF
FINANCIAL RESPONSIBILITY AND PROVISIONS FOR FINANCIAL ASSURANCE ARE PRESENTED IN SECTION 9.0.
THE OPERATION AND MAINTENANCE REQUIREMENTS ARE DESCRIBED IN SECTION 10.0.

2.0 EXECUTIVE SUMMARY

THE REMEDIAL ACTION PLAN (RAP) PRESENTS THE RATIONALE, APPROACH, AND FRAMEWORK FOR THE PROPOSED
REMEDIATION PROGRAM AT THE COAST WOOD PRESERVING, INC. (CWP) FACILITY IN UKIAH, CALIFORNIA.

2.1 APPLICABLE LAWS AND REGULATIONS

THE RAP HAS BEEN PREPARED IN ACCORDANCE WITH THE GUIDANCE DOCUMENT ENTITLED "REMEDIAL ACTION
PLAN DEVELOPMENT AND APPROVAL PROCESS," ISSUED BY THE DHS (SEPTEMBER 1987). THE RAP IS ALSO
CONSISTENT WITH THE FOLLOWING STATE AND FEDERAL REQUIREMENTS AND GUIDELINES:

      •      COMPREHENSIVE ENVIRONMENTAL RESPONSE, COMPENSATION AND LIABILITY ACT (CERCLA) OF
             1980, AS AMENDED BY THE SUPERFUND AMENDMENTS AND REAUTHORIZATION ACT (SARA) OF 1986.

      •      RESOURCE CONSERVATION AND RECOVERY ACT (RCRA) OF 1976, AS AMENDED BY THE HAZARDOUS
             AND SOLID WASTE AMENDMENTS (HSWA) OF 1984.

      •      SAFE DRINKING WATER ACT.

      •      CALIFORNIA CODE OF REGULATIONS, TITLE 22, DIVISION 4: ENVIRONMENTAL HEALTH (CHAPTER
             1, ARTICLE 1; CHAPTER 2, ARTICLE 1; CHAPTER 30), JULY 1986.

      •      CALIFORNIA HEALTH AND SAFETY CODE.

      •      NORTH COASTAL BASIN WATER QUALITY CONTROL PLAN ADOPTED BY THE RWQCS.

      •      ALL ORDERS, INCLUDING SPECIFICATIONS, PROVISIONS, PROHIBITIONS, AND REQUIREMENTS
             ISSUED BY THE RWQCB.
      •      COURT ORDER BY THE STATE OF CALIFORNIA, OFFICE OF THE ATTORNEY GENERAL.
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      •      NATIONAL CONTINGENCY PLAN, PERTINENT HAZARDOUS WASTE REGULATIONS UNDER 40 CFR, PARTS
             260 TO 265; PART 300-68, JULY 1985.

      •      PORTER-COLOGNE WATER QUALITY CONTROL ACT, 1969.

2.2 BACKGROUND

SINCE 1980, A NUMBER OF INVESTIGATIONS HAVE BEEN PERFORMED TO DELINEATE THE AREAL AND VERTICAL
EXTENT OF CHROMIUM IN SOIL AND GROUND WATER AT THE CWP SITE AND TO CHARACTERIZE HYDROGEOLOGIC
CONDITIONS. SOIL QUALITY INVESTIGATIONS HAVE SHOWN THAT ELEVATED CHROMIUM AND ARSENIC
CONCENTRATIONS EXIST IN THE UPPER 1 TO 2 FEED OF THE SOIL PROFILE NEAR AND AROUND THE RETORT
AREA. MOST SOIL SAMPLES ANALYZED FOR TOTAL CHROMIUM AND HEXAVALENT CHROMIUM HAVE INDICATED THAT
TRIVALENT CHROMIUM COMPOUNDS ARE PREVALENT IN THE NEAR-SURFACE SOILS.

HYDROGEOLOGIC STUDIES HAVE DEMONSTRATED THAT THE SITE IS UNDERLAIN BY FOUR HYDROSTRATIGRAPHIC
ZONES. THE UPPER ZONE (ZONE 1) CONSISTS OF SILTY CLAY AND CLAYEY SILT, WITH MORE PERMEABLE
STRINGERS AND LENSES OF SAND AND GRAVEL, TO A DEPTH OF ABOUT 20 FEET. THIS ZONE IS SEPARATED
FROM A MORE PERMEABLE SAND AND GRAVEL LAYER (ZONE 2) BY A BLUE CLAY. ZONE 3 IS A CLAYEY SILT
STRATUM, AND ZONE 4 CONSISTS OF CLAYEY SAND AND GRAVEL. ZONE 1 IS THE PRIMARY ZONE OF CONCERN
BECAUSE OF THE PRESENCE OF CHROMIUM IN GROUND WATER. THE DEPTH TO GROUND WATER VARIES FROM 5 TO
10 FEET AND GROUND WATER GENERALLY FLOWS TO THE SOUTHEAST.

GROUND WATER QUALITY DATA SHOW THAT CHROMIUM CONCENTRATIONS ARE HIGHER NEAR THE RETORT AREA AND
DECREASE IN THE DOWNGRADIENT DIRECTION. IN THE LAST THREE YEARS, MOST OFF-SITE WELLS HAVE NOT
EXHIBITED CHROMIUM CONCENTRATIONS IN EXCESS OF THE DRINKING WATER STANDARD (0.05 MG/L). MOST
STORM WATER QUALITY MONITORING DATA INDICATE THAT CHROMIUM CONCENTRATIONS ARE GENERALLY NEAR OR
BELOW DETECTION LIMITS.

GEOCHEMICAL TESTS HAVE BEEN PERFORMED TO EVALUATE THE SORPTION AND DESORPTION CHARACTERISTICS OF
CHROMIUM AND ARSENIC IN SOIL AND GROUND WATER. SORPTION TESTS HAVE SHOWN THAT ZONE 1 MATERIAL
IS CAPABLE OF ADSORBING HEXAVALENT CHROMIUM TO THE EXTENT THAT CHROMIUM MIGRATION IS AT LEAST 5
TIMES SLOWER THAN GROUND WATER FLOW. DESORPTION TESTS HAVE INDICATED THAT A REDUCTION IN
CHROMIUM CONCENTRATION CAN BE ACHIEVED BY GROUND WATER EXTRACTION. THE GEOCHEMICAL DATA HAVE
BEEN USED TO ESTIMATE THE TIME OF AQUIFER CLEANUP. THE ABSENCE OF DISSOLVED ARSENIC IN GROUND
WATER MONITORING WELLS INDICATES HIGH ADSORPTION CAPACITY FOR ARSENIC COMPOUNDS.

POTENTIAL MIGRATION PATHWAYS THROUGH AIR, DIRECT EXPOSURE TO SOIL, SURFACE WATER, AND GROUND
WATER HAVE BEEN ASSESSED. IT IS CONCLUDED THAT THE MOST PROBABLE MIGRATION PATHWAY IS VIA
GROUND WATER FLOW. BECAUSE OF THE OVERALL SITE IMPROVEMENTS AND THE INTERIM REMEDIAL MEASURES
IMPLEMENTED, HOWEVER, OFF-SITE MIGRATION IS UNLIKELY A TRANSPORT MODEL HAS BEEN UTILIZED TO
ASSESS THE AREAL DISTRIBUTION OF CHROMIUM IN CASE OF OFF-SITE MIGRATION. CONSIDERING THE LOW
POPULATION DENSITY DOWNGRADIENT OF THE FACILITY AND THE ABSENCE OF WATER-PRODUCING WELLS IN THE
IMMEDIATE SITE VICINITY, THERE IS NO PRESENT POTENTIAL EXPOSURE THROUGH GROUND WATER.
THEREFORE, THERE IS NO HEALTH RISK ASSOCIATED WITH THIS PATHWAY IF OFF-SITE MIGRATION IS
PREVENTED.

2.3 INTERIM REMEDIAL MEASURES

SINCE THE INITIATION OF INVESTIGATIONS AT THE CWP SITE, A NUMBER OF REMEDIAL MEASURES HAVE BEEN
IMPLEMENTED BY CWP. GENERAL FACILITY IMPROVEMENTS HAVE INCLUDED GRADING AND CONSTRUCTION OF
BERMS TO PREVENT SURFACE RUNOFF FROM THE RETORT AND TREATED WOOD STORAGE AREA. SURFACE PAVING,
AND CONSTRUCTION OF ROOFS OVER THE RETORT AREA. THESE IMPROVEMENTS HAVE SUBSTANTIALLY REDUCED
THE POTENTIAL FOR SOIL, STORM WATER, AND GROUND WATER CONTAMINATION.

IN OCTOBER 1983, WITHOUT REGULATORY AGENCY APPROVAL AND/OR OVERSIGHT, CWP CONSTRUCTED A 300-FOOT
LONG, SLURRY CUTOFF WALL ALONG THE EASTERN SITE BOUNDARY TO A DEPTH OF ABOUT 20 FEET.
CHROMIUM-CONTAINING GROUND WATER IS PUMPED FROM AN EXTRACTION TRENCH LOCATED HYDRAULICALLY
UPGRADIENT OF THE SLURRY WALL. THE TRENCH APPEARS TO BE CAPABLE OF INTERCEPTING AND
HYDRAULICALLY CONTROLLING GROUND WATER IN ZONE 1. EXTRACTED WATER IS RECYCLED BACK INTO CWP
OPERATIONS WHEN POSSIBLE. THE PRESENCE OF THE SLURRY CUTOFF WALL AND EXTRACTION FROM THE TRENCH
HAVE BEEN EFFECTIVE IN REDUCING THE OFF SITE MIGRATION OF CHROMIUM.
2.4 REMEDIAL ACTION ALTERNATIVES
              Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 167 of 708
A FEASIBILITY STUDY HAS BEEN CONDUCTED TO SCREEN AND EVALUATE VIABLE REMEDIAL ACTION
ALTERNATIVES. IN CONDUCTING THE FEASIBILITY STUDY, CONTAMINATED SOIL WAS CONSIDERED THE PRIMARY
POTENTIAL SOURCE OF GROUND WATER CONTAMINATION. CONTAMINATED GROUND WATER WAS CONSIDERED THE
PRINCIPAL POTENTIAL HAZARD TO HUMAN HEALTH AND THE ENVIRONMENT. IN EVALUATING THE ALTERNATIVES,
SOIL AND GROUND WATER ELEMENTS WERE ADDRESSED SEPARATELY.

REMEDIATION OF CONTAMINATED SOILS WILL OCCUR AT THE TIME OF CLOSURE OF THE FACILITY, PROJECTED
TO BE 30 YEARS. A TRUST FUND WILL BE ESTABLISHED (SECTION 9.0) TO FUND FUTURE REMEDIATION OF
SOILS. THE POTENTIAL REMEDIAL OPTIONS CONSIDERED FOR CONTROL OF THE CONTAMINATED SOIL INCLUDED
SOIL REMOVAL/OFF-SITE DISPOSAL, SOIL REMOVAL/ON-SITE TREATMENT, CONTAINMENT, IN-SITU TREATMENT,
AND NO ACTION. TREATABILITY STUDIES WILL BE CONDUCTED PRIOR TO SELECTING THE FINAL SOILS REMEDY
AT THE TIME OF CLOSURE OF THE FACILITY. IT IS ANTICIPATED THAT ON-SITE SOIL TREATMENT OPTIONS
WILL INCREASE AS THIS TECHNOLOGY DEVELOPS OVER THE NEXT 5 TO 10 YEARS.

THE ALTERNATIVES CONSIDERED FOR CONTROL OF THE CHROMIUM PLUME INCLUDED PHYSICAL CONTAINMENT,
IN-SITU TREATMENT, HYDRAULIC CONTROL, AND NO ACTION. BASED ON PROVEN TECHNOLOGICAL
CONSIDERATIONS AND COST, HYDRAULIC CONTROL WAS SELECTED AS THE MOST COST-EFFECTIVE REMEDIAL
MEASURE. THIS OPTION WAS EVALUATED FOR PLUME CONTROL NEAR THE RETORT AREA, NEAR THE SITE
BOUNDARY, AND OFF SITE.

AS HYDRAULIC CONTROL REQUIRES PROPER HANDLING OF CONTAMINATED GROUND WATER, VARIOUS DISCHARGE
OPTIONS WERE CONSIDERED. THE MOST COST-EFFECTIVE OPTIONS INCLUDE RECYCLING THE GROUND WATER
INTO CWP OPERATIONS OR DISCHARGE OF TREATED WATER INTO THE SANITARY SEWER, VIABLE GROUND WATER
TREATMENT OPTIONS INCLUDE ELECTROCHEMICAL PROCESSES, CHEMICAL REDUCTION/PRECIPITATION, ACTIVATED
CARBON ADSORPTION, ION EXCHANGE, REVERSE OSMOSIS, AND ELECTRODIALYSIS. BASED ON AVAILABILITY,
PROVEN TECHNOLOGICAL CONSIDERATIONS, AND COST-EFFECTIVENESS, THE ELECTROCHEMICAL PROCESS WAS
SELECTED FOR GROUND WATER TREATMENT.

2.5 SELECTED REMEDIAL ACTION ALTERNATIVE

THE SELECTED REMEDIAL ACTION ALTERNATIVE INCLUDED THE FOLLOWING ELEMENTS:

      •      SURFACE RUNOFF MANAGEMENT.

      •      CONTROL AND REMEDIATION OF CONTAMINATED SOIL.

      •      PLUME CONTROL AND AQUIFER REMEDIATION.

      •      ELECTROCHEMICAL TREATMENT OF GROUND WATER.

      •      WATER RECYCLING/DISCHARGE TO UKIAH SEWAGE TREATMENT PLANT OR REINJECTION.

      •      MONITORING.

SURFACE RUNOFF WILL BE CONTROLLED TO PREVENT POTENTIALLY CONTAMINATED WATER ENTERING SURFACE
WATER DRAINAGE FEATURES. THE SITE WILL BE INSPECTED PERIODICALLY AND SURFACE PAVING REPAIRED AS
APPROPRIATE. STORM WATER MONITORING SHALL BE PERFORMED AND THE DATA EVALUATED ACCORDING TO RWQCB
ORDER NO. 85-103.

CONTAMINATED SOILS WILL BE CONTROLLED BY PREVENTING SURFACE WATER INFILTRATION AND BY EXERCISING
HYDRAULIC CONTROL OF THE PLUME. SURFACE PAVING WILL PREVENT THE SURFACE SOILS FROM ACTING AS A
SOURCE OF GROUND WATER CONTAMINATION. CHROMIUM LEACHED FROM THE SOIL AS A RESULT OF GROUND
WATER LEVEL FLUCTUATIONS WILL BE CONTROLLED HYDRAULICALLY IN THE RETORT AREA AND NEAR THE SITE
BOUNDARY. HYDRAULIC CONTAINMENT WILL BE ACHIEVED BY A GROUND WATER EXTRACTION AND TREATMENT
SYSTEM UTILIZING EXISTING EXTRACTION WELLS HL-7 AND CWP-18. THESE PROVISIONS WILL PREVENT
DIRECT HUMAN EXPOSURE TO CONTAMINATED SOIL, ELIMINATE THE CONTRIBUTION OF INFILTRATING SURFACE
WATER TO GROUND WATER CONTAMINATION, AND PREVENT OFF-SITE MIGRATION. AFTER SITE CLOSURE, THE
CONTAMINATED SOILS WILL BE REMEDIATED BY ON-SITE TREATMENT, AS DISCUSSED IN THE PREVIOUS
SECTION.

PLUME CONTROL AND AQUIFER REMEDIATION WILL BE PERFORMED BY GROUND WATER EXTRACTION NEAR THE
RETORT AREA AND AT THE SITE BOUNDARY. WELL CWP-18, LOCATED IN THE RETORT AREA, WILL BE PUMPED
              Case
TO EXTRACT GROUND   1:96-cv-06055-AWI-SAB
                  WATER                        Document
                        CONTAINING ELEVATED CHROMIUM      73 Filed 03/01/18
                                                     CONCENTRATIONS.           Page
                                                                     ALTHOUGH THE    168OFofTHIS
                                                                                  YIELD      708
WELL IS SMALL AND CONTINUOUS PUMPING MAY NOT BE POSSIBLE, THE POTENTIAL IMPACT ON AQUIFER
RESTORATION IS BELIEVED TO BE SIGNIFICANT.

AT THE SITE BOUNDARY, WELL HL-7 (INSTALLED IN THE EXTRACTION TRENCH) WILL BE PUMPED AT FLOW
RATES RANGING FROM 5 TO 20 GPM. EXTRACTION FROM THE TRENCH WILL PRODUCE A ZONE OF INFLUENCE
WHICH WILL CONTAIN THE CHROMIUM PLUME, PREVENT OFF-SITE MIGRATION, AND GRADUALLY RESTORE THE
AQUIFER. CONSIDERING THE TOTAL ESTIMATED VOLUME OF CONTAMINATED FLUID, PORE VOLUME REDUCTION
REQUIREMENTS, AND EXPECTED FLOW RATES, THE PROJECTED MINIMUM DURATION OF AQUIFER CLEANUP IS
ABOUT SEVEN YEARS. HOWEVER, CONSIDERING THE NATURE OF THE ASSUMPTIONS AND UNCERTAINTIES
ASSOCIATED WITH THIS ESTIMATED TIME OF AQUIFER CLEANUP, A CONSERVATIVE DURATION OF 20 YEARS IS
PROJECTED FOR PROJECT MANAGEMENT AND BUDGETARY PURPOSES. PROVISION IS ALSO MADE TO EXTRACT
WATER FROM WELL CWP-8, LOCATED ON THE DOWNGRADIENT SIDE OF THE SLURRY CUTOFF WALL. EXTRACTION
FROM THIS WELL WILL CONTAIN ANY RESIDUAL CHROMIUM THAT MAY PASS THE BARRIER. CONTAINMENT OF
CHROMIUM IN THIS LOCATION WILL PREVENT CONTAMINATION OF DOWNGRADIENT AREAS.

A CONTINGENCY PLAN HAS ALSO BEEN DEVELOPED FOR THE EXTRACTION OF GROUND WATER IN THE OFF-SITE
AREA LOCATED NEAR MONITORING WELL AT-2. DEPENDING ON FUTURE CONCENTRATIONS DETECTED IN THE
OFF-SITE WELLS, ADDITIONAL EXTRACTION WELLS MAY BE NECESSARY TO ENSURE HYDRAULIC CONTROL OF THE
CONTAMINATED PLUME.

THE EXTRACTED WATER WILL BE RECYCLED INTO CWP OPERATIONS, TO THE EXTENT POSSIBLE, OR TREATED
ELECTROCHEMICALLY AND DISCHARGED INTO THE SANITARY SEWER. IMPLEMENTATION OF THIS DISCHARGE
OPTION WILL PROVIDE MAXIMUM FLEXIBILITY IN SELECTING EXTRACTION RATES FROM WELL HL-7, AND WILL
INCREASE THE EFFECTIVENESS OF CLEANUP OPERATIONS. THE TREATMENT SYSTEM EFFLUENT CONCENTRATIONS
WILL MEET THE REQUIREMENTS OF THE UKIAH SEWAGE TREATMENT PLANT.

AIR, STORM WATER, AND GROUND WATER QUALITY MONITORING SHALL BE PERFORMED ACCORDING TO GENERAL
AND SITE-SPECIFIC PROTOCOLS. STORM WATER MONITORING SHALL BE PERFORMED AT THE LOCATIONS AND
FREQUENCIES SPECIFIED BY RWQCB ORDER NO. 85-101. STORM WATER SAMPLES WILL BE ANALYZED FOR
DISSOLVED TOTAL CHROMIUM AND ARSENIC.

GROUND WATER SHALL BE MONITORED IN ON-SITE AND OFF-SITE WELLS INSTALLED SPECIFICALLY FOR THE
CWP PROJECT. GROUND WATER MONITORING INCLUDES WATER LEVEL MEASUREMENTS AND WATER QUALITY
ANALYSES. THE GROUND WATER SAMPLES SHALL BE ANALYZED FOR DISSOLVED TOTAL CHROMIUM, AS SPECIFIED
IN RWQCB REVISED MONITORING AND REPORTING PROGRAM NO.85-101, ISSUED IN MAY 1987, AND ANY
SUBSEQUENT ORDER, AS APPROPRIATE. MONITORING LOCATIONS AND FREQUENCIES ARE SUBJECT TO CHANGE AS
REMEDIATION PROCEEDS.

MONITORING SHALL BE PERFORMED ACCORDING TO THE PROCEDURES OUTLINED IN THE "GROUND WATER/STORM
WATER MONITORING PROTOCOL" DATED AUGUST 1987, PREPARED SPECIFICALLY FOR THE CWP FACILITY. THE
MONITORING DATA SHALL BE REVIEWED PERIODICALLY TO EVALUATE THE EFFECTIVENESS OF THE RAP, AND
RECOMMENDATIONS AND MODIFICATIONS SHALL BE MADE AS APPROPRIATE. THE MONITORING DATA AND RESULTS
OF THESE EVALUATIONS SHALL BE REPORTED TO THE RWQCB AS REQUIRED BY THE REVISED MONITORING AND
REPORTING PROGRAM NO. 85-101.

2.6 ALLOCATION OF FINANCIAL RESPONSIBILITY

CWP HAS OWNED AND OPERATED THE UKIAH FACILITY SINCE 1971 AND WILL BE RESPONSIBLE FOR
IMPLEMENTATION OF THE RAP. THE PROVISIONS FOR FINANCIAL ASSURANCE ARE PROVIDED IN SECTION 9.0
OF THIS REPORT.

#SD
3.0 SITE DESCRIPTION

THIS SECTION PROVIDES A SUMMARY OF BACKGROUND INFORMATION PERTINENT TO THE RAP, INCLUDING THE
LOCATION, HISTORY, AND A PHYSICAL DESCRIPTION OF THE SITE. THE CONTENT AND FORMAT OF THIS
SECTION ARE GENERALLY CONSISTENT WITH THE RAP GUIDELINES PROVIDED BY THE DHS (SEPTEMBER 1987).

#SLC
3.1 SITE LOCATION
THE CWP FACILITY IS LOCATED AT THE INTERSECTION OF PLANT ROAD AND TAYLOR DRIVE IN AN
UNINCORPORATED Case  1:96-cv-06055-AWI-SAB
                AREA OF MENDOCINO COUNTY, ABOUT Document   73 OFFiled
                                                3 MILES SOUTH         03/01/18
                                                                 UKIAH,          PageTHE
                                                                         CALIFORNIA.  169SITE
                                                                                          of 708
LOCATION IS SHOWN IN FIGURE 1. THE SITE COVERS AN AREA OF APPROXIMATELY 8 ACRES AND IS LOCATED
IN SECTION 22 OF TOWNSHIP 15 NORTH, RANGE 12 WEST, RELATIVE TO THE MOUNT DIABLO BASELINE AND
MERIDIAN. FOR THE PURPOSE OF THIS RAP, THE "SITE" REFERS TO THE AREA BOUNDED BY US HIGHWAY 101
TO THE WEST, PLANT ROAD TO THE NORTH, TAYLOR DRIVE TO THE EAST, AND AN UNPAVED TRACK TO THE
SOUTH. THE "STUDY AREA" REFERS TO THE AREA BOUNDED BY PLANT ROAD AND THE UKIAH SEWAGE DISPOSAL
FACILITY TO THE NORTH, THE RUSSIAN RIVER TO THE EAST, ROBINSON CREEK TO THE SOUTH, AND US
HIGHWAY 101 TO THE WEST. THE STUDY AREA IS DELINEATED IN FIGURE 1. THE SITE AND VICINITY IS
SHOWN IN FIGURE 2.

#SH
3.2 SITE HISTORY

THIS SECTION INCLUDES A BRIEF DESCRIPTION OF WOOD PRESERVING OPERATIONS AT THE SITE; THE TYPE OF
CHEMICALS HANDLED; AND A CHRONOLOGY OF SITE CONTAMINATION, INVESTIGATION, AND INTERIM REMEDIAL
MEASURES.

3.2.1    WOOD PRESERVING OPERATIONS

CWP BEGAN WOOD PRESERVING OPERATIONS AT THE SITE IN 1971 AND THE FACILITY HAS OPERATED
CONTINUOUSLY UP TO THE PRESENT DATE. IT IS BELIEVED THAT PRIOR TO 1971, THE LAND WAS USED FOR
AGRICULTURAL PURPOSES. THE WOOD PRESERVING OPERATIONS AND FACILITIES HAKE BEEN PERIODICALLY
UPGRADED SINCE 1971 BY IMPLEMENTING SURFACE RUNOFF CONTROL MEASURES, SURFACE PAVING,
CONSTRUCTION OF CANOPIES OVER WOOD TREATMENT AREAS, AND THE DEVELOPMENT OF TREATED WOOD STORAGE
AND HANDLING PROCEDURES.

THE WOOD PRESERVING OPERATION AT THE SITE INVOLVES THE USE OF A CHEMICAL MIX CONSISTING OF 65.5
PERCENT SODIUM DICHROMATE, 18.3 PERCENT COPPER SULFATE, AND 16.4 PERCENT ARSENIC ACID. A DILUTE
SOLUTION OF THE CHEMICAL MIX, CONTAINING THE EQUIVALENT OF 1.5 PERCENT BY WEIGHT OF CRO3, CUO,
AND AS2O5, IS USED TO BATHE THE LUMBER IN PRESSURIZED RETORT CHAMBERS. AFTER EACH TREATMENT,
THE RETORT CHAMBERS ARE DRAINED AND THE PRESERVING SOLUTION IS RECYCLED INTO THE WORKING
SOLUTION TANK. RESIDUAL SOLUTION DRAINING FROM THE RETORT CHAMBERS AND DRIPPINGS FROM THE
FRESHLY TREATED WOOD ARE COLLECTED IN CONCRETE-LINED SUMPS AND ARE ALSO RECYCLED INTO THE
CHEMICAL MIX TANK VIA TEMPORARY HOLDING TANKS. THE SOLUTION TRANSFER TAKES PLACE THROUGH
ABOVE-GROUND PVC PIPES. A PLAN OF THE SITE, INCLUDING THE FACILITIES MENTIONED ABOVE, IS SHOWN
IN FIGURE 2.

3.2.2    CHEMICAL RELEASES

CONCERNS REGARDING THE POSSIBLE RELEASE OF WOOD PRESERVING CHEMICALS FROM THE CWP SITE WERE
RAISED BY THE COUNTY OF MENDOCINO, THE DEPARTMENT OF FISH AND GAME, AND THE RWQCB IN EARLY 1972.
A CHRONOLOGY OF THE SUBSEQUENT INTERACTION BETWEEN THE REGULATORY AGENCIES AND CWP IS PRESENTED
IN APPENDIX A. THE CUMULATIVE DRIPPINGS FROM TREATED WOOD OVER THE YEARS ARE BELIEVED TO HAVE
RESULTED IN NEAR-SURFACE SOIL CONTAMINATION AT THE SITE, PARTICULARLY DURING THE EARLY YEARS OF
OPERATION WHEN THE TREATMENT AND TREATED WOOD STORAGE AREAS WERE NOT ALL PAVED. CURRENTLY, ALL
BUT THE SOUTH AND SOUTHEAST PORTIONS OF THE SITE (AS SHOWN IN FIGURE 2) ARE PAVED WITH ASPHALT
OR CONCRETE.

3.2.3 PREVIOUS STUDIES

AS INDICATED IN SECTION 3.2.2, THE RWQCB FIRST BECAME INVOLVED IN THE ENVIRONMENTAL ASPECTS OF
CWP'S WOOD PRESERVING OPERATIONS IN EARLY 1972. THE RWQCB'S SPECIFIC CONCERNS WERE RELATED TO
POTENTIAL SURFACE WATER AND GROUND WATER CONTAMINATION. APPENDIX A PROVIDES A CHRONOLOGY OF
EVENTS RELATED TO ENVIRONMENTAL ACTIVITIES AT THE SITE.

ON JUNE 13, 1980, RWQCB STAFF COLLECTED SAMPLES OF SURFACE WATER RUNOFF WHICH WERE FOUND TO
CONTAIN WOOD PRESERVING CHEMICALS. IN SEPTEMBER 1980, THE RWQCB REQUESTED THAT CWP ASSESS AND
REPORT THE POSSIBLE IMPACT OF WOOD PRESERVING OPERATIONS ON SOIL AND GROUND WATER QUALITY
BENEATH THE SITE. THIS ASSESSMENT, PERFORMED BY H. ESMAILI & ASSOCIATES, INC. (AUGUST 1981) AND
REFERRED TO AS THE PHASE I STUDY, INCLUDED THE INSTALLATION OF SIX SHALLOW GROUND WATER
MONITORING WELLS (WELLS CWP-1 THROUGH CWP-6). THE LOCATIONS OF THESE MONITORING WELLS ARE SHOWN
IN FIGURE 2 AND THE CONSTRUCTION DETAILS ARE SUMMARIZED IN TABLE 1. THE INVESTIGATION INDICATED
ELEVATED CHROMIUM CONCENTRATIONS IN NEAR-SURFACE SOIL SAMPLES AND GROUND WATER SAMPLES COLLECTED
              Case
FROM WELLS CWP-1    1:96-cv-06055-AWI-SAB
                 THROUGH                       Document 73OF Filed
                         CWP-6. NO ABNORMAL CONCENTRATIONS          03/01/18
                                                               ARSENIC         Page
                                                                       OR COPPER WERE170 of 708
                                                                                      FOUND IN
ANY OF THE GROUND WATER SAMPLES.

IN OCTOBER 1981, CWP INSTALLED WELLS CWP-7, CWP-8, AND CWP-9 ALONG THE EASTERN SITE BOUNDARY TO
EVALUATE POSSIBLE OFF-SITE MIGRATION. IN DECEMBER 1981, THE RWQCB INSTALLED OFF-SITE MONITORING
WELLS FPT-1A, FPT-1B, FPT-2A, AND FPT-3 TO THE EAST OF THE SITE. THE ANALYSIS OF GROUND WATER
SAMPLES FROM THESE WELLS CONFIRMED THAT OFF-SITE MIGRATION OF CHROMIUM HAD OCCURRED.

ADDITIONAL STUDIES WERE SUBSEQUENTLY INITIATED TO DETERMINE THE EXTENT OF GROUND WATER
CONTAMINATION AND EVALUATE THE FEASIBILITY OF CONTAINING CONTAMINATED GROUNDWATER ON SITE. THIS
PHASE II STUDY, CONDUCTED BY J. H. KLEINFELDER & ASSOCIATES (NOVEMBER 1982), INCLUDED THE
INSTALLATION OF SEVEN ADDITIONAL ON-SITE GROUND WATER MONITORING WELLS (CWP-10 THROUGH CWP-16)
AND SHOWED THAT THE VERTICAL EXTENT OF CHROMIUM, COPPER, AND ARSENIC IN SOIL AND GROUND WATER
WAS LIMITED. THE LOCATIONS OF THE GROUND WATER MONITORING WELLS INSTALLED DURING THE PHASE I
AND PHASE II STUDIES ARE SHOWN IN FIGURE 2. ADDITIONAL OFF-SITE GROUND WATER MONITORING WELLS
(WELLS AT-1, AT-2, AT-3, FPT-4, AND FPT-5) WERE SUBSEQUENTLY INSTALLED BY KLEINFELDER AND CWP TO
FURTHER DELINEATE OFF-SITE CONTAMINATION.

IN OCTOBER 1983, ACTING ON ITS OWN INITIATIVE BUT WITHOUT REGULATORY AGENCY APPROVAL OR
OVERSIGHT, CWP CONSTRUCTED A BENTONITE SLURRY CUTOFF WALL, NEAR THE EASTERN SITE BOUNDARY, TO
INTERCEPT AND LIMIT THE MIGRATION OF CHROMIUM INTO GROUND WATER. CWP ALSO CONSTRUCTED A GROUND
WATER EXTRACTION TRENCH IMMEDIATELY TO THE WEST AND HYDRAULICALLY UPGRADIENT OF THE SLURRY
CUTOFF WALL. THE APPROXIMATE LOCATIONS OF THE SLURRY CUTOFF WALL AND THE EXTRACTION TRENCH ARE
SHOWN IN FIGURE 2. AS AN INTERIM REMEDIAL MEASURE, CWP BEGAN EXTRACTING GROUND WATER FROM THE
TRENCH VIA A CENTRAL SUMP, KNOWN AS WELL HL-7, EQUIPPED WITH AN ELECTRIC SUBMERSIBLE PUMP. THE
EXTRACTED GROUND WATER WAS RECYCLED BACK INTO THE WOOD PRESERVING OPERATION. ALSO, AS PART OF
THE OVERALL EFFORT TO IMPROVE SITE CONDITIONS, CWP ERECTED CANOPIES OVER THE RETORT AREA. THESE
COVERS LIMIT THE EXPOSURE OF FRESHLY TREATED WOOD TO PRECIPITATION AND REDUCE SURFACE WATER
RUNOFF FROM THIS AREA. THESE INTERIM REMEDIAL MEASURES ARE DESCRIBED IN MORE DETAIL IN SECTION
5.0.

AFTER REVIEWING THE FINDINGS OF PHASES I AND II OF THE INVESTIGATION, THE REGULATORY AGENCIES
REQUESTED THAT CWP FURTHER DEFINE THE DISTRIBUTION OF CHROMIUM, ARSENIC, AND COPPER IN SOIL AND
GROUND WATER. (D'APPOLONIA) CONSULTING ENGINEERS, INC. (D'APPOLONIA) WAS RETAINED BY CWP TO
PERFORM THIS INVESTIGATION AND ADDRESS THE AGENCIES' CONCERNS. THE INVESTIGATION INCLUDED A
SERIES OF SOIL SAMPLING BORINGS, BORINGS S-1 THROUGH S-26 (D'APPOLONIA/IT CORPORATION, MAY
1984)(1), THE LOCATIONS OF WHICH ARE SHOWN IN FIGURE 2. THE INVESTIGATION SHOWED THAT THE TOP 1
TO 2 FEET OF THE SOIL PROFILE AROUND THE RETORT AND RAIL LINE AREAS CONTAINED ELEVATED
CONCENTRATIONS OF CHROMIUM AND ARSENIC. IT IS NOTED, HOWEVER, THAT NO SOIL SAMPLES WERE
COLLECTED FROM BENEATH THE ACTUAL RETORTS. THE GROUND WATER QUALITY DATA INDICATED ELEVATED
CONCENTRATIONS OF CHROMIUM IN MONITORING WELLS LOCATED NEAR THE RETORT AREAS. CHROMIUM
CONCENTRATIONS IN GROUND WATER GENERALLY DECREASED WITH DISTANCE FROM THE RETORT AREA IN THE
DOWNGRADIENT DIRECTION.

SUBSEQUENT TO REGULATORY AGENCY REVIEW OF THE FINDINGS OF THE D'APPOLONIA INVESTIGATION, ANOTHER
STUDY WAS INITIATED TO FURTHER DEFINE THE EXTENT AND MIGRATION BEHAVIOR OF CHROMIUM IN
GROUNDWATER AND EVALUATE VIABLE REMEDIAL ACTION ALTERNATIVES TO ADDRESS CONTAMINATED SOIL AND
GROUND WATER. THIS INVESTIGATION (IT CORPORATION, JUNE 1985) LED TO THE FOLLOWING CONCLUSIONS:

      •      CONTAINMENT OF CONTAMINATED SOIL AND REMEDIATION OF THE CONTAMINATED WATER-BEARING
             ZONE BY HYDRAULIC CONTROL MEASURES, SUCH AS GROUND WATER EXTRACTION, WAS FEASIBLE.

      •      THE MAJORITY OF THE EXTRACTED GROUND WATER COULD BE REUSED IN CWP'S WOOD PRESERVING
             OPERATIONS AND THE EXCESS COULD BE TREATED COST-EFFECTIVELY BY THE EXISTING
             ELECTROCHEMICAL UNIT AT THE SITE.

SUBSEQUENT TO THIS INVESTIGATION, A LARGE-DIAMETER EXTRACTION WELL, WELL CWP-18, WAS INSTALLED
NEAR THE RETORT AREA TO CONTAIN CONTAMINATED GROUND WATER TO THE EXTENT POSSIBLE. ALSO, AN
INJECTION WELL, WELL CWP-19, WAS INSTALLED HYDRAULICALLY UPGRADIENT OF THE RETORT AREA AND THE
EXISTING CHROMIUM PLUME SO THAT EXCESS TREATED WATER COULD BE INJECTED BACK INTO THE
WATER-BEARING ZONE. THE RETORT AREA EXTRACTION WELL AND THE UPGRADIENT INJECTION WELL ARE
DESCRIBED FURTHER IN SECTION 5.0.
IN RESPONSE TO CONCERNS EXPRESSED BY THE REGULATORY AGENCIES REGARDING THE EFFECTIVENESS OF THE
              Case
EXTRACTION TRENCH   1:96-cv-06055-AWI-SAB
                  AND THE SLURRY CUTOFF WALL INDocument   73ANDFiled
                                                REMEDIATING          03/01/18
                                                                CONTAINING THE Page  171PLUME
                                                                               CHROMIUM  of 708
NEAR THE EASTERN SITE BOUNDARY, GEOSYSTEM PERFORMED A NUMBER OF INVESTIGATIONS TO EVALUATE
AQUIFER PARAMETERS, ASSESS THE LEACHING BEHAVIOR OF SOILS, AND ESTIMATE THE DURATION OF AQUIFER
CLEANUP (GEOSYSTEM, MARCH 1986; NOVEMBER 1986). A NUMBER OF ADDITIONAL ONSITE AND OFF-SITE
MONITORING WELLS (WELLS CWP-22, AT-4, AND AT-5) WERE ALSO INSTALLED TO INVESTIGATE GROUND WATER
QUALITY' HYDRAULICALLY DOWNGRADIENT OF THE SLURRY CUTOFF WALL. THE LOCATIONS OF THE ON-SITE AND
OFF-SITE GROUND WATER MONITORING WELLS ARE SHOWN IN FIGURE 2, AND THE WELL CONSTRUCTION DETAILS
ARE SUMMARIZED IN TABLE 1.

IN ADDITION TO THE STUDIES PERFORMED BY THEIR CONSULTANTS, CWP CONDUCTED REGULAR GROUND WATER
MONITORING USING THEIR OWN RESOURCES. THE GROUND WATER MONITORING PROGRAM WAS ORIGINALLY
SPECIFIED BY THE RWQCB IN ORDER NO. 83-93, WHICH WAS ADOPTED IN JUNE 1983. ORDER NO. 83-93 HAS
BEEN REVISED AND/OR SUPERSEDED SEVERAL TIMES AS ADDITIONAL MONITORING WELLS HAVE BEEN INSTALLED
AND EXISTING WELLS ABANDONED OR DELETED FROM THE MONITORING PROGRAM. THE CURRENT MONITORING
PROGRAM IS IN ACCORDANCE WITH THE REQUIREMENTS OF THE MOST RECENT REVISION OF THE RWQCB ORDER
(MAY 1987). MONITORING INCLUDES THE COLLECTION AND ANALYSIS OF STORM WATER SAMPLES FOR CHROMIUM
AND ARSENIC. THE MONITORING PROGRAM ALSO INCLUDES GROUND WATER LEVEL MEASUREMENT AND THE
COLLECTION AND ANALYSIS GROUNDWATER SAMPLES FOR DISSOLVED TOTAL CHROMIUM. GROUND WATER
MONITORING IS PERFORMED ACCORDING TO THE GROUND WATER MONITORING PROTOCOL (GEOSYSTEM, AUGUST
3987) PREPARED SPECIFICALLY FOR THE CWP PROJECT.

THE WATER LEVEL MEASUREMENT AND GROUND WATER QUALITY DATA OBTAINED BY CWP, CONSULTANTS ACTING ON
BEHALF OF CWP, AND REGULATORY AGENCY PERSONNEL HAVE BEEN COMPILED BY GEOSYSTEM ON A
COMPUTER-BASED DATA MANAGEMENT SYSTEM. A SUMMARY OF THESE DATA IS PRESENTED IN APPENDIX B. A
SUMMARY OF THE STORM WATER QUALITY DATA IS PRESENTED IN APPENDIX C, AND A SUMMARY OF THE SOIL
QUALITY ANALYSES PERFORMED IS PRESENTED IN APPENDIX D.

BECAUSE OF THE LARGE VOLUME OF PREVIOUSLY REPORTED INVESTIGATIONS, THIS SUMMARY IS INTENDED TO
PROVIDE ONLY A BRIEF INTRODUCTION TO THE CHARACTERIZATION STUDIES PERFORMED AT THE SITE.
ADDITIONAL DETAILS AND INTERPRETATION OF THE FINDINGS OF THESE INVESTIGATIONS ARE PRESENTED IN
SECTION 4.0 AND IN THE SUBJECT-SPECIFIC TECHNICAL REPORTS REFERENCED.

3.3 PHYSICAL DESCRIPTION

THIS SECTION INCLUDES DESCRIPTIONS OF TOPOGRAPHY, PHYSICAL SETTING, DEMOGRAPHY, CLIMATOLOGY,
SENSITIVE STRUCTURES, AND POTENTIAL RECEPTORS.

3.3.1   TOPOGRAPHY

THE CWP SITE IS LOCATED IN THE UKIAH VALLEY. IN THE VICINITY OF THE SITE, THE VALLEY FLOOR IS
ABOUT 2.5 MILES WIDE. THE VALLEY TAPERS TO AN UNNAMED, NARROW GORGE, SEVERAL HUNDRED FEET WIDE,
AT A POINT ABOUT 4.5 MILES SOUTH OF THE SITE. THE RUSSIAN RIVER FLOWS SOUTH THROUGH THIS GORGE
FROM THE UKIAH VALLEY INTO HOPLAND VALLEY. THE VALLEY FLOOR AT THE SITE IS AT AN ELEVATION OF
ABOUT 565 TO 585 FEET ABOVE MEAN SEA LEVEL (MSL) AND SLOPES GENTLY TO THE SOUTH ALONG THE AXIS
OF THE VALLEY, AT A GRADIENT OF ABOUT 0.2 PERCENT (1 IN 500).

THE UKIAH VALLEY IS BOUNDED BY STEEP MOUNTAINS TO THE EAST AND WEST. THOSE TO THE EAST OF THE
SITE ARE KNOWN AS THE MAYACMAS MOUNTAINS AND RISE TO OVER 3,600 FEET ABOVE MSL. THE MOUNTAINS
TO THE WEST INCLUDE CLELAND MOUNTAIN AND ELLEDGE PEAK WHICH RISE TO OVER 2,500 FEET ABOVE MSL.
THE SLOPES OF THE MOUNTAINS BOUNDING THE UKIAH VALLEY RANGE FROM ABOUT 12 TO 67 PERCENT.

STEEP-SIDED VALLEYS, APPROXIMATELY PERPENDICULAR TO THE AXIS OF THE UKIAH VALLEY, ARE ALSO
PROMINENT TOPOGRAPHIC FEATURES. THESE VALLEYS TYPICALLY CONTAIN TRIBUTARIES TO THE RUSSIAN
RIVER. THE MOST SIGNIFICANT OF THESE WITH RESPECT TO THE CWP SITE IS THE VALLEY OCCUPIED BY
ROBINSON CREEK, WHICH ENTERS THE UKIAH VALLEY FROM THE WEST, APPROXIMATELY 4,500 FEET SOUTH OF
THE CWP SITE, AS SHOWN IN FIGURE 1.

THE TOPOGRAPHY OF THE CWP SITE ITSELF HAS BEEN LOCALLY ALTERED BY GRADING FOR DRAINAGE AND
FOUNDATION PURPOSES. IN GENERAL, HOWEVER, THE LAND SURFACE SLOPES GENTLY TO THE EAST, TOWARDS
TAYLOR DRIVE.

3.3.2   SITE FEATURES
IN TERMS OF SURFACE STRUCTURES, THE SITE FEATURES A GENERAL OFFICE IN THE NORTHWEST CORNER AND A
              Case 1:96-cv-06055-AWI-SAB
GARAGE OR SERVICE-TYPE                         Document
                       STRUCTURE NEAR THE CENTER          73 Filed
                                                 OF THE SITE.       03/01/18
                                                               THE TWO RETORTS Page  172LUMBER
                                                                               IN WHICH  of 708
IS PRESSURE TREATED ARE ORIENTATED EAST-WEST NEAR THE WESTERN SITE BOUNDARY. EACH RETORT CHAMBER
IS APPROXIMATELY 70 FEET LONG. THE RAIL LINES ASSOCIATED WITH EACH RETORT EXTEND ABOUT 140 FEET
TO THE EAST. THE SUMP TO WHICH THE RETORTS DRAIN IS LOCATED AT THE EASTERN END OF THE VESSELS.
THE WOOD PRESERVING SOLUTION IS RECYCLED TO, AND STORED IN, FOUR LARGE, ABOVE-GROUND TANKS ALONG
THE WESTERN SITE BOUNDARY.

OTHER SIGNIFICANT SITE FEATURES INCLUDE A WALLED WORK TANK AREA IN WHICH WOOD PRESERVING
SOLUTION IS MIXED. THIS WORK TANK AREA INCLUDES A LARGE CONCRETE SUMP CONTAINING "MAKE-UP"
WATER. GROUND WATER EXTRACTED FROM WELLS HL-7 AND CWP-18 IS DISCHARGED TO THIS SUMP TO BE
RECYCLED IN THE WOOD PRESERVING OPERATION. A LARGE, 330,000 GALLON, ABOVE-GROUND TANK IS USED
TO STORE TREATED GROUND WATER.

THE MAJORITY OF THE SITE IS PAVED WITH ASPHALT CONCRETE AND IS USED FOR WOOD STORAGE. TREATED
WOOD IS STORED IN THE NORTHEAST CORNER OF THE SITE. SURFACE RUNOFF FROM THIS AREA IS CONTROLLED
BY ASPHALT BERMS AND COLLECTED IN A SUMP ON THE EASTERN SITE BOUNDARY, FROM WHICH IT IS RETURNED
TO THE MAKE-UP WATER SUMP. THE UNPAVED AREAS OF THE SITE ARE LOCATED ALONG THE SOUTHEASTERN AND
SOUTHERN SITE BOUNDARIES AND ARE GENERALLY VACANT OR USED FOR UNTREATED WOOD STORAGE.

THE CWP FACILITY IS FENCED FOR SECURITY AND IS ACCESSED VIA TWO SLIDING GATES WHICH ARE LOCKED
OUTSIDE OF NORMAL BUSINESS HOURS OR USED FOR UNTREATED WOOD STORAGE.

3.3.3   SURROUNDING LAND USE

THE LARGE MAJORITY OF THE LAND SURFACE IN MENDOCINO COUNTY IS OCCUPIED BY NATIVE VEGETATION AND
NON-IRRIGATED AGRICULTURE. A STUDY PERFORMED BY THE DEPARTMENT OF WATER RESOURCES (MAY 1980)
PROJECTED LAND USE IN SEVERAL GROUND WATER BASINS ALONG THE RUSSIAN RIVER. IN 1974, NATIVE
VEGETATION AND NON-IRRIGATED AGRICULTURE OCCUPIED OVER 185,000 ACRES IN THE UPPER RUSSIAN GROUND
WATER BASIN, IN WHICH THE CWP SITE IS LOCATED. URBAN, IRRIGATED AGRICULTURE, AND RECREATIONAL
LAND USE ACCOUNTED FOR APPROXIMATELY 3,400, 9,900, AND 250 ACRES, RESPECTIVELY. PROJECTIONS UP
TO THE YEAR 2000 SUGGEST THAT URBAN AND IRRIGATED AGRICULTURAL LAND USE WILL INCREASE AT THE
EXPENSE OF NATIVE VEGETATION AND NON-IRRIGATED AGRICULTURE. PROJECTED RECREATIONAL LAND USE
REMAINS CONSTANT.

THE PRINCIPAL LAND USE IN MENDOCINO COUNTY IS FOR TIMBER PRODUCTION, WHICH PROVIDES TWO-THIRDS
OF THE COUNTY'S AGRICULTURAL REVENUES. PASTURE AND RANGE LAND OCCUPIES 672,000 ACRES, WHILE
FRUIT PRODUCTION, MOSTLY GRAPES AND PEARS, ACCOUNTS FOR 15,000 ACRES (COUNTY OF MENDOCINO,
1985). MAJOR LAND USES IN THE GENERAL VICINITY OF THE CWP SITE INCLUDE VINEYARDS, FRUIT AND NUT
TREES, FORESTED LAND, SINGLE FAMILY RESIDENCES, AND TRANSPORTATION. LAND USE IN THE IMMEDIATE
VICINITY OF THE CWP SITE INCLUDES TIMBER-RELATED FACILITIES, SEWAGE TREATMENT, FRUIT TREES
(PEARS), TRANSPORTATION (US HIGHWAY 101), BUSINESS AND COMMERCIAL FACILITIES, AND VACANT LOTS.
LAND USE WITHIN A 1.5 MILE RADIUS OF THE CWP SITE IS SHOWN IN FIGURE 3.

3.3.4   POPULATION DISTRIBUTION

IN 1986, THE POPULATION OF MENDOCINO COUNTY WAS 74,267, ABOUT 50 PERCENT OF WHICH RESIDED IN THE
UKIAH AREA. THE POPULATION OF THE CITY OF UKIAH IN 1986 WAS 13,331 (GREATER UKIAH CHAMBER OF
COMMERCE, JUNE 1987). OTHER, SMALLER COMMUNITIES IN THE VICINITY OF THE CWP SITE INCLUDE
TALMAGE, LOCATED APPROXIMATELY 2 MILES TO THE NORTHEAST, AND HOPLAND, LOCATED APPROXIMATELY 10
MILES SOUTH ALONG US HIGHWAY 101.

THE MAIN POPULATION CENTER OF UKIAH IS APPROXIMATELY 3 MILES TO THE NORTH OF THE CWP SITE. IN
THE VICINITY OF THE SITE, THERE ARE VERY FEW RESIDENCES. AERIAL PHOTOGRAPHS TAKEN IN APRIL 1984
INDICATE ONLY FIVE RESIDENTIAL STRUCTURES WITHIN A QUARTER-MILE RADIUS OF THE SITE BOUNDARIES.
ACCORDING TO GREATER UKIAH CHAMBER OF COMMERCE RECORDS (JUNE 1987), THERE ARE AN AVERAGE OF 2.45
RESIDENTS PER DWELLING IN THE CITY OF UKIAH. USING THIS STATISTIC, IT APPEARS THAT THERE ARE
LESS THAN 15 PEOPLE LIVING WITHIN A QUARTER-MILE OF THE CWP SITE.

INTERVIEWS CONDUCTED BY GEOSYSTEM PERSONNEL INDICATE THAT THERE ARE FOUR HOUSES, TWO DUPLEXES,
TWO BUNK HOUSES, AND SIX MOTEL UNITS IN THE STUDY AREA WITHIN ONE-HALF MILE OF THE CWP SITE. IT
IS NOTED THAT THE MOTEL UNITS ARE USED TO HOUSE SEASONAL WORKERS ASSOCIATED WITH THE ALEX THOMAS
PEAR PACKING FACILITY. DURING THE WINTER MONTHS, ABOUT 20 PEOPLE MAY OCCUPY THESE RESIDENCES.
IN THE PEAK FRUIT HARVESTING SEASON, HOWEVER, THIS NUMBER MAY INCREASE TO ABOUT 100.
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3.3.5     CLIMATOLOGY

THIS SECTION CHARACTERIZES THE CLIMATE IN THE VICINITY OF THE CWP SITE IN TERMS OF TEMPERATURE,
PRECIPITATION, AND WIND SPEED AND DIRECTION. THE DATA HAVE BEEN OBTAINED FROM VARIOUS LOCATIONS
IN AND AROUND UKIAH; HOWEVER, IT IS BELIEVED THAT THE VARIATIONS IN CLIMATE OVER THE RELATIVELY
SMALL DISTANCES FROM THE CWP SITE ARE NOT SIGNIFICANT.

3.3.5.1   TEMPERATURE

UKIAH HAS A RELATIVELY MILD CLIMATE, CHARACTERIZED BY DRY, HOT SUMMERS AND COOL, WET WINTERS.
BASED ON RECORDS AVAILABLE FROM 1877 TO 1980, THE AVERAGE AIR TEMPERATURE REPORTEDLY VARIES FROM
46.0 DEGREES FAHRENHEIT IN JANUARY TO 73.7 DEGREES FAHRENHEIT IN JULY, WITH AN AVERAGE ANNUAL
AIR TEMPERATURE OF 59.2 DEGREES FAHRENHEIT. THE MAXIMUM AND MINIMUM TEMPERATURES RECORDED IN
UKIAH SINCE RECORDS HAVE BEEN MAINTAINED WERE 114 AND 12 DEGREES FAHRENHEIT, RESPECTIVELY
(FARRAR, JULY 1986). MEAN MONTHLY AIR TEMPERATURE DATA FOR UKIAH ARE PRESENTED IN TABLE 2.

3.3.5.2 PRECIPITATION

BASED ON RECORDS AVAILABLE FROM 1877 TO 1980, THE MEAN ANNUAL PRECIPITATION IN UKIAH IS 36.27
INCHES. THE RECORDS INDICATE, HOWEVER, THAT CONSIDERABLE VARIATION IN ANNUAL PRECIPITATION IS
COMMON IN THE UKIAH AREA WITH VARIATIONS OF UP TO 30 INCHES OCCURRING IN CONSECUTIVE YEARS. THE
MAXIMUM AND MINIMUM PRECIPITATION RECORDED DURING THE PERIOD OF RECORD WAS 60.97 AND 13.09
INCHES IN 1890 AND 1924, RESPECTIVELY (FARRAR, JULY 1986). ADDITIONAL PRECIPITATION DATA,
REPORTEDLY COMPILED FROM US WEATHER BUREAU REPORTS AND UKIAH FIRE DEPARTMENT RECORDS, INDICATE
THAT TOTAL PRECIPITATION WAS 70.19 INCHES IN THE 1982-1983 SEASON (SAVINGS BANK OF MENDOCINO
COUNTY, 1987).

THE MAJORITY OF THE PRECIPITATION FALLS AS RAIN BETWEEN THE BEGINNING OF OCTOBER AND THE END OF
APRIL, WITH MORE THAN 50 PERCENT OF THE ANNUAL RAINFALL OCCURRING IN DECEMBER, JANUARY,
FEBRUARY. MEAN MONTHLY PRECIPITATION DATA, BASED ON RECORDS MAINTAINED FROM 1877 TO 1980, ARE
SUMMARIZED IN TABLE 2. ON-SITE PRECIPITATION MEASUREMENTS HAVE ALSO BEEN RECORDED BY CWP
PERSONNEL SINCE DECEMBER 1981. THESE DATA, SUMMARIZED IN TABLE 3, INDICATE THAT THE TOTAL
ANNUAL PRECIPITATION HAS RANGED FROM A LOW OF 17.05 INCHES IN 1985 TO A HIGH OF 51.34 INCHES IN
1983. THESE DATA ARE CONSISTENT WITH MEASUREMENTS RECORDED ELSEWHERE IN THE UKIAH AREA AND
ILLUSTRATE THE LARGE VARIATIONS IN ANNUAL PRECIPITATION MENTIONED ABOVE.

3.3.5.3

WIND DATA, RECORDED FROM 1950 TO 1964 AT TWO LOCATIONS AT THE UKIAH MUNICIPAL AIRPORT, INDICATE
THAT THE MEAN ANNUAL WIND SPEED WAS 3.7 TO 3.9 MILES PER HOUR (MPH). WIND SPEEDS ARE GENERALLY
HIGHER FROM APRIL TO JULY AND ARE LOWEST IN NOVEMBER AND DECEMBER. THE HIGHEST MEAN MONTHLY
WIND SPEED RECORDED WAS 6.5 MPH IN JUNE 1959. THE LOWEST WAS 0.4 MPH IN DECEMBER 1963
(CALIFORNIA ENERGY COMMISSION, APRIL 1985).

THE PREVAILING WIND DIRECTION REPORTEDLY' NORTHWEST TO WEST (GREATER UKIAH CHAMBER OF COMMERCE,
JUNE 1987). THE MEAN MONTHLY AND ANNUAL WIND SPEEDS FOR THE PERIOD OF RECORD ARE SUMMARIZED IN
TABLE 2.

3.3.6     LOCATION OF WATER WELLS

A WELL INVENTORY WAS PERFORMED TO LOCATE WATER WELLS IN THE VICINITY OF THE CWP SITE AND TO
DETERMINE THEIR STATUS. SOURCES OF INFORMATION INCLUDED PRIMARILY RECORDS MADE AVAILABLE BY THE
DWR (JUNE 1956; OCTOBER 1986) AND WILLOW COUNTY WATER DISTRICT (WCWD). IN ADDITION, WELL LOGS
AVAILABLE AT DWR IN SACRAMENTO, CALIFORNIA WERE REVIEWED AND THE LOCATIONS OF WELLS IN THE
IMMEDIATE VICINITY OF THE CWP SITE WERE VERIFIED BY FIELD INSPECTION. THE WELL INVENTORY
FOCUSED ON WELL LOCATIONS, WELL CONSTRUCTION DETAILS, STRATIGRAPHY, AND THE BENEFICIAL USES OF
THE EXTRACTED WATER.

THE WELL INVENTORY INDICATED THE PRESENCE OF SEVERAL DOZEN WELLS IN THE VICINITY OF THE SITE.
THE LOCATIONS OF THESE WELLS ARE SHOWN IN FIGURE 4. IT SHOULD BE NOTED THAT, WITH THE EXCEPTION
OF THE RECORDS MAINTAINED BY WCUD, THE INFORMATION AVAILABLE ON WELL LOCATIONS AND CONSTRUCTION
DETAILS IS OFTEN VAGUE AND INCOMPLETE. FEW OF THE WELLS HAVE BEEN IDENTIFIED ACCORDING TO THE
              Case 1:96-cv-06055-AWI-SAB
STATE WELL-NUMBERING SYSTEM AND THE INFORMATIONDocument   73 Filed
                                                REGARDING WELL      03/01/18
                                                               LOCATIONS       Page 174
                                                                         IS TYPICALLY    of 708
                                                                                      IMPRECISE
AND INSUFFICIENT TO LOCATE THE WELLS ACCURATELY. GEOSYSTEM HAS ATTEMPTED TO LOCATE WELLS AS
ACCURATELY AS POSSIBLE, BASED ON THE AVAILABLE INFORMATION, AND IDENTIFY THE WELLS ACCORDING TO
THE STATE WELL-NUMBERING SYSTEM. THE WELL LOCATIONS SHOWN IN FIGURE 4 MUST, HOWEVER, BE
CONSIDERED APPROXIMATE. THE AVAILABLE WELL CONSTRUCTION DETAILS AND BENEFICIAL USES OF GROUND
WATER ARE SUMMARIZED IN TABLE 4. IT IS NOTED THAT THE NEAREST WATER-PRODUCING WELL TO THE CWP
SITE IS WELL 14N/12W-4D1, WHICH IS LOCATED ABOUT 1,000 FEET TO THE SOUTH.

ACCORDING TO INFORMATION OBTAINED BY GEOSYSTEM PERSONNEL, THIS WELL IS CAPPED AND NOT CURRENTLY
ACTIVE. WELL 14N/12W-4E1, HOWEVER, APPEARS TO BE THE NEAREST WATER-PRODUCING WELL. ACCORDING
TO THE OWNERS OF THE PROPERTY, THE WATER IS USED FOR DOMESTIC AND IRRIGATION PURPOSES. THIS WELL
IS LOCATED ABOUT 1,500 FEET TO THE SOUTH OF THE CWP SITE.

3.3.7   POTENTIAL BIOLOGICAL RECEPTORS

POTENTIAL BIOLOGICAL RECEPTORS OF CONTAMINANTS ORIGINATING FROM THE CWP SITE ARE CONSIDERED TO
INCLUDE NATIVE VEGETATION, FRUIT TREES, AQUATIC LIFE IN THE RUSSIAN RIVER AND ITS TRIBUTARIES,
AND WILD ANIMALS AND BIRDS.

VEGETATION TYPES FOUND IN THE UPPER PORTION OF THE RUSSIAN RIVER WATERSHED INCLUDE HARDWOOD AND
MIXED FOREST, CHAPARRAL, GRASSLAND, ORCHARDS AND VINEYARDS, AND RIPARIAN WOODLAND SPECIES. THE
RIPARIAN WOODLAND SPECIES INCLUDE MULE FACT, SANDBAR WILLOW, RED WILLOW, AND FREMONT COTTONWOOD
(MCBRIDE AND STRAHAN, 1981; JARA, 1974). IT IS NOTED THAT MOST OF THE LAND LOCATED IMMEDIATELY
DOWNGRADIENT OF THE CWP SITE IS OCCUPIED BY PEAR ORCHARDS. THE SURFACE DRAINS AND CREEKS
LOCATED DOWNSTREAM OF THE CWP FACILITY ARE SEASONALLY VEGETATED WITH TULLEYS, SOUR DOCK, ANISE,
WILD ROSE, PEPPERMINT, AND CATTAILS.

THE RUSSIAN RIVER IS IMPORTANT AS A SPAWNING GROUND FOR ANADROMOUS FISH, OF WHICH THE PRINCIPAL
VARIETIES ARE STEELHEAD TROUT AND SILVER (OR COHO) SALMON. OTHER FISH INHABITING THE BASIN
INCLUDE KING (OR CHINOOK) SALMON, SMALL-MOUTH BASS, AMERICAN SHAD, STRIPED BASS, AND WHITE
CATFISH.

THE RUSSIAN RIVER BASIN SUPPORTS A WIDE RANGE OF WILDLIFE SPECIES, INCLUDING A SUBSTANTIAL
POPULATION OF BLACKTAILED DEER, BANDTAILED PIGEONS, AND PHEASANTS. SEVERAL SPECIES OF SMALL
MAMMALS ASSOCIATED WITH AGRICULTURAL LAND USE, I.E. RATS, MICE, AND RABBITS, ARE ALSO FOUND IN
THE AREA. THE RUSSIAN RIVER BASIN SUPPORTS A VARIETY OF RESIDENT AND NON-RESIDENT WATERFOWL
WHICH UTILIZE THE RIVER HABITAT FOR NESTING AND REFUGE (US ARMY CORPS OF ENGINEERS, MARCH 1982).

#SRF
4.0 SUMMARY OF REMEDIAL INVESTIGATION FINDINGS

THIS SECTION SUMMARIZES THE GEOLOGIC, HYDROLOGIC, AND SOIL/GROUND WATER QUALITY DATA GENERATED
DURING THE REMEDIAL INVESTIGATIONS. DETAILS OF THE REMEDIAL INVESTIGATIONS HAVE BEEN SUBMITTED
IN A NUMBER OF PREVIOUS TECHNICAL REPORTS, WHICH ARE REFERENCED AS APPROPRIATE. THE CONTENT AND
FORMAT OF THE SUMMARY OF REMEDIAL INVESTIGATION FINDINGS IS IN GENERAL CONFORMANCE WITH THE RAP
GUIDELINES (DHS, SEPTEMBER 1987).

4.1 GEOLOGY

THE DISCUSSION OF REGIONAL GEOLOGY AND STUDY AREA STRATIGRAPHY IS BASED PRIMARILY ON PUBLISHED
WATER SUPPLY PAPERS/GEOLOGIC REPORTS BY GOVERNMENT AGENCIES, SITE-SPECIFIC REPORTS PREPARED BY
CWP'S CONSULTANTS, AND DISCUSSIONS WITH REGULATORY AGENCY PROJECT PERSONNEL. THE DISCUSSION IS
INTENDED TO HELP INTERPRET THE STRATIGRAPHY ENCOUNTERED AT THE SITE IN THE CONTEXT OF THE
OVERALL, REGIONAL GEOLOGY AND TO IDENTIFY AND CHARACTERIZE THE GEOLOGIC UNITS PERTINENT TO THE
CWP PROJECT. THE PRIMARY REFERENCE FOR REGIONAL GEOLOGY IS A US GEOLOGICAL SURVEY (USGS) REPORT
ENTITLED "GROUND WATER RESOURCES IN MENDOCINO COUNTY, CALIFORNIA" (FARRAR, JULY 1986). OTHER
SOURCES OF INFORMATION ARE REFERENCED AS APPROPRIATE.

4.1.1   REGIONAL GEOLOGY

MENDOCINO COUNTY IS LOCATED LARGELY WITHIN THAT PART OF THE COAST RANGES GEOMORPHIC PROVINCE
KNOWN AS THE MENDOCINO RANGE. THE MENDOCINO RANGE IS CHARACTERIZED BY ROCKS OF THE FRANCISCAN
COMPLEX. THE GEOLOGIC UNITS EXPOSED AT THE SURFACE IN THE UKIAH VALLEY MAY BE CATEGORIZED AS
BASEMENT ROCKS Case  1:96-cv-06055-AWI-SAB
                OR VALLEY FILL.               Document 73 Filed 03/01/18 Page 175 of 708

BASEMENT ROCKS ARE CONSIDERED TO INCLUDE ALL PRE-PLIOCENE FORMATIONS. ABOUT 95 PERCENT OF THE
SURFACE EXPOSURES CONSIST OF BASEMENT ROCKS OF THE FRANCISCAN COMPLEX. IN THE VICINITY OF THE
SITE, THE FRANCISCAN COMPLEX HAS BEEN DIVIDED INTO THE COASTAL BELT AND THE CENTRAL BELT BASED
ON LITHOLOGIC AND STRUCTURAL DIFFERENCES. THE DIVISION BETWEEN THE TWO IS LOCATED ALONG THE
AXIS OF THE UKIAH VALLEY, WITH THE COASTAL BELT FORMING THE MOUNTAINS THAT BOUND THE VALLEY TO
THE WEST, AND THE CENTRAL BELT FORMING THE MAYACMAS MOUNTAINS TO THE EAST. VALLEY FILL REFERS
TO GEOLOGIC UNITS OF QUATERNARY AGE OR THOSE THAT SPAN LATE TERTIARY AND QUATERNARY AGE. VALLEY
FILL DEPOSITS ARE CONFINED TO SEVERAL SMALL BASINS ALONG MAJOR SURFACE DRAINAGE FEATURES AND THE
THIN ALLUVIUM IN STREAM CHANNELS.

PHYSIOGRAPHICALLY, THE SITE IS LOCATED IN THE UKIAH VALLEY, A NORTH-SOUTH TRENDING ALLUVIAL
BASIN FORMED BY THE RUSSIAN RIVER AND ITS TRIBUTARIES. THE VALLEY FILL WITHIN THE UKIAH VALLEY
HAS BEEN SUBDIVIDED BY FARRAR (JULY 1986) INTO THREE DISTINCT UNITS: CONTINENTAL BASIN DEPOSITS;
CONTINENTAL TERRACE DEPOSITS; AND HOLOCENE ALLUVIUM. THE DISTINCTION IS MADE ACCORDING TO THE
AGE AND ORIGIN OF THE MATERIALS, ALTHOUGH SEVERAL INVESTIGATORS (CARDWELL, 1965; FARRAR, JULY
1986) HAVE REPORTED DIFFICULTY IN DIFFERENTIATING BETWEEN THESE UNITS ON THE BASIS OF THE
DESCRIPTIONS USUALLY AVAILABLE FROM WELL DRILLERS LOGS. THE AREAL DISTRIBUTION OF THE VALLEY
FILL UNITS (CARDWELL, 1965; FARRAR, JULY 1986) IS SHOWN IN FIGURE 5. A SCHEMATIC SECTION
THROUGH THE UKIAH VALLEY, ILLUSTRATING THE STRATIGRAPHIC RELATIONSHIP BETWEEN THE VALLEY FILL
UNITS, IS SHOWN IN FIGURE 6.

BASED ON STRATIGRAPHIC INFORMATION OBTAINED FROM AVAILABLE WATER WELL LOGS, A REGIONAL GEOLOGIC
CROSS-SECTION ALONG THE AXIS OF THE UKIAH VALLEY, PARALLEL TO THE DIRECTION OF GROUND WATER
FLOW, HAS BEEN PREPARED. THE APPROXIMATE LOCATIONS OF THE WATER-PRODUCING WELLS, GROUND WATER
CONTOURS, AND THE SECTION LINE ARE SHOWN IN FIGURE 4. THE REGIONAL GEOLOGIC CROSS-SECTION IS
SHOWN IN FIGURE 7. EACH OF THE THREE VALLEY FILL UNITS REFERENCED ABOVE IS DESCRIBED BELOW AS
THEY ARE BELIEVED TO BE THE GEOLOGIC UNITS COST RELEVANT TO THE CWP PROJECT.

4.1.1.1   CONTINENTAL BASIN DEPOSITS

THE CONTINENTAL BASIN DEPOSITS ARE OF PLIOCENE AND PLEISTOCENE AGE AND REPRESENT THE OLDEST OF
THE VALLEY FILL UNITS. THE CONTINENTAL BASIN DEPOSITS WERE DEPOSITED UNCONFORMABLY OVER THE
BASEMENT ROCKS OF THE FRANCISCAN COMPLEX BY LANDSLIDES AND DEBRIS FLOW FROM THE ADJACENT
HIGHLANDS. SUBSEQUENT TO DEPOSITION, THE MATERIALS WERE REWORKED BY GRAVITY AND STREAM
PROCESSES.

THE COMPLEX DEPOSITIONAL PROCESS RESULTED IN A HETEROGENEOUS MIXTURE OF LOOSELY CEMENTED GRAVEL,
SAND, SILT, AND CLAY. THE PREDOMINANT MATERIAL IS CLAY WHICH OCCURS IN BEDS AND AS INTERSTITIAL
MATERIAL BETWEEN COARSER GRAINS OF SAND AND GRAVEL. THE HIGH CLAY CONTENT AND POOR SORTING
RESULT IN GENERALLY LOW PERMEABILITIES.

THE THICKNESS OF THE CONTINENTAL BASIN DEPOSITS RANGES FROM ZERO ALONG THE MARGINS OF THE UKIAH
VALLEY TO AT LEAST 500 FEET NEAR ITS AXIS. NO OUTCROPS HAVE BEEN RECORDED ALONG THE WESTERN
MARGIN OF THE UKIAH VALLEY NEAR THE SITE; HOWEVER, EXTENSIVE OUTCROPS DO OCCUR ALONG THE EASTERN
SIDE. REPORTEDLY, THE CONTINENTAL BASIN DEPOSITS ARE LIKELY TO OCCUR AT DEPTH, BENEATH YOUNGER
VALLEY FILL DEPOSITS, OVER MOST OF THE UKIAH VALLEY (FARRAR, JULY 1986).

4.1.1.2   CONTINENTAL TERRACE DEPOSITS

THE CONTINENTAL TERRACE DEPOSITS HAVE BEEN SUBDIVIDED (CARDWELL, 1965) INTO OLDER AND YOUNGER
TERRACE DEPOSITS. YOUNGER TERRACE DEPOSITS HAVE BEEN MAPPED ALONG THE WESTERN MARGIN OF THE
UKIAH VALLEY IN THE VICINITY OF THE SITE. MOST OF THE CITY OF UKIAH, NOTABLY THE DOWNTOWN AREA
ALONG STATE STREET, HAS BEEN DEVELOPED ON YOUNGER TERRACE DEPOSITS. THE OCCURRENCE OF THE
YOUNGER TERRACE DEPOSITS AT THE SURFACE ALONG THE WESTERN MARGIN OF THE UKIAH VALLEY IS
DISCONTINUOUS WHERE ROBINSON CREEK EMERGES FROM THE ADJACENT HIGHLANDS. ALTHOUGH LITHOLOGICALLY
VERY SIMILAR TO THE CONTINENTAL BASIN DEPOSITS, THE CLAY AND SILT CONTENT OF THE YOUNGER
TERRACES IS GENERALLY LESS. AS IN THE CONTINENTAL BASIN DEPOSITS, VERTICAL AND LATERAL
DISCONTINUITY OF INDIVIDUAL BEDS AND LENSES IS COMMON. THE UNIT IS GENERALLY CONSIDERED TO HAVE
LOW PERMEABILITY.
THE MAXIMUM THICKNESS OF THE YOUNGER CONTINENTAL TERRACE DEPOSITS IS NOT ACCURATELY KNOWN, AS
              Case 1:96-cv-06055-AWI-SAB
THEY ARE VERY DIFFICULT                        Document
                        TO DIFFERENTIATE FROM THE         73 CONTINENTAL
                                                  UNDERLYING  Filed 03/01/18
                                                                         BASIN Page  176 of 708
                                                                               DEPOSITS.

4.1.1.3   HOLOCENE ALLUVIUM

THE HOLOCENE ALLUVIUM IS COMPOSED OF UNCEMENTED GRAVEL, SAND, SILT, AND CLAY. THE ALLUVIUM
REPORTEDLY COVERS BROAD AREAS OF THE UKIAH VALLEY IN THE VICINITY OF THE SITE (CARDWELL, 1965;
FARRAR, JULY 1986). THE ALLUVIUM ALSO EXTENDS INTO SEVERAL SMALLER VALLEYS ASSOCIATED WITH
TRIBUTARIES TO THE RUSSIAN RIVER, MOST NOTABLY THE VALLEY ASSOCIATED WITH ROBINSON CREEK.
WITHIN THE CENTRAL STRIP OF THE VALLEY, ALONG THE RUSSIAN RIVER, HIGHLY PERMEABLE, LOOSE GRAVEL
AND COARSE SAND DEPOSITS HAVE BEEN DEVELOPED. THESE DEPOSITS ARE IN DIRECT HYDRAULIC
COMMUNICATION WITH THE SURFACE WATER IN THE RUSSIAN RIVER.

THE THICKNESS OF THE HOLOCENE ALLUVIUM IS NOT ACCURATELY KNOWN, AGAIN BECAUSE DIFFERENTIATION
BETWEEN THE HOLOCENE ALLUVIUM AND THE UNDERLYING CONTINENTAL BASIN DEPOSITS IS VERY DIFFICULT.
AREAS OF HIGH POROSITY AND PERMEABILITY OCCUR DUE TO THE UNCEMENTED, COARSE-GRAINED NATURE OF
LOCALIZED SEDIMENTS. THESE AREAS OF HIGH PERMEABILITY ARE TYPICALLY CLOSE TO THE PRESENT COURSE
OF THE RUSSIAN RIVER.

4.1.2 STUDY AREA STRATIGRAPHY

PREVIOUS INVESTIGATIONS BY CONSULTANTS TO CWP (H. ESMAILI & ASSOCIATES, AUGUST 1981; J.H.
KLEINFELDER AND ASSOCIATES, NOVEMBER 1982; D'APPOLONIA, MAY 1984; IT CORPORATION, JUNE 1985;
GEOSYSTEM, JANUARY 1987) AND BY THE RWQCB HAVE INCLUDED THE INSTALLATION OF OVER 30 GROUND WATER
MONITORING WELLS AND THE DRILLING OF NUMEROUS SOIL BORINGS IN THE STUDY AREA. BASED ON THE
INFORMATION OBTAINED FROM THE ABOVE REFERENCED INVESTIGATIONS, ATTEMPTS HAVE BEEN MADE TO ASSESS
THE STRATIGRAPHY ENCOUNTERED AT THE SITE IN THE CONTEXT OF THE REGIONAL GEOLOGY. CARDWELL (1965)
HAS MAPPED THE CONTACT BETWEEN THE YOUNGER CONTINENTAL TERRACE DEPOSITS AND THE HOLOCENE
ALLUVIUM AS BISECTING THE CWP SITE AS SHOWN IN FIGURE 5. BASED ON THE STRATIGRAPHIC INFORMATION
AVAILABLE FROM THE MAJORITY OF THE BORINGS IN THE STUDY AREA, HOWEVER, IT HAS NOT BEEN POSSIBLE
TO DIFFERENTIATE BETWEEN THESE UNITS. AS THE TERRACE DEPOSITS ARE TYPICALLY SLIGHTLY ELEVATED,
IT IS POSSIBLE THAT CARDWELL ORIGINALLY MAPPED THE CONTACT BASED ON TOPOGRAPHIC RELIEF. IF SO,
THE CONSTRUCTION OF US HIGHWAY 101 AND THE OVERALL DEVELOPMENT OF THE AREA APPEARS TO HAVE
OBLITERATED ANY SUCH EVIDENCE OF THIS CONTACT.

BASED UPON A REVIEW OF THE STRATIGRAPHIC LOGS RECORDED DURING THE SITE CHARACTERIZATION STUDIES,
IT APPEARS THAT THE MATERIALS ENCOUNTERED IN THE STUDY AREA GENERALLY CORRESPOND WITH THE
CONTINENTAL BASIN AND TERRACE DEPOSITS. THE PRESENCE OF ELEVATED TERRACES AND THE INCISED
NATURE OF THE RUSSIAN RIVER ARE INDICATIVE OF CHANGES IN STREAM LEVEL, PROBABLY AS A RESULT OF
RECENT CONTINUED UPLIFT OF THE REGION. CONSEQUENTLY, EROSIONAL PROCESSES PREDOMINATE OVER
DEPOSITIONAL PROCESSES AND THE MORE COARSE-GRAINED, HIGHLY PERMEABLE SEDIMENTS CHARACTERIZED AS
HOLOCENE ALLUVIUM MAY BE LIMITED TO A NARROW STRIP ADJACENT TO THE RUSSIAN RIVER CHANNEL. THE
RELATIVELY LARGE NUMBER OF SHALLOW, HIGH PRODUCTION WELLS IMMEDIATELY ADJACENT TO THE RUSSIAN
RIVER SUPPORTS THIS GEOLOGIC CONCEPTUALIZATION.

THE STRATIGRAPHIC INFORMATION RECORDED ON THE AVAILABLE DRILLING LOGS HAS BEEN USED TO CONSTRUCT
SUBSURFACE PROFILES A-A' AND B-B', WHICH ARE SHOWN IN FIGURES 8 AND 9, RESPECTIVELY. AS SHOWN
IN THE SUBSURFACE PROFILES, THE STRATIGRAPHY IN THE SITE AREA IS CHARACTERIZED BY NUMEROUS AND
ABRUPT LATERAL FACIES CHANGES. THESE CONDITIONS REFLECT A FLUVIAL ENVIRONMENT IN WHICH THE
DEPOSITIONAL CONDITIONS WERE CONSTANTLY CHANGING, RANGING FROM A VERY LOW HYDRAULIC ENERGY
(DEPOSITION OF SILT AND CLAY) TO HIGH ENERGY (DEPOSITION OF SAND AND GRAVEL). THE STRATIGRAPHY
IS, THEREFORE, COMPLEX AND CORRELATION OF THE VARIOUS UNITS IS NOT SELF-EVIDENT. THERE ARE,
HOWEVER, GENERAL LITHOLOGIC TRENDS WHICH ARE FUNCTIONAL IN TERMS OF THE HYDROLOGIC BEHAVIOR OF
THE SEDIMENTS AND THE MIGRATION OF CHROMIUM. BASED ON THESE TRENDS, FOUR ZONES, ZONES 1 THROUGH
4, HAVE BEEN DEFINED UNDER THE SITE.

ZONE 1 IS THE UPPERMOST OF THE FOUR ZONES. THE STRATIGRAPHIC INFORMATION INDICATES THAT ZONE 1
IS CONTINUOUS THROUGHOUT THE SITE AND IMMEDIATE DOWNGRADIENT VICINITY. ZONE 1 HAS BEEN REWORKED
AND GRADED DURING THE DEVELOPMENT OF THE CWP SITE AND THE CONSTRUCTION OF TAYLOR DRIVE AND
SEVERAL SURFACE DRAINAGE FEATURES. THE LOWER BOUNDARY OF ZONE 1 IS DEFINED BY A BLUE, CLAYEY
SILT/SILTY CLAY, GLEYED HORIZON. ZONE 1 IS UNDERLAIN IN SEQUENCE BY ZONES 2, 3, AND 4.

AS THE MAJORITY OF THE BORINGS DRILLED FOR SOIL SAMPLING AND MONITORING WALL INSTALLATION
PURPOSES WERE RELATIVELY SHALLOW, THE AREAL EXTENT OF ZONE 2 IS LESS WELL DEFINED. THE
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AVAILABLE INFORMATION, HOWEVER, INDICATES THAT Document   73 CONTINUOUS
                                               ZONE 2 MAY BE  Filed 03/01/18   Page
                                                                        FROM WELL    177 ON
                                                                                  CWP-17 of 708
                                                                                            SITE
TO WELL AT-4 OFF SITE (FIGURES 2 AND 8).

LITTLE INFORMATION IS AVAILABLE REGARDING THE CONTINUITY AND AREAL EXTENT OF ZONE 3 AND 4;
HOWEVER, IT IS NOTED THAT THEY ARE NOT OF PRIME IMPORTANCE RELATIVE TO THE POSSIBLE MIGRATION OF
CHROMIUM IN GROUND WATER. EACH OF ZONES 1 THROUGH 4 IS DESCRIBED BELOW.

4.1.2.1   ZONE 1

ZONE 1 IS CONSIDERED TO EXTEND VERTICALLY FROM THE GROUND SURFACE TO A DEPTH OF APPROXIMATELY 20
FEET. ZONE 1 CONSISTS PRIMARILY OF SILTY CLAY, CLAYEY SILT, AND CLAYEY SAND, WITH MORE
PERMEABLE STRINGERS AND LENSES OF SILTY SAND AND GRAVEL. THE SILTY CLAYS AND CLAYEY SILTS ARE
GENERALLY STIFF TO VERY STIFF, LOW TO MODERATELY PLASTIC, AND LOCALLY CONTAIN CARBON GRANULES
AND HEALED ROOT HOLES. THE COLORS OF THE SOILS IN ZONE 1 HAVE BEEN RECORDED AS YELLOW-BROWN TO
MOTTLED GRAY AND BROWN. VARYING AMOUNTS OF VERY SOFT, DEEPLY WEATHERED FRAGMENTS OF SEDIMENTARY
ROCKS (PREDOMINANTLY MUDSTONE) ARE PRESENT IN THE CLAY. BASED ON THE GENERALLY VARIEGATED
APPEARANCE AND EMBEDDED ROCK FRAGMENTS IN A CLAY MATRIX, IT IS BELIEVED THAT THE CLAY HAS BED
DEVELOPED IN SITU FROM THE YOUNGER TERRACE DEPOSITS. STRINGERS OF GRAVEL AND FINE SAND ARE
PRESENT IN THE CLAY WHICH YIELD VARYING, BUT GENERALLY LIMITED, QUANTITIES OF WATER. AS SHOWN
IN FIGURES 8 AND 9, THE LATERAL CONTINUITY OF THESE STRINGERS IS THOUGHT TO BE LIMITED AS
CORRELATION FOR SIGNIFICANT DISTANCES DOES NOT APPEAR TO BE POSSIBLE.

ZONE 1 IS CONSIDERED TO BE THE ZONE MOST IMPACTED BY CHROMIUM COMPOUNDS. THE LATERAL MIGRATION
THROUGH THIS ZONE APPEARS TO BE LIMITED TO THE IRREGULAR, MORE PERMEABLE SAND AND GRAVEL LENSES.
THE OFF-SITE MIGRATION OF CHROMIUM IN THESE MORE PERMEABLE STRATA HAS BEEN RETARDED BY THE
INSTALLATION OF THE SLURRY CUTOFF WALL AND GROUND WATER EXTRACTION FROM WELL HL-7. THE SLURRY
CUTOFF WALL REPORTEDLY EXTENDS THROUGHOUT THE FULL DEPTH OF ZONE 1. THE VERTICAL MIGRATION
THROUGH THE SOILS WITHIN ZONE 1 IS BELIEVED TO BE VERY SLOW BECAUSE OF THE APPARENT
HETEROGENEITY AND DISCONTINUITY OF PERMEABLE LENSES.

THE LOWER BOUNDARY OF ZONE 1 IS CONSIDERED TO BE THE VERY STIFF, BLUE, GLEYED, CLAYEY SILT/SILTY
CLAY LAYER WHICH IS TYPICALLY 4 TO 5 FEET THICK. THE GLEYED AND RELATIVELY UNIFORM QUALITY OF
THIS STRATUM INDICATES A WELL-WEATHERED (OLDER) DEVELOPMENT AND LOW HYDRAULIC CONDUCTIVITY. AS
SHOWN IN FIGURES 8 AND 9, THIS BLUE CLAY/SILT LAYER HAS BEEN INTERCEPTED BY NUMEROUS BORINGS AT
THE SITE AND CORRELATES REASONABLY WELL FROM THE CENTER OF THE SITE AS FAR SOUTH AS BORING AT-5.
THIS STRATUM IS LESS WELL DEFINED NEAR THE RETORTS; HOWEVER, IT IS NOTED THAT THE TOPOGRAPHY IN
THIS AREA IS ELEVATED AND THE BORINGS ARE GENERALLY SHALLOWER. THE BLUE CLAY/SILT LAYER APPEARS
TO LIMIT DOWNWARD MIGRATION OF CHROMIUM FROM ZONE 1 TO ZONE 2.

THE CORRELATION OF THIS STRATUM DEPENDS PRIMARILY ON ITS DISTINCTIVE BLUE COLORATION. THE
APPARENT ABSENCE OF THIS BLUE CLAY/SILT LAYER IN SOME BORINGS (CWP-13 AND CWP-17) MAY BE
ATTRIBUTABLE TO GEOLOGIC CONDITIONS AND/OR TO SAMPLING AND DESCRIPTIVE PROCEDURES, FOR EXAMPLE,
AS SHOWN IN PROFILE A-A' (FIGURE 8), THE BLUE CLAY/SILT LAYER WAS ENCOUNTERED IN WELL CWP-22;
FURTHER TO THE NORTH, HOWEVER, IN WELL CWP-13, THE FINEGRAINED SEDIMENTS HAVE BEEN REPLACED BY A
SANDY FACIES. IT IS POSSIBLE THAT THE BLUE CLAY/SILT LAYER WAS DEPOSITED AND LATER ERODED AND
REPLACED BY A CHANNEL-FILL, REPRESENTING A HIGHER ENERGY FACIES. ON THE OTHER HAND, THE
OMISSION MAY BE DUE TO THE SAMPLING INTERVAL, AS COMPARED WITH THE THICKNESS OF THE LAYER.

4.1.2.2   ZONE 2

ZONE 2 CONSISTS OF A SAND AND GRAVEL LAYER WHICH VARIES FROM APPROXIMATELY 5 TO 10 FEET THICK.
THE SANDS AND GRAVELS IN ZONE 2 GENERALLY CONTAIN APPRECIABLE AMOUNTS OF SILT AND CLAY, AND ARE
DENSE AND SLIGHTLY CEMENTED IN SOME AREAS. MOST OF THE GRAVEL IS SUBANGULAR AND LESS THAN
ONE-HALF INCH IN SIZE. STRINGERS OF POORLY GRADED FINE SAND AND MEDIUM COARSE SAND ARE ALSO
PRESENT. IN BORING AT-4, A THIN LAYER OF SILT IS PRESENT WITHIN ZONE 2.

ZONE 2 IS BELIEVED TO BE THE MOST SIGNIFICANT WATER PRODUCER OF THE FOUR ZONES IN THE SITE AREA.
AS SHOWN IN FIGURE 8, ZONE 2 CAN BE CORRELATED BETWEEN THE DEEP BORINGS FROM SOUTH OF THE RETORT
AREA TO OFF-SITE AREAS. ZONE 2 APPEARS TO DECREASE IN THICKNESS TO THE SOUTHEAST AND WAS NOT
ENCOUNTERED AT ALL IN BORING AT-5. THIS MAY SUGGEST THAT ZONE 2 IS DISCONTINUOUS TO THE
SOUTHEAST OR IS CONFINED TO CHANNELS WHICH WERE NOT INTERCEPTED BY BORING AT-5.
4.1.2.3   ZONE 3
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ZONE 3 IS CONSIDERED TO BE THE STIFF, OLIVE-BROWN, CLAYEY SILT STRATUM THAT FORMS THE LOWER
BOUNDARY OF ZONE 2. ZONE 3 HAS BEEN ENCOUNTERED IN SEVERAL BORINGS, AS SHOWN IN FIGURE 8, AND
CAN BE CORRELATED FROM OFF-SITE AREAS AROUND WELL AT-4 TO WELL CWP-13 AT THE SITE. THE
THICKNESS OF ZONE 3 APPEARS TO VARY FROM 4 TO 6 FEET. THE LOW PERMEABILITY OF THE SOILS IN ZONE
3 ARE EXPECTED TO SIGNIFICANTLY RESTRICT THE VERTICAL MOVEMENT OF GROUND WATER.

4.1.2.4   ZONE 4

ZONE 4 IS CONSIDERED TO BE THE CLAYEY SAND AND GRAVEL STRATUM WHICH UNDERLIES ZONE 3. AS SHOWN
IN FIGURE 8, THIS STRATUM APPEARS TO BE CONTINUOUS FROM THE PEAR ORCHARD TO AT LEAST THE EASTERN
BOUNDARY OF THE SITE. THE SPARSITY OF DEEP BORINGS IN THE NORTHERN AND WESTERN PORTIONS OF THE
SITE DOES NOT PERMIT FURTHER CORRELATION. IT IS NOTED, HOWEVER, THAT THE PERMEABILITY OF ZONE 4
APPEARS TO INCREASE TO THE SOUTHEAST. IN BORING CWP-13, ZONE 4 IS CHARACTERIZED AS A MEDIUM TO
COARSE SAND WITH SOME SILT AND GRAVEL; AND IN BORING AA-5 AS A CLEAN SAND AND SANDY GRAVEL. THE
WATER-PRODUCING CHARACTERISTICS OF ZONE 4 VARY ACCORDINGLY.

AN ALTERNATIVE SCENARIO FOR THE VARYING PERMEABILITY IS THAT TO THE NORTHWEST, ZONE 4 REPRESENTS
THE TERRACE DEPOSITS DESCRIBED IN SECTION 4.1.1.2. TO THE SOUTHEAST, ZONE 4 MAY REPRESENT THE
HOLOCENE ALLUVIUM ASSOCIATED WITH THE RUSSIAN RIVER OR ROBINSON CREEK.

4.2 GROUND WATER HYDROLOGY

THE FOLLOWING SECTIONS PROVIDE A SUMMARY OF GENERAL GROUND WATER CONDITIONS IN THE VALLEY FILL
DEPOSITS OF THE UKIAH VALLEY AND A DESCRIPTION OF GROUND WATER OCCURRENCE IN THE STRATA
ENCOUNTERED BENEATH THE CWP SITE.

4.2.1     REGIONAL GROUND WATER CONDITIONS

GROUND WATER OCCURS PRIMARILY IN THE VALLEY FILL DEPOSITS IN THE UKIAH VALLEY. IN THE
CONTINENTAL BASIN DEPOSITS, GROUND WATER OCCURS UNDER CONFINED CONDITIONS AND WELLS COMPLETED IN
THIS UNIT GENERALLY PRODUCE WATER "SLOWLY" BECAUSE OF THE FINE-GRAINED NATURE OF SEDIMENTS. THE
SPECIFIC CAPACITIES OF 30 WELLS COMPLETED IN THE CONTINENTAL BASIN DEPOSITS RANGE FROM 0.004 TO
1.33 GALLONS/MINUTE/ FOOT AND "DRY HOLES" ARE NOT UNCOMMON (FARRAR, JULY 1986).

BECAUSE THEY ARE RELATIVELY THIN AND IMPERMEABLE, THE YOUNGER TERRACE DEPOSITS ARE NOT
CONSIDERED A MAJOR SOURCE OF GROUND WATER. WELLS COMPLETED IN THE TERRACE DEPOSITS MAY YIELD
SUFFICIENT WATER FOR LOW-CAPACITY DOMESTIC OR STOCK-WATERING WELLS. SPECIFIC CAPACITIES OF
WELLS COMPLETED IN THE TERRACE DEPOSITS RANGE FROM 0.02 TO 7.1 GALLONS/MINUTE/FOOT AND
FLUCTUATIONS IN THE WATER TABLE CAN "DRASTICALLY" AFFECT WELL PERFORMANCE (FARRAR, JULY 1986).

THE HOLOCENE ALLUVIUM IS CONSIDERED THE MOST PRODUCTIVE WATERBEARING UNIT IN THE UKIAH VALLEY
AND PROVIDES "SUFFICIENT WATER FOR SUSTAINED PUMPAGE FOR MUNICIPAL AND IRRIGATION WELLS." THE
MORE PERMEABLE, COARSER-GRAINED SEDIMENTS APPEAR TO BE LOCATED ALONG THE PRESENT COURSE OF THE
RUSSIAN RIVER, AS EVIDENCED BY SEVERAL HIGH-PRODUCTION WELLS. THESE INCLUDE COMMUNITY WATER
SUPPLY WELLS OPERATED BY THE WILLOW COUNTY WATER DISTRICT (WCWD), INCLUDING WELLS 14N/L2W-9AL
AND -9A2 AND WELLS 15N/12W-33E3, -33E4, -33E5, AND -33E6. THE LOCATIONS OF THESE WELLS ARE
SHOWN IN FIGURE 4. ALSO, A SERIES OF WELLS HAS BEEN INSTALLED ALONG THE WESTERN BANK OF THE
RUSSIAN RIVER FROM SOUTH OF THE UKIAH SEWAGE DISPOSAL FACILITY TO THE EL ROBLES RANCH. THIS
SERIES OF WELLS, SHOWN IN FIGURE 4, INCLUDES WELLS 14N/12W-4B, -4G, -4J, -4R1, AND -4R2. THESE
WELLS SUPPLY WATER FOR IRRIGATION AND ARE BELIEVED TO DERIVE A PORTION OF THEIR PRODUCTION FROM
SURFACE WATER IN THE RUSSIAN RIVER, INDUCED TO FLOW THROUGH PERMEABLE ALLUVIAL DEPOSITS AS THE
GROUND WATER LEVEL IS LOWERED BY PUMPING. IT HAS BEEN REPORTED (FARRAR, JULY 1986) THAT UNDER
MOST FLOW CONDITIONS, GROUND WATER MOVES FROM THE ALLUVIUM INTO THE RUSSIAN RIVER. DURING
PERIODS OF HIGH WATER LEVELS IN THE RUSSIAN RIVER, HOWEVER, THE REVERSE SITUATION OCCURS.

ON A REGIONAL BASIS, GROUND WATER IN THE VALLEY FILL DEPOSITS FLOWS APPROXIMATELY NORTH TO SOUTH
ALONG THE AXIS OF THE UKIAH VALLEY. NEAR THE WEST MARGIN OF THE VALLEY, HOWEVER, GROUND WATER
GENERALLY FLOWS TO THE EAST, FOLLOWING THE TOPOGRAPHY. REGIONAL GROUND WATER CONTOURS ARE SHOWN
IN FIGURE 4.

4.2.2     STUDY AREA GROUND WATER
IN THE STUDY AREA, GROUND WATER OCCURS PRIMARILY IN STRATIGRAPHIC ZONES 1 AND 2. THE FOLLOWING
              CaseON1:96-cv-06055-AWI-SAB
DISCUSSION FOCUSES    THESE STRATA, AS THEY AREDocument
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                                                           CONCERN  03/01/18THEPage 179 ofOF
                                                                                MIGRATION  708
CHROMIUM.

THE GROUND WATER FLOW" DIRECTION AND HYDRAULIC GRADIENT HAVE BEEN ESTABLISHED FROM WATER LEVEL
DATA ACCUMULATED THROUGHOUT THE INVESTIGATIONS PERFORMED AT THE SITE. THESE DATA ARE SUMMARIZED
IN TABLE B.L OF APPENDIX B. BASED ON WATER LEVEL MEASUREMENTS IN MONITORING WELLS COMPLETED IN
ZONE 1, MADE BY CWP PERSONNEL IN JANUARY 1987, ZONE 1 GROUND WATER CONTOURS HAVE BEEN GENERATED.
THESE ZONE 1 CONTOURS ARE SHOWN IN FIGURE 10. THE ZONE 1 GROUND WATER CONTOURS INDICATE AN
OVERALL SOUTHEASTERLY DIRECTION OF FLOW WITH A HYDRAULIC GRADIENT OF ABOUT 0.005. THIS IS
CONSISTENT WITH THE DIRECTION OF REGIONAL GROUND WATER FLOW SHOWN IN FIGURE 4. IN OFF-SITE
AREAS TO THE SOUTHEAST OF THE SITE, THE CONTOURS INDICATE A FLOW DIRECTION TO THE SOUTH WITH
APPROXIMATELY THE SAME HYDRAULIC GRADIENT.

AS SHOWN IN TABLE 1, THERE ARE ONLY THREE GROUND WATER MONITORING WELLS, WELLS CWP-15, CWP-22,
AND AT-4, COMPLETED EXCLUSIVELY IN ZONE 2. THESE THREE DATA POINTS ARE NOT SUFFICIENT TO
GENERATE GROUND WATER CONTOURS IN ZONE 2. COMPARISON OF THE GROUND WATER LEVELS IN WELLS
CWP-18, CWP-22, AND AT-4 WITH THOSE IN ADJACENT ZONE 1 MONITORING WELLS, HOWEVER, INDICATES THAT
THE ZONE 2 WATER LEVELS ARE APPROXIMATELY 1 FOOT BELOW THOSE IN ZONE 1. SEVERAL OTHER WELLS
(WELLS CWP-7, CWP-8, CWP-9, CWP-14, AND CWP-19) ARE COMPLETED IN ZONES 1 AND 2. THE WATER
LEVELS IN THESE WELLS GENERALLY APPEAR TO REFLECT ZONE 1 GROUND WATER LEVELS.

THE HYDRAULIC PROPERTIES OF THE WATER-BEARING ZONES HAVE BEEN INVESTIGATED BY PREVIOUS
CONSULTANTS AND GEOSYSTEM BY MEANS OF SEVERAL PUMPING AND SLUG TESTS (GEOSYSTEM, MARCH 1986).
THE DATA COLLECTED THROUGHOUT THESE INVESTIGATIONS HAVE BEEN SUMMARIZED BY GEOSYSTEM (SEPTEMBER
19, 1986). THESE DATA SUGGEST THAT HYDRAULIC CONDUCTIVITIES OF ZONES I AND 2 ARE GENERALLY ON
THE ORDER OF (10-3) TO (10-2) CM/SEC.   ZONES 3 AND 4 WERE CONSIDERED TO HAVE LOWER
PERMEABILITY; HOWEVER, MORE RECENT STRATIGRAPHIC DATA (GEOSYSTEM, JANUARY 1987) SUGGEST THAT
ZONE MAY BE HIGHLY PERMEABLE TO THE SOUTHEAST OF THE SITE. ZONES 3 AND 4 ARE OF LESS IMPORTANCE
TO THE REMEDIATION OF CHROMIUM IN OFF-SITE AREAS. A SUMMARY OF THE HYDRAULIC PROPERTIES OF ZONE
1 IS PRESENTED IN TABLE 5 AND A SUMMARY OF THE HYDRAULIC CONDUCTIVITY DATA OBTAINED BY FIELD
TESTS THROUGHOUT THE COURSE OF THE SITE CHARACTERIZATION STUDIES IS PRESENTED IN TABLE 6.

4.3 SURFACE WATER HYDROLOGY

THE RUSSIAN RIVER, WHICH ORIGINATES IN CENTRAL MENDOCINO COUNTY AND FLOWS SOUTH TO SONOMA COAST
STATE BEACH, IS THE MOST IMPORTANT SURFACE DRAINAGE SYSTEM IN THE UKIAH VALLEY. AT ITS CLOSEST
POINT, THE RUSSIAN RIVER FLOWS APPROXIMATELY 2,000 FEET TO THE EAST OF THE CWP SITE. FLOW IN
THE RUSSIAN RIVER IS REGULATED BY CONTROLLING THE CONTRIBUTIONS FROM SEVERAL OF ITS MAJOR
TRIBUTARIES. MINIMUM FLOWS ARE REQUIRED TO BE MAINTAINED, HOWEVER, AT VARIOUS LOCATIONS ON THE
RUSSIAN RIVER. ONE OF THESE LOCATIONS IS AT THE JUNCTION OF THE EAST AND WEST FORKS OF THE
RUSSIAN RIVER JUST NORTH OF UKIAH. AT THIS POINT, A MINIMUM FLOW OF APPROXIMATELY 150 CFS IS
REQUIRED (DWR, MAY 1980). THE RUSSIAN RIVER HAS NUMEROUS BENEFICIAL USES, AS DESCRIBED IN
SECTION 4.4.1.

TRIBUTARIES TO THE RUSSIAN RIVER INCLUDE NUMEROUS SMALL STREAMS ISSUING FROM THE MOUNTAINS THAT
BORDER THE UKIAH VALLEY TO THE EAST AND WEST. THE MOST SIGNIFICANT OF THESE TRIBUTARIES IN THE
VICINITY OF THE CWP SITE IS ROBINSON CREEK, WHICH MERGES WITH THE RUSSIAN RIVER AT A POINT ABOUT
4,500 FEET TO THE SOUTHEAST. THE LOCATIONS OF THE RUSSIAN RIVER AND ROBINSON CREEK, RELATIVE TO
THE CWP SITE, ARE SHOWN IN FIGURE 1.

FLOW IN ROBINSON CREEK OCCURS ESSENTIALLY YEAR ROUND AND FOLLOWS THE NATURAL DRAINAGE COURSE.
OTHER, SMALLER SURFACE DRAINAGE FEATURES FLOW ONLY WHEN PRECIPITATION OCCURS IN THE UKIAH VALLEY
OR THE ADJACENT HIGHLANDS RESERVATIONS BY CWP PERSONNEL INDICATE THAT, DEPENDING ON THE
INTENSITY AND DURATION OF THE RAINFALL, FLOW IN THESE SMALLER SURFACE DRAINAGE FEATURES MAY
REACH THE RUSSIAN RIVER OR PERCOLATE INTO THE VALLEY FILL PRIOR TO REACHING THE RIVER. DURING
THE WINTER MONTHS, WHEN THE WATER TABLE RISES TO WITHIN 2 OR 3 FEET OF THE LAND SURFACE, GROUND
WATER MAY FLOW INTO THE LOW-LYING SURFACE DRAINAGE DITCHES. UNDER THESE CIRCUMSTANCES, WATER
WOULD BE PRESENT IN THE DITCHES EVEN WHEN NO PRECIPITATION IS OCCURRING. SUCH WATER WOULD NOT,
HOWEVER, BE REPRESENTATIVE OF STORM WATER RUNOFF ORIGINATING FROM THE CWP SITE.

FLOW IN THE MAJORITY OF THESE SMALLER SURFACE DRAINAGE FEATURES IS INTERMITTENT AND IS
CONTROLLED AND DIVERTED BY CULVERTS AND DITCHES. SEVERAL SMALL DITCHES AND CULVERTS DIVERT
SURFACE WATER RUNOFF AROUND AND BENEATH THE CWP SITE. THE LOCATIONS OF THE DITCHES AND CULVERTS
              Case
IN THE IMMEDIATE    1:96-cv-06055-AWI-SAB
                 VICINITY OF THE SITE ARE SHOWNDocument   73 THE
                                                IN FIGURE 2.  Filed 03/01/18
                                                                  DITCHES THAT Page  180 of 708
                                                                               FLOW BENEATH AND
AROUND THE CWP SITE REPORT TO A COMMON DITCH THAT FLOWS SOUTH, PARALLEL TO AND EAST OF TAYLOR
DRIVE. THIS COMMON DITCH FLOWS EAST ALONG THE NORTHERN BOUNDARY OF THE ALEX THOMAS PEAR ORCHARD
AND BENDS SOUTH ALONG THE RAILROAD TRACKS. FLOW IN THE DITCH, BY NOW AUGMENTED BY RUNOFF FROM
THE PEAR ORCHARD AND THE RAILROAD CORRIDOR, ENTERS AN EAST-WEST LATERAL DRAIN WHICH DISCHARGES
TO THE RUSSIAN RIVER. IT WAS OBSERVED IN OCTOBER 1987, THAT THE LATERAL DITCH CONTAINED SMALL
AMOUNTS OF WATER; HOWEVER, THE OTHER TRIBUTARY DITCHES WERE DRY.

SURFACE WATER QUALITY IN THE RUSSIAN RIVER IS CONSIDERED TO BE OF "EXCELLENT TO GOOD QUALITY" IN
TERMS OF MINERAL CONTENT (DWR, MAY 1980). USING ELECTRICAL CONDUCTIVITY (EC) AS AN INDICATOR OF
MINERAL CONTENT, WATER QUALITY STANDARDS RECOMMEND AN EC OF LESS THAN 450 MICROMHOS. THE
AVERAGE EC OF RUSSIAN RIVER WATER, BETWEEN POTTER VALLEY TO THE NORTH OF UKIAH AND HOPLAND TO
THE SOUTH, RANGES FROM 140 TO 190 MICROMHOS. THE AVERAGE HARDNESS IS 115 MG/L (AS CACO3), WHICH
IS CONSIDERED TO BE MODERATELY HARD AND NOT LIKELY TO ADVERSELY AFFECT MOST BENEFICIAL USES
(DWR, MAY 1980). HIGH, NON-ORGANIC TURBIDITY IS AN OCCASIONAL PROBLEM IN THE RUSSIAN RIVER AND
ITS TRIBUTARIES DURING PERIODS OF PROLONGED RAINFALL AND RELEASE OF WATER FROM LAKE MENDOCINO.
THIS TURBIDITY MAY ALSO BE AGGRAVATED BY THE REMOVAL OF GRAVEL FOR USE IN CONSTRUCTION, AS THE
DISTURBED RIVER CHANNEL CAN CONTRIBUTE SIGNIFICANT TURBIDITY TO WATER IN THE RUSSIAN RIVER.

4.4 BENEFICIAL USES OF WATER

THIS SECTION SUMMARIZES THE KNOWN BENEFICIAL USES OF SURFACE AND GROUND WATER IN THE UKIAH
VALLEY IN THE VICINITY OF THE CWP SITE. THE BENEFICIAL USES OF SURFACE AND GROUND WATER HAVE
BEEN SUMMARIZED PRIMARILY FROM AVAILABLE REPORTS PUBLISHED BY VARIOUS STATE GOVERNMENT AGENCIES.
THE SOURCES OF INFORMATION ARE REFERENCED AS APPROPRIATE. AN INVENTORY OF WATER-PRODUCING WELLS
IN THE VICINITY OF THE SITE HAS ALSO BEEN PERFORMED. IN ADDITION TO AIDING ASSESSMENT OF THE
BENEFICIAL USES OF GROUND WATER, THE PURPOSE OF THE WELL INVENTORY WAS TO IDENTIFY AND LOCATE
WELLS IN THE VICINITY OF THE SITE AND DOCUMENT WELL CONSTRUCTION DETAILS.

FOR THE PURPOSE OF THIS DISCUSSION, AND TO MAINTAIN CONSISTENCY WITH DWR WATER SUPPLY ASSESSMENT
PROCEDURES, SURFACE WATER IS CONSIDERED TO BE "WATER FLOWING IN THE VARIOUS STREAM COURSES PLUS
UNDERFLOW. UNDERFLOW MAY BE DEFINED AS SUBSURFACE WATER CONTAINED IN THE CHANNEL DEPOSITS,
WHICH IF EXTRACTED, WOULD AFFECT STREAM FLOW WITHIN A SHORT PERIOD OF TIME" (DWR, MAY 1980). IT
IS NOT UNCOMMON TO INSTALL WELLS IN THE COARSE, STREAM CHANNEL DEPOSITS IMMEDIATELY ADJACENT TO
THE RUSSIAN RIVER AND EXTRACT UNDERFLOW. AS THE UNDERFLOW AND SURFACE WATERS ARE IN DIRECT
HYDRAULIC COMMUNICATION, EXTRACTED UNDERFLOW IS CONSIDERED TO BE SURFACE WATER.

4.4.1 SURFACE WATER

THE RUSSIAN RIVER IS A MAJOR MUNICIPAL WATER SUPPLY FOR MENDOCINO, SONOMA, AND MARIN COUNTIES.
IN ADDITION TO MUNICIPAL SUPPLY, WATER FROM THE RUSSIAN RIVER IS USED FOR AGRICULTURAL,
INDUSTRIAL, AND RECREATIONAL PURPOSES.

ACCORDING TO THE WATER QUALITY CONTROL PLAN FOR THE NORTH COASTAL BASIN, THE SPECIFIC BENEFICIAL
USES OF THE RUSSIAN RIVER INCLUDE:

      •      MUNICIPAL AND DOMESTIC SUPPLY
      •      AGRICULTURAL SUPPLY
      •      INDUSTRIAL SERVICE SUPPLY
      •      INDUSTRIAL PROCESS SUPPLY
      •      GROUND WATER RECHARGE
      •      NAVIGATION
      •      POTENTIAL HYDROPOWER GENERATION
      •      CONTACT WATER RECREATION
      •      NON-CONTACT WATER RECREATION
      •      WARM FRESHWATER HABITAT
      •      WILDLIFE HABITAT
      •      FISH MIGRATION
      •      FISH SPAWNING.

OTHER THAN CONTRIBUTING TO THE RUSSIAN RIVER, LITTLE INFORMATION IS AVAILABLE REGARDING DIRECT
BENEFICIAL USES OF THE NUMEROUS SMALL TRIBUTARY STREAMS. THE BENEFICIAL USES OF WATER IN THE
TRIBUTARY DITCHES FLOWING AROUND THE CWP SITE, HOWEVER, INCLUDE WILDLIFE HABITAT AND, DURING
              Case
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                YEAR,                          Document
                      FRESHWATER HABITAT. IN ADDITION,    73 Filed
                                                        GROUND WATER03/01/18   Page
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                                                                                 A BENEFICIAL
USE OF THE WATER IN THESE TRIBUTARIES.

THE APPROXIMATE VOLUME OF SURFACE WATER FOR AGRICULTURAL AND URBAN USE IN 1975 WAS ESTIMATED TO
BE 10,600 AND 6,000 ACRE-FEET, RESPECTIVELY. THE DEMAND ON SURFACE WATER RESOURCES IS PROJECTED
TO INCREASE TO ABOUT 14,200 AND 6,800 ACRE-FEET FOR AGRICULTURAL AND URBAN USE, RESPECTIVELY, BY
THE YEAR 2000 (DWR, MAY 1980).

4.4.2 GROUND WATER

BENEFICIAL USE OF THE GROUND WATER RESOURCES IN THE VICINITY OF THE CWP SITE INCLUDE PRIMARILY
COMMUNITY WATER SUPPLY, DOMESTIC WATER SUPPLY, AND IRRIGATED AGRICULTURE.

IN GENERAL, WELL LOCATION AND THE PARTICULAR UNIT OF THE VALLEY FILL IN WHICH A WELL IS
COMPLETED INFLUENCE YIELD AND THE BENEFICIAL USE OF THE EXTRACTED WATER.   WELLS COMPLETED IN
THE CONTINENTAL BASIN AND TERRACE DEPOSITS GENERALLY YIELD GROUND WATER IN AMOUNTS SUITABLE ONLY
FOR LOW-CAPACITY DOMESTIC WELLS, STOCK-WATERING WELLS, OR LIMITED IRRIGATION WELLS (FARRAR, JULY
1986). WELLS COMPLETED IN THE HOLOCENE ALLUVIUM CAN YIELD SUFFICIENT WATER UNDER SUSTAINED
PUMPING FOR MUNICIPAL AND IRRIGATION SUPPLY. WCWD EXTRACTS GROUND WATER FROM WELLS LOCATED IN
THE NORGARD LANE WELL FIELD, APPROXIMATELY 2,200 FEET NORTH OF THE CWP SITE, AND FROM TWO WELLS
NEAR THE RUSSIAN RIVER, APPROXIMATELY 8,000 FEET SOUTH OF THE CWP SITE.

4.5 SOIL, STORM WATER, AND GROUND WATER QUALITY

THIS SECTION PRESENTS THE DISTRIBUTION AND OCCURRENCE OF CHROMIUM AND OTHER INDICATOR PARAMETERS
IN SOIL, STORM WATER, AND GROUND WATER IN THE STUDY AREA. THROUGHOUT THE REMAINDER OF THIS
REPORT, HEXAVALENT CHROMIUM IS REFERRED TO AS CR(VI) AND TRIVALENT CHROMIUM IS REFERRED TO AS CR
(III). UNLESS SPECIFIED OTHERWISE, CHROMIUM REFERS TO TOTAL CHROMIUM. WATER AND SOIL QUALITY
DATA HAVE BEEN GENERATED OVER SEVERAL YEARS OF SITE CHARACTERIZATION STUDIES AND MONITORING.
GROUND WATER, STORM WATER, AND SOIL QUALITY DATA ARE CONTAINED IN APPENDICES B, C, AND D,
RESPECTIVELY, AND ARE SUMMARIZED IN THE FOLLOWING SECTIONS.

4.5.1       DISTRIBUTION OF CHROMIUM, ARSENIC, AND COPPER IN SOIL

A TOTAL OF 26 SOIL BORINGS (BORINGS S-1 THROUGH S-26) WERE DRILLED (D'APPOLONIA/IT CORPORATION,
MAY 1984) IN THE STUDY AREA TO ASSESS THE AREAL EXTENT OF CHROMIUM, ARSENIC, AND COPPER IN SOIL
GO A DEPTH OF ABOUT 20 FEET. SOIL SAMPLES WERE COLLECTED AT DEPTHS OF 1, 3, 6, 10, IS, AND 20
FEET. NEAR-SURFACE SOIL SAMPLES FROM DEPTHS OF 1 AND 2 FEET WERE ALSO COLLECTED FROM 17 OTHER
LOCATIONS (G-1 THROUGH G-17) TO FURTHER DELINEATE THE AREAL DISTRIBUTION OF CHEMICALS IN
NEAR-SURFACE SOILS. THE LOCATIONS OF THE SOIL SAMPLING STATIONS ARE SHOWN IN FIGURE 11. ALL
SOIL SAMPLES WERE ANALYZED FOR TOTAL OR HEXAVALENT CHROMIUM, ARSENIC, AND COPPER. A SUMMARY OF
THE DATA IS PRESENTED IN TABLES D.1 THROUGH D.4 OF APPENDIX D. PLOTS OF CHROMIUM CONCENTRATIONS
WITH DEPTH FOR SELECTED BORINGS ARE ALSO INCLUDED IN APPENDIX D. ALL CONCENTRATIONS REFLECT THE
TOTAL QUANTITY OF THE METALS PRESENT IN THE SAMPLES. THE SAMPLE ID PROVIDES A DESIGNATION FOR
EITHER A BORING (5) OR A SURFACE SAMPLE (G), FOLLOWED BY A NUMBER IDENTIFYING THE LOCATION. THE
LAST NUMBER IN THE DESIGNATION IDENTIFIES THE DEPTH AT WHICH THE SAMPLE WAS COLLECTED. FROM A
GENERAL REVIEW OF THE DATA, THE FOLLOWING OBSERVATIONS CAN BE MADE:

        •       ELEVATED CHROMIUM CONCENTRATIONS EXIST IN THE UPPER 3 FEET OF SOIL AND ESPECIALLY IN
                THE TOP 1 FOOT (G10, 1'; S-4, 1'; S-8, 0'; S-5, 0")

        •       CHROMIUM CONCENTRATIONS IN SAMPLES COLLECTED FROM MORE THAN 3 FEET BELOW THE SURFACE
                ARE GENERALLY LOWER THAN 50 MG/KG IN ALL BORINGS, EXCEPT IN 5-8 AT THE 10-FOOT DEPTH
                AND 5-10 AT THE 15-FOOT DEPTH.

        •       CHROMIUM CONCENTRATIONS ARE HIGHER IN BORINGS NEAR THE RETORT AND SUMP AREAS.

        •       THE MAXIMUM DETECTED CONCENTRATIONS OF CHROMIUM, COPPER, AND ARSENIC IN SURFICIAL
                SOILS ARE 540, 230 AND 220 MG/KG, RESPECTIVELY (APPENDIX D).

        •       GENERALLY, THERE APPEARS TO BE GOOD CORRELATION BETWEEN CHROMIUM, ARSENIC, AND
                COPPER CONCENTRATIONS.
IN ORDER TO COMPARE BACKGROUND CHROMIUM CONCENTRATIONS IN AREAS NOT AFFECTED BY CWP OPERATIONS,
              Case
WITH AREAS THAT     1:96-cv-06055-AWI-SAB
                ARE POSSIBLY                   DocumentOPERATIONS,
                             IMPACTED BY WOOD PRESERVING  73 Filed 03/01/18    Page
                                                                     THE DATA FOR    182 of
                                                                                  BORINGS   708
                                                                                          S-1
(UPGRADIENT), 6 (BACKGROUND), S-5, S-8, S-10 (RETORT AND SUMP AREA), S-15, S-22, AND S-25
(DOWNGRADIENT) HAVE BEEN SUMMARIZED IN TABLE D-4 (APPENDIX D). BORING S-8 IS LOCATED AT THE
EASTERN END OF THE RAIL LINES AND BORING S-10 IS THE CLOSEST BORING TOPOGRAPHICALLY DOWNGRADIENT
OF THE RETORTS. IT SHOULD BE NOTED THAT NO SAMPLES HAVE BEEN COLLECTED FROM UNDER THE
RETORT/PROCESS AREA. SAMPLING IN THESE AREAS IS NOT POSSIBLE DURING NORMAL FACILITY OPERATION.
THE SALIENT FEATURES OF THE DATA INCLUDE THE FOLLOWING:

      •      HIGHER CHROMIUM CONCENTRATIONS ARE OBSERVED IN THE SURFACE SAMPLES NEAR THE RETORT
             AND SUMP AREAS.

      •      CHROMIUM CONCENTRATIONS IN BORING S-1 (UPGRADIENT) SAMPLES COLLECTED BELOW THE
             3-FOOT DEPTH ARE GENERALLY IN THE SAME RANGE AS THOSE OBSERVED IN OTHER BORINGS.

      •      THE BACKGROUND AND UPGRADIENT CONCENTRATIONS OF CHROMIUM, ARSENIC, AND COPPER IN
             BORINGS S-26 AND S-1 SAMPLES ARE GENERALLY LESS THAN 50 /KG, LESS THAT 14 MG/KG, AND
             LESS THAN 20 MG/KG, RESPECTIVELY.

SOIL SAMPLES CONTAINING CHROMIUM CONCENTRATIONS GREATER THAN 100 MG/KG WERE SELECTED TO
REPRESENT SURFACE SOILS WITH DEFINITE CHROMIUM CONTAMINATION. THE APPROXIMATE AREA OF SUCH
CONTAMINATION IS SHOWN IN FIGURE 11. THE MAJORITY OF THE SURFACE SOILS CONTAINING ELEVATED
CHROMIUM CONCENTRATIONS ARE IN THE AREA AROUND THE RETORT AND SUMP UNITS WHERE FRESHLY TREATED
WOOD HAS BEEN STORED. A NARROW BAND OF SURFACE SOILS WITH APPROXIMATELY 100 MG/KG OR CHROMIUM
IS PRESENT TO THE SOUTH OF THE RETORT CHAMBERS. THE AREAL EXTENT OF ELEVATED ARSENIC
CONCENTRATIONS IN THE NEAR-SURFACE SOILS IS SIMILAR TO CHROMIUM DISTRIBUTION EXCEPT IN ISOLATED
AREAS WITH NEAR BACKGROUND CONCENTRATIONS (C-3, C-7, C-8). THE APPROXIMATE AREAS ENCOMPASSING
GREATER THAN 14 MG/KG ARSENIC CONCENTRATION ARE SHOWN IN FIGURE 11.

4.5.2 STORM WATER QUALITY

THIS SECTION SUMMARIZES THE AVAILABLE WATER QUALITY DATA OBTAINED FROM STORM WATER SAMPLES
COLLECTED AT THE CWP SITE. FLOW IN THE DITCHES AND CULVERTS AROUND AND BENEATH THE CWP SITE
OCCURS AS A RESULT OF PRECIPITATION IN THE UKIAH VALLEY OR THE ADJACENT HIGHLANDS. AS NOTED IN
SECTION 4.3, GROUND WATER MAY BE PRESENT IN LOW-LYING DRAINAGE DITCHES ON A CONTINUOUS BASIS
DURING THE WINTER MONTHS. A DIFFERENTIATION IS MADE, HOWEVER, BETWEEN THIS WATER AND STORM
WATER RUNOFF.

A SURFACE OR STORM WATER MONITORING PROGRAM IS IN EFFECT AT THE SITE AND SEVERAL STORM WATER
MONITORING LOCATIONS HAVE BEEN ESTABLISHED. CURRENTLY, THE STORM WATER MONITORING PROGRAM
INCLUDES COLLECTION OF SAMPLES FROM STATIONS NE, NW, AND C-100. UP UNTIL DECEMBER 1984,
STATIONS SE AND SW WERE ALSO MONITORED. THE LOCATIONS OF THESE STATIONS ARE SHOWN IN FIGURE 2.
PRIOR TO INSTITUTING SURFACE WATER FLOW CONTROL AT THE CWP SITE, STORM WATER SAMPLES WERE
PERIODICALLY COLLECTED AND ANALYZED. RWQCB STAFF HAVE INDICATED THAT THE MEASURED
CONCENTRATIONS OF METALS IN 1980 AND 1981 WERE MUCH HIGHER THAN IN SUBSEQUENT YEARS.

MONITORING STATION NW IS LOCATED AT THE ENTRANCE TO THE CULVERT THAT CONDUCTS STORM WATER UNDER
THE CWP SITE FROM THE WEST SIDE OF US HIGHWAY 101. THE WATER QUALITY DATA COLLECTED AT THIS
LOCATION IS CONSIDERED TO REPRESENT UPGRADIENT OR BACKGROUND CONDITIONS.

MONITORING STATION NE IS LOCATED ON TAYLOR DRIVE AT THE CONFLUENCE OF THE ABOVE-MENTIONED
CULVERT AND THE DITCH AROUND THE NORTHEASTERN PORTION OF THE PERIMETER OF THE CWP SITE. DATA
COLLECTED AT THIS LOCATION PROVIDE AN INDICATION OF THE QUALITY OF SURFACE RUNOFF FROM THE
NORTHERN PORTION OF THE CWP SITE. IT IS NOTED, HOWEVER, THAT ASPHALT BERMS HAVE BEEN
CONSTRUCTED TO DIVERT SURFACE RUNOFF FROM TREATED WOOD STORAGE AREAS TO A COLLECTION SUMP. FROM
THIS SUMP, THE WATER IS RECYCLED INTO CWP'S WOOD PRESERVING OPERATIONS.

MONITORING STATION C-100 IS LOCATED APPROXIMATELY 100 FEET DOWNSTREAM OF THE CONFLUENCE OF FLOW
PASSING FROM STATION NE AND THAT FLOWING BENEATH THE CWP SITE THROUGH A SECOND CULVERT NEAR THE
SOUTHERN SITE BOUNDARY. COMPARISON OF DATA COLLECTED FROM THIS LOCATION WITH THAT FROM
MONITORING STATION PROVIDES AN INDICATION OF THE OVERALL IMPACT OF SURFACE RUNOFF FROM THE CWP
SITE ON STORM WATER QUALITY.
IT IS NOTED THAT AREAS OTHER THAN THE CWP SITE ALSO CONTRIBUTE TO FLOW AT ALL THREE STORM WATER
              Case 1:96-cv-06055-AWI-SAB
MONITORING STATIONS.                           Document
                      THE POSSIBLE IMPACT OF THESE        73 Filed
                                                   CONTRIBUTIONS    03/01/18
                                                                 MUST          PageWHEN
                                                                      BE CONSIDERED  183 of 708
EVALUATING STORM WATER QUALITY.

STORM WATER SAMPLES ARE CURRENTLY ANALYZED FOR DISSOLVED TOTAL CHROMIUM AND ARSENIC; HOWEVER, IN
THE PAST, ANALYSES FOR DISSOLVED CR(VI) AND COPPER HAVE ALSO BEEN PERFORMED. THE MOST RECENT
AND COMPREHENSIVE DATA, REPRESENTING JANUARY 1988, ARE PRESENTED IN TABLE 7. THE HISTORICAL
STORM WATER QUALITY DATA ARE SUMMARIZED IN APPENDIX C. THE DATA INDICATE THAT CHROMIUM,
ARSENIC, AND COPPER ARE OCCASIONALLY PRESENT AT DETECTABLE CONCENTRATIONS IN STORM WATER FLOW
SAMPLED AT STATIONS NE AND C-100. IT IS NOTED, HOWEVER, THAT THE MEASURED CONCENTRATIONS ARE
TYPICALLY CLOSE TO THE DETECTION LIMITS AND THE CONCENTRATION OF CR(VI) HAS OCCASIONALLY
EXCEEDED THE DRINKING WATER STANDARD OF 0.05 MG/1 WITHIN THE LAST FIVE YEARS. CHROMIUM,
ARSENIC, AND COPPER CONCENTRATIONS IN SAMPLES COLLECTED FROM MONITORING STATION HAVE BEEN AT OR
BELOW DETECTION LIMITS SINCE 1983, WITH THE EXCEPTION OF ARSENIC WHICH WAS MEASURED AT 0.006
MG/L IN JANUARY 1986 AT STATION NW. THE MOST RECENT DATA, REPRESENTING APRIL 1988, SHOW
NON-DETECTABLE CONCENTRATIONS OF CHROMIUM AND ARSENIC IN MONITORING STATIONS C-100,NE, AND NW.

IN ADDITION TO CWP'S MONITORING, THE RWQCB STAFF HAVE OBTAINED STORM WATER SAMPLES SINCE 1984
WHICH HAVE BEEN ANALYZED FOR CR(III), CR(VI), ARSENIC, AND COPPER. THE POTENTIAL IMPACT FROM
PAST AND CURRENT DISCHARGES ARE DISCUSSED IN SECTION 6.0.

4.5.3       GROUND WATER QUALITY

GROUND WATER QUALITY MONITORING HAS BEEN PERFORMED AT THE CWP SITE SINCE 1981. THE CHEMICAL
ANALYSES HAVE GENERALLY INCLUDED TOTAL DISSOLVED CHROMIUM, ARSENIC, AND COPPER WITH OCCASIONAL
MEASUREMENTS OF DISSOLVED CR (VI). THE COMPREHENSIVE GROUND WATER QUALITY DATA, REPRESENTING
JANUARY 1988 CONDITIONS, ARE PRESENTED IN TABLE 7. ALL HISTORICAL GROUND WATER QUALITY DATA
HAVE BEEN SUMMARIZED IN TABLE B.2 OF APPENDIX B. THE WATER QUALITY DATA INDICATE THAT:

        •       THE WELLS COMPLETED IN ZONE 1 NEAR THE RETORT AREA GENERALLY EXHIBIT HIGHER CHROMIUM
                CONCENTRATIONS AND THE CONCENTRATIONS DECREASE HYDRAULICALLY DOWNGRADIENT.

        •       THE MAXIMUM DETECTED CONCENTRATIONS OF TOTAL CHROMIUM AND HEXAVALENT CHROMIUM IN
                GROUND WATER OCCURRED IN WELL CWP-6 AT 125 AND 78 MG/L, RESPECTIVELY.

        •       CHROMIUM CONCENTRATIONS HAVE GENERALLY DECREASED WITH TIME. WELLS CWP-2A, CWP-2B,
                CWP-6 (NEAR RETORT AREA), CWP-8, CWP-11 (NEAR SITE BOUNDARY), AND FPT-3, FPT-4,
                FPT-5, AT-1 (OFF SITE) SUPPORT THIS OBSERVATION.

        •       THE CONCENTRATIONS OF CHROMIUM IN ON-SITE WELLS COMPLETED IN ZONE 2 ARE NOT
                SIGNIFICANT AND MAY RESULT FROM LIMITED COMMUNICATION WITH ZONE 1.

        •       ZONE 2 DOES NOT CONTAIN ELEVATED CHROMIUM CONCENTRATIONS IN OFF-SITE AREAS.

        •       ZONE 2 AND 4 DO NOT APPEAR TO BE IMPACTED BY THE PRESENCE OF CHROMIUM.

SELECTED GROUND WATER QUALITY DATA HAVE BEEN USED TO GENERATE CHROMIUM ISOCONCENTRATIONS TO
PROVIDE AN AREAL REPRESENTATION OF THE CHROMIUM PLUME IN GROUND WATER. DATA FROM
JANUARY/FEBRUARY 1986, APRIL 1987, AND JANUARY 1988 ARE USED TO PLOT ISOCONCENTRATIONS, AS SHOWN
IN FIGURES 12, 13, AND 14, RESPECTIVELY. THESE FIGURES INDICATE THAT ELEVATED CHROMIUM
CONCENTRATIONS ARE PRESENT IN GROUND WATER PRIMARILY IN ON-SITE AREAS TO THE WEST OF THE SLURRY
WALL. COMPARISON BETWEEN THE THREE SETS OF ISOCONCENTRATIONS INDICATES THE APPARENT TREND OF
DECREASING CHROMIUM CONCENTRATIONS WITH TIME IN MONITORING WELLS LOCATED HYDRAULICALLY
DOWNGRADIENT OF THE SLURRY CUTOFF WALL. IT SHOULD BE NOTED THAT THESE ISOCONCENTRATIONS HAVE
BEEN DEVELOPED BASED ON DATA OBTAINED FROM ALL WELLS AND DO NOT DIFFERENTIATE BETWEEN THE
VARIOUS STRATIGRAPHIC ZONES. HOWEVER, THE DATA REPRESENT PRIMARILY THE WATER QUALITY OF ZONE 1.

OF THE GROUND WATER MONITORING WELLS LOCATED HYDRAULICALLY DOWNGRADIENT OF THE SLURRY CUTOFF
WALL, ONLY WELLS CWP-8 AND AT-2 HAVE OCCASIONALLY INDICATED THE PRESENCE OF CHROMIUM IN EXCESS
OF THE DRINKING WATER STANDARD (0.05 MG/L). IN 1988, CHROMIUM CONCENTRATIONS IN WELL CWP-8
EXCEEDED THE DRINKING WATER STANDARD TWICE. OTHER OBSERVATIONS SHOWED CHROMIUM CONCENTRATIONS
AT OR BELOW THE DETECTION LIMIT OF 0.01 MG/L. THE MOST RECENT DATA, FOR JUNE AND JULY 1989, SHOW
LESS THAN 0.02 MG/L CHROMIUM CONCENTRATION IN WELL CWP-8. IN 1988, CHROMIUM CONCENTRATIONS IN
WELL CWP-8 RANGED FROM LESS THAN 0.02 TO 0.05 MG/L. EIGHT OBSERVATIONS SHOWED LESS THAN 0.02
              Case 1:96-cv-06055-AWI-SAB
MG/L CHROMIUM CONCENTRATIONS.                  Document
                               EXCEPT IN JANUARY          73 0.04
                                                 1989, WHERE  Filed  03/01/18
                                                                  MG/1  CHROMIUMPage  184 of 708
                                                                                 WAS DETECTED,
ALL OTHER DATA FOR 1989 SHOW LESS THAN 0.01 MG/1 CHROMIUM CONCENTRATION IN WELL AT-2. WELL AT-2
IS COMPLETED ENTIRELY WITHIN ZONE 1; HOWEVER, OTHER ZONE 1 MONITORING WELLS DOWNGRADIENT OF WELL
AT-2 HAVE NOT SHOWN THE PRESENCE OF CHROMIUM. ALSO, ZONE 1 IN THE VICINITY OF WELL AT-2 DOES
NOT CONTAIN DETECTABLE LEVELS OF CHROMIUM (GEOSYSTEM, JANUARY 1987).

TO DEMONSTRATE THE TREND OF DECREASING CHROMIUM CONCENTRATIONS WITH TIME, WATER QUALITY DATA
OBTAINED FROM WELLS CWP-6, FPT-3, AND AT-I HAVE BEEN PLOTTED IN FIGURES 15, 16, AND 17,
RESPECTIVELY. THE REDUCTION IN CONCENTRATION IS MORE EVIDENT IN OFF-SITE WELLS FPT-3 AND AT-I
AS COMPARED WITH ON-SITE WELL CWP-6. THE DECLINE IN CHROMIUM CONCENTRATION WITH TIME IN WELL
CWP-8, ON A SEMILOGARITHMIC BASIS, IS SHOWN IN FIGURE 18. THE AREA NEAR WELL CWP-8 IS ASSUMED
TO BE THE POTENTIAL SOURCE OF CHROMIUM TO OFF-SITE AREAS, SINCE IT IS TO THE EAST OF THE SLURRY
WALL AND NOT CONTAINED BY ON-SITE REMEDIATION EFFORTS. THE WATER QUALITY DATA FOR WELL CWP-6
(FIGURE 15) SHOW A CONSIDERABLE REDUCTION IN CHROMIUM CONCENTRATIONS FROM OVER 120 MG/L IN 1981
TO ABOUT 50 MG/L IN JUNE 1985. SINCE 1985, CHROMIUM CONCENTRATIONS HAVE VARIED SOMEWHAT;
HOWEVER, THE OVERALL CONCENTRATIONS HAVE NOT CHANGED SIGNIFICANTLY. SIMILAR REDUCTIONS IN
CHROMIUM CONCENTRATIONS CAN BE OBSERVED IN FIGURES 16 AND 17 FOR WELLS FPT-3 AND AT-2,
RESPECTIVELY. THE CHROMIUM CONCENTRATIONS IN WELLS FPT-3 AND AT-I GENERALLY DEMONSTRATE A
STEADY DECLINE IN CHROMIUM CONCENTRATIONS. THE CHROMIUM CONCENTRATION IN WELL FPT-3 HAS BEEN
BELOW THE DRINKING WATER STANDARD OF 0.05 MG/L SINCE FEBRUARY 1986. ALSO, THE MOST RECENT WATER
QUALITY DATA FOR WELL AT-2 (TABLE B-2 OF APPENDIX B) INDICATE THE CONCENTRATION OF CHROMIUM IS
GENERALLY BELOW THE DETECTION LIMIT OF 0.02 MG/1. THE TRENDS IN CHROMIUM CONCENTRATIONS IN
OFF-SITE AREAS ARE DISCUSSED FURTHER IN SECTION 6.0, WHICH ADDRESSES MIGRATION PATHWAYS AND RISK
ASSESSMENT.

4.6 INDICATOR PARAMETERS

SITE CHARACTERIZATION STUDIES HAVE SHOWN THE PRESENCE OF CHROMIUM, COPPER, AND ARSENIC IN SOIL
AND THE PRESENCE OF CHROMIUM IN GROUND WATER. THESE COMPOUNDS, THEREFORE, ARE CONSIDERED TO BE
INDICATOR PARAMETERS FOR USE IN FURTHER SITE CHARACTERIZATION STUDIES AND POSSIBLE SOIL
REMEDIATION ACTIVITIES. FOR MONITORING AND GROUND WATER REMEDIATION, HOWEVER, DISSOLVED TOTAL
CHROMIUM AND CR(VI) ARE CONSIDERED TO BE THE MOST RELEVANT INDICATOR PARAMETERS. THE RATIONALE
FOR THIS SELECTION IS THAT CHROMIUM COMPOUNDS, PARTICULARLY CR(VI), ARE MORE SOLUBLE AND MORE
MOBILE IN THE SUBSURFACE ENVIRONMENT THAN ARSENIC AND COPPER COMPOUNDS. IN ADDITION, PREVIOUS
MONITORING EFFORTS HAVE NOT DETECTED COPPER OR ARSENIC IN GROUND WATER.

4.7 GEOCHEMICAL PROPERTIES

TO EVALUATE THE MIGRATION RATE AND LEACHING CHARACTERISTICS OF CHROMIUM, A NUMBER OF GEOCHEMICAL
TESTS WERE PERFORMED. THESE TESTS INCLUDED CHEMICAL ANALYSES FOR TOTAL CHROMIUM, CR (VI),
ORGANIC MATTER, WASTE EXTRACTION TESTS (WET), BATCH SORPTION TESTS, AND COLUMN DESORPTION TESTS.
DETAILED DESCRIPTIONS OF THESE TESTS AND TEST RESULTS HAVE BEEN SUBMITTED PREVIOUSLY (IT
CORPORATION, JUNE 1985); HOWEVER, THE FINDINGS OF THESE STUDIES, PERTINENT TO THE RAP, ARE
SUMMARIZED BELOW.

4.7.1   SOIL SAMPLE ANALYSES

NINE SOIL SAMPLES WERE SELECTED FOR ANALYSES TO DETERMINE THE RELATIVE CONCENTRATIONS OF TOTAL
CHROMIUM AND CR(VI). THE RESULTS ARE PRESENTED IN TABLE D-5 OF APPENDIX D. THE DATA SHOW THAT
THE CONCENTRATIONS OF CR(VI) IN THE SAMPLES ANALYZED ARE GENERALLY LESS THAN 10 PERCENT OF THE
TOTAL CHROMIUM CONTENT. FROM THE DATA IT CAN BE CONCLUDED THAT MOST OF THE CHROMIUM PRESENT IN
THE SOIL IS NOT IN HEXAVALENT FORM. PREVIOUS STUDIES HAVE SHOWN THAT THE TRIVALENT FORMS OF
CHROMIUM UNDER NEUTRAL CONDITIONS ARE LESS SOLUBLE AND MORE SUBJECT TO ADSORPTION. CR(III) IS,
THUS, LESS SUSCEPTIBLE TO DISSOLUTION AND IS LESS MOBILE.

THE ORGANIC CONTENT OF THE SOIL SAMPLES, REPORTED IN TABLE D-5 OF APPENDIX D, VARIED FROM LESS
THAN 0.1 TO 0.86 PERCENT. ALTHOUGH THE ORGANIC CONTENT OF THE SOIL MAY NOT BE DIRECTLY
RESPONSIBLE FOR ADSORPTION OF CR(VI), IT MAY REDUCE CR(VI) TO CR(III) (STOLLENWERK AND GROVE,
1985; JAMES AND BARTLETT, 1983). BECAUSE OF THE COMPLEXITY OF THE GEOCHEMICAL REACTIONS, THE
OVERALL EFFECT OF ORGANIC MATTER ON THE REDUCTION OF CR(VI) TO CR(III) CANNOT BE ASSESSED.

4.7.2   WASTE EXTRACTION TESTS
TO EVALUATE THE LEACHING CHARACTERISTICS OF THE CONTAMINATED SOIL WITH RESPECT TO DISSOLVED
              Case
TOTAL CHROMIUM,     1:96-cv-06055-AWI-SAB
                WASTE                          Document
                      EXTRACTION TESTS (WETS) WERE        73 ACCORDING
                                                   PERFORMED  Filed 03/01/18   Page 185 ISSUED
                                                                       TO THE GUIDELINES of 708
BY THE DHS (JANUARY 1984). THE RATIONALE FOR PERFORMING THE TESTS FOR TOTAL CHROMIUM WAS THAT IT
HAS BEEN SHOWN THAT A LARGE PERCENTAGE OF THE CHROMIUM IN THE SOIL IS IN TRIVALENT FORM. THE
WET RESULTS ARE PRESENTED IN TABLE D.6 OF APPENDIX D. THE RESULTS SHOW THAT ACCORDING TO
EXISTING CRITERIA THE SOIL IS NOT CONSIDERED A HAZARDOUS WASTE. ALTHOUGH THE WET RESULTS DO NOT
PROVIDE ANY INFORMATION ON THE LONG-TERM LEACHABILITY OF CR (VI), THE TEST WAS DESIGNED TO
EVALUATE THE LEACHING CHARACTERISTICS OF TOTAL CHROMIUM IN SOIL UNDER AGGRESSIVE ACIDIC
CONDITIONS. THE LONG-TERM LEACHING BEHAVIOR OF CR(VI) COULD BE ASSESSED IF SUFFICIENT FIELD
DATA WERE AVAILABLE. AT THIS TIME, HOWEVER, THE COLLECTION AND EVALUATION OF SUCH DATA, UNDER
PARTIALLY SATURATED FLOW CONDITIONS AND IN HETEROGENEOUS SOILS, IS STILL IN THE RESEARCH STAGE.

4.7.3 SORPTION TESTS

TO EVALUATE THE MIGRATION CHARACTERISTICS OF CR(VI) IN GROUND WATER, BATCH SORPTION TESTS WERE
PERFORMED ON UNCONTAMINATED SOIL SAMPLES. THE TESTS WERE PERFORMED ON TWO SAMPLES; ONE
REPRESENTING THE SILTY CLAY MATERIAL OF ZONE 1 AND THE OTHER THE SAND AND GRAVEL OF ZONE 2. THE
TESTS WERE PERFORMED FOR TWO INITIAL CONCENTRATIONS OF 1 AND 10 MG/L. THE RESULTS DEMONSTRATED
THAT THE DISTRIBUTION COEFFICIENT (KD) VARIES FROM 0.65 TO 2.98 ML/G AND THE CORRESPONDING
RETARDATION FACTORS (R) RANGE FROM 4.9 TO 12.4. THE RETARDATION FACTOR OF 4.9 REPRESENTS THE
MINIMUM CALCULATED VALUE FOR THE SAND AND GRAVEL LAYER.

THE RESULTS OF BATCH SORPTION TESTS DEMONSTRATE THAT ADSORPTION ON THE SOIL MATRIX CAN OCCUR,
RETARDING THE MIGRATION OF CR(VI). EVEN THOUGH ALL THE ADSORPTION MECHANISMS AND THEIR RELATIVE
CONTRIBUTIONS ARE NOT KNOWN, THE RESULTS OF PREVIOUS STUDIES (STOLLENWERK AND GROVE, 1985)
SUPPORT THE CONCLUSION THAT ADSORPTION OF CR(VI) ON ALLUVIAL MATERIALS IS LIKELY. THIS IS
PARTICULARLY TRUE FOR SOILS CONTAINING HIGH CONCENTRATIONS OF IRON OXIDES. THE RESULTS OF THE
SORPTION TESTS HAVE BEEN UTILIZED IN EVALUATING THE MIGRATION BEHAVIOR OF CHROMIUM (SECTION
6.0).

4.7.4   DESORPTION TESTS

DESORPTION TESTS HAVE BEEN PERFORMED TO EVALUATE THE BEHAVIOR OF CR(VI) IN THE PORE FLUID AS
NONCONTAMINATED WATER FLOWS THROUGH CONTAMINATED SOIL. TWO SOIL SAMPLES, ONE CLASSIFIED AS
SANDY GRAVEL AND THE OTHER AS CLAYEY SILT, WERE USED FOR THE DESORPTION STUDIES. SOLUTIONS OF
SODIUM CHROMATE WERE FIRST USED TO CONTAMINATE THE SOIL SAMPLES. THE INITIAL CONCENTRATION OF
THE INFLUENT TO THE SOIL COLUMNS WAS 10 MG/L. HOWEVER, SINCE ACHIEVING STEADY STATE CONDITIONS
APPEARED TO BE VERY SLOW, THE INFLUENT CONCENTRATIONS WERE INCREASED TO 190 MG/L. THE RESULT OF
THE CONTAMINATION PHASE OF THE DESORPTION TESTS SHOWED THAT MORE THAN 70 PORE VOLUMES WERE
REQUIRED TO ACHIEVE STEADY STATE CONDITIONS. THIS MAY BE AN INDICATION THAT THE SOILS EXHIBIT A
CONSIDERABLE ADSORPTIVE CAPACITY FOR CR(VI). LIMITED DATA ON THE IRON CONTENT OF THE SOILS
UNDERLYING THE SITE INDICATED THE PRESENCE OF ABOUT 23,500 MG/KG OF IRON. OXIDES AND HYDROXIDES
OF IRON MAY CONTRIBUTE TO THE ADSORPTION OF CR(VI) (STOLLENWERK AND GROVE, 1985; JAMES AND
BARTLETT, 1983).

THE DESORPTION PHASE WAS CONDUCTED BY REPLACING THE INFLUENT SOLUTION WITH DISTILLED WATER. THE
DATA SHOWED THAT ABOUT 10 PORE VOLUMES WERE REQUIRED TO REDUCE THE EFFLUENT CONCENTRATION OF
CR(VI) FROM APPROXIMATELY 185 MG/L TO ABOUT 0.1 MG/L. THE RESULTS ALSO SHOWED THAT, IN THE LOW
CONCENTRATION RANGE, THE RATE OF REDUCTION IN CONCENTRATION WAS VERY SLOW. HOWEVER, IT SHOULD
BE NOTED THAT DESORPTION PER SE IS NOT A SLOW PROCESS.

IT SHOULD ALSO BE POINTED OUT THAT THE SORPTION AND DESORPTION STUDIES WERE CONDUCTED USING
DISTILLED WATER AS A SOLVENT. THIS MAY AFFECT THE SORPTION/DESORPTION CHARACTERISTICS AS
COMPARED TO THE ACTUAL FIELD CONDITIONS WHERE THE GROUND WATER CONTAINS A NUMBER OF OTHER
CHEMICAL COMPOUNDS. FOR INSTANCE, THE ADSORPTION OF CR(VI) IN THE PRESENCE OF OTHER SALTS MAY
BE REDUCED (STOLLENWERK AND GROVE, 1985) AND THE DESORPTION MAY BE ENHANCED. HOWEVER, THE
LABORATORY DATA USING DISTILLED WATER ARE CONSIDERED TO HAVE GENERATED USEFUL INFORMATION UNDER
HIGHLY CONTROLLED CONDITIONS. SINCE, THE GROUND WATER CHARACTERISTICS VARY WITH TIME UNDER
ACTUAL FIELD CONDITIONS, IT APPEARS THAT THE LONG TERM GEOCHEMICAL BEHAVIOR CAN BEST BE
EVALUATED BY STUDYING FIELD DATA. THE ADVANTAGE OF THIS APPROACH IS THAT ANY OBSERVATIONS
REFLECT THE AGGREGATE EFFECT OF ALL HYDROGEOLOGIC AND GEOCHEMICAL PROCESSES OCCURRING IN THE
FIELD.
THE GROUND WATER LEVEL FLUCTUATIONS AND WATER QUALITY DATA HAVE BEEN REVIEWED TO ASSESS POSSIBLE
              Case GROUND
CORRELATION BETWEEN 1:96-cv-06055-AWI-SAB      Document
                           WATER LEVEL AND CHROMIUM       73 Filed 03/01/18
                                                    CONCENTRATIONS.            Page 186
                                                                     ALTHOUGH CERTAIN    of 708
                                                                                      WELLS
EXHIBITED A DISCERNABLE TREND OF INCREASING CHROMIUM CONCENTRATIONS WITH RISING GROUND WATER
LEVELS, THE MAJORITY OF THE DATA DO NOT SUGGEST A RELATIONSHIP BETWEEN THE TWO FACTORS. THE
COLUMN DESORPTION TEST DATA HAVE BEEN USED TO ESTIMATE THE DURATION OF AQUIFER CLEANUP IN TERMS
OF PORE WATER VOLUMES EXTRACTED AS DISCUSSED IN SECTION 7.0.

#IRM
5.0 INTERIM REMEDIAL MEASURES

SINCE THE INITIATION OF INVESTIGATIONS AT THE CWP SITE, A NUMBER OF IMPROVEMENTS HAVE BEEN MADE
TO THE FACILITIES AND SEVERAL INTERIM REMEDIAL MEASURES HAVE BEEN IMPLEMENTED. OVERALL
IMPROVEMENTS TO THE CWP FACILITY INCLUDE EXTENSION OF THE AREA COVERED BY SURFACE PAVING,
ERECTION OF CANOPIES OVER THE WOOD TREATMENT AREA, AND CONSTRUCTION OF BERMS TO DIVERT AND
CONTROL SURFACE RUNOFF FROM TREATED WOOD STORAGE AREAS. SPECIFIC REMEDIAL MEASURES INCLUDE
CONSTRUCTION OF A SLURRY CUTOFF WALL, INSTALLATION OF A GROUND WATER EXTRACTION TRENCH
UPGRADIENT OF THE CUTOFF WALL, AND INSTALLATION OF A GROUND WATER EXTRACTION WELL NEAR THE
RETORT AREA. EACH OF THESE MEASURES IS DESCRIBED IN THE FOLLOWING SECTIONS.

5.1 GENERAL FACILITY IMPROVEMENTS

IN RESPONSE TO RWQCB REQUESTS AND ON A VOLUNTARY BASIS, OVER THE PAST SEVERAL YEARS, CWP HAS
IMPLEMENTED A NUMBER OF MEASURES TO REDUCE AND CONTROL SURFACE RUNOFF AND ELIMINATE THE SOURCE
OF CHROMIUM TO SOIL AND GROUND WATER. THESE MEASURES HAVE INCLUDED GRADING AND CONSTRUCTION OF
BERMS TO PREVENT SURFACE RUNOFF FROM THE RETORT AND TREATED WOOD STORAGE AREAS, SURFACE PAVING,
AND THE CONSTRUCTION OF ROOFS OVER THE RETORT AREA. SURFACE GRADING AND BERM CONSTRUCTION WAS
PERFORMED IN 1981 AND FOCUSED PRIMARILY ON THE RETORT AREA AND AREAS USED TO STORE TREATED WOOD.
THE LOCATIONS OF THE BERMS ARE SHOWN IN FIGURE 2.

THE ASPHALT PAVING WAS EXTENDED TO THE NORTHERN AND SOUTHERN PORTIONS OF THE SITE IN 1979 AND
1981, RESPECTIVELY. THE AREAL EXTENT OF THE SURFACE PAVING IS SHOWN IN FIGURE 2. WITH THE
EXCEPTION OF THE NARROW STRIP TO THE EAST OF THE SLURRY WALL, THE REMAINING UNPAVED AREAS, AS
DEFINED IN FIGURE 2, WILL BE PAVED. THE PAVING SERVES TO REDUCE THE AMOUNT OF WATER SEEPING
INTO THE SOIL AND POSSIBLY LEACHING CHROMIUM INTO GROUND WATER IN AREAS OF ELEVATED CHROMIUM
CONCENTRATION. IN ADDITION, THE PAVING REDUCES THE LIKELIHOOD OF SPILLED WOOD PRESERVATIVES AND
DRIPPINGS FROM TREATED WOOD DIRECTLY INFILTRATING THE SOIL. FORKLIFTS AND OTHER EQUIPMENT USED
TO HANDLE TREATED WOOD ARE REQUIRED TO REMAIN IN CERTAIN AREAS TO AVOID TRACKING OF WOOD
PRESERVING CHEMICALS TO AREAS WHERE SURFACE RUNOFF IS NOT CONTROLLED.

THREE LARGE ROOFS OR CANOPIES WERE   ERECTED IN 1985 OVER THE RETORT AND ADJACENT AREA, AS SHOWN
IN FIGURE 2. THESE COVERS PREVENT    PRECIPITATION FROM FALLING DIRECTLY ONTO SURFACES WHERE WOOD
PRESERVING CHEMICAL DRIPPINGS FROM   TREATED WOOD MAY BE PRESENT. THE CLEAN RAIN WATER RUNNING
OFF THESE ROOFS EVENTUALLY REPORTS   TO SURFACE DRAINAGE DITCHES AROUND THE CWP FACILITY.

IT WAS OBSERVED THAT THE CONCRETE UTILITY BOX AROUND WELL CWP-10, LOCATED NEAR THE RETORT AREA,
BECAME FILLED WITH WATER DURING HEAVY PRECIPITATION AT THE SITE. SAMPLES OF WATER FROM THE
UTILITY BOX WERE COLLECTED AND ANALYZED. THE RESULTS INDICATED HIGH CHROMIUM CONCENTRATIONS.
GROUND WATER SAMPLES FROM WELL CWP-10 HAD ALSO INDICATED A SUDDEN INCREASE IN CHROMIUM
CONCENTRATIONS, FROM NONDETECTED TO RELATIVELY HIGH CONCENTRATIONS (APPENDIX B). IT WAS
CONCLUDED THAT WELL CWP-10 WAS CONDUCTING CHROMIUM-CONTAINING SURFACE RUNOFF TO GROUND WATER.
WELL CWP-10 WAS SUBSEQUENTLY ABANDONED BY GROUTING.

5.1.1 SLURRY WALL AND EXTRACTION TRENCH

IN OCTOBER 1983, CWP CONSTRUCTED A SLURRY CUTOFF WALL ALONG THE EASTERN SITE BOUNDARY. THE
SLURRY WALL IS REPORTEDLY ABOUT 300 FEET LONG AND 20 FEET DEEP. CWP ALSO INSTALLED A GROUND
WATER EXTRACTION TRENCH IMMEDIATELY TO THE WEST, HYDRAULICALLY UPGRADIENT OF THE SLURRY WALL.
THE EXTRACTION TRENCH IS APPROXIMATELY 15 FEET-LONG, 18 FEET DEEP, AND 2 FEET WIDE. THE TRENCH
IS GRAVEL-FILLED AND A 12-INCH DIAMETER EXTRACTION WELL, WELL HL-7, IS LOCATED APPROXIMATELY AT
THE MID-POINT OF THE TRENCH. THE WELL CASING IS PERFORATED FROM 9 TO 19 FEET BELOW GRADE AND IS
EQUIPPED WITH A PERMANENT, ELECTRIC SUBMERSIBLE PUMP. GROUND WATER EXTRACTED FROM THE TRENCH
VIA WELL HL-7 IS USED DIRECTLY IN CWP'S WOOD PRESERVING OPERATIONS OR TRANSFERRED TO THE
RECYCLED WATER TANK FOR SUBSEQUENT USE.
THE SLURRY WALL IS INTENDED TO INTERCEPT THE PLUME OF DISSOLVED CHROMIUM ORIGINATING NEAR THE
              Case
RETORT AREA AND     1:96-cv-06055-AWI-SAB
                MIGRATING                      Document
                          TO THE SOUTHWEST IN THE         73OF Filed
                                                  DIRECTION    GROUND03/01/18   Page
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                                                                                   THE   of 708
                                                                                       SLURRY
WALL LOCATION AND CONFIGURATION WAS BASED ON THE KNOWN CHROMIUM PLUME AT THE TIME. THE
EXTRACTION TRENCH AND WELL HL-7 ARE INTENDED TO REMOVE GROUND WATER IMPOUNDED BEHIND THE SLURRY
WALL TO PREVENT FLOW AROUND THE NORTHERN AND SOUTHERN ENDS OF THE WALL. IT SHOULD BE NOTED THAT
THE SLURRY WALL AND THE TRENCH WERE CONSTRUCTED BY CWP WITHOUT THE APPROVAL OF THE RWQCB AND
WITHOUT PROFESSIONAL SUPERVISION.

5.2.1   RECYCLING/TREATMENT OF EXTRACTED GROUND WATER

IN THE DRIER SUMMER MONTHS, EXTRACTED GROUND WATER IS RECYCLED DIRECTLY INTO CWP'S WOOD
PRESERVING OPERATIONS. IN THE WETTER WINTER MONTHS, WHEN A HIGHER RATE OF GROUND WATER
EXTRACTION CAN BE ACHIEVED FROM WELL HL-7, THE EXTRACTED WATER THAT CANNOT BE UTILIZED IN CWP'S
OPERATIONS COULD BE TREATED AND DISCHARGED, PROVIDED THE APPROPRIATE PERMITS ARE OBTAINED.
GROUND WATER CAN BE TREATED USING THE EXISTING ELECTROCHEMICAL EQUIPMENT AT THE SITE. THE
ELECTROCHEMICAL TREATMENT PROCESS PRODUCES EFFLUENT CONTAINING LESS THAN 0.05 MG/L OF DISSOLVED
TOTAL CHROMIUM. THE OPERATION DETAILS OF THE ELECTROCHEMICAL UNIT ARE PROVIDED IN SECTION
7.2.4.

5.2.2   TREATED GROUND WATER DISPOSAL

AS MENTIONED ABOVE, EXCESS EXTRACTED GROUND WATER THAT CANNOT BE RECYCLED INTO WOOD PRESERVING
OPERATIONS CAN BE TREATED BY ELECTROCHEMICAL PROCESS EQUIPMENT. CWP HAD PLANNED TO REINJECT THE
TREATED GROUND WATER INTO THE WATER-BEARING ZONE VIA AN INJECTION WELL, WELL CWP-19, LOCATED TO
THE WEST (HYDRAULICALLY UPGRADIENT) OF THE RETORT AREA.

WELL CWP-19 WAS INSTALLED IN AUGUST 1985 IN AN OPEN TRENCH (IT CORPORATION, SEPTEMBER 1985).
THE TRENCH WAS EXCAVATED USING A BACKHOE AND IS 25 FEET LONG, 2.5 FEET WIDE, AND 14 FEET DEEP.
AN 8-INCH DIAMETER, FLUSH-THREADED WELL CASING WAS THEN INSTALLED APPROXIMATELY IN THE CENTER OF
THE TRENCH. THE WELL CASING IS PERFORATED FROM 6 TO 24 FEET BELOW GRADE. THE TRENCH WAS THEN
BACKFILLED WITH WASHED PEA GRAVEL AND A SURFACE SEAL OF 5 FEET OF IMPORTED, MEDIUM-TEXTURED SOIL
WAS PLACED AND COMPACTED.

ACCORDING TO CWP, INJECTION WELL CWP-19 HAS NOT BEEN EFFECTIVE IN ACCEPTING LARGE VOLUMES OF
TREATED WATER, PARTICULARLY DURING THE WET, WINTER MONTHS WHEN GROUND WATER LEVELS ARE HIGH.
THIS IS OF CONCERN AS THE VOLUME OF GROUND WATER EXTRACTED FROM WELLS CWP-18 AND HL-7 IS HIGHEST
DURING THE WINTER MONTHS AND, CONSEQUENTLY, THE VOLUME OF WATER TO BE DISPOSED IS ALSO HIGHEST.
AFTER EVALUATING THIS METHOD OF DISPOSAL OF TREATED GROUND WATER, INJECTION WAS JUDGED TO BE
INAPPROPRIATE DURING THE WINTER MONTHS AND HIGH GROUND WATER LEVEL CONDITIONS. UNDER SUCH
CONDITIONS, DISCHARGE IN THE UKIAH SANITARY SEWER SYSTEM SEEMS APPROPRIATE. DURING SUMMER
MONTHS, HOWEVER, INJECTION INTO WELL CWP-19 MAY BE A FEASIBLE ALTERNATIVE, IF RECYCLING IS NOT
POSSIBLE OR NEEDED.

5.2.3   OBSERVATION WELLS CWP-20 AND CWP-21

ON AUGUST 30, 1985, OBSERVATION WELLS CWP-20 AND CWP-21 WERE INSTALLED AT THE NORTHERN AND
SOUTHERN ENDS, RESPECTIVELY, OF THE SLURRY CUTOFF WALL. THE LOCATIONS OF THESE WELLS ARE SHOWN
IN FIGURE 2. THE PURPOSE OF THESE WELLS WAS TO ENABLE AN ASSESSMENT OF THE EFFECTIVENESS OF
EXTRACTION FROM WELL HL-7 AND THE INTEGRITY OF THE SLURRY WALL.

WELLS CWP-20 AND CWP-21 WERE INSTALLED IN 8-INCH DIAMETER BORINGS DRILLED TO 23 AND 22 FEET,
RESPECTIVELY. BOTH WELLS WERE COMPLETED WITH 2-INCH DIAMETER, FLUSH-THREADED PVC WELL CASINGS
WITH 0.020-INCH, MACHINE-CUT SLOTS. WELL CWP-20 IS PERFORATED FROM 5 TO 23 FEET BELOW GRADE AND
WELL CWP-21 FROM 5 TO 20 FEET. SAND PACKS OF NO. 3 GRADE SILICA SAND WERE INSTALLED TO ABOUT
THE TOP OF THE PERFORATED INTERVAL. THE SCREENED ZONES WERE THEN SEALED WITH APPROXIMATELY 1 TO
1.3 FEET OF BENTONITE PELLETS AND GROUTED WITH CONCRETE UP TO THE GROUND SURFACE.

THE STRATIGRAPHY ENCOUNTERED DURING DRILLING INDICATES THAT NEITHER WELL INTERCEPTS THE MORE
PERMEABLE ZONE 2, ALTHOUGH WELL CWP-21 APPARENTLY INTERCEPTS A SUBSTANTIAL GRAVEL LAYER BETWEEN
7.5 AND 14 FEET DEPTH. WELLS CWP-20 AND CWP-21 WERE USED AS OBSERVATION WELLS DURING EVALUATIONS
OF THE EFFECTIVENESS OF THE SLURRY WALL AND EXTRACTION TRENCH.

5.2.4   PERFORMANCE EVALUATION
THE PERFORMANCE OF THE SLURRY WALL AND EXTRACTION TRENCH IN CONTAINING THE CHROMIUM PLUME AND
              Case
REMEDIATING THE     1:96-cv-06055-AWI-SAB
                GROUND WATER HAS BEEN ASSESSED Document   73 GROUND
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                                                                          QUALITY    188
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SERIES OF PUMPING TESTS.

GROUND WATER QUALITY DATA OBTAINED SINCE 1981 (TABLE B.2, APPENDIX B) DEMONSTRATE THAT THE
INSTALLATION OF THE SLURRY CUTOFF WALL AND EXTRACTION OF GROUND WATER FROM WELL HL-7 HAVE
RESULTED IN A REDUCTION IN CHROMIUM CONCENTRATIONS IN WELLS LOCATED HYDRAULICALLY DOWNGRADIENT
OF THE SLURRY WALL. THE IMPROVEMENT IN GROUND WATER QUALITY SUBSEQUENT TO 1983 HAS BEEN
DISCUSSED IN SECTION 4.5.3 THEREFORE, THESE INTERIM REMEDIAL MEASURES ARE BELIEVED TO HAVE BEEN
EFFECTIVE IN REDUCING OFF-SITE MIGRATION.

TWO PUMPING TESTS WERE PERFORMED TO EVALUATE THE EFFECTIVENESS OF EXTRACTION FROM WELL HL-7 IN
CONTAINING THE CHROMIUM PLUME AND TO ASSESS THE INTEGRITY OF THE SLURRY CUTOFF WALL. ONE TEST
WAS PERFORMED IN FEBRUARY 1986, AND THE OTHER IN JULY 1986 WHEN WATER LEVELS WERE LOW. THE
RESULTS OF THESE TESTS DEMONSTRATED THAT EXTRACTION FROM WELL HL-7 IS EFFECTIVE IN CONTAINING
THE PLUME NEAR THE SOUTHERN END OF THE SLURRY WALL WHERE WELL CWP-21 IS LOCATED. THE RESULTS
WERE NOT CONCLUSIVE IN DEMONSTRATING THAT HYDRAULIC CONTAINMENT OF THE PLUME IS ACHIEVED NEAR
THE NORTHERN END OF THE SLURRY WALL. HOWEVER, WATER QUALITY DATA INDICATE THAT THERE IS NO
PLUME MIGRATION IN THE ZONE INTERCEPTED BY WELL CWP-20 LOCATED AT THE NORTHERN END OF THE SLURRY
CUTOFF WALL.

THE DETAILS OF THE PUMPING TESTS HAVE BEEN PRESENTED IN TECHNICAL REPORTS (GEOSYSTEM, MARCH
1986; GEOSYSTEM, SEPTEMBER 1986), COPIES OF WHICH HAVE BEEN SUBMITTED TO THE APPROPRIATE
REGULATORY AGENCIES.

5.3 RETORT AREA RECOVERY WELL

ON AUGUST 29, 1985, A LARGE DIAMETER RECOVERY WELL, CWP-18, WAS INSTALLED IN THE RETORT AREA AT
THE LOCATION SHOWN IN FIGURE 2. ALTHOUGH THE INSTALLATION OF THIS WELL HAS BEEN PREVIOUSLY
REPORTED (IT CORPORATION, SEPTEMBER 25, 1985), A BRIEF DISCUSSION IS INCLUDED FOR COMPLETENESS.

WELL CWP-18 WAS INSTALLED IN A 36-INCH DIAMETER BORING, ADVANCED TO A TOTAL DEPTH OF 14 FEET AND
INTERCEPTING ONLY ZONE 1. AN 8-INCH DIAMETER, FLUSH-THREADED WELL CASING WAS INSTALLED. THE
CASING IS PERFORATED FROM 5 TO 14 FEET BELOW GRADE WITH 0.020-INCH, MACHINE CUT SLOTS. SAND
PACK OF NO. 3 GRADE SILICA SAND WAS INSTALLED UP 6 FEET BELOW GRADE AND SEALED WITH 200 LBS OF
0.25-INCH BENTONITE PELLETS EMPLACED. THE REMAINING ANNULAR SPACE WAS CONCRETED TO THE GROUND
SURFACE.

ON FEBRUARY 13, 1986, A SHORT DURATION PUMPING   TEST WAS CONDUCTED (GEOSYSTEM, MARCH 1986).
GROUND WATER LEVELS AT THE CWP SITE WERE AT OR   VERY NEAR THE SEASONAL HIGH AT THIS TIME OF YEAR.
WATER LEVELS WERE MEASURED IN THE PUMPING WELL   AND IN NEARBY MONITORING WELL CWP-6. THE
OBJECTIVE OF THIS PUMPING TEST WAS TO EVALUATE   THE MAXIMUM YIELD OF WELL CWP-18 AND TO ESTIMATE
THE HYDROGEOLOGIC CHARACTERISTICS OF ZONE 1 IN   THE RETORT AREA.

THE PUMPING TEST DEMONSTRATED THAT WELL CWP-18 CAN BE EFFECTIVE IN REMOVING HIGHLY CONTAMINATED
GROUND WATER FROM ZONE 1 IN THE RETORT AREA. EXTRACTION, HOWEVER, MUST BE AT A LOW, CONTINUOUS
RATE, ON THE ORDER OF 0.5 TO 2.0 GPM, OR BY INTERMITTENT PUMPING AT A HIGHER DISCHARGE RATE.
DURING THE DRY SEASON, WHEN GROUND WATER LEVELS IN ZONE 1 DROP SIGNIFICANTLY, WELL CWP-18 IS
EXPECTED TO BE LESS EFFECTIVE.

CWP-18 IS NOT EXPECTED TO CONTAIN THE PLUME IN THE DOWNGRADIENT DIRECTION. HOWEVER, THIS
PORTION OF THE PLUME SHOULD BE CAPTURED/CONTAINED BY EXTRACTION FROM WELL HL-7 AND THE SLURRY
WALL.

#RA
RISK ASSESSMENT

THE PURPOSE OF THIS ASSESSMENT IS TO IDENTIFY AND ASSESS THE POTENTIAL MIGRATION PATHWAYS AND
EXPOSURE MECHANISMS BY WHICH CONTAMINANTS IN SOIL AND GROUND WATER IN THE STUDY AREA MAY CAUSE
POSSIBLE HEALTH RISKS AND ADVERSE ENVIRONMENTAL IMPACTS. THE INFORMATION PRESENTED IN THIS
SECTION CORRESPONDS TO THE REQUIREMENTS OF SECTIONS 5 AND 6 OF THE RAP GUIDELINES.

SYSTEMATIC RISK ASSESSMENT INCLUDES SITE CHARACTERIZATION, HAZARD IDENTIFICATION, AND FATE
ANALYSIS. THE SITE HAS BEEN CHARACTERIZED BY A NUMBER OF INVESTIGATIONS, THE RESULTS OF WHICH
ARE SUMMARIZED Case  1:96-cv-06055-AWI-SAB
                IN SECTION                     Document
                           4.0. HAZARD IDENTIFICATION     73 FiledBY03/01/18
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CONTAMINANTS OR INDICATOR PARAMETERS AND, BASED ON AVAILABLE DATA, EVALUATING THE LEVEL OF
HAZARD TO HUMAN HEALTH AND THE ENVIRONMENT. CHROMIUM AND ARSENIC HAVE BEEN SELECTED AS THE
INDICATOR PARAMETERS BASED ON THEIR OCCURRENCE IN SOIL AND GROUND WATER, THEIR GEOCHEMICAL
BEHAVIOR, AND THEIR TOXICITY. ACCORDINGLY, THE RISK ASSESSMENT PRESENTED HEREIN HAS BEEN
PERFORMED FOR THESE COMPOUNDS. FATE ANALYSIS CONSIDERS MIGRATION PATHWAYS IN ORDER TO IDENTIFY
THE POTENTIAL EXPOSURE OF CONTAMINANTS TO RECEPTORS.

BASED ON THE ABOVE, THE RISK ASSESSMENT INCLUDES AN EVALUATION OF POTENTIAL MIGRATION PATHWAYS,
DOCUMENTATION OF TOXICITY, A DESCRIPTION OF THE POPULATION POTENTIALLY AT RISK, AN EXPOSURE
ASSESSMENT, AND A DESCRIPTION OF RISK CHARACTERISTICS. THE EMPHASIS IN THIS ASSESSMENT HAS BEEN
PLACED ON HEALTH RATHER THAN ECOLOGICAL IMPACTS. ALSO, BECAUSE OF CURRENT ZONING AND THE
EXPECTED INDUSTRIAL USE SUBSEQUENT TO SITE CLOSURE, THE RESULTS OF THE RISK ASSESSMENT ARE
BELIEVED TO BE APPLICABLE TO POST-CLOSURE CONDITIONS.

MIGRATION PATHWAYS

POTENTIAL MIGRATION PATHWAYS INCLUDE AIRBORNE PARTICULATE MATTER AND DIRECT EXPOSURE TO SOIL,
SURFACE WATER, AND GROUND WATER. EACH OF THESE PATHWAYS IS ADDRESSED BELOW.

6.1.1   MIGRATION THROUGH AIR

POTENTIAL SOURCES OF CHROMIUM, ARSENIC, AND COPPER IN THE AIR INCLUDE CONTAMINATED SOIL AND
CWP'S WOOD PRESERVING OPERATIONS. MONITORING OF AIR EMISSIONS FROM CWP'S WOOD PRESERVING
PROCESS HAS BEEN PERFORMED PERIODICALLY; HOWEVER EVALUATION OF THE RESULTING AIR QUALITY DATA IS
NOT WITHIN THE SCOPE OF THIS RAP.

CONTAMINATED SOIL EXPOSED TO THE ATMOSPHERE MAY DRY AND SOIL PARTICLES CAN ENTER THE ATMOSPHERE
AS DUST. THUS, CHROMIUM, ARSENIC, AND COPPER COULD BE CARRIED BY SOIL PARTICLES AND DISPERSED
INTO THE ATMOSPHERE ACCORDING TO THE PREVAILING CLIMATIC CONDITIONS. AS POINTED OUT IN SECTION
5.1, HOWEVER, ESSENTIALLY ALL AREAS WHERE NEAR-SURFACE SOILS ARE KNOWN TO CONTAIN ELEVATED
CONCENTRATIONS OF CHROMIUM, ARSENIC, AND COPPER HAVE BEEN PAVED. THEREFORE, THERE IS NOT
BELIEVED TO BE A SIGNIFICANT POTENTIAL FOR CHROMIUM, ARSENIC, AND COPPER FROM ON-SITE SURFACE
SOILS TO MIGRATE THROUGH AIR. SOILS WITH BACKGROUND CONCENTRATIONS OF CHROMIUM, ARSENIC, AND
COPPER IN THE STUDY AREA COULD INTRODUCE THESE CONSTITUENTS INTO THE ATMOSPHERE, BUT AT
INSIGNIFICANT LEVELS.

NO SITE-SPECIFIC BACKGROUND AIR QUALITY MONITORING DATA ARE AVAILABLE; HOWEVER, THE
CONCENTRATIONS OF TOTAL CHROMIUM MEASURED IN AMBIENT AIR IN MANY URBAN AND NON-URBAN AREAS OF
THE UNITED STATES, FROM 1977 TO 1980, HAVE BEEN DOCUMENTED (US EPA, AUGUST 1984). THE
CONCENTRATIONS RANGE FROM LESS THAN 0.0060 MG/M3 TO GREATER THAN 0.6000 MG/M3. THE MEAN CHROMIUM
CONCENTRATIONS IN NON-URBAN, BACKGROUND AREAS SUCH AS NATIONAL PARKS RANGED FROM 0.0052 MG/M3 TO
0.0090 MG/M3 OVER THE 1977 TO 1980 PERIOD. SELECTED DATA CONSIDERED TO BE REPRESENTATIVE OF THE
RANGE OF TOTAL CHROMIUM CONCENTRATIONS IN AIR, HAVE BEEN SUMMARIZED IN TABLE 8.

IN SUMMARY, UNDER NORMAL CONDITIONS, THERE IS NOT BELIEVED TO BE A SIGNIFICANT CONTRIBUTION OF
CHROMIUM, ARSENIC, AND COPPER TO THE ATMOSPHERE THROUGH THE RESIDUAL CONTAMINATED SOIL AT THE
SITE. EXCAVATION AND REMOVAL OR OTHER SOIL DISTURBANCE MAY, HOWEVER, PROVIDE A POTENTIAL AIR
PATHWAY. THIS PATHWAY WOULD REQUIRE A DETAILED EVALUATION IF EXCAVATION/REMOVAL WERE TO BE
SELECTED AS A REMEDIAL ALTERNATIVE OR IF SOME OTHER SOIL DISTURBANCE OCCURRED. THE EVALUATION
WOULD INCLUDE AIR MONITORING AND COMPARISON OF THE RESULTING DATA WITH BACKGROUND CONCENTRATIONS
FOR HAZARD DETERMINATION.

6.1.2   DIRECT EXPOSURE

THE MOST DIRECT PATHWAY FOR CHROMIUM, COPPER, AND ARSENIC TO IMPACT HUMAN HEALTH AND THE
ENVIRONMENT IS THROUGH CONTACT WITH CONTAMINATED SOIL. AS DESCRIBED IN SECTION 5.1, TEE AREAS
WHERE NEAR-SURFACE SOILS ARE KNOWN TO HAVE BEEN IMPACTED ARE PAVED WITH ASPHALT OR CONCRETE.
DIRECT EXPOSURE WOULD BE LIKELY ONLY IF THESE SOILS WERE EXCAVATED OR DISTURBED. THUS, SUCH
EXPOSURES WOULD MOST LIKELY OCCUR DURING THE CLOSURE OF THE PLANT AND THE SUBSEQUENT REMEDIATION
OF THE SITE.
ACCORDING TO TESTS PERFORMED ON SOIL SAMPLES COLLECTED IN THE STUDY AREA, THE BACKGROUND
CONCENTRATIONS Case  1:96-cv-06055-AWI-SAB
                OF CHROMIUM, ARSENIC, AND COPPERDocument   73 50,
                                                 ARE LESS THAN Filed 03/01/18
                                                                   14,          PageRESPECTIVELY
                                                                       AND 20 MG/KG, 190 of 708
(TABLE D-1, APPENDIX D). FOR COMPARISON, CHROMIUM CONCENTRATIONS IN SOILS AT SELECTED LOCATIONS
IN THE UNITED STATES ARE SUMMARIZED IN TABLE 9. THE CONCENTRATION OF CHROMIUM IN SOIL VARIES
ACCORDING TO ITS ORIGIN. COMPARING THE CHROMIUM CONCENTRATIONS OF SURFACE SOILS AT THE CWP SITE
WITH CONCENTRATIONS PRESENTED IN TABLE 9, SITE BACKGROUND CONCENTRATIONS ARE NEAR THE UPPER
BOUNDARY OF THE RANGE OF MEDIAN CONCENTRATIONS MEASURED AT THE SELECTED LOCATIONS.

6.1.3   MIGRATION THROUGH SURFACE WATER

POTENTIAL SURFACE WATER MIGRATION PATHWAYS INCLUDE SHEET FLOW OVER THE SITE AND CHANNEL FLOW IN
THE SURFACE DRAINS. RUNOFF FROM THE SITE IS COLLECTED IN UNLINED DITCHES AROUND THE PERIMETER
OF THE SITE. THE DITCHES EVENTUALLY DISCHARGE INTO THE RUSSIAN RIVER, ALSO THROUGH UNLINED
DITCHES. SURFACE RUNOFF FROM THE TREATED WOOD STORAGE AND RETORT AREAS IS COLLECTED IN A SUMP
AND RECYCLED INTO CWP'S WOOD PRESERVING OPERATIONS.

ACCORDING TO RWQCB STAFF, FLOW IN THE SURFACE DRAINS MAY BE CONTINUOUS DURING THE WINTER MONTHS
DUE TO THE INFLOW OF GROUND WATER. ALSO, DURING PERIODS OF HIGH PRECIPITATION, THE WATER LEVELS
IN THE DITCHES RISE TO NEAR THE SURROUNDING LAND SURFACE. OBSERVATIONS MADE BY CWP PERSONNEL
INDICATE THAT INTENSE PRECIPITATION RESULTS IN FLOW IN ALL SURFACE DRAINS SURROUNDING THE SITE.
DURING LIGHT RAINFALL, HOWEVER, STORM WATER RAPIDLY INFILTRATES INTO THE VALLEY FILL THROUGH THE
UNLINED DITCHES AND NO FLOW IS RECORDED AT STATION C-100 (FIGURE 2).

IN ACCORDANCE WITH RWQCB REQUIREMENTS, CWP PERSONNEL PERIODICALLY MONITOR STORM WATER QUALITY
DURING PRECIPITATION EVENTS OF SUFFICIENT INTENSITY AND DURATION TO CAUSE FLOW IN THE DITCHES
AROUND THE SITE. THE RESULTS OF STORM WATER QUALITY MONITORING ARE PRESENTED IN APPENDIX C. THE
HIGHEST RECORDED CONCENTRATIONS WERE 0.630 MG/L AND 0.790 MG/L FOR CR(VI) AND TOTAL CHROMIUM,
RESPECTIVELY, ON MARCH 13, 1984. RECENT STORM WATER QUALITY DATA HAVE INDICATED CHROMIUM
CONCENTRATIONS TO BE AT OR BELOW THE DRINKING WATER STANDARD OF 0.05 MG/L ON ALL BUT A FEW
OCCASIONS. RECENT STORM WATER MONITORING DATA FOR MONITORING STATIONS NE, NW, AND C-100 SHOW
THAT CONCENTRATIONS OF CHROMIUM AND ARSENIC WERE LESS THAN 0.02 AND 0.004 MG/L, RESPECTIVELY
WHICH DETECTION LIMITS FOR THE COMPOUNDS TESTED (GEOSYSTEM, APRIL 1989) A SUMMARY OF WATER
QUALITY CRITERIA IS PRESENTED IN TABLE 10.

6.1.4   MIGRATION THROUGH GROUND WATER

THE MOST PROBABLE PATHWAY FOR CHEMICAL MIGRATION FROM THE CWP SITE IS VIA GROUND WATER. THE
DATA REPRESENTING THE JANUARY 1988 (FIGURE 14) CONDITIONS INDICATE THAT ELEVATED CHROMIUM
CONCENTRATIONS ARE DETECTED PRIMARILY ON SITE, TO THE WEST AND HYDRAULICALLY UPGRADIENT OF THE
SLURRY CUTOFF WALL. THE ISOCONCENTRATION LINES REPRESENT THE AREAL EXTENT OF CHROMIUM
CONTAMINATION IN THE UPPERMOST WATER-BEARING ZONE, ZONE 1. BECAUSE OF THE SOUTHEASTERLY FLOW
DIRECTION, THE DISSOLVED CHROMIUM COMPOUNDS HAVE A TENDENCY TO MIGRATE IN THE SAME DIRECTION,
TOWARD THE SLURRY WALL. THE CONCENTRATIONS, HOWEVER, DECREASE WITH DISTANCE FROM THE RETORT
AREA.

THE RATE OF MIGRATION OF CHROMIUM IN ON-SITE AREAS DEPENDS PRIMARILY ON THE SEEPAGE VELOCITY OF
GROUND WATER AND SORPTION CHARACTERISTICS OF CHROMIUM. PREVIOUS ANALYSES (IT CORPORATION, JUNE
1985) HAVE INDICATED THAT THE MIGRATION RATE OF THE CHROMIUM FRONT AT THE SITE IS ABOUT 58 FEET
PER YEAR. IN THIS ESTIMATION, THE LOWEST RETARDATION FACTOR, REPRESENTING THE LOWEST
DISTRIBUTION COEFFICIENT, WAS USED TO PROVIDE A CONSERVATIVE ANALYSIS. A CONSERVATIVE ANALYSIS
IN THIS CASE IS ONE RESULTING IN LARGER MIGRATION RATES AND HIGHER DOWNGRADIENT CONCENTRATIONS.
THE ANALYSIS IS ALSO CONSERVATIVE BECAUSE GROUND WATER FLOW AND CHROMIUM TRANSPORT WERE ASSUMED
TO BE ONE-DIMENSIONAL. ALTHOUGH THE FLOW MAY BE UNIFORM AND REPRESENTED ONE-DIMENSIONALLY,
CHROMIUM TRANSPORT IS TWO-DIMENSIONAL.

HYDRAULIC AND GROUND WATER QUALITY DATA, OBTAINED FROM PUMPING TESTS AND REGULAR GROUND WATER
MONITORING, INDICATE THAT THE CHROMIUM FRONT IS INTERCEPTED BY THE SLURRY WALL. WATER IMPOUNDED
BEHIND THE SLURRY WALL IS THEN EXTRACTED VIA WELL HL-7. IT IS NOTED THAT WITHOUT SOME FORM OF
HYDRAULIC CONTROL, IN THIS CASE GROUND WATER EXTRACTION, IMPOUNDED WATER WOULD EVENTUALLY FLOW
AROUND AND BENEATH THE SLURRY WALL AND CHROMIUM WOULD CONTINUE TO MIGRATE IN THE DOWNGRADIENT
DIRECTION. CONSTRUCTION OF THE SLURRY WALL AND EXTRACTION FROM WELL HL-7 HAVE SUBSTANTIALLY
REDUCED DISSOLVED CHROMIUM CONCENTRATIONS IN OFF-SITE AREAS.
THE PRESENCE OF CHROMIUM IN OFF-SITE AREAS IS BELIEVED TO HAVE RESULTED PRIMARILY FROM MIGRATION
              Case 1:96-cv-06055-AWI-SAB
PRIOR TO CONSTRUCTION                          Document
                      OF THE SLURRY WALL IN OCTOBER 1983. 73  Filed
                                                           SINCE    03/01/18
                                                                 THEN,         Page 191 of
                                                                       THE CONCENTRATIONS OF708
CHROMIUM IN OFF-SITE WELLS HAVE GRADUALLY DECREASED, AS DISCUSSED IN SECTION 4.5.3. GROUND
WATER QUALITY DATA FROM OFF-SITE WELLS, OBTAINED IN JANUARY 1988, SHOW THAT CHROMIUM
CONCENTRATIONS WERE BELOW THE DRINKING WATER STANDARD OF 0.05 MG/L. ALTHOUGH CHROMIUM
CONCENTRATIONS IN WELL AT-2, LOCATED IN THE PEAR ORCHARD, HAVE OCCASIONALLY EXCEEDED THE
DRINKING WATER STANDARD, THE DATA REPRESENTING 1989 CONDITIONS SHOW LESS THAN 0.05 MG/L AND
GENERALLY LESS THAN THE DETECTION LIMIT OF 0.02 MG/L.

THE GROUND WATER QUALITY DATA INDICATE THAT BECAUSE OF THE OVERALL SITE IMPROVEMENTS AND THE
INTERIM REMEDIAL MEASURES IMPLEMENTED, OFF-SITE MIGRATION IS LIMITED. TO ADDRESS POTENTIAL
OFF-SITE MIGRATION FOR RISK ASSESSMENT PURPOSES, HOWEVER, A TWO-DIMENSIONAL AREAL MODEL HAS BEEN
USED. DETAILS OF THIS MODELING EFFORT ARE PRESENTED IN APPENDIX E. THE MODEL HAS BEEN USED TO
PREDICT THE DOWNGRADIENT DISTRIBUTION OF CHROMIUM UNDER UNIFORM FLOW CONDITIONS CONSIDERING
VARIOUS MANAGEMENT PRACTICES. THE MODEL RESULTS HAVE SHOWN THE FOLLOWING:

        •       OF THE PREDICTED CHROMIUM CONCENTRATIONS ARE   LESS THAN 0.05 MG/L AT A DISTANCE OF
                ABOUT 250 METERS (820 FEET) TO THE SOUTHEAST   OF THE SLURRY WALL. THIS DISTANCE
                CORRESPONDS APPROXIMATELY TO THE LOCATION OF   WELL AT-5. CHROMIUM HAS NOT BEEN
                DETECTED IN THIS WELL SINCE ITS INSTALLATION   IN DECEMBER 1986.

        •       THE PREDICTED CHROMIUM CONCENTRATIONS AT OTHER RECEPTORS BEYOND WELL AT-5 ARE BELOW
                THE DETECTION LIMIT OF 0.02 MG/L.

        •       AN INCREASE IN THE CHROMIUM CONCENTRATION IN THE ASSUMED SOURCE AREA (NEAR WELL
                CWP-8), TO ABOUT 1 MG/L FOR SHORT DURATIONS, WILL NOT RESULT IN CHROMIUM
                CONCENTRATIONS HIGHER THAN 0.05 MG/L AT THE NEAREST RECEPTOR.

THE MODEL RESULTS INDICATE THAT FLUCTUATIONS IN CHROMIUM CONCENTRATIONS IN THE ASSUMED SOURCE
AREA (PRIMARILY WELL CWP-8), WITHIN THE RANGE OBSERVED SINCE SLURRY WALL CONSTRUCTION, WILL NOT
RESULT IN CHROMIUM CONCENTRATIONS HIGHER THAN DRINKING WATER STANDARDS IN THE NEARBY RECEPTORS.
OFF-SITE CONTAMINATION IS LIKELY ONLY IF HIGH CHROMIUM CONCENTRATIONS ARE ALLOWED TO MIGRATE
BEYOND THE SLURRY WALL AND PERSIST FOR A LONG DURATION. HOWEVER, MODEL SIMULATIONS (APPENDIX E)
HAVE SHOWN THAT IF THE CONCENTRATIONS OF CHROMIUM AT WELL CWP-8 REMAIN AT ABOUT 1 MG/L FOR FOUR
YEARS, DOWNGRADIENT CONCENTRATION AT ABOUT 820 FEET FROM WELL CWP-8 MAY APPROACH 0.05 MG/L.

6.2   OCCURRENCE, INTAKE, AND TOXICITY CHARACTERISTICS OF CHROMIUM AND ARSENIC

CHROMIUM, COPPER, AND ARSENIC ARE ELEMENTS WHICH ARE FOUND NATURALLY IN FOOD, WATER, AND AIR.
EXPOSURE OF HUMAN BEINGS TO THESE ELEMENTS AT LEVELS WHICH EXCEED NATURAL CONCENTRATIONS MAY
LEAD TO ADVERSE HEALTH EFFECTS. BASED ON THE OCCURRENCE OF METALS AT THE SITE, THEIR
CONCENTRATIONS AND RELATIVE TOXICITY, THE SUBJECT EVALUATION PERTAINS ONLY TO CHROMIUM AND
ARSENIC. DETAILS RELATED TO THE OCCURRENCE, INTAKE MECHANISMS, AND TOXICITY CHARACTERISTICS OF
CHROMIUM AND ARSENIC ARE PRESENTED IN APPENDIX F.

6.3 PUBLIC HEALTH AND POPULATION DENSITY

THIS SECTION SUMMARIZES THE INFORMATION RELATED TO PUBLIC HEALTH PROTECTION GOALS AND POPULATION
POTENTIALLY AT RISK.

6.3.1       PUBLIC HEALTH PROTECTION STANDARDS

PUBLIC HEALTH PROTECTION GOALS ARE ESTABLISHED BY PUBLIC HEALTH AND REGULATORY AGENCIES.
RECOMMENDED OR ESTABLISHED STANDARDS FOR CHROMIUM IN THE UNITED STATES ARE SUMMARIZED IN TABLE
11. FOR PROTECTION OF HUMAN HEALTH FROM THE TOXIC PROPERTIES OF CR(III) INGESTED THROUGH WATER
AND CONTAMINATED AQUATIC ORGANISMS, THE AMBIENT WATER CRITERION HAS BEEN DETERMINED TO BE 170
UG/L. FOR PROTECTION OF HUMAN HEALTH FROM THE TOXIC PROPERTIES OF CR(III) INGESTED THROUGH
CONTAMINATED AQUATIC ORGANISMS ALONE, THE AMBIENT WATER CRITERION HAS BEEN DETERMINED TO BE
3,433 UG/L. THE AMBIENT WATER QUALITY CRITERION FOR TOTAL CR(VI) IS RECOMMENDED TO BE IDENTICAL
TO THE EXISTING DRINKING WATER STANDARD, WHICH IS 0.05 MG/L.

6.3.2       POPULATION POTENTIALLY AT RISK
USING POPULATION DENSITY STATISTICS (GREATER UKIAH CHAMBER OF COMMERCE,
              Case
   JUNE 1987) AND   1:96-cv-06055-AWI-SAB
                  THE                          DocumentBY73GEOSYSTEM
                      RESULTS OF A SURVEY AND INTERVIEWS      Filed 03/01/18   Page 192 of 708
   PERSONNEL, THE ESTIMATED NUMBER OF PEOPLE LIVING IN THE STUDY AREA
   WITHIN ONE-HALF MILE FROM THE SITE VARIES SEASONALLY FROM ABOUT 20 TO
   100. THIS POPULATION IS POTENTIALLY AT RISK IN RELATION TO SURFACE
   WATER AND GROUND WATER MIGRATION PATHWAYS. THE POPULATION DISTRIBUTION
   AROUND THE SITE IS ADDRESSED IN MORE DETAIL IN SECTION 3.2.4.

6.4 EXPOSE ASSESSMENT AND RISK CHARACTERIZATION

BASED ON THE EVALUATION OF POTENTIAL MIGRATION PATHWAYS AND THE POPULATION POTENTIALLY AT RISK,
AN EXPOSURE ASSESSMENT HAS BEEN PERFORMED AND THE RISK ASSOCIATED WITH THE EXPOSURE
CHARACTERIZED.

6.4.1    POTENTIAL EXPOSURE THROUGH AIR

WITH MAINTENANCE OF A CAP OR IMPLEMENTATION OF A PERMANENT SOIL REMEDY, THERE IS NO SIGNIFICANT
EXPOSURE TO CHROMIUM, ARSENIC, AND COPPER THROUGH AIR. SINCE THERE IS NO SIGNIFICANT EXPOSURE,
THE RISK OF ADVERSE HEALTH EFFECTS ASSOCIATED WITH MIGRATION OF CHROMIUM THROUGH AIR IS BELIEVED
TO BE INSIGNIFICANT.

6.4.2    POTENTIAL EXPOSURE THROUGH DIRECT CONTACT WITH SOIL

AS DESCRIBED IN SECTION 6.1.2, BECAUSE OF SURFACE PAVING OVER SOILS CONTAINING ELEVATED CHROMIUM
CONCENTRATIONS, THERE IS NO DIRECT EXPOSURE TO CONTAMINATED SOIL. THEREFORE, THERE IS NO RISK
OF ADVERSE HEALTH EFFECTS ASSOCIATED WITH THIS PATHWAY UNDER PRESENT CONDITIONS. HOWEVER,
DURING POST-CLOSURE SOIL REMEDIATION, POTENTIAL EXPOSURE IS LIKELY. SUCH EXPOSURE MUST BE
ADDRESSED BY IMPLEMENTATION OF AN APPROPRIATE HEALTH AND SAFETY PLAN.

6.4.3    POTENTIAL EXPOSURE THROUGH SURFACE WATER

STORM WATER RUNOFF ORIGINATING FROM THE SITE IS SUBJECT TO INFILTRATION AND DILUTION BY
DOWNSTREAM FLOWS. POTENTIAL EXPOSURE MECHANISMS, THEREFORE, INCLUDE EXPOSURE TO GROUND WATER
RECHARGED BY INFILTRATING SURFACE WATERS AND DIRECT EXPOSURE TO CONTAMINATED SURFACE WATER. THE
FIRST EXPOSURE MECHANISM IS BELIEVED TO BE INSIGNIFICANT BECAUSE OF THE INTERMITTENT NATURE OF
THE RUNOFF AND ATTENUATION OF CHROMIUM AND ARSENIC CONCENTRATIONS DURING DOWNWARD PERCOLATION.
THE SECOND EXPOSURE MECHANISM MUST CONSIDER THE IMPACT OF DILUTION ON CHROMIUM CONCENTRATIONS
WITHIN THE SURFACE DRAINAGE DITCHES.

SITE IMPROVEMENTS AND IMPLEMENTATION OF SURFACE RUNOFF CONTROL MEASURES HAVE REDUCED THE
CONCENTRATION OF CHROMIUM AT THE COMPLIANCE POINT (MONITORING STATION C-100) TO ACCEPTABLE
LEVELS (LESS THAN 0.05 MG/L). ADDITIONAL SURFACE WATER CONTROLS, IDENTIFIED IN SECTION 7.2.1,
SHALL BE IMPLEMENTED TO FURTHER REDUCE THE EXPOSURE THROUGH SURFACE WATER. THE MOST RECENT DATA
HAVE SHOWN LESS THAN 0.32 MG/L AND 0.004 MG/L CONCENTRATIONS FOR CHROMIUM AND ARSENIC,
RESPECTIVELY, AT STATION C-100. UNDER SUCH CIRCUMSTANCES, THE POTENTIAL EXPOSURE OF BIOLOGICAL
RECEPTORS IN DOWNSTREAM DITCHES AND STREAMS IS NEGLIGIBLE.

ALTHOUGH NO FLOW MEASUREMENTS HAVE BEEN MADE IN THE DITCHES DOWNSTREAM OF THE CWP SITE, BASED ON
FIELD OBSERVATIONS, AN APPROXIMATE DILUTION FACTOR CAN BE CALCULATED. ACCORDING TO CWP, THE
FLOW RATE AT MONITORING STATION C-100 IS TWICE THAT AT STATION NE DUE TO THE CONTRIBUTION FROM
OTHER CULVERTS AND STREAMS. AS SHOWN BELOW, A COMPARISON OF WATER QUALITY DATA BETWEEN THESE
TWO MONITORING STATIONS SUPPORTS THE ABOVE OBSERVATION.

        CHROMIUM CONCENTRATION (MG/1)

            DATE                        MONITORING    MONITORING
                                         STATION       STATION
                                           NE           C-100

            APRIL 6, 1986                 0.14           0.09
            MARCH 5, 1987                 0.06           0.03
THE ABOVE DATA SHOW THAT THE CHROMIUM CONCENTRATIONS AT MONITORING STATION C-100 ARE ABOUT 50
              Case
PERCENT OF THOSE    1:96-cv-06055-AWI-SAB
                 DETECTED AT MONITORING STATIONDocument   73 Filed
                                                NE. THE DISTANCE    03/01/18
                                                                  BETWEEN      Page 193
                                                                          MONITORING     of 708
                                                                                     STATIONS NE
AND C-100 IS ABOUT 550 FEET. IT IS EVIDENT THAT IF FLOW RATES INCREASE AT SUCH PROPORTIONS IN
THE DOWNSTREAM DIRECTION AND NO CHROMIUM IS INTRODUCED ALONG THE FLOW PATH, THE CHROMIUM
CONCENTRATION WILL NOT EXCEED 0.05 MG/L WITHIN A SHORT DISTANCE FROM MONITORING STATION C-100,
IF WASTE DISCHARGE REQUIREMENTS ARE OBSERVED. UNDER SUCH CONDITIONS, THE IMPACT OF CHROMIUM ON
DOWNSTREAM RECEPTORS WOULD BE INSIGNIFICANT. TO PROVIDE A MORE QUANTITATIVE ASSESSMENT OF RISK,
FLOW RATES MUST BE KNOWN TO ESTIMATE THE DILUTION FACTORS AND THE CONSEQUENT POTENTIAL IMPACT.

THE MINIMUM FLOW IN THE RUSSIAN RIVER IS MAINTAINED AT 150 CFS (DWR, MAY 1980) UNDER INTENSE
RAINFALL CONDITIONS, WHEN STORM WATER FLOWS TO THE RUSSIAN RIVER, THE VOLUME ORIGINATING FROM
THE SITE IS ASSUMED TO BE 1 PERCENT OF THE FLOW IN THE RIVER. WITH SUCH AN ASSUMPTION, A
DILUTION FACTOR OF 100 WOULD BE APPLICABLE FOR CALCULATING THE CHROMIUM CONCENTRATIONS IN THE
RIVER. THEREFORE, THE STORM WATER EVENTS, WITH HISTORICAL CONCENTRATIONS OF CHROMIUM, ARE NOT
LIKELY TO HAVE AN ADVERSE IMPACT ON SURFACE WATER QUALITY IN THE RUSSIAN RIVER. A MAXIMUM
CONCENTRATION OF 0.63 MG/L (APPENDIX C) AT THE SITE WOULD RESULT IN A CONCENTRATION OF 0.0064
MG/L IN THE RIVER. THUS, THE RISK ASSOCIATED WITH THIS POTENTIAL EXPOSURE IS INSIGNIFICANT.

6.4.4   POTENTIAL EXPOSURE THROUGH GROUND WATER

POTENTIAL EXPOSURE THROUGH GROUND WATER HAS BEEN EVALUATED CONSIDERING ON-SITE AND OFF-SITE
AREAS SEPARATELY. POTENTIAL EXPOSURE TO ON-SITE GROUND WATER WILL ONLY BE POSSIBLE DURING
MONITORING OR ACTIVITIES RELATED TO GROUND WATER EXTRACTION AND TREATMENT. THIS EXPOSURE
POTENTIAL MUST BE ELIMINATED BY FOLLOWING THE APPROPRIATE HEALTH AND SAFETY MEASURES AND OTHER
STANDARD PROCEDURES OUTLINED IN THIS RAP, THE STORM WATER/GROUND WATER MONITORING PROTOCOL, AND
OTHER PERTINENT DOCUMENTS. AS THERE ARE NO ON-SITE WELLS PRODUCING WATER FROM THE CONTAMINATED
ZONE, THERE IS NO EXPOSURE AND, THUS, NO RISK.

AS DESCRIBED IN SECTION 4.5.3, THE CURRENT UNDERSTANDING OF OFFSITE GROUND WATER QUALITY
CONDITIONS INDICATES THAT CR(VI) CONCENTRATIONS ARE BELOW THE DRINKING WATER STANDARD OF 0.05
MG/L. NO WATER-PRODUCING WELLS ARE KNOWN TO EXIST IN AREAS WHERE HISTORIC CHROMIUM
CONCENTRATIONS HAVE EXCEEDED THE 0.05 MG/L DRINKING WATER STANDARD. AT THE PRESENT TIME,
THEREFORE, THERE IS NOT BELIEVED TO BE A SIGNIFICANT POTENTIAL FOR EXPOSURE THROUGH THIS
MIGRATION PATHWAY THIS CONDITION IS EXPECTED TO PERSIST AS LONG AS ON-SITE EXTRACTION FROM WELL
HL-7 AND OTHER REMEDIATION MEASURES ARE IN EFFECT.

FAILURE TO CONTAIN THE CHROMIUM PLUME ON SITE COULD RESULT IN THE INTRODUCTION OF CHROMIUM TO
GROUND WATER IMMEDIATELY TO THE EAST (DOWNGRADIENT) OF THE SLURRY CUTOFF WALL. THE IMPACT ON
DOWNGRADIENT RECEPTORS WILL DEPEND ON THE CONCENTRATION AND PERSISTENCE OF THE SOURCE, AS
DEMONSTRATED BY THE TRANSPORT MODEL (APPENDIX E). FOR INSTANCE, AN INITIAL CONCENTRATION OF 1
MG/L IN GROUND WATER TO THE EAST OF THE SLURRY CUTOFF WALL, WITH A SOURCE REDUCTION RATE OF
0.0063 PER DAY, WOULD RESULT IN A CONCENTRATION OF LESS THAN 0.00068 MG/1 AT ABOUT 820 FEET FROM
THE SITE. THIS CONCENTRATION IS ABOUT TWO ORDERS OF MAGNITUDE LOWER THAN THE DRINKING WATER
STANDARD OF 0.05 MG/L. HOWEVER, PERSISTENCE OF THE 1 MG/L CONCENTRATION MAY RESULT IN GRADUAL
DEGRADATION OF WATER QUALITY IN DOWNGRADIENT AREAS. AS MENTIONED IN SECTION 6.1.4, PERSISTENCE
OF A 1 MG/L CHROMIUM CONCENTRATION FOR FOUR YEARS AT WELL CWP-8 MAY CAUSE AN INCREASE IN
CHROMIUM CONCENTRATIONS TO 0.05 MG/L AT A DISTANCE OF 820 FEET DOWNGRADIENT. TO ELIMINATE THIS
POTENTIAL SITUATION, THE RECOMMENDED REMEDIAL ACTION INCLUDES HYDRAULIC CONTROL MEASURES AT WELL
CWP-8 (SECTION 7.0). EXTRACTION FROM WELL CWP-8 WOULD CONTAIN THE CHROMIUM PLUME IN THE
VICINITY AND WOULD ELIMINATE THE POTENTIAL FOR FURTHER DOWNGRADIENT MIGRATION.

AS MENTIONED IN SECTION 7.0, A CONTINGENCY PLAN HAS BEEN DEVELOPED FOR POSSIBLE OFF-SITE
REMEDIATION. THE PLAN WILL BE IMPLEMENTED SUBSEQUENT TO THE REGULATORY AGENCIES' DECISION
REGARDING THE CRITERIA FOR INITIATION OF OFF-SITE REMEDIATION. THE CRITERIA WOULD INCLUDE A
PRESCRIBED CHROMIUM CONCENTRATION PERSISTING FOR A GIVEN TIME PERIOD. IMPLEMENTATION OF THE
CONTINGENCY PLAN WILL PROVIDE ADDITIONAL CONTROL TO PREVENT FURTHER DOWNGRADIENT MIGRATION.

BASED ON THE ABOVE CONSIDERATIONS, IT IS CONCLUDED THAT UNDER PRESENT CONDITIONS AND WITH
CONTINUED ON-SITE REMEDIATION, THERE IS NO POTENTIAL EXPOSURE TO CHROMIUM THROUGH GROUND WATER.
THEREFORE, THERE IS NO HEALTH RISK ASSOCIATED WITH THIS PATHWAY.
#ERA
7.0            Case OF
          EVALUATION 1:96-cv-06055-AWI-SAB      Document
                        REMEDIAL ACTION ALTERNATIVES       73 Filed 03/01/18 Page 194 of 708

THE PURPOSE OF EVALUATING VARIOUS REMEDIAL ACTIONS IS TO SELECT AN ENVIRONMENTALLY ACCEPTABLE
AND TECHNICALLY/ECONOMICALLY FEASIBLE ALTERNATIVE FOR IMPLEMENTATION. THIS EVALUATION CONSIDERS
VIABLE REMEDIAL TECHNOLOGIES TO ADDRESS SOIL AND GROUND WATER CONTAMINATION AT THE CWP SITE.
THE EVALUATION HAS BEEN PERFORMED ACCORDING TO THE PROCEDURE OUTLINED BY THE EPA IN A DOCUMENT
ENTITLED "GUIDANCE ON FEASIBILITY STUDIES UNDER CERCLA" (US EPA, JUNE 1985B).

SECTION 7.1 PRESENTS AN EVALUATION OF THE VARIOUS REMEDIAL TECHNOLOGIES CONSIDERED. THOSE
SELECTED FOR IMPLEMENTATION, BASED ON TECHNICAL, ENVIRONMENTAL, AND COST CONSIDERATIONS, ARE
DESCRIBED IN SECTION 7.2. THE RATIONALE FOR SELECTING THE RECOMMENDED ALTERNATIVE AND REJECTING
THE OTHERS IS PRESENTED IN SECTION 7.3. THE ENVIRONMENTAL EFFECTS OF THE RECOMMENDED
ALTERNATIVE AND THE APPLICABLE LAWS AND REGULATIONS ARE PRESENTED IN SECTIONS 7.4 AND 7.5.

AS DESCRIBED IN SECTION 5.0, A NUMBER OF INTERIM REMEDIAL MEASURES HAVE BEEN IMPLEMENTED IN THE
COURSE OF THE REMEDIAL INVESTIGATIONS AT THE SITE. THEREFORE, IN THE EVALUATION OF REMEDIAL
ACTION ALTERNATIVES, THE INTERIM REMEDIAL ACTIONS ALREADY IMPLEMENTED HAVE BEEN CONSIDERED.

7.1    ALTERNATIVE REMEDIAL ACTIONS

REMEDIAL ALTERNATIVES MAY BE CATEGORIZED AS PERTAINING TO SOURCE CONTROL OR MANAGEMENT OF
MIGRATION (US EPA, JUNE 1985A). FOR THE CWP SITE, SOURCE CONTROL REFERS TO THE CONTROL OF
CONTAMINATED SOIL TO REDUCE OR PREVENT INTRODUCTION OF THE CONTAMINANTS TO GROUND WATER.
MANAGEMENT OF MIGRATION REFERS TO CONTAINMENT OF THE CHROMIUM PLUME AND REMEDIATION OF THE
IMPACTED WATER-BEARING ZONE.

THE TECHNOLOGIES EVALUATED TO ADDRESS SOIL AND GROUND WATER CONTAMINATION RANGE FROM COMPLETE
REMEDIATION TO NO ACTION. THE EVALUATION OF VIABLE OPTIONS TO ADDRESS CONTAMINATED SOIL IS
PRESENTED IN SECTION 7.1.1. REMEDIATION OF CONTAMINATED SOILS WILL OCCUR AT THE TIME OF CLOSURE
OF THE FACILITY. THE CLOSURE OF THE FACILITY IS PROJECTED TO OCCUR IN 10 YEARS. A TRUST FUND
WILL BE ESTABLISHED (SECTION 9.0) TO FUND FUTURE REMEDIATION OF SOILS. TREATABILITY STUDIES
WILL BE CONDUCTED PRIOR TO SELECTING THE FINAL SOILS REMEDY AT THE TIME OF CLOSURE OF THE
FACILITY. THE EVALUATION OF THE TECHNOLOGIES AVAILABLE TO ADDRESS GROUND WATER CONTAMINATION IS
PRESENTED IN SECTION 7.1.2. AS EXTRACTION IS A VIABLE OPTION FOR THE REMEDIATION OF GROUND
WATER CONTAMINATION, ALTERNATIVE METHODS OF GROUND WATER TREATMENT HAVE ALSO BEEN EVALUATED.
THIS EVALUATION IS PRESENTED IN SECTION 7.1.3. THE OPTIONS FOR THE DISCHARGE OF TREATED GROUND
WATER ARE EVALUATED IN SECTION 7.1.4.

7.1.1     CONTROL OF CONTAMINATED SOIL

PREVIOUS INVESTIGATIONS HAVE DELINEATED THE AREAL EXTENT OF SOILS CONTAINING ELEVATED
CONCENTRATIONS OF CHROMIUM AND ARSENIC. VERTICALLY, SOILS CONTAINING OVER 100 MG/KG OF CHROMIUM
AND ARSENIC ABOVE BACKGROUND LEVEL (15 MG/KG) OCCUR PREDOMINANTLY WITHIN THE UPPER 1 FOOT OF THE
SOIL PROFILE. MOST SOIL SAMPLES COLLECTED BELOW A DEPTH OF 1 FOOT CONTAIN LESS THAN 50 MG/KG OF
TOTAL CHROMIUM AND ARSENIC CONCENTRATIONS IN THE RANGE OF BACKGROUND LEVELS. MORE SPECIFICALLY,
OF THE 25 SOIL SAMPLES COLLECTED FROM THE 3-FOOT DEPTH, ONLY 5 CONTAINED MORE THAN 50 MG/KG OF
TOTAL CHROMIUM AND NONE CONTAINED MORE THAN 100 MG/KG. THE FOUR 3-FOOT SAMPLES CONTAINING OVER
50 MG/KG WERE FROM BORINGS S-2, S-4, S-6, S-12, S-14, AND S-23, WHICH ARE SPATIALLY DISTRIBUTED
ACROSS THE SITE AND DO NOT INDICATE A SINGLE SOURCE SUCH AS THE RETORTS ON TREATED WOOD STORAGE
AREAS. IN PARTICULAR, IT IS NOTED THAT BORING S-23 IS LOCATED OFF SITE, ACROSS TAYLOR DRIVE.
THE DISTRIBUTION OF ELEVATED TOTAL CHROMIUM CONCENTRATIONS, I.E. GREATER THAN MG/KG, AT DEPTHS
OF 6 AND 10 FEET BELOW GRADE IS SIMILAR TO THAT DESCRIBED ABOVE AT THE 3-FOOT DEPTH.
ACCORDINGLY, THE AREAL DISTRIBUTION OF TOTAL CHROMIUM IS BEST REPRESENTED BY ISOCONCENTRATIONS
AT THE 1-FOOT DEPTH. THE APPROXIMATE DISTRIBUTION OF SOILS CONTAINING OVER 100 MG/KG OF
CHROMIUM AT THE 1-FOOT DEPTH IS SHOWN IN FIGURE 11. THIS DELINEATION OF CHROMIUM DISTRIBUTION
AND OTHER PERTINENT REMEDIAL INVESTIGATION FINDINGS (SECTION 4.0) HAVE BEEN USED AS A BASIS FOR
DEVELOPING AND EVALUATING VARIOUS REMEDIAL TECHNOLOGIES. THE POTENTIAL REMEDIAL TECHNOLOGIE
CONSIDERED FOR CONTROL OF THE CONTAMINATED SOIL INCLUDE:
      •       SOIL REMOVAL AND OFF-SITE DISPOSAL
      •       CaseREMOVAL
              SOIL  1:96-cv-06055-AWI-SAB
                           AND ON-SITE TREATMENTDocument   73 Filed 03/01/18 Page 195 of 708
      •       IN-SITU TREATMENT
      •       PARTIAL EXCAVATION
      •       CONTAINMENT
      •       NO ACTION.

7.1.1.1       SOIL REMOVAL AND OFF-SITE DISPOSAL

THIS TECHNOLOGY CONSIDERS REMOVAL AND OFF-SITE DISPOSAL OF SOIL IN WHICH THE CHROMIUM
CONCENTRATION IS ABOVE 100 MG/KG AND THE ARSENIC CONCENTRATION IS ABOVE 15 MG/KG. THE
CONCENTRATION FOR CHROMIUM HAS BEEN SELECTED ON THE BASIS OF THE PREVIOUS SOIL QUALITY
CHARACTERIZATION WHICH DEMONSTRATED THAT 100 MG/L MAY BE CONSIDERED TO BE DEFINITELY ABOVE
BACKGROUND LEVELS. BASED ON THE 100 MG/KG TOTAL CHROMIUM ISOCONCENTRATION SHOWN IN FIGURE 11,
THE AREA OF CONCERN IS ESTIMATED TO BE ABOUT 69,800 FT2 OR 1.60 ACRES. TO ESTIMATE THE VOLUME
OF CONTAMINATED SOIL, IT HAS BEEN ASSUMED THAT THE SOIL IS UNIFORMLY CONTAMINATED TO AN AVERAGE
DEPTH OF 1.5 FEET BELOW GRADE. BASED ON THIS ASSUMPTION, THE VOLUME OF CONTAMINATED SOIL WOULD
BE APPROXIMATELY 3,880 CUBIC YARDS. IT SHOULD BE NOTED THAT IN CERTAIN AREAS, SUCH AS THE MAIN
PROCESS AREA, THE DEPTH OF CONTAMINATION MAY BE GREATER. ACCORDINGLY, IN THE ABSENCE OF ANY
OTHER DATA, IT HAS BEEN ASSUMED THAT THE AREA BENEATH THE RETORTS AND THE RAIL LINES, MEASURING
ABOUT 50 FEET BY 280 FEET, IS CONTAMINATED WITH MORE THAN 100 MG/KG TOTAL CHROMIUM AND MORE THAN
15 MG/KG ARSENIC TO AN AVERAGE DEPTH OF 5 FEET BELOW GRADE. THE ADDITIONAL VOLUME WITHIN THIS
ARBITRARY ZONE IS 1,890 CUBIC YARDS. THE ESTIMATED TOTAL VOLUME OF SOIL CONTAINING 100 MG/KG OR
MORE OF TOTAL CHROMIUM IS ESTIMATED TO BE 5,770 CUBIC YARDS.

TYPICALLY, SOIL EXCAVATION TO A DEPTH OF 1 TO 2 FEET WOULD BE PERFORMED BY DOZERS AND THE SOIL
LOADED ONTO TRUCKS AND TRANSPORTED TO A LICENSED HAZARDOUS WASTE FACILITY APPROVED BY THE EPA
AND IN ACCORDANCE WITH APPLICABLE SARA REQUIREMENTS. THE NEAREST OPERATING FACILITY TO THE SITE
IS IN KETTLEMAN CITY, LOCATED IN CENTRAL CALIFORNIA.

COMPLETE REMOVAL OF CONTAMINATED SOIL, TO THE LIMITS SHOWN IN FIGURE 11, WOULD REQUIRE THE
CESSATION OF WOOD PRESERVING OPERATIONS AND THE REMOVAL OF THE WOOD PRESERVING FACILITIES.
THEREFORE, IT HAS BEEN ASSUMED THAT ANY SUCH REMEDIATION WOULD OCCUR SUBSEQUENT TO THE CLOSURE
OF THE CWP OPERATION. THE ESTIMATED COST FOR REMOVAL AND OFF-SITE DISPOSAL OF 5,770 CUBIC YARDS
OF SOIL IS PRESENTED IN TABLE 12.

7.1.1.2       SOIL REMOVAL AND ON-SITE TREATMENT

THIS ALTERNATIVE INCLUDES EXCAVATION AND REMOVAL OF SOIL, FOLLOWED BY ON-SITE TREATMENT.
ON-SITE TREATMENT MAY INVOLVE THE USE OF ORGANIC OR INORGANIC POLYMERS WHICH HAVE THE CAPABILITY
OF BINDING THE METALS, MAKING THEM LESS SUSCEPTIBLE TO LEACHING. THESE TECHNOLOGIES HAVE NOT
BEEN TESTED AT FIELD SCALE; THUS, IT IS NOT KNOWN HOW APPLICABLE THEY MAY BE TO THE CWP SITE.
TO REALISTICALLY EVALUATE ON-SITE TREATMENT AS A REMEDIAL OPTION FOR CONTAMINATED SOIL,
LABORATORY AND FIELD TESTS ARE NEEDED. NORMALLY, A NUMBER OF PRODUCTS ARE TESTED TO ASSESS
THEIR FIXATION POTENTIAL. THE FIXATION POTENTIAL IS DETERMINED BY EVALUATING THE LEACHING
BEHAVIOR OF THE SOIL PRIOR TO AND AFTER TREATMENT. IF LABORATORY TESTS INDICATE THAT A
PARTICULAR TREATMENT IS ACCEPTABLE IN TERMS OF LEACHING, A PILOT TEST IS GENERALLY PERFORMED TO
ASSESS THE APPLICABILITY OF THE TECHNOLOGY TO FIELD CONDITIONS. IF THE PILOT TEST DEMONSTRATES
THAT THE METHOD IS APPLICABLE TO FIELD-SCALE REMEDIATION, A DETAILED DESIGN IS PREPARED.
GEOSYSTEM'S EXPERIENCE IN SIMILAR PROJECTS SHOWS THAT ON-SITE TREATMENT IS FEASIBLE.

FOR COST ESTIMATING PURPOSES, IT HAS BEEN ASSUMED THAT ON-SITE TREATMENT IS A FEASIBLE REMEDIAL
OPTION. IT IS NOTED, HOWEVER, THAT DESPITE THE AVOIDANCE OF THE HIGH COST OF OFF-SITE DISPOSAL,
THE ESTIMATED COST OF ON-SITE TREATMENT IS STILL RELATIVELY HIGH. THIS IS DUE PRIMARILY TO THE
DURATION OF IMPLEMENTATION. THE ESTIMATED COSTS ASSOCIATED WITH EXCAVATION AND ON-SITE
TREATMENT ARE SHOWN IN TABLE 12.

7.1.1.3   IN-SITU TREATMENT

THIS OPTION INCLUDES IN-SITU PHYSICAL AND/OR CHEMICAL TREATMENT TO FIX THE CHROMIUM AND ARSENIC
IN SOIL TO THE EXTENT THAT IT WOULD NOT ACT AS A SOURCE TO GROUND WATER CONTAMINATION. THE
SIMPLEST IN-SITU TREATMENT METHOD WOULD BE LEACHING THE SOIL WITH WATER AND EXTRACTING AND
TREATING THE LEACHATE. IF THIS METHOD WERE CHOSEN, THE PAVEMENT WOULD HAVE TO BE REMOVED TO
ALLOW WATER TO PERCOLATE THROUGH THE CONTAMINATED SOIL AND LEACH THE CHROMIUM.
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PREVIOUS LABORATORY LEACHABILITY STUDIES (IT/D'APPOLONIA, MAY 1984) HAVE SHOWN THAT UNDER ACIDIC
CONDITIONS (PH = 5.0), A MAXIMUM OF 2.8 PERCENT CHROMIUM IS RECOVERABLE. THESE RESULTS HAVE
ALSO INDICATED THAT MOST OF THE CHROMIUM IN THE SOIL IS IN THE CR(III) FORM. THE TRIVALENT
FORMS OF CHROMIUM ARE MORE STABLE, LESS SOLUBLE, AND LESS MOBILE THAN THE HEXAVALENT FORMS.
THEREFORE, IF IN-SITU LEACHING WAS PERFORMED WITH A NEUTRAL PH SOLUTION (WATER), LOWER CHROMIUM
RECOVERY WOULD BE EXPECTED. CONSIDERING THE LEACHING CHARACTERISTICS OF TRIVALENT CHROMIUM AND
OPERATIONAL CONSTRAINTS, IN-SITU LEACHING DOES NOT APPEAR TO BE AN EFFICIENT MEANS OF
REMEDIATION.

OTHER OPTIONS INCLUDE INJECTION OF COMPOUNDS INTO THE SOIL TO CHEMICALLY FIX THE CHROMIUM AND
ARSENIC IN SOIL. THIS OPTION IS GENERALLY MORE EFFECTIVE IN HOMOGENEOUS, SATURATED AQUIFER
SYSTEMS OF HIGH PERMEABILITY. GIVEN THE COMPLEX STRATIGRAPHY AND DISCONTINUITY OF PERMEABLE
STRATA AT THE SITE, THIS TYPE OF IN-SITU TREATMENT IS JUDGED TO BE INEFFECTIVE AND HAS NOT BEEN
CONSIDERED FURTHER.

7.1.1.4   PARTIAL EXCAVATION AND OFF-SITE DISPOSAL

PARTIAL EXCAVATION IS ANOTHER VIABLE ALTERNATIVE TO CONTROL CONTAMINATED SOIL AT THE SITE.
BASED ON PREVIOUS SITE INVESTIGATIONS, THE AREAS OF SOIL CONTAINING MORE THAN 130 MG/KG OF
CHROMIUM AND 15 MG/KG OF ARSENIC HAVE BEEN IDENTIFIED IN FIGURE 11 OF THE D'APPOLONIA (1984)
REPORT. THESE AREAS CENTER AROUND BORINGS S-4, S-5, AND S-8 AND SAMPLING LOCATIONS G-5, G-10,
AND G-11. THE LOCATIONS OF THESE BORINGS AND SAMPLING LOCATIONS ARE SHOWN IN FIGURE 11. THE
130 MG/KG CR CONCENTRATION WAS CHOSEN BECAUSE IT ENABLED AREAS WITHIN THE 100 MG/KG SOIL
CONTAMINATION BOUNDARY TO BE ADDRESSED WITHOUT COMPLETE SOIL REMOVAL. IT IS NOTED THAT THE
AREAL EXTENT OF ARSENIC CONTAMINATION GENERALLY COINCIDES WITH THAT OF CHROMIUM (FIGURE 11).
BASED ON A DEPTH OF CONTAMINATION OF 2 FEET, PARTIAL EXCAVATION WOULD RESULT IN AN ESTIMATED
SOIL VOLUME OF ABOUT 3,300 CUBIC YARDS. THE ESTIMATED COSTS ASSOCIATED WITH IMPLEMENTATION OF
THIS OPTION ARE SUMMARIZED IN TABLE 12.

7.1.1.5   CONTAINMENT

THE SIMPLEST METHOD OF CONTAINMENT IS TO PROVIDE SURFACE PAVING OVER THE AREAS KNOWN TO CONTAIN
GREATER THAN 100 MG/KG OF CHROMIUM AND 15 MG/KG OF ARSENIC. THE SURFACE PAVING OR CAPPING WOULD
PREVENT INFILTRATION OF SURFACE WATER THROUGH THE CONTAMINATED SOIL AND CONSEQUENTLY MINIMIZE OR
ELIMINATE THE LEACHING OF CHROMIUM INTO GROUND WATER. SURFACE PAVING HAS BEEN INSTALLED AT THE
SITE IN VARIOUS PHASES SINCE 1979. THE PRESENT EXTENT OF SURFACE PAVING IS SHOWN IN FIGURE 2.
COMPARISON WITH THE AREA OF NEAR-SURFACE SOIL CONTAMINATION DEMONSTRATES THAT THE LARGE MAJORITY
OF CHROMIUM-CONTAINING SOILS ARE LOCATED BENEATH THE PAVED AREA. MAINTENANCE OF THE INTEGRITY
OF THE EXISTING CAP IS AN ESSENTIAL COMPONENT OF EFFECTIVE CONTAINMENT PRIOR TO IMPLEMENTATION
OF A PERMANENT REMEDY. APPROXIMATELY 3 PERCENT OF THE CONTAMINATED SOIL AREA IS NOT CURRENTLY
PAVED. RECOMMENDATIONS CONCERNING THESE REMAINING UNPAVED AREAS ARE PRESENTED IN SECTION 7.2.

OTHER METHODS OF CONTAINMENT INCLUDE PHYSICAL BARRIERS, SUCH AS SLURRY, SHEET PILE, OR CHEMICAL
GROUT CUTOFF WALLS; OR HYDRAULIC BARRIERS, SUCH AS EXTRACTION/INJECTION SYSTEMS. THESE OPTIONS
ARE ADDRESSED FURTHER IN RELATION TO PLUME CONTROL IN SECTION 7.1.2.

7.1.1.6   NO ACTION

THIS OPTION ALLOWS THE CONTAMINATED SOIL TO REMAIN IN PLACE, UNREMEDIATED. IMPLEMENTATION OF
THE NO ACTION OPTION IS TYPICALLY COMBINED WITH OTHER CONTROL MEASURES IF GROUND WATER
CONTAMINATION IS OF CONCERN. ALSO, THE NO ACTION OPTION REQUIRES EXTENSIVE MONITORING TO
EVALUATE THE POTENTIAL IMPACT OF RESIDUAL SOIL CONTAMINATION ON THE ENVIRONMENT. GROUND WATER
MONITORING DATA, GENERATED SINCE 1981, HAVE INDICATED SOME IMPROVEMENT IN WATER QUALITY,
PRIMARILY IN OFF-SITE AREAS. APPLICATION OF THE NO ACTION ALTERNATIVE TO THE ENTIRE SITE WOULD,
HOWEVER, REQUIRE FURTHER EVALUATION OF THE POTENTIAL IMPACT ON GROUND WATER QUALITY AND THE
ENVIRONMENT, AS DESCRIBED IN SECTION 7.3.

7.1.2 PLUME CONTROL

PLUME CONTROL MEASURES WOULD BE DESIGNED TO LIMIT THE MIGRATION OF THE DISSOLVED CONSTITUENTS
WHILE GRADUALLY REMEDIATING EXISTING CONTAMINATION. THE ALTERNATIVES CONSIDERED FOR SCREENING
ARE AS FOLLOWS:
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      •      PHYSICAL CONTAINMENT
      •      IN-SITU TREATMENT
      •      HYDRAULIC CONTROL
      •      ELECTROKINETIC TREATMENT
      •      NO ACTION.

7.1.2.1    PHYSICAL CONTAINMENT

PHYSICAL CONTAINMENT MEASURES INCLUDE SLURRY CUTOFF WALLS, SHEET PILES, AND GROUT CURTAINS. THE
MOST COMMON METHOD OF PHYSICAL CONTAINMENT FOR PLUME CONTROL IS THE CONSTRUCTION OF SLURRY
CUTOFF WALLS. THIS OPTION, PER SE, DOES NOT REMEDIATE THE AQUIFER; HOWEVER, THE CONTAMINANTS
ARE CONTAINED. A SLURRY CUTOFF WALL IS CONSTRUCTED BY EXCAVATING A CONTINUOUS, NARROW TRENCH
WHICH IS KEPT FILLED WITH BENTONITE SLURRY TO STABILIZE THE SIDES OF THE EXCAVATION. THE TRENCH
IS BACKFILLED WITH A MIXTURE OF EXCAVATED SOIL AND BENTONITE AS TRENCHING PROGRESSES.
BACKFILLING DISPLACES THE SLURRY, WHICH IS RECYCLED. THE SLURRY WALL ACTS AS A BARRIER TO
LATERAL GROUND WATER FLOW IF THE ZONE OF CONTAMINATION IS COMPLETELY CONTAINED. OTHERWISE,
HYDRAULIC CONTROL MUST BE INITIATED TO PROVIDE ADEQUATE CONTAINMENT. FLOW BENEATH THE WALL IS
RESTRICTED BY EITHER KEYING THE WALL INTO A LOW PERMEABILITY STRATUM OR BY HYDRAULIC CONTROL.
AS DISCUSSED IN SECTION 5.2, THIS OPTION HAS BEEN IMPLEMENTED AS AN INTERIM REMEDIAL MEASURE BY
CWP. OTHER PHYSICAL CONTAINMENT MEASURES, SUCH AS SHEET PILES AND GROUT CURTAINS, HAVE NOT,
THEREFORE, BEEN CONSIDERED FURTHER.

7.1.2.2      IN-SITU TREATMENT

THIS TECHNOLOGY INVOLVES THE PASSAGE OF A TREATMENT AGENT THROUGH THE CONTAMINATED AQUIFER,
USUALLY BY PUMPING AND/OR INJECTION.

THE EFFECTIVENESS OF THIS OPTION DEPENDS PRIMARILY ON THE PERMEABILITY OF THE CONTAMINATED
MEDIUM, THE CONTINUITY OF THE WATER-BEARING ZONE, AND THE DEGREE OF BONDING OF CHROMIUM TO SOIL
PARTICLES. IN-SITU TREATMENT BY THIS METHOD IS NOT A PROVEN TECHNOLOGY, PARTICULARLY IF
CONSIDERED FOR APPLICATION TO CHROMIUM FIXATION IN LARGE AREAS. RESEARCH RELATED TO APPLICATION
OF THIS TECHNOLOGY IS UNDERWAY, AND IF FUTURE DATA SHOW PROMISING RESULTS, ITS APPLICATION TO
THE CWP SITE COULD BE RECONSIDERED. AT THIS TIME, HOWEVER, IN-SITU TREATMENT BY CHEMICAL
FIXATION HAS NOT BEEN CONSIDERED FURTHER.

7.1.2.3      HYDRAULIC CONTROL

HYDRAULIC CONTROL IS AN ACCEPTED AND WELL DOCUMENTED METHOD OF PLUME CONTROL AND AQUIFER
REMEDIATION. THIS OPTION INCLUDES EXTRACTION AND/OR INJECTION IN ORDER TO PRODUCE A ZONE OF
INFLUENCE BEYOND WHICH THERE WILL NOT BE SIGNIFICANT MIGRATION OF CONTAMINANTS. EXTRACTED
GROUND WATER IS REPLENISHED BY CONTAMINANT-FREE GROUND WATER, RESULTING IN A GRADUAL REDUCTION
IN CHROMIUM CONCENTRATIONS.

CONSIDERING THE CHROMIUM ISOCONCENTRATIONS SHOWN IN FIGURES 12, 13, AND 14, THE APPLICATION OF
HYDRAULIC CONTROL IS BELIEVED TO BE RELEVANT TO THE FOLLOWING GEOGRAPHIC AREAS:

      •      NEAR THE RETORTS
      •      NEAR THE EASTERN SITE BOUNDARY
      •      OFF SITE TO THE SOUTHEAST.

THE GROUND WATER QUALITY DATA HAVE SHOWN THAT CHROMIUM CONCENTRATIONS ARE HIGHER IN ZONE 1 IN
THE RETORT AREA THAN IN OTHER LOCATIONS. TO PREVENT CHROMIUM MIGRATION FROM THE RETORT AREA TO
DOWNGRADIENT LOCATIONS, INTERCEPTION OF THE PLUME BY TRENCHES OR LARGE DIAMETER RECOVERY WELLS
HAS BEEN CONSIDERED. BOTH OF THESE METHODS COULD PROVIDE A BARRIER TO CHROMIUM MIGRATION WITHIN
THEIR RESPECTIVE RADII OF INFLUENCE. TRENCHES ARE TYPICALLY MORE EFFECTIVE WATER-BEARING ZONES
WHICH ARE NOT VERY CONDUCTIVE AND LACK HYDRAULIC CONTINUITY; HOWEVER, THE PRESENCE OF WOOD
PRESERVING FACILITIES IN THE RETORT AREA PRECLUDES THE INSTALLATION OF A TRENCH. AS DESCRIBED
IN SECTION 5.3, A LARGE-DIAMETER RECOVERY WELL, WELL CWP-18, WAS INSTALLED NEAR THE RETORT AREA
AS AN INTERIM REMEDIAL MEASURE.

PLUME CONTROL NEAR THE EASTERN SITE BOUNDARY HAS ALSO BEEN CONSIDERED IN ORDER TO PREVENT
OFF-SITE MIGRATION. AS DESCRIBED IN SECTION 5.2, THIS OPTION INCLUDES EXTRACTION FROM WELL HL-7
              Case 1:96-cv-06055-AWI-SAB
AND HAS BEEN IMPLEMENTED AS AN INTERIM REMEDIALDocument   73 ADDITION
                                                MEASURE. IN   Filed 03/01/18   PageFROM
                                                                      TO EXTRACTION  198 WELL
                                                                                         of 708
HL-7, PUMPING FROM THE DOWNGRADIENT SIDE OF THE SLURRY WALL WOULD CONTAIN ANY CONTAMINATION
WHICH MAY HAVE PASSED THE BARRIER AND ACTS AS A SOURCE OF OFF-SITE CONTAMINATION:

OFF-SITE REMEDIATION HAS BEEN CONSIDERED BECAUSE OF THE PRESENCE OF CHROMIUM IN SOME OFF-SITE
WELLS IN THE PAST. OFF-SITE REMEDIATION HAS BEEN EVALUATED IN SOME DETAIL (GEOSYSTEM, APRIL
1987) AND IS NOT BELIEVED TO BE NECESSARY AT THIS TIME. THIS JUDGEMENT IS BASED ON CURRENT
GROUND WATER QUALITY AND THE TREND OF IMPROVING WATER QUALITY IN OFF-SITE AREAS AS A RESULT OF
THE INTERIM REMEDIAL MEASURES IMPLEMENTED NEAR THE EASTERN SITE BOUNDARY. IT SHOULD BE NOTED,
HOWEVER, THAT FUTURE MONITORING AND NEW REGULATIONS MAY DICTATE RECONSIDERATION OF OFF-SITE
REMEDIATION.

HYDRAULIC CONTROL MEASURES WHICH INVOLVE THE EXTRACTION OF CONTAMINATED GROUND WATER REQUIRE AN
ENVIRONMENTALLY-ACCEPTABLE AND COST-EFFECTIVE METHOD OF HANDLING THE EXTRACTED WATER. AS
PREVIOUSLY MENTIONED, THE MAJORITY OF THE EXTRACTED CHROMIUM CONTAINING WATER IS RECYCLED BACK
INTO CWP'S WOOD PRESERVING OPERATIONS; THEREFORE, NO SPECIAL HANDLING IS REQUIRED. EXCESS
CONTAMINATED WATER MUST, HOWEVER, BE TREATED PRIOR TO DISCHARGE. SECTION 7.1.3 SUMMARIZES THE
ALTERNATIVE TREATMENT PROCESSES CONSIDERED TO ACHIEVE ACCEPTABLE EFFLUENT QUALITY.

7.1.2.4 ELECTROKINETIC PHENOMENA

ELECTROKINETIC PHENOMENA REFERS TO THOSE METHODS BY WHICH MIGRATION OF DISSOLVED CONTAMINANTS IN
GROUND WATER IS ENHANCED BY THE APPLICATION OF AN ELECTRIC CURRENT. THE METHODOLOGY IS BASED ON
INDUCING ELECTRICAL GRADIENTS TO THE SOIL-ELECTROLYTE-WATER SYSTEM, RESULTING IN DISPLACEMENT OR
MIGRATION OF CATIONS AND ANIONS. HISTORICALLY, THIS TECHNOLOGY HAS ACHIEVED SOME DEGREE OF
SUCCESS IN INDUCING FLOW IN LOW PERMEABILITY DISPERSIVE SOILS. APPLICATION OF THIS METHOD TO
THE REMOVAL OF INORGANIC SPECIES AND DEWATERING HAS BEEN DEMONSTRATED BY A NUMBER OF
INVESTIGATIONS (MITCHELL AND ARULANANDAN, 1968; GRAY AND MITCHELL, 1967; MEHRAN, 1971).
RECENTLY, THE EPA HAS INITIATED A NUMBER OF PROJECTS TO TEST THE APPLICABILITY OF THIS
TECHNOLOGY TO FIELD-SCALE PROBLEMS. AS THIS TECHNOLOGY IS STILL IN THE DEVELOPMENTAL STAGE,
HOWEVER, IT HAS NOT BEEN CONSIDERED FURTHER FOR IMPLEMENTATION AT THE CWP SITE.

7.1.2.5     NO ACTION

THIS OPTION ALLOWS THE DISSOLVED CONTAMINANTS TO MIGRATE UNCONTROLLED AND UNREMEDIATED. THIS
OPTION WOULD RESULT IN AN EXPANSION OF THE PLUME IN THE DOWNGRADIENT DIRECTION AND WOULD PLACE
POTENTIAL BIOLOGICAL RECEPTORS AT RISK.

7.1.3       GROUND WATER TREATMENT TECHNOLOGY ASSESSMENT

AS MENTIONED IN SECTION 5.0, CWP IS ABLE TO UTILIZE EXTRACTED GROUND WATER IN WOOD PRESERVING
OPERATIONS AT CERTAIN TIMES OF THE YEAR. WHEN THE SUPPLY OF EXTRACTED GROUND WATER EXCEEDS
CWP'S NEEDS, HOWEVER, TREATMENT IS REQUIRED BEFORE DISCHARGE.

THE EVALUATION OF THE VARIOUS GROUND WATER TREATMENT TECHNOLOGIES IS BASED ON A CONTINUOUS
EXTRACTION RATE OF 5 TO 20 GPM FOR SEVEN YEARS, A CHROMIUM CONCENTRATION OF LESS THAN 10 MG/L IN
THE INFLUENT, AND A REQUIRED EFFLUENT CONCENTRATION OF LESS THAN 0.05 MG/L.

THE TREATMENT TECHNOLOGIES HAVE BEEN SCREENED ON THE BASIS OF THE FOLLOWING TECHNICAL AND
ECONOMIC CRITERIA:

        •       PERFORMANCE AND EFFECTIVENESS OF THE TECHNOLOGY.
        •       PROJECTED SERVICE LIFE.
        •       DEMONSTRATED RELIABILITY.
        •       EASE OF IMPLEMENTATION.
        •       SAFETY CONSIDERATIONS.
        •       CAPITAL COSTS.
        •       OPERATION AND MAINTENANCE COSTS.

THE OPERATION AND MAINTENANCE (O & M) COSTS ARE THOSE POSTCONSTRUCTION COSTS NECESSARY TO
MAINTAIN SATISFACTORY OPERATION OF THE TREATMENT SYSTEM AND THE REQUIRED MONITORING (TABLE 13).
THE OBJECTIVE OF THE SCREENING WAS TO ELIMINATE THOSE TECHNOLOGIES THAT HAVE AN ORDER OF
              Case
MAGNITUDE GREATER   1:96-cv-06055-AWI-SAB
                  COST,                        Document
                        BUT DO NOT PROVIDE GREATER        73 Filed
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                                                                                  BENEFITS  708
GREATER RELIABILITY. THE TECHNOLOGIES CONSIDERED FOR SCREENING WERE:

      •      ELECTROCHEMICAL PROCESS.
      •      CHEMICAL REDUCTION AND PRECIPITATION.
      •      CHEMICAL PRECIPITATION WITH SEDIMENTATION OR FILTRATION.
      •      ACTIVATED CARBON ADSORPTION.
      •      ION EXCHANGE.
      •      ELECTRODIALYSIS.

7.1.3.1 ELECTROCHEMICAL PROCESS

THE ELECTROCHEMICAL PROCESS INVOLVES PASSING CHROMIUM-CONTAINING GROUND WATER THROUGH A CELL
CONTAINING CONSUMABLE IRON ELECTRODES WHICH, IN THE PRESENCE OF AN ELECTRICAL CURRENT, GENERATE
FERROUS AND HYDROXIDE IONS. THESE IONS REACT WITH CHROMATE IONS IN SOLUTION TO PRECIPITATE
CHROMIC AND FERRIC HYDROXIDES. THIS PROCESS IS UNIQUE IN THAT NO CHEMICAL ADDITIVES ARE
REQUIRED TO GENERATE THE PRECIPITANT. THE ELECTROCHEMICAL OPERATION IS A "ONCE-THROUGH PROCESS"
REQUIRING MINIMAL REACTION TIME. THE THEORY OF OPERATION INVOLVES AN OXIDATION-REDUCTION
REACTION WHEREBY ELECTRONS ARE SUPPLIED BY AN EXTERNAL ELECTRICAL SOURCE REDUCING THE METAL IONS
IN THE ELECTROLYTE TO FORM ELEMENTAL METAL AT THE CATHODE SURFACE. THE EQUIPMENT CONSISTS OF A
REACTOR MODULE CONTAINING THE ANODE AND CATHODE ASSEMBLIES AND TWO CONTROLLABLE POWER SUPPLIES.
THE DETAILS OF THIS TECHNOLOGY RELATED TO ELECTRODE POTENTIALS, EQUILIBRIUM, OXIDATION-
REDUCTION, AND MIXED POTENTIALS, VOLTAMMETRY, AND ELECTROCAPILLARITY CAPACITY HAVE BEEN
DESCRIBED IN THE LITERATURE (AHMED, 1979; PEMSLER AND RAPPAS, 1979; AYRES AND FEDKIW, 1983; AND
DEAN, ET AL., 1972). MORE SPECIFIC INFORMATION ON OPERATION OF ELECTROCHEMICAL PROCESS UNITS IS
PRESENTED IN SECTION 7.2.4.

ELECTROCHEMICAL TREATMENT HAS BEEN USED FOR MANY YEARS IN THE MINING AND UTILITY INDUSTRIES AND
IS A PROVEN TECHNOLOGY FOR REMOVING HEXAVALENT CHROMIUM FROM WASTEWATER. THE ELECTROCHEMICAL
TREATMENT PROCESS, THEREFORE, IS CAPABLE OF REMOVING HEXAVALENT CHROMIUM FROM GROUND WATER
EXTRACTED AT THE CWP SITE. THE SALIENT FEATURES OR THE ELECTROCHEMICAL PROCESS PERTINENT TO THE
CWP SITE ARE SUMMARIZED IN TABLE 13. REMOVAL EFFICIENCY OF THE ELECTROCHEMICAL PROCESS FOR
CHROMIUM IS DEMONSTRATED IN TABLE 14.

THE ADVANTAGES OF THE ELECTROCHEMICAL PROCESS ARE AS FOLLOWS:

      •      REDUCES THE CR(VI) CONTENT OF GROUND WATER TO EPA COMPATIBLE LEVELS.
      •      VERY LOW OPERATING COSTS.
      •      NO CONSUMABLE REAGENTS REQUIRED FOR OPERATION.
      •      REQUIRES LITTLE FLOOR SPACE AND OPERATOR ATTENTION.
      •      ELIMINATES THE CONVENTIONAL CHEMICAL PRECIPITATION PROCESS.

THE OPERATING COSTS FOR ELECTRODE CONSUMPTION, POWER, AND ACID FOR THE ELECTROCHEMICAL UNIT ARE
ESTIMATED AT ABOUT 10 CENTS PER 1,000 GALLONS OF GROUND WATER TREATED. AT THE ANTICIPATED FLOW
RATE OF 20 GPM, THE OPERATING COSTS AMOUNT TO ABOUT $1,000 ANNUALLY. LABOR AND WASTE DISPOSAL
COSTS FOR THE ELECTROCHEMICAL PROCESS ARE ESTIMATED TO BE ABOUT $50 PER DAY.

7.1.3.2      CHEMICAL REDUCTION AND PRECIPITATION

THE MOST CONVENTIONAL METHOD FOR THE REMOVAL OF CHROMIUM IS REDUCTION OF THE HEXAVALENT CHROMIUM
TO THE TRIVALENT STATE, FOLLOWED BY PH ADJUSTMENT TO FORM INSOLUBLE CARBONATES OR HYDROXIDES
WHICH CAN BE REMOVED AS SLUDGES. SOME COMMON REDUCING AGENTS INCLUDE GASEOUS SULFUR DIOXIDE,
SODIUM BISULFITE OR METABISULFITE, AND FERROUS SULFATE. IN THE REDUCTION OF HEXAVALENT CHROMIUM
TO TRIVALENT CHROMIUM USING SULFUR DIOXIDE, THE OXIDATION STATE OF CHROMIUM CHANGES FROM +6 TO
+3 (CR IS REDUCED) AND THE OXIDIZATION STATE OF SULFUR INCREASES FROM +2 TO +3 (S IS OXIDIZED).

  2H2CR04 + 3SO2 + 3H2O   ---
    CR2 (SO4)3 + 5H2O

SULFUR DIOXIDE IS SUPPLIED AS A GAS AND FED INTO THE CHROME REDUCTION TANK AS LIQUID THROUGH A
VACUUM EDUCTOR-TYPE OF SULFONATOR. THE SULFONATOR IS CONTROLLED BY AN OXIDATION REDUCTION
POTENTIAL (ORP) PROBE MEASURING FREE SULFIDES IN THE CHROME REDUCTION TANK. MIXING IS USUALLY
REQUIRED TO IMPROVE CONTACT BETWEEN THE REDUCTION AGENT AND THE GROUND WATER. REACTION TIMES
              CaseAGENTS,
VARY WITH REDUCING  1:96-cv-06055-AWI-SAB
                           TEMPERATURE, PH, ANDDocument   73 Filed
                                                CONCENTRATION;      03/01/18
                                                               HOWEVER,        Page
                                                                        REDUCTION    200ARE
                                                                                  TIMES  of 708
                                                                                            ON
THE ORDER OF MINUTES.

REDUCTION OF HEXAVALENT CHROMIUM REQUIRES PH ADJUSTMENT, NORMALLY WITH SULFURIC ACID, TO A PH OF
APPROXIMATELY 2 TO 3. WHEN SULFUR DIOXIDE IS USED AS THE REDUCING AGENT, SULFONATORS MUST BE
USED TO COMBINE SULFUR DIOXIDE WITH WATER TO FORM SULFUROUS ACID. THE SULFUROUS ACID REACTS
WITH CHROMIUM TO FORM CHROMIC SULFATE. OTHER REDUCING AGENTS ARE ADDED AS SOLIDS OR AS
SOLUTIONS. THE CHEMICAL REDUCTION IS FOLLOWED BY ALKALINE ADDITION, WHICH RESULTS IN
PRECIPITATION OF CHROMIUM HYDROXIDE.

CHEMICAL REDUCTION FOLLOWED BY PRECIPITATION REQUIRES SEVERAL PROCESS STEPS, CONSUMES CHEMICAL
ADDITIVES FOR PH ADJUSTMENT AND THE REDUCTION REACTION, AND GENERATES A SLUDGE THAT MUST BE
DISPOSED OF AN AUTOMATED SYSTEM COULD BE PROVIDED TO CARRY OUT THESE OPERATIONS; HOWEVER, SOME
OPERATOR ATTENTION WOULD BE REQUIRED. CHEMICAL REDUCTION CAN BE CARRIED OUT USING SIMPLE,
READILY AVAILABLE EQUIPMENT AND REAGENTS.

CHEMICAL REDUCTION IS USED PRIMARILY FOR THE REDUCTION OF HEXAVALENT CHROMIUM, MERCURY, AND LEAD
AND IS A WELL TESTED AND DOCUMENTED METHOD OF TREATMENT FOR THESE METALS. DUE TO ITS DOCUMENTED
APPLICABILITY, LABORATORY AND PILOT-SCALE TESTS MAY NOT BE REQUIRED TO DETERMINE APPROPRIATE
CHEMICAL FEED RATES AND REACTOR RETENTION TIME FOR THE REDUCTION OF HEXAVALENT CHROMIUM TO
TRIVALENT CHROMIUM AT THE CWP SITE.

THE TOTAL CAPITAL COSTS FOR CHEMICAL REDUCTION, INCLUDING THE COSTS FOR CHEMICAL STORAGE,
FEEDING, AND MIXING, WERE ESTIMATED TO BE $224,000 WITH A TOTAL ANNUAL O&M COST OF 5192,300 (US
EPA, 1978) THESE COST ESTIMATES ARE BASED ON A 20 GPM SYSTEM USING THE 1987 ENR CONSTRUCTION
COST INDEX.

7.1.3.3 CHEMICAL PRECIPITATION WITH SEDIMENTATION OR FILTRATION

THIS TECHNOLOGY INVOLVES THE ADDITION OF CHEMICALS TO AN AQUEOUS SOLUTION TO COMBINE DISPERSED
PARTICLES INTO LARGER AGGLOMERATES WHICH ARE REMOVED DURING THE PRECIPITATION (SETTLING)
PROCESS. PRECIPITATION IS A PHYSICOCHEMICAL PROCESS WHEREBY SOME OR ALL OF A SUBSTANCE IN
SOLUTION IS TRANSFORMED INTO A SOLID PHASE. GENERALLY, LIME OR SODIUM SULFIDE IS ADDED TO THE
GROUND WATER IN A RAPID MIXING TANK. THE WATER FLOWS TO A FLOCCULATION CHAMBER IN WHICH
ADEQUATE MIXING AND RETENTION TIME IS PROVIDED FOR AGGLOMERATION OF PRECIPITATION PARTICLES BY
ADDING AN AGENT SUCH AS ALUM. AGGLOMERATED PARTICLES ARE SEPARATED FROM THE LIQUID PHASE BY
SETTLING IN A SEDIMENTATION CHAMBER AND/OR BY OTHER PHYSICAL PROCESSES SUCH AS FILTRATION.

PRECIPITATION IS APPLICABLE TO THE REMOVAL OF MOST METALS FROM WASTEWATER INCLUDING ZINC,
CADMIUM, CHROMIUM, COPPER, FLUORIDE, LEAD, MANGANESE, AND MERCURY. CYANIDE AND OTHER IONS IN
THE WASTEWATER MAY ALSO COMPLEX WITH METALS, MAKING TREATMENT BY PRECIPITATION LESS EFFICIENT.
PRECIPITATION IS NON-SELECTIVE IN THAT COMPOUNDS OTHER THAN THOSE TARGETED MAY BE REMOVED. BOTH
PRECIPITATION AND FLOCCULATION ARE NONDESTRUCTIVE AND GENERATE A LARGE VOLUME OF SLUDGE WHICH
MUST BE DISPOSED. THE TECHNOLOGY IS, HOWEVER, CONSIDERED TO BE POTENTIALLY APPLICABLE TO THE
TREATMENT OF CHROMIUM-CONTAINING GROUND WATER AT THE SITE.

PRECIPITATION AND FLOCCULATION POSE MINIMAL HEALTH AND SAFETY HAZARDS TO FIELD WORKERS. THE
ENTIRE SYSTEM IS OPERATED AT NEAR AMBIENT CONDITIONS, ELIMINATING THE DANGER OF HIGH
PRESSURE/HIGH TEMPERATURE OPERATION. WHILE THE CHEMICALS EMPLOYED ARE OFTEN SKIN IRRITANTS,
THEY CAN BE HANDLED IN A SAFE MANNER.

ARUMU GAM (1976) STUDIED HYDROXIDE PRECIPITATION FOR THE RECOVERY OF CHROMIUM FROM SPENT TAN
LIQUOR. THIS PRECIPITATION PROCESS WAS THE LEAST EXPENSIVE METHOD FOR THE REMOVAL AND RECOVERY
OF CHROMIUM. USING LIME AND AT AN OPTIMUM PH OF 6.6, THE REMOVAL OF CHROMIUM EXCEEDED 98
PERCENT. THE PRECIPITATED CHROMIUM HYDROXIDE IS SEPARATED BY SETTLING, FILTERED, AND
REDISSOLVED IN SULFURIC ACID TO FORM CHROMIUM SULFATE WHICH CAN BE RECYCLED FOR FURTHER TANNING.
THE USE OF LIME WAS MORE ECONOMICAL THAN THE USE OF OTHER ALKALINES (NAOH, NA2CO3, AND NH4OH).
THE USE OF LIME SOFTENING AND COAGULATION, USING ALUM FOR REMOVAL OF SUCH HEAVY METALS AS
CR(III) AND CR(VI), HAS BEEN INVESTIGATED BY THE EPA (US EPA, 1978).

FOR A 20 GPM CHROMIUM REMOVAL SYSTEM, THE EQUIPMENT COST IS ESTIMATED TO BE $50,000
(EPA/625/6-85/006, UPDATED TO 1987 USING THE ENR CONSTRUCTION COST INDEX). A TOTAL CHEMICAL
COST OF $4.80 PER 1,000 GALLONS IS ESTIMATED FOR THIS PRECIPITATION PROCESS TO ACHIEVE AN
              Case LESS
EFFLUENT CONTAINING 1:96-cv-06055-AWI-SAB      Document
                         THAN 0.05 MG/L OF CHROMIUM.      73 Filed
                                                      THE ANNUAL O&M03/01/18   Page 201
                                                                     COST IS ESTIMATED TO of
                                                                                           BE708
$64,000 WITH A TOTAL CAPITAL COST OF $192,000.

7.1.3.4 ACTIVATED CARBON ADSORPTION

CHROMATES CAN BE EFFECTIVELY REMOVED FROM GROUND WATER BY PASSING THE CHROMATE-CONTAINING GROUND
WATER THROUGH A COLUMN PACKED WITH ACTIVATED CARBON (YOSHIDA, ET AL., 1977). HUANG AND WU
(1975) FOUND THAT THE REMOVAL OF CR(VI) BY CALCINATED CHARCOAL WAS MOST SIGNIFICANT AT LOW PH
AND FOR LOW INITIAL CR(VI) CONCENTRATIONS. LANDRIGAN AND HALLOWELL (1975) DEMONSTRATED THAT
ACTIVATED CARBON COULD BE USED BY SMALL PLATING FACILITIES FOR REMOVAL OF CHROMIUM. HUANG AND
WU (1975) STUDIED THE EFFECT OF PH ON CR(III) AND CR(VI)

ADSORPTION BY FILTRASORB 400 ACTIVATED CARBON. CR(VI) WAS AT LEAST TWICE AS ADSORBABLE AS
CR(III). THE OPTIMUM PH FOR ADSORPTIVE REMOVAL WAS 5.5 TO 6.0 FOR CR(VI) AND 5.0 FOR CR(III).

GRANULAR ACTIVATED CARBON (GAC) IS USUALLY PREFERRED SINCE IT CAN BE CHEMICALLY REGENERATED AND
REUSED. POWDERED ACTIVATED CARBON (PAC) IS LESS EXPENSIVE, BUT IT CAN ONLY BE USED ON A
ONCE-THROUGH BASIS.

ACTIVATED CARBON WILL ADSORB HEXAVALENT CHROMIUM AND MANY METALS COMPLEXED IN ORGANIC FORM. THE
ADSORPTIVE CAPACITY DEPENDS ON THE CARBON PORE SIZE, SOLUTION PH, AND THE INITIAL AND FINAL
CONCENTRATIONS OF THE METAL(S). ACTIVATED CARBON ADSORPTION IS CONSIDERED TO BE AN APPLICABLE
TECHNOLOGY FOR THE REMOVAL OF CR(VI) FROM GROUND WATER AT THE CWP SITE. IN PARTICULAR,
ACTIVATED CARBON ADSORPTION SHOWS CONSIDERABLE PROMISE FOR REMOVING LOW CONCENTRATIONS OF
CHROMIUM (IN THE RANGE OF 1 TO 2 ,MG/L) REMAINING AFTER OTHER TREATMENT METHODS SUCH AS
PRECIPITATION, CEMENTATION, ETC. REGENERATION OF THE SPENT CARBON IS POSSIBLE WITH THE USE OF
CAUSTIC SOLUTION.

THERE ARE A NUMBER OF OPERATIONAL CONSIDERATIONS, HOWEVER, THAT MAKE CARBON ADSORPTION AN
INAPPROPRIATE CHOICE AS A TREATMENT OPTION FOR GROUND WATER CONTAINING CR(VI), AS DISCUSSED
BELOW:

      •      ON THE CARBON SURFACE, CR(VI) IS PARTIALLY REDUCED TO CR(III) WHICH DOES NOT ADSORB
             WELL ON CARBON.

      •      THE MAXIMUM ADSORPTION OF CR(VI) OCCURS AT A PH OF APPROXIMATELY 2.5. AT LOWER PH
             VALUES, THE CR(VI) IS REDUCED TO CR(III); AT HIGHER PH VALUES, THE ADSORPTION OF
             CR(VI) DECREASES RAPIDLY.

      •      CR(VI) CAN BE STRIPPED FROM THE CARBON WITH A CAUSTIC SOLUTION. REMOVAL OF CR(VI)
             CAN THEN BE ACCOMPLISHED BY CHEMICAL ADDITION AND PH ADJUSTMENT IN A MIXING VESSEL;
             HOWEVER, A CHROMIUM-CONTAMINATED SLUDGE IS GENERATED.

A CARBON ADSORPTION SYSTEM WITH CAUSTIC REGENERATION COULD BE DESIGNED TO REMOVE CR(VI) FROM
GROUND WATER AT THE SITE, BUT CR(III) WOULD NOT BE REMOVED BY THIS METHOD. ALTHOUGH IT IS TRUE
THAT HIGHER CONCENTRATIONS OF CR(III) IN THE EFFLUENT CAN BE TOLERATED, FOR CERTAIN METHODS OF
TREATED WATER DISCHARGE, LOWER CONCENTRATIONS OF CR(III) ARE ADVANTAGEOUS. CERTAIN EQUIPMENT
AND CHEMICALS ARE NEEDED TO CARRY OUT PH ADJUSTMENT OF THE GROUND WATER AND IN THE ADSORPTION
OPERATION.

TYPICAL CAPITAL AND O&M COSTS ARE PRESENTED IN TABLE 13. ADDITIONAL EQUIPMENT, CONTROLS, AND
CHEMICALS WOULD BE REQUIRED FOR CARBON REGENERATION, WHICH IS PREFERRED OVER A NONREGENERATION
APPROACH, TO MINIMIZE THE COST OF CARBON REPLACEMENT CONTAMINATED CARBON DISPOSAL. HOWEVER, EVEN
WITH THE USE OF CARBON REGENERATION, DISPOSAL OF CHROMIUM CONTAMINATED SLUDGE AND SOME SPENT
CARBON WOULD BE NECESSARY. FOR THE REASONS STATED ABOVE, CARBON ADSORPTION WOULD NOT BE A
COST-EFFECTIVE OPTION FOR THE REMOVAL OF CHROMIUM FROM GROUND WATER AT THE SITE.

7.1.3.5 ION EXCHANGE

THE ION EXCHANGE PROCESS FOR CHROMIUM REMOVAL IS SIMILAR IN OPERATION TO THE CARBON ADSORPTION
SYSTEM DISCUSSED IN SECTION 7.1.3.4, WASTEWATER IS PASSED THROUGH A BED OF ION EXCHANGE RESIN,
WHICH CONTAINS ACTIVE IONIC FUNCTIONAL GROUPS. CHROMIUM IONS ARE EXCHANGED AND REMOVED FROM THE
RESIN AND THEN SEPARATED BY PH ADJUSTMENT AND PRECIPITATION. ION EXCHANGE IS A PROCESS WHEREBY
              Case
THE MOBILE IONS     1:96-cv-06055-AWI-SAB
                ARE REMOVED                    Document
                            FROM THE GROUND WATER PHASE BY73  Filed
                                                           BEING    03/01/18
                                                                 EXCHANGED WITHPage  202 of 708
                                                                                RELATIVELY
IMMOBILE IONS HELD BY THE ION EXCHANGE MATRIX (WEBER, 1972). THE REMOVAL OF CHROMIUM DEPENDS
PRIMARILY ON THE VALENCE OF THE CHROMIUM ION, THE TYPE OF RESIN, AND THE CHROMIUM CONCENTRATION
IN GROUND WATER. THE CHROMATE-DICHROMATE PAIR OF DIVALENT ANIONS PRESENTS A DIFFERENT CASE. IN
ALKALINE SOLUTIONS, HEXAVALENT CHROMIUM EXISTS IN SOLUTION AS THE CHROMATE ION CRO4. AS PH
DROPS BELOW 6, CHROMATE IONS CONDENSE TO FORM DICHROMATE IONS CR2O72 BOTH IONS APPEAR TO BE HELD
SELECTIVELY OVER COMMON MONOVALENT ANIONS.

  (R4N)2, CR2O72 + 2NAOH ----
   (R4N)2, (CRO)4 + NA2CRO4+H2O

THIS REVERSIBILITY IS USED IN REMOVING HEXAVALENT CHROMIUM FROM GROUND WATER.

GROUND WATER ENTERS THE TOP OF THE RESIN COLUMN UNDER PRESSURE, PASSES DOWNWARD THROUGH THE
RESIN BED, AND IS REMOVED AT THE BOTTOM. WHEN THE RESIN CAPACITY IS EXHAUSTED, THE COLUMN IS
BACKWASHED TO REMOVE TRAPPED SOLIDS AND THEN REGENERATED. SUSPENDED SOLIDS IN THE FEED STREAM
SHOULD BE LESS THAN 50 MG/L TO PREVENT PLUGGING THE RESINS. THE CATIONIC EXCHANGE RESIN IS
REGENERATED WITH A STRONG ACID, SUCH AS SULFURIC ACID OR HYDROCHLORIC ACID. SODIUM HYDROXIDE IS
A COMMONLY USED REGENERANT FOR ANION EXCHANGE RESIN. THIS PROCESS CAN TAKE PLACE IN SEPARATE
EXCHANGE COLUMNS ARRANGED IN SERIES, OR BOTH RESINS CAN BE MIXED IN A SINGLE REACTOR (ELZEL AND
TSENG, 1984).

FOR THE REDUCTION OF CR(VI) AND CR(III), BOTH ANIONIC AND CATIONIC EXCHANGE RESINS MUST BE USED.
THE GROUND WATER IS FIRST PASSED THROUGH A CATION EXCHANGER WHERE THE POSITIVELY CHARGED IONS,
SUCH AS CR (VI), ARE REPLACED BY HYDROGEN IONS. THE CATION EXCHANGER EFFLUENT IS THEN PASSED
OVER AN ANIONIC EXCHANGE RESIN WHERE THE ANIONS ARE REPLACED BY HYDROXIDE IONS. THUS, THE
CHROMIUM IONS ARE REPLACED BY HYDROGEN AND HYDROXIDE IONS THAT REACT TO FORM WATER MOLECULES.

HEXAVALENT CHROMIUM CAN BE SUCCESSFULLY RECOVERED USING ION EXCHANGE TREATMENT. BECAUSE OF
FACTORS SUCH AS RESIN CAPACITY AND THE NUMBER OF TIMES THE RESIN CAN BE REGENERATED, THIS
TECHNOLOGY IS USUALLY APPLICABLE ONLY TO THOSE SITUATIONS INVOLVING RELATIVELY LOW INFLUENT
CONCENTRATIONS. REMOVAL EFFICIENCIES OF 90 TO 99 PERCENT HAVE BEEN REPORTED FOR THE TREATMENT
OF GROUND WATER WITH A CONVENTIONAL TWO-STAGE EXCHANGER SYSTEM. EVEN HIGHER REMOVALS ARE
POSSIBLE WITH MIXED-BED EXCHANGERS.

THE UNIT VOLUME COST FOR STRONG-BASE RESINS IS 3 TO 4 TIMES THAT OF STRONG-ACID RESINS. THE
HIGHER COST OF STRONG-BASE RESINS IS DUE TO THE CONSIDERABLY MORE COMPLEX MANUFACTURING PROCESS
REQUIRED FOR THE ANION RESINS.

THE ADVANTAGES OF THE ION EXCHANGE PROCESS ARE:

      •      SIMPLE, BASIC TYPE OF UNIT WITH EASY MAINTENANCE.

      •      BETTER QUALITY CONTROL DUE TO ELIMINATION OF PROCESS VARIABILITY.

      •      REDUCED WASTE DISPOSAL COSTS.

ION EXCHANGE HAS SIMILAR DISADVANTAGES TO CARBON ADSORPTION FOR APPLICATION TO THE TREATMENT OF
GROUND WATER FROM THE SITE. SPECIFICALLY, THE ION EXCHANGE, REGENERATION, AND CHROMIUM
PRECIPITATION OPERATIONS REQUIRE A VARIETY OF EQUIPMENT, CONTROLS, CHEMICALS, AND LABOR. THESE
ITEMS RESULT IN HIGH CAPITAL AND OPERATIONAL COSTS. INCLUDED IN THESE EXPENSES IS THE HIGH COST
OF ION EXCHANGE RESIN. IF BOTH CR(VI) AND CR(III) ARE PRESENT IN THE WASTEWATER, TWO RESIN BEDS
WOULD BE REQUIRED BECAUSE CR(VI) ABSORBS ON ANION RESIN (CR+6 EXISTING AS CRO4-2) AND CR(III)
ABSORBS ON CATION RESIN. REGENERATION AND PRECIPITATION OF CHROMIUM WOULD ALSO BE FURTHER
COMPLICATED IF BOTH CR(III) AND CR(VI) ARE PRESENT IN THE GROUND WATER. THE MAJOR DISADVANTAGES
OF THIS TECHNOLOGY ARE AS FOLLOWS:

      •      HIGH REGENERATION COST.
      •      FLUCTUATING EFFLUENT QUALITY.
      •      REQUIRES SUBSTANTIAL FLOOR SPACE.

THE CONSTRUCTION COST FOR A SYSTEM CAPABLE OF HANDLING 20 GPM, INCLUDING A STEEL CONTACT VESSEL,
A RESIN DEPTH OF 6 FEET, HOUSING FOR THE COLUMNS, AND ALL PIPING AND BACKWASH FACILITIES, IS
              Case
ESTIMATED TO BE     1:96-cv-06055-AWI-SAB
                $84,000                        Document
                        WITH AN O&M COST OF $14,000.      73 COST
                                                      THE O&M FiledINCLUDES
                                                                    03/01/18ELECTRICITY
                                                                               Page 203FOR
                                                                                         of 708
BACKWASHING AND PERIODIC REPAIR AND REPLACEMENT COSTS. COSTS FOR REGENERANT CHEMICALS ARE NOT
INCLUDED BECAUSE THEY VARY DEPENDING ON THE CONCENTRATIONS OF CHROMIUM TO BE REMOVED FROM THE
GROUND WATER.

7.1.3.6 REVERSE OSMOSIS

IF A PRESSURE EQUAL TO OR GREATER THAN THE OSMOTIC PRESSURE IS APPLIED TO THE SOLUTION SIDE OF A
MEMBRANE, THE SOLVENT WILL FLOW ACROSS THE MEMBRANE LEAVING A MORE CONCENTRATED SOLUTION. THIS
PROCESS IS KNOWN AS REVERSE OSMOSIS. SUFFICIENTLY HIGH PRESSURE, USUALLY IN THE RANGE OF 200 TO
400 PSI, WILL FORCE THE SOLVENT OUT OF SOLUTION, PRODUCING A MORE CONCENTRATED STREAM WHICH MUST
BE TREATED FURTHER OR DISPOSED OF. IONS AND SMALL MOLECULES IN GROUND WATER CAN BE SEPARATED
FROM WATER BY THIS TECHNIQUE. THE CONCENTRATED WASTE STREAM REQUIRES ADDITIONAL TREATMENT TO
REMOVE OR RECOVER THE CHROMIUM.

THE BASIC COMPONENTS OF A REVERSE OSMOSIS UNIT ARE THE MEMBRANE, A MEMBRANE SUPPORT STRUCTURE, A
CONTAINING VESSEL, AND A HIGH PRESSURE PUMP. THE MEMBRANE AND MEMBRANE SUPPORT STRUCTURE ARE
THE MOST CRITICAL ELEMENTS. THE FACT THAT REVERSE OSMOSIS UNITS CAN BE OPERATED IN SERIES OR IN
PARALLEL PROVIDES SOME FLEXIBILITY IN DEALING WITH INCREASED FLOW RATES OR CONCENTRATIONS OF
DISSOLVED SPECIES.

AVAILABLE INFORMATION AND EXPERIENCE IS LIMITED REGARDING THE USE OF REVERSE OSMOSIS FOR GROUND
WATER TREATMENT. A HEXAVALENT CHROMIUM REMOVAL EFFICIENCY OF 93.5 PERCENT HAS BEEN REPORTED FOR
AN INFLUENT CONCENTRATION OF 49.6 MG/L (HINDIN, 1968). THE VOLUME OF THE REJECT GENERATED BY
REVERSE OSMOSIS IS ABOUT 10 TO 25 PERCENT OF THE FEED VOLUME. PROVISIONS MUST BE MADE TO TREAT
THIS POTENTIALLY HAZARDOUS WASTE. PRETREATMENT OF THE SECONDARY EFFLUENT WITH FILTRATION AND
CARBON ADSORPTION IS USUALLY NECESSARY.

A VERY HIGH QUALITY FEED IS REQUIRED FOR EFFICIENT OPERATION OF A REVERSE OSMOSIS UNIT. THE
REMOVAL OF IRON AND MANGANESE IS ALSO NECESSARY TO DECREASE SCALING POTENTIAL. THE PH OF THE
FEED SHOULD BE ADJUSTED TO A RANGE OF 4.0 TO 7.5 TO INHIBIT SCALE FORMATION. THE PRIMARY
LIMITATIONS OF REVERSE OSMOSIS ARE ITS HIGH COST AND THE PROBLEM OF A CONCENTRATED WASTE STREAM
WHICH MUST BE TREATED FURTHER USING ANOTHER TECHNOLOGY. BECAUSE OF THE LOW REMOVAL EFFICIENCY
AND HIGH QUALITY FEED REQUIREMENTS, REVERSE OSMOSIS IS NOT CONSIDERED TO BE APPLICABLE TO THE
TREATMENT OF GROUND WATER AT THE CWP SITE.

THE TOTAL CAPITAL COST, INCLUDING HOUSING, TANKS, PIPING, MEMBRANES, FLOW METERS, CARTRIDGE
FILTERS, ACID AND POLYPHOSPHATE FEED EQUIPMENT, AND CLEANUP EQUIPMENT, TO TREAT 20 GPM ARE
ESTIMATED TO BE $400,000 WITH A TOTAL ANNUAL O&M COST OF $150,000. THE O&M COSTS INCLUDE
ELECTRICITY FOR THE HIGH PRESSURE FEED PUMPS (450 PSI OPERATING PRESSURE), BUILDING UTILITIES,
ROUTINE PERIODIC REPAIR, ROUTINE CLEANING, AND MEMBRANE REPLACEMENT EVERY THREE YEARS (EPA
600-8-80-042D).

7.1.3.7 ELECTRODIALYSIS

IN THE ELECTRODIALYSIS PROCESS, IONIC COMPONENTS OF A SOLUTION, SUCH AS CR (VI), ARE SEPARATED
THROUGH THE USE OF SEMI-PERMEABLE ION-SELECTIVE MEMBRANES. APPLICATION OF AN ELECTRICAL
POTENTIAL BETWEEN THE TWO ELECTRODES CAUSES ELECTRIC CURRENT TO PASS THROUGH THE SOLUTION,
WHICH, IN TURN, CAUSES A MIGRATION OF CATIONS TOWARD THE NEGATIVE ELECTRODE AND A MIGRATION OF
ANIONS TOWARD THE POSITIVE ELECTRODE. BECAUSE OF THE ALTERNATE SPACING OF CATION AND ANION
PERMEABLE MEMBRANES, CELLS OF CONCENTRATED AND DILUTE SOLUTION ARE FORMED (POON AND LU, 1981).

GROUND WATER IS PUMPED THROUGH THE MEMBRANES WHICH ARE SEPARATED BY SPACERS AND ASSEMBLED INTO
STAGES. THE RETENTION TIME IN EACH STAGE IS USUALLY ABOUT 10 TO 20 SECONDS. REMOVAL OF
CHROMIUM FROM GROUND WATER VARIES WITH:

      •      GROUND WATER TEMPERATURE
      •      AMOUNTS OF ELECTRICAL CURRENT PASSED
      •      AMOUNT OF CR(VI) AND/OR CR(III) IONS
      •      FOULING AND SCALING POTENTIAL
      •      NUMBER AND CONFIGURATION OF STAGES.
THIS PROCESS MAY BE OPERATED IN EITHER A CONTINUOUS OR A BATCH MODE. THE UNITS CAN BE ARRANGED
              CaseTO1:96-cv-06055-AWI-SAB
EITHER IN PARALLEL                             Document
                      PROVIDE THE NECESSARY HYDRAULIC     73 Filed
                                                      CAPACITY OR IN03/01/18
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                                                                               ACHIEVE THEof 708
DESIRED DEGREE OF CHROMIUM REMOVAL. MAKEUP WATER, USUALLY ABOUT 10 PERCENT OF THE FEED VOLUME,
IS REQUIRED TO WASH THE MEMBRANES CONTINUOUSLY. A PORTION OF THE CONCENTRATE STREAM IS RECYCLED
TO MAINTAIN NEARLY EQUAL FLOW RATES AND PRESSURES ON BOTH SIDES OF EACH MEMBRANE. SULFURIC ACID
IS FED TO THE CONCENTRATE STREAM TO MAINTAIN A LOW PH AND, THUS, MINIMIZE SCALING.

TO ACHIEVE HIGH THROUGHPUT, ELECTRODIALYSIS CELLS IN PRACTICE ARE MADE VERY THIN AND ASSEMBLED
IN STACKS OF CELLS IN SERIES. EACH STACK OF 10 CONSISTS OF MORE THAN 100 CELLS. GENERALLY,
ELECTRODIALYSIS WORKS BEST ON ACIDIC STREAMS CONTAINING A SINGLE PRINCIPAL METAL ION.

AN ELECTRODIALYSIS PLANT PRODUCES TWO PRODUCT STREAMS, ONE DILUTE AND ONE CONCENTRATED, WHICH
MAY NEED TO BE DISPOSED OR FURTHER TREATED. BECAUSE OF HYDROGEN GENERATION, THIS TECHNOLOGY MAY
CAUSE SOME FOCAL AIR POLLUTION (EPA 600-8-80-042C).

ELECTRODIALYSIS HAS THE ADVANTAGE OF BEING A CONTINUOUS PROCESS WHICH, UNLIKE THE ADSORPTION
PROCESS, DOES NOT REQUIRE REGENERATION. HOWEVER, ELECTRODIALYSIS IS USUALLY NOT ECONOMICAL FOR
TREATMENT OF VERY DILUTE CHROMIUM SOLUTIONS LIKE THE CWP GROUND WATER AND FOR SITUATIONS WHERE
LOW EFFLUENT CONCENTRATIONS ARE REQUIRED. A MORE COMMON APPLICATION FOR THIS TECHNOLOGY IS THE
RECOVERY OF IONIZED SPECIES SUCH AS METAL SALTS, CYANIDES, OR CHROMATES FROM METAL FINISHING
WASTEWATERS, WHICH ARE AT CONSIDERABLY HIGHER CONCENTRATIONS THAN THE GROUND WATER.

PROBLEMS ASSOCIATED WITH THE ELECTRODIALYSIS PROCESS INCLUDE CHEMICAL PRECIPITATION ON THE
MEMBRANE SURFACE AND CLOGGING OF THE MEMBRANE BY THE RESIDUAL COLLOIDAL ORGANIC MATTER IN GROUND
WATER. TO REDUCE MEMBRANE FOULING, ACTIVATED CARBON PRETREATMENT, POSSIBLY PRECEDED BY CHEMICAL
PRECIPITATION AND SOME FORM OF MULTIMEDIA FILTRATION, MAY BE REQUIRED. THIS PROCESS MAY,
THEREFORE, REQUIRE MORE ATTENTION AND MAINTENANCE THAN OTHER SYSTEMS DISCUSSED IN PREVIOUS
SECTIONS. ALSO, THIS PROCESS IS NOT AN ESTABLISHED TECHNOLOGY FOR THE SUBJECT APPLICATION. IT
IS STILL CONSIDERED TO BE POSSIBLY APPLICABLE TO THE TREATMENT OF GROUND WATER AT THE CWP SITE.

THE CAPITAL COST ASSOCIATED WITH THIS OPTION IS APPROXIMATELY $85,000. THE O&M COSTS ARE
ESTIMATED AT $1.00 PER 1,000 GALLONS.

7.1.4       ALTERNATIVES FOR DISCHARGE OF EXTRACTED WATER

GROUND WATER EXTRACTION FOR PLUME CONTROL AND REMEDIATION REQUIRES AN APPROPRIATE MEANS OF
HANDLING THE PUMPED WATER. THE OPTIONS CONSIDERED FOR HANDLING EXTRACTED GROUND WATER, EITHER
WITH OR WITHOUT TREATMENT, ARE AS FOLLOWS:

        •       RECYCLING
        •       SANITARY SEWER DISCHARGE
        •       SURFACE WATER DISCHARGE
        •       SUBSURFACE INJECTION.

7.1.4.1 RECYCLING

THE MOST COST-EFFECTIVE METHOD OF HANDLING THE CONTAMINATED WATER IS TO RECYCLE THE PUMPED WATER
INTO CWP OPERATIONS WITHOUT TREATMENT. THIS WOULD BE POSSIBLE SO LONG AS CWP'S DEMAND WAS
LARGER THAN THE VOLUME EXTRACTED. OTHERWISE, PARTIAL RECYCLING COMBINED WITH TREATMENT/DISPOSAL
OF THE BALANCE COULD BE PERFORMED.

TO EXPLORE THE POSSIBILITY OF RECYCLING, A REVIEW OF THE WATER BALANCE IS NECESSARY. THE TOTAL
SURFACE WATER COLLECTION AREA IS 22,840 FT2. THUS, ONE INCH OF RAIN GENERATES 14,180 GALLONS OF
RUNOFF. THE STORM EVENTS OF INTEREST AND THE CORRESPONDING VOLUME OF WATER ARE AS FOLLOWS
(DEPARTMENT OF WATER RESOURCES, 1976):

  STORM EVENT                               RAINFALL   WATER
                                            (INCHES)   (GALLONS)

  10-YEAR WINTER                               48.93        693,827
  100-YEAR/24-HOUR                             6.66          94,439
THE CWP OPERATION USES 20 ABOVE-GROUND TANKS WITH A TOTAL STORAGE CAPACITY OF 752,000 GALLONS.
              Case 1:96-cv-06055-AWI-SAB
ASSUMING THE OCCURRENCE                        Document
                        OF A 10-YEAR WINTER STORM,        73 Filed
                                                   THE AVAILABLE    03/01/18
                                                                 STORAGE       Page 205
                                                                         WILL AMOUNT     of 708
                                                                                     TO 59,173
GALLONS (752,000 MINUS 693,827). THE DAILY OPERATIONAL USE IS ABOUT 8,000 GALLONS OR
APPROXIMATELY 5.5 GPM. THEREFORE, IF THE EXTRACTION SYSTEM OPERATES AT ABOUT 5 GPM DURING DRY
CONDITIONS, ALL THE EXTRACTED WATER CAN BE RECYCLED. ALSO, DURING THE STORM EVENTS (10-YEAR
WINTER), EXTRACTION RATES OF 4 TO 6 GPM COULD BE ACCOMMODATED FOR ABOUT EIGHT DAYS UTILIZING THE
AVAILABLE STORAGE.

IT IS EVIDENT FROM THE MASS BALANCE CALCULATIONS THAT FOR EXTRACTION RATES GREATER THAN 5 GPM OR
DURING THE WET WINTER MONTHS, AN ADDITIONAL DISCHARGE OPTION IS REQUIRED. IT IS IMPORTANT TO
NOTE THAT HIGHER EXTRACTION RATES ARE DESIRED DURING THE WET SEASON TO ACHIEVE A GREATER DEGREE
OF MIGRATION CONTROL AND REMEDIATION.

7.1.4.2   DISCHARGE INTO THE SANITARY SEWER

DISCHARGE OF TREATED GROUND WATER INTO THE SANITARY SEWER IS A VIABLE OPTION WHICH IS CURRENTLY
BEING PURSUED BY CWP. THIS OPTION HAS BEEN UNDER CONSIDERATION SINCE 1983, WHEN THE CITY OF
UKIAH (THE CITY) INFORMED CWP OF THE REGULATIONS CONCERNING THE CRITERIA FOR DISCHARGING
WASTEWATERS INTO THE SANITARY SEWER SYSTEM. UPON THE CITY'S REQUEST, KENNEDY/JENKS ENGINEERS
WERE DIRECTED TO EVALUATE THE COMPATIBILITY OF TREATED WATER FROM THE CWP FACILITY WITH THE
CITY'S WASTEWATER TREATMENT PLANT REGULATIONS. THE KENNEDY/JENKS ENGINEERS (MARCH 19, 1984)
EVALUATION CONCLUDED THAT A DISCHARGE OF 40,000 GALLONS PER DAY OF WASTEWATER CONTAINING NO MORE
THAN 0.5 MG/L OF HEXAVALENT CHROMIUM WOULD BE ACCEPTABLE UNDER THE LIMITATIONS OF RESTRICTED
DISCHARGES. THE ACCEPTABILITY OF THE WASTEWATER DISCHARGE WOULD BE SUBJECT TO VERIFICATION OF
THE EXISTING BASELINE (PRE-DISCHARGE) LEVELS OF CHROMIUM PRESENT IN THE CITY SEWAGE AND SLUDGE.
THE BASELINE DATA WERE SUBSEQUENTLY GENERATED AND SUBMITTED TO THE CITY. ON APRIL 30, 1987, CWP
SUBMITTED A PROPOSAL TO DISCHARGE THE ELECTROCHEMICALLY-TREATED WATER DURING THOSE PERIODS WHEN
EXTRACTED GROUND WATER CANNOT BE RECYCLED OR STORED ON SITE (CWP, APRIL 30, 1987). THIS
PROPOSAL PROVIDED THE REQUIRED BASELINE DATA AND THE ELECTROCHEMICAL TREATMENT UNIT INFLUENT AND
EFFLUENT CHROMIUM CONCENTRATIONS. THE DATA PROVIDED DEMONSTRATED THAT THE EXISTING DISCHARGE
LIMITATIONS CAN BE COMPLIED WITH. THE MAXIMUM CHROMIUM CONCENTRATION IN THE ELECTROCHEMICAL
TREATMENT SYSTEM EFFLUENT WAS SPECIFIED AS 0.1 MG/L. THE CITY HAS PROVIDED CWP WITH AN
AUTHORIZATION TO DISCHARGE SUBJECT TO CERTAIN PROVISIONS, PROHIBITIONS, AND REQUIREMENTS AS
OUTLINED IN TABLE 15. CWP IS CURRENTLY REVIEWING THE CITY'S REQUIREMENTS.

7.1.4.3   DISCHARGE INTO THE SURFACE DRAINAGE SYSTEM

ANOTHER POSSIBLE METHOD OF HANDLING EXCESS TREATED WATER IS DISCHARGE TO THE SURFACE DRAINAGE
DITCH TO THE EAST OF THE SITE. AS DISCUSSED IN SECTION 4.3, THIS DRAINAGE DITCH EVENTUALLY
REPORTS TO THE RUSSIAN RIVER, ALTHOUGH SOME SEEPAGE INTO THE VALLEY FILL DEPOSITS IS LIKELY TO
OCCUR. THE DITCH HAS THE CAPACITY TO ACCEPT EXCESS DISCHARGED WATER, EVEN DURING PEAK FLOW
PERIODS. IMPLEMENTATION OF THIS OPTION WOULD ONLY BE POSSIBLE IF RESTRICTIONS ON DISCHARGE INTO
THE RUSSIAN RIVER AND ITS TRIBUTARIES ARE RELAXED. THE PROBABLE DEVELOPMENT OF MORE STRINGENT
DISCHARGE RESTRICTIONS DOES NOT MAKE THIS OPTION A PROMISING OR FEASIBLE ALTERNATIVE AT THIS
TIME.

7.1.4.4   SUBSURFACE INJECTION

INJECTION OF EXCESS TREATED WATER INTO THE MORE PERMEABLE STRATA BENEATH THE SITE IS MORE
APPROPRIATE DURING THE DRY SEASONS WHEN GROUND WATER LEVELS ARE GENERALLY LOWER. CWP HAS
ATTEMPTED TO IMPLEMENT THIS OPTION BY INSTALLING INJECTION WELL CWP-19 UPGRADIENT OF THE
CONTAMINATED ZONE. DURING THE WET WINTER MONTHS, HOWEVER, WHEN THE VOLUME OF WATER TO BE
DISPOSED IS GREATEST, WELL CWP-19 HAS NOT BEEN ABLE TO ACCOMMODATE THE REQUIRED FLOW. DURING
THE DRIER MONTHS WHEN GROUND WATER IS DEEPER, THIS DISCHARGE ALTERNATIVE MAY BE NECESSARY IN
ORDER TO FLUSH THE CONTAMINANTS TOWARD THE EXTRACTION WELL. ONE OF THE MAJOR DISADVANTAGES OF
THIS METHOD IS BIO-FOULING AND MICROBIAL GROWTH IN THE INJECTION WELLS, REQUIRING FREQUENT
MAINTENANCE.

7.2       RECOMMENDED REMEDIAL ACTION

THIS SECTION DESCRIBES THE RECOMMENDED REMEDIAL ACTION BASED ON THE SCREENING OF VARIOUS
ALTERNATIVES PRESENTED IN SECTION 7.3. THE RATIONALE FOR SELECTION OF THE RECOMMENDED
ALTERNATIVE AND REJECTION OF THE OTHERS, AND A DESCRIPTION OF THE ENVIRONMENTAL EFFECTS OF THE
RECOMMENDED ALTERNATIVE ARE ALSO PROVIDED. THE COMPONENTS OF THE RECOMMENDED REMEDIAL ACTION
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PLAN ARE AS FOLLOWS:

        •       SURFACE RUNOFF MANAGEMENT

        •       CONTROL OF CONTAMINATED SOIL

        •       PLUME CONTROL AND AQUIFER REMEDIATION

        •       ELECTROCHEMICAL TREATMENT OF GROUND WATER

        •       WATER RECYCLING/DISCHARGE TO THE UKIAH SEWAGE TREATMENT PLANT OR REINJECTION

        •       MONITORING.

EACH OF THE ABOVE COMPONENTS IS DESCRIBED BELOW.

7.2.1         SURFACE RUNOFF FLOW MANAGEMENT

SURFACE RUNOFF SHALL BE CONTROLLED IN ORDER TO PREVENT THE DISCHARGE OF POTENTIALLY CONTAMINATED
WATER TO SURFACE WATERS. THE REMAINING UNPAVED PORTIONS OF THE SITE SHALL BE PAVED. THE AREA
LOCATED ADJACENT TO THE 330,000-GALLON STORAGE TANK SHALL ALSO BE REGRADED AND REPAVED TO
PREVENT PONDING. THE SITE SHALL BE INSPECTED PERIODICALLY, AT LEAST ONCE PER YEAR BEFORE THE
WET SEASON, AND SURFACE PAVING AND DRAINAGE FEATURES REPAIRED AS APPROPRIATE. PARTICULAR
ATTENTION SHALL BE GIVEN TO AREAS AROUND THE SUMPS AND RETORTS. MOBILE EQUIPMENT (E.G.,
FORKLIFTS) SHALL BE DESIGNATED FOR EXCLUSIVE USE IN THE RETORT AREA, TREATED WOOD STORAGE AREA,
OR UNTREATED WOOD STORAGE AREA TO PREVENT CROSS SURFACE CONTAMINATION. STORM WATER MONITORING
SHALL BE PERFORMED IN ACCORDANCE WITH RWQCB ORDER NO. 85-101. THE RESULTS OF STORM WATER
QUALITY MONITORING WILL BE EVALUATED AND APPROPRIATE ACTIONS TAKEN ACCORDINGLY.

7.2.2         CONTROL OF CONTAMINATED SOIL

THE CONTAMINATED SOIL SHALL BE CONTROLLED BY PREVENTING SURFACE WATER INFILTRATION AND BY
EXERCISING HYDRAULIC CONTROL OF THE PLUME IN ZONE 1. AS DESCRIBED IN SECTION 5.0, THESE REMEDIAL
MEASURES HAVE BEEN PARTIALLY IMPLEMENTED AT THE CWP SITE. SURFACE PAVING HAS BEEN INSTALLED TO
PREVENT THE PASSAGE OF WATER THROUGH THE NEAR-SURFACE, CHROMIUM-CONTAINING SOIL. CONSEQUENTLY,
THE SOIL IS NOT EXPECTED TO BE A SIGNIFICANT SOURCE OF CONTAMINATION BY SURFACE WATER
INFILTRATION DURING THE OPERATION OF THE FACILITY. POSTCLOSURE REMEDIAL MEASURES INCLUDE
ON-SITE TREATMENT OF THE CONTAMINATED SOIL TO A DEPTH OF 1.5 FEET FOR AREAS CONTAINING GREATER
THAN 100 MG/KG OF TOTAL CHROMIUM AND 15 MG/KG OF ARSENIC. BENEATH AND AROUND THE RETORT AND
SUMP AREAS, THE DEPTH OF EXCAVATION IS EXPECTED TO BE 5 FEET. TREATABILITY STUDIES WILL BE
CONDUCTED PRIOR TO SELECTING THE FINAL SOIL REMEDY AT THE TIME OF CLOSURE OF THE FACILITY.

CONTAMINATED SOIL THAT COMES IN CONTACT WITH GROUND WATER DURING SEASONAL HIGH GROUND WATER
CONDITIONS WILL BE CONTROLLED HYDRAULICALLY. THE HYDRAULIC CONTROL MEASURES INCLUDE GROUND WATER
EXTRACTION NEAR THE RETORT AREA FROM WELL CWP-18 AND NEAR THE SITE BOUNDARY FROM WELL HL-7.
DETAILS OF THE HYDRAULIC CONTROL MEASURES ARE PRESENTED IN SECTION 7.2.3. THE PROPOSED APPROACH
SHALL PREVENT DIRECT HUMAN EXPOSURE TO CONTAMINATED SOIL, ELIMINATE THE CONTRIBUTION OF
INFILTRATING SURFACE WATER TO GROUND WATER CONTAMINATION, AND PREVENT OFF-SITE MIGRATION.
IMPLEMENTATION OF THESE MEASURES, COMBINED WITH PROPER TREATED WOOD HANDLING PRACTICES, SHOULD
GRADUALLY IMPROVE THE SITE CONDITIONS. THE CRITERIA FOR EVALUATING SUCH IMPROVEMENTS INCLUDE
THE TREND OF CHROMIUM CONCENTRATIONS IN WELLS LOCATED NEAR THE RETORT OR PROCESS AREA. IF NO
IMPROVEMENT IS OBSERVED, ADDITIONAL INVESTIGATION AND REMEDIATION ACTIONS MAY BE REQUIRED.

BASED ON THE ABOVE CONSIDERATIONS AND AGENCIES PARTICIPATION IN THE SELECTION OF REMEDIAL
ALTERNATIVES, TABLE 16 SUMMARIZES THE SOIL REMEDIAL ACTION ALTERNATIVES AS SUGGESTED BY DHS.   AS
SHOWN IN TABLE 16, ALTERNATIVE NO. 5.2, WHICH INCLUDES ON-SITE TREATMENT OF THE CONTAMINATED
SOIL, IS FAVORED BY DHS.

7.2.3       PLUME CONTROL AND AQUIFER REMEDIATION

THE ZONE OF CONTAMINATION SHALL BE CONTROLLED HYDRAULICALLY TO PREVENT OFF-SITE MIGRATION AND TO
GRADUALLY REMEDIATE THE AQUIFER. THIS WILL BE ACCOMPLISHED BY EXTRACTING GROUND WATER FROM
LOCATIONS NEAR THE RETORT AREA AND NEAR THE SITE BOUNDARY. A CONTINGENCY PLAN HAS ALSO BEEN
              Case 1:96-cv-06055-AWI-SAB
DEVELOPED FOR OFF-SITE GROUND WATER EXTRACTION,Document   73 Filed
                                                SHOULD CHROMIUM     03/01/18 Page
                                                                CONCENTRATIONS EXCEED207
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PRESCRIBED LEVEL FOR PROLONGED PERIODS OF TIME. THE "ACTION LEVEL" AND PERSISTENCE OF CHROMIUM
IN OFF-SITE WELLS ARE TO BE DECIDED BY THE REGULATORY AGENCIES.

EXTRACTION FROM NEAR THE RETORT AREA WILL BE PERFORMED THROUGH WELL CWP-18, WHICH INTERCEPTS THE
CHROMIUM PLUME IN ZONE 1. ALTHOUGH THIS WELL CANNOT SUSTAIN CONTINUOUS PUMPING AT HIGH FLOW
RATES, THE IMPACT OF INTERMITTENT PUMPING IS STILL BELIEVED TO BE SIGNIFICANT BECAUSE OF THE
HIGH CHROMIUM CONCENTRATIONS IN GROUND WATER IN THAT AREA.

EXTRACTION FROM NEAR THE SITE BOUNDARY SHALL BE PERFORMED THROUGH WELL HL-7, LOCATED TO THE WEST
(HYDRAULICALLY UPGRADIENT) OF THE SLURRY WALL. AS DESCRIBED IN SECTION 5.0, WELL HL-7 IS LOCATED
AT THE CENTER OF A TRENCH WHICH IS ABOUT 20 FEET DEEP AND INTERCEPTS THE CHROMIUM PLUME
APPROXIMATELY PERPENDICULAR TO THE DIRECTION OF GROUND WATER FLOW. EXTRACTION FROM WELL HL-7 CAN
PRODUCE A ZONE OF INFLUENCE WHICH, IN EFFECT, CONTAINS THE CHROMIUM PLUME AND PREVENTS OFF-SITE
MIGRATION. THE EXTRACTION RATE FROM WELL HL-7 SHALL VARY SEASONALLY FROM 5 TO 20 GPM, DEPENDING
PRIMARILY ON GROUND WATER CONDITIONS. THE EXTRACTION OF GROUND WATER FROM WELL HL-7, COMBINED
WITH THE PRESENCE OF THE SLURRY WALL, IS BELIEVED TO BE THE PRINCIPAL REMEDIATION MEASURE TO
PREVENT THE OFF-SITE MIGRATION OF CHROMIUM.

IN ADDITION TO CONTAINING THE CHROMIUM PLUME ON SITE, GROUND WATER EXTRACTION, PARTICULARLY FROM
WELL HL-7, WILL ALSO GRADUALLY REMEDIATE THE AFFECTED WATER-BEARING ZONE. AQUIFER REMEDIATION
IS ACCOMPLISHED BY REMOVING CHROMIUM-CONTAINING WATER AND REPLACING IT WITH CHROMIUM-FREE WATER.
TO ESTIMATE THE TIME REQUIRED TO REMEDIATE THE WATER-BEARING ZONE, THREE FACTORS HAVE BEEN
CONSIDERED, AS FOLLOWS:

      •      THE TOTAL FLUID PRESENT IN THE WATER-BEARING ZONE CONTAINING ELEVATED CHROMIUM
             CONCENTRATIONS.

      •      THE NUMBER OF PORE VOLUMES REQUIRED TO ACHIEVE A GIVEN CONCENTRATION LIMIT.

      •      THE RATE OF GROUND WATER EXTRACTION.

BASED ON THE SITE-SPECIFIC CHARACTERISTICS AND A NUMBER OF ASSUMPTIONS, THE ABOVE PARAMETERS ARE
DISCUSSED BELOW.

USING THE MOST RECENT AREAL DEFINITION OF THE CHROMIUM PLUME, THE AREA CONTAINED WITHIN THE 0.02
MG/L ISOCONCENTRATION IS ESTIMATED TO BE ABOUT 130,000 FT2. BASED ON THE ASSUMPTIONS THAT THE
AVERAGE SATURATED THICKNESS OF THE WATER-BEARING ZONE IS 12 FEET AND ITS EFFECTIVE POROSITY IS
0.3, THE TOTAL FLUID PRESENT IN THE WATERBEARING ZONE IS ESTIMATED TO BE ABOUT 3.5 MILLION
GALLONS. APPROXIMATELY 10 PORE VOLUMES ARE ESTIMATED TO BE REQUIRED TO REDUCE THE EXISTING
CHROMIUM CONCENTRATIONS TO 0.05 MG/L. THIS ESTIMATE IS BASED ON THE FOLLOWING FACTORS AND
ASSUMPTIONS:

      •      LABORATORY ADSORPTION TEST DATA OBTAINED FROM SITE-SPECIFIC SOIL SAMPLES (IT
             CORPORATION, JUNE 1985).

      •      HIGHER DESORPTION RATE UNDER FIELD CONDITIONS AS COMPARED TO LABORATORY CONDITIONS.

      •      POSSIBLE REACTIONS CAUSING FIXATION AND TRANSFORMATION OF CR(VI) TO MORE INSOLUBLE
             FORMS WITH TIME.

      •      PUBLISHED AND UNPUBLISHED DATA ON CR(VI) DESORPTION.

      •      INACCURACIES AND UNCERTAINTIES ASSOCIATED WITH DATA TRANSLATION FROM LABORATORY TO
             FIELD.

THE PUMPING RATE FROM WELL HL-7 COULD VARY FROM ABOUT 5 GPM TO 20 GPM, DEPENDING ON SEASONAL
HYDROLOGIC CONDITIONS, THE WATER DEMAND BY CWP'S OPERATION, AND DISCHARGE CONSTRAINTS. ASSUMING
AN AVERAGE PUMPING RATE OF 10 GPM FOR THE ENTIRE DURATION OF REMEDIATION, THE TIME REQUIRED TO
REMOVE ONE PORE VOLUME IS ESTIMATED TO BE ABOUT 8.5 MONTHS. THUS, BASED ON THE ABOVE
ASSUMPTIONS AND CONSIDERATIONS, THE ESTIMATED TIME OF AQUIFER CLEANUP IS ABOUT SEVEN YEARS.
IN THE ABOVE CALCULATION, IT IS ASSUMED THAT THE SOIL DOES NOT ACT AS A SOURCE OF CHROMIUM TO
GROUND WATER. Case  1:96-cv-06055-AWI-SAB
               HOWEVER,                        Document
                        THE CHROMIUM CONTAMINATED         73 SITE
                                                  SOIL AT THE FiledMAY
                                                                    03/01/18
                                                                       CONTINUEPage  208
                                                                                TO ACT AS of
                                                                                           A 708
SOURCE OF CONTAMINATION. THEREFORE, THE ACTUAL LENGTH OF TIME FOR AQUIFER CLEANUP WILL BE
GREATER THAN THAT CALCULATED ABOVE. FOR LONG-TERM BUDGETARY PURPOSES, THE DURATION OF AQUIFER
CLEANUP IS PROJECTED TO BE BETWEEN 7 TO 20 YEARS. A MORE ACCURATE ESTIMATE OF AQUIFER CLEANUP
TIME WOULD BE POSSIBLE PROVIDED GROUND WATER REMEDIATION IS MONITORED AND RESULTS EVALUATED.
THUS, A LONG-TERM MONITORING PROGRAM (SECTION 7.2.6.3) IS NEEDED TO ESTABLISH THE PERFORMANCE OF
THE REMEDIATION IN ORDER TO ASSURE THAT GROUND WATER CLEANUP OBJECTIVES ARE ACHIEVED.

HYDRAULIC TESTING OF WELL HL-7 HAS SHOWN THAT DURING THE WINTER MONTHS, WHEN GROUND WATER LEVELS
ARE HIGHEST, IT IS POSSIBLE TO EXTRACT 20 GPM FROM WELL HL-7 (GEOSYSTEM, MARCH 1986). TO
ACCOMMODATE HIGHER EXTRACTION RATES, DISCHARGE OF TREATED WATER INTO THE SANITARY SEWER WOULD BE
REQUIRED.

BECAUSE OF THE OCCASIONAL APPEARANCE OF CHROMIUM IN WELL CWP-8, LOCATED TO THE EAST OF THE
SLURRY, EXTRACTION FROM WELL CWP-8 IS PROPOSED. AT THE SAME TIME, THE PUMPING RATE OF WELL HL-7
MAY BE INCREASED TO PROVIDE A MORE EFFECTIVE HYDRAULIC BARRIER. EXTRACTION FROM WELL CWP-8,
HOWEVER, WILL BE EFFECTIVE IN REDUCING OR ELIMINATING THE SOURCE OF CHROMIUM TO OFF-SITE AREAS.
THE EXTRACTED WATER SHALL BE TRANSFERRED THROUGH A 3-INCH LINE TO THE SUMP, AS SHOWN IN FIGURE
19. THE WATER WILL BE TREATED AS DESCRIBED EARLIER. BASED ON CWP'S EXPERIENCE, DURING WET
SEASONS IT IS POSSIBLE TO EXTRACT 3 TO 5 GPM CONTINUOUSLY FROM WELL CWP-8.

BECAUSE OF THE OCCASIONAL PRESENCE OF DISSOLVED CHROMIUM IN WELL AT-2 ABOVE 0.05 MG/L, A
CONTINGENCY PLAN HAS BEEN DEVELOPED TO INITIATE OFF-SITE GROUND WATER EXTRACTION, IF NEEDED.
THE CRITERIA FOR INITIATION OF OFF-SITE EXTRACTION ARE CURRENTLY BEING DEVELOPED BY THE
REGULATORY AGENCIES, DEPENDING ON THE PERSISTENCE OF CHROMIUM ABOVE A PRESCRIBED CONCENTRATION.

THE OFF-SITE EXTRACTION PROGRAM SHALL INCLUDE PUMPING FROM WELL AT-2 OR A NEW EXTRACTION WELL IN
THE SAME VICINITY. THE EXTRACTED WATER SHALL BE TRANSFERRED, VIA A 3-INCH UNDERGROUND PVC PIPE,
TO THE ON-SITE SUMP, AS SHOWN IN FIGURE 19. THE OFF-SITE GROUND WATER QUALITY DATA INDICATE
THAT PUMPING FROM WELL AT-2 WOULD MOST LIKELY BE INTERMITTENT, IF REQUIRED AT ALL.

BASED ON THE ABOVE CONSIDERATIONS AND AGENCIES PARTICIPATION IN REMEDIAL ALTERNATIVE SELECTION,
A SUMMARY OF GROUND WATER REMEDIAL ACTION ALTERNATIVES SUGGESTED BY DHS IS PRESENTED IN TABLE
17. ALTERNATIVE NO. GW-3, WHICH INCLUDES HYDRAULIC CONTROL COMBINED WITH EXISTING PHYSICAL
CONTAINMENT, IS FAVORED BY DHS.

7.2.4   ELECTROCHEMICAL TREATMENT OF GROUND WATER

EXTRACTED GROUND WATER IN EXCESS OF CWP'S WATER REQUIREMENTS SHALL BE TREATED USING THE EXISTING
ELECTROCHEMICAL UNIT AT THE SITE. THIS UNIT IS MANUFACTURED BY ANDCO ENVIRONMENTAL SERVICES
(ANDCO) AND IS CAPABLE OF HANDLING UP TO 150 GPM. HOWEVER, FOR GREATER EFFICIENCY, THE FLOW
RATE SHALL BE MAINTAINED BELOW 50 GPM.

AS SHOWN IN FIGURE 19, THE EXTRACTED GROUND WATER SHALL BE PUMPED TO THE ON-SITE, CONCRETE-LINED
SUMP, FROM WHICH IT WILL BE TRANSFERRED TO THE TREATMENT UNIT FOR PROCESSING. AFTER PROCESSING,
THE WATER WILL ENTER THE HOLDING TANKS FOR PRECIPITATION AND RETREATMENT. SUBSEQUENTLY, THE
WATER SHALL BE TRANSFERRED TO THE 330,000-GALLON TANK FOR SAMPLING PRIOR TO DISCHARGE. FROM
THIS TANK, THE WATER WILL BE PUMPED THROUGH A 4-INCH PVC PIPELINE, PARALLEL TO TAYLOR DRIVE, AND
INTO THE SEWER MAIN AT PLANT ROAD.

THE ANDCO CHROMATE REMOVAL SYSTEM EMPLOYS A PATENTED ELECTROCHEMICAL PROCESS DESIGNED TO REDUCE
TOTAL CHROMIUM CONCENTRATIONS TO LESS THAN 0.05 MG/L. THE PROCESS REDUCES SOLUBLE HEXAVALENT
CHROMIUM TO TRIVALENT CHROMIUM, WHICH IS PRECIPITATED AS HYDROXIDE, AS DISCUSSED IN SECTION
7.1.3.1. THE PRECIPITATE CAN THEN BE REMOVED FROM THE WASTE STREAM BY FILTRATION OR
SEDIMENTATION, YIELDING AN EFFLUENT CONTAINING LESS THAN 0.05 MG/L CHROMIUM. TESTS PERFORMED BY
CWP HAVE DEMONSTRATED THAT THE EFFLUENT CONCENTRATION OF CHROMIUM IS GENERALLY LESS THAN 0.04
MG/L. SELECTED DATA OBTAINED FROM CWP ARE AS FOLLOWS:
  DATE       INFLUENT                  EFFLUENT
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                                       CONCENTRATION      73 Filed 03/01/18 Page 209 of 708
             (MG/L)                     (MG/1)

  3/06/84    5.3                             0.02

  13/05/84   6.8                             0.02

  11/06/84
  (SAMPLE I)   169                           0.02

  13/06/84
  (SAMPLE 2)   160                           0.07

THE ANDCO CHROMATE REMOVAL SYSTEM CONSISTS OF TWO ELECTROCHEMICAL CELLS CONNECTED IN SERIES, TWO
SEPARATE DC POWER SOURCES CONTAINED IN ONE CABINET, AND AN ACID WASH SYSTEM. THE CELL HOUSINGS
AND ACID TANK ARE CONSTRUCTED OF FIBERGLASS AND ALL INTERCONNECTING PIPING IS OF PVC. THE
INCOMING STREAM PASSES INTO THE FIRST CELL VIA A 3-INCH LINE WHICH INCLUDES A FLOW METER AND A
PRESSURE GAUGE. THE STREAM THEN PASSES THROUGH THE SECOND CELL AND EXITS VIA A THREE-WAY VALVE
FOR DIRECT DISCHARGE FROM THE TREATMENT STREAM. A SECOND PRESSURE GAUGE IS INCLUDED IN THE
DISCHARGE LINE. A STRAINER AND GAS RELIEF VALVE ARE FITTED TO THE TOP OF EACH CELL TO PROVIDE A
RELEASE FOR HYDROGEN GENERATED DURING THE ELECTROCHEMICAL PROCESS AND SHUTOFF DURING ACID
WASHING. THE BOTTOM OF EACH CELL IS PIPED TO THE ACID PUMP FOR DRAINAGE PRIOR TO AND AFTER ACID
WASHING AND FOR DRAINAGE PRIOR TO CELL REPLACEMENT (ANDCO, JUNE 1987).

THE ACID WASH SYSTEM CONSISTS OF AN ACID STORAGE TANK, ACID PUMP, AND INTERCONNECTING PIPING TO
ALLOW ACID WASHING OF THE CELLS ON A DAILY BASIS. ACID WASHING PREVENTS COATING OF THE
ELECTRODE SURFACES AND THE CORRESPONDING LOSS IN TREATMENT SYSTEM EFFICIENCY. THE PROCEDURE IS
RELATIVELY SIMPLE TO PERFORM AND REQUIRES ONLY ABOUT IS MINUTES PER DAY TO ACCOMPLISH. TWO TO
THREE TIMES A WEEK, THE ACID CONCENTRATION SHOULD BE CHECKED AND KEPT TO 8 TO 10 PERCENT BY THE
ADDITION OF FRESH MURIATIC ACID. ON A MONTHLY BASIS, THE SPENT ACID CAN BE NEUTRALIZED AND BLED
INTO THE DISCHARGE LINE AND NEW ACID MADE UP. THE ELECTRODE PLATES HAVE A NORMAL LIFE OF ABOUT
ONE MILLION GALLONS AT AN INFLUENT CONCENTRATION OF 10 TO 11 MG/L OF CR(VI).

SUBSEQUENT TO THE INITIAL TREATMENT, THE WATER SHALL BE TRANSFERRED TO HOLDING TANKS, LOCATED
NORTH OF THE TANK FARM, WHERE THE METAL HYDROXIDES ARE PRECIPITATED. AFTER PRECIPITATION IS
COMPLETED, THE WATER COULD BE PASSED THROUGH THE TREATMENT UNIT A SECOND TIME TO ASSURE
COMPLIANCE WITH EFFLUENT LIMITATIONS. THE EFFLUENT SHALL BE TRANSFERRED TO THE 330,000-GALLON
TANK FOR TESTING AND STORAGE PRIOR TO DISCHARGE. THE TANK IS CONNECTED TO THE SANITARY SEWER
LOCATED AT THE INTERSECTION OF TAYLOR DRIVE AND PLANT ROAD (FIGURE 19). THE RESULTING SLUDGE
SHALL BE HANDLED ACCORDING TO THE APPROPRIATE EPA AND DHS REGULATIONS.

7.2.5    WATER REUSE/DISCHARGE TO THE UKIAH SEWAGE TREATMENT PLANT OR REINJECTION

EXTRACTED GROUND WATER WILL BE RECYCLED INTO CWP'S WOOD PRESERVING OPERATIONS TO THE EXTENT
POSSIBLE. EXCESS GROUND WATER WHICH CANNOT BE RECYCLED INTO THE WOOD PRESERVING OPERATIONS WILL
BE TREATED ELECTROCHEMICALLY, AS DESCRIBED IN THE PREVIOUS SECTION, AND DISCHARGED. AMONG THE
VIABLE DISCHARGE OPTIONS CONSIDERED IN SECTION 7.1.4, DISCHARGE INTO THE SANITARY SEWER DURING
THE WET MONTHS OR REINJECTION DURING THE DRY MONTHS APPEAR TO BE THE MOST PRACTICAL METHODS.
DISCHARGE TO THE UKIAH SEWAGE TREATMENT PLANT MUST MEET PRETREATMENT REQUIREMENTS. ON DECEMBER
23, 1987, A DRAFT PERMIT TO DISCHARGE PRETREATED GROUND WATER WAS ISSUED BY THE CITY. THE DRAFT
DOCUMENT OUTLINES THE REQUIREMENTS WHICH NEED TO BE MET PRIOR TO ALLOWING CWP TO DISCHARGE THE
TREATED GROUND WATER. CWP HAS PROPOSED TO DISCHARGE TREATED WATER IN A BATCH BODE AFTER
MONITORING. THE INITIAL MONITORING PROGRAM, AS SPECIFIED BY THE CITY, IS PRESENTED IN TABLE 15.
CWP IS CURRENTLY REVIEWING THE DRAFT DOCUMENT AND PREPARING A RESPONSE.

7.2.6    MONITORING

MONITORING IS AN INTEGRAL PART OF REMEDIATION TO DOCUMENT THE PERFORMANCE AND EFFICIENCY OF THE
EXTRACTION/TREATMENT SYSTEM. BASED ON THE MONITORING RESULTS, RECOMMENDATIONS AND MODIFICATIONS
SHALL BE MADE FOR FURTHER SITE IMPROVEMENTS, AS APPROPRIATE. VARIOUS ELEMENTS OF THE PROPOSED
MONITORING PROGRAM ARE DESCRIBED BELOW.
7.2.6.1   AIR QUALITY MONITORING
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THE RECOMMENDED REMEDIAL ACTION DOES NOT REQUIRE AIR MONITORING; HOWEVER, AS PART OF ROUTINE
WOOD PRESERVING OPERATIONS, AIR QUALITY IS MONITORED ON A PERIODIC BASIS. AIR QUALITY
MONITORING PERTINENT TO RAP REQUIREMENTS SHALL BE EVALUATED IF CONTAMINATED SOIL IS TO BE
EXCAVATED FOR REMEDIATION OR OTHERWISE DISTURBED. THE AIR QUALITY MONITORING PLAN WILL BE PART
OF THE OVERALL HEALTH AND SAFETY PLAN AND ACCORDING TO OSHA REQUIREMENTS.

7.2.6.2   STORM WATER MONITORING

STORM WATER MONITORING, AS SPECIFIED BY THE RWQCB, SHALL BE PERFORMED AT STATIONS NE, NW, AND
C-100, THE LOCATIONS OF WHICH ARE SHOWN IN FIGURE 2. THESE LOCATIONS HAVE BEEN SELECTED TO
PROVIDE AN INDICATION OF THE QUALITY OF SURFACE RUNOFF FROM THE CWP SITE. THIS IS OF
IMPORTANCE, AS THE SURFACE DRAINAGE SYSTEM ULTIMATELY DRAINS INTO THE RUSSIAN RIVER. STORM WATER
SAMPLES SHALL BE COLLECTED ONCE PER MONTH DURING ANY PRECIPITATION EVENT SUFFICIENT TO PRODUCE A
FLOW OF WATER IN THE SUBJECT DITCHES. THE SAMPLES SHALL BE ANALYZED FOR DISSOLVED TOTAL CHROMIUM
AND ARSENIC. STORM WATER MONITORING RESULTS SHALL BE COMPILED AND REPORTED TO THE RWQCB AS
SPECIFIED IN REVISED MONITORING AND REPORTING PROGRAM NO. 85-101 (RWQCB MAY 1987). THE RESULTS
SHALL BE EVALUATED AND RECOMMENDATIONS AND MODIFICATIONS REGARDING OVERALL FACILITY IMPROVEMENTS
SHALL BE MADE AS APPROPRIATE.

7.2.6.3   GROUND WATER MONITORING

A GROUND WATER MONITORING PROGRAM (RWQCB, MAY 1987) IS IN EFFECT TO EVALUATE THE GROUND WATER
FLOW REGIME AND THE DISTRIBUTION OF CHROMIUM THROUGHOUT THE STUDY AREA. MONITORING INCLUDES
GROUND WATER LEVEL MEASUREMENTS AND GROUND WATER QUALITY SAMPLING/ ANALYSIS. THE GROUND WATER
MONITORING RESULTS SHALL BE USED TO EVALUATE THE EFFECTIVENESS OF THE HYDRAULIC CONTROL MEASURES
IMPLEMENTED. RECOMMENDATIONS REGARDING ADDITIONAL MITIGATION MEASURES WILL BE MADE AS
APPROPRIATE.

THE GROUND WATER SAMPLES WILL BE ANALYZED FOR TOTAL CHROMIUM AS SPECIFIED IN REVISED MONITORING
AND REPORTING PROGRAM NO. 85-101, (RWQCB, MAY 1987). THE MONITORING SHALL BE PERFORMED
ACCORDING TO THE PROCEDURES OUTLINED IN THE "GROUND WATER/STORM WATER MONITORING PROTOCOL"
(GEOSYSTEM, AUGUST 1987, OR ITS SUBSEQUENT REVISIONS) PREPARED SPECIFICALLY FOR THE CWP
FACILITY.

THE RESULTS OF THE GROUND WATER MONITORING SHALL BE REVIEWED ON A QUARTERLY BASIS AND REPORTED
TO THE RWQCB AS REQUIRED BY REVISED MONITORING AND REPORTING PROGRAM NO. 85-101 (RWQCB, MAY
1987). BASED ON THE EVALUATION OF THE MONITORING RESULTS, RECOMMENDATIONS AND MODIFICATIONS
SHALL BE MADE AS APPROPRIATE AND SUBJECT TO RWQCB APPROVAL.

7.2.6.4   TREATMENT SYSTEM MONITORING

DURING THE OPERATION OF THE ELECTROCHEMICAL UNIT, THE INFLUENT AND EFFLUENT CONCENTRATIONS SHALL
BE MONITORED FOR HEXAVALENT CHROMIUM AND TOTAL CHROMIUM. THE MONITORING FREQUENCY SHALL BE IN
ACCORDANCE WITH THE REQUIREMENTS OF THE UKIAH SEWAGE TREATMENT PLANT, AS OUTLINED IN TABLE 15.

7.3       REASONS FOR SELECTION OF THE RECOMMENDED REMEDIAL ACTION

ENVIRONMENTAL AND PUBLIC HEALTH CRITERIA AND COST WERE THE PRINCIPAL CONSIDERATIONS IN THE
SELECTION OF THE PROPOSED REMEDIAL ACTION PLAN. SPECIFIC REASONS FOR SELECTION OF VARIOUS
COMPONENTS OF THE PLAN ARE AS FOLLOWS:

      •       PAVING OF THE AREAS OF SOIL IN WHICH HIGHER CHROMIUM CONCENTRATIONS HAVE BEEN
              MEASURED PREVENTS SURFACE WATER INFILTRATION AND REDUCES THE POTENTIAL FOR LEACHING
              OF CHROMIUM.

      •       ON-SITE TREATMENT OF SOIL AFTER SITE CLOSURE PROVIDES A PERMANENT REMEDY FOR THE
              CONTAMINATED SOIL.

      •       EXTRACTION FROM RECOVERY WELL CWP-18 REMOVES CHROMIUM-CONTAINING GROUND WATER IN
              AREAS WHERE CHROMIUM CONCENTRATIONS ARE HIGHEST, THUS REDUCING THE SOURCE TO
              DOWNGRADIENT AREAS.
        •       EXTRACTION FROM WELL HL-7, IN COMBINATION WITH THE SLURRY CUTOFF WALL, IS EFFECTIVE
                Case
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                   CONTAINING                    Document
                              THE CHROMIUM PLUME ON SITE AND 73   Filed 03/01/18
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                                                                                     THE AQUIFER.

        •       EXTRACTION FROM WELL CWP-8 WOULD CONTAIN ANY RESIDUAL CHROMIUM TO THE EAST OF THE
                SLURRY WALL AND PREVENT FURTHER DOWNGRADIENT MIGRATION TO OFFSITE AREAS.

        •       USE OF THE ELECTROCHEMICAL UNIT IS AN ENVIRONMENTALLY AND ECONOMICALLY SOUND
                APPROACH FOR GROUND WATER TREATMENT.

        •       DISCHARGE OF THE TREATED WATER INTO THE UKIAH SEWAGE TREATMENT PLANT IS THE MOST
                FLEXIBLE AND ENVIRONMENTALLY SOUND APPROACH.

        •       THE PROPOSED MONITORING PLAN PROVIDES SUFFICIENT DATA TO DEMONSTRATE THE
                EFFECTIVENESS OF THE REMEDIAL ACTION PLAN AND TO IDENTIFY THE NEED FOR ADDITIONAL
                REMEDIAL ACTIONS, IF ANY.

THE REASONS FOR REJECTING OTHER ALTERNATIVES ARE BROADLY CATEGORIZED AS FOLLOWS:

        •       MARGINAL ENVIRONMENTAL ENHANCEMENT AT THE EXPENSE OF AN "ORDER OF MAGNITUDE"
                INCREASE IN COST, AS ILLUSTRATED BY COST ESTIMATES FOR SOIL REMOVAL.

        •       ENVIRONMENTAL UNACCEPTABILITY AND LACK OF PROVEN TECHNOLOGY FOR ALL HYDRAULIC
                CONTROL MEASURES EXCEPT THE SELECTED OPTION.

        •       TECHNICAL DIFFICULTIES FOR GROUND WATER INJECTION DURING WET SEASONS.

        •       INEFFICIENCY AND RELATIVE HIGH COST ASSOCIATED WITH OTHER TREATMENT TECHNOLOGIES
                COMPARED WITH THE ELECTROCHEMICAL PROCESS.

7.4 ENVIRONMENTAL EFFECTS OF THE SELECTED REMEDIAL ACTION

IN GENERAL, THE SELECTED REMEDIAL PLAN WILL MINIMIZE POTENTIAL ADVERSE IMPACTS ON HUMAN HEALTH
AND THE ENVIRONMENT. THE SPECIFIC FEATURES OF THE REMEDIAL PLAN, WITH RESPECT TO ENVIRONMENTAL
EFFECTS, ARE DESCRIBED BELOW.

7.4.1       CONTROL OF CONTAMINATED SOIL

ROUTINE MAINTENANCE OF SURFACE PAVING OVER AREAS OF SOIL CONTAMINATION SHALL PREVENT DIRECT
EXPOSURE TO CONTAMINATED SOIL AND MINIMIZE THE INFILTRATION OF SURFACE WATERS. CONSEQUENTLY,
THE TOP 1 TO 2 FEET OF THE SOIL PROFILE, WHICH HAVE BEEN SHOWN TO CONTAIN ELEVATED
CONCENTRATIONS OF CHROMIUM AND ARSENIC, WILL NOT ACT AS A MAJOR SOURCE OF GROUND WATER
CONTAMINATION. THE POST CLOSURE REMEDIATION PROVIDES A PERMANENT REMEDY FOR THE ON-SITE
CONTAMINATED SOILS.

7.4.2 PLUME CONTROL

THE TWO MAJOR OBJECTIVES OF PLUME CONTROL ARE PREVENTING OFF-SITE MIGRATION AND REMEDIATING
EXISTING CONTAMINATION IN THE ON-SITE WATER-BEARING ZONE. OFF-SITE MIGRATION IS CONTROLLED BY
THE COMBINATION OF THE SLURRY CUTOFF VAIL AND EXTRACTION OF GROUND WATER FROM WELLS HL-7 AND
CWP-8. ON-SITE REMEDIATION IS ACCOMPLISHED BY GROUND WATER EXTRACTION FROM WELLS HL-7 AND
CWP-18. WATER QUALITY DATA HAVE DEMONSTRATED THAT THESE HYDRAULIC CONTROL MEASURES HAVE BEEN
EFFECTIVE IN PREVENTING THE OFF-SITE MIGRATION OF CHROMIUM. SUBSEQUENT TO CONSTRUCTION OF THE
SLURRY WALL IN OCTOBER 1983, CHROMIUM CONCENTRATIONS IN OFF-SITE WELLS HAVE GENERALLY DECREASED
WITH TIME, AS DESCRIBED IN SECTION 4.5.3.

BASED ON THE CURRENT CHROMIUM CONCENTRATIONS IN OFF-SITE WELLS AND THE CONTINUING TREND OF
DECREASING CHROMIUM CONCENTRATIONS, NO REMEDIATION IS PROPOSED FOR OFF-SITE AREAS. HOWEVER, A
CONTINGENCY PLAN IS DEVELOPED TO ADDRESS OFF-SITE REMEDIATION WHEN THE CRITERIA FOR SUCH
REMEDIATION ARE ESTABLISHED BY THE REGULATORY AGENCIES. TO DEMONSTRATE THE POTENTIAL
ENVIRONMENTAL IMPACTS OF SELECTION OF THE "NO ACTION" ALTERNATIVE FOR OFF-SITE AREAS, THE
TRANSPORT OF CHROMIUM WAS SIMULATED USING A TWO-DIMENSIONAL AREAL MODEL (GEOSYSTEM, APRIL 1987).
DETAILS OF THIS MODELING EFFORT ARE PRESENTED IN APPENDIX E. THE MODEL RESULTS DEMONSTRATED THE
FOLLOWING:
        •       UNDER PRESENT CONDITIONS, DOWNGRADIENT RECEPTORS WILL NOT BE ADVERSELY IMPACTED.
                 Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 212 of 708
        •       DISPERSION AND ATTENUATION MECHANISMS WILL CONTINUE TO REDUCE CHROMIUM
                CONCENTRATIONS IN DOWNGRADIENT AREAS.

7.4.3       MONITORING

THE PROPOSED MONITORING PROGRAM IS DESIGNED TO DETECT ANY SIGNIFICANT ENVIRONMENTAL CHANGES AND
TO PROVIDE EARLY WARNING TO THE RESPONSIBLE PARTIES. USING THE MONITORING DATA, THE
EFFECTIVENESS OF THE PROPOSED REMEDIAL ACTION PLAN SHALL BE EVALUATED. THIS EVALUATION SHALL BE
USED AS A BASIS FOR MODIFICATION OF THE REMEDIAL ACTION PLAN, IF NECESSARY.

7.5 APPLICABLE LAWS AND REGULATIONS

THE CWP SITE IS INCLUDED ON THE STATE SUPERFUND AND NATIONAL PRIORITY LISTS AND IS, THUS,
SUBJECT TO BOTH STATE AND FEDERAL LAWS AND REGULATIONS. ALTHOUGH THE MORE FORMAL AND SYSTEMATIC
SOIL AND GROUND WATER QUALITY INVESTIGATIONS AT THE SITE BEGAN IN JUNE 1980, A CERTAIN AMOUNT OF
MONITORING WAS PERFORMED IN THE 1970S BY THE RWQCB. DURING THE EARLY PHASES OF THE
INVESTIGATIONS, HOWEVER, MANY OF THE CURRENT REGULATIONS AND GUIDELINES WERE NOT IN EFFECT.
THEREFORE, INVESTIGATION AND REMEDIATION ACTIVITIES WERE NOT ALWAYS PERFORMED IN ACCORDANCE WITH
THE STATE AND FEDERAL LAWS CURRENTLY IN EFFECT. CERTAIN ACTIVITIES WERE PERFORMED BY CWP
WITHOUT AUTHORIZATION OF THE REGULATORY AGENCIES (APPENDIX A).

AS REQUIRED BY THE NATIONAL CONTINGENCY PLAN (NCP 1985) AND SUPERFUND AMENDMENT AND
REAUTHORIZATION ACT (SARA 1986), APPLICABLE OR RELEVANT AND APPROPRIATE REQUIREMENTS (ARARS)
HAVE BEEN USED AS A GUIDE TO EVALUATE THE APPROPRIATE EXTENT OF SITE CLEANUP, SELECT APPROPRIATE
REMEDIAL ACTION ALTERNATIVES, AND HAS BEEN AND WILL BE USED IN IMPLEMENTATION AND OPERATION OF
THE SELECTED REMEDIAL ACTION. AS REQUIRED BY SARA, STATE REQUIREMENTS THAT ARE MORE STRINGENT
THAN FEDERAL REQUIREMENTS MUST GENERALLY BE ATTAINED IN IMPLEMENTATION OF REMEDIAL ACTIONS.
THESE LAWS AND REGULATIONS ARE AS FOLLOWS:

        •       COMPREHENSIVE ENVIRONMENTAL RESPONSE, COMPENSATION AND LIABILITY ACT (CERCLA) OF
                1980, AS AMENDED BY THE SUPERFUND AMENDMENTS AND REAUTHORIZATION ACT (SARA) OF 1986.

        •       RESOURCE CONSERVATION AND RECOVERY ACT (RCRA) OF 1976, AMENDED BY THE HAZARDOUS AND
                SOLID WASTE AMENDMENTS OF 1984 (RCRA OR HSWA).

        •       SAFE DRINKING WATER ACT.

        •       CALIFORNIA CODE OF REGULATIONS, TITLE 22, DIVISION 4: ENVIRONMENTAL HEALTH (CHAPTER
                1, ARTICLE 1; CHAPTER 2, ARTICLE 1; CHAPTER 30), JULY 1986.

        •       CALIFORNIA HEALTH AND SAFETY CODE.

        •       NORTH COASTAL BASIN WATER QUALITY CONTROL PLAN ADOPTED BY THE RWQCB.

        •       ALL ORDERS, INCLUDING SPECIFICATIONS, PROVISIONS, PROHIBITIONS, AND REQUIREMENTS
                ISSUED BY THE RWQCS.

        •       COURT ORDER BY THE STATE OF CALIFORNIA, OFFICE OF THE ATTORNEY GENERAL.

        •       NATIONAL CONTINGENCY PLAN, PERTINENT HAZARDOUS WASTE REGULATIONS UNDER 40 CFR, PARTS
                260 TO 265; PART 300-68, JULY 1985.

        •       PORTER-COLOGNE WATER QUALITY CONTROL ACT, 1969.

BASED ON A REQUEST MADE BY DHS, A DRAFT OF THE DEED OF RESTRICTION ON REAL PROPERTY IS UNDER
PREPARATION AND WILL BE INCLUDED AS APPENDIX G TO THIS DOCUMENT.
#ISH
              CaseSCHEDULE
8.0 IMPLEMENTATION 1:96-cv-06055-AWI-SAB        Document 73 Filed 03/01/18 Page 213 of 708

AS MENTIONED IN-SECTION 5.0, THE INTERIM REMEDIAL MEASURES PROGRAM HAS BEEN IN EFFECT FOR SOME
TIME. THEREFORE, A NUMBER OF ELEMENTS OF THE RECOMMENDED REMEDIAL ACTION PLAN HAVE ALREADY BEEN
IMPLEMENTED. ACCORDING TO CWP, PUMPS AND PIPING ASSOCIATED WITH GROUND WATER EXTRACTION FROM
WELLS CWP-18, HL-7, AND CWP-8 ARE IN PLACE AND IN OPERATING CONDITION. ALSO, THE
ELECTROCHEMICAL UNIT IS ON SITE AND IN OPERATING CONDITION.

SUBSEQUENT TO APPROVAL OF THE RAP, THE FOLLOWING ACTIVITIES NEED TO BE COMPLETED PRIOR TO
FULL-SCALE OPERATION:

       •       FINAL PERMIT FROM THE CITY FOR DISCHARGE OF TREATED WATER INTO THE SANITARY SEWER.

       •       CONNECTING THE LINE TO THE SEWER SYSTEM.

       •       PERMITTING, DESIGN, AND CONSTRUCTION OF OFF-SITE EXTRACTION SYSTEM, IF NEEDED.

       •       SYSTEM STARTUP AND TESTING.

BECAUSE OF UNCERTAINTIES ASSOCIATED WITH THE TIME OF APPROVAL OF THE RAP AND OBTAINING THE
PERMIT TO DISCHARGE INTO THE SANITARY SEWER, THE REAL TIME SCHEDULE IS NOT KNOWN. CONNECTING
THE LINE TO THE SEWER SYSTEM, CONSTRUCTION OF THE OFF-SITE EXTRACTION SYSTEM, IF NEEDED, AND
SYSTEM STARTUP CAN BE COMPLETED WITHIN A THREE-MONTH PERIOD.

#AFR
9.0        ALLOCATION OF FINANCIAL RESPONSIBILITY AND PROVISIONS FOR FINANCIAL ASSURANCE

ALLOCATION OF FINANCIAL RESPONSIBILITY AND PROVISIONS FOR FINANCIAL ASSURANCE ARE BEING
NEGOTIATED WITH THE REGULATORY AGENCIES AND WILL BE INCLUDED IN THE RAP IN THE NEAR FUTURE.

#OMR
10.0       OPERATION AND MAINTENANCE REQUIREMENTS

OPERATION AND MAINTENANCE (O&M) REQUIREMENTS WILL BE DEVELOPED SUBSEQUENT TO SYSTEM DESIGN,
INSTALLATION, AND STARTUP. THESE REQUIREMENTS SHALL BE OUTLINED IN AN OPERATION AND MAINTENANCE
MANUAL. HOWEVER, THE GENERAL O&M REQUIREMENTS RELATED TO THE FOLLOWING COMPONENTS AND FEATURES
OF THE RECOMMENDED REMEDIAL ACTION ARE BRIEFLY DESCRIBED.

       •       GROUND WATER EXTRACTION
       •       GROUND WATER TREATMENT
       •       GENERAL SYSTEM INSPECTION AND MONITORING
       •       GENERAL SAFETY PROCEDURES
       •       EVALUATION OF SYSTEM EFFECTIVENESS
       •       REPORTING.

10.1 GROUND WATER EXTRACTION

DURING THE STARTUP PERIOD, FLOW ADJUSTMENTS SHALL BE MADE IN ACCORDANCE WITH CWP'S WATER
RECYCLING REQUIREMENTS AND LIMITS OF TREATED WATER DISCHARGE. HOWEVER, ATTEMPTS WILL BE MADE TO
MAXIMIZE EXTRACTION RATES FOR MORE EFFECTIVE HYDRAULIC CONTROL AND REMEDIATION. PROVISIONS MUST
BE MADE TO RECORD THE EXTRACTION RATE AND CUMULATIVE FLOW FROM EACH EXTRACTION WELL.

DURING NORMAL OPERATION, THE O&M REQUIREMENTS INCLUDE FLOW ADJUSTMENT AND RECORDING, MAINTENANCE
OF PUMPS AND PIPELINES, CALIBRATION OF GAUGES AND FLOW TOTALIZERS, PERIODIC SYSTEM INSPECTION,
AND RECORD KEEPING. THE O&M MANUAL SHOULD PROVIDE DETAILED PROCEDURES FOR FLOW CONTROL AND DATA
RECORDING DURING SYSTEM OPERATION.

10.2 GROUND WATER TREATMENT

ANDCO ENVIRONMENTAL SERVICES, INC. HAS PROVIDED CWP WITH PROCEDURES FOR OPERATING THE
ELECTROCHEMICAL UNIT EXISTING AT THE SITE. SOME OF THE OPERATIONAL FEATURES OF THE UNIT ARE
SUMMARIZED IN SECTION 7.2. THE ANDCO OPERATING PROCEDURES OUTLINE THE FOLLOWING STEPS WITH
SUFFICIENT DETAIL FOR IMPLEMENTATION:
              Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 214 of 708
      •      STARTUP OPERATION
      •      DAILY ACID WASHING AND POLARITY CHANGING
      •      SPENT ACID DISPOSAL
      •      ACID MAKEUP
      •      SHUTDOWN
      •      ELECTRODE REPLACEMENT
      •      PRECAUTIONS.

SINCE INSTALLATION OF THE ELECTROCHEMICAL UNIT, CWP HAS MADE SOME MODIFICATIONS TO IMPROVE ITS
OPERATION. THE OPERATOR OF THE EXTRACTION/TREATMENT SYSTEM SHALL BE FAMILIAR WITH THESE
MODIFICATIONS.

10.3 SYSTEM INSPECTION AND MONITORING

IT IS RECOMMENDED THAT THE GROUND WATER EXTRACTION/TREATMENT SYSTEM BE INSPECTED ONCE PER DAY.
THE INSPECTION SHOULD INCLUDE THE EXTRACTION WELL PIPING AND INSTRUMENTATION; PIPELINES
TRANSFERRING CONTAMINATED WATER TO THE SUMP; MAIN HEADER TO THE SEWER SYSTEM; AND TREATMENT
SYSTEM UNIT, PIPES, AND INSTRUMENTATION. FLOW TOTALIZER READINGS AT THE EXTRACTION WELLS AND
THE TREATMENT SYSTEM INFLUENT LINE SHOULD BE RECORDED.

SYSTEM MONITORING SHOULD BE PERFORMED ACCORDING TO THE REQUIREMENTS SET FORTH BY THE RWQCB AND
THE CITY OF UKIAH, AS PROVIDED IN THE RAP AND SUPPLEMENTARY DOCUMENTS ISSUED BY THESE AGENCIES.

A DAILY OPERATION LOG SHALL BE MAINTAINED AT THE SITE TO RECORD THESE ROUTINE INSPECTIONS. THE
LOG SHALL BE A BOUND, HARD-COVERED BOOK WITH NUMBERED PAGES. IN ADDITION TO FLOW TOTALIZER
READINGS AND OTHER OBSERVATIONS, THE OPERATOR(S) SHALL RECORD ANY PROBLEMS ENCOUNTERED, THE
CORRECTIVE ACTIONS TAKEN, AND ANY OTHER RELEVANT INFORMATION. EACH ENTRY SHALL INCLUDE THE
TIME, DATE, AND THE OPERATOR'S NAME OR INITIALS. THE INFORMATION IN THE DAILY OPERATION LOG WILL
BE USED IN PREPARING MONTHLY REPORTS TO TEE RWQCB AND IN EVALUATING THE EFFECTIVENESS OF THE
GROUND WATER EXTRACTION AND TREATMENT SYSTEM.

INFORMATION RELATED TO WATER QUALITY SAMPLING SHALL ALSO BE RECORDED IN THE LOG BOOK.   THIS
INFORMATION SHOULD INCLUDE, AT A MINIMUM:

      •      SAMPLE LOCATIONS
      •      DATE AND TIME OF SAMPLE COLLECTION
      •      NUMBER OF CONTAINERS COLLECTED
      •      ANALYSES REQUESTED
      •      NAME OF SAMPLING PERSONNEL
      •      COMMENTS.

COMMENTS MAY INCLUDE SUCH THINGS AS ODORS OBSERVED, APPEARANCE OF THE WATER (TURBIDITY, COLOR,
ETC.), WEATHER CONDITIONS, OR OTHER PERTINENT INFORMATION.

10.4 GENERAL SAFETY PROCEDURES

THE GENERAL SAFETY PROCEDURES PERTINENT TO THE RECOMMENDED REMEDIAL ACTION ARE AS FOLLOWS:

      •      OPERATING EQUIPMENT SHALL BE CHECKED FREQUENTLY FOR SIGNS OF LEAKAGE, CORROSION, OR
             DAMAGE. ANY SUCH DEFECTS NOTED SHALL BE REPAIRED OR OTHERWISE CORRECTED BEFORE ANY
             ADVERSE CONSEQUENCES RESULT.

      •      TOOLS, PIPE, AND OTHER EQUIPMENT SHALL NOT BE LEFT LYING AROUND THE EXTRACTION WELL
             HEADS OR AROUND THE ELECTROCHEMICAL TREATMENT UNIT.

      •      WASTE MATERIAL AND SLUDGE SHOULD BE PLACED IN A SUITABLE RECEPTACLE OR REMOVED FROM
             THE SITE ACCORDING TO THE APPROPRIATE REGULATIONS.

      •      ANY SPILLS OF CONTAMINATED GROUND WATER SHALL BE CLEANED UP IMMEDIATELY AND
             REPORTED, AS APPROPRIATE.
IT IS RECOMMENDED THAT ONLY PERSONS FAMILIAR WITH THE GROUND WATER EXTRACTION AND TREATMENT
SYSTEM PERFORM Case  1:96-cv-06055-AWI-SAB
                OPERATION                       Document 73 Filed 03/01/18 Page 215 of
                          AND MAINTENANCE ACTIVITIES.                                         708

10.5 EVALUATION OF SYSTEM EFFECTIVENESS

BASED ON GROUND WATER MONITORING DATA, THE EFFECTIVENESS OF THE EXTRACTION/TREATMENT SYSTEM
SHALL BE EVALUATED. THE EVALUATION WILL INCLUDE THE HYDRAULIC RESPONSE OF THE WATER-BEARING
ZONES TO EXTRACTION AND WATER QUALITY CHANGES WITH TIME. THIS TYPE OF EVALUATION IS USUALLY
PERFORMED ON AN ANNUAL BASIS. THE RESULTS OF SUCH EVALUATIONS WILL BE USED TO MAKE PROJECTIONS
FOR AQUIFER CLEANUP AND MODIFICATIONS TO THE REMEDIATION STRATEGY, IF NECESSARY.

10.6 SITE INSPECTION

THE SITE SHALL BE INSPECTED PERIODICALLY TO IDENTIFY POTENTIAL MIGRATION PATHWAYS OF THE
CONTAMINANTS AND TAKE APPROPRIATE CORRECTIVE ACTIONS. THE ASPHALT COVER, PARTICULARLY IN RETORT
AND SUMP AREAS, SHALL BE CAREFULLY INSPECTED AND REPAIRED ACCORDINGLY TO PREVENT SURFACE
INFILTRATION. OTHER SURFACE FEATURES SHALL BE INSPECTED TO PREVENT MIGRATION OF WOOD PRESERVING
CHEMICALS INTO SURFACE WATERS.

10.7 REPORTING

THE REPORTING REQUIREMENTS DURING THE IMPLEMENTATION OF THE RECOMMENDED REMEDIAL ACTION WILL BE
IN ACCORDANCE WITH THE GUIDELINES AND PROCEDURES SET FORTH BY THE RWQCB, DHS, EPA, THE CITY, AND
OTHER REGULATORY AGENCIES. MONTHLY PROGRESS REPORTS SHALL BE PREPARED AND SUBMITTED TO THE
AGENCIES. THE PROGRESS REPORTS WILL PRESENT A SUMMARY OF THE WORK PERFORMED, DATA COLLECTED,
AND INTERPRETATIONS MADE IN THE PRECEDING MONTH. IF CHANGES NEED TO BE MADE, THE PROGRESS
REPORTS WILL OUTLINE THE PROPOSED CHANGES FOR THE AGENCIES' INFORMATION AND APPROVAL. AN ANNUAL
REPORT ALL BE PREPARED SUMMARIZING THE DATA OBTAINED AND THE ASSOCIATED FINDINGS, CONCLUSIONS,
AND RECOMMENDATIONS.
#TA
             Case 1:96-cv-06055-AWI-SAB
                               TABLE 10 Document 73 Filed 03/01/18 Page 216 of 708
                      WATER QUALITY CRITERIA SUMMARY

      NOTE: THIS CHART IS FOR GENERAL INFORMATION; PLEASE USE CRITERIA
            DOCUMENTS OR DETAILED SUMMARIES IN "QUALITY CRITERIA
                  FOR WATER 1986" FOR REGULATORY PURPOSES.

                                CONCENTRATIONS IN UG/L

  COMPOUND              PRIORITY            EPA
                        POLLUTANT           CARCINOGENICITY
                                            CLASSIFICATION (4)

  ARSENIC                   Y                    A
  ARSENIC (PENT)            Y                    A
  ARSENIC (TRI)             Y                    A
  CHROMIUM (HEX)            Y                    A
  CHROMIUM (TRI)            N                    A
  COPPER                    Y                    D

  COMPOUND                      FRESH                FRESH
                                ACUTE                CHRONIC
                                CRITERIA             CRITERIA

  ARSENIC
  ARSENIC (PENT)                850(2)               48(2)
  ARSENIC (TRI)                 360                  190
  CHROMIUM (HEX)                18                   11
  CHROMIUM (TRI)                1,700(3)             210(3)
  COPPER                        18(3)                12(3)

  COMPOUND                      MARINE               MARINE
                                ACUTE                CHRONIC
                                CRITERIA             CRITERIA

  ARSENIC
  ARSENIC (PENT)                2,319(2)             13(2)
  ARSENIC (TRI)                 69                   36
  CHROMIUM (HEX)                1,100                50
  CHROMIUM (TRI)                10,300(2)
  COPPER                        2.9                  2.9
                            TABLE 10 (CONT)
            Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 217 of 708
                            UNITS PER LITER

COMPOUND                    WATER               FISH
                            AND FISH            CONSUMPTION
                            INGESTION           ONLY

ARSENIC                     2.2 NG(1)           17.5 NG (1)
ARSENIC (PENT)
ARSENIC (TRI)
CHROMIUM (HEX)              50 UG
CHROMIUM (TRI)              170 MG              3,433 MG
COPPER

COMPOUND                    DRINKING WATER
                            M.C.L

ARSENIC                     0.05 MG
ARSENIC (PENT)
ARSENIC (TRI)
CHROMIUM (HEX)              0.05 MG
CHROMIUM (TRI)              0.05 MG
COPPER

COMPOUND                    DATE REFERENCE      NO. OF STATES
                                                WITH AQUATIC LIFE
                                                STANDARD

ARSENIC                     1980FR              21
ARSENIC (PENT)              1985FR              21
ARSENIC (TRI)               1985FR              21
CHROMIUM (HEX)              1985FR              24
CHROMIUM (TRI)              1985FR              24
COPPER                      1985FR              2

NOTES: 1)     INSUFFICIENT DATA TO DEVELOP CRITERIA. VALUE PRESENTED IS
              THE LOWEST OBSERVED EFFECT LEVEL (LOEL).

      2)      HUMAN HEALTH CRITERIA FOR CARCINOGENS REPORTED FOR THREE
              RISK LEVELS. VALUE PRESENTED IN THE (10-6) RISK LEVEL.

      3)      HARDNESS DEPENDENT CRITERIA (100 MG/L USED)

      4)      GROUP A DENOTES "HUMAN CARCINOGEN" AND GROUP D DENOTES "
              NOT CLASSIFIABLE."

REFERENCE: US ENVIRONMENTAL PROTECTION AGENCY, MAY 1, 1987, "QUALITY
CRITERIA FOR WATER 1986," UPDATE #32, OFFICE OF WATER REGULATIONS AND
STANDARDS, CRITERIA AND STANDARDS DIVISION.
                                  TABLE 11
              Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 218 of 708
                      PUBLIC HEALTH PROTECTION STANDARDS

                                       RECOMMENDED
                                           OR
                CHEMICAL               ESTABLISHED
MEDIUM          SPECIES/FORM             STANDARD          REFERENCE

DRINKING        CR(VI)                 0.05 MG/L           US PUBLIC
WATER                                                      HEALTH
                                                           STANDARDS,
                                                           1962

DRINKING        TOTAL CR               0.05 MG/L           NAS, 1974;
WATER                                                      US EPA, 1976

WORKPLACE       CARCINOGENIC FORMS     0.001 MG/M(3)       NIOSH, 1975
AIR

WORKPLACE       NONCARCINOGENIC        0.025 MG/M(3)       TWA ORNIOSH,
                                                           1975

AIR             FORMS OF CR(VI)        0.05 MG/M(3)        CEILING

AMBIENT         CR(VI)                 0.05 MG/L           US EPA,
WATER                                                      1980

AMBIENT         CR(III)                0.170 MG/L          US EPA,
WATER                                                      1980

AMBIENT AIR     (?)                    0.15 UG/M(3)        CARB RISK
  (?)                                                      VALUE
                                   TABLE 12
               Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 219 of 708
         ESTIMATED COST OF VARIOUS REMEDIAL ACTION ALTERNATIVES
                (ALL AMOUNTS ARE IN THOUSANDS OF DOLLARS)

                     SOIL REMOVAL AND    SOIL REMOVAL AND    IN-SITU
                     OFF-SITE DISPOSAL   ON-SITE TREATMENT   TREATMENT
                        (4 MONTHS)           (1 YEAR)        (2 YEARS)



DESIGN/CONTROL              10                NA (1)           NA (1)

MOBILIZATION                 5                10 - 15            5

EXCAVATION               40 - 50              40 - 50          30 (2)

TRANSPORTATION/            1,450              500 (3)           260
DISPOSAL

HEALTH AND SAFETY           10                  30               30

SUPERVISION                 20                 150              100

SITE RESTORATION            10                  30               30

CONTRACTOR PROFIT        30 - 70              50 - 80          50 - 75

LABORATORY COSTS         30 - 50              50 - 80          50 - 75

REPORTING                30 - 40                70                70

TOTAL COSTS (5)       1,635 - 1,715       930 - 1,005 (6)    625 - 675 (7)



NOTES:   (1) NA DENOTES NOT AVAILABLE; COST DEPENDS ON DESIGN REQUIREMENTS.
         (2) ASPHALT REMOVAL.
         (3) TREATMENT ONLY.
         (5) ALL COSTS ARE ESTIMATES AND ARE INTENDED TO PROVIDE RELATIVE
             COST COMPARISONS FOR REMEDIATION ALTERNATIVES. INFLATION
             FACTOR IS NOT CONSIDERED.
         (6) EXCLUDING DESIGN COSTS.
         (7) EXCLUDING DESIGN AND FIELD TESTING COSTS.
                    PARTIAL EXCAVATION
              Case 1:96-cv-06055-AWI-SAB
                     OFF-SITE DISPOSAL    Document 73 NO
                                       CONTAINMENT    Filed 03/01/18 Page 220 of 708
                                                         ACTION
                       (4 MONTHS)         (2 YEARS)        (2 YEARS)



DESIGN/CONTROL             5                  20                5

MOBILIZATION               5                   5                0

EXCAVATION               15 - 25               0                0

TRANSPORTATION/          200 - 275             0                0
DISPOSAL

HEALTH AND SAFETY         10                  10                0

SUPERVISION               10                15 - 20             0

SITE RESTORATION          10                   0                0

CONTRACTOR PROFIT        20 - 40              25 (4)            0

LABORATORY COSTS         15 - 25            12 - 15            15

REPORTING                10 - 15            12 - 15            15

TOTAL COSTS (5)        300 - 420            99 - 110           35

NOTES:   (4) WELL DEVELOPERS, SAMPLERS.
         (5) ALL COSTS ARE ESTIMATES AND ARE INTENDED TO PROVIDE RELATIVE
             COST COMPARISONS FOR REMEDIATION ALTERNATIVES. INFLATION
             FACTOR IS NOT CONSIDERED.
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                    APPENDIX E
     RAP, RAP Amendment and ESD
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STATE OF CALIFORNIA-HEALTH   A N D WELFARE AGENCY                          GEORGE DEUKMEJIAN. Governor


DEPARTMENT OF HEALTH SERVICES
TOXIC SUBSTANCES CONTROL PROGRAM
1151 BERKELEY WAY, ANNEX 7
BERKELEY. CA94704

                                                    September   29, 1989




          This Final Draft Remedial Action Pl.an (RAP) has been circulated
          for public comment from May 9 to June 8, 1989. In addition, a
          public meeting was held on May 25, 1989.
          There were no written or oral public comments on the ~raf; RAP.
          The Department has not reached agreement with Coast Wood
          Preserving Inc., and has made minor revisions to the RAP as
                                           .
          deemed appropriate The document is stamped draft , however, the
          Department is issuing it as the final.
         Therefore, the Department has approved the Final Draft Remedial
         Action Plan, and the Final Draft RAP will serve as the Final
         RAP.
  ,.   ,        Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 224 of 708
S T H E 8~ CAIlfORNIA-HEALTH   AND WELFARE AGENCY                                GEORGE DEUKMEJIAN, Governor

DEPARTMENT OF HEALTH SERVICES
TOXIC SUBSTANCES CONTROL PROGRAM
1'51 BERKELEY WAY, ANNEX 7
    MELEY. CA 90704

                                                            September 29, 1989



           CERTIFIED MAIL
           Mr. Harold Logsdon, President
           Coast Wood Preserving, Inc.
           600 W. Glenwood
           Turlock, CA 95380
           Dear Mr. Logsdon:
           COAST WOOD PRESERVING                -   FINAL REMEDIAL ACTION PLAN
           This letter is to notify you that the Department of Health
           Services (Department) has approved the Final Remedial Action Plan
           (RAP) for Coast Wood Preserving, Inc. The Department has made
           minor revisions to the Draft RAP as deemed appropriate, and has
           determined that the Final RAP satisfactorily addresses all
           applicable state and federal statues and regulations.
           Enclosed is a copy of the Final RAP. Note that Sections 2.7 and
           7.2 require that the Final Deed Restriction be recorded with
           Mendocino County within 3 0 days after Departmental approval of
           the Final RAP.
           Also, pursuant to Remedial Action Order Docket Number 88/89-015,
           Coast Wood Preserving Inc. is required to comply with the
           following Sections:
           1.      Section 5.4.- Within 30 days after Departmental approval of
                   the Final RAP, Coast Wood Preserving shall submit to the
                   Department for review and approval a detailed engineering
                   design of tkre approved
                                   --       remedial action alternative and a
                   schedule   for   implementing    the   construction   phase.
                   Specifically, all groundwater plume control measures must be
                   implemented and a schedule of all ongoing operations must be
                   included.
           2.      Section 5.10.- Coast Wood Preserving          shall provide
                   financial assurance within 30 days of Department approval of
                   the Final RAP.
           In addition, you have the option to seek judicial review of the
           Final RAP (within 30 days of the date of this letter). Based upon
           the percentage of financial responsibility assigned, you may also
           be eligible to dispute the preliminary allociation of financial
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 225 of 708
Harold Logsdon
Page 2
September 29, 1989


responsibility, as specified in the Final RAP, by convening an
arbitration proceeding ' (within 15 days of the date of this
letter) and agreeing to binding arbitration by the arbitration
panel. To exercise the arbitration option, it is necessary that
the party or parties making the request be assigned a minimum of
51% of the responsibility for the site. Filing for judicial
review of requesting arbitration will not stay implementation for
the cleanup actions specified in the Final RAP.
                                    Sincerely,


                                   Howard K. Hatayama
                                   Regional Administrator
                                   Region 2
                                   Toxic Substances Control Program
Enclosures
Cert. Mail. #P 915 746 228
cc: Gene Pietila, Coast Wood Preserving, Inc.
    Robert Borenstein, US EPA
    Susan Warner, North Coast RWQCB
    Gerald Davis, Mendocino County Environmental Health Dept.
        Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 226 of 708


Project No. 86-1 13
'Aay 1989
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                                   CONSULTANTS, INC



May 3, 1989                                                             p r o j e c t No. 86-113



Mr. Eugene P i e t i l a
Manaqer
FONTANA WOOD PRESERV.ING, INC.
1550 V a l e n c i a Avenue
F o n t a n a , C a l i f o r n i a 92335

                                      Final Draft                    i
                                                                                  ,.*
                                                                                   ._          ,.   ' '                 .r
                                 Remedial A c t i o n P l a n                %qYr,
                                                                             i .,
                                                                                  i
                                                                                  .I
                                                                                                     ,'>
                                                                                                           .1,
                                                                                                                   ,7
                                                                                                             ...
                              Coast Wood P r e s e r v i n q , Inc..                   ,   .         c
                                   -,     California


Dear M r .    Pieti1.a:

T r a n s m i t t e d h e r e w i t h a r e two c o p i e s o f t h e f i n a l d r a f t o f t h e
Remedial A c t i o n P l a n (RAP) f o r t h e C o a s t Wood P r e s e r v i n g , InC.
f a c i l i t y i n Ukiah, C a l i f o r n i a .        A p p r o p r i a t e number o f c o p i e s o f
t h i s f i n a l d r a f t have been forwarded t o t h e r e g u l a t o r y a g e n c i e s .
W e a p p r e c i a t e t h e o p p o r t u n i t y o f p r o v i d i n g services t o C o a s t Wood
P r e s e r v i n g , I n c . I f you have any q u e s t i o n s , p l e a s e do n o t h e s i t a t e
t o call.

Sincerely,




Mohsen Mehran, Ph.D.
P r o j e c t Manager

MM: go
Enclosures

cc:    M r . Dwight Hoenig-DHS
       M s . M i c h e l l e Rembaum-DHS
       M s . Susan Warner-RWQCB, North C o a s t Regi.on
       M r . James Hanson-U.S. EPA
       M r . G e r a l d Davi.s-Mendocino County Department o f Envi.ronmenta1.
                                 Health




                    15218 McDurrnoti tasi Suite G      Irvine. California 92714
                         Telephone (7SS) 553-8757   * FAX (714: 251-6550
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 228 of 708




                           Final Draft
                     REMEDIAL ACTION PLAN
                  COAST WOOD PRESERVING, INC.
                       UKIAH, CALIFORNIA




                          Prepared for
                  COAST WOOD PRESERVING, INC.
                       UKIAH, CALIFORNIA




                           Prepared by
                 Geosystem Consultants, Inc.
                18218 McDurmott East, Suite G
                   Irvine, California 92714
                         (714) 553-8757
                       FAX (714) 261-8550

                      Project No. 86-113
                            May 1989
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                           ACKNOWLEDGEMENTS

Several people have made invaluable contributions during the site
characterization studies and the preparation of this Remedial
Action Plan. Mr. Eugene Pietila and Mr. Harold Logsdon of Coast
Wood Preserving, Inc. provided support, guidance, and assistance
throughout the project. Ms. Susan Warner and Ms. Bonnie Rolandelli
of the California Regional Water Quality Control Board, North Coast
Region; Mr. Jerry Marcotte, Mr. Howard Hatayama, Mr. Dwight Hoenig,
Mr. Ted Park, Ms. Michelle Rembaum, and-Mr. Richard Jones of the
Department of Health Services; Mr. James Hanson          Mr. Marvin
Young of the U.S. Environmental Protection Ag
Hackenbracht of the State of California
Robert Pedroncholi of the City of Ukiah;       Betty Swatsenberg of
the State Department of Water Resources;            Dave Redding of
the Willow County Water Dis                         ed information
essential to the completion of t           The contributions of all
these individuals are gratefull
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                           1.0   INTRODUCTION


Since June 1980, a number of studies have been conducted to
investigate the presence of chromium, copper, and arsenic in the
subsurface environment at the Coast Wood Preserving, Inc. (CWP)
facility (the site) in Ukiah, California. The investigations were
designed to characterize surface and subsurface conditions and
delineate the areal and vertical extent of chromium, copper, and
arsenic in soil and ground water at the site. Concurrent with the
investigations, a nuder of interim remedial measures have been
implemented to contain the chromibm plume in ground water and
remediate subsurface conditions.

The state and federal agencies responsibl     r overse&ng the CWP
investigations include the California        ional Water Quality
Control Board, North Coast Region (RWQC        epartment of Health
Services (DHS), and U.S. Envir     ntal Protection Agency (EPA)            .
Throughout this report, the RWQ     DHS, and EPA are referred to
collectively as "the regulatory    ncies. If

                       8
In compliance with S t'on 25356.1 of the California Health and
              986), the regulatory agencies have requested CWP to
              dial Action Plan (RAP) to address soil and ground
water cont    ation which may have originated from CWP's operation.
On behalf of CWP and in response to this request, Geosystem
Consultants, Inc. (Geosystem) submitted a predraft RAP (Geosystem,
September 15, 1986) to the regulatory agencies for review.
Subsequent to the submittal of the predraft RAP, a number of
additional investigations were performed at the site. Also, in
February 1987, DHS issued a draft guidance document for RAP
preparation.   The draft guidance document provided the format,
content, and     procedures    for preparation, approval, and
implementation of the RAP.
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Utilizing the results of additional investigations and considering
the regulatory agencies review comments, a draft RAP was prepared
by Geosystem in accordance with the February 1987 draft RAP
guidelines. The draft RAP was submitted for review in July 1987.
In September 1987, DHS issued a detailed outline for the
preparation of RAPS entitled "DHS, Policy and Procedure for
Remedial Action Plan Development and Approved Processes" (DHS,
September 1987). Also, in September 1987, the regulatory agencies
provided review comments on the draft RAP submitted in July 1987.
The agencies comments and the content and format of the most recent
RAP guidelines (DHS, September 1987) were considered in the
preparation of the Draft No. 2 of the RAP which           issued in
February 1988 (Geosystem, February 29, 1988)       .
                                                  Su
August 4, 1988, agencies comments on Dra
received. Also, on December 16, 1988, DHS            emedial Action
Order providing the framework for future              ies including
the preparation of this third                           February 3,
1989, Geosystem issued the th                          for agencies
review. Agencies comments have been considered in the preparation
of this preliminary     1 RAP.


               that the RAP guidelines prepared by the DHS are
              th Section 25350, Subpart F of the National Oil and
              stances Pollution Contingency Plan (U.S. EPA, July
1985), Section 25356.1 of the California Health and Safety Code
(1986), and the California Site Mitigation Decision Tree (DHS, Jane
1985).

1.1 OBJECTIVE
According to the September 1987 DHS guidelines for RAP preparation,
"the purpose of a RAP is to compile and summarize site data
gathered from the remedial investigation (XI) and the feasibility
study (FS), in order to identify, and subsequently design, plan and
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implement a final remedial action for a hazardous substance release
site."   The specific objective of this RAP is to present the
findings of the investigations performed at the CWP site, the
rationale for selection or rejection of the remedial alternatives
considered, and the timeframe for remedial action implementation.
The RAP is intended to provide an opportunity for the public and
other interested parties to participate in the remedial action
decision-making process. According to the DHS, if the remedial
action plan is fully implemented and completed, "the site will be
certified and transferred to a list of sites which require long.
term operation an& maintenance."

1.2  SITE IDENTIFICATION
The site is known as the Coast Wood Preser             P) facility
and is located 3 miles south of Uki           California, at th-e
intersection of Highway 101 and Taylor               site location



                                   P
is shown in Figure 1. CWP has co ducted wood preserving operations
at the site since 1971 and t e facility is currently active.
Additional details of CWP1swood preserving operation are presented
in Section 3.2.1.

1.3   SCOPE AND   .REPORT
                       ORGANIZATION
                       relevant background information, a summary
             ation of the hydrogeologic data, a summary of soil
and ground water quality data; a description of the interim
remedial measures implemented; a risk assessment; and an evaluation
of remedial action alternatives. In addition, the rationale for
selection of the proposed remedial actions and rejection of the
others is presented.

The format and organization of this document are consistent with
the RAP guidelines (DHS, September 1987)      .
                                             An Executive Summary,
including a brief description of significant findings, conclusions,
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and recommendations, is provided in Section 2.0.       Section 3.0
presents a site description, including the history of wood
preserving operations and the physical characteristics ofthe site.
Section 4.0 contains a summary of the geologic, hydrologic, and
chemical characteristics of soil, surface water, and ground water
at the site and immediate vicinity based on the remedial
investigations performed.      Section 5.0 describes the interim
remedial measures implemented during the course of the
investigations at the site.      Section 6.0 summarizes potential
migration pathways and chromium toxicity, and evaluates the
possible exposure of the contaminants to potential receptors.

Section 7.0 presents the remedial action alternati     considered
to address soil and ground water
alternative methods of ground water tre
addition, the recommended remedial ac
ground water contamination is
rationale for the selection of     proposed remedial plan and the
applicable regulations are alsolpresented in this section.

The schedule for i     mentation of the RAP is presented in
Section 8.    The allocation of financial responsibility and
            nd maintenance requirements are presented     in
            and 10.0, respectively.
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                           2.0   EXECUTIVE SUMMARY


The draft Remedial Action Plan (RAP) presents the rationale,
approach, and framework for the proposed remediation program at
the Coast Wood Preserving, Inc. (CWP) facility i.n Ukiah,
California.

2.1  APPLICABLE LAWS AND REGULATIONS
The draft RAP has been prepared in accordance with the guidance
document entitled tlRemediaJAction Plan Development and Approval
Pro~ess,'~issued by the DHS (September 1987). The draft RAP is
also consistent with the following state and federa   pirements
and guidelines:
           Comprehensive Environmental Respo          Compensation
           and Liability Act (CERCLA) of 19          as amended by
           the Superfund Amendments and Re            rization Act
           (SARA) of 1986.
           Resource Conservation         Recovery Act (RCRA) of
           1976, as amended by th        zardous and Solid Waste
           Amendments (HSWA) of 1
           Safe Drinkin
                         ea ater Act.
           California coke of Regulations, Title 22, Division
                Environmental Health (Chapter 1, Article 1;
                er 2, Article 1 ; Chapter 30), July 1986.
                ornia Health and Safety Code.

          North Coastal Basin Water Quality Control Plan
          adopted by the RWQCB.
          All orders, including specificati.ons, provisions,
          prohibitions, and requirements issued by the RWQCB.
          Court order by the State of California, Office of
          the Attorney General.
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      o   National Contingency Plan, pertinent hazardous
          waste regulations under 40 CFR, Parts 260 to 265;
          Part 300-68, July 1985.
      o   Porter-Cologne Water Quality Control. Act, 1969.


2.2  BACKGROUND
Since 1980, a number of investigations have been performed to
delineate the areal and vertical extent of chromium in soil and
ground water at the CWP site and to characterize hydrogeologic
conditions. Soil quality investigations have shown that elevated
chromium and arsenic concentrations exsst in the upper 1 to 2 feet
of the soil profi.le near and around the retort area. Most soi.1
samples analyzed for total chromium and hexaval.en     romium have
indicated that tri.val.entchromium compounds are p    lent in the
near-surface soils.
                                             /
Hydrogeologic studies have demonstrated t t the site is underlain
by four hydrostratigraphic zone               zone (Zone 1) consists
of silty clay and clayey silt,            e permeable strimgers and
'lenses of sand and                        about 20 feet. This zone
i.s separated from a    .e permeable sand and gravel layer (Zone 2)
by a blue clay. Z        3 is a clayey silt stratum (Zone 3), and
                                          1.. Zone 1, is the primary
             cern because of the presence of chromium in ground
              depth to ground water varies from 5 to 10 feet and
ground water generally flows to the southeast.

Gr ound water qual.ity data show that chromium concentrations are
higher near the retort area, and decrease in the downgradient
direction. In the last three years, most off--sitewells have not
exhibited chromi.um concentrations in excess of the drinking water,
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standard (0.05 mg/l) . Most storm water quality monitoring data
indicate that chromium concentrations are generally near or below
detection limits.

Geochemical tests have been performed to evaluate the sorption and
desorption characteristics of chromium and arsenic in soil and
ground water.. Sorption tests have shown that Zone 1 material is
capable of adsorbing hexavalent chromium to the extent that
chromium migration is at least 5 times slower than ground water
flow. Desorption tests have indidated that a reduction in chromium
concentration can be achieved by ground water extraction. The
geochemical data have been used to estimate the t       of aquifer
cleanup. Absence of dissolved arsenic in ground w       monitoring
wells indicates high adsorption capacity for arsenic compounds.
                                                  /'

Potential migration pathways through air, rect exposure to soil,
surface water, and ground wa          have been assessed.     It is
concl.uded that the most probab      igration pathway is via ground
water flow.    Becau                  11 site improvements and the
interim remedial mea      s implemented, however, off-site migration
is unlikely. A tra        rt model has been ut.ilized to assess the
              ution of chromium. in case of off-site migration.
               e low populati.ondensity downgradient of the facility
              ce of water-producing wells in the immediate site
vicinity, there is no present potential, exposure through ground
water'. Therefore, there is no health risk associated with this
pathway if of+site migration i s prevented.

2.3  INTERIM REMEDIAL MEASURES
Since the initiation of investigations at the CWP site, a number
of remedial measures have been implemented by CWP.       Genera1
facility improvements have included grading and construction of
berms to prevent surface runoff from the retort and treated wood
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storage areas, surface paving, and construction of roofs over the
retort area. These improvements have substantially reduced the
potential for soil, storm water, and ground water contamination.

:In October 1983, without regulatory agency approval and/or'
oversight, CWP constructed a 300-foot long, slurry cutoff wall
along the eastern site boundary to a depth of about 20 feet.
Chromium-containing ground water is pumped from an extraction
trench located hydraulically upgradient of the slurry wall. The
trench appears to be capable of intercepting and~hydraulically
controlling ground water in Zone 1. Extracted water' is ayecycled
back into CWP operations when possible. The presence   the slurry
cutoff wall and extraction from the trench have been  fective in
reducing the off-site migration of chromium.

2.4  REMEDIAL ACTION ALTERNATIV&
A feasibility study has been conducted         screen and evaluate
viable remedial action alternati      In conducting the feasibility
study, contaminated soil was        idered the primary potential
source of ground wat     ontamination. Contaminated ground water
was considered the p      pal potential hazard to human health and
the environment. In       uating the alternatives, soil and ground
water elem   s were addressed separately.

Remediation of contaminated soils will occur. at the time of closure
of the,facility, projected to be 1.0 years. A trust fund will be
established (Section 9.0) to fund future remediation of soils. The
potential remedial options considered for. control of the
contaminated soil included soil removal/off-site disposal, soil
removal/on-site treatment, containment, in-situ treatment, and no
action. Treatability studies will be conducted prior to selecting
the final. soils remedy at the time of closure qf the facility. It
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is anticipated that on-site soil treatment options will increase
as this technology develops over the next 5 to 10 years.

The alternatives considered for control of the chromium plume
included physical containment, in-situ treatment, hydraulic
control, and no action.          Based on proven technological
considerations and cost, hydraulic control was selected as the most
cost-effective remedial measure. This option was evaluated for
plume control near the retort area, near the site boundary, and off
site.

As hydraulic control requires proper handling of
ground water.,various discharge options were conside
cost-effective options include recycling the ground
operations or discharge of treated water       the sanitary sewer.
Viable ground water treatment options        lude eTectrochemica1
processes, chemical reduction                 , activated carbon
adsorption, ion exchange, reve      osmosis, and electrodialysis.
Based on availability, proven       nological considerations, and
cost-effectiveness,      electrochemical process was selected for
ground water treatme

2.5  S                    -
                          IAL ACTIONALTERNATIVE
The selec               dial action alternative included the following
elements:
      oa Surface runoff management.
      o   Control and remediation of contaminated soil.
      o   Plume control and aquifer remediation.
      o   Electrochemical treatment of ground water.
      o Water r e c y c l i n g / d i s c h a r g e t o U k i a h Sewage Treatment
        Plant or reinjection.
      o Monitoring.
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Surface runoff will be controlled to prevent potentially
contaminated water entering surface water drainage features. The
site will be inspected periodically and surface paving repaired as
appropriate. Storm water monitoring shall be performed and the
data evaluated according to RWQCB Order No. 85-101.

Contaminated soils will be controlled by preventing surface water
infiltration and by exercising hydraulic control of the plume.
Surface paving will prevent the kurfake soils from acting as a
source of ground water contamination. "Chromium leached from the
soil as a result of ground water level fluctua           s will be
controlled hydraulically in the retort area and         r the site
boundary. Hydraulic containment wi.1.lbe achieved by a $round water,
extraction and treatment system utilizing      existing extr action
Wells HL-7 and CWP-18. These provisions w     prevent direct human
exposure to contaminated soil,                 he contribution of
infiltrating surface water to       und water contamination, and
prevent off-site migration. Aft           losure, the contaminated
soils will be remedia    by on-site treatment as discussed in the
previous section.

Plume cont    and aquifer remediation will be performed by ground
water exti   ion near the retort area and at the site boundary.
Well CWP,-18,located in the retort area, will be pumped to extract
gr~und~watercontaining elevated chromium concentrations. Although
the yield of this well is small and continuous pumping may not be
possible, the potential impact on aquifer restoration is believed
to be significant.

At the site boundary, Well IiL,-i (instailed in the extraction
trench) will be pumped at flow rates ranging from 5 to 20 gpm.
Extraction from the trench will produce a zone of influence which
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      will contain the chromium plume, prevent off-site migration, and
      gradually restore the aquifer. Considering the total estimated
      volume of contaminated fluid, pore volume reduction requirements,
      and expected flow rates, the projected minimum duration of aquifer
      cleanup is about seven years. However, considering the nature of
      the assumptions and uncertainties associated with this estimated
      time of aquifer cleanup, a conservative duration of 20 years is
      projected for project management and budgetary purposes. Provision
      is also made to extract water fr.om Well CWP-8, located on the
      downgradient side of the slurry cutoff wall. Extraction from this
      well wi.11 contain any residual chromium that may pass, the barrier.;
      Containment of chromium in this location will prevent
      of downgradient areas.

     A contingency plan has also been develop             or the extraction of
     ground water in the off-site area loca                ear moni.toring Well
     AT-2. Depending on future concentration               cted in the off-site
     wells, additional extraction w      may be           necessary to insure
     hydraulic control of the contam

I     The extr,acted water       be recycled into CWP operations, to the
      extent possible, or       ed electrochemically and discharged into
                      wer. Implementation of this dischar.geoption will
                       flexibility in selecting extraction rates fr.omWell
      HL-7, and will increase the effectiveness of cleanup operations.
     .The txeatment system effluent concentrations will meet the
      requirements of the Ukiah Sewage Tr.eatmentPlant.

     Air, storm water, and ground water quality monitoring shall be
     performed according to general and site-specific protocols. Storm
     water monitoring shall be performed at the locations and
     frequencies specified by RWQCB Order No. 85-101.      Storm water
     samples will be analyzed for dissolved total chromium and arsenic.
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     Ground water shall be monitored in on-site and off-site wells
     installed specifically for the CWP project.          Ground water
     monitoring includes water level measurements and water quality
     analyses. The ground water samples shall be analyzed for' dissolved
     total chromium, as specified in RWQCB Revised Monitoring and
     Reporting Program No. 85-101, issued in May 1987, and any
     subsequent order, as appropriate.      Monitoring locations and
     frequencies are subject to change as remediation proceeds.

    Monitoring shall be performed ,accordingto the procedures outlined
r   in the tlGroundWater/Storm Water Monitoring Protocolu dated August
    1987, prepared specifically for the CWP facility. T
    data shall be reviewed per.iodi.callyto evaluate the
    of the RAP, and recomrnendatl.onsand modifications sh
    appropriate. The moni.toring data and resu     of these evaluations
    shall be reporte                              red by the Revised
    Monitoring and Re

    2.6     ALLOCATION OF
      CWP has owned and                                  since 1971 and will
      be responsible for im        entati.on of the RAP. The provisions for
    : financial, assuran                                .O of this report.

    2.7     DEED          TION ON REAL PROPERTY
                                         -7-




    Within 30 days after Department approval of the Final (draft) RAP
    Coast Wood Preserving Inc.,must record the final Deed Restriction
    with Mendocino County.
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                               3.0   SITE DESCRIPTION


This section provides a summary of background information pertinent
to the RAP, including the location, history, and a physical
description of the site.. The content and format of this section
are generally consistent with the RAP guidelines provided by the
DHS (September 1987)       .
3.1     S I T E LOCATION
The CWP facil.ity is located at the intersection of Plapt Road and
Taylor Drive in an unincorporated area of Mendocino County, about
3 mi.les south of Ukiah, California. The site locati     's shown in
Fi.gure 1. The site covers an area of approximately      cres and is
located in Secti.on 22 of Township 15 North,
to the Mount Diablo baseline and meridian.     r the purpose of this
draft RAP, the Ifsite"refers to the area             y U.S. Highway
101 to the west, Plant Road to                        e to the east,
and an unpaved track to the sou       The "study area" refers to the
area bounded by Plant Road and       Ukiah Sewage Disposal facility
to the north, the Ru       River to the east, Robinson Creek to the
south, and U..S..Hig        101, to the west.    The study area is
                       b
delineated in Figure 1.       The site and vicinity is shown in
Figure 2.

3.2  SITE HISTORY
This section includes a brief description of wood preserving
operations at the site; the type of chemicals handled: and a
chronology of site contamination, investigation, and interim
remedial measures.

3.2.1  Wood Preservinq Operations
CWP began wood preserving at the site in 1971 and the facility has
operated continuously up to the present date. It is believed that
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prior to 1971, the land was used for agricultural purposes. The
wood preserving operations and facilities have been periodically
upgraded since 1971 by implementing surface runoff control
measures, surface paving, construction of canopies over wood
treatment areas, and the development of treated wood storage and
handling procedures.

The wood preserving operation at the site involves the use of a
chemical mix consisting of 65.5 percent sodium dichromate, 18.1
percent copper sulfate, and 16.4 percent arsenic acid. A dilute
solution of the chemical mix, containing the equivalent of 1.5
percent by weight of CrO,, CuO, and AszO,, is used       bathe the
lumber in pressuri.zed retort chambers. Aftereach       atment the
retort chambers are drained and the preser               s recycled
into the working sorution tank. Residu               draining from
the retort chambers and drippings from t
collected in concrete-lined su      and are also recycled into the
chemical, mix tank via tempor       holding tanks.    The solution
transfer takes place               ground PVC pipes. A plan of the
site, including th      acilities mentioned above, is shown in
Figure 2.

3.2.2
Concern                    possible release of wood preserving
chemi.calsfrom the CWP site were raised by the County of Mendocino,
the Department of Fish and Game, and the RWQCB in early 1972. A
chronology of the subsequent interaction between the regul3tory
agencies and CWP is presented in Appendix A.        The cumulative
drippings *om treated wood over the years are believed to have
resulted in near-surface soil contamination at the site,
particularly during the early years of operation when the treatment
and treated wood storage areas were not all paved. Currently, all
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but the south and southeast portion of the site (as shown in
Figure 2) is paved with asphalt or concrete.

3.2.3 Previous Studies
As indicated in Section 3.2.2, the RWQCB first became involved in
the environmental aspects of CWP ' s wood preserving operations in
early 1972.      The RWQCB1s specific concerns were related to
potential surface water and ground water contamination. Appendix A
provides a chr onology of events related to environmental activities
at the site.

On June 13, 1980, RWQCB staff collected samples of
runoff which were found to contain wood preserving        icals. In
September,1980, the RWQCB requested that CWP assess
possible impact of wood preserving opera       s on soil and ground
water quality beneath the site. This            sment, performed by
H. Esmaili & Associates, Inc. (A                d referred to as the
Phase I study, included the in            n of six shallow ground
water monitoring wells (Wells CW              CWP,-6). The locations
of these monitorin       ells are shown in Figure 2 and the
construction details     summarized in Table 1. The investigation
                           um concentrations in near-surface soil
                          amples col.lected from Wells CWP-1 through
CWP-6. No     orqal concentrations of arsenic or copper were found
in any of the ground water samples.

In October 1981, CWP installed Wells CWP-7, CWP-8, and CWP-9~along
the eastern site boundary to evaluate possible off-site migration.
In December 1981, the RWQCB installed off-site monitoring Wells
FPT-lA, FPT-lB, FPT-2A, and FPT-3 to the east of the site. The
analysis of ground water samples from these wells confirmed that
off-site migration of chromium had occurred.
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Additioni                                                     .ne the
         i
extent oj                                                     ibility
of conta:                                                      ase I1
study, co                                                      1982),
included I,,-----~~                                             water
               \
monitoring \,~                                                 kt the
                       - .....,,,, , ,
             \,
vertical exten,                        and arsenic in soil and ground
water was limited. The locations of the ground water monitoring
wells installed during the Phase I and Phase I1 studies are shown
in Figure 2. Additional off-site ground water monitoring wells
(Wells AT-1, AT-2, AT-3, FPT-4, and FPT-5) were subsequently
installed by Kleinfelder and CWP to further deli          e off-site
contamination.

In October 1983, acting on its own Gitiative but without                   7

regulatory agency approval or oversig , CWP constructed a
bentonite siurry cutoff wall,               e m site boundary, to
intercept and limit the migrati   f chromium in ground water . CWP
also constructed a                       on trench immediately to
the west and hydrau                       the slurry cutoff wall.
The approximate lo                        y cutoff wall and the
                                           As an interim remedial
measure,     began extracting ground water. from the trench via a
                    n as Well HL-7, equipped with an electric,
submersible pump. The extracted ground water was recycled back
into the wood preserving operation. Also, as part of the overall
effort to improve site conditions, CWP erected canopies over the
retort area. These covers limit the exposure of freshly treated
wood to precipitation and reduce surface water runoff from this
area. These interim remedial measures are described in more detail
in Section 5.0.
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    3.2.3  previous Studies
    AS indicated in Section 3.2.2, the RWQCB first became involved in
    the environmental aspects of CWP's wood preserving operations in
    early 1972.     The RWQCB's specific concerns were related to
    potential surface water and ground water contamination. Appendix A
    provides a chronology of events related to environmental activities
    at the site.

    on June 13, 1980, RWQCB staff collected samples of surface water
    runoff which were found to contain wood preserving chemicals. In
    Sepcenwer i y a u , crle KWVLL, zequescea mar; cwr assess ana reporr m e
    possible impact of wood preserving operations on soil and ground
    water quality beneath the site. This assessment, performed by
    H. Esmaili & Associates, Inc. (August 1981) and referred to as the
    Phase I study, included the installation of six shallow ground
    water' monitoring wells (Wells CWP-1 through CWP-6). The locations
    of these monitoring wells are shown in Fi9ur.e 2 and the
    construction details are summarized in Table 1. The investigation
    indicated elevated chromium concentrations in near-surface soil
    samples and ground water samples collected from Wells CWP-1 through
    CWP-6. No abnormal concentrations of arsenic or copper were found
    in any of the ground water samples.

    In October 1981, CWP installed Wells CWP-7, CWP-8, and CWP-9 along
    the eastern site boundary to evaluate possible off-site migration.
    In December 1981, the RWQCB installed off-site monitoring Wells
    FPT,-lA,FPT-lB, FPT-2A, and FPT-3 to the east of the site. The
    analysis of ground water samples from these wells confirmed that
    off-site migration of chromium had occurred.

d
    Additional st~dieswere subsequeiltiy initiated to determine the
    extent of ground water contamination and evaluate the feasibility
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of containing contaminated ground water on site.     This Phase I1
study, conducted by J. H. Kleinfelder & Associates (November 1982),
included the installation of seven additional on-site ground water
monitoring wells (CWP-10 through CWP-16) and showed that the
vertical extent of chromium, copper, and arsenic in soil and ground
water was limited. The locations of the ground water monitoring
wells installed during the Phase I and Phase I1 studies are shown
in Figure 2. Additional off-site ground water monitoring wells
(Wells AT-1, AT-2, AT-3, FPT-4, and FPT-5) were subsequently
installed by Kleinfelder and CWP to further delineate off-site
contamination.
e
In October 1983, acting on its own initiative but without
regulatory agency approval or oversight, CWP constructed a
bentonite slurry cutoff wall, near the eastern site boundary, to
intercept and limit the migration of chromium in ground water. cWP
also constructed a ground water extr.action trench immediately to
the west and hydraulically upgradient of the slurry cutoff wall.
The approximate locations of the slurry cutoff wall and the
extraction trench are shown in Figure 2. As an interim remedial
measure, CWP began extracting ground water from the trench via a
central sump, known as Well HL-7, equipped with an electric
submersible pump. The extracted ground water was recycled back
into the wood preserving operation. Also, as part of the overall
effort to improve site conditions, CWP erected canopies over the
retort area. These covers limit the exposure of freshly treated
wood to precipitation and reduce surface water runoff from this
area. These interim remedial measures are described in more detail
in Section 5.0.

After reviewing the findings of Phases I and I1 of the
investigation, the regulatory agencies requested that CWP further.
define the distribution of chromium, arsenic, and copper in soil
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After reviewing the findings of Phases I and I1 of the
 investigation, the regulatory agencies requested that CWP further
define the distribution of chromium, arsenic, and copper in soil
and ground water.        DIAppolonia Consulting Engineers, Inc.
 (DtAppolonia) was retained by CWP to perform this investigation
and address the agencies1 concerns. The investigation included a
series of soil, sampling borings, Borings S-1 tinrough 5-26
 (DIAppOlOnia/IT Corporation, May 1984)"', the locations of which
are shown in Figure 2. The investigation showed that the top one
to two feet of the soil profile around the retort and rail line
areas contained elevated concentrations of chromium and arsenic.         z

It is noted, however, that no soil samples were         ected from
beneath the actual retorts.       The ground water
indicated elevated concentrations of chr
located near the retort areas. Chromium
water generally decreased with distance f
downgradient direction.

Subsequent to regulatory agen      ,eview of the findings of the
D'Appolonia investig   on, another study was initiated to further
define the extent a    migration behavior of chromium in ground
water and              le remedial action alternatives to address
contamina     soil and ground water.      This investigation (IT
Corporati    June 1985) led to the following conclusions:
     o   Containment of colitami.nated soil and remediation
         of the contaminated water-beariing zone by hydraulic
         control measures, such as ground water extraction,
         was feasible.
     o   The majority of the extracted ground water could
         be reused in CWP's wood preserving operations and
         the excess could be treated cost-effectively by
         the existing electrochemical unit at the site.



(1) In March 1984, D'Appolonia was acquired by IT Corporation.
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Subsequent to this investigation, a large diameter extraction well,
Well CWP-18, was installed near the retort area to contain
contaminated ground water to the extent possible.         Also, an
injection well, Well CWP-19, was installed hydraulically upgradient
of the retort area and the existing chromium plume so that excess
treated water could be injected back into the water-bearing zone.
The retort area extraction well and the upgradient injection well
are described further in Section 5.0.

In response to concerns .expressed by the regulatory agencies
regarding the effectiveness of the extraction trench     the slurry
cutoff wall in remediating and containing the chrom      plume near
the eastern site boundary, Geosystem                     number of
investigations to evaluate aquifer parame    s, assess the leaching
behavior of soils, and estimate the dur       n of aquifer cleanup
(Geosystem, March 1985; Novembe               ber of additional on-
site and off-site monitoring we      (Wells CWP-22, AT-4, and AT-5)
were also installed to in           igate ground water quality
hydraulically downg     ent of the slurry cutoff wall.          The
locations of the on-     and off.-siteground water monitoring wells
are shown in Figu         and the well construction details are
summarize     Table i.

In addition to the studies performed by their consultants, CWP
conducted regular ground water monitoring using their own
resources.   The ground water monitoring program was originally
specified by the RWQCB in Order No. 83-93, which was adopted in
June 1983. Order No. 83-93 has been revised and/or superseded
several times as additional monitoring wells have been installed
and existing wells abandoned or deleted from the monitoring
program. The current monitoring program is in accordance with the
requirements of the most recent revision of the RWQCB order (May
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1987).  Monitoring includes the collection and analyses of storm
water samples for chromium and arsenic. The monitoring program
also includes ground water level measurement and the collection and
analyses of ground water samples for dissolved total chromium.
Ground water monitoring is performed according to the Ground Water
Monitoring Protocol (Geosystem, August 1987) prepared specifically
for the CWP project.

The water level measurement and ground water quality data obtained
by CWP, consultants acting on behalf of CWP, and regulatory agency
personnel have been Compiled by Geosystem on a computer-based data
management system.     A summary of these data is      esented in
Appendix B. A summary of the storm water' quality da   s presented
in Appendix C, and a summary of the soil               s performed
is presented in Appendix D.

Because of the large volume of       ously reported investigations,
this summary is intended to pr      e only a brief introduction to
the characterization studies p      rmed at the site. Additional
details and interpr     on of the findings of these investigations
are presented in sec     4.0 and in the subject-specific, technical




This section includes descriptions oftopography, physical setting,
demography, climatology, sensitive structures, and potential
receptors.

3.3.1  Topoqra~hy
The CWP site is located in the Ukiah Valley. In the vicinity of
the site, the valley floor is about 2.5 miles wide. The vailey
tapers to an unnamed, narrow gorge, several hundred feet wide, at
a point about 4.5 miles south of the site. The Russian River flows
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s o u t h t h r o u g h t h i s g o r g e from t h e Ukiah V a l l e y i n t o Hopland V a l l e y .
The v a l l e y f l o o r a t t h e s i t e i s a t a n e l e v a t i o n o f a b o u t 565 t o 585
f e e t above mean s e a l e v e l (MSL) and s l o p e s g e n t l y t o t h e s o u t h ,
a l o n g t h e a x i s of t h e v a l l e y , a t a g r a d i e n t of a b o u t 0 . 2 p e r c e n t
 (1 i n 5 0 0 ) .


The Ukiah V a l l e y i s bounded by s t e e p mountains t o t h e e a s t and
west.        Those t o t h e e a s t o f t h e s i t e a r e known a s t h e Mayacmas
Mountains and r i s e t o over 3,600 f e e t above MSL.                              The mountains t o
t h e w e s t i n c l u d e ClGland Mountain and E l l e d g e Peak which r i s e t o
over 2,500 f e e t above MSL.                    The s l o p e s o f t h e mountains bounding                   st


t h e Ukiah V a l l e y r a n g e from a b o u t 1 2 t o 6 7 p e r c e n t .


Steep-si.ded v a l l . e y s , a p p r o x i m a t e l y p e r p e n d i c u l a r t o     kh e   a x i s of
t h e Ukiah V a l l e y , a r e a l s o prominent t o p 0                      phic features.        These
valleys typically contain tributaries t o                                       Russian River      .,   The
most s i g n i f i c a n t    of t h e s e w i t                               t h e CWP s i t e i s t h e
v a l l e y o c c u p i e d by Robinson Cre                   which e n t e r s t h e Ukiah V a l l e y
from t h e w e s t , a p p r o x i m a t e l y 4 ,           f e e t s o u t h o f t h e CWP s i t e , a s
shown i n F i g u r e 1.

                                    I
                      y o f t h e CWP s i t e i t s e l f h a s been l o c a l l y a l t e r e d by
                       a i n a g e and f o u n d a t i o n p u r p o s e s .    I n g e n e r a l , however,
                         c e s l o p e s g e n t l y t o t h e e a s t , towards Taylor Drive.


3.3.2 ' S i t e Features
I n terms o f s u r f a c e s t r u c t u r e s , t h e      site     features a general office
i n t h e no&hwest c o r n e r and a g a r a g e o r s e r v i c e t y p e s t r u c t u r e n e a r
t h e center        of    the     site.         The two r e t o r t s           i n which     lumber      is
p r e s s u r e t r e a t e d a r e o r i e n t a t e d east-west n e a r t h e western s i t e
boundary. Each r e t o r t chamber is a p p r o x i m a t e l y '70 f e e t l o n g . The
r a i l l i n e s a s s o c i a t e d w i t h e a c h r e t o r t e x t e n d a b o u t 140 f e e t t o t h e
east.          The sump t o which t h e r e t o r t s d r a i n is l o c a t e d a t t h e
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eastern end of the vessels.      The wood preserving solution is
recycled to, and stored in, four large above-ground tanks along the
western site boundary.

Other significant site features include a walled work tank area in
which wood preserving solution i s mixed.     This work tank area
includes a large concrete sump containing "make-up" water.. Ground
water extracted from We1l.s HL-7 and CWP.-18 is discharged to this
sump to be recycled in the wood preserving operation. A large,
330,000 gallon, above-ground tank is used to store treated ground i
water.           ,n                                                             .a




The majority of the site is paved with asphalt concre    nd is used
for wood storage. Treated wood is stored in the no
of the site.    Surface runoff from this      ,ea is controlled by
asphalt berms and collected in a sump on th   astern site boundary,         ,

from which it is returned to th                r sump. The unpaved
areas of the site are located a      the southeastern and southern
site boundaries and are general1          r used for untreated wood
storage.

The CWP facility is ?enced for security and is accessed via two
sliding ga   which are locked outside of normal business hours or
used for u   ated wood storage.

3.3.3 ,Surroundina Land Use
The large majority of the land surface in Mendocino County is
occupied by native vegetation and non-irrigated agriculture. A
study performed by the Department of Water Resources (May 1980)
projected land use in several ground water basins along the Russian
River. In 1974, native vegetation and non-irrigated agriculture
occupied over 185,000 acres in the Upper Russian ground water
basin, in which the CWP site is located.          Urban, irrigated
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agriculture, and recreational land use accounted for approximately
3,400, 9,900, and 250 acres, respectively. Projections up to the
year 2000 suggest that urban and irrigated agricultural land use
will i.ncreaseat the expense of native vegetation and non-irrigated
agriculture. Projected recreational,land use remains constant.

The principal land use in Mendocino County is for timber
production, which provides two-thirds of the county's agricultural
revenues. Pasture and range land occupies 672,000 acres, while
fruit production, mostly grapes and pears, accounts for 15,000
acres (County of Mendocino,el.985). Major' land uses in the general
vicini.ty of the CWP site include vi-neyards, fruit a
forested land, single fami.1.yresidences, and transpo
use in the immediate vicinity of the CWP site i.n
related facilities, sewage treatment,         ,uit trees (pears),
transportation (U.S. Highway 101) , b         ess and commercial
facilities, and vacant lots. La                a 1.5 mile radius of
the CWP site is shown in Figure



                               endocino County was 74,267, about
                                the Ukiah area. The population of
                                 13,331 (Greater.Ukiah Chamber of
                1.987). Other, smaller. communities in the vicinity
of theCWP site include Talmage, located approximately 2:miles to
the northeast, and Hopland, located approximately 10 miles south
along U.S. IIighway 101.

The main population center of Ukiah is approximately 3 miles to
the north of the CWP site. :In the vicinity of the site, there are
very few residences.     Aerial photographs taken in April 1984
indicate on1.y five residential structures within a quarter-mile
radi.usof the site boundaries. Accordin9 to Greater Ukiah Chamber
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1
    of Commerce records (June 1987), there are an average of 2.45
1   residents per dwelling in the city of Ukiah. Using this statistic,
i
i   it appears that there are less than 15 people li.ving within a
    quart.er-mile of the CWP site.

    Interviews conducted by Geosystem personnel indicate that there
    are four houses, two duplexes, two bunk houses, and six motel units
    in the study area within one-half mile of the CWP site. It is
    noted that the motel units are used to house seasonal workers
    associated with the Alex Thomas pear packing facility. During the
    wi.nt.ermonths, about 20 peop& may occupy these residences. In the
    peak fruit harvesting season, however, this number m    ' ncrease to

    about 100.

    3.3.5 Climatolosy
    This section characterizes the climate in   e vicinity of the CWP
    site in terms of temperature,                , and wind speed and
    direction. The data have been      ined from various locations in
    and around Ukiah; however, it              that the variations in
    climate over the re1    ely small distances from the CWP site are
    not significant.

    3.3.5.1.
    Ukiah has     relatively mild climate, characterized by dry, hot
    summers and cool, wet winters.. Based on records available from
    1.877 to 1980, the average air temperature reportedly varies from
    46.0 degrees Fahrenheit in January to 73.7 degrees Fahrenheit in
    July, with an average annual air temperature of 59.2 degrees
    Fahrenheit. The maxi.mum and minimum temperatures recorded in Ukiah
    since records have been maintained were 114 and 12 degrees
    Fahrenheit, respectively (Farrar, July i986j. Mean monthly air
    temperature data for Ukiah are presented in Table 2.
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3.3.5.2        Precipitation
Based      on r e c o r d s     available         from 1877 t o             1980,    t h e mean a n n u a l
precipitation            i n Uki.ah is 36.27              inches.           The r e c o r d s     indicate,
however,        t h a t c o n s i d e r a b l e v a r i a t i o n i n a n n u a l p r e c i p i t a t i . o n is
common       in    the      Ukiah     area       with    variations           of    up    t o 30 i n c h e s
occurring          in       consecutive          years.              The    maximum         and    mini.mum
p r e c i p i t a t i o n r e c o r d e d d u r i n g t h e p e r i o d o f r e c o r d was 60.9'7 and
1 3 . 0 9 i n c h e s , i n 1890 and 1924, r e s p e c t i v e l y ( F a r r a r , J u l y 1 9 8 6 ) .
Additi.ona1 p r e c i p i t a t i o n         data,       reportedly             compiled       from    U.S.
Weather Bureau R e p o r t s and Ukiah F i . r e Department r e c o r d s , i n d i c a t e
t h a t t o t a l p r e c i p i t a t i . o n was 70.19     i n c h e s i n t h e 1982-1983 s e a s o n
( S a v i n g s Bank o f Mendocino County, 1 9 8 7 ) .


The     majority         of    t.he p r e c i p i t a t i o n    falls       as    rain     detween       the
beginning         of    October       and t h e end             of   Ap      ,    w i t h more     than     50
p e r c e n t of t h e a n n u a l r a i n f a l l o c c u r r i n g         ecember, J a n u a r y , and
February.            Mean      monthly       preci                           a,     based     on   records
m a i n t a i n e d from 1877 t o 1.980, a                                    i n T a b l e 2.     On-site
p r e c i p i t a t i o n measurements h a v e                                r d e d by CWP p e r s o n n e l
s i n c e December 1981..                e s e d a t a , summarized i n T a b l e 3 , i n d i c a t e
t h a t t h e t o t a l annual            c i p i t a t i o n h a s r a n g e d from a low o f 1'7.05
i n c h e s i n 1985 t o a h               o f 51.34 i n c h e s i n 1983.               T h e s e d a t a are
                        h measurements r e c o r d e d e l s e w h e r e i n t h e Ukiah area
and     illus           e     t.he   large       variations            in    annual       precipitation
mentioned above.


3.3.5.3        yi4i
Wind d a t a , r e c o r d e d from 1950 t o 1964 a t two l o c a t i o n s a t t h e Ukiah
M u n i c i p a l A i r p o r t , i n d i c a t e t h a t t h e mean a n n u a l wind s p e e d was 3.7
t o 3.9 miles p e r h o u r (mph)            .    Wind s p e e d s a r e g e n e r a l l y h i g h e r from
A p r i l t o J u l y and a r e l o w e s t i n November. and December..                     The h i g h e s t
mean monthly wind s p e e d r e c o r d e d was 6 . 5 mph i n J u n e 1959.                               The
l o w e s t was 0.4 mph i.n December 1963 ( C a l i f o r n i a Energy Commission,
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April 1985). The prevailing wind direction is reportedly northwest
to west (Greater Ukiah.,Chamberof Commerce, June 1987). The mean
month:ly and annual wind speeds for the period of record are
summarized in Table 2.

3.3.6 Location of Water Wells
A well inventory was performed to locate water wells in the
vicini.ty of the CWP site and to determine their status, Sources
of information included primari.ly records made availab1.e by the
DWR (June 1956: October 1986) and Willow County Water District
      .
 (WCWD)   In addition, well, logs avai.lable at DWR in Sacramento,
California were reviewed and the locations of
immediate vicinity of the CWP site verified by fie1
The well inventory focussed on well loca
details, stratigraphy, and the benef i.cia     .es of the extracted
water..

The we.11 inventory i.ndicated th    .esence of several dozen wells
in the vicinity of the site.          locations of these wells are
shown i.n Figure 4. I     ould be noted that, with the exception of
the records maintaine      WCWD, the information available on well
locations                 n details is often vague and incomplete.
Few of the     Is have been identified according to the state well-
numbering     tem and the information regarding well locations is
typically imprecise and insuffi.cient to locate the wells
accurately. Geosystem has attempted to locate wells as accurately
as possible,.based on the available information, and identify the
wells according to the state well-numbering system.        The well
locations shown in Figure 4 must; however, be considered
approximate.     The avai1abl.e well construction details and
beneficial uses of ground water are summarized in Table 4. It is
noted that the nearest water-producing well to the CWP site is Well
14N/12W-4D1 which is located about 1,000 feet to the south.
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According to information obtained by Geosystempersonnel, this well
is capped and not currently active. Well 14N/12W-4E1, however,
appears to be the nearest water--producingwell. According to the
owners of the property, the water is used for. domestic and
irrigation purposes. Thi.swell is located about 1,500 feet to the
south of the CWP site.

3.3.7  Potential Bioloaical Receptors
Potential biological receptors of contaminants originating from
the CWP site are considered to include native vegetation, fruit
trees, aquatic life in the Russian River and its tributaries, and
wild animals and birds.

Vegetation types found in the upper portion of the ~ubsianRiver.
watershed include hardwood and mixed fores     haparral, grassland,
orchards and vineyards, and ripari.an           and species.    The
riparian woodland species include mule f        sandbar willow, red
willow, and Fremont cottonwood      ride and Strahan, 1981; JARA,
19'74). It is note                  the land located immediately
downgradient of the                  upied by pear orchards. The
surface drains and c                 wnstream of the CWP facil.ity
are seasonally veget                   sour dock, anise, wild rose,
peppermint,   d cattails.

The ~ussian-~iver is important as a spawning ground for anadromous
fish, .of which the principal varieties are steelhead trout and
silver (or coho) salmon. Other fish inhabiting the basin include
king (or chinook) salmon, small-mouth bass, American-shad, striped
bass, and white catfish.

The Russian River basin supports a wide range of wildlife species,
including a substantial.population of blacktai.led deer, bandtailed
pigeons, and pheasants.      Several species of small mammals
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1
i
    associated with agricultural land use, i.e. rats, mice, and
    rabbits, are also found i.n the area.. The Russian River basin
I
i
    supports a variety of resident and non-resident waterfowl which
    utilize the river habitat for nesting and refuge (U.S. Army Corps
    of Engineers, March 1982).
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          4.0   SUMMARY OF REMEDIAL INVESTIGATION FINDINGS

This section summarizes the geologic, hydrologic, and soil/ground
water quality data generated during the remedial investigations.
Details of the remedial investigations have been submitted in a
number of previous technical reports which are referenced as
appropriate. The content and format of the summary of remedial
investigation findings is in general conformance with the RAP
guidelines (DHS, September 1987).

4.1  GEOLOGY
The discussion of regional geology and study area s
based primarily on published water supply papers/ge
by government agencies, site-specific r
consultants, and discussions with re
personnel.   The discussion is intended        help interpret the
stratigraphy encountered at the     in the'context of the overall,
regional geology and to identi      nd characterize the geologic
units pertinent to the CWP pro           .
                                       The primary reference for
regional geology is a       .
                          Geological Survey (USGS) report entitled
"Ground Water Resour     n Mendocino County, California" (Farrar,
                          ces of information are referenced as



4.1.1  Reqional Geoloqy
Mendocino County is located largely within that part of the Coast
Ranges geomorphic province known as the Mendocino Range.      The
Mendocino Range is characterized by rocks of the Franciscan
Complex. The geologic units exposed at the surface in the Ukiah
Valley may be categorized as basement rocks or valley fill.

Basement rocks are considered to include all pre-Pliocene
formations. About 95 percent of the surface exposures consist of
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basement rocks of the Franciscan Complex. In the vicinity of the
site, the Franciscan Complex has been divided into the Coastal Belt
and the Central Belt based on lithologic and structural
differences. The division between the two is located along the
axis of the Ukiah Valley, with the Coastal Belt forming the
mountains that bound the valley to the west, and the Central Belt
forming the Mayacmas Mountains to the east. Valley fill refers to
geologic units of Quaternary age or those that span late Tertiary
and Quaternary age. Valley fill deposits are confined to several
small basins along major surface drainage features and the thin
alluvium in stream channels.

Physiographically, the site is located in the Uki
north-south trending alluvial basin formed by the ~u&.sian River
and its tributaries. The valley fill wit      the Ukiah Valley has
been subdivided by Farrar' (July 1986) in     hree distinct units:
continental basin deposits: co                rrace deposits; and
Holocene alluvium. The distinct       is made according to the age
and origin of the materials,         though several investigators
(Cardwell, 1965; Far       July 1986) have reported difficulty in
differentiating betw        these units on the basis of the
descriptions usually      lable from well drillers logs. The areal
distributi    f the valley fill units (Cardwell, 1965; Farrar, July
               in Figure 5. A schematic section through the Ukiah
Valley, illustrating the stratigraphic relationship between the
valley fill units, is shown in Figure 6.

Based on stratigraphic information obtained from available water
well logs, a regional geologic cross section along the axis of the
Ukiah Valley, parallel to the direction of ground water flow, has
been prepared. The approximate locations of the water-producing
wells, ground water contours, and the section line are shown in
Figure 4.    The regional geologic cross section is shown in
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Figure 7. Each of the three valley fill units referenced above is
described below, as they are believed to be the geologic units most
relevant to the CWP project.

4.1.1.1  Continental Basin De~osits
The continental basin deposits are of Pliocene and Pleistocene age
and represent the oldest of the valley fill units. The continental
basin deposits were deposited unconformably over the basement rocks
of the Franciscan Complex by landslides and debris flow from the
adjacent highlands. Subsequent to deposition, the materials were
reworked by gravityand stream processes.

The complex depositional process resulted in a      erogeneous
mixture of loosely cemented gravel, san
predominant material is clay which               beds and as
interstitial material between coax ser g         d and gravel.
                                         I
The high clay content and poor sorting result in generally low
permeabilities.

The thickness of the
                                    P
                         tinental basin deposits ranges from zero
along the margi.ns of      Ukiah Valley to at least 500 feet near
its axis. No outcrop      e been recorded along the western margin               .
of the Uki    alley near the site; however, extensive outcrops do
occur alon    e eastern side. Reportedly, the continental basin             ~'



deposits are likely to occur at depth, beneath younger valley fill
deposits, over mo.st of the Ukiah Valley (Farrar, July 1986).

4.1.1.2  Continental Terrace De~osits
The continental terrace deposits have been subdivided (Cardwell,
1965) into older and younger terrace deposits.   Younger terrace
deposits have been mapped along the western margin of the Ukiah
Valley in the vicinity of the site. Most of the city of Ukiah,
notably the downtown area along State Street, has been developed
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on younger terrace deposits. The occurrence of the younger terrace
deposits at the surface along the western margin of the Ukiah
Valley is discontinuous where Robinson Creek emerges from the
adjacent highlands. Although lithologically very similar to the
continental basin deposits, the clay and silt content of the
younger terraces is generally less. As in the continental basin
deposits, vertical and lateral discontinuity of individual beds
and lenses is common. The unit is generally considered to have
low permeability.

The maximum thickness of the younger continental terrace deposits
is not accurately known, as they are very              ficult to
differentiate from the underlying continental basin    osits.

4.1.3.3  Holocene Alluvium
The Holocene alluvium is composed of unceme   d gravel, sand, silt,
and clay. The alluvium reported                d areas of the Ukiah
Valley in the vicinity of the s      (Cardwell, 1965; Farrar , July
1986).   The alluvium also exte      into several smaller valleys
associated with tr i                      n River, most notably the
valley associated wi             Creek. Within the central strip
of the valley, alon              n River, highly permeable, loose
              oarse sand deposits have been developed.        These
              in direct hydraubic communication with the surface
water in the Russian River.

The thickness of the Holocene alluvium is not accurately known,
again because differentiation between the Holocene alluvium and
the underlying continental basin deposits is very difficult. Areas
of high porosity and permeability occur due to the uncemented,
coarse-grained nature of localized sediments. These areas of high
permeability are typically close to the preqent course of the
Russian River.
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4.1.2   Study Area Stratiqrauhy
Previous investigations by consultants to CWP (H. Esmaili &
Associates, August 1981; J.H. Kleinfelder and Associates, November
1982; DtAppolonia,May 1984; IT Corporation, June 1985; Geosystem,
January 1987) and by the RWQCB have included the installation of
over 30 ground water monitoring wells and the drilling of numerous
soil borings in the study area. Based on the information obtained
from the above referenced investigations, attempts have been made
to assess the stratigraphy encountered at the site in the context
of the regional geology. Cardwell (1965) has mapped the contact
between the younger continental terrace deposits an      e Holocene
alluvium as bisecting the CWP site as shown in Figur
the stratigraphic information available from the m
bor ings in the study area, however, it h     not been possible to
differentiate between these units. As t       terrace deposits are
typically slightly elevated,                  ible that Cardwell
originally mapped the contact ba     on topographic relief. If so,
the construction of U.S. Highwa     01 and the overall development
of the area appears      ave obliterated any such evidence of this
contact.

              .eview of the stratigraphic logs recorded during the
              rization studies, it appears that the materials
encountered in the study area generally correspond with the
continental basin and terrace deposits. The presence of elevated
terraces and the incised nature of the Russian River are indicative
of changes in stream level, probably as a result of recent
continued uplift of the region. Consequently, erosional processes
predominate over depositional processes and the more coarse-
grained, highly permeable sediments characterized as Holocene
alluvium may be limited to a narrow strip adjacent to the Russian
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River channel.    The relatively large number of shallow, high
production wells immediately adjacent to the Russian River supports
this geologic conceptualization.

The stratigraphic information recorded on the available drilling
logs has been used to construct subsurface profiles A-A' and B-B',
which are shown in Figures 8 and 9, respectively. As shown in the
subsurface profiles, the stratigraphy in the site area is
characterized by numerous and abrupt lateral facies changes. These
condi.tionsreflect a fluvial environment in which the depositional
conditions were constgntly changing, ranging from a very low
hydraulic energy (deposition of silt and clay) t
(deposition of sand and gravel). The stratigraphy
complex and correlati.on of the various units is not
There are, however, general lithologic tr   s which are functional
in terms of the hydrologic behavior o       he sediments and the
migration of chromium. Based                  , four zones, Zones 1
through 4, have been defined u      the site.

Zone 1 is the upp         of the four zones. The stratigraphic
information indicat     at Zone 1 is continuous throughout the si.te
and immed               nt vicinity. Zone 1 has been reworked and
graded du     the development of the CWP site and the construction
of Taylor    ve and several surface drainage features. The lower
boundary of Zone 1 is defined by a blue, clayey silt/si.lty clay,
gleyed horizon. Zone 1 is underlain in sequence by Zones 2, 3,
and 4.

As the majority of the borings drilled for soil sampling and
monitoring well installation purposes were relatively shallow, the
areal extent of Zone 2 is less well defined.        The available
information, however, indicates that Zone 2 may be continuous from
Well CWP-1.7 on site to Well AT-4 off site (Figures 2 and 8).
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Little information is available regarding the continuity and areal
extent of Zones 3 and 4; however, it is noted that they are not of
prime importance relative to the possible migration of chromium in
ground water. Each of Zones 1 through 4 is described below.

4.1.2.1  Zone 1
Zone 1 is considered to extend vertically from the ground surface
to a depth of approximately 20 feet. Zone 1 consists primarily of
silty clay, clayey silt, and clayey sand, with more permeable
stringers and lenses of silty sand and gravel. The silty clays
and clayey silts are generally stiff to very stiff, low to
moderately plastic, and locally contain carbon granu    and healed
root holes. The colors of the soils in Zone 1 have      n recorded
as yellow brown to mottled gray and brown.  arying amounts of very
soft,   deeply    weathered   fragments        sedimentary   rocks
(predominantly mudstone) are present in       clay. Based on the
generally variegated appearanc     d embedded rock fragments in a
clay matrix, it is believed t       he clay has been developed in
situ from the younger terrace        its. Stringers of gravel and
fine sand are pres        in the clay which yield varying, but
generally limited;       tities of water. As shown in Figures 8
             teral continuity of these stri.ngers is thought to be
              rrelation for significant distances does not appear,



zone 1 is considered to be the zone most impacted by chromium
compounds. The lateral migration through this zone appears to be
limited to the irregular, more permeable sand and gravel lenses.
The off-site migration of chromium in these more permeable strata
has been retarded by the installation of the slurry cutoff wall
and ground water extraction from Well HL-7. The slurry cutoff wall
reportedly extends throughout the full, depth of Zone I.       The
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vertical migration through the soils within Zone 1 is believed to
be very slow because of the apparent heterogeneity and
discontinuity of permeable lenses.

The lower boundary of Zone 1 is considered to be the very stiff,
blue, gleyed, clayey silt/silty clay layer which is typically 4 to
5 feet thick. The gleyed and relatively uniform quality of this
stratum indicates a well-weathered (older) development and low
hydraulic conductivity. As shown in Figures 8 and 9, this blue
claylsilt layer has been intercepted by numerous borings at the
site and correlates reasonably well from the center of the site as
far south as Boring AT-5. This stratum is less we1      fined near
the retorts; however, it is noted that the topograp
is elevated and the borings are generally shallo
clay/silt layer appears to limit downwar     igration of chromium
from Zone 1 to Zone 2.

The correlation of this str            depends primarily on its
distinctive blue coloration.       e apparent absence of this bl.ue
clay/silt layer in        e borings (CWP-13 and CWP-17) may be
attributable to ge         c conditions and/or to sampling and
descriptive procedu         For example, as shown in Profile A,-A'
(Figure 8)    he blue clay/silt layer was encountered in Well
CWP-22; fu     r to the north, however., in Well CWP-13, the fine-
grained sediments have been repla.ced by a sandy facies. It is
possible that the blue clay/silt3. layer was deposited and later
eroded and replaced by a channel-fill, representing a higher energy
facies. On the other hand, the omission may be due to the sampling
interval, as compared with the thickness of the layer.

4.1.2.2  Zone 2
Zone 2 consists of a sand and gravel layer which varies from
approximately 5 to 10 feet thick. The sands and gravels in Zone 2
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generally contain appreciable amounts of silt and clay, and are
dense and slightly cemented in some areas. Most of the gravel is
subangular and less than one-half inch in size.      Stringers of
poorly graded fine sand and medium coarse sand are also present.
In Boring AT-4, a thin layer of silt is present within Zone 2.

Zone 2 is believed to be the most significant water producer of
the foux zones in the site area. As shown in Figure 8, Zone 2 can
be correlated between the deep borings from south of the retort
area to off-site areas. Zone 2 appears to decrease in thickness
to the southeast and was not encountered at all in Boring AT-5.
This may suggest that Zone 2 is discontinuous to th    utheast or
is confined to channels which were not intercepted

4.1.2.3  Zone 3
Zone 3 is considered to be the stiff, o        e-brown, clayey silt
stratum that forms the lower boundary of z&e     2. Zone 3 has been
encountered in several borings,       shown in Figure 8, and can be
correlated from off-site areas a     nd Well AT-4 to Well CWP-13 at
the site. The thic       s of Zone 3 appears to vary from 4 to 6
feet. The low permea      ty of the soils in Zone 3 are expected to
significantly restrict! the vertical movement of ground water.



Zone 4 is considered to be the clayey sand and gravel stratum which
underlies Zone 3. As shown in Figure 8, this stratum appears to
be continuous from the pear orchard to at least the eastern
boundary of the site. The sparsity of deep borings in the northern
and western por.tions of the site does not permit further
correlation. It is noted, however, that the permeability of Zone 4
appears to increase to the southeast. In Boring CWP-13, Zone 4 is
characterized as a medium to coarse sand with some silt and gravel;
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and in Boring AT-5 as a clean sand and sandy gravel.              The water
producing characteristics of Zone 4 vary accordingly.

An alternative scenario for the varying permeability is that to
the northwest, Zone 4 represents the terrace deposits described in
Section 4.1.1.2.    To the southeast, Zone 4 may represent the
Holocene alluvium associated with the Russian River or Robinson
Creek.

4.2  GROUND WATER HYDROLOGY
The fol.lowing sections provide a summary of general ground water
conditions in the valley fill deposits of the
description of ground water occurrence in the
beneath the CWP site.

4.2. :IReqional Ground Water Conditions
Ground water occurs primarily      le valley fill deposits in the
Ukiah Valley.   In the continen      basin deposits, ground water
occurs under confined condition     d wells completed in this unit
generally produce wa    slowlyu because ofthe fine-grained nature
of sediments. The sp    ic capacities of 30 wells completed in the
continenta               s range from 0.004 to 1.33 gallon/minute/
foot and      holesn are not uncommon (Farrar, July 1986).

Because they are relatively,,   thin and impermeable, the younger.
terrace deposits are not considered a major source of ground water.
Wells completed in the terrace deposits may yield sufficient water
for low-capacity domestic or stock-watering wells.         Specific
capacities of wells completed in the terrace deposits range from
0.02 to 7.1 gallon/minute/foot and fluctuations in the water table
can ''drastically:: affect well performance (Farrar, July 1986)         .
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The Holocene alluvium is considered the most productive water-
bearing unit in the Ukiah Valley and pr'ovides "sufficient water
for sustained pumpage for municipal and irrigation wells." The
more permeable, coarser-grained sediments appear to be located
along the present course of the Russian River, as evidenced by
several, high-production wells.     These include community water
supply wells operated by the Willow County Water District (WCWD),
including Wells 14N/12W-9Al and -9A2 and Wells 15N/12W-33E3, -33E4,
-33E5, and -3336.    The locations of these wells are shown in
Figure 4. Also, a series of wells has been installed along the
western bank of the Russian River from south of the Ukiah Sewage
Disposal facility to the El Robles Ranch. This series of wells,
shown in Figure 4, includes Wells 14N/12W-4B, -4G, -      -4R1, and
-4R2. These wells supply water for irrigation and a      elieved to
derive a portion of their production fr       surface water in the
Russian River, induced to flow through pe     ble alluvial deposits
as the ground wate]: level is lowered         mping.   It has been
reported (Farrar, July 1986)                   st flow conditions,
ground water moves from the               into the Russian River.
During periods of high water levhs in the Russian River, however,
the reverse situatio     CUL s .
              basis, ground water in the valley fill deposits flows
               north to south along the axis of the Ukiah Valley.
              margin of the valley, however, ground water generally
flows to the east, following the topography. Regional ground water
contours are shown in Figure 4.

4.2.2 Studv Area Ground Water
In the study area, ground water occurs primarily in stratigraphic
Zones 1 and 2. The following discussion focusses on these strata,
as they are of primary concern regarding the migration of chromium.
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The ground water flow direction and hydraulic gradient have been
established from water level data accumulated throughout the
investigations performed at the site. These data are summarized
in Table B.l of Appendix B. Based on water level measurements in
monitoring wells completed in Zone 1, made by CWP personnel in
January 198'7, Zone 1 ground water contours have been generated.
These Zone 1 contours are shown in Figure 10. The Zone 1 ground
water contours indicate an overall southeasterly direction of flow
with a hydraulic gradient of about 0.005. This is consistent with
the direction of regional ground water flow shown in Figure 4. In
off-site areas to the southeast of the site, the sontours indicate
a flow direction to the south with approximately the same hydraulic
gradient.
As shown in Table 1, there are only three    und water monitoring
wells, Wells CWP-15, CWP-22, and AT-4, c      eted exclusively in
Zone 2. These three data points are not       ficient to generate
ground water contours in Zone 2     omparison of the ground water
levels in Wells CWP-15, CWP-22,      AT-4 with those in adjacent
                                I
Zone 1 monitoring wells, however, indicates that the Zone 2 water
levels are approxima      1-foot below those in Zone 1. Several
other wells (Wells C     , CWP-8, CWP-9, CWP-14, and CWP-19) are
completed               d 2.    The water levels in these wells
generally    ear to reflect Zone 1 ground water levels.

The hydraulic properties of the water-bearing zones have been
investigated by previous consultants and Geosystem by means of
several pumping and slug tests (Geosystem, March 1986). The data
collected throughout these investigations have been summarized by
Geosystem (September 19, 1986). These data suggest that hydraulic
conductivities of Zones 1 and 2 are generally on the order of 1 0 " ~
to 10''' cm/sec.  Zones 3 and 4 were considered to have lower,
permeability; however, more recent stratigraphic data (Geosystem,
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January 1987) suggest that Zone 4 may be highly permeable to the
southeast of the site. Zones 3 and 4 are of less importance to the
remediation of chromium in off-site areas.      A summary of the
hydraulic properties of Zone 1 is presented in Table 5 and a
summary of the hydraulic conductivity data obtained by field tests
throughout the course of the site characterization studies is
presented in Table 6.

4.3  SURFACE WATER HYDROLOGY
The Russian River, which-originates in central Mendocino County
and flows south to Sonoma Coast State Beach, is the most important
surface drainage system in the Ukiah Valley. At its
the Russian River flows approximately 2,000 feet to
CWP site. Flow in the Russian River is regulated
the contributi.ons from several of its maj   tributaries. Minimum
flows are required to be maintained, howe      at various locations
on the Russian River. One o f these 'loc      s is at the junction
of the East and West Forks of        Russian River, just north of
Ukiah. At this point, a minimu      ow of approximately 150 cfs is
required (DWR, May                   Russian River has numerous
beneficial uses, as      ribed in Section 4.4.1.

                 the Russian River include numerous small streams
                e mountains that border the Ukiah Valley to the east
                 e most significant of. these tributaries in the
vicinity of the CWP site is Robinson Creek, which merges with the
 uss sign River at a point about 4,500 feet to the southeast. The
locations of the Russian River and Robinson Creek, rerative to the
CWP si.te, are shown in Figure 1.

Flow in Robinson Creek occurs essentially year round and follows
the natural drainage course.    Other, smaller surface drainage
features flow only when precipitation occurs in the Ukiah Valley
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or the adjacent highlands. Observations by CWP personnel indicate
that, depending on the intensity and duration of the rainfall, flow
in these smaller surface drainage features may reach the Russian
River or percolate into the valley fill prior to reaching the
river.   During the winter months, when the water table rises to
within 2 or 3 feet of the land surface, ground water may flow into
the low-lying surface drainage ditches. Under.thesecircumstances,
water would be present in the ditches even when no precipitation
is occurring. Such water would not, however, be representative of
storm water runoff originating from the CWP site.

Flow in the majority of these smaller surface drainage features is
intermittent and is controlled and diverted by          verts and
ditches. Several small ditches and culverts divert
runoff around and beneath the CWP site.       he locations of the
ditches and culverts in the immediate vi      ity of the site are
shown in Figure 2. The ditches that flow       eath and around the
CWP site report to a common dit     that. flows south, parallel to
and east of Taylor Drive. This     mon ditch flows east along the
northern boundary of the Alex Th    s pear orchard and bends south
along the railroad tr      .Flow in the ditch, by now augmented by
runoff from the pear     ard and the railroad corridor, enters an
east-west                 ich discharges to the Russian River.. It
was observ     in October 1987, that the lateral ditch contained
small amou                wever, the other tributary ditches were
dry.

Surface water quality in the Russian River is considered to be of
"excellent to good quality" in terms of mineral content (DWR, May
1980).   Using electrical conductivity (EC) as an indicator of
mineral content, water quality standards recommend an EC of less
than 450 micromhos. The average EC of Russian River water, between
Potter Valley to the north of Ukiah and Hopland to the south,
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ranges from 140 to 190 micromhos. The average hardness is 115 mg/l
(as CaCO,), which i.s considered to be moderately hard and not
likely to adversely affect most beneficial uses ( D m , May 1980'.
High, non-organic turbidity is an occasional problem in the Russian
River and its tributaries during periods of prolonged rainfall and
release of water from Lake Mendocino. This turbidity may also be
aggravated by the removal of gravel, for use in construction, as
the disturbed river channel can contribute significant turbidity
to water in the Russian River.

4.4  BENEFICIAL USES OF WATER
This section summarizes tHe known beneficial uses of scrface and
ground water in the Uki.ah Valley in the vicinity of
The beneficial uses of surface and ground wat
summarized primarily from available rep0       ublished by various
state government agencies.      The sourc     of informaticn are
referenced as appropriate. An inventory       ater-producing wells
in the vicinity of the site ha     so been performed. In addition
to aiding assessment of the be     cia1 uses of ground water, the
purpose of the well i               o identify and locate wells in
the vicinity of the s    and document well construction details.

              e of this discussion, and to maintain consistency
              r supply assessment procedures, surface water is
               e "water flowing in the various stream courses plus
underflow. Underflow may be defined as subsurface water contahed
in the channel deposits, w h k h if extracted, would affect stream
flow within a short period of time" ( D m , May 1980). : It is not
uncommon to install wells in the coarse, stream channel deposits
immediately adjacent to the Russian River and extract underflow.
A s the underflow and surface waters are in direct hydraulic
communication, extracted underflow is considered to be surface
water.
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4.4.1  Surface Water
The Russian River is a major municipal water supply for Mendocino,
Sonoma, and Marin Counties. In addition to municipal supply, water
from the Russian River is used for agricultural, industrial, and
recreational purposes.

According to the Water Quality Control Plan for the North Coastal
Basin, the specific beneficial uses of the Russian River include:
            Municipal and domestic supply.
            Agricultural supply.
            Industrial service supply.
            Industrial process supply.
            Ground water recharge.
            Navigation.
            Potential hydropower generation.
            Contact water recreation.
            Nan'-contact water,recreation.
            Warm freshwater habitat.
        o   Wildlife habitat.
        o   Fish migration.
        o   Fish spawning.

Other than contribut                sian River, little information
is available regardi                cia1 uses of the numerous small
tributary streams.                   ses of water in the tributary
              ng around tkie CWP site, however, include wildlife
               uring portions of the year, freshwater habitat. In
addition, ground water recharge is a beneficial use of the water
in these tributaries.

The approximate volume of surface water f@r agricultural and urban:
use in 19'75 was estimated to be 10,600 and 6,000 acre-feet,
respectively. The demand on surface water resources is projected
to increase to about 14,200 and 6,800 acre-feet for agricultural
and urban use, respectively, by the year 2000 (DWR, May 1980).
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4.4.2 Ground W    m
Beneficial uses of the ground water resources in the vicinity of
the CWP site include primarily community water supply, domestic
water supply, and irrigated agriculture.

In general, well location and the particular unit of the valley
fill in which a well is completed influence yield and the
beneficial use of the extracted water. Wells completed in the
continental basin and terrace deposits generally yield ground water
in amounts suitable only for Low-capacity domestic wells, stock-
watering wells, or limited irrigation wells (Farrar, July 1986)             .
Wells completed in the Holocene alluvium can yield sufficient water
under sustained pumping for municipal and irrigation
extracts ground water from wells located in the Nor
field, approximately 2,200 feet north of t    WP site, and from two
we1 1s near the Russian River, approximate1   000 feet south of the
CWP site.

4.5 SOIL,- 5
This section present                  on and occurrence of chromium
and other indicator       meters in soil, storm water, and ground
water in the study ar      Throughout the remainder of this report,
hexavalent    ,omiumis referred-to as Cr(V1) and trivalent chr.omium
is referre      as Cr (111)  .Unless specified otherwise, chromium
refers to     a1 chromium. Water and soil quality data have been
generated over several years of site characterization studies and
monitoring. Ground water, storm water, and soil quality data are
contained in Appendices B, C, and D, reseectively, and are
summarized in the following sections.

4.5.1 Distribution
                 re~dnao-fo                           in soil
A total of 26 soil borings (Borings S-1 through 5-26) were drilled
(D'Appolonia/TT Corporation, May 1984) in the study area to assess
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    the areal extent of chromium, arsenic, and copper in soil to a
    depth of about 20 feet. Soil samples were collected at depths of
    1, 3 , 6, 10, 15, and 20 feet.     Near-surface. soil, samples from
    depths of 1 and 2 feet weEe also col.lected from 17 other .locati.ons
     (G-1 through G-1'7)to further delineate the areal distribution of
    chemicals in near-surface soils.       The locations of the soil.
    sampling stati.ons are shown in Figure 11.. All, soil samples were
    analyzed for total, o r hexavalent chromium, arsenic, and copper,
    A summary of the data is presented in Tab.les D.l through D.4 of
1   Appendix D.     Plots of chromium concentrations with depth for
    selected borings are also included in Appendix D.              -3 All

    concentrations reflect the total quantity of the metals present in
    the samples. The Sample ID 'provides a designation
    boring (S) or a surface sample (G), followed
    identifying the location.     The last nu
    identifies the depth at which the sampl         collected. From a
    general review of the data, the following      'vations can be made:
            Elevated chromium concen        ions exist in the upper
            3 feet of soil and esp           ly in the top 1 foot
            (G-10, 1.' ; S-4, 1'; 5-8
            Chromium conc    ations in samples collected from
            more than 3 f    below the surface are generally
            lower than 5     kgin all borings, except in S-8
            atfie 10-foot depth and S-10 at the 15-foot depth.
                   um concentrations are higher in borings near
                   tort and sump areas.
            The maximum detected concentrations of chromium,
            copper, and arsenic in surficial soils are 540,
            230, and 220 mg/kg, respectively (Appendix D)       .
            Generally, there appears to be good correlation
            between    chromium,   arsenic,   and    copper
            concentrations.

    In order to compare background chromium concentrations, in areas
    not affected by CWP operations, with areas that are possibly
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     impacted by wood preserving operat,ions,the data for Borings S-1
     (upgradient), 5-26 (background), S-5, S-8, S-10 (retort and sump
     area), S-15, 5-22, and S-25 (downgra-dient) have been summarized in
     Table D.4 (Appendix D). Boring 5-8 is located at the eastern end
     of the rail lines and Boring S-10 is the closest boring
     topographically downgradient of the retorts. It should be noted
     that no samples have been collected from under the retort/process
     area.   Sampling in these areas is not possible during normal
     facility operation. The salient features of the data include the
     following:
                                                                        i
          o   Higher chromium concentrations are observed in the
              surface samples near the retort and sump areas.
          o   Chromium concentrations in Boring S-1 (
              samples collected below the 3-foot
              generally in the same range as those o
              other borings.                    0
          o The background and upgradient co entrations of
            chromium, arsenic, an              Borings S-26
            and S-1 samples are ge   lly less than 50 mg/kg
            less that 14 mg/l,         less than 20 rng/kg
            respectively.

     Soil samples contai        chromium concentrations greater than
     100 mg/kg2ere select     o represent surface soils with definite
     chromium c    mination. The approximate area of such contamination
     is shown       Figure 11.    The majority of the surface soils
     containing elevated chromium concentrations are in the area around
     the retort and sump units where freshly treated wood has been
     stored. A narrow band of surface soils with approximately 100 mg/l
     of chromium is present to the south of the retort chambers.


J
 I   4.5.2 Storm Water,Ouality
     This section summarizes the available water quality data obtained
     from storm water samples collected at the CWP site. Flow in the
     ditches and culverts around and beneath the CWP site occurs as a
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     result of precipitation in the Ukiah Valley or the adjacent
     highlands. As noted in Section 4.3, ground water may be present
1    in low-lying drainage ditches on a continuous basis during the
'1
     winter months. A differentiation is made, however, between this
 !
 1   water and storm water runoff.

     A surface or storm water monitoring program is in effect at the
     site and several storm water monitoring locations have been
     established.    Currently, the storm water monitoring progr.am
     includes collection of samples from stations .NE, NW, and C-100.
     Up until December 1984, Stations SE and SW w&e     also monitored.
     The locations of these stations are shown in Figure 2. Pr,iorto
     instituting surface water flow control at the CWP si   storm water
     samples were periodical3.ycollected and analyzed. R     staff have
     indicated that the measured concentratio         etals in 1980 and
     1981 wex,emuch higher than in subsequent

     Monitoring Station NW is locat    t the entrance to the culvert
     that conducts storm water under    CWP site from the west side of
     U.S. Highway 101.       e water quality data collected at this
     location is conside      to represent upgradient or background
     conditions.

     Monitor in    ation NE is located on Taylor Drive at the confluence
     of the above mentioned culvert and the ditch around the
     northeastern portion of the perimeter of the CWP site.         Data
     collected at this location provide an indication of the quality of
     surface runoff from the northern portion of the CWP site. Xt is
     noted, however, that asphalt berms have been constructed to divert
     sur.face runoff from treated wood storage areas to a collecti.on
     sump.    From this sump, the water is recycled into CWPrs wood
     preserving operations.
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    Monitoring Station C-100 is located approximately 100 feet
    downstream of the confluence of flow passing from Station NE and
    that flowing beneath the CWP site through a second culvert near
    the southern site boundary. Comparison of data collected fromthis
    1ocati.on with that from Monitoring Station NW provides an
    indication of the overall impact of surface runoff from the CWP
    site on storm water quality.

    It is noted that areas other than the CWP site also contribute to
    flow at all three storm water monitoring stations. The possible
    impact of these contributions must be considered when evaluating
    storm water quality.

    Storm water samples are currently analyzed for di
    chromium and arsenic; however, in the past nalyses for dissolved
3   Cr(V1) and copper have also been performe      The most recent and
!
    comprehensive data, representing January      88, are presented in
    Table 7. The historical storm       er quality data are summarized
    in Appendix C.    The data indi       that chromium, arsenic, and
    copper are occasiona                  detectable concentrations in
    storm water flow sam      at Stations NE and C-100. It is noted,
    however, that the me     .ed concentrations are typically close to
    the detec        limits and the. concentration of Cr(V1) h a s
    occasional     xceeded the drinking water standard of 0.05 mg/l
    within th      st five years.     Chromium, arsenic, and copper
    concentrations in samples collected from Monitoring Station NW have
    been "at or below detection; limits since 1983, with.the excepti.on
    of arsenic which was measured at 0.006 mg/l in January 1986 at
    Station NW. The most recent data, representing April 1988, show
    non-detectable concentrations of chromium and arsenic in Monitoring
    Stations C-100, NE, and NW.
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:In addition to CWP's monitoring, the RWQCB staff have obtained
storm water samples since 1984 which have been analyzed for
Cr(111) Cr(V1) arsenic, and copper. The potential impact from
past and current discharges are discussed in Section 6.0.

4.5.3 Ground Water Ouality
Ground water quality monitoring has been performed at the CWP site
since 1981. The chemical analyses have generally included total
dissolved chromium, arsenic, and copper with occasional
measurements of dissolved Cr(V1). The most recent, comprehensive
ground water quality data are presented in Table 7. All historical
ground water quality data have been summarized in Table B.2 of
Appendix B. The water quality data indicate that:
        The wells completed in Zone 1 near the retort $rea
        generally exhibit higher chromiu      ncentrations
        and the concentrations decreas        ydraulically
        downgr adient .
                                               I
        The maximum detected concentrations of total
        chromium and hexavalent .omium in ground water
        occurred in Well cWP-   t 125 and '78 mg/l,
        respectively.
        Chromium con      tions have            decreased
        with time.        s CWP-2A, CWP-ZB, CWP-6 (near
        retort area)       , CWP-11 (near site boundary),
        an     -3, FPT-4, FPT,-5,AT-2 (of£-.site) support.
        th     servation,
        ~hd/concentrations of chromium in on-site wells
        completed in Zone 2 are not significant and may
        result from limited communication with Zone 1.
        Zone 2 does not contain elevated               chromium
        concentrations in off-site areas.
        Zones 3 and 4 do not appear to be impacted by the
        presence of chromium.

Selected ground water yuality data have been used to generate
chromium isoconcentrations to provide an areal representation of
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the chromium plume in ground water. Data from January/February
1986, April 1987, and January 1988 are the most recent and
comprehensive sets of data which are used to plot isoconcentra-
tions, as shown in Figures 12, 13, and 14, respectively. These
figures indicate that elevated chr.omiumconcentrations are present
in ground water primarily in on-site areas to the west of the
slurry wall.        Comparison between the        three   sets of
isoconcentrations indicates the apparent trend of decreasing
chromium concentrations with time in monitoring wells located
hydraulically downgradient of the slurry cutoff wall. It should
be noted that these isocoricentrations have been developed based on
data obtained from all wells and do not differentiate between the
var.iousstratigraphic zones. However, the data repre      primarily
the water quality of Zone 1.

Of the ground water monitoring wells          cated hydraulically
downgradient of the slurry cutoff wall, o     Wells CWP-8 and AT-2
have occasiona1.ly indicated the    sence of chromium in excess of
the drinking water standard (                   In 1988, chromium
concentrations in We                        rinking water standard
twice. Other observ       ns showed chromium concentrations at or
below the detectio                              In 1988, chromium
concentrat       in Well AT-2 ranged from less.than 0.02 to
0.05 mg/l.    ght observations showed less than 0.02 mg/l chromium
concentrat     .  Well AT-2 is completed entirely within Zone 1;
however, other Zone 1 monitoring wells downgradient of Well AT-2
have Got shown the presence of chromium. Also, Zone 2, in the
vicinity of Well AT-2 does not contain detectable levels OF'
chromium (Geosystem, January 198'7)   .
To demonstrate the trend of decreasing chromium concentrations with
time, water quality data obtained from Wells CWP-6, FPT-3, and AT-2
have been plotted in Figures 15, 16, and 17, respectively. The
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reduction in concentration is more evident in off-site Wells FPT-3
and AT-2 as compared with on-site Well CWP-6.       The decline in
chromium concentration with time in Well CWP-8, on a semi-
logarithmic basis, is shown in Figure 18. The area near Well CWP-8
is assumed to be the potential source of chromium to off-site
areas, since it is to the east of the slurry wall and not contained
by on-site remediation efforts. The water quality data for Well
CWP-6 (Figure 15) show a considerable reduction in chromium
concentrations from over 120 mg/l in 1981 to about 50 m g / l in June
1985. Since 1985, chromium concentrations have varied somewhat;
however, the overall concentrations have not changed significantly.
Similar reductions in chromium concentrations can be observed in
Figures 16 and 1 7 for Wells FPT-3 and AT-2, respe
chromium concentrations in Wells FPT-3 and A
demonstrate a steady decline in chromiu        oncentrations.     The
chromium concentration in Well FPT-3 has      n below the drinking
water standard of 0.05 mg/l since Februar       86. Also, the most
recent water quality data for We     T-2 (Table B.2 of Appendix B)
indicate the concentration of       omium is generally below the
drinking water stand                   (Geosystem, February 1988).
The trends in chro         concentrations in off-site areas are
discussed further i       ection 6.0, which addresses migration
pathways a     isk assessment.

4.6  U I C     PARAMETERS
Site characterization studies have shown the presence of chromium,
copper, and arsenic in soil and the presence of chromium in ground
water. These compounds, therefore, are considered to be indicator
parameters for use in further site characterization studies and
possible soil remediation activities. For monitoring and ground
water remediation, however, di.ssolvedtotal chromium and Cr (VI) are
considered to be the most relevant indicator parameters.         The
rati.onale for this selection i.s that chromium compounds,
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particularly C ( V 1 ) are more soluble and more mobile in the
subsurface environment than arsenic and copper compounds.     In
addition, previous monitoring effortshave not detected copper or
arsenic in ground water.

4.7  GEOCHEMICAL PROPERTIES
To evaluate the migration rate and leaching characteristics of
chromium, a number of geochemical tests were performed.       These
tests included chemical analyses for total chromium, Cr (VI),
organic matter, Waste Extgaction Tests (WET), batch sorption tests,
and column desorption tests. Detai1ed:descriptions of these tests
and test results have been submitted previously (IT Corporation,
June 1985) ; however, the findings of these studies,     rtinent to
the RAP, are summarized.below.

4.7.1 Soil Sample Analyses
Nine soil. samples were selected for an      es to determine the
relative concentrations of tota    ,omium and Cr(V1)        .
                                                       The results
ar.epresented in Table D.5 of A    dix D. The data show that the
concentrations of Cr (              es analyzed are generally less
than 10 percent of t                m content. From the data it
can be concluded tha                 ,omiumpresent in the soil is
              lent form.   Previous studies have shown that.the
             ms of chromium under neutral conditions are less
               re subject to adsorption. Cr(I1I) is, thus, less
susceptible to dissolution and is less mobile.

The organic content of the soil samples, reported in Table D.5 of
Appendix D, varied from less than 0.1 to 0.86 percent. Although
the organic content of the soil may not be directly responsible
for adsorption of Cr(VI), it may reduce Cr(V1) to Cr(II1)
(Stollenwerk and Grove, 1985; James and Bartlett, 1983). Because
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of the complexity of the geochemical reactions, the overall effect
of organic matter on the reduction of Cr(V1) to Cr(II1) can not be
assessed.

4.7.2 Waste Extraction Tests
To evaluate the leaching characteristics of the contaminated soil
with respect to dissolved total chromium, Waste Extraction Tests
 (WET) were performed according to the guidelines issued by the DHS
(January 1984). The rationale for performing tine tests for total
chromium was that it has been shown that a large percentage of the
chromium in the soZl is in trivalent form. The WET results are
presented in Table D . 6 of Appendix D.        The results show that
according to existing criteria the soil is not               sidered a
hazardous waste.       Although the WET results do no
information on the long-term leachability         Cr (VI), the test was
designed to evaluate the leaching character      ics of total chromium
in soil under aggressive acidic conditions.        e long-term leaching
behavior of Cr ( V I ) could be asse     if sufficient field data were
available. At this time, howev          the collection and evaluation
of such data, under                     rated flow conditions and in
heterogeneous soils,        still in the research stage.



To evalua     he migration characteristics of Cr(V1) in ground
                      tests were performed on uncontaminated soil
samples. The tests were performed on two samples; one representing
the &lty clay material of Zone 1 and the other the sand and gravel
of Zone 2.         The tests Were performed for two initial
concentrations of 1 and 10 mg/l.. The results demonstrated that the
distribution coefficient (Kd) varies from 0.65 to 2.98 ml/g and the
corresponding retardation factors (R) range from 4.9 to 12.4. The
retardation factor.of 4.9 represents the minimum calculated value
for the sand and gravel layer.
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    The results of batch sorption tests demonstrate that adsorption on
    the soil matr.ix can occur, retarding the migration of Cr(V1). Even
    though all, the adsorption mechanisms and their relative
    contributions are not known, the results of previous studies
    (Stollenwerk and Grove, 1.985) support the conclusion that
    adsorption of Cr(V1) on alluvial materials is likely. This is
    particularly true for soils containing high concentrations of iron
    oxides. The results of the sorption tests have been utilized in
    evaluating the migration behavior of chromium (Section 6.0).

f
    4.7.4   Desorution Tests
     Desorption tests have been performed to evaluate th
     Cr(V1) in the pore fluid as noncontaminated water
     contaminated soil.     Two soil samples,
     gravel and the other as clayey silt, wer              the desorption
     studies.    Solutions of sodium chrom                 irst used to
     contaminate the soil samples.        e initial concentration of the
     influent to the soil columns was      g/l   .
                                                 However, since achieving
     steady state conditi                    be very slow, the influent
     concentrations were        ,eased to 190 mg/l.   The result of the
     contamination phase o      e desorption tests showed that more than
,                  ' s were required to achieve steady state conditions.
                       indication that the soils exhibit a considerable
                     city for Cr(V1). Limited data on the iron content
    .:ofthe soi.1~ underlying .the site indicated the presence of about
     23,500 mg/kg of iron. Oxides and hydroxides of iron may contribute
     to the adsorption of Cr(V1) (~tollenwekkand Grove, 1985; James and
     Bartlett, 1983) .
    The desorption phase was conducted by replacing the influent
    solution with distilled water. The data showed that about 10 pore
    volumes were required to reduce the effluent concentration of
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Cr(V1) from approximately 185 mg/l to about 0.1 mg/l. The results
also showed that, in the low concentration range, the rate of
reduction in concentration was very slow. However, it should be
noted that desorption per se is not a slow process.

It should also be pointed out that the sorption and desorption
studies were conducted using distilled water as a solvent. This
may affect the sorption/desorption characteristics as compared to
the actual field conditions where the ground water contains a
number of other chemical compounds. For instance, the adsorption
of Cr(V1) in the presence of "other salts may be reduced
(Stollenwerk and Grove, 1985) and the desorption may be enhanced.
However, the laboratory data using distilled water a
to have generated useful information under high
conditions. Since the ground water' char ac  istics vary with time
under actual field conditions, it appe        that the long term
geochemical behavior can best be evaluate     studying field data.
The advantage of this approach is   t any observations reflect the
aggregate effect of all hydroge      ic and geochemical processes
                                 I
occurring in the field.

The ground water lev     luctuations and water quality data have
been revie    to assess possible correlation between ground water
level and     romi.um concentrations.    Although certain wells
              cernable trend of hcreasing chromium concentrations
with rising ground water levels, the majority of the data do not
suggest a r.elationship between the two factors.      The column
desorption test data have been used to estimate the duration of
aquifer cleanup in terms of pore water volumes extracted as
discussed in Section 7.0
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                          5.0   INTERIM REMEDIAL MEASURES


     Since the initiation of investigations at the CWP site, a number
     of improvements have been made to the facilities and several
     interim remedial measures have been implemented.            Overall
I
     improvements to the CWP facility include extension of the area
     covered by surface paving, erection of canopies over the wood
I
J    treatment area, and construction of berms to divert and control
     surface runoff from treated wood storage areas. Specific remedial
iI   measures include construction of a slurry cutoff wall, installation
     of a ground water extraction trench upgradient of the cutoff wall,
i
I    and installation of a ground water extraction well near.the retort
     area.   Each of these measures i s described in           following
     sections.

     5.1  GENERAL FACILITY IMPROVEMENTS
     In response to RWQCB requests,anddn a vo ntary basis, over the
     past severa.1 years, CWP has im     ented a number of measures to
     reduce and control surface run        and eliminate the source of
     chromium to soil an                   These measures have included
     grading and construc       of berms to prevent surface runoff from
     the retort and treate     od storage areas, surface paving, and the
     constructi     f roofs over the retort area. Surface grading and
     berm const     ion was performed in 1981 and focussed primarily on
     the retor      ea and areas used to store treated wood.         The
     locations of the berms are shown in Figure 2.

     The asphalt paving was extended to the northern and southern
     portions of the site in 1979 and 1981, respectively. The areal
     extent of the surface paving is shown in Figure 2.      With the
     exception of the narrow strip to the east of the slurry wall, the
     remaining unpaved areas, as defined in Figure 2, will be paved.
     The paving serves to reduce the amount of water seeping into the
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soil and possibly leaching chromium into ground water in areas of
elevated chromium concentration. In addition, the paving reduces
the 1.ikelihood of spilled wood preservatives and drippings from
treated wood directly infiltrating the soil. Forklifts and other
equipment used to handle treated wood are required to remain in
certain areas to avoid tracking of wood preserving chemicals to
areas where surface runoff is not controlled.

Three large roofs or canopies were erected in 1985 over the retort
and adjacent area, as shown in Figure 2. These covers prevent
precipitation from falling directly onto surfaces where 'wood
preserving chemical drippings from treated woodmay be present.
The clean rain water running off these roofs eventua    reports to
surface drainage ditches around the CWP facility.

,It was observed that the concrete utility     around Well CWP-10,
located near the retort area, became fille    h water during heavy
precipitation at the site. Samp                rom the utility box
were collected and analyzed. T           s indicated high chromium
concentrations. Ground water             rom Well CWP-10 had also
indicated a sudden i      se in chromium concentrations, from non-
detected to relative      gh concentrations (Appendix 8)       .
                                                            It was
concluded                 -10 was conducting chromium-containing
                            water.   Well CWP-10 was subsequently
abandoned

5.2 'SLURRY WALL AND -CTION      TRENCH
In October 1983, CWP constructed a slurry cutoff wall along the
eastern site boundary.      The slurry wall is reportedly about
300 feet long and 20 feet deep. CWP also installed a ground water
extraction trench immediatelytothe west, hydraulically upgradient
of the slurry wall. The extraction trench is approximately 15 feet
long, 18 feet deep, and 2 feet wide. The trench is gravel-filled
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and a 12-inch diameter extraction well, Well HL-7, is located
approximately at the mid-point of the trench. The well casing is
perforated from 9 to 19 feet below grade and is equipped with a
permanent, electric submersible pump. Ground water extracted from
the trench via Well HL-7 is used directly in CWP's wood preserving
operations or transferred to the recycled water tank for subsequent
use.

The slurry wall is intended to intercept the plume of dissolved
'chromium originating nea.r the retort area and migrating to the
southwest in the direction of ground water flow. The slurry wall
location and configuration was based on the known
at the time. The extraction trench and Well HL-7
remove ground water impounded behind the slurry w
flow around the northern and southern en      the wall. It should
be noted that the slurry wall and the tr      were constructed by
CWP without the approval of the RWQCB        without professional
supervision.

5.2.1 Recyclinq/Treaiaent of Extracted Ground Water
In the dxier summer     nths, extracted ground water' is recycled
directly into CWPfs hood preserving operations. In the wetter
              , when a higher rate of ground water extraction can
             from Well HL-'7, the extracted water that cannot be
utilized in CWP's operations could be. treated and discharged,
provided the-appropriate permits are oljtained. Ground water. can
be treated using the existing electrdchemical equipment at the
site.   The electrochemical treatment process produces effluent
containing less than 0.05 mg/l of dissolved total chromium. The
operation details of the electrochemi.cal unit are provided in
Section '7.2.4.
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5.2.2 Treated Ground Water Disposal
As mentioned above, excess extracted ground water that cannot be
recycled into wood preseYving operations can be treated by
electrochemical process equipment. CWP had planned to reinject
the treated ground water into the water-bearing zone via an
injection well, Well CWP-19, located to the west (hydraulically
upgradient) of the retort area.

Well CWP-19 was installed in August 1985 in an open trench (IT
Corporation, September 1985)     .
                                The trench was excavated using :a.
backhoe and is 25 feet long; 2.5 feet wide, and 24 feet deep. An
8-inch diameter, flush-threaded well casing was then installed
approximate1.y in the center of the trench. The w
perforated from 6 to 24 feet below grade. The tr
backfilled with washed pea gravel. and a s   ce seal of 5 feet of
imported, medium-textured soil was placed     compacted.                    .   ~




According to CWP, Injection Well   P-19 has not been effective in
accepting large volumes of treat   water, particularly during the
wet, winter months wh              r levels are high. This is of
concern as the volume    ground water extracted from Wells CWP-18
and HL-7 is highest      ng the winter months and, consequently,
the volum       water to be disposed is also highest.       After,
              is method of disposal of treated ground water,
              judged to be inappropriate during the winter months
and high ground water level, conditions. Under such conditions
discharge in the Ukiah sanitar.y sewer system seems appropriate.,
During summer months, however, injection :into Well CWP-19 may be :
a feasible alternative, if recycling is not possible or needed.

5.2.3  Observation Wells CWP-20 and CWP-21
On August 30, 1985, observation Wells CWP-20 and CWP-21 were
installed at the north and south ends, respectively, of the slurry
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cutoff wall. The locations of these wells are shown in Figure 2.
The purpose of these wells was to enable an assessment of the
effectiveness of extraction from Well HL-7 and the integrity of the
slurry wall.

Wells CWP-20 and CWP-21 were installed in 8-inch diameter borings
drilled to 23.0 and 22.0 feet, respectively.      Both wells were
completed with 2-inch diameter, flush-threaded PVC well casings,
with 0.020-inch, machine cut slots. Well CWP-20 is perforated from
5 to 23 feet below grade and Well CWP.-21from 5 to 20 feet. Sand
packs of No. 3 grade silica sand were installed to about the top
of the perforated interval. The screened zones were then sealed
with approximately 1 to 1.3 feet of bentonite pelle     nd grouted
with concrete up to the ground surface.

The stratigraphy encountered during dr i 12.i ndicates that neither
well intercepts the more permeable Zone 4, although Well CWP-21
apparently intercepts a substan       gravel layer between 7.5 and
14 feet depth. Wells CWP-20 an       P-21 were used as observation
wells during evaluat '               ectiveness of the slurry wall
and extraction trenc

                   Evaluation
                  f the slurry wall and extraction trench in
                   mium plume and remediating the ground water has
been assessed by evaluating ground water quality data and by a
series of pumping tests.

Ground water quality data obtained since 1981 (Table B.2,
Appendix B) demonstrate that the installation of the slurry cutoff
wall and extraction of ground water from Well HL-7 have resulted
in a reduction in chromium concentrations in wells located
hydraulically downgradient of the slurry wall. The improvement in
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ground water quality subsequent to 1983 has been discussed in
Section 4.5.3.   Therefore, these interim remedial measures are
believed to have been effective ?n reducing off-site migration.

Two pumping tests were performed to evaluate the effectiveness of
extraction from Well HL-7 in containing the chromium plume and to
assess the integrity of the slurry cutoff wall.      One test was
performed in February 1986, and the other in July 1986 when water
levels were low. The results of these tests demonstrated that
extraction from WellHL-7 is effective in containing the plume near
the southern end of the slurry waLl where Well CWP-21 is located.
The results were not concl.usive in demonstrating that hydraulic
containment of the plume is achieved near the north     end of the
slurry wall. However, water quality data indicate      t there is
no plume migration in the zone intercepte     Well CWP-20 located
at the north end of the slurry cutoff wal

The details of the pumping test    e been presented in technical
reports (Geosystem, March 1986;   ystem, September 1986), copies
                                I
of which have been submitted to the appropriate regulatory
agencies .



                               iameter recovery well, CWP-18, was
installed     the retort area at the location shown in Figure 2.
Although the installatian of this well has been previously reported
(IT Corporation, September 25, l985), a brief discussion is
included for completeness.

Well CWP-18 was installed in a 36-inch diameter boring, advanced
to a total depth of 14.0 feet and intercepting only Zone 1. An
8-inch diameter, flush-threaded well casing was installed. The
casing is perforated from 5 to 14 feet below grade with 0.020-inch,
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machine cut, slots. A sand pack of No. 3 grade silica sand was
installed up to 6 feet below grade and sealed with 200 lbs of
0.25-inch bentoni.tepellets emplaced.. The remaining annular.space
was concreted to the ground surface.

On February 13, 1986, a short duration pumping test was conducted
(Geosystem, March 19813). Ground water' levels at the CWP site were
at or very near the seasonal high at this time of year. Water
levels were measured in the pumping       and in nearby Monitoring
Well CWP-6. The objective of this pumping test-wasto evaluate the
maximum yield of Well CWP-18, and to estimate the hydrogeologic
characteri.sti.csof Zone I in the retort area.

The pumping test demonstrated that Well CWP-18 can be ffective in
removing highly contaminated ground water      Zone 1 in the retort
area. Extraction, however, must be at a      , continuous rate, on
the order of 0.5 to 2.0 gpm, or by intermi      pumping at a higher
discharge rate. During the dry      ason, when ground water levels
in Zone 1. drop significantly, W     CWP-18 is expected to be less
effective.

CWP-18 is not expect  to contain the plume in the downgradient
direction.   However, this porti.on of the plume should be
captur.ed/c ained by extraction from Well HId-7 and the slurry
wall.
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                         6.0   R I S K ASSESSMENT


The purpose of this assessment is to identify and assess the
potential migration pathways and exposure mechanisms by which
contaminants in soil and ground water in the study area may cause
possible health risks and adverse environmental impacts.      The
information presented in this section corresponds to the
requirements of Sections 5 and 6 of the RAP guidelines.

Systematic risk assessment includes site characterization, hazard
identification, and fate analysis. The site has been characterized
by a number of investigations, the results of which are summarized
in Section 4.0. Hazard identification is performed b
the primary contaminants or indicator parameters
available data, evaluating the level of h    .d to human health and
the environment. Chromium and arsenic h       been selected as the
indicator parameters basedon theirloccu       e in soil and ground
water,    their geochemiclal        ior, and      their toxicity.
Accordingly, the risk assess         presented herein has been
per formed for these                 analysis considers migration
pathways in order          identify the potential exposure of
contaminants to rece

             above, the risk assessment includes an evaluation of
             gration pathways, documentation of toxicity, a
description of the population potentially at risk, an exposure
assessment, and a description of risk char acteriistics.        The
emphasis in this assessments has been placed on health rather than
ecological impacts. Also, because of .the zoning of the area, since
             ---
the site after closure
                 -,-..--.- is expected  to be used for' indus_trial
                                  --._".__.__c----'-
puruoses,
->---&
           the results of risk assessment are believed to be
applicable to post-closure conditions.
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6.1  MIGRATION PATHWAYS
Potential migration pathways include airborne particulate matter
and direct exposure to soil, surface water, and ground water. Each
of these pathways is addressed below.

6.1.1  Misration Throush Air
Potential sources of chromium, arsenic, and copper in the air
include contaminated soil and CWP1s wood preserving operations.
Monitoring of air emissions from CWP's wood preserving process has
been performed periodically: however, evaluation of the resulting
air quality data is n ~ within
                        t      the scope of this RAP.

Contaminated soil exposed to the atmosphere may        y and soil
particles can enter into the atmosphere as dust. T     , chromium,
arsenic, and copper could be carried           soil particles and
dispersed into the atmosphere according t    e prevailing climatic
conditions. As pointed out in Section         however, essentially
all areas where ne                  are known to contain elevated
concentrations of chromium, ar     c, and copper have been paved.
Therefore, there is                 be a significant potential for
chromium, arsenic, a               n-site surface soils to migrate
through air. Soil                   d concentrations of chromium,
arsenic,      copper in the study area could introduce these
constitue    into the atmosphere, but at insignificant levels.

No site-specific background air quality monitoring data are
     9
available; however, the concentrations of total chromium measured
in ambient air in many urban and nonurban areas of the United
States, from 197'7to 1980, have been documented (U.S. EPA, August
1984). The concentrations range from less than 0 . 0 0 6 0 mg/m3 to
greater than 0.6000 mg/m3.     The mean chr:omium concentrations in
nonurban, background areas such as national parks ranged from
0.0052 mg/m3 to 0.0090 mg/m3 over the 1977 to 1980 period. Selected
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     data, considered to be representative of the range of total
     chromium concentrations in air, have been summarized in Table 8.

     In summary, under normal 'conditions, there is not believed to be
     a significant contribution of chromium, arsenic, and copper to the
     atmosphere through the residual contaminated soil at the site.
     Excavation and removal or other soil disturbance may, however,
     provide a potential air pathway. This pathway would require a
     detailed evaluation if excavation/removal were to be selected as
     a remedial alternative or if some other soil disturbance occurred.
     The evaluation would include air monitoring and comparison o"f the
     resulting data with background concentrationsfor            hazard
     determination.

     6.1.2 Direct Ex~osure
     The most direct pathway for chromium,    coppGand arsenic to impact
     human health and the environment is through contact with

i'   near-surface soils are known to
     asphalt or concrete.
                                        P
     contaminated soil. As describe in Section 5.1, the areas where
                                         e been impacted are paved with
                                  exposure would be likely only if these
     soils were excavated                Thus, such exposures would most
     likely occur during               of the plant and the subsequent
     remediati     f the site.

     According to tests performed on sail samples collected in the study
     area, the background concentrations of chromium, arsenic, and
     copper are less than 50, 14, and 20 mg/kg, respectively (Table D. 1,
     Appendix D). For comparison, chromium concentrations in soils at
     selected locations in the United States are summarized in Table 9.
     The concentration of chromium in soil varies according to its
     origin. Comparing the chromium concentrations of surface soils at
     the CWP site with concentrations presented in Table 9, site
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background concentrations are near the upper boundary of the range
of median concentrations measured at the selected locations.

6.1.3  Miaration Throush Surface Water
Potential surface water migration pathways include sheet flow over
the site and channel flow in the surface drains. Runoff from the
site is collected in unlined ditches around the perimeter of the
site. The ditches eventually discharge into the Russian River,
also through unlined ditches. Surface runoff from the treated wood
storage and retort areas is collected in a sump and recycled into
CWPJs wood preserving operations.

According to RWQCB staff, flow in the surface           ns may be
continuous during the winter months due to the in        of ground
water.   Also, during periods of high       ipitation, the water
levels in the ditches rise to near the       unding land surface.
Observations made by eWP personnel.           cate that intense
precipitation results in flow     all surface drains surrounding
the site. During light rain       , however, storm water rapidly
infiltrates into th                hrough the un:lined ditches and
no flow is recorded    Stati,onC-100 (Figure 2).

               with RWQCB requirements, CWP personnel. periodically
                 water quality during precipitation events of
              tensity and duration to cause flow in the ditches
around the site. The results of storm water. quality monitoring
 are presented in Appendix C. The highest recorded concentr.ations
were 0.630 mg/l and 0.790 mg/l for Cr(VI) and total chromium,
respectively, on March 13, 1984. Recent storm water quali.ty data
have indicated chromium concentrati.ons to be at or below the
drinkin? water standard of 0.05 ma/l on all but a few occasions.
Recent storm water monitoring data for Monitoring Stations NE, NW,
and C-100 show that concentrations of chromium and arsenic were
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less than 0.02 and 0.004 mg/l, respectively, which are the
detection limits for the compounds tested (Geosystem, April 1989).
A summary of water qilality criteria is presented in Table 10.

6.1.4  aqration Throucth Ground W a t g
The most probable pathway for chemical migration from the CWP site
is via ground water. The most comprehensive data collected in
January 1988     (Figure 14) indicate that elevated chromium
concentrations are detected primarily on site, to the west and
hydr,aulically upgradient of the slurry cutoff wall.           The
isoconcentration lings represent the areal extent of chromium
contamination in the uppermost water-bearing zone, Zone 1. Because
of the southeasterly flow direction, the disso
compounds have a tendency to migrate in the same dir
the slurry wall.     The concentrations,     wever,     rease with
distance from the retort area.

The rate of migrati.on of c         um in on-site areas depends
primarily on the seepage velo        of ground water and sorption
characteristics of                   ous analyses (IT Corporation,
June 1985) have indi     d that the migration rate of the chromium
front at the site is     ut 58 feet per year. In this estimation,
             tardaticmfactor, representing the 1.owestdistribution
              was used to provide a conservative ana1ysi.s. A
              analysis in this case is one resulting in larger
migration rates and higher downgradient concentrations.         The
analysis is also conservative because ground water flow and
chromi.um transport were assumed to:be one-dimensipnal       .
                                                           Although
the flow may be uniform and represented one-dimensionally, chromium
transport is two-'dimensional.

Hydraulic and ground water quality data, obtained from pumping
tests and regular ground water monitoring, indicate that the
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chromium front is intercepted by the slurry wall. Water impounded
behind the slurry wall is then extracted via Well HL-7. It is
noted that without some form of hydraulic control, in this case
ground water extraction, impounded water would eventually flow
around and beneath the slurry wall and chromium would continue to
migrate in the downgradient direction. Construction of the slurry
wall and extraction from Well HL-7 have substantially reduced
dissolved chromium concentrations in off-site areas.

The presence of chromium in off-site areas is believed to have             .

resulted primarily- from migration prior to construction of the
slurry wall in October 1.983. Since then, the concentrations of
chromium in off-site wells have gradually decreased,
in Section 4.5.3.  Ground water quality data from o
obtained in January 1988, show that chro
below the drinking water standard of 0               It is noted,
however, that.chromium concentrations in            loaated in the
pear orchard, have occasionall     ceeded the 0.05 mg/l drinking
water standard.

The ground water qua1    data indicate that because of the overall
site improvements an     e interim remedial measures implemented,
              .ation is limited.   To address potential off-site
              risk assessment purposes, however, a two-dimensional
areal model has been used. Details of this modeling effort are
presented in Appendix E. The model has been used to predict the
downgradient distribution of chro&m under uniform flow cqnditi.ons
considering various management practices. The model results have
shown the following:
     o   The predicted chromium concentrations are less than
         0.05 mq/l at a distance of about 250 meters (820
         feet) to the southeast of the slurry wall. This
         distance corresponds approximately to the location
         of Well AT-5. Chromium has not been detected in
         this well since its installation in December 1986.
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        o   The predicted chromium concentrations at other
            receptors beyond Well AT-5 are below the detection
            limit of 0.02 mg/l.
        o   An increase in the chromium concentration in the
            assumed source area (near Well CWP-8) to about
            1 mg/l for short durations will not result in
            chromium concentrations higher than 0.05 mg/l at
            the nearest receptor  .
The model results indicate that fluctuations in chromium
concentr'ationsin the assumed source area (primarily Well CWP-8),
within the range observed:since slurry wall construction, will not
resu1.t in cl-iromium concentrations higher than drinking water
standards in the nearby receptors.      Off-site contamination is
likely only if high chromium concentrations are a110    to migrate
beyond the slurry wall and persist for a long durat             .
                                                          However,
model simulations (Appendix E) have          hown that if the
concentrations of chromium at Well. CWP-      ain at about 1 mg/l.
for four years, downgradient concentrati       about 820 feet from
Well CWP-8 may approach 0.05 mg

                                        CITY CHARACTERISTICS OF

                                       elements which are found
                                         .
                                      Exposure of human beings to
                                     d natural. concentrations may
                                           Based on occurrence,
concentrations, and relative toxicity effects, the evaluation
presented herein pertains 0nl.y to chromium and arsenic. Details
related to occurrence, intake, and toxicity chax'ac~teristics of
chromium and arsenic are presented in Appendix F.

6.3  PUBLIC HEALTH AND POPULATION DENSITY
This section summarizes the information related to public health
protection goals and population potentially at risk.
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6.3.1  Public Health Protection Standards
Public health protection goals are established by public health
and regulatory agencies. Recommended or established standards for
chromium in the United States are summari.zed in Table 11. For
protection of human health from the toxic properties of Cr(III),
ingested thro~gh water and contaminated aquatic organisms, the
ambient water criteria has been determined to be 1'70 ug/l.     For
protection of human health from the toxic properties of Cr(II1)
ingested through contaminated aquatic o?iganisms alone, the ambient
water criterion has been determined to be 3,433 ug/l.. The ambient
water quality criterion for total Cr(V1) is recommended to be
identical to the existing drinking water stand            which is
0.05 mg/l.


6.3.2  Population ~otentiallvat Risk
Using population density statistics (~rkaterUkiah Chamber of
Commerce, June 1987) and the re     s of a survey and interviews by
Geosystem personnel                 number of people living in the
study area within on                 the CWP site varies seasonally
from about 20 to 10      This population is potentially at risk in
relation to surfac                   nd water migration pathways.
             n distribution around the site is addressed in more
             tion 3.2.4.

6.4  EXPOSURE ASSESSMENT.AND RISK CHARACTERIZATION
Based on the evaluation of potential migration pathways and the
population potentially at risk, an exposure assessment has been
performed and the risk associated with the exposure characterized.

6.4.1  potential Exmosure throuqh Air
With maintenance of a cap or implementation of a permanent soil
remedy, there is no significant exposure to chromium, arsenic, and
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copper through air. Since there is no significant exposure, the
risk of adverse health effects associated with migration of
chromium through air is believed to be insignificant

6.4.2 Potential Exposure throuqh Direct Contact with Soil
As described in Section 6.1.2, because of surface paving over soils
containing elevated chromium concentrations, there is no direct
exposure to contaminated soil. Therefore, there is no risk of
adverse health effects associated with this pathway under present.
conditions.    However, during post-closure soil remediation,
potential exposure is likely. Such exposure must be addressed by
implementation of an appropriate health and safety plan.

6.4.3 Potential E X D O S U ~throuqh
                              ~      Surface.Water,
Storm water runoff originating from
infiltration and dilution by downstream f
mechanisms, therefore, include exposure
by infiltrating surface waters        ir ect exposure to contaminated
surface water.   The first exp         mechanism is believed to be
insignificant becaus                  ttent nature of the runoff and
attenuation of chrom     and arsenic concentrations during downward
percolation.   The                     mechanism must consider the
impact of    ution on chromium concentrations within the surface
drainage

Si.te improvements and implementation of surface runoff control
measures have reduced the concentration of chromium at the
compliance point (Monitoring S.tati.onC--100)to acceptab1.e levels
(less than 0.05 mg/l)     .    Additional surface water. controls
identified i n Section '7.2.1 shall be implemented to further reduce
the exposure through surface water. The most recent data have
shown less than 0.02 mg/l and 0.004 mg/l concentrations for,
chromium and arseni.~, respectively, at station C,-1.00. Under such
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circumstances, the potential exposure of biological receptors in
downstream ditches and streams is negligible.

Although no flow measurements have been made in the ditches
downstream of the CWP site, based on field observations, an
approximate dilution factor can be calculated. According to CWP,
the flow rate at Monitoring Station C-100 is twice that at Station
NE due to the contribution from other culverts and streams. As
shown below, a comparison of water quality data between these two
monitoring stations supports the above observation.


                            CHROMIUM CONCEN
                             MONITORING
                              STATION
        DATE                    NE -.
     April 6, 1986             0.14
     March 5, 1987             0.06


The above data show that the chr    um concentrations at Monitoring
Station C,-100 are ab    50 percent of those detected at Monitoring
Station NE. The dis      e between Monitoring Stations NE and C,-100
is about 550 feet.        s evident that if flow rates increase at
              ons in the downstream direction and no chromium i.s
              ng the flow path, the chromium concentration will. not
exceed 0.05 mg/l within a short distance from Monitoring Station
C-100, if waste discharge requirements are observed. Under such
conditions, the impact of chromium on downstream receptors would
be insignificant. To provide a more quantitative assessment of ;
risk, flow rates must be known to estimate the dilution factors and
the consequent potential impact.

The minimum flow in the Russian River. is maintained at 150 cfs
(DWR, May 1980). Under intense rainfall conditions, when storm
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water flows to the Russian River, the volume originating from the
site is assumed to be 1 percent of the flow in the river. With
such an assumption, a dilution factor of 100 would be applicable
for calculating the chromium concentrations in the river.
Therefore, the storm water events, with historical concentrations
of chromium, are not i.ikely to have an adverse impact on surface
water quality in the Russian River. A maximum concentrati.on of
0.63 mg/l (Appendix C) at the site would result in a concentration
of 0.0064 mg/l in the river. Thus, the risk associated with this
potential exposure is insignificant.

 6.4.4   Potential Exposure throuqh Ground Water
 Potential exposure through ground water has b             evaluated
considering on-site and off-site areas separate1           Potential
 exposure to on-site ground water will        y be possible during
 moni.tor'ing or activities related to gro     water extraction and
 treatment. This exposure potential must       iminated by £01 lowing
 the appropriate health and s       y measures and other standard
 procedures outlined in this          the Storm Water/Ground Water
 Monitoring Pr.otoco1,              tinent documents. As there are
 no on-site wells pro     ng water from the contaminated zone, there
 is no exposure and,

As descri     in Section 4.5.3, the current understanding of off-
site ground water quality conditions indicates that Cr(V1)
concentrations are below the drinking water standard of 0.05 mg/l.
No water-producing wells are known to exist in areas where historic
chromium concentrati.onshave exceeded the 0.05 mg/l drinking water
standard. At the present time, therefore, there is not believed
to be a significant potential for exposure through this migration
pathway. This condition is expected to persist as long as on-site
extraction from Well HL.-7 and other remediation measures are in
effect   .
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    Failure to contain the chromium plume on site could result in the
    introduction of chromium to ground water immediately to the east
    (downgradient) of the slurry cutoff wall.         The impact on
    downgradient receptors will depend on the concentration and
    persistence of the source, as demonstrated by the transport model
i   (Appendix E). For instance, an initial concentration of 1 mg/l in
    ground water to the east of the slurry cutoff wall, with a source
i   reduction rate of 0.0063 per day, would result in a concentration
    of less than 0.00068 mg/l at about 820 feet from the site. This
    concentration is about two orders of magnitude lower than the
j
    drinking water standard of 0.05 mg/l. However, persistence of the
    1 mg/l concentration may result in gradual degrada      n of water
    quality in downgradient areas. As mentioned in S         ion 6.1.4,
    persistence of a 1 mg/l chromium concentr     on for four years at
    Well CWP-8 may cause an increase in chr          concentrations to
    0.05 mg/l at a distance of 820 feet down        ent. To eliminate
    this potential situation, the        ended remedial action includes
    hydraulic control.measures at W     WP-8 (Section 7.0). Extraction
    from Well CWP.-8wou                  hromium plume in the vicinity
    and would eliminat      he potential. for further downgradient.
    migration.

                 in Secti.on'7.0, a contingency plan has been developed
    for possible off-site remediation. The plan will be implemented
                                                       -
    subsequent to the regulatory agencies' decision regarding the
                                                    :
    criteria for initiation of off-site remediation. The criteria
    would include a prescribed chromium concentration persisting for
    a given time period. Implementation of the contingency plan will
    provide additional control to prevent further downgradient
    migration.
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Based on the above considerations, it is concl.uded that under
present conditions and with continued on-site remediation, there
is no potential exposure to chromium through ground water.
Therefore, there is no health risk associated with this pathway.
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             7.0   EVALUATION OF REMEDIAL ACTION ALTERNATIVES


The purpose of evaluating various remedial actions is to select an
environmentally acceptable and technically/economically feasible
alternative for implementation. This evaluation considers viable
remedial technologies to address soil and ground water
contamination at the CWP site. The evaluation has been performed
according to the procedure outlined by the EPA in a document
entitled "Guidance on Feasibility Studies Under CERCLA" (U.S EPA,      .
June 1985b).

Section 7.1 presents an evaluation of the various remedial
technologies considered. Those selected for impleme    tion, based
on technical, environmental, and cost considerations   e described
in Section 7.2.    The rationale for se      ting the recommended
alternative and rejecting the others is      ented in Seqtion 7.3.
The environmental effect.s of the recommenbed alternative and the
applicable laws and regu1ati.o     are presented in Sections 7.4
and 7.5..

As described in Sect    5.0, a number of interim remedial measures
have been implemente     the course of the remedial investigations
                Therefore, in the evaluation of remedial action
            , the interim remedial actions already implemented have
been considered.
       >,:

7.1  ALTERNATIVE REMEDIAL ACTIONS
Remedial alternatives m a y b e categorized as pertaining to source
control or management of migration (U.S. EPA, June 1985a). For
the CWP site, source control refers to the control of contaminated
soil to reduce or prevent introduction of the containinants to
ground water. Management of migration refers to containment of the
chromium plume and remediation of the impacted water-bearing zone.
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The technologies evaluated to address soil and ground water
contamination range from complete remediation to no action. The
evaluation of viable options to address contaminated soil is
presented in Section '7.1.1. Remediation of contaminated soils will
occur at the time of closure of the facility. The closure of the
facility is projected to be 10 years.       A trust fund will be
established (Section 9.0) to fund future remediation of soils.
Treatability studies will be conducted prior to selectingthe final
soils remedy at the ti.me of closure of the facility.           The
evaluation of the techno'lpgies avai1abI.e to address ground water
contamination is presented in Section 7.1.2. As extraction is a
viable option for the rekdiation of ground water contamination,

evaluated. This evaluation is presented in Section 7.1.3.7
alternative methods of ground water treatment h e also been
                                                                The
options for' the discharge of treated grou water are evaluated in
Section 7.1.4.



                                    ated the areal extent of soils
containing elevate                  s of chromium and arsenic.
                                    0 mg/kq of chromium and arsenic
above background le      (15 mg/kg) occur predominantly within the
                                       Most soil samples collected
              of 1 foot contain less than 50 mq/l of total chromium
                                     ge of background levels. More
specifically, of the 25 soil samples collected from the 3-foot
depth, only 5 contained more than 50 m w k g of total chromium and
none contained more than 100 mg/kg.       The four 3-foot samples
containing over 50 mg/kg were from Borings S-2, S-4, 5-6, S-12,
S-14, and 5-23 which are spatially distributed across the site and
do not indicate a single source such as the retorts on treated wood
storage areas. In particular, it is noted that Boring 5-23 is
located off-site, across Taylor Driye.        The distribution of
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    elevated total chromium concentrations, i.e. greater than 50 mg/kg,
    at depths of 6 and 10 feet below grade is similar to that described
    above at the 3-foot depth. Accordingly, the areal distribution of
    total chromium is best represented by isoconcentrations at the one-
    foot depth. The approximate distribution of soils containing over
    100 mg/kg of chromium at the one-foot depth is shown in Figure 11.
    This delineation of chromium distribution and other pertinent
    remedial investigation findings (Section 4.0) have been used as a
    basis'for developing and evaluating various remedial technologies.
    The pcrtential remedial technologies considered for control of the
    contaminated soil include:
         o    Soil removal ahd off-site disposal.
         o    Soil removal and on-site treatment.
         o    In-situ treatment.
         o    Partial excavation.
         o    Containment.
         o    No action.

    '7.1.1.1
    This technolo                               te disposal of soil in
    which the chromium                          100 mg/kg and arsenic
    concentration                               ation for chromium has
    been select                                 ,evious soil quality
                                                mg/l may be considered
                                                 ased on the 100 mg/kg
                                                 gure 11, the area of
i   concern is estimated to be about 69,800 ft;? or 1.60 acres. To
    estimate the volume of contaminated soil, it has been assumed that
    the soil is uniformly contaminated to an average depth of 1.5 feet
    below grade. Based on this assumption, the volume of contaminated
    soil would be approximately 3,880 cubic yards. It should be noted
    that in certain areas, such as the main process area, the depth of
    contamination may be greater. Accordingly, in the absence of any
    other data, it has been assumed that the area beneath the retorts
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and the rail lines, measuring about 50 feet by 280 feet, is
contaminated at greater than 100 mg/kg total chromium and greater
than 15 mg/kg arsenic to an average depth of 5 feet below grade.
The additional volume within this arbitrary zone is 1,890 cubic
yards. The estimated total volume of soil containing 100 mg/kg or
more of total chromium is estimated to be 5,770 cubic yards

Typically, soil excavation to a depth of 1 to 2 feet would be
performed by dozers and the soil loaded onto trucks and transported
to a licensed hazardous waste facility approved by EPA and in
accordance with applicable SARA requirements.          The nearest
operating facility to the site is in Kettleman Ci        located in
central California.

Complete removal of contaminated soil,     the limits shown in
Figure 11, would require the cessati       of wood preserving
operations and the removal o               .esenring facilities.
Therefore, it has been assum           y such remediation would
occur subsequent to the cl             he CWP operation.     The
estimated cost for    val and off-site disposal of 5,770 cubic
yards of soil is pre   ed in Table 12.

7.1.1.2       Removal and On-Site Treatment
This alte    ive includes excavation and removal of soil, followed
by on-site treatment. On-site treatment may involve the use of
organic or inorganic polymers which have the capability of bind.ing
the metals, making them less susceptible to leaching.        These
technologies have not been tested at field scale; thus, it is not
known how applicable they may be to the CWP site. To realistically
evaluate on-site treatment as a remedial option for contaminated
soil, laboratory and field tests are needed. Normally, a number
of products are tested to assess their fixation potential. The
fixation potential is determined by evaluating the leaching
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behavior of the soil prior to and after treatment. If laboratory
tests indicate that a particular treatment is acceptable in terms
of leaching, a pilot test is generally performed to assess the
applicability of the technology to field conditions. If the pilot
test demonstrates that the method is applicable to field-scale
remediation, a detailed design is prepared. Geosystem's experience
in similar projects shows that on-site treatment is feasible.

For cost estimating purposes, it has been assumed that on-site
treatment is a feasible remedial option. It is noted, however,
that despite the avoidance of the high cost of off-site disposal,
the estimated cost of on-site treatment is still relatively high.
This is due primari1.y to the duration of implem      tion.   The
estimated costs associated with excavation and on       treatment
are shown in Table 12.

'7.1.1.3 m i t u Treatment
This option includes in-situ ph    a1 and/or chemical treatment to
fix the chromium and arsenic i     il to the extent that it would
not act as a source     ground hater contamination. The simplest
in-situ treatment me     would be leaching the soil with water and
extracting and treat     he leachate. If this method were chosen,
             would have to be removed to al.lowwater to percolate
            contaminated soil and leach the chromium.

Previous laboratory leachability studies (DIAppolonia/IT, May 1984)
have shown that under acidic conditions -(pH = 5 . 0 ) , a maximum of
2.8 percent chromium is recover.able.     These results have also
indicated that most of the chromium in the soil is in the Cr(lI1)
form.   The trivalent forms of chromium are more stable, less
soluble, and less mobile than the hexavalent forms. Therefore, if
in-situ leaching was performed with a neutral. pH solution (water),
lower chromium recovery would be expected.          Considering the
leaching characteristics of trivalent chromium and operational
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    constraints, in-situ leaching does not appear to be an efficient
    means of remediation.

    Other options include injection of compounds into the soil to
    chemically fix the chromium and arsenic in soil. This option is
    generally more effective in homogeneous, saturated aquifer systems
    of high permeability.       Given the complex stratigraphy and
    discontinuity of permeable strata at the site, this type of in-situ
    treatment is judged to be ineffective and has not been considered
    further.

    7.1.1.4   Partial Excavation and Off-site Disoosal
    Partial excavation is another. viable alternati                    to control
    contaminated soil at the site. Based on previous s                  investiga-
    tions, the areas of soil containing more t             1 3 0 mg/kg of chromium
    and 1 5 mg/kg of arsenic have been' i                 ified (Figure 3, IT
    Corporation, 1.985; Figure 1 1 ) . These ar           center around Borings
    S-4, S-5 and S-8 and sampling             ions G - 5 , G--10,and G-11. The
    locations of these borings a              pling locations are shown in
    Figure 11. The 1 3 0                       centration was chosen because
                                the 1 0 0 mg/kg soil contamination boundary
    to be addressed wit          complete soil removal. It is noted that
    the areal                         ntamination generally coinci.deswith
                                          Based on a depth of contamination
                                         would result in an estimated soil
    volume of about 1 , 3 0 0 cubic yards. The estimated costs associated
    with implementation of this nptign are summarized in Table 1 2 .

    7.1.1.5   Containment
I   The simplest method of containment is to provide surface paving
J
    over the areas known to contain greater than 1 0 0 mg/kg of chromium
i   and 1 5 mg/kg of arsenic. The surface paving or capping would
1   prevent infiltration of surface water through the contaminated soil
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  and consequently minimize or eliminate the leaching of chromium
  into ground water. Surface paving has been installed at the site
  in various phases since 1979. The present extent of surface paving
  is shown in Figure 2. Comparison with the area of near.-surface
  soil contamination demonstrates that the large majority of
  chromium-containing soils are located beneath the paved area.
  Maintenance of the integrity of the existing cap is an essential
  component of effective containment prior to implementation of a
  permanent remedy  .
r ~   -   -   &   E    +   -   ~ Recommendations
                                   ~   ~   v   ~ concerning
                                                   .        these

L remaining unpaved areas are presented in Section 7,2.

 Other methods of containment include physical barr      , such as
 slurry, sheet pile, or chemical grout cutoff walls;     hydraulic
 barriers, such as extraction/injection sy   s. These options are
 addressed further in relation to plume c     1 in Section 7.1.2.

 7.1.1.6 No Action
 This option allows the contam       ed soil to remain in place,
 unremediated. Imple     ation of the no action option is typically
 combined with other      .olmeasures if ground water contamination
 is of concern. A1         he no action option requires extensive
                evaluate the potential impacts of ~esidual,soil
               on the environment. Ground water monitoring data,
 generated since 1981, have indicated some improvement in water.
 quality, primarily in off-site areas. Application of the no action
 alternative to the entire site would,! however, require further
 evaluation of the potential impact on ground water quality and the
 environment, as described in Section '7.3.

 7.1.2 Plume Control
 Plume control measures would be designed to limit the migration of
 the dissolved constituents while gradually remediating existing
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  contamination. The alternatives considered for screening are as
   3 1 1 0 ~ ~ (see
               :    table 1 7 )

            o Physical containment.
            o In-situ treatment.
            o Hydraulic control.
            o Electrokinetic phenomena.
            o No action.

  i.1.2.1   rhvsical Containment
  Physical containment measures include slurry cutoff walls, sheet
: piles, and grout curtains.      The most common method of physical
: containment for plume cbntrol is the construction of slurry cutofe
  walls.    This option, per se, does not remediate the aquifer;
  however, the contaminants are contained. A slurry         ff wall is
  constructed by excavating a continuous, narrow trench           which
                                                               is kept
  filled with bentonite slurry to sfabil'          the sides of the
  excavati.011. The trench is backfilled wit     mixture of excavated
  soil. and bentonite as trenching               ackfilling displaces
  t,he slurry, which is recycled.     e slurry wall acts as a barrier
  tb lateral ground water fl.ow        the zone of contamination is
  completely contained        Otherwise, hydraulic control must be
  initiated to provide      quate containment.. Flow beneath the wall
  is restricted by eit       keying the wall into a ],ow permeability
                 hydraulic control. As discussed in Section 5.2, this
                en implemented as an interim remedial measure by CWP.
                1 containment measures, such as sheet piles and grout
                                         -
  Curtains, have not, therefore, been considered   further.

  7.1.2.2  In-Situ Treatment
  This technology involves the passage of a treatment agent through
  the contaminated aquifer, usually by pumping and/or injection.
  The effectiveness of this option depends primarily on the
  permeability of the contaminated medium, the continuity of the
  water-bearing zone, and the degree of bonding of chromium to soil
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particles.   In-situ treatment by this method is not a proven
technology,.particularly if considered for application to chromium
fixation in large areas; Research related to application of this
technology is underway, and if future data show promising results,
its application to the CWP site could be reconsidered. At this
time, however, in-situ treatment by chemical fixation has not been
considered further.

7.1.2.3  Hydraulic Control
Hydraulic control is an accepted and well documented method of
plume control and aquifer remediation.       This option includes
extraction and/or injection in order to produce a zone of influence
beyond which there will not be significant              ration of
contaminants.     Extracted ground water is r            ished by
contaminant-free ground water, resulting    a gradual reduction in
chromium concentrations.

Considering the chromium isoc         ntrations shown in Figures 12,
13, and 14, the application of        .auliccontrol is believed to be
relevant to the following geog
     o    Near the ret
     o    Near the eas     site boundary
                          southeast.

              water quality data have shown that chromium
concentrations are higher in Zone 1 in the retort area than in
other;locations. To prevent chromium migration from the retort
area to downgradient loca'cions, interception of the plume by
trenches or large diameter recovery wells has been considered.
Both of these methods could provide a baxrier to chromium migratian
within their respective radii of influence. Trenches are typically
more effective in water-bearing zones which are not very conductive
and 1.ack hydraulic continuity; however, the presence of wood
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preserving facilities in the retort area precludes the installation
of a trench.    As described in Section 5.3, a large diameter
recovery well, Well CWP-18, was installed near the retort area as
an interim remedial measure.

Plume control near the eastern site boundary has also been
considered in order to prevent off,-sitemigration. As described
in Section 5.2, this option includes extraction from Well HL-7 and
has been implemented as an interim remedial measure. In addition
to extraction from Well EL-7, pumping from the downgradient side
of the slurry wall would contain any contamination which may have          r
passed the barrier and acts as a source of off-.sitecontamination.

Off-site remediation has been considered because of he presence
of chromium in some off-site wells          the past.    Off-site
remediation has been evaluated in some      ail (Geosystem, April
1987) and is not believed to be neces        at this time. This
judgement is based on current      nd water quality and the trend
of improving water quality in     -site areas as a result of the
interim remedial                   ented near the eastern site
boundary. It should    noted, however, that future monitoring and
new regulations               te reconsideration of off-site



              ntrol measures which involve the extraction of
contaminated ground water require an environmentally acceptable
and cost effecti.ve method of handl.ing the extracted water. As
previously mentioned, the majgrity of the extracted .chromium-
containing water is recycled back into CWP's wood preserving
operation; therefore, no special handling is required. Excess
contaminated water. must, however, be treated prior to discharge.
Section 7.1.3   summarizes the alternative treatment processes
considered to achieve acceptable effluent qua1i.t~.
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7.1.2.4  Electrokinetic Phenomena
Electrokinetic phenomena refers to those methods by which migration
of dissolved conta'minants in ground water is enhanced by the
application of an electric current. The methodology is based on
inducing electrical gradients to the soil-electrolyte-water system,
resulting in displacement or migration of cations and anions.
Historically, this technology has achieved some^ degree of success
in inducing flow in low permeability dispersi.vesoils. Application
of this method to the removal of inorganic species and dewatering
has been demonstrated by a number of investigations (Mitchell and
Arulanandan, 1968;; Gray and Mitchell, 196'7; Mehran, 1971).
Recently, the EPA has initiated a number of projects to test the
applicability of this technology to field-scale prob            .
                                                            As this
technology is still in the developmental stage, howe
been considered further for implementation t the CWP site.
                                                P
7.1.2.5   =.Action
                                                 minants to migrate
uncontrolled and unremediated.          is option would result in an
expansion of the pl                               direction and would



                                         Assessment
                                             o utilize extracted
                                             certain times of the
year. When the supply of extracted ground water exceeds CWP1s
needs, however, treatment is required before discharge.

The evaluation of the various ground water treatment technologies
is based on a continuous extraction rate of 5 to 20 gpm for seven
years, a chromium concentration of less than 10 mg/l in the
influent, and a required effluent concentration of less than
0.05 mg/l.
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?,,a treatment technologies have been screened on the basis of the
following technical and economic criteria:
      o   Performance and effectiveness of the technology.
      o   Projected service life.
      o   Demonstrated reliability.
      o   Ease of implementation.
      o   Safety considerations.
      o   Capital costs.
      o   Operation and maintenance costs.

The operation and maintenance (O&M) costs are those post-"
construction costs necessary to maintain satisfacto
the treatment system and the required monitoring (

The objectjve of the screening was to eli    te those technologies
that have an order of magnitude greater       , but do not provide
greater environmental or public heal          enefits or greater
reliability. The technologies      sidered for screening were:
      o   Electrochemical process
     o    Chemical. red       on and preci.pi.tation.
     o    Chemical      pr     itation   with    sedimentation    or
          f
     o    A       ated carbon adsorption.
     o    Son exchange.
     o    Reverse osmosis
     o    Electrodialysis.

7.1.3.1  Electrochem~Process
The electrochemical process involves passing chromium-containing
ground water through a cell containing consumable iron electrodes
which, in the presence of an electrical current, generate ferrous
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   and hydroxide ions.     These ions react with chromate ions in
   solution to precipitate chromic and ferric hydroxides.        This
   process is unique "in that no chemical additives are required to
   generate the precipitant.     The electrochemical operation is a
   'tonce-throughprocessttrequiring minimal reaction time. The theory
   of operation involves an oxidation-reduction reaction whereby
   electrons are supplied by an external electrical source reduci.ng
   the metal ions in the electrolyte to form elemental metal at the
   cathode surface.    The equipment. consists of a reactor module
   containing the anode and cathode assemblies and two control1abl.e
   power supplies.     he details of this technology related to
   electrode potentials, equilibrium, oxidation--reduction,and mixed
   potentials, voltammetry, and electrocapillarity capa
   described in the literature (Ahmed, 1979; Pemsler an
   Ayres and Fedkiw, 1983; and Dean et al.      972)       .
                                                        More specific
   information on bperation of electroche        1 process units is
   presented in Section '7.2.4.

   Electrochemical treatment has      n used for many years in the
   miming and utility                    is a proven technology for
   removing hexavalent     mium from wastewater. The el.ectrochemica1
   treatment process,                   pable of removing hexavalent.
   chromium      ground water extracted at the CWP site (Table 14)., .

   The advantages of the electrochemical process are as follows:
         o   Reduces the Cr(V1) content of ground water to EPA
             compatible levels.
         o   Very low operating costs.
        o    No consumable reagents required for operation.
        o    Requires little floor space and operator attention.
        o    Eliminates the conventional chemical precipitation
             process.
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The operating costs for. electrode consumption, power, and acid for
the electrochemical unit are estimated at about 10 cents per
1,000 gallons of ground water treated. At the anticipated flow
rate of 20 gpm, the operating costs amount to about $1,000
annually. Labor and waste disposal costs for the electrochemical
process are estimated to be about $50 per day.

7.1.3.2  Chemical Reduction and Precipitation
The most conventional method for the removal of chromium is
reduction of the hexavalent chromium to the trivalent state,
followed by pH adjustment to form insoluble carbonates or
hydroxides which can be removed as sludges. Some common reducing
agents include gaseous sulfur dioxide, sodium          sulfite or.
metabisulfite, and ferrous sulfate. In the reductio     hexavalent
chromium to trivalent chromium using                 the oxidation
state of chromium changes from 6+ to 3'     r is reduced) and the
oxidization state of sulfur increases                is oxidized).

     2H2Cr0, t 350, + 3H20     -,     r, (SO,), +. 5Hz0

Sul fur dioxide is       lied as a gas and fed into the chrome
reduction tank as       quid through a vacuum eductor-type of
              he sulfonator is controlled by an oxidation reduction
              P) probe measuring free sulfides in the chrome
                .  Mixing is usually required to improve contact
between the reduction agent and the ground water. Reaction times
vary with reducing agents, temperature, pH, and concentration;
however, reduction times are on the order of minutes.

Reduction of hexavalent chromium requires pH adjustment, normally
with sulfuric acid, to a pH of approximately 2 to 3. When sulfur
dioxide is used as the reducing agent, sulfonators must be used to
combine sulfur dioxide with water to form sulfurous acid. The
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sulfurous acid reacts with chromiumto form chromic sulfate. Other
reducing agents are added as solids or as solutions. The chemical
reduction is followed by alkaline addition, which results in
precipitation of chromium hydroxide.

Chemical reduction followed by precipitation requires several
process steps, consumes chemical additives for pH adjustment and
the reduction reaction, and generates a sludge that must be
disposed of. An automated system could be provided to carry out
these operations; however, some operator attention would be
required. Chemical reduction can be carried out using simple,
readily available equipment and reagents.

Chemical reduction is used primarily for the
                                                          4
                                                       duction of
hexavalent chromium, mercury, and lead and is a well tested and
documented method of treatment for thekmetals.         Due to its
documented applicability, laboratory and pblot-scale tests may not
be required to determine app       iate chemical feed rates and
reactor retention time for the     ction of hexavalent chromium to
trivalent chromium at the CWP

                      !?
The total capital cos s for chemical reduction, including the costs
              storage, feeding, and mixing, were estimated to be
              a total annual O&M cost of $192,000 (U.S. EPA, 1978).
              timates are based on a 20 gpm system using the 1987
ENR Construction Cost Index.

7.1.3.3 Chemical Precipitation with Sedimentation or Filtration
This technology involves the addition of chemicals to an aqueous
solution to combine dispersed particles into larger agglomerates
which are removed during the precipitation (settling) process.
Precipitation is a physicochemical process whereby some or all of
a substance in solution is transformed into a solid phase.
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Generally, lime or sodium sulfide is added to the ground water in
a rapid mixing tank. The water flows to a flocculation chamber in
which adequate mixing and retention time is provided for
agglomeration of precipitation particles by adding an agent such
as alum. Agglomerated particles are separated from the 1iqui.d
phase by settling in a sedimentation chamber and/or by other
physical processes such as filtration.

Precipitation is applicable to the removal of most metals from
wastewater including zinc, cadmium, chromium, copper, fluoride,
lead, manganese, and mercury.     Czanide and other ions in the
wastewater may also complex with metals, making treatment by
precipitation less efficient. Precipitation is no        lective in
that compounds other than those targeted may be           ed. Both
precipitation and flocculation are nonde
large volume of sludge which must be disp            technology is,
however, considered to be potentially ap              the treatment
of chromium-containing ground w      at: the CWP site.

Precipitation and f                se minimal health and safety
hazards to field wor       .
                           The entire system is operated at near
ambient conditions,                  danger of high pressure/high
              eration. While the chemicals employed are often skin
              y can be handled in a safe manner.

Arumugam (1976) studied hydroxide precipitation for the recovery
   ,%


of chromium from spent tan liquor. This precipit3tion process was
the least expensive method for the removal and recovery of
chromi.um. Using lime and at an optimum pH of 6.6, the removal of
chromium exceeded 98 percent. The precipitated chromium hydroxide
is separated by settling, filtered, and redissolved in sulfuric
acid to form chromium sulfate which can be recycled for further
tanning. The use of lime was more economical than the use of other
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alkalines (NaoH, NazCo3, and NHLoH). The use of lime softening and
coagulation using alum fox removal of such heavy metals as Cr(II1)
and Cr(V1) have been investigated by the EPA (U.S. EPA, 1978).

For a 20 gpm chromium removal system, the equipment cost is
estimated to be $50,000 (EPA/625/6-85/006, updated to 1987 using
the ENR Construction Cost Index). A total chemical cost of $4.80
per 1,000 gallons is estimated for this precipitation process to
achieve an effluent containing less than 0.05 mg/l of chromium.
The annual O&M cost is estimated to be $64,000 with a total capital
cost of $192,000.

'7.1.3.4 Activated Carbon Adsorption
Chromates can be effectively removed fro
the chromate-containing ground water thro                  acked with
activated carbon (Yoshida et al; , 19'77)  .   ng and Wu (1975) found
that the removal of Cr(V1) by calcin
significant at low pH and for        initial Cr(V1) concentrations.
Landrigan and Hallowell (1975)       nstrated that activated carbon
could be used by smal                 ities for. removal of chromium.
Huang and Wu (1975) s          e e~fectof pH on Cr(II1) and Cr(V1)
adsorption by Filtras    400 activated carbon. Cr(V1) was at least
twice as     orbable as Cr(II1).     The optimum pH for adsorptive
removal. w    .5 to 6.0 for Cr(V1) and 5.0 for Cr(lI1).

Granular. activated carbon (GAC) is usually preferred since it can
be chemically regenerated and reused. Powdered activated carbon
(PAC) is less expensive, but it can olily be used on a once-through
basis.

Activated carbon will adsorb hexavalent chromium and many metals
complexed in organic form, The adsorptive capacity depends on the
carbon pore size, solution pH, and the initial and final
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concentration of the metal(s)     .Activated carbon adsorption is
considered to be an applicable technology for the removal of Cr (VI)
from ground water at the CWP site: In particular, activated carbon
adsorption shows considerable promise          fox   removing low
concentrations of chromium (in the range of 1 to 2 mg/l) remaining
after other treatment methods such as precipitation, cementation,
etc. Regeneration of the spent carbon is possible with the use of
caustic solution.

There are a number of operational considerations, however, that
make carbon adsorption an inappropriate choice as a treatment
option for ground water containing Cr(VI), as discussed below:
     o   On the carbon surface, Cr (VI) is partially r
         to Cr(II1) which does not adsorb well on ca
     o   The maximum adsorption of Cr(V1)         rs at a pH of
         approximately 2.5. At lower pH v          , the Cr(V1)
         is reduced to Cr(II1) ; at highe           alues, the
         adsorption of Cr(VI) decreases r
     o   Cr (VI) can be stx ippe    om the carbon with a
         caustic solution. Remo      of Cr (VI) can then be
         accomplished               ition and pH adjustment
         in a mixi        vessel ; however, a chromium
         contaminated    dge is generated.

A carbon      orption system 'with caustic regeneration could be
designed      ,emove Cr(V1) from ground water at the CWP site, but
Cr(I1I) would not be removed~bythis method. Although it. is true
that .;hi.gherconcentrations of Cr(II1) in the effluent can be
tolerated, for certain methods of treated water discharge, lower
concentrations of Cr(II1) are advantageous. Certain equipment and
chemicals are needed to carry out pH adjustment of the ground water
and in the adsorption operation.

Typical capital and O&M costs are presented in Table 13.
Additional equipment, controls, and chemicals would be required
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bottom.   When the resin capacity is exhausted, the column is
backwashed to remove trapped solids and then regenerated.
Suspended solids in the feed stream should be less than 50 mg/l to
prevent plugging the resins.     The cationic exchange resin is
regenerated with a strong acid, such as sulfuric acid or
hydrochloric acid. Sodium hydroxide is a commonly used regenerant
for anion exchange resin. This process can take place in separate
exchange columns arranged in series, or both resins can be mixed
in a single reactor (Elzel and Tseng, 1984).

For. the reduction of Cr(V1) and Cr(III), both anionic and cationic
exchange resins must'be used. The ground water is first passed
through a cation exchanger where the positiv
as Cr.(VI), are replaced by hydrogen ions. The ca
effluent is then passed over an anionic                   where the
anions are replaced by hydroxide ions. Th     the chromium ions are
replaced by hydrogen and hydroxide ions
molecules.

Hexavalent chromium can be s     essfully recovered using ion
exchange treatment.   ause of factors such as resin capacity and
the number of times   resin can be regenerated, this technology

             plicable only to those situations involving relatively
               concentrations. Removal efficiencies of 90 to 99
percent have been kepor:ted for the treatment of ground water. with
a coxnventionaltwo-stage exchanger system. Even higher removals
are possib1.e with mixed bed exchangers.

The unit volume cost for strong-base resins is 3 to 4 times that
of strong-acid resins. The higher cost of strong-base resins is
due to the considerably more complex manufacturing process required
for the anion resins.
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       The advantages of the ion exchange process are:
            o   Simple, basic type of unit with easy maintenance.
            o   Better quality control due to          elimination of
                process variability.
            o   Reduced waste disposal costs.

       Ion exchange has similar disadvantages to carbon adsorption for
       application to the treatment of ground water from the CWP site.
       Specifically, the ion ejichange, regeneration, and chromium
       precipitation operations require a variety of equipment, cont,r.ols,
       chemicals, and labor. These items result in high capital and
       operational,costs. Included in these expenses is th      gh cost of
       ion exchange resin. If both Cr(V1) and Cr(lI1) are      sent in the
       wastewater, two resin beds would be required because     I) absorbs
       on anion resin ( ~ r ' ~existing as c~o,"')     Cr(11I) absorbs on
       cation resin. Regeneration and precipit        n of chromium would
       also be further complicated if bo h cr(111)- and Cr(V1) are present
       in the ground water.

       The major disadvanta
                                           P
                                  of this technology are as follows:
            o   High regener
            o   Fluctuating
                     res substantial, floor space.

       The construction cost for a system capable of handling 20 gpm,
~,.,
       including a steel: contact vessel, a resin aepth of 6 feet, housing         ''
       for the columns; and all piping and backwash facilities, is
       estimated to be $84,000 with an O&M cost of $14,000. The O&M cost
       includes electricity for backwashing and periodic repair and
       replacement costs. Costs for regenerant chemicals are not included
       because they vary depending on the concentrations of chromium to
       be removed from the ground water.
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7.1.3.6  Reverse Osmosis
If a pressure equal to or greater than the osmotic pressure is
applied to the solution side of a membrane, the solvent will flow
across the membrane leaving a more concentrated solution. This
process is known as reverse osmosis. Sufficiently high pressure,
usually in the range of 2 0 0 to 4 0 0 psi, will force the solvent out
of solution, producing a more concentrated stream which must be
treated further or disposed of. Ions and small molecules in ground
water can be separated from water by this technique.               The
concentrated waste stream requires additional treatment to.remove
or recover the chromium.

The basic components of a reverse osmosis unit are       membrane,
a membrane support structure, a containing vessel       nd a high
pressure pump. The membrane and membra       upport structure are
the most critical elements. The fact t         verse osmosis units
can be operated in series or in parallel      des some flexibility
in dealing with increased flow r    or concentrations of dissolved
species.

Available informatio     d experience is limited regarding the use
of reverse osmosis        ground water treatment.            A hexavalent
             val efficiency of 9 3 ; 5 percent has been reported for
              ncentration of 4 9 . 6 mg/l (Hindin, 1 9 6 8 ) . The volume
                 generated b y reverse osmosis is about 10 to
25 percent of 'he feed volume. Provisions must be made to treat
this potentially hazardous waste. Pretreatment: of the secondary
effluent with filtpation and carbon adsorption i.s usually
necessary.

A very high quality feed is required for efficient operation of a
reverse osmosis unit. The removal of iron and manganese is also
necessary to decrease scaling potential. The pH of the feed should
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be adjusted to a range of 4.0 to 7.5 to inhibit scale formation.
The primary limitations of reverse osmosis are its high cost and
the problem of a concentrated waste stream which must be treated
further using another technology.    Because of the low removal
efficiency and high quality feed requirements, reverse osmosis is
not considered to be applicable to the treatment of ground water
at the CWP site.

The total capital cost, including housing, tanks, piping,
membranes, flow meters,.cartridge filters, acid and polyphosphate
feed equipdent, and cleanup equipment, to treat 20 gpm :are
estimated to be $400,000 with a total annual O&M cost of $150,000.
The O&M costs include eiectricity forthe high press     feed pumps
(450 psi operating pressure), building utilities, ro    e periodic
repair, routine cleaning, and membrane       lacement every three
years (EPA 600-8-80-042d).

7.1.3.7 Electrodialvsis
In the electrodialysis process,     nic components of a solution,
such as Cr(VI), are separated t      gh the use of semi-permeable,
ion-selective membra       Application of an electrical potential
between the two elec     s causes electric current to pass through
the soluti               urn, causes a migration of cations toward
the negat      electrode and a migration of anions toward the
positive e    rode. Because of the alternate spacing of cation and
anion permeable membranes, cells of concentrated and dilute
solution, are formed (Poan and Lu, 1981).

Ground water is pumped through the membranes which are separated
by spacers and assembled into stages. The retention time in each
stage is usually about 10 to 20 seconds. Removal of chromium from
ground water varies with:
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    I        o   Ground water temperature;
             o   Amounts of electrical current passed;
             o   Amount of Cr(V1) and/or Cr(II1) ions;
             o   Fouling and scaling potential;
             o   Number and configurati.onof stages.

        This process may be operated in either a continuous or a batch
        mode. The units can be arranged either in parallel to provide the
    :   necessary hydraulic capacity or in series to achieve the desired
        degree of chromium removal. Makeup water, usually about 10 percent
        of the feed volume, is required to wash the membranes continuously.
        A portion of the concentrate stream is recycled to maintain nearly
        equal flow rates and pressures on both sides of each membrane.
        Sulfuric acid is fed to the concentrate stream to m       ain a low
        pH and, thus, minimize scaling.

        To achieve high throughput, electrodialys   ells in practice are
        made very thin and assemble~din stacks o     Is in series. Each
        stack of 1.0 consists of mor                          Generally,
        electrodialysis works best on a    c streams containing a single
        principal metal ion.

        An electrodialysis pl    produces two product streams, one dilute
        and one concentrated, which may need to be disposed or further
!       treated.      se of hydrogen generation, this technology may cause
        some local      pollution (EPA 600-8-80-042c).
!
:
j
        Electrodialysis has the advantage of being a continuous process
i
        whi.ch, unlike the adsorption process, does not require regenera-
j
        tion.    However, electrodialysis is usually not economical for
        treatment of very dilute chromium solutions like the CWP ground
        water and for situations where low effluent concentrations are
        required. A more common application for this technology is the
        recovery of ionized species such as metal salts, cyanides, or
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    chromates from metal finishing wastewaters, which are                    at
    considerably higher concentrations than the CWP ground water.

    Problems associated with the electrodialysis process include
    chemical precipitatibn on the membrane surface and clogging of the
    membrane by the residual colloidal organic matter in ground water.
    To reduce membrane fouling, activated carbon pretreatment, possibly
    preceded by chemical precipitati.on and some form of multimedia
    filtration, may be required. This process may, therefore, require
    more attention and maintenance than other systems discussed in                ,   ..
    previous sections. :Also, this process is not an established
                               -


    technology for the subject application. It is still considered to
    be possibly applicable to the treatment of ground wat
    site.

    The capital cost associated with this o             on is approximately
    $85,000. The O&M costs are estimated at $           0 per 1,000 gallons.



                                               rol and remediation requires
    an appropriate means                                        The options
                                                      ater, either with or
    without tr


         o Surface water discharge.
         o L Subsurface injection.

    '7.1.4.1 Recvclinq
I   The most cost-effective method of handling the contaminated water
i
.   is to recycle the pumped water into CWP operations without
    treatment. This would be possible so long as CWP's demand was
i
t
i
    larger than the volume extracted. Otherwise, partial recycling
    combined with treatment/disposal of'thebalance could be performed.
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 I
 i
           To explore the possibility of recycling, a review of the water
 l a       balance is necessary. The total surface water collection area is
           22,840 ft2. Thus, one inch of rain generates 14,180 gallons of
           runoff. The storm events of interest and the corresponding volume
           of water are as follows (Department of Water Resources, 1976):
                   STORM EVENT              RAINFALL        VOLUME OF WATER
                                            (inches)           (gallons)
                 PO-year winter
                100-year/24-hour

 \     -
           The CWP operation uses 20 above-ground tanks with a total storage
           capacity of 752,000 gallons. Assuming the occurrenc
           winter storm, the available storage will amount to
                                      .
           (752,000 minus 693,827) The daily opera
           gallons or approximately 5.5 gpm. Ther             the extraction
 I         system operates at about 5 gpm during               ions, all the
           extracted water can be recycle                        storm events
 1
 i
           (10-year winter), extraction       es of 4 to 6 gpm could be
           accommodated for about 8 days utklizing the avai.lable storage.

           It  is evident from      e mass balance calculations that for
                         tes greater than 5 gpm or during the wet winter
 I                       dditional discharge option is required.      It is
                        note that higher extraction rates are desired during
 I
           the wet season to achieve a greater degree of migration control
           and remediation.

           7.1.4.2  Discharse into the S a n i t w Sewer
 I         Discharge of treated ground water into the sanitary sewer is a
_i         viable option which is currently being pursued by CWP. This option
           has been under consideration since 1983, when the City of Ukiah
1          (the City) informed CWP of the regulations concerning the criteria
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for discharging wastewaters into the sanitary sewer system. Upon
the City's request, Kennedy/Jenks Engineers were directed to
evaluate the compatibility of treated water from the CWP facility
with the City's wastewater treatment plant regulations.         The
Kennedy/Jenks Engineers (March 19, 1984) evaluation concluded that
a discharge of 40,000 gallons per day of wastewater containing no
more than 0.5 mg/l of hexavalent chromium would be acceptable under
the limitations of restricted discharges. The acceptability of the
wastewatex discharge would be subject to verification of the
existing baseline (pre-discharge) levels of chromium present in the
City sewage and sludge.      The baseline data were subsequently
generated and submitted to the City.       On April 30, 1987, CWP
submitted a proposal to discharge the electrochem        ly-treated
water during those periods when extracted ground w        cannot be
recycled or stored on site (CWP, April        1987)     .
                                                      This proposal
provided the required baseline data            the electrochemical
treatment unit influent and effluent chr     m concentrations The   .
data provided demonstrated tha       existing discharge limitations
can be complied with. The max        chromium concentration in the
electrochemical. tr                   effluent was specified as
0.1 mg/l.    The Cit    s provided CWP with an authorization to
discharge subject                   revisions, prohibitions, and
                                     ewing the City's requirements.

                    intothe Surface Drainaqe System
Another possible method of handling excess treated water is
discharge to the surface drainage ditch to the east of the site.
As discussed in Section 4.3, this drainage ditch eventually reports
to the Russian River, although some seepage into the valley fill
deposits is likely to occur. The ditch has the capacity to accept
excess discharged water, even during peak flow periods.
Implementation of this option would only be possible if
restrictions on discharge into the Russian River and its
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    tributaries are relaxed.     The probable development of more
    stringent discharge restrictions does not make this option a
    promising or feasible alternative at this time.

    '7.1.4.4 Subsurface Iniection
    Injection of excess treated water into the more permeable strata
    beneath the site is more appropriate during the dry seasons when
    ground water levels are generally lower. CWP has attempted to
I   implement this option by installing Injection Well CWP-19
i
    upgradient of the contaminated zone.. During the wet winter months,
    however, when the volume of water to be disposed is greatest, Well
    CWP-19 has not been able to accommodate the required
    the drier months when ground water is deeper, t
    alternative may be necessary in order to flush th
    toward the extraction well. One of the maj    disadvantages of this
i   method is bio-fouling and microbial growth     the injection wells,
1
    requiring frequent maintenance.

    7.2    RECOMMENDEQ REMEDIAL
                                      recommended remedial action based on
    the screening of va             alternatives presented in Section 7.1.
                                        of the recommended alternative and
i                               d a description of the environmental
                                 alternative are also pr.ovided. The
    components of the recommended remedial action plan are as follows:
           6    Surface runoff management
           o    Control of contaminated soil
           o    Plume control and aquifer remediation
           o    Electrochemical treatment of ground water
           o    Water recycling/discharge to the Ukiah Sewage
                Treatment Plant or reinjection.
            o   Monitoring.

    Each of the above components is described below.
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 7.2.1  Surface Runoff Flow Manaqement
 Surface runoff shall be controlled in order to prevent the
 discharge of potentially contaminated water to surface waters.
The remaining unpaved portions of the site shall be paved. The
area located adjacent to the 330,000 gallon storage tank shall also
be regraded and repaved to prevent ponding. The site shall be
inspected periodically, at least once per year before the wet
season, and surface paving and drainage features repaired as
appropriate. Particular attention shall be given to areas around
the sumps and retorts. flobiie equipment (e.g., forklifts) shall
be designated for exclusive use in fhe retort area, treated wood
                                                                  Z
storage area, or untreated wood storage area to prevent cross
surface contamination. Storm water monitoring shal
in accordance with RWQCB Order No. 85-101. The re
water quality monitoring will be evaluate
taken accordingly.

7.2.2   Control of Contaming
The contaminated soil sha            trolled by preventing surface
water infiltration                    hydraulic control of the plume
in Zone 1.. As desc      (1 in Section 5.0, these remedial measures

hzive been partially    lemented at the CWP site. Surface paving
             talled to prevent the passage of water. through the
               chromium-containing soil. Consequently, the soil is
             to be a significant source of contamination by surface
water infiltration during the operation of the facility. Post-
closure remedial' measures include on-site treatment of the
contaminated soil to a depth of 1.5 feet for. areas containing
greater than 100 mg/kg total chromium and 15 mg/kg of arsenic.
Beneath and around the retort and sump areas, depth of excavation
is expected to be 5 feet. Treatability studies will be conducted
prior to selecting the final soil remedy at the time of closure Of
the facility. (See table 16)
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Contaminated soil that comes in contact with ground water during
seasonal high ground water conditions will be controlled
hydraulically. The hydraulic control measures include ground water
extraction near the retort area from Well CWP-18 and near the site
boundary from Well HL.-7. Details of the hydraulic control measures
are presented in Section 7.2.3.      The proposed approach shall
prevent direct human exposure to contaminated soil, eliminate the
contribution of infiltrating surface water to ground water
contamination, and prevent off-site migration. Implementation of
these measures, combined with proper treated wood handling
practices, should gradual.1~improve the site conditions:        The
criteria for evaluating such improvements include the trend of
chromiumconcentrations in wells located near the ret     or process
area. If no i.mprovementis obser-d, additional inv       gat-ionand
remediation actions may be required.

7.2.3  Plume Control and Awifer.
The zone of contamination sha                led hydraulically to
prevent off-site migration and               emediate the aquifer.
This will be accompli              ing ground water from locations
near the retort are            the site boundary. A conti.ngency
plan has also been d            off-site ground water extraction,
             ium concentrations- exceed a prescribed level. for.
             .iods of time. The "action level" and persistence of
              ff.-sitewells are to be decided by the regulatory
agencies.

Extraction from near the retort area will be performed through
Well CWP-18, which intercepts the chromium plume in Zone 1.
Although this well cannot sustain continuous pumping at high flow
rates, the impact of intermittent pumping is still believed to be
significant because of the high chromium concentrations in ground
water in that area.
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Extraction from near the site boundary shall be performed through
Well HL-7, located to the west (hydraulically upgradient) of the
slurry wall. As described in Section 5.0, Well HL-7 is located at
the center of a trench which is about 20 feet deep and intercepts
the chromium plume approximately perpendicular to the direction of
ground water flow. Extraction from Well HL--'7 can produce a zone
of influence which, in effect, contains the chromium plume and
prevents off-site migration. The extraction rate from Well HL-7
shall vary seasonally from 5 to 20 gpm, depending primarily on
ground water conditions.    The ex-traction of ground water fr.om
Well HL-7, combined with the presence of the slurry wall, i.s
believed to be the principal remediation measure t      revent the
off-site migration of chromium.

In addition to containing the chromium pl    on site, ground water
extraction, particularly from Well HL        will also gradually
remediate the affected water -be             quifer remediation is
accomplished by removing chr om         ining water and replacing
it with chr omium-free water.    o estimate the time required to
remediate the wat        aring zone, three factors have been
considered, as follo
     o   T    otal fluid present in the water-bearing zone
         c    ining elevated chromium concentrations.
     o   The number of pore volumes required to achieve a
         given concentration limit.
     o   The rate of ground water extraction.

Based on the site-specific characteristics and a number                of
assumptions, the above parameters are discussed below.

Using the most recent areal definition of the chromium plume, the
area contained within the 0.02 mg/l isoconcentration is estimated
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       to be about 130,000 ft2. Based on the assumptions that the average
       saturated thickness of the water-bearing zone is 12 feet and its
       effective porosity is 13.3, the total fluid present in the water-
       bearing zone is estimated to be about 3.5 million gallons.
       Approximately 10 pore volumes are estimated to be required to
       reduce the existing chromium concentrations to 0.05 mg/l.     This
       estimate is based on the following factors and assumptions:
            o   Laboratory adsorption test data obtained from site-
                specific soil samples (IT Corporation, June 1985)-
            o   Higher desorption rate under field conditions as
                compared to laboratory conditions.
            o   Possible reactions causing fixation and transfor-
                mation of Cr (VI) to more insoluble forms with    e.
            o   Published and      unpublished     data    on    Cr   (h)
                desorption.
            o   Inaccuracies and uncertainties ass        ted with data
                translation from laboratory to f

       The pumping rate from Well HL-      Id vary from about 5 gpm to
       20 gpm, depending o                 logic conditions, the water
       demand by CWP's opera   , and discharge constraints. Assuming an
       average pumping rat     f 10 gpm for the entire duration of
   I   remediatio    the time, required to remove one pore volume is
   I
       estimated     be about 8.5 months.    Thus, based on the above
       assumption    nd considerations, the estimated time of aquifer
. I,   cleanup is about seven years.

       In the above calculation, it is assumed the soil does not act.as
       a source of chromium to ground water.      However, the chromium
       contaminated soil at the CWP site may continue to act as a source
       of contamination. Therefore, the actual length of time for aquifer
       cleanup may be greater than that calculated above. For long-term
       budgetary purposes, the duration of aquifer cleanup is projected
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t o be between 7 and 2 0 y e a r s . A more a c c u r a t e e s t i m a t e of a q u i f e r
cleanup t i m e would be p o s s i b l e provided ground water remediation
is monitored and r e s u l t s e v a l u a t e d . Thus, a long-term monitoring
program (Section 7 . 2 . 6 . 3 )    i s needed t o e s t a b l i s h t h e performance
of t h e remediation i n order t o a s s u r e t h a t ground water cleanup
o b j e c t i v e s a r e achieved.

Hydraulic t e s t i n g of W e l l HL-7 h a s shown t h a t d u r i n g t h e winter
months, when ground water. l e v e l s a r e h i g h e s t , it is p o s s i b l e t o
e x t r a c t 2 0 gpm from W e l l HL-7        (Geosystem, March 1 9 8 6 ) .             To
accommodate higher e x t r a c t i o n r a t e s , d i s c h a r g e of t r e a t e d water
i n t o t h e s a n i t a r y sewer would be r e q u i r e d .

Because of t h e o c c a s i o n a l appearance of chromium i n +ll CWP-8,
l o c a t e d t o t h e e a s t of t h e s l u r r y , e x t r a c             from Well. CWP-8 i s
proposed.            A t t h e same t i m e , pumping r a                    f W e l l HL-7 may be
i n c r e a s e d t o provide a more e f f e c t i                          hydraulic barrier.
E x t r a c t i o n from W e l l CWP-8, howe                 w i l l , be e f f e c t i v e i n reducing
o r e l i m i n a t i n g t h e source of c                 ium t o o f f - , s i t e a r e a s .    The
e x t r a c t e d water. s h a l l be t r a n s f e 2 r e d through a 3-inch l i n e t o t h e
sump, a s shown i n F                        e 19.        The water w i l l be t r e a t e d a s
d e s c r i b e d e a r l i e r . Ba          on C W P ' s experience, d u r i n g w e t seasons
i t is possi               t o e x t r a c t 3 t o 5 gpm continuously from Well CWP-8.

Because of                   o c c a s i o n a l presence of d i s s o l v e d chromium i n Well
AT-2 above 0.05 mg/l, a contingency p l a n h a s been developed t o
i n i t i a t e of f - s i t e ground water e x t r a c t i o n , i f needed. The c r i t e r i a
f o r i n i t i a t i o n of o f f - s i t e e x t r a c t i o n a r e c u r r e n t l y being developed
by t h e r e g u l a t o r y a g e n c i e s , depending on t h e p e r s i s t e n c e of
chromium above a p r e s c r i b e d c o n c e n t r a t i o n .

The o f f - s i t e e x t r a c t i o n program s h a l l i n c l u d e pumping from W e l l
AT-2 or a new e x t r a c t i o n w e l l i n t h e same v i c i n i t y . The e x t r a c t e d
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water shall be transferred, via a 3-inch underground PVC pipe, to
the on-site sump, as shown in Figure 19. The off-site ground water
quality data indicate that p~mpingfrom Well AT-2 would most likely
be intermittent, if required at all.

7.2.4 Electrochemical Treatment of Ground W a t e r
Extracted ground water in excess of CWP9swater requirements shall
be treated using the existing electrochemical unit at the site.
This unit is manufactured by Andco Environmental Services (Andco)
and is capable of handling up to 150 gpm. However, for greater
efficiency, the flow rate shall be maintained below 50 gpm.

As shown in Figure 19, the extracted ground water sh     be pumped
to the on-site, concrete-lined sump, from which           will be
transferred to the treatment unit f           rocessing.     After
processing, the water will, enter t          holding tanks for
precipitation and retreatment.               , the water shall be
transferred to the 330,000-gal                 sampling prior to
discharge. From this tank, th       ter will be pumped thr.ough a
4-inch PVC pipeline, parallel t                and into the sewer
main at Plant Road.

The Andco                 ai system employs a patented electro-
              ss designed to reduce total chromium concentrations
to 1.ess t                 The process reduces soluble hexavalent
chromium to trivalent chromium which is precipitated as hydroxide,
as discussed in Section 7.1.3.1.     The precipitate can then be
removed from the waste stream by filtration or sedimentation,
yielding an effluent containing less than 0.05 mg/l chromium.
Tests performed by CWP have demonstrated that the effluent
concentration of chromium is generally less than 0.04 mg/l.
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Selected data obtained from CWP are as follows:

                                INFLUENT                 EFFLUENT
                              CONCENTRATION            CONCENTRATION
                                 (mg/l)                   (mg/l)
     3/06/84                        5.3
    11/05/84                        6.8
    11/06/84 (Sample 1)           169
    il/06/84 (Sample 2j           160

The Andco chromate removal system consists of two electrochemical
                         . .. two separate DC power sources contained
cells connected in series,
in one cabinet, and an acid wash system. The cell housings and
acid tank are constructed of fiberglass and all i         rconnecting
piping is of PVC. The incoming stream passes into          first cell
via a 3-inch line which includes a i flow                 sure gauge.
The stream then passes through the sec                nd exits via a
three-way valve for direct discharge f                 atment stream.
A second pressure gauge is in         ed in the discharge :line. A
strainer and gas relief valve          itted to the top of each cell
to provide a release for             drogen generated during the
electrochemical pro        and shutoff during acid washing.       The
bottom of each cell     piped to the acid pump for drainage prior
to and after aci        shing and for drainage pri.or to cell

         Q
replaceme t (Andco, June '198'7).

The acid wash system consists of an aci.d storage tank, acid pump,
and Fnterconnecting piping to allow acid washing of the cells on
a daily basis. Acid washing prevents coating of tine electrode
surfaces and the corresponding loss in treatment system efficiency.
The procedure i s relatively simple to perform and requires only
about 15 minutes per day to accompli.sh. Two to three times a week,
the acid concentration should be checked and kept to 8 to 10
percent by the addition of fresh muriatic acid.       On a monthly
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basis, the spent acid can be neutralized and bled into the
discharge line and new acid made up. The electrode plates have a
normal life of about one million gallons at an influent
concentration of 10 to 11 mg/l of Cr(V1).

Subsequent to the initial treatment, the water shall be transferred
to holding tanks, located north of the tank farm, where the metal
hydroxides are precipitated. After precipitation is completed, the
water could be passed through the treatment unit a second time to
assure compliance with effluent limitations. The effluent shall
be transferred to the 330,000-gallon tank for testing and storage
prior to discharge. The tank is connected to the sanitary sewer
located at the intersection of Taylor Drive an           lant Road
(Figure 19). The resulting sludge shall be handle
the appropriate EPA and DHS regulations.

7.2.5  Water Reuse/Discharqe to the Ukiah     waqe Treatment Plant
       or Reinjection
Extracted ground water will be r    cled into CWP's wood preserving
operations to the                       .
                                        Excess ground water which
cannot be recycled        the wood preserving operations will be
treated electrochem             scribed in the previous section and
discharged    Among the viqble discharge options considered in
Section '7.   , dischar.ge into the sanitary sewer during the wet
months or    njection during the dry months appear to be the most
practical methods. Discharge to the Ukiah Sewage Treatment Plant
must meet pretreatment requi.rements. On December 23, 1987-,a draft :
permit to discharge pretreated ground water:was issued by the City.- ..
The draft document outlines the requirements which need to be met
prior to allowing CWP to discharge the treated ground water. CWP *
has proposed to discharge treated water in a batch mode after
monitoring. The initial monitoring program, as specified by the
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City, is presented in Table 15. CWP is currently reviewing the
draft document and preparing a response.

7.2.6  Monitorinq
Monitoring is an integral part of remediation to document the
performance and efficiency of the extraction/treatment system.
Based on the monitoring results, recommendations, and modifications
shall be made for further site improvements, as appropriate.
Various elements of the proposed monitoring program are described
below.

7.2.6.1  Air Ouality Monitoring
The recommended remedial action does not require a       onitor ing;
however, as part of routine wood preserving operations,\air quality
is monitored on a periodic basis. Air qua      monitoring pertinent
to RAP requirements shall be evaluated i       taminated soil is to
be excavated for remediation or other'          isturbed.. The air
quality monitoring plan will         rt of the overall health and
safety plan and according to OS     equirements     .
                          torinq
                           as specified by the RWQCB, shall be
                          NW, and C-100, the locations of which are
             re 2. These locations have been selected to provide
                          ity of surface runoff from the CWP site.
This is of importance as the surface drainage system ultimately
drains into the Russian River.      Storm water samples shall be
collected once per month during any precipitation event sufficient
to produce a flow of water in the subject ditches. The samples
shall be analyzed for dissolved total chromium and arsenic. Storm
water monitoring results shall be compiled and reported to the
RWQCB as specified in Revised Monitoring and Reporting Program No.
85-101 (RWQCB, May 1987).     The results shall be evaluated and
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recommendations and modifications regarding            overall    facility
improvements shall be made as appropriate.

7.2.6.3  Ground Water Monitorinq
A ground water monitoring program (RWQCB, May 1987) is in effect
to evaluate the ground water flow regime and the distribution of
chromium throughout the study area. Monitoring includes ground
water level measurements and ground water quality sampling/
analysis. The ground water monitoring results shall be csed to
evaluate the effectiveness of the hydraulic control measures
implemented. - Recommendations regarding additional mitigation
measures will be made as appropriate.



specified in Revised Monitoring and Repor
                                                             "F
The ground water samples will be analyzed for total hromium as
                                                 Program No. 85-101,
(RWQCB, May 198 7) .  The monitoring shall     r formed according to
the procedures outlined in the 'fGr'oundWa      o m Water Monitoring
P ~ o ~ o c o(Geosystem,
              ~"         August 19     or its subsequent revisions)
prepared specifically for the C

The results of the gr        water monitoring shall be reviewed on a
quarterly basis and         ,ted to the RWQCB as required by Revised
                             Program No. 85-101 (RWQCB, May 198'7).
                       on of the monitoring results, recommendations
                       11 be made as appropriate and subject to RWQCB
approval.

'7.2.6.4 Treatment Svstem Monitoring
During the operation of the electrochemical unit, the influent and
effluent concentrations shall be monitored for.hexavalent chromium
and total chromium.      The monitoring frequency shall be in
accordance with the requirements of the Ukiah Sewage Treatment
Plant, as outlined in Table 15.
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7.3  REASONS FOR SELECTION OF THE RECOMMENDED REMEDIAL ACTION
Environmental and public health criteria and cost were the
principal considerations in the selection of the proposed remedial
action plan. Specific reasons for selection of various components
of the plan are as follows:
       o   Paving of the areas of soil in which higher
           chromium concentrations have been measured prevents
           surface water infiltration and reduces the
           potential for leaching of chromium.

       o   on-site treatment of soL+l after si.te closure .:
           provides a permanent remedy for the contaminated
           soil.
       o   Extr.action from Recovery Well CWP-18 rem
           chromium,-containing ground water in areas w
           chromium concentrations are highes  thus reducing
           the source to downgradient areas.
       o                                          L
           Extraction from Well HL-7, in combi ation with the
           slurry cutoff wall, is e    tive in containing the
           chromium plume on site      gradually remediating
           the aquifer.
       o   Extraction f        Well CWP-8 would c0ntai.n any
           residual ch          to the east of the slurry wall
           and prevent         r downgradient migration to off-
           site areas.
                 of   the   electrochemical unit   is   an
                onmentally and economically sound approach
           for ground water treatment.
       o   Discharge of the treated water into the Ukiah
           Sewage Treatment Plan is the most flexible and
           environmentally sound approach.
       o   The proposed monitoring plan provides sufficient
           data to demonstrate the effectiveness of the
           remedial action plan and to identify the need for
           additional remedial actions, if any.
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The reasons for rejecting           other   alternatives   are   broadly
categorized as follows:
        o    Marginal environmental enhancement at the expense
             of an "order magnitude" increase in cost, as
             illustrated by cost estimates for soil removal.
        o    Environmental unacceptability and lack of proven
             technology for all hydraulic control measures
             except the selected option.
        o    ~echnicaldifficulties for ground water injection
             during wet seasons.
        o    Inefficiency and relative high costassociatedwith
             other treatment technologies compared with the
             electrochemical orocess.

7.4 ENVIRONMENTAL EFFECTS"0F THE SELECTED REMEDIAL A TION
In general, the selected remedial plan     1 minimize potential
adverse impacts on human health and the e  .onment. The specific
features of the remedial plan with          ct to environmental
effects, are described below.

7.4.1       Control of Contaminated.-
                                   paving over areas of soil
                                    exposure to contaminated soil
              the infiltration of surface waters. . Consequently,
             2 feet of the soil profile, which have been shown to
             ted concentrations of chromium and arsenic, will not
act as a major source of ground water contamination. The post-
closure remediation provides a permanent remedy for the on-site.
contaminated soils.

7.4.2 Plume Control
The two major objectives of plume control are preventing off-site
migration and remediating existing contamination in the on-site
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water-bearing zone.     Off-site migration is controlled by the
combination of the slurry cutoff wall and extraction of ground
water from Wells HL-7 and CWP-8.          On-site remediation is
accomplished by ground water extraction from Wells HL-7 and CWP-18.
Water quality data have demonstrated that these hydraulic control
measures have been effective in preventing the off-site migration
of chromium. Subsequent to construction of the slurry wall in
October 1983, chromium concentrations in off-site wells have
generally decreased with time, as described in Section 4.5.3.

Based on the 'current chromium concentrations in off-site wells and
the continuing trend of decreasing chromium concentrations, no
r emediation is proposed for off-site areas. However,
plan is developed to address off-site remediation whe
for such remediation are established by t h 9 regulatory agencies.
To demonstrate the potential environmental pacts of selection of
the "no action" alternative for off-site       as, the transport of
chromium was simulated using          two-dimensional areal model
(Geosystem, April 1987)    .  Deta    of this modeling effort are
presented in Append'                 del results demonstrated the
following:
     o   Under present \ conditions, downgradient receptors
         w i w o t be adversely impacted.
     o   Di    sion and attenuationmechanisms will continue
         to    uce chromium concenLrations in downgradient
         areas.
7.4.3 Monitorinq
The proposed monitoring program is designed to detect any
significant environmental changes and to provide early warning to
the responsible parties.      Using the monitoring data, the
effectiveness of the proposed remedial action plan shall be
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evaluated.    This evaluation shall be used as a basis                for
modification of the remedial action plan, if necessary.

7.5 APPLICABLE LAWS AND REGULATIONS
The CWP site is included on the State Superfund and National
Priority Lists and is, thus, subject to both state and federal laws
and regulations. Although the more formal and systematic soil and
ground water quality investigations at the site began in June 1980,
a certain amount of monitoring was performed in the 1970s by the
RWQCB. During the early phases of the investigations, however,
many of the current regulations and guidelines were not in effect.
Therefore, investigation and remediation activities were not always
performed in accordance with the state and federal
in effect.    Certain activities were performed b
authorization of the regulatory agencies (A pendix A).
                                              P
Super fund Amendment and Reautho
                                              k
As required by the National Continqenc Plan (NCP 1985) and
                                     ion Act (SARA 1986), applicable
or relevant and appropriate re        ents (ARARs) have been used as
a guide to evaluate                    xtent of site cleanup, select
appropriate remedial      ion alternatives, and has been and will be
used in implementat        and operation of the selected remedial
              required by SARA, .state requirements that are more
              n federal requirements must generally be attained in
              n of remedial actions. These laws and regulations are
as follows:

     o   Comprehensive Environmental Response, Compensation
         and Liability Act (CERCLA) of 1980, as amended by
         the Superfund Amendments and Reauthorization Act
         (SARA) of 1986.
     o Resource Conservation and Recovery Act (RCRA) of
       1976, as amended by the Hazardous and Solid Waste
       Amendments (HSWA) of 1984.
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            Safe Drinking Water Act.
            California Code of Regulations, Title 22,
            Division 4:    Environmental Health (Chapter 1,
            Article 1; Chapter 2, Article 1; Chapter 30), July
            1986.

            California Health and Safety Code.
            North Coastal Basin Water Quality Control Plan
            adopted by the RWQCB,
            All orders, including specifications, provisions,
            prohibitions, and requirements issued by the RWQCB.
            Court order by the State of California, Office of
            the Attorney General.
            Natfonal contingency Plan, pertinent haz
            waste regulations under 40 CFR, Parts 260 to
            Part 300-68, July 1985.


                                                   f
            Porter-Cologne Water Quality Cont 01 Act, 1969.



3   Based on a request made by DHS,
                                       P
                                      raft of the Deed of Restriction
    on Real Property has been prepa ,ed and is included as Appendix G

I
I
    to this document.
                          6
    Within 30 days after Department approval of the Final RAP
                 reserving Inc., must record the Final Deed

                 with Mendocino County.
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                               8.0     IMPLEMENTATION SCHEDULE


*.  : m e n t i o n e d i n S e c t i o n 5 . 0 , the i n t e r i m r e m e d i a l measures program
has b e e n i n e f f e c t f o r some t i m e .          T h e r e f o r e , a number o f e l e m e n t s
of t h e recommended r e m e d i a l a c t i o n p l a n have a l r e a d y been
implemented.              According t o CWP, pumps and p i p i n g a s s o c i a t e d w i t h
g r o u n d water e x t r a c t i o n from Wells CWP-18, HL-7, and CWP-8 a r e i n
p l a c e a n d i n o p e r a t i n g c o n d i t i o n . Also, t h e e l e c t r o c h e m i c a l u n i t
i s on s i t e and i n o p e r a t i n g c o n d i t i o n .


s u b s e q u e n t t o a p p r o v a l o f t h e RAP, t h e f o l l o w i n g a c t i v i t i e s need
t o b e completed p r i o r t o f u l l - s c a l e o p e r a t i o n :
        o    F i n a l p e r m i t from t h e C i t y f o r d i s c h a r g e o f t r
             w a t e r i n t o t h e s a n i t a r y sewer.
        o    Connecting t h e l i n e t o t h e sewer. s p e m .
        o    P e r m i t t i n g , d e s i g n , and c o n s t r u c t     of o f f - s i t e
             e x t r a c t i o n s y s t e m , i f needed.
        o    System s t a r t u p and t e s t i

Because o f u n c e r t a i n t           a s s o c i a t e d w i t h t h e t i m e o f a p p r o v a l of
t h e RAP and o b t a i n i n            e permit t o discharge i n t o t h e s a n i t a r y
sewer, t h e r e a l time                 d u l e i s n o t known.          Connecting t h e l i n e
t o t h e se        system,            c o n s t r u c t i o n of t h e o f f - s i t e e x t r a c t i o n
s y s t e m , if    d e d , and system s t a r t u p c a n b e completed w i t h i n a 3-
month p e r i o d .
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         9.0   ALLOCATIOI; OF FINAIICIAL RESPONSIBILITY AND PROVISIONS
                             FOX FINANCIAL ASSURANCE

    The Coast Wood facility has been owned and operated by Coast Wood
    Preserving, Inc. since 1971. As the responsible party, Coast Wood
    shall be one-hundred percent responsible for the implementation
    of the Remedial Action Plan (RAP) and the associated monitoring
    operations, and maintenance requirements.
    In order to provide the funding required by Coast Wood to
    implement the provisions of the RAP (regarding soil and
t   groundwater cleanup at the site) Coast Wood will establish an
    interest bearing trust fund. The trust fund will be for cleanup
    activities at the end of the business life at the site- and for
    emergency response actions during active operations.
    m e amount of funds required for the trust account is currently
    estimated at $1,005,000 (calculated based upon Coast Wood's cost
    estimate, table 12).
    The trust fund will, be generated by an annual deposit to be
    calculated as follows:

    Payment = CE
                Y
                    - CV
    CE = cost estimate
    CV = current value of the trust fund
    Y = years remaining in pay-in period
    The annual payment will be $100,500 for 10 years, as calculated
    below.




    The trust fund shall be fully funded within lo years or by the
    end of the active life of the facility, whichever occurs first.
    A trust fund agreement will be arranged between the Department
    and Coast Wood Preserving, Inc., designating the Department as
    the beneficary.
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             6"
    czp~. OFRic
            KEAL~HStRvldoast wood Preserving, Inc.
                                                                                            .G r w Smln
                                                                                             C a n and Pol-



                                                      September 24, 1990

          Hs. Michelle Rembaum
          Toxic Substances Control Dlvlsion
          C a l i f o r n i a Department of
          Health Services
          700 Heinz Ave. 2nd F l o o r
          Berkeley, CA. 94710
          Dear Ms. Rebaum:
                    On J u l y 3rd of t h i s g e a r t h e p r o j e c t manager f o r t h e
           Coast Wood Preserving, Icc. s i t e i n Ukiah, CA. issued a
           revised c o s t e s t i m a t e f o r t h e s o i l remediation described
           i n t h e previously p u b l i s t e d Remedial Action Plan. Due t o
           advances made i n t h e tecf-qology of t r e a t i n g hazardous s o i l s
           t o render them nonhazardcx, i t was thought t o be proper t o
           s o l i c i t a quote from a cmpany t h a t had s u c c e s s f u l l y com-
          pleted s e v e r a l l a r g e s c a l e p r o j e c t s . Attached i s copy of
          t h i s revised estimate.
                    Coast Wood Preservir-3 would l i k e t o incorporate t h i s
          revised c o s t e s t i m a t e a s an a d d i t i o n t o Table 12, superceeding
          column 2 "Soil Treatment and On-Site Disposalw. A s t h i s was
          t h e chosen remedial a c t i c 2 , i t s r e v i s i o n r e q u i r e s a change t o
          t h e t r u s t account amount needed. The r e v i s e d estimate h ~ as
          t o t a l d o l l a r volume on $i12,000 o r roughly one t h i r d of t h e
          previous sum.
                    Such a r e v i s i o n wou:d lower t h e y e a r l y contribution from
          t h e requested $100,000 t c only $30,000.                     However Coast Wcod
          Preserving would agree t c t h e sum of $50,000 y e a r l y , which
          would provide a more thar. 50% cushion for contingencies i n
          excess of p r o j e c t managers normal 10%.
                    Your comments a r e s c l i c i t e d and your approval I n t h e
          next 90 days would be ap;?eciated.


                                                          A    PA
                                                          'Gene P i e t l l a
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             10.0   OPERATION AND MAINTENANCE REQUIREMENTS

Operation and maintenance, (O&M) requirements will be developed
subsequent to system design, installation, and startup. These
requirements shall be outlined in an operation and maintenance
manual.   However, the general O&M requirements related to the
following components and features of the recommended remedial
action are briefly described.
       o   Ground water extraction.
       o   Ground water treatment.
       o   General system inspection and monitoring.
       o   General safety procedures.
       o   Evaluation of system effectiveness.
       o   Reporting.
                                                           A
10.1  GROUND WATER EXTRACTION
During the startup period, flow adjust        s shall be made in
accordance wi.th CWP1s water recycling re     ements and limits of
treated water discharge.                       s will be made to
maximize extraction rates for mo    ffective hydraulic control and
remediation. Provisions must be     e to record the extraction rate
and cumulative flow f     each extraction well.

During normal opera$ion; the O&M requirements include flow
adjustment    d recording, maintenance of pumps and pipelines,
calibratio     f gauges and flow totalizers, periodic system
inspection, and record keeping. The O&M manual should provide
detailed procedures for flow control and data recording during
system operation.

10.2  GROUND WATER TREATMENT
Andco Environmental Services, Inc. has provided CWP with procedures
for operating the electrochemical unit existing at the site. Some
of the of the operational features of the unit are summarized in
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Section 7.2. The Andco operating procedures outline the following
steps with sufficient detail for implementation:
        o   Startup operation.
        o   Daily acid washing and polarity changing.
        o   Spent acid disposal.
        o   Acid makeup.
        o   Shutdown.
        o   Electrode replacement.
        o   Precautions.

Since installation of the electrochemical unit, CWP has made some
modifications to improve its operation.     The operator of the
extraction/treatment system shall be familiar with these
modifications.

10.3  SYSTEM INSPECTION AND MONITORING
It is recommended that the ground water ext     ion/treatment system
be inspected once per day.      The inspect      should include the
extraction well piping and instrumentation       elines transferring
contaminated water to the sump;      n header to the sewer system;
and treatment system unit, pip         and instrumentation.     Flow
totalizer readings at     extraction we1:ls and the treatment system
influent line should      ecorded.

System mon     ng should be performed according to the requirements
set forth     he RWQCB and the City of Ukiah, as provided in the
RAP and supplementary documents issued by these agencies.

A ; daily operation log shal.1 be maintained at the site to record
these routine inspections. The log shall. be a bound, hard-covered
book with numbered pages. In addition to flow totalizer readings
and other observations, t.he operator(s) shall record any problems
encountered, the corrective actions taken, and any other relevant
information. Each entry shall include the time, date, and the
operator's name or initials.       The information in the daily
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operation log will be used in preparing monthly reports to the
RWQCB and in evaluating the effectiveness of the ground water
extraction and treatment system. ,

Information related to water quality sampling shall also be
recorded in the log book. This information should include, at a
minimum:
       o   Sample locations;
       o   Date and time of sample collection;
       o   Number of containers collected;
       o   Analyses requested;
       o   Name of sampling personnel: and
       o   Comments.

Comments may include such things as odors observed,      earance of
                                                       \
the water (turbidity, color, etc. ) , weather conditions, or other
pertinent informati.on.

10.4  GENERAL SAFETY PROCEDURES
The general.safety procedures per         ent to the recommended remedial
action are as follows:
       o   Operating eq     nt shall be frequently checked
           for signs of      ge, corrosion, or damage. Any
           such defects       shall,be repaired or otherwise
                 ted before any adverse consequences result.
                 , pipe,and other equipment shall not be left
                 around the extraction well heads or around
           the electrochemical treatment unit.
       o' Waste material and sludge should be placed in a
          suitable receptacle or. removed from the site
          according to the appropriate regulations.
       o   Any spills of contaminated ground water shall be
           cleaned   up   immediately  and   reported,   as
           appropriate.
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It is recommended that only persons familiar with the ground water
extraction and treatment system perform operation and maintenance
activities.

10.5  EVALUATION OF SYSTEM EFFECTIVENESS
Based on ground water monitoring data, the effectiveness of the
extraction/treatment system shall be evaluated. The evaluation
will include the hydraulic response of the water-bearing zones to
extraction and water quality changes with time.     This type of
evaluation is usually performed on an annual basis. The results
of such evaluations will be used to make projections for aquifer
cleanup and modifications to the remediation strategy, if
necessary.

10.6  SITE INSPECT=
The site shall be inspected periodicall     o identify potential
migration pathways of the contaminant      nd take appropriate
corrective actions. The asphal     er particularly in retort and
sump areas shall be carefu1l.y i   cted and repaired accordingly
to prevent surface in              her surface features shall be
inspected to prevent    ration of wood preserving chemicals into
surface waters.



               requirements during the implementation of the
recommended remedial action will be in accordance with the
guidelines and procedures set forth by the RWQCB, DHS, EPA, the
City, and other regulatory agencies. Monthly progress reports
shall be prepared and submitted to the agencies.   The progress
reports will present a summary of the work performed, data
collected, and interpretations made in the preceding month. If
changes need to be made, the progress reports will outline the
proposed changes for the agencies information and approval. An
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1   annual report shall be prepared summarizing the data obtained and
    the associated findings, conclusions, and recommendations.
I   Respectfully submitted,
1
1   GEOS5STEM CONSULTANTS, INC.
                  n



    Mohsen Mehr'an, Ph.D.
    Project Manager
    (CGWP No. 189)



    senioi! Pr0.isct Enqineer
    (RCE No. C-042600j
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        1 1 . 0 NONBINDING PRELIMINARY ALLOCATION OF RESPONSIBILITY



Upon c o n s i d e r a t i o n o f a l l t h e e v i d e n c e , t h e D e p a r t m e n t o f H e a l t h
Services concludes t h a t t h e preliminary non-binding a l l o c a t i o n of
f i n a n c i a l r e s p o n s i b i l i t y i n t h i s RAP i s a s f o l l o w s :

              C o a s t Wood P r e s e r v i n g I n c .      100%
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        11.0 N O N B I N D I N G P R E L I M I N A R Y A L L O C A T I O N O F R E S P O N S I B I L I T Y



U p o n c o n s i d e r a t i o n of a l l t h e e v i d e n c e , t h e D e p a r t m e n t o f H e a l t h
S e r v i c e s c o n c l u d e s that t h e p r e l i m i n a r y non-binding a l l o c a t i o n o f
f i n a n c i a l r e s p o n s i b i l i t y in t h i s R A P i s a s follows:

               C o a s t Wood P r e s e r v i n g Inc.            100%
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                               TABLES
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                                                                      TABLE 1

                                                         WELL CONSTRUCTIOU DETAILS



                    GROUND             ELEVATION OF
                    SURFACE             REFERENCE            BORING        PERFORATED                   ZONE                CASING
 WELL NO.           ELEVATION(^)           ~       (     l DEPTH
                                                            )              ,   INTERVAL              -    -
                                                                                                     HONI TORED           DIAMETER
                   (ft.above           (ft.above             (ft.)         ( f t . . below                                (inches)
                      MSL)                 MSL)                           ground s u r f a c e )

CUP ..1
CUP,2A
CUP.,2B
    -
CUP 3
CUP,.LA
CUP..4D
CUP..5
CUP,,6
CUP.7
CUP . 8
CUP.9
CUP.,I 1
CUP-12
CUP-13
CUP..14
CUP.15
CUP..16
CUP,,17
CUP.18
CUP-19
CUP..20
CUP..21
CUP.22
HL..7
FPT..lA
FPT-18
 FPT..28
FPT.,2C
FPV3
FPT,4
FPT,,S
AT.1
AT..2
AT,.3
AT-4
AT .. 5



NOTES:     1 ) E s t a b l i s h e d by l e v e l s u r v e y on January 7, 1987 Supersede p r e v i o u s e l e v e t i o n s
           2 ) W e l l c o n s t r u c t i o n may cause communication between Zones 1 and 2
           3 ) NM denotes Not Measured
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                                                       TABLE 2

                             MONTHLY AND ANNUAL HEAN CLllUTOLDGICAL DATA
                                          UKIAH, CALIFORNIA




                                                            PRECIPITATION(^)                     WIWDSPEED(~)
                                                                (inches)                         (mileslhour)

January

February

Uarch

Apr i1

may

June

July

August

September

October

November

December



Annual




MOTES:    1) C a l i f o r n i a Energy Commission,               " C a l i f o r n i a S o l a r Data Manual,"  report
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                                                                TABLE 3

                                               ON-SITE MONTHLY PRECIPITATION RECORDS
                                                       (ALL u n i t s a r e inches)




-.YEAR                                            MAY     JUNE      JULY   AUG.   SEP.    a       -
                                                                                                  NOV.   - -
                                                                                                         DEC.    TOTAL


1981                                               NA      NA        NA     NA     NA      NA     NA      1 .6


1982                                                0")   0..30       0      0    0,.08   1 .26   859    7.20    3 7 03


1983                                                                                                             51 34

1984                                                                                                             22 6 7

1985                                                                                                             17 05


1986                                                                                                             3 6 45

1987                                                                                                             35 25


 988                                                                                                             23 46




NOTES    1) NA denotes Not A v a i l a b l e
         2) "0" denotes no r a i n f a l l .
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                                             TABLE 4


                  WATER-PRODUCIWG WELL I I V E I T O R Y AND COWSTRUCTIOM DETAILS




                                        WATER           CASING                               UELL LOG
WELL NUMBER       C        N            -
                                        USE            DIAMETER      PERFORATIONS            AVAILABLE
                                                       (inches)         (feet)      (feet)

                      NA(~)                HA             MA                                    NO
                      NA                   NA             NA                                    NO


                      :: -,a
                     1977
                                           NA
                                           MA
                                       Irrigation
                                                          NA
                                                          HA
                                                          12
                                                                                                NO
                                                                                                NO
                                                                                                Yes
                     1972              Irrigation          8                                    Yes
                       NA                  NA             HA                                    NO
                    6/11/46                NA             12                                    Yes
                       NA                                 NA                                    NO
                       HA
                       HA
                     1961
                                       Irri a

                                        Domestic
                                                          ::
                                                          HA
                                                                                                NO
                                                                                                WO

                                                                                                NO
                      .NA                  NA             12                                    Yes
                       NA              Irrigation         NA                                    NO
                       NA              Irrigation                                               NO
                    6/08/48                NA                                                   Yes
                    4/30/86             Domestic           6                                    Yes
                Deepened 1960           Domestic          NA                                    NO
                     1960               Domestic          HA                                    NO
                     1963              Irrigation          8                                    Yes
                     1959              Irrigation         NA                                    NO
                     1977              Irrigation          8                                    Yes
                     1952               Domestic           8                                    Yes
                     1962               Domestic          HA                                    NO
                     1970               Domestic          MA                                    NO
                     1977               Domestic          NA                                    NO
                     1974               Oomestic          NA                                    NO
                     1977               Domestic          NA                                    NO
                     1977               Domestic           6                                    Yes
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                                                                                           TABLE 4
                                                                                        (Continued)



                                                        DATE OF                      UATER            CAStNC                            WELL LOG
                      WELL NUMBER                                                    -
                                                                                     USE             DIAMETER   PERFORATIONS            AVAILABLE
                                                                                                     (inches)      (feet)      (feet)

                                                                                    Domestlc                                               Yes
                                                                                    Domestlc                                               Yes
                                                                                    Domestic                                               NO
                                                                                    rrigation                                              NO
                                                                                    Domestic                                               NO
                                                                                    Domestic                                               Yes
                                                                                   Irrigatlon                                              NO
                                                                                   Municipal                                               Yes
                                                                                   Huniclpal                                               NO
                                                                                                                                           NO
                                                                                                                                           Yes
                                                                                                                                           Yes
                                                                                   lrrigatlon                                              Yes



                                                                                    Domestic            NA                       MA        NO
                                                                                       NA                                        NA        NO
                                                                                       NA               NA                       NA        NO
                                                                                   Irrigation           24                       24        NO
                                                                                   Irrigation            8                      llt        Yes




     NOTES:   1 ) From K n i g h t , Durkee,     and Banks (1956).
4             2 ) NA = Not A v a i l a b l e .
02            3 ) W e l l s were l o c a t e d b y f i e l d i n s p e c t i o n (Geosystern).
              4) Unable t o Locate a c c u r a t e l y ; n o t p l o t t e d on F i g u r e 5.
              5 ) Abandoned.
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                                                                                             TABLE 4
                                                                                          (Continued)



                                                       DATE OF                        UATER             CASING                            UELL LOG
                  UELL NUMBER                                                         -USE             DIAMETER   PERFORATIONS            AVAI'ABLE
                                                                                                       (inches)      (feet)      (feet)

                                                                                     Domestic                                      30        Yes
                                                                                     Domestic                                      22        Yes
                                                                                     Domestic                                      HA       .No
                                                                                     rrrgatlon                                     NA        NO
                                                                                     Domestic                                      65        No
                                                                                    Domestlc                                       58        Yes
                                                                                   lrrigation                                      25        NO
                                                                                   Municipal                                      108        Yes
                                                                                   Municipal                                       33        NO
                                                                                    Municipal                                      29        No
                                                                                                                                  104        Yes
                                                                                                                                  130        Yes
                                                                                    Irrigation                                    125        Yes



                                                                                     Domestic             HA                       HA        No
                                                                                        NA                                         NA        No
                                                                                        NA                NR                       NA        No
                                                                                    Irrigation            24                       24        NO
                                                                                    irrigation             8                      111        Yes




NOTES:   1 ) From Knight, Durkee,             and Banks (1956).
         2)   NA = Not A v a i l a b l e .
         3)   Wells were Located by f i e l d i n s p e c t i o n (Geosystem).
         4)   Unable t o l o c a t e a c c u r a t e l y ; n o t p l o t t e d on F i g u r e 5.
         5)   Abandonea.
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                                                               TABLE 5

                                                SUMMARY OF AQUIFER PARAMETERS
                                                           ZONE 1




PARAMETER                                                       -
                                                                VALUE                                 SOURCE



Aquifer type                                               Semi-confined                              B o r i n g togs, subsurface
                                                                                            p r o f i l e , f i e l d observations(')

Aquifer thickness                                                                           B o r i n g Logs, subsurface p r o f i l e

Hydraulic conductivity                                                                      See Table 3



Average h y d r a u l i c g r a d i e n t

E f f e c t i v e Porosity                                                                  Assumed

Ground water f l o w d i r e c t i o n :
  0n.site                                                    Southeast                      Uater Level d a t a
  Off..site                                                                                 Uater Level d a t a

Retardation factor                                                                          I T Cor.por.ation,     June 1985




NOTES:      1 ) The u a t e r . . b e a r i n g zone appears t o be confined.. I n AT.5, ground water uas encountered
                d u r i n g d r i l l i n g a t a depth o f about 13 f e e t and s t a b i l i z e d a t a depth o f about 6.0 f e e t .
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                                                                    TABLE 6

                                             SUMMARY OF PERMEABILITY TEST RESULTS




                                     PUMPING                   OBSERVATIOY         TESTED
TYPE OF TEST                                                      UELL         -   .- ZONE   PERMEABILITY
                                                                                               (cmlsec)




Pumping t e s t ( l 1                 CWP..7                      FPT-3            l & 2
                                                                  FPT..4           l & 2




Pumping t e s t c 2 )                   HL-7                      CUP , S            1

pumping t e s t ( ' )                 CWP,,18                     CUP.18




NOTES:      1 ) P e r f o r m e d by I T C o r p o r a t i o n .
            2 ) P e r f o r m e d by Geosystem C o n s u l t a n t s ,   Inc
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                                     TABLE 7

                    SUMMARY OF JAUUARY 1988 MOWITORIUG RESULTS




                     STATION NO.               TOTAL DISSOLVED CONCENTRATION
                         OR                               (ms/L)
 SAMPLE TYPE         SAMPLE 1.D.               CHROMIUM            BR

 surface Uater           NE
                         NU
                        C"100



 Ground U a t e r       CUP . 1
                        CUP-2A
                        CUP..2B
                        CUP-3
                        CUP-4A
                        CUP..4D
                        CUP ,. 5
                        CUP.6
                        CUP..7
                        CUP,.8
                        CUP.,9
                        CUP.11
                        CUP-12
                        CUP-13




                     P
                          P,.14
                          P,.15
                        C .16
                        CUP"l7

                        CUP.18
                        CUP.,20
                        CUP..21
                         U.7
                         AT.1
                         AT-2
                         AT-3
                         AP4
                         AV5
                        FPT,.2A
                        FPT.3
                        FPT..4
                        FPT.5
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                                                          TABLE 7
                                                        (Continued)




                                     STATION NO.                          TOTAL DISSOLVED CONCENTRATION
                                         OR                                                <ms/l)
 SAMPLE TYPE                         SAMPLE I.D.                          CHROMIUM                        ARSENlt
 Q u a l i t y Assurance/
 Q u a l i t y C o n t r o l Samples:

     Duplicates                      Duplicate A
                                     Duplicate B
                                     Dupticate C



     F i e l d Method                    FUB-1
     Blanks                              FMB..2




 NOTES:     1 ) The symbol " c ' denotes " l e s s t h a n ' t h e d e t e c t i o n l i m i t s i n d i c t e d .
            2 ) D u p l i c a t e s A,   B,   and C    represent      samples      from FPT..3,        CVP.2B.       and AT..2,
                respectively.
            3 ) F i e l d Method B l a n k s FMB,? and FM8-2 r e p r e s e n t u a t e r samples c o l l e c t e d from
                the b a i l e r a f t e r decontamination.
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                                                                TABLE 8

                                              TOTAL CHROMIUH I U AHBIEYT AIR
                                                    AT SELECTED LOCATIOUS
                                                   IU THE UNITED STATES(?)



                                                           TOTAL CHROMIUH CONC. (mg/m3)

                                                                                                                        MAXIHUM
                                                                                   ARITHMETIC                           OBSERVED
 LOCATION                                             YEAR
                                                      -                               MEAN                              VALUE(^)

 Los Angeles,             CA                          1977                             0.0188

 Grand Canyon N a t i o n a l
  Park, AZ                                            1977

 B a l t i m o r e , MD



 Steubenville,            OH                          1978
                                                      1978




 NOTES:       1) U n p u b l i s h e d d a t a f r o m 1977 t o 1980 in..the          N a t i o n a l A e r o m e t r i c Data Bank
                  m a i n t a i n e d b y t h e M o n i t o r i n g and Data A n a l y s i s D i v i s i o n of EPA, Research
                  T r i a n g l e Park, N o r t h C a r o l i n a .
              2 ) Values r e p r e s e n t maximum 24-hour average,.
              3 ) C o r r e c t e d f r o m M a r y l a n d S t a t e Y e a r l y A i r . Q u a l i t y Data Report, B a l t i m o r e ,
                   MD, March 1978.
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                                                TASLE 9

                                   CHROUIUII CONTENT OF SOIL AT
                            SELECTED LOCATIONS I M THE UNITED STATES(^)




                                                            CHROMIUM CONTENT ( o m or uslu)   ,
                                    SOIL
    LOCATION                   CHARACTERISTIC                  -
                                                               RANGE             MEDlAN
Pennsylvania               Agricultural surface and              NR                 14
                           subsoi 1

Peninsular Florida         Surface and subsoi l

Florida                    Surface and subsoil

Missouri                   On. and off-road soil

New Jersey                 Various soils

Michigan                   Various surface soils

~kiah(~)




NOTES:    1) Source: Towill et al.,   1978,.
          2 ) NR = Not Recorded.
          3 ) RWQCB
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                                                                                                                                  TABLE 10


                                                                                                                UATER OUALITY CRITERIA SURRARY


                                                               NOTE:       .This c h a r t i s f o r g e n e r a l i n f o r m a t i o n ; p l e a s e use c r i t e r i a documents o r d e t a i l e d
                                                                             summaries i n " Q u a l i t y C r i t e r i a f o r Water 1986" f o r r e g u l a t o r y purposes.



                                                                                                                                                                                                                             NO. OF
                                                                           CONCENTRATIONS I N u q I 1                                                                UNITS PER LITER                                         STATES
                                                                                                                                                                                                                             WITH
                                                     EPA                              FRESH             FRESH              MARINE           MARINE            WATER              FISH                 DRINKING               AQUAT 1C
                                   PRIORITY          CARCINOGENICITY                  ACUTE             CHRONIC            ACUTE            CHRONIC         AND FISH         CONSUMPTION              UATER      DATE        LIFE
  COMPOUND                         POLLUTANT          CLASSIFICATION(^)              CRITERIA                             CRITERIA          CRITERIA        INGESTION            ONLY                 M.C.L.     REFERENCE   STANDARD

  Arsenic                                  Y                     A                                                                                            2.2ng")           17.5ng(l)             0.05mg

  Arsenic (pent)                           Y                     A                     850(')              48")           2,319'~'            ~ 3 ' ~ )

  Arsenic ( t r i )                        v                     A                     360               190                   69             36


  Chromium (hex)                           Y                     A                       18                11                                 50              50ug


  Chromium ( t r ~ )                       N                     A                  :,700(~)             ~ I O ( ~ ' 10,300(~)                              170mg               3.433109              0.05mg


  Copper                                   Y                     D                                         d3)                   2.9

                                                                      %.




             1)       I n s u f f i c i e n t data t o develop c r i t e r i a .         Value p r e s e n t e d i s t h e Lowest Observed
mTEs:        2        Human h e a l t h c r i t e r i a f o r c a r c i n o g e n s r e p o r t e d f o r t h r e e r i s k l e v e l s .   Value p              i n t h e 1 0 - 6 RisK Level.
             3)       Hardness dependent c r i t e r i a (100 m g l l used).

m            4)       Group A denotes "human carcinogenal and Group D denotes "not c l a s s i f i a b l e . "

gference:         U.S.      Environmental P r o t e c t i o n Agency,              May 1, 1987, " a u a l i t y C r i t e r i a f o r Water 1986,"            Update #2, O f f i c e o f Water Regulations and Standards,
                  C r i t e r i a and Standards D i v ~ s r o n .

+I
m
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                                                TABLE 11

                                PUBLIC HEALTH PROTECTION STANDARDS




                                                  RECOMMENDED
                                                      OR
                          CHEMICAL                ESTABLISHED
      -
      MEDIUM            SPECIES/FORM               STANDARD                       -   -
                                                                                  REFERENCE

D r i n k i n g water       Cr.(VI)                 0 0 5 mgll         L.S.   P u b l i c H e a l t h Standards,
                                                                       1962



D r i n k i n g water     T o t a l Cr              0,.05 mg/t         NAS, 1974; U . S .     EPA, 1976



Workplace a i r         Carcinogenic
                        forms o f c r ( V 1 )



Workplace a i r         Noncarcinogenic         0.025 mg/m3 TUA        NIOSH, 1975
                        forms o f Cr(V1)        0.05 mg/m3 c e i l i



Ambient water



Ambient water                                      0..170 m g l l             EPA,   1980



Ambient A i r ( ? )                                0..15 ug/m3         CARS R i s k Value
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                                                        TABLE 1

i-.                                   ESTIMATED COST Or OW-SITE SOIL REMED1ATlON



                                                                                       ESTIMATED
                           bCT1VITlITASK                                                COST ($1

                  1.    rr*at*bllltv Study / oeslpn I Ptannlnp

                 2.     )loblllaatlon I Oemob~litmtlon

                 3.     Exeavatlon

                 4.     On-Slte treatment

                 5.     rleld Supervlalon

                 6. Sltc Reatoratlon

                 7. Health and Safety

                 I. Chenlcal Analyses

                 9.     Reportinp

                 10. Contlnsencfes



                                                          TOTAL ESTIMATED COST         412.400




      1) Trratablllty Study:        SSOlhr x 40 hrr   S2.000; expenses = Sl.000
         D*~l~nlPtmnlng:            tnplneer a t SSOlhr x 40 hrs = 82,000
                                    Supcrlntendtnt at S60lhr x 10 brs m s2.400
      2) Hobilfxatlon:              2 erew week8 with 2-man crew = 160 hrs x S401hr * S6,COo
         Oenoblllzrtlon:            t crew week ulth 2-man crew   = 60 hrs x S40/hr = $3.200
      3) Excavrt Ion:               sl.75/yd3 x 1.2 r 5,770 yd    = Sl2.l~~
                                    <Reference: Hean8 Slte Uork cost oat.,    1988, 7th ~ d i t t ~ ~ ,
                                    R.S. Reanr Company, Inc.)
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                                                                                                                   TABLE 12


                                                                                 ESTIllATED COST OF VARIOUS REIIEDlAL ACTIOW ALTERWATIVES
                                                                                           ( A l l amounts a r e i n thousands of d o l l a r s )


                                                      SOIL REMOVAL AND                      SOIL REMOVAL AND                          IN-SITU                PARTIAL EXCAVATION
                                                      OFF-SITE       O~SPOSAL               ON-SITE TREATMENT                       TREATMENT                OFF.SITE DISPOSAL                     CONTAINMENT              NO A C T I O N
                                                           ( 4 MONTHS)                            ( 1 YEAR)                         ( 2 YEARS1                  ( 4 MONTHS)                          ( 2 YEARS)             1 2 YEARS)

    OeslgnlControl                                                 I0                                   ~ ~ ( 1 1                        NA(~)                            5
    Mobilization

    Excavation

    Transportationloisposal

    H e a l t h and S a f e t y

    Supervision

    S i t e Restoration

    Contractor P r o f i t

    L a b o r a t o r y Costs

    Report l n g




m
0   NOTES:      1 ) NA denotes Not A v a i l a b l e ;          c o s t depends on d e s i g n r e q u i r e m e n t s


m               2 ) A s p h a l t removai.
                3 ) Treatment o n l y .

4               4 ) W e l l deveiopers, samplers.
                5) A l l c o s t s a r e e s t i m a t e s and a r e i n t e n d e d t o p r o v ~ d er e l a t ~ v ec o s t comDarisons f o r r e m e d i a t i o n a l t e r n a t i v e s .   I n f l a t i o n factor
                   i s n o t considered.
                6) Excluding deslgn costs.

m               7) E x c l u d i n g d e s i g n and f i e l d t e s t i n g c o s t s .
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                                                                                     TABLE 13

                                                                       G R W W D WATER TREATMENT TECHNOLOGIES




                                                                                      PROBABLE COST (B)
                                                                                       BASED ON 20 GPM
TECHNOLOGY                                                                                          0 & M                             COMMENTS

E l e c t r o c h e m i c a l Process          R e l i e s on p r o v e n                LOW       19,500       By f a r t h e most e f f e c t i v e t e c h n i q u e f o r
                                                    technology                                                  removing C r ( V I ) from ground u a t e r ; d e p l e t e s
                                                                                                                Cr(V1) c o n t e n t o f ground u a t e r t o EPA
                                                                                                                c o m p a t i b l e Level.

Chemical R e d u c t i o n and                  R e l i e s on p r o v e n           224,000      192,000       T h i s process generates a Large volume o t
Preclpltation                                        technology                                                 sluage which must be p r e t r e a t e d and
                                                                                                                disposed.

Chemical P r e c i p i t a t i o n u i t h      R e l i e s on p r o v e n           192,000       64.000       E f f e c t i v e n e s s l i m ~ t e d : low removal
Sedimentation o r F i l t r a t i o n          technoiogy; l i m i t e d                                        efficiencies are reported i n Literature.
                                                installation far
                                                chromium removal.

A c t i v a t e d Carbon A d s o r p t i o n    R e l i e s on p r o v e n            50.000      328,000       Effectiveness limited.
                                                     technoiogy.

I o n Exchange                                  R e l i e s on p r o v e n            84.000          000       High r e g e n e r a t i o n cost:    fluctuating
                                                     technoiogy.                                                effluent quality.

Reverse Osmosis                                 R e l i e s on p r o v e n           400,000      150,000       Generates a c o n c e n t r a t e d stream,          10 t o 25
                                                     technology.                                                p e r c e n t o t t h e f e e d voiume, u h ~ c hmust be
                                                                                                                t r e a t e d f u r t h e r bv secondary t r e a t m e n t and
                                                                                                                h i g h cost.


                                                R e l i e s on p r o v e n            85 :OOO      11.000       Memnrane f o u l i n g and c l o g g i n g b y r e s i d u a l
                                                     technoiogy.                                                colloidal o r g a n i c m a t t e r i n ground u a t e r :
                                                                                                                may r e q u i r e more s k i l l ana c a r e t h a n o t h e r
                                                                                                                systems d i s c u s s e d i n t h i s a p p l i c a t i o n .
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                                            TABLE 1 4

                         REMOVAL OF CHROHIUM BY EL.ECTROCHEMICAL PROCESS




           INITIAL         RESIDUAL
           CHROnlUn        CHROWlUH          REMOVAL
A        CONCENTRATION   CONCENTRATION      ---
                                            EFFICIENCY                                COMMENTS
            (mg/l)          (mg/l)             (X)

                              0.1             99.94          30 minute, c u r r e n t d e n s i t y i =         0.0085   ~/cm'     :
4..0          195

6.8           180             O..O&           99 97                                     n t d e n s i t y = 0.007 A/cm2

7.7           150             o..o          ~-1oO..o                                    n t density         =   0 . 0 l l A/cm2

8..8          185             0.06            99.96           0 minute, c u r r e n t d e n s i t y         I   0.012 ~ / c m '

7.6           175             0.1             99.94          60 m i n u t e , c u r r e n t d e n s i t y   =   0.0085   !+fcrn2

8..9          188             0.18                           50 minute, c u r r e n t d e n s i t y = 0.011 A/cm2
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                                                                        TABLE 15

                                          CITY OF UKlAH UASTEYATER TREATMENT PLANT
                                     MONITORIWG PROGRAM FOR COAST UOOD PRESERVIYG, IWC.
                                                       DECEMBER 1987




1.       YWTP BACKGROUND SCAN, ANNUALLY, PRIOR TO CUP DISCHARGE

         LOCAT ION                                                          FREQUENCY

       A) I n f l u e n t                                           2 a t 1 week i n t e r v a l
       B) Pr.i. S e d ~E f f l u e n t ( w a t e r )                2 a t 1 week i n t e r y a l
       C ) P r i . S e d ~E f f l u e n t ( s l u d g e )           2 at    1 week i n t e r v a l
       D) F i n a l E f f l u e n t ( w a t e r )                   2 at    1 week i n t e r v a l
       E) Sec.       Sed. ( s l u d g e )                           2 at    1 week i n t e r v a l
       F) D i g e s t e r                                           2 at    1 ueek i n t e r v a l
       G) Sludge Lagoon                                             2 at    1 week i n t e r v a l




2.     UWTP, DURING DISCHARGE

       LOCATION                                                             FREQUENCY          "
       A)   Influent
       8)   P r i . S e d ~E f f l u e n t ( w a t e r )
       C)   P r i , , Sed.. E f f l u e n t (
       D)   Final Effluent tuate                                    Twice p e r week
       E)   Sec. Sed. ( s l u d g e )                               Weekly
       F)   Digester                                                weekly




3      CUP, ON,S!TE          BATCH SCAN BEFORE DISCHARGE


       -   -
       LOCATION                                                             FREQUENCY

       A) H o l d i n g Tank                                        Each b a t c h




NOTES:      1) A    = BOD                                   F =      arsenic                         K   = coliform
                B   = pH                                    G =      copper                          L = COD
                C   =   settleable solids                   H =      v o l a t i l e acids           M   = sulphate
                D = NFR                                     I=       total alkalinity                N   =   96-hour b i o a s s a y
                E = t o t a l chromium                      J   =    pH ( s l u d g e )                       (stickleback)
                                                                                                             See S e c t 3706G ( 1 ) o f
                                                                                                             C i t y Code.,
                                                     IABLE 16
                 Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 394 of 708
                                                                             Iternatives: Soils




  Ht.No. 1          Yes, would elirni- May not          Effeethre   No               million IfAlt. 2 is not feasible at
  Soil ~ e m o d nate s o m e of       comply                       of T.M. Br               ttme of closure DHS will
  (excslsation)& contamlnatlon.         with                        V.=                      have to reconsider this
  off-eite disposal                     LPR2                                                 option Does not seem to
                                                                                             be promising due to land
                                                                                             dfsposal sestrictions.


AIt. No, a             Yes, if treatibili    1 Yes      Et6ecth.e    Sfgnincant 1.0 millton This is the favored option
Soil removal           studies pmve                                 reduction of            by DHS,pralded tech-
[ercavation) Br o      fea~ible.~                                    T.M. & V.              nologv is feasible.
site asposal.


AIL. No. 3             Yes, if treatibilil                                                  DHS acceptance is less
                       studies prove                                                        than Alt. No. 2. due to
                       fea~ible.~                                                           current@unpmven
                                                                                            technologies.
                                                                                            -----.---

 Ale. No. 4            Ovemll pnotec- May not ~es;aMfe*                          420.W DHS acceptance is low.
                       Uon &om this     CompfY                                         eontamlnauts are not
                       Alt. would be     wrth                                          remwed. Land disposal
                       less than alter-  EW                                            restrrtions may apply.
                       nattves 1.2. & 9



                       :apping the site       No     Less Effective No reduction ll0.000
                                                                                   .     This presents the greatest
                       vlth asphalt wil:                            ofT.M.&V                potential of release of
                       lot reduce                                                           contaminants if cap fails.
                       nobility of                                                          Does not result in a
                       :ontaminants                                                         permanent solution.

                                                                                                           ---
AIt. No. 6                  Alt. would                                                     This is not accepted by
No a f t l o n         lot reduce                                                          DHS. Contaminated so*
                       tresent or futun                                                    would not be treated or
                       Zjlosures to                                                        remwed
                       hrorulum B er-
                       cnlc. Threat to
                       ruman health
                       dts.
                                     TABLE 1 7
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 Alternatives &
 Descrfptlone
                                                                                                Acce~taaee.




 Alt. No. 1          Yes, keeps the       Yes      Effecttve    Reduces M     Already This is the favored option
 Physical            groundwater                                              fmple- by DHS along with
 Containment         plume confined.                                          mented groundwater extraction &
                                                                                      treatment.

 Mt. No. 2         Maybe. &at-
 In-sltu treatment ment is not a
                                          No      Unknmn         own           ~ o t This is not a proven-tech-
                                                                             available nology and not accepted
                   proven technol-                                                      by DIE.




Mt. No. 3                                                                               ThIs is the favored option
                                                                                        by DHS, along with
@zoundwste~                                                                             physical containment.
extraction %i
treatment)                                                     with physl-


                         ----.--                                                            ----
                                                                                       .- -..

WTt. Pdo. 4         Maybe, technol-      No       uhown        Unknown         Not     Tkis is not a pxoven
Electrokinetic      ogy is stiU in                                           available technology at this m e .
treatment           developmental                                                      Not acce~tedbv DHS.



at.No. 8                                                                               This is not accepted by
No Action      :    not reduce                                                         DHS. Contaminated
               C
                                                                                       groundwater would not be
                                                                                       treated or. removed.




                                                               LARRARs) pursuant to the resource convervatlon
                                                              and pwnwy act IRCRA) of 1976.
                                                           3. Treatment technologies will be evaluated prior to
1. All remedial action alternatives will require long.        implementation of the selected remedy.
   term monitorm& In addition. Superfund Amend-            4. Coast Wead Preserving wlll be required to set up
   ments and Reauthorization Act (SARA) of 1986               a trust account. Suniclent funds wlU be available
   r e q u k s xwiew of the remedy eKectbeness every          for the proposed remedial action alternative.
   5 years.                                                5. Removal or excavation does not reduce the toldc-
2. Land disposal restrictions (LDRJ are an applicable         lty, mobility or volume The waste is relocated to
   or revelant and appropriate requirements                   another site.
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                                                                                                   SCALE

                                                                                    0               2000                4 0 0 0 FEET



                                                                        REFERENCE:
                                                                                        -
                                                                        B A S E M A P 7.5 M I N. U S G.S (TOPOGRAPHIC)
                                                                        S E R I E S E L L E D G E P E A K AND UKIAH QUADRANGLES
                                                                        DATED: 1 9 5 8 , P H O T O R E V I S E D : 1975, SCALE 1 2 4 , 0 0 0




                                                                                                            FIGURE I


                                                                                                  SITE LOCATION MAP



                                                                                             COAST WOOD P R E S E R V I N G , INC
                                                                                                 UKIAH, C A L I F O R N I A
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                                                                                                                 LEGEND

                                                                                                                           4 R Z C T I O N *ELL

                                                                                                                            MONITORING       WELL



                                                                                                                           I N J E C T I O N WELL



                                                                                                                           SOIL BORING




                                                                                                                           A S P H A L T BERM



                                                                                                                          C U T OFF WALL



                                                                                                                          SURFACE DRAINAGE AND DIRECT~ON



                                                                                                                          SURFACE     STRUCTURE




                                                                                                                          SUBSURFACE       PROFlLE


                                                                                                                          STORM WATER MONlTORlNG LOCATION



                                                                                                                          U W M DSlRFM




                                                                                                                                              FIGURE   2




                                                                                                                                  SITE AND VICINITY
                                               REFERENCE
                                                PORTH COUNTIES ENGlNEERlNG CO U K l A H . C A L l F O R N l b
                                                 TOPOGRAPHIC S U R V E Y ' SWEET I OF 2 SCALE I INCH:
                                                3 0 FEET. A N 0 S H E E T 2 OF 2 S C A L E I t N C H = SO FEET             COAST WOOD PRESERVING, INC
                                                APRIL 1984                                                                     UKIAH, CALIFORNIA
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                                                                                       KEY TO LAND USE

                                                                           ACC    .-    CROPLAND
                                                                           AR     -     AGRICULTURAL-RELATED FACILITIES
                                                                           ARE    -     AGRICULTURAL EQUIPMENT STORAGE
                                                                           AVF    -     FRUIT AND NUT TREES
                                                                           AVV    -     VINEYARDS
                                                                           FO     -     FORESTED LAND
                                                                           UCB    -     BUSINESS, PROFESSIONAL
                                                                           UIF    -     FOOD PROCESSING
                                                                           UIL    -     LUMBER MILLS AND STORAGE
                                                                           UOV    -     VACANT OR CLEARED
                                                                           URH          MOBILE HOMES
                                                                           URS    -     SINGLE FAMILY RESIDENTIAL
                                                                           UUS    -     SEWAGE PLANTS
                                                                           UUT    -     TRANSPORTATION
                                                                           WAR    -     RESERVOIRS




                                                                                                 SCALE

                                                                                   0             2000               4000 F E E T



                                                                        REFERENCE:
                                                                        B A S E M A P - 7.5 M I N. U S G.S (TOPOGRAPHIC)
                                                                        S E R I E S ELLEDGE P E A K A N D U K I A H QUADRANGLES
                                                                        DATED: 1 9 5 8 , P H O T O R E V I S E O : 1975, SCALE 1:24,000
                                                                        LAND USE FROM H ESMAlLl 8 ASSOCIATES, INC,
                                                                        AUGUST 1981, AND AERIAL PHOTOGRAPHS DATED4-22-84




                                                                                                        FIGURE 3
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                                                                        LEGEND:

                                                                             @         WELL    LOCATION ( A P P R O X I M A T E )

                                                                                       GROUND WATER CONTOUR, FEET MSL
                                                                                       (DASHED WHERE APPROXIMATE)




                                                                                                  SCALE

                                                                                   0              2000                4000 FEET



                                                                        REFERENCE:
                                                                        B A S E M A P - 7.5     MI N. u s G s (TOPOGRAPHIC)
                                                                        SERIES ELLEDGE P E A K A N D U K I A H QUADRANGLES
                                                                        DATED: 1 9 5 8 , PHOTOREVISED: 1975, SCALE 1.24.000
                                                                        GROUND WATER CONTOURS FROM "GROUND-WATER
                                                                        RESOURCES I N MENDOCINO COUNTY., CALIFORNIA'!
                                                                                                                . - .
                                                                        USGS; WATER-RESOURCES INVESTIGATIONS R E P O ~ T
                                                                        8 5 4 2 5 8 , JULY 1 9 8 6




                                                                                                          FIGURE 4




                                                                                         WATER-PRODUCING WELLS A N D
                                                                                       REGIONAL GROUND WATER CONTOURS


                                                                                              COAST WOOD PRESERVING, INC
                                                                                                  UKIAH, CAL.IFORNIA
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                                                                                              LEGEND



                                                                            El      Cnntrnentol T e r r a c e Deposits, U n d i f f e r e n t i a t e d



                                                                                    Younger Conttnentol TerraceDepasiis



                                                                            IQto    Older Continental Terrace Deposits



                                                                                    Conttnentol 8asm Oeposiis



                                                                                    Franciscon Complex-Coasid B e l t




                                                                            -
                                                                                    F r a m s c a n Complex-Central Belt


                                                                                    Cmtoct, dashed where approxtmate




                                                                                                       SCALE

                                                                                     0                 2000                    4000 F E E T



                                                                            REFERENCE:
                                                                                         -
                                                                            B A S E M A P 7 5 M I N. U S G S (TOPOGRAPHIC)
                                                                            SERIES      ELLEDGE P E A K AND U K I A H QUADRANGLES
                                                                            DATED: 1 9 5 8 , PHOTOREVISED: 1975, SCALE 1:24,000
                                                                            GEOLOGY FROM "GROUND-WATER RESOURCES IN
                                                                            MENDOCINO COUNTY, CALIFORNIA",USGS        WATER-
                                                                        ;   RESOURCES INVESTIGATIONS REPORT 85.4258, JULY 1986




                                                                                                                  FIGURE 5


                                                                                                     REGIONAL GEOL.OGY



                                                                                                 COAST WOOD PRESERVING, INC
                                                                                                     UKIAH, C A L I F O R N I A
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                                             Franciscan Complex
                                               basement rocks
                                        --           -.           --
                                               Not to Scale




                                                                                    FIGURE 6


                                                                            - ..-
                                                                        . .-.
                                                                   SCHEMATIC SECTION           THROUGH
                                                                            UKlAH VALLEY

                                                                       COAST WOOD PRESERVING, INC
FARRAR, C D , JULY I ~ ~ ~ , " G R O U
                                     WATER
                                       N D RESOURCES
                                                                           UKIAH, CALIFORNIA
IN MENDOCINO COUNTY, CALIFORNIA," USGS, WATER-
RESOURCES INVESTIGATIONS REPORT 8 5 - 4 2 5 8 , FIGURE 5


                                       -
                                               Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 402 of 708




          '    -3p SOIL




                                               . . ..
                                                   !tEMEST GRAM..
                                   CLAY
                                                                                                      SAND. ORAWL & ROCKS    I: j :
                                                                                                                             ;. .,.J
                                                                                                                             r:.:!
                                                                                                                             ..;::..'
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                                                                                                                             I.' ::.
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                                                                                                                             r . :




c
    -   YERYCAL SCALE
         #
         -
         '-
               30                Et   FEET
                                                                    LECENC                 NTES:
                                                                                           1    THE DEPTH AND THICKNESS OF M E SJBSURFACE STRATA
                                                                     SAND AND/OR   GRAM?       INDICATED ON TiiE SECTIONS W E INTEUPOLAIED BETWGN
                                                                                               AND GENERALZIED        FROM AVAIxLE   D i l l u R ' S LOGS
                                                                                               INFORMATION ON ACTUAL SUBSURFACE CONDITIONS
    H O R : Z 3 N i k L SCALE
                                                                     CLAY AND SANE,!           i k i S T S ONL.Y AT THE LOCATtON OF Trif BORiNGS AND
                                                                     CL.AY AND GRAVEL          IT IS P o s n B E THAT SUBSURFACE COND!TIONS BEMEN
C             1500              3 C 3 0 FEE!                                                   THE BORINGS MAY VARY FROM THOSE INDICATED,

                                                                                               WPROMMATE GROUND SURFAZE i i V A 6 0 N S FROM
                                                                                               USC:   7.5 M!NJTE SERIES (T0POGRAiH:C) PLEDGE PEXK. CALiF
                                                                                               D A E E 1958, PHOTOREWSS 12.5
                                                                                               SCIILE = 1:2400C                                               R E G I O N A L GEOLOGIC
                                                                                                                                                                   SECTION    I-r            I
                                                                                                                                                            COAST W O O D PRESERVING, INC
                                                                                                                                                                UKIAH, C A L I F O R N I A
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I
      LEGEND

                                                                                          FIGURE 5


                                                                            SUBSURFACE PROFILE A-A
                                                                             C O I S T W O O i PRESE4ill.iG   I.:
                                                                                     UKIAH C&LIFORNlA
                            Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 404 of 708




                                                                                      TAYLOR
1
                                 COA'T   !??[)   PRESERVING   INC            ..       DRIVE        --       . Pti0L)IIZIS
                                                                                                        FOREST
                                                                                                         .--.              -T R A N S P O R T A T I O N
                                                                                                                     I
                                                                                  I            I                     I
                                                                                                                     I
                                                                                  I            I                     I
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         s   11

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       -r
         E IJE V I
      I~HO



                                                                    CWP.12        I            I
                  CLAYEY S L T
                  TRACE GRAVEL
                                                                                                                                                           NO
                                                                                                                                                           F P TLOG
                                                                                                                                                                 -28   FPT-ZC
                                                                                                                                                                       NO LOG




                  DENSE. SPiNDS AliD GRAVELS




,-
 J
 VI
 I




                                                                                                                         HOR1ZONTI)L S C L E


                                                                                                           0               50               $00           150 FEET

                                                                                                                                                                                          2,
                                                                                                          3                                 10             15   FEE1


                                                                                                           NOTES                                                                SUBSURFACE PROFILE 5 - B
                                                                                                           I   THE   UErln AND THICI<NESS OF THE SUBSURFKt
                                                                                                               5 7 R i l T A INOIC~TEDON TME SECTIONS WERE WTEH
                                                                                                                                                                                 C O A S l W O O D PRESERVIIJG IN;
                                                                                                               POLkTEDBETWEEH ANDGEMRALIZEOCROM
                                                                                                               i r l i l L A 8 L E DRILLERS LOGS   INFORMATION ON OCTUXL                  UKIAH CALIFORNIA
                                                                                                               SUBSURFACE CONDITIONS EXISTS ONLY &? THE
                                                                                                               LOCaTION W THE BORINGS &ND I T 15 POSS8LE 1HhT
                                                                                                               SUBSURFACE CONDITIONS BETWEEN THE BORING$ MkI
                                                                                                               VARY FROM THOSE WOICOTED
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 405 of 708




                                                                                                                               F I G U R E 10


                                                                APPROXIMATE SCALE
                                                                                                                    GROUND WATER CONTOURS
                                                          o          ac         160        2 4 0 FEET
                                                                                                                      ZONE I-JANUARY 1 9 ~ 7
                                                BEEEBU(IL
                                                M R T H COUWTlES ENGIUEERING CO " X I A H . C d L l F O R N l t i
                                                 TOPOGRAPHIC SURVEY. SHEET I OF 2 SCALE I MI(.
                                                APIIL       . AND S U E E T 2 OF 2 S C L L E I INCH. 5 0 F E E T
                                                3 0 F E E T,984                                                     COASTUKIAH.
                                                                                                                          WOOD CPRESERVING,
                                                                                                                                 A L I F O R N I A INC
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                                                               -
                                                                                                                               F I G U R E II


                                                                   APPROXIMaTE S C ~ L E
                                                                                                                     S O ' L SAMPLING LOCATIONS AND
                                                                                           .:3
                                                              0        80        160       240 FEET                     APPROXIMATE EXTENT OF ARS


                                                      jiORTH COUNTIES ENGINEERING CO UI (AH. C A L I F O R N , ~
                                                        TOPOGRAPHIC SURVEY' SHEET I OF i SCALE I ( N C ~ ~
                                                      3 0 FEET. AN0 S H E E T 2 OF 2 . S C A L E I INCH. 5 0 pEET,      OAST WOOD PRESERVING, INC
                                                      APRIL. 1984 ARE4L EXTENT OF N E m SURFACE C H R O M ~ ~ ~
                                                                                                                           UKlAH CALIFORNIA
                                                      IN S O L FROM 0'4PPOLONIA. MAY 1984 ~ ~ G U R5E
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                                                                                                              LEGEND:

                                                                                                                  6


                                                                                                               .k,,,-




                                                                                                                                 FIGURE 12



                                                              APPROXIMATE SCALE
                                                                                                                        DISSOLVED TOTAL CHROMIUM
                                                         0        80         160       2 4 0 FEET                           ISOCONCENTRATIONS
                                          \\
                                                fcmx!&L
                                                WORTH COUNTIES ENGtHEERIWG CO UX1bH. C I L l F D R N l A
                                                .TOPOGRAPHIC SURVEY. SHEET I OF 2 , SCALE I I N C H -
                                                30 FEET. *NO S H E E T 2 OF 2 S C A L E I INCH. 5 0 F E E T
                                                                                                                         COAST WOOD PRESERVING, INC
                                                APRfL 1984                                                                   UKIAH. CALIFORNIA
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               \$                                                                    LEGEND:




                                                                                                        FIGURE 13


                                                                                               DISSOLVED TOTAL CHROMIUM
                                                       0    00
                                                                                                  ISOCONCENTRATIONS
                                                                 160    2 4 0 FEET
                                                                                                      APRIL 1987

                                                                                                         I
                                                                                               COAST WOOD PRESERVING, I N C
                                                                                                   UKIAH, CALIFORNIA
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                                                                                                                    LEGEND

                                                                                                                       9




                                                                                                                                      FIGURE   14


                                                                                                                             nlSSOLVED 'TOTAL CHROMIUM

                                                                 7
                                                                 0
                                                                  ,   APPROXIMATE SCALE

                                                                          80                  60240 F E E T
                                                                                                                                                         %

                                                         NORTH COUNTIES ENGlNEERlNG CO UKIAH. C A L I F O R N I A
                                                                       S H E E T 2 SHEET
                                                           0 FEET. AND SURVEY'
                                                        3.TOPOGR&PWC                     I OF 2 I SCALE
                                                                                   OF 2 SCALE     INCH. 5I0INCHi
                                                                                                            FEET
                                                                                                                                   UKIAH, CALIFORNIA
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 410 of 708




                                                         FIGURE 15


                                                DISSOLVED TOTAL CHROMIUM
                                                       VERSUS 11ME


                                                 COAST WOOD PRESERVING. INC
                                                      UKIAH. CAL.IFORNiA
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        Sep- 82    Oct-83    Nov-84    Dec- 85   Jan-87         Feb-88        Apr-89




                                                              FIGURE 16


                                                 DISSOL.VE'D rOTAL CHROMIUM
                                                         VERSUS TIME



                                                          UKIAH, CALIFORNIA
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                                                             FIGURE 17


                                                 DISSOLVED TOTAL CHROMIUM
                                                        VERSUS TIME

                                                             t
                                                   C O A S T WOOD PRESERVING, INC
                                                            UKIAH. CALIFORNIA
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                                T I M E , days




                                                              F I G U R E 18


                                                 DISSOLVED T O T A L CHROMIUM
                                                  VERSUS TIME, W E L L CWP-8


                                                 COAST WOOD P R E S E R V I N G , I N C
                                                       UKIAH, CALIFORNIA
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                                                                                                                  LEGEND




                                                                                                                    -3     EXISTING PIPELINE SHOWING DlAMETER
                                                                                                                           iiND DiRECTlON OF FLOW

                                                                                                                           CONTlNGENCl PlPELiNE FOR POSSIBLE OFF-
                                                                                                                   ---
                                                                                                                     3
                                                                                                                           SliE REMEDIATION. SHOWiNG DI&METER

                                                                                                                           AND DlRECTlON OF FLOW




                                                                                                                                             F I G U R E 19


                                                                                                                           GROUND W A T E R E X T R A C T I O N I
                                                                   I Z P F R O X I M A I E SCALE
                                                                                                                                  TREATMENT
                                                             0          80             160         240 F E F



                                                    REFERENCE
                                                    NORTH COUNTIES ENGiNEERiNG CO "*>AH. C A : . ':'VIA
                                                    "TOPOGRbPHlC SURVEY' SHEET i O F 2 S C A L E         '.Cli;                COAST WOOD P R E S E R V I N G . I N C
                                                    3 0 F E E T . AND S H E E T 2 OF 2 SCALE i INCH. 5 : 'EET                       UKIAH CALIFORNIA
                                                    APRIL 198'
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                             APPENDIX A
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                               APPENDIX A




1971                        Coast Wood Preserving, Inc. (CWP) begins
                            wood preserving operations at the site.
January 31, 1972            The County raises questions about the
                            discharge of chemical preservatives from
                            the CWP site via rainwater runoff.
February 23, 1972           The Department of Fish and Game (DFG)
                            notifies the California Regional Water
                            Quality Control Board, North Coast
                            Region (RWQCB) that wood preservatives
                            are being discharged from
                            to the Russian River.
March 28, 19'72             RWQCB staff request a repord of waste
                            discharge from CW
                                              2.
April 17, 1972              The RWQCB Execu     e Officer issues
                                                ent Order No. 72-29 to

April 26, 1972                        adopts Order No. 72-22 which
                                           Discharge Requirements
                            for the CWP site.
                            Because of non-compliance, the RWQCB
                            Executive Officer requests that the
                            Attorney General petition the court to
                            issue an injunction requiring immediate
                            compliance with 01der No. 72-29.
                            RWQCB staff request that CWP store
                            treated wood on asphalt-paved surfaces
                            during the winter months.
January 9, 1973             Court orders CWP to install storage
                            facilities to contain contaminated
                            rainwater, originating from the wood
                            storage area, by January 15, 1973.
January 15, 1973            CWP complies with court order.
March 25, 1974              RWQCB staff requests a spill contingency
                            plan pursuant to Order No. 74-38.
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May 2, 1975                 The RWQCB Executive Officer rescinds
                            Cleanup and Abatement Order No. 72-29.

April 4, 1979               RWQCB staff observe CWP1s expansion
                            activities and request a new report of
                            waste discharge.
May 24, 1979                CWP indicates that no wastes are
                            discharged; therefore, a report of waste
                            discharge is not applicable.
April 17, 1980              Public concerns are expressed through
                            RWQCB about wastes being discharged from
                            the CWP facility.
June 13, 1980               RWQCB staff inspect the C
                            identify the potential fo
                            and surface water contami
                            Surface water samples are
August 6, 1980              sampling result               wood
                            preserving                   be contami-
                            nating
September 16, 1980          RWQCB    ff request a technical report
                            to de    ine the cause of the surface
                            disch     and the extent of contamina-
                            tion, including that in ground water.
October 28, 1980            CWP requests a meeting to discuss the
                            RWQCB'S evaluation of potential
          n                 contamination.
                            CWP seeks professional consulting
                            services.
November 17, 1980           RWQeB staff meet with CWP representa-
                            tives who request an extension to the
                            deadline for developing the technical
                            report .
                            RWQCB staff identify the northeast
                            portion of the facility as the area of
                            key concern.
November 21, 1980           RWQCB staff sample runoff from treated
                            wood on asphalt near culvert.
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November 25, 1980           RWQCB staff extends deadline for receipt
                            of proposal for technical report until
                            December 1'7, 1980.
November 26, 1980           The results of analyses of storm water
                            samples, collected by RWQCB staff on
                            November 21, 1980, indicate the presence
                            of wood preserving chemicals.
December 15, 1980           CWP provides technical study proposal
                            requested on September 16, 1980.
January 14, 1981            RWQCB staff request that the study
                            proposal be expanded to include sampling
                            of surface flow and storm water runoff.
                                                              "


February 9, 1981            Laboratory results of storm water and
                            stream water samples colle
                            staff on January 23, 1981
                            continued discharge.
                            RWQCB staff me      ith CWPts consultant
                            on technical s       and indicate need for
                            early results
February 20, 1981.                    ff notices a Cease and Desist

March 20, 1981                       ff obtain storm water discharge
                            samples from CWP which indicate that
                            elevated levels of chromium, copper, and
                            arsenic are being discharged during
                            rainfall events.
March 10     4, 1981        Draft RWQCB Cease and Desist Order
                            requirements, including measures for
                            control of ground water and storm water
                            discharges, are forwarded to CWP.
March 1.9 and 20, 1981      H. Esmaibi & Associates, Inc. (HEA)
                            installs ground water monitoring wells
                            CWP-1 through CWP-6.
March 26, 1981              RWQCB adopts Cease and Desist Order No.
                            81-61, requiring CWP to cease the
                            discharge of wood preservatives to
                            ground and surface waters no later than
                            September 15, 1981.
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April 10, 1981             CWP submits information to the RWQCB in
                           partial compliance with the first task
                           of the Cease and Desist Order, requiring
                           implementation of interim pollution
                           control measures.
April 20, 1981             Preliminary monitoring results from
                           Wells CWP-1 through CWP-6 indicate
                           ground water contamination by chromium.
April 27, 1981             CWP approaches the City of Ukiah (the
                           City) for permit to discharge untreated
                           wastewater to sanitary sewer system.
April 29, 1981             CWP submits information to the RWQCB in
                           partial complidnce with that portion of
                           the Cease and Desist Order requiring
                           proposals or remedies for    rm water
                           discharge control.
May 15, 1981               RWQCB staff meet with CWP ark% tenta-
                           tively agree on    trol measures. RWQCB
                           staff indicate    t discharge to sewage
                           treatment plant    hout pre-treatment is
                           not feasible,
May 28, 1981                          refuses to accept CWP waste-
                                      sanitary sewer system.
June 12, 1981              RWQCB staff are informed, in a meeting
                           with CWP, that previously proposed
                           control measures cannot be implemented
                           and an alternative, ion exchange, method
                           for wastewater treatment is being
                           considered. RWQCB staff ask for a plan.
         V
June 25, 1981              RWQCB staff ask that a plan on ion
                           exchange wastewater treatment process be
                           submitted by July 6.
July 6, 1981               CWP does not submit requested plan.
                           The RWQCB again requests plan for
                           wastewater treatment, to be received
                           within 10 days of RWQCB letter. RWQCB
                           also reminds CWP of the September 15,
                           1981 deadline, whereby all ground water
                           and surface water discharge must be
                           eliminated.
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August 6, 1981              The RWQCB receives letter from CWP
                            providing a brief description of the ion
                            exchange process. RWQCB staff judge
                            this submittal to be an insufficient
                            plan. CWP indicates it intends to meet
                            the September 15, 3981 deadline.

August 26, 1981             HEA issues report entitled "Investiga-
                            tion of Ground Water P~llution.~~
August 28, 1981             CWP finds ion-exchange wastewater
                            treatment process is inefficient in
                            testing. CWP proposes a new interim
                            measure to control and treat contami-
                            nated stdrm water, but does not provide
                            full details to the RWQCB.
September 14, 1981          CWP provides results of HE
                            study to RWQCB staff whic
                            contamination by-hexavale
September 15, 1981         RWQCB staff judg   hat the measures
                           implemented to     ent discharge of wood
                           preserving che     s to soil, storm
                                    d ground water are inadequate
                                     the case to the Attorney

September 22, 1981         RWQCB staff meet with CWP to specify

                      6    their informational needs. The
                           information is to be provided by
                           October 1, 1981.
                           CWP proposes ground water extraction
                           wells along the eastern site boundary.
September 24, 1981         CWP indicates in a telephone conversa-.
                           tion with RWQCB staff that the technical
                           information requested on September 22,
                           1981 is being submitted.

September 28, 1981         RWQCB staff outline CWP's responsibili-
                           ties in a letter.
October 2, 1981            CWP submits a plan to RWQCB.       Plan is
                           judged inadequate by RWQCB.
October 12, 1981           CWP submits revised plan to RWQCB.
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October 19, 1981             RWQCB staff send letter to CWP detailing
                             plan inadequacies.
                             CWP installs extraction wells CWP-7,
                             CWP-8, and CWP-9.
November 9, 1981             RWQCB staff install off-site monitoring
                             wells (FPT-lA, FPT-lB, FPT-ZA, and
                             FPT-3) some of which confirm off-site
                             ground water contamination.
November 11, 1981            CWP ceases the discharge of ground water
                             from extraction wells to surface
                             drainage ditches at the request of the
                             Attorney General.
November 17, 1981            CWP meets with RWQCB staff and presents
                             plans; RWQCB outlines
                             information and timely act
November 20, 1981            CWP submits new plan.          \
December 1   -.   18, 1981   RWQCB and Deput      torney General
                             determine that      eat of discharge to
                             the Russian Riv
December 18, 1981                     ues preliminary injunction at
                                      torney General's request
                                      ting CWP1s proposals of
                             November with agency modifications.
January 13, 1982             RWQCB staff send letter to CWP pointing
                             out delays and urging timely effort in
                             ground water investigation; RWQCB staff
                             suggest a meeting to help resolve any
                             questions.
January 28, 1982             CWP1s legal counsel sends letter to
                             Deputy Attorney General indicating plans
                             for further investigation. Indicates
                             concern that RWQCB staff is involved
                             with issues outside their jurisdiction.
February 10, 1982            Deputy Attorney General, representing
                             the RWQCB, contacts CWP by telephone
                             requesting more information on progress.
                             CWP sends letter detailing recent.
                             activities.
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February 24, 1982           Deputy Attorney General sends letter to
                            CWP expressing concern with lack of
                            progress and insufficient compliance
                            with RWQCB orders.
March 24, 1982              CWP provides exploratory drill.ingplan
                            without technical support information.
April 6, 1982               RWQCB transmits draft Waste Discharge
                            Requirements to CWP.
April 1.6, 1982             CWP requests consideration of the draft
                            Waste Discharge Requirements be post-
                            poned until the next Board Meeting.
April 26, 1982              RWQCB staff agree to postpone considera-
                            tion of the requirements until the July
                            Board Meeting.
                                                         A
                                                         v


June 30, 1982               CWP submits Kleinfelder Pha
July 6, 1982                RWQCB staff sen      tter on deficiencies
                            in self-monitor      of ground and surface
                            waters.
                                        des comments on draft Waste
                                         Requirements.
July 22, 1982                           pts new Waste Discharge
                       4 Requirements for CWP.
July 26, 1982               Deputy Attorney General, representing
                            RWQCB, sends comments to CWP on
                            Kleinfelder Phase I1 plan.
                            Kleinfelder installs four monitoring
                            wells (CWP-10, CWP-11, cWP-12, and
                            CWP-13) .
~e~t&nber.
        15     &   16, 1982 Kleinfelder installs three additional
                            monitoring wells (CWP-14, CWP-15, and
                            CWP-16); soil samples are collected.          -
September 29, 1982          CWP sends progress report on investiga-
                            tion and revises spill contingency plan.
November 2, 1982            RWQCB staff send comments related to
                            inadequacy of submittals.
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    i
        November 16, 1982           RWQCB staff and the Deputy Attorney
                                    General meet with CWP and their
                                    consultant to discuss modification of
                                    preliminary injunction.
        December 3, 1982            Kleinfelder submits "Report for Phase I1
                                    Groundwater Study.
                                    Deputy Attorney General, representing
                                    RWQCB, sends letter to CWP summarizing
                                    the November 16, 1982 meeting and
                                    requesting that several actions be
                                    taken.
        December 27, 1982           Deputy Attorney General, representing
                                    RWQCB, sends comments on Kleinfelder
                                    report .
        December 27, 1982           CWP sends a letter in resp         to Deputy
                                    Attorney General's letter        December 3.
        December 31, 1982           RWQCB issues pre      release on the
                                    inclusion of the        site on the new
                                    federal and stat       perfund list.
        January 7, 1983                        ff meet wi.th CWP, who agree to
I
                                                         off-site wells and

        January 14, 1983            CWP requests modification of Waste
                                    Discharge Requirements to permit
                                    discharge of extracted ground water to
                                    sanitary sewer system.
i
i                                   RWQCB staff rep1.y to the January 14,
                                    1983 request, indicating their position
                                    on no discharge to surface waters or
                                    ground waters and indi.cati.ngthe need to
                                    modify the City's permit if treated
                                    wastewater from the CWP facility is
                                    accepted.
                                    RWQCB staff send letter indicating need
                                    for submittal of information, now past
                                    due, discussed at the meeting.
        February 4, 1983            CWP replies, stating that evaluation of
                                    alternatives and work are in progress.
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  March 11, 1983               Kleinfelder. submits report on llSoil
                               Chemical Analysis Results. [RWQCB
                               indicates no such report on file.]
  May 16, 1983                 Deputy Attorney General, representing
                               RWQCB, sends letter requesting immediate
                               installation of the agreed upon two off-
                               site wells, as previously requested.
  June 2, 1983
                               FPT-5) .
                               CWP installs off-site wells (FPT-4 and

  June 8, 1983                 CWP letter reports construction details
                               of Wells FPT-4 and FPT-5, but provides
                               inadequate response on other issues.
                               RWQCB staff send necessary forms for
                               filing a new report of was
                               per CWP request.
  July 19, 1983                CWP submits brief report on knstallation
                                                 B
                               of Wells FPT-4 an FPT-5.
  July 27, 1983                Kleinfelder sub   s report titled
                               "Recommendatio    or Pumping Program at
                               Well CVp-8." [RWQCB indicates no such
                               report    file.]
  August 9, 1983               ~ e ~ u Attorney
                                        t ~ l   General, representing
                               RWQCB, sends letter' regarding receipt of
                               reports, and informs CWP that their
                               response to RWQCB orders has been
                               inadequate.
                               Control measures to contain contaminated
                               stomwater are implemented.
                               CWP responds to Deputy Attorney General
                               letter of August 9, 1983.
                               CWP informs RWQCB staff of the planned
                               construction of a bentonite slurry
                               cutoff wall to prevent or retard off-
                               site migration of chromium-contaminated
                               ground water.
  September 2, 1983            RWQeB staff meet with CWP and discuss
                               needed actions. CWP indicates plans to
                               install cutoff wall; RWQCB indicates
                               that these activities should be
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                           conducted by a professional in the field
                           of hydrogeology.
September 9, 1983          Kleinfelder installs three additional
                           monitoring wells (AT-1, AT-2, and AT-3)
                           off site at locations recommended by
                           RWQCB staff.
September 15, 1983         CWP sends letter report to RWQCB.
September 26, 1983         Kleinfelder submits ItGroundwater
                           Monitoring Well Construction" report.
Octobe'r 6, 1983           Deputy Attorney General, representing
                           RWQCB, sends letter to CWP regarding
                           need for professional hydrogeologist to
                           design and supervise construction of
                           cutoff wall.
                                                          A
October 13, 1983
                                                         -1
                           RWQCB issues Cleanup and Ab tement Order
                           No. 83-128 because of delay and failure
                           to use professi     assistance in
                           determining nee    remedial actions.
October 20, 1983           CWP responds to     eputy Attorney General
                                                6, indicating that
                                               for professional

                           CWP requests a full review of the
                           cleanup and abatement order before the
                           Board.
                           CWP informs RWQCB staff that cutoff wall
                           was installed, without professional
                           oversight.
December 23, 1983          RWQCB staff respond to November 18, 1983
                           letter from CWP.
January 5, 1984            CWP applies for permit to discharge
                           treated wastewater to the City's
                           sanitary sewer. system.
January 6, 1984            CWP responds to RWQCB1s December 23
                           letter.
January 19, 1984           RWQCB hearing is held on the Cleanup and
                           Abatement order, which is subsequently
                           ratified.
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January 31, 1984           RWQCB staff re-transmit ratified order
                           and require immediate compliance.
                           CWP submits DIAppolonia work plan
                           entitled "Investigation of Chromium in
                           Soilt1to DHS for review.
February '7, 1984          CWP informs RWQCB staff that they have
                           hired a consultant to conduct the soil
                           and ground water investigation, and that
                           they fully intend to comply with the
                           Board orders.
February 17, 1984          The City-retains a consultant to review
                           the propo'sed discharge of treated
                           wastewater from CWP.
February 28, 1984          CWP submits revised DIAppo
                           plan for investigation of
                           soil.
March 19, 1984             DIAppolonia cond      s soil quality
                           investigation, i      uding Borings S-1
                           through 5-26.
                                      s consultant recommends
                                      e of treated wastewater. into
                                      ary sewer system.
April 1984                 CWP hires Alpha Lab to perform baseline
                           analysis of the City's sanitary sewer
                           discharge  .
                           DIAppolonia issues report entitled
                           itInvestigationof Chromium in Soil. I'
May 3, 1984                CWP submits work plan for determining
                           full extent of ground water
                           contamination by hexavalent chromium.
May 24, 1984               RWQCB staff comment on the needed
                           modifications to the May 3, 1984 work
                           plan.
May 29, 1984               RWQCB, DHS, and EPA meet with CWP to
                           discuss further needed actions. A report
                           is required by June 22, 1984.
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June 5, 1984                EPA informs RWQCB of requirements for
                            cleanup of Superfund sites.
June 20, 1984               On behalf of CWP, D'Appolonia submits a
                            letter report on progress and proposed
                            interim site remediation.
                            RWQCB transmits EPA's concerns regarding
                            Superfund requirements to CWP.
July 3, 1984                RWQCB and other agency staff meet with
                            CWP and DIAppolonia to discuss the May 3
                            and June 20 submittals.
July 6, 1984                RWQCB staff send letter outlining
                            agreements reached and requirements
                            identified at the July 3 meeting.
                            RWQCB staff comment on D'A
                            June 20, 1984 proposal and
                            minor modifications.
August 1, 1984              D'Appolonia r,es      s, on behalf of CWP,
                            to the July 18        B letter.
October 4, 1984                             n i \a
                            ~ ' ~ ~ ~ o l dsubmlts status report on
                            behalf kf CWP.
November 2, 1984                     ia submits status report on
                            behalf of CWP.
December 10, 1984           DIAppolonia submits status report on
                            behalf of CWP.
                            Deep Boring 5-27 drilled and converted
                            to Well CWP-17.
April. 5, 1985              RWQCB staff meet with CWP and other
                            regulatory agencies.
April 15, 1985              RWQCB staff send letter. outlining points
                            of agreement reached at meeting and the
                            clarification which is needed.
May 29, 1985                RWQCB staff meet with CWP and other
                            regulatory agencies.
June 4, 1985                RWQCB staff send letter to CWP summar-
                            izing meeting and needed actions.
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June 26, 1985               CWP submits lrHydr.ologicand Remedial
                            Action Feasibility Studies" report to
                            all agencies.
July 25, 1985               RWQCB re-issues Waste Discharge Require-
                            ments for CWP, with modifications for
                            treated ground water reinjection.
July 29, 1985               RWQCB staff and agencies meet with CWP
                            on the revised report submitted on
                            July 10, 1985.
August 23, 1985             Based on the comments of all the
                            reviewing agencies, RWQCB staff send
                            letter to CWP identifying additional
                            information needed.
August 29 and 30, 1985      wells CWP-18, CWP-19, CWP,-       and CWP,-21
                            are constructed at the sit
September 27, 1985          IT Corporation submits repor't entitled
                            "Remedial Action   plementation
                            Schedule."
March 20. 1986              RWQCB staff indi4ate that sampling
                                     s should be improved and that
                                     ailed to submit a sampling
                                     as previously requested in 1981.

March 31, 1986              On behalf of CWP, Geosystem submits
                            report on "Evaluation of On-Site Ground
                            Water Extraction.
April 30,     6             CWP sends letter to RWQCB indicating
                            that no sampling protocol is available
                            and requesting a discussion of the
                            matter with staff.
June 12, 1987               DHS receives EPA comments on "Evaluation
                            of On-Site Ground Water Extr'action,"
                            submitted on March 31, 1986.
June 13, 1986               RWQCB and other agencies meet with CWP
                            and Geosystem to discuss further efforts
                            required at CWP.
June 19, 1986               DHS sends letter to CWP regarding
                            requirements for preparation of a
                            Remedial Action Plan (RAP).
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i
    June 20, 1986              RWQCB staff summarize meeting of June
i                              13, 1986 and request the submittal of
i
1                              sampling plan and other information.
                               EPA sends letter to Geosystem identi-
                               fying the need for further evaluation of
                               leachability of chromium from soil at
                               CWP.
    June 25, 1986              On behalf of CWP,Geosystem submits draft
                               Ground Water Monitoring Protocol to
                               RWQCB.
                               CWP receives comments from RWQCB staff
                               on draft Ground Water Monitoring
                               Protocol.
    August 21, 1986            RWQCB staff remind CWP in         etter of
                               the need for prompt action         previous
                               requests.
    August 28, 1986            Geosystem submit      round Water
                               Monitoring Proto       and a timeframe for
                               obtaining additi      1 information.
    August 29, 1986                      submits progress report which
                               addres    issues outlined in June 20,
                               1986 letter from RWQCB.

    September 4, 1986          CWP indicates that they misread the
                               deadline and promptly comply.
                               Geosystem submits pre-draft RAP.
                               DHS transmits sample deed restriction to
                               CWP and explains annuity requirement.
                               Geosystem issues draft report on
                               "Definition and Hydraulic Control of
                               Chromium in Ground Water.
    October 28, 1986           RWQCB staff and agencies meet with CWP
                               to discuss draft RAP. DHS issues
                               comments on pre-draft RAP.
    November 4, 1986           RWQCB staff re-issue the Cleanup &
                               Abatement Order. and set out several
                               needed tasks.
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November 13, 1986          CWP submits plan for needed activities.
                           Geosystem submits letter report on
                           Additional Site Characterization,
                           addressing Item 1.a of Revised Cleanup
                           and Abatement Order No. 83-128.
November 21, 1986          RWQCB staff comment on the locations of
                           the monitoring wells proposed in the
                           drilling plan.
                           Geosystem submits letter report on Soil
                           Leaching Characteristics and Duration of
                           ~quifer-cleanup.
December 2, 1986 :         Geosystem issues progress report.
December 9-11, 1986        Geosystem installs new mon
                           (CWP-22, AT-4, and AT-5).
                           are present during well in
December 19, 1986          CWP requests modi
                           program.
                                              e  cations to monitoring

                           CWP sends comments to RWQCB regarding
                                    onitoring and Reporting Program

January 9, 198'7                  k'
                           EPA is ues comments on cwp letter
                           reports dated November 13 and 21, 198'7.
                           Geosystem submits report on lvMonitoring
                           Well Installation and Additional Site          .
                           Characteri~ation,~'which documents the
                           installation and sampling of additional
                           wells (CWP-22, AT-4, and AT-5).
January 27, 1987           Geosystem submits progress report.
February 23, 198'7         CWP requests extension of Clea~up&
                           Abatement Order deadline from March 1 to
                           April 1, 1987.
March 4, 1,987             RWQCB staff grant CWP1s request for an
                           extension.
March 24, 198'7            EPA issues comments on pre-draft RAP and
                           'lMonitoringWell Installation and
                           Additional Site Characterization."
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March 25, 198'7             DHS transmits to CWP "Draft Guidelines
                            for the Remedial Action Plan - Re-
                            revisedn (February 18, 1987) and
                            additional comments on pre-draft RAP.
March 31, 198 7             DHS notifies CWP of May 1, 1987 date for
                            submission of draft RAP.
April 1, 198'7              Geosystem submits report on "Evaluation
                            of Off-Site Remediation" in response to
                            Item 1.d of Revised Cleanup & Abatement
                            Order No. 83-128.
April 14, 198'7             CWP submits Hydrologic Remediation Plan.
                            Geosystem submits time schedule for
                            remedial actions.
Apr.il 29, 198'7            Geosystem issues a review         regulatory
                            agencies comments.
April 30, 1987              CWP submits "Pr       ed ~ i s c h a i ~of
                                                                     e
                            Treated Gr oundw       to City of Ukiah
                            Sewage Treatmen       ant" report to the
                            City. City res        s with various items.
May 12, 1987                            other agency staff meet with
                                       eosystem personnel
May 29, 1987                RWQCB staff send letter to CWP outlining
                            needed actions.
                       \    Geosystem issues progress report.
                            CWP responds to RWQCB letter of May 29,
                            198 7.

June 17, 1987               Geosystem requests extension of deadline
                            for submission of draft RAP to July 31,
                            198 7.

                            CWP meets with the City regarding
                            discharge of treated ground water to
                            treatment plant; the City requests
                            further information.
July 10, 198'7              DHS sends CWP the EPAis comments on
                            Remedial Investigation/Feasibility Study
                            efforts and grants extension of deadline
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                            for submission of draft RAP from June 30
                            to July 31, 1987.
July 16, 1987               Geosystem submits response to EPA
                            comments (as forwarded by DHS on
                            July 10, 1987).
July 31, 1987               Draft RAP submitted by Geosystem to a1.l
                            agencies.
August 7, 1987              Geosystem submits revised Ground Water/
                            Storm Water Monitoring Protocol.
August 19, 1987             CWP meets with Ukiah Sewage Treatment
                            Plant personnel. The City requests
                            further information.
August 24, 1987             The City drafts monitoring   ogram.
                                                      3
September 10, 1987
                                                       T
                            RWQCB issues comments on dr t RAP.
September 17, 1987         Letter from CWP       the City outlining
                           discussions of        August 19, 1987
                           meeting and ind       ing that the
                           additional info       ion requested is
                           being mrsued.
September 18, 1987          Geosys     issues progress report.
September 24, 1987          DHS issues comments on draft RAP and
                            forwards DIG and EPA comments to
                            Geosystem.
                            Geosystem receives table of contents for
                            the new RAP policy.
                            The City gives verbal approval for
                            discharge to sanitary sewer system.
                            City attorney to draft documents.
October 14, 1987            Geosystem issues progress report.
November 3, 1987           Geosystem submits draft Chronology to
                           RWQCB staff for review and comment.
November 13, 1987           Geosystem issues progress report.
November 24, 1987          RWQCB staff issues comments on draft
                           Chronology.
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November 30, 198'7          Geosystem submits second draft
                            Chronology to RWQCB for review and
                            comment.
                            Geosystem submits llProposedResponse
                            Approach to Regulatory Agencies
                            Comments" to CWP and agencies.
December 7, 198'7           RWQCB staff issues comments on second
                            draft Chronology.
December 14, 1987           Geosystem issues progress report.
January through             Geosystem issues monthly progress
December 1988               reports.
February 24, 1.988          DHS transmits DHS and EPA comments on
                            draft RAP.
February 29, 1.988          Geosystem issues Draft No.
                            Action Plan
August 4, 1988              DHS transmits E       RWQCB, and DHS
                            comments on Dra       o. 2, Remedial
                            Action Plan.
January through             Geosys      issues monthly progress
March 1989                  report
February 3, 1989            ~eos~stern
                                     issues the third draft of RAP.
Apri.1.24, 1989             Geosystem issues the preliminary final
                            draft of RAP.
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NOTES:   1) Definitions:

            CERCLA  Comprehensive Environmental Response,
                     =
                    Compensation, and Liability Act of 1980
           City = City of Ukiah
           County = Mendocino County Department of Public
                    Health
           Court = Mendocino County Superior Court
           CWP = Coast Wood Preserving, Inc.
           DrAppolonia = D'Appolonia Consulting Engineers, I ~ c .
           DFG = Department of Fish and Game
           Executive Officer = Executive Officer of RWQCB
           Geosystem = Geosystem Consultants, Inc.
           HEA = H. Esmaili & Associates, Inc.
           IT Corporation = International Technology Corporation,
                            formerly DrAppolonia Consulting
                            Engineers, Inc.
           RAP = Remedial Action Plan
           RWQCB = California Regional Water Qualit
                   Board, North Coast Region
           Superfund = Hazardous Substance Response
                       for CERCLA
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                              APPENDIX B

                   GROUND WATER MONITORING DATA


           Table B.l:    Summary of Ground Water L
          Table B.2:    Summary of Ground Water An
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                                     TABLE 0 . 1


                        SUMMARY OF   GRWNO   UATER LEVELS




                                DEPTH TO            UATER SURFACE
              -
              YELL    -
                      DATE      -.   UATER
                                     (ft)
                                                      ELEVATION
                                                   ( f t above HSL)
                                                                      COnMENTS




                                                       573 3 8
                                                       573.44
                                                       573.88
                                                       573.,9
                                                       570.1
                                                       570,.1
                                                       57X.38
                                                       576.96
                                                       576.62
                                                       571.54
                                                       57683
                                                       573..25
                                                       572..38
                                                       573.93
                                                                      DRY
                                                       577.22
                                                       57602
                                                       573.52
                                                       57002
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                                  TABLE B . l
                                 (continued)




                                DEPTH TO    UATER SURFACE
                -
                UELL              UATER         ELEVATION        COMMENTS
                                  (ft)     ( f t above M S L )


                                                57T.18
                                                577.24
                                                57L08
                                                5n..  16
                                                576.52
                                                575.48
                                                572..98
                                                576.87
                                                576.37
                                                572.63
                                                571 ,.58         DRY
                                                576,.66
                                                57x54
                                                572.4
                                                5768
                                                577..1

                                                579.17
                                                579 .oa
                                                576.07
                                                575 ,, 15
                                                575..84
                                                574.67
                                                                 DRY
                                                57660
                                                5'74..95
                                                                 DRY
                                                                 DRY
                                                576,.45
                                                57L.55
                                                574,.96
                                                                 DRY
                                                                 DRY
                                                                 DRY
                                                575.45
                                                                 DRY
                                                                 DRY
                                                                 DRY
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                                TABLE B . 1
                               (continued)




                              DEPTH TO     UATER SURFACE
                                             ELEVATION     COMMENTS
                                (ft)      (ft above MSL)

                                9,,86

                               10,.90
                                6..50
                                8..75
                               12,.78
                               12,.8%
                                5..92
                                5 ..78
                                8.25
                               12..67
                               11..12
                                7.75
                               1243
                               13..83
                                5,.23
                                985
                               12.51
                               13.
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                                 TABLE B .1
                                (continued)




                               DEPTH TO       WATER SURFACE
                                 WATER          ELEVATION
                                 (ft)     ( f t abcve MSL)
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                                    TABLE 8.1
                                   (continued)




                                  DEPTH TO    WATER SURFACE
             '&&        -
                        DATE                    ELEVATION     COnMENTS
                                    (ft)     (ft above MSL)

             CUP 1 1   09/20/82    9..20
                       02/01/84    7,.58
                       03/01/84    7,.33
                       04/02/84    7..50
                       05/10/84    842
                       05/01/85    8.42
                       08/01/85                               DRY
                       08/29/85   12.00
                       09/09/85                               DRY
                       10/01/85                               DRY
                       10/30/85                               DRY
                       10/31/85   11.71                       DRY
                       12/03/85   10..58
                       02/11/86    7,.55
                       02/12/86    7.44
                       05/01/86    8..29
                       06/03/86    8 ,. 67
                       07/01/86   10.03
                       08/11/86   12,,
                       09/03/86   12,,
                       10/06/86   11..
                           5/87   10..33
                           9/87   1060
                           5/87    8..01
                           0/87    8..01
                                   8..87
                                  10..00
                                  11..08
                                  12.02
                                  12.80


                                   8..46
                                   6.68
                                   7..77
                                   833
                                   8,.60
                                   9.89
                                  10.40
                                  11,.38
                                  12,.00
                                  12.57
                                  13..32                      DRY
                                  11,.47
                                  11,.21
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                               TABLE 6 . 1
                              (continued)




                             DEPTH TO        WATER SURFACE

             -
             WELL    -
                     DATE    - WATER           ELEVATION
                               (ft)      ( f t above MSL)
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                                TABLE B . 1
                               (continued)




                              DEPTH TO     WATER SURFACE
              -
              WELL              WATER          ELEVATION     COMMENTS
                                (ft)      ( f t above HSL)
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                                     TABLE B..1
                                    (continued)




                                   DEPTH TO       WATER SURFACE
             -
             WELL        -DATE     -     -
                                     WATER
                                   (ft) (ft
                                                    ELEVATION
                                                    above MSL)
                                                                  COMMENTS




              CWP- 16   09/20/82
                        08/29/85
                        01/09/87
                        01/20/88
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                               TABLE B . 1
                              (continued)




                             DEPTH TO        UATER SURFACE
                              WATER             ELEVATION
                               (ft)          ( f t above MSL)




                                                 576..35
                                                 570.38
                                                 576..05
                                                 370.19
                                                 569..76
                                                 576.48
                                                 575.29
                                                 57513
                                                                DRY


                                                 574..02        TRENCH
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 445 of 708

                                         TABLE B .I
                                        (continued)




                                    DEPTH TO          WATER SURFACE
                                   -,   WATER          ELEVATION       CDMMENTS
                                        (ft)      ( f t a b v e HSL)

             CUP .20   0211 1/66
                       02/12/86
                       03/26/86
                       01/05/87
                       01/09/87
                       02/25/87
                       04/20/87
                       05/19/87
                       06/16/87
                       07/21/87
                       08/26/87
                       09/23/87
                       10/19/87
                       11/13/87
                       12/18/87
                       01/20/88
                       02/18/88
                       03/21/88
                       04/22/88
                       05/23/88
                       06/23/88
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 446 of 708

                                 TABLE B , . 1
                                 (continued)




                             DEPTH TO            UATER SURFACE
             -
             UELL    -
                     DATE    -   WATER
                                  ,                ELEVATION     COMMENTS
                                 (ft)        ( f t above USL)
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 447 of 708

                                  TABLE B , . 1
                                 (continued)




                            DEPTH TO              UATER SURFACE
            -
            UELL    -
                    DATE    -.UATER                 ELEVATION -
                                  (ft)       ( f t above MSL)

                                                    572..79
                                                    572..74       HAY NOT HAVE FULLY RECOVERED FROH STEP DRA
                                                    565..86
                                                    564,.83
                                                    570..73
                                                    570..63
                                                    569..28
                                                    568..06
                                                    565.54
                                                    564.20
                                                    564..95
                                                    565.25
                                                    565.65
                                                    569.90
                                                    573..38
                                                    570..84
                                                    570..28
                                                    567..77
                                                    566,.88
                                                    56657
                                                    56605
                                                    565.65
                                                    565.65
                                                    564.60
                                                    566.92
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                               TABLE 8 . 1
                              (continued)




                             DEPTH TO        UATER SURFACE
             -
             UELL    -
                     DATE      UATER           ELEVATION     COMMENTS
                               (ft)      ( f t above MSL)
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 449 of 708

                               TABLE B , . 1
                              (continued)




                             DEPTH TO      WATER SURFACE
                      DATE    UATER            ELEVATION     COMMENTS
                               (ft)       ( f t above MSL)
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 450 of 708

                              TABLE B . 1
                             (continued)




                            DEPTH TO        UATER SURFACE
                              WATER          ELEVATJOH
                              (ft)      ( f t above NSL)
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 451 of 708

                               TABLE 8,.1
                              (continued)




                             DEPTH TO       WATER SURFACE
             -
             WELL    -
                     DATE     WATER          ELEVATION      COMMENTS
                               (ft)     ( f t above MSL)
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                               TABLE B,.1
                              (continued)




                             DEPTH TO     UATER SURFACE
             -
             WELL    -
                     DATE      WATER         ELEVATION  -
                               (ft)     ( f t above HSL)

                                            571.60          UATER LEVEL 6 INCHES ABOVE UELL CASING
                                                            ARTESIAN CONDITIONS,.
                                            571.60
                                            569,.77
                                            570..02
                                            565.31
                                            565..35
                                            569.03
                                            569.68
                                            568..18
                                            56731
                                            566.27
                                            565 ,. 08
                                            565 ,.06
                                            567,.10
                                            563.28
                                            567.64
                                            558..47
                                            567.. 12
                                            564.70
                                            562..53
                                            561 2 9
                                            560..94
                                            560,.75
                                            562,.10
                                            567.86
                                            569 .69
                                            567,.95
                                            566.17
                                            564.55
                                            563,.19
                                            563.09
                                            562.16
                                            562.58
                                            561..64
                                            560.84
                                            561 ,.99
                                            564.59
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 453 of 708
                               TABLE B , l
                              (continued)




                             DEPTH TO    UATER   SURFACE
             -
             WELL    -
                     DATE                    ELEVATION
                               (ft)     (ft above MSL)
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 454 of 708
                               TABLE B , . 1
                              (continued)




                             DEPTH TO          UATER SURFACE
             -
             WELL    -
                     DATE    -. UATER          .   ELEVATIOL    COMMENTS
                               (ft)        ( f t above   MSL)




                                                                DRY




                                                                DRY


                                                                DRY
                                                                DRY
                                                                DRY
                                                                DRY


                                                                DRY



                                                                DRY
                                                                DRY
                                                                DRY


                                                                DRY
                                                                DRY
                                                                DRY
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 455 of 708
                               TABLE B .1
                              (continued)




                             DEPTH TO       WATER SURFACE
                     -DATE     WATER          ELEVATION
                               (ft)     ( f t ebove MSL)




                                                            DRY
                                                            DRY




                                                            DRY
                                                            DRY
                                                            DRY




                                                            DRY
                                                            DRY
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 456 of 708
                                  TABLE 8 1
                                 (continued)




                             DEPTH TO          UATER SURFACE
                            ,-   WATER           ELEVATION   -   COMMENTS
                                 (ft)      ( f t above NSL)


                                                                 UATER LEVEL A B W T 2 FEET ABOVE UELL CASING
                                                                 ARTESIAN CONDITIONS.




                                                                 WATER STANDING OVER UELL


                                                                 WATER STANDING OVER UELL.
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 457 of 708
                               TABLE 8,.1
                              (continued)




                             DEPTH TO       WATER SURFACE
             -
             WELL    -
                     DATE     WATER           ELEVATION   -,

                               (ft)     ( f t above MSL)
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 458 of 708
                                             TABLE 8 2
                                            (continued)




                    DISSOLVED CHROMIUM
-
WELL       -
           DATE                    TOTAL            ARSENIC   COPPER   COMMENTS



CUP-4D   04/02/81                  a.01
         06/09/81                   0,004
         09/28/82                  <o .02
         03/20/84                  <0.01
         01/18/88                  <0.02

CUP .5   04/02/81                 43
         06/09/81                 31
         06/16/83                 24
         12/08/83                 19
         03/01/84                  15
         03/21/84                  14
         01/30/85
         05/03/85                                                          DRY
         08/01/85                                                          DRY
         10/31/85                                                          DRY
         02/19/86                  14
         05/01/86                                                          DRY
         04/20/87                  12
         07/23/87                                                          DRY
         10/19/87                                                          DRY
         01/20/88                  12
         04/22/88                                                          DRY
         07/19/88                                                          DRY
         10/24/88                                                          DRY
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                                             TABLE B..2

                               SUMMARY OF GROUND WATER ANALYSES
                                    (ALL units a r e m g l l )



                     DISSOLVED CHROMIUM
                    Cr(V1)          TOTAL                         COPPER   COMMENTS



CUP .1   04/02/81
         05/08/81
         06/09/81
         09/28/82
         03/20/84
         01/78/88




                                                                               DRY
   Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 460 of 708

                               TABLE 0 . 2
                               (continued)




        DISSOLVED CHROMIUM
-
DATE                   -
                       TOTAL                 -
                                             COPPER   --
                                                      COMMENTS




                                                           DRY




                                                           DRY
                                                           DRY




                                                           0 RY
                                                           DRY


                                                           DRY
                                                           DRY
                                                           DRY
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 461 of 708
                                        TABLE B . 2
                                       (continued)




                 DISSOLVED CHROMIUM
-
WELL            CrfVI)         -
                               TOTAL




                                                           DRY




                                                           DRY
                                                           DRY
 Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 462 of 708

                                       TABLE B 2
                                       (continued)




                DISSOLVED CHROMIUM
-
WELL   -
       DATE    ZrlYI)          -
                               TOTAL                 -
                                                     COPPER




                                                              DRY
                                                              DRY
 Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 463 of 708
                                             TABLE 6 2
                                             (continued)




                D I S S O L V E D CHROMlUM
WELL    -
        DATE                                        mRS    COPPER   -
                                                                    COMMENTS
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 464 of 708
                                      TABLE B 2
                                      (continued)




                OlSSOLVED CHROMIUM
              .-C r ( V 1 )   -
                              TOTAL                 COPPER   COMMENTS
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 465 of 708

                                       TABLE 8 . 2
                                       (continued)




                DISSOLVED CHROMIUM
               -
               Cr(VI)          -
                               TOTAL                 COPPER   COMMENTS




                                                                  DRY
                                                                  DRY
                                                                  DRY
                                                                  DRY




                                                                  DRY
                                                                  DRY
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 466 of 708
                                             TABLE 8 . 2
                                            (continued)




               D I S S O L V E D CHROMIUM
      -
      DATE                          -
                                    TOTAL                  --COPPER   COMMENTS
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 467 of 708
                                      TABLE B..2
                                      (continued)




                DISSOLVED CHROMIUM
-
WELL   -
       DATE    -
               Cr(V1)         -
                              TOTAL          ARSENlC   COPPER   COMMENTS




                                                                    DRY
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 468 of 708
                                        TABLE B 2
                                        (continued)




                 DISSOLVED CHROMIUM
-
UELL            -
                Cr(VI)          -
                                TOTAL                 -
                                                      COPPER   COMMENTS




CUP.-13




CUP-14




CUP"15




CVP-16
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 469 of 708
                                        TABLE 8 . 2
                                        (continued)




                 DISSOLVED CHROMIUM

-
WELL    -
        DATE    -
                Cr(V1)          TOTAL           I\RSEHIC   -
                                                           COPPER



                                                  <0..01     0,.078




                                                                      DRY
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 470 of 708
                                       TABLE B..2
                                       (continued)




                DISSOLVED CHROMIUM
              .-C r ( V 1 )    --
                               TOTAL           I\RSENIC   -
                                                          COPPER   COMMENTS
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 471 of 708
                                           TABLE 0 2
                                          (continued)




                 DISSOLVED CHROMIUM
WELL    -
        DATE    -
                CrW)            -.TOTAL           -
                                                  ARSENIC   COPPER   COMMENTS
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 472 of 708

                                          TABLE 0 . 2
                                          (continued)




                     DISSOLVED CHROMIUM
-
WELL       -
           DATE



HL-7      12/03/%
          01/05/87
          02/25/87
          03/27/87
          04/20/87
          04/20/87
          05/19/87
          05/19/87
          05/20/87
          05/20/87
          06/16/87
          07/21/87
          08/24/87
          09/23/87
          10/20/87
          11/13/87
          12/18/87
          01/20/88
          02/18/88
          03/21/88
          04/22/88
          05/23/88
          06/23/88
          07/19/88




          12/23/88

FPT.1.4   09/28/82
          05/18/83
          03/21/84

FPT-IB    09/28/82
          05/18/83
          03/21/84
          03/21/84

FPT-2A    01/19/88

FPT..2B   05/18/83
          03/21/84
          03/21/84
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                                           TABLE B..2
                                           (continued)




                DISSOLVED CHROMIUM
-
WELL    DATE                   -.TOTAL            nRsENr&   COPPER   COMMENTS




                                 0..48
                                 0,.17
                                 021
                                 0.65
                                 0.65
                                 1 ..4
                                 012
                                   ..
                                 0 06
                                 0..12
                                 0..16
                                 0 ,, 20
                                 0.10
                                 0..071
                                 0..12
                                 0,.16
                                 0.08
                                 0..35
                                 012
                                 0.11
                                 0..10
                                <o ,. 02
                                a 0 2
                                a.02
                                 0,.07
                                a.02
                                4 0 2
                                <002
                                  0.02
                                  0..06
                                <o ,. 02
                                4.02
                                a.02
                                a.02
                                a.02
                                a 0 2
                                a 0 2
                                <o .02
                                  0..03
                                4.02
                                a 0 2
                                '0 ,. 02
                                c0.02
                                <o 02
                                a 0 2
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                                         TABLE 6 . 2
                                        (continued)




                 DISSOLVED CHROMIUM
         DATE   -
                CrW)            -
                                TOTAL            ARSENiC   COPPER   CWMENTS




FPT .4
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 475 of 708

                                           TABLE B , . Z
                                           (continued)




                 DISSOLVED CHROMIUM
WELL    -
        DATE                   -
                               TOTAL                --
                                                    ARSENIC    COPPER   --
                                                                        COHMENTS




                                 0,.75                 0.007
                                 0,.62                 0 004
                                <O ,005                0 001
                                 0.90
                                 0,.20
                                 0,.51                 0 01
                                  0.59
                                 0,.40
                                a.02                  <O 004
                                 0,,32                 0 .O4
                                 0.40
                                  0..04               <O 004
                                  0,.02
                                  0..10
                                  0..16
                                  0.27
                                  0.22
                                <0.02
                                4 ,. 02
                                <o .02
                                <0,.02
                                <0..02
                                <o ,, 02
                                <o 0 2
                                <0.02
                                a 0 2
                                <o .02
                                <o ,. 02
                                4l.02
                                <LO2
                                <0.02
                                a.02
                                4.02
                                <0.02
                                c0.02
                                 <002
                                <0.02
                                 <no2
                                a.02
                                <002
                                 %.02
                                 <0.02
                                 <o. 02
                                 a.02
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                                       TABLE 8 2
                                      (continued)




               DISSOLVED CHROMIUM
a      DATE   -
              Cr(VI)          -
                              TOTAL          ARSENIC   COPPER
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                                              TABLE   0.2
                                              (continued)




               D I S S O L V E D CHROMIUM
                                    -.TOTAL                 COPPER   COMMENTS




                                    <0..005
                                    <0,.05
                                     0.012
                                    <0.05
                                    <O .02
                                     0.06
                                     0,.021
                                     0..05
                                    <o ,632
                                     0.03
                                     0.04
                                     0,.03
                                     0 .O3
                                    a02
                                    <0,.02
                                    <0.02
                                     0.03
                                    <002
                                    '0.02
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                                      TABLE B .2
                                      (continued)




               DISSOLVED CHROMIUM
      -
      DATE    -
              Cr(V1)          TOTAL
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                                        TABLE 8.2
                                       (continued)




                OlSSOLVED CHROMIUM
-
WELL   -
       DATE                   -TOTAL          ARSENIC   COPPER
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 480 of 708

                                    TABLE B 2
                                    (continued)




               DISSOLVED CHROMIUM
      OATE    Cr(\ll)                             COPPER
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 481 of 708

                                        TABLE B 2
                                        (continued)




                 DISSOLVED CHROMIUM
-
WELL    DATE    Cr(VI)          -
                                TOTAL           ARSENIC   COPPER




                                                                   INACCESSIBLE




                                                                   INACCESSIBLE
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 482 of 708
                                       TABLE B 2
                                      (continued)




               DISSOLVED CHROMIUM
       -
       DATE   Cr(VI)          TOTAL          ARSENIC   --
                                                       COPPER
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                             APPENDIX €2


                     STORM WATER QUALITY DATA
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 484 of 708
                                           TABLE C . . l


                                STORM WATER QUALITY DATA
                                  (ALL units ar.e m g / L )



SAHPLING          DISSOLVED CHROHIUM
                .-C r C V I )    TOTAL
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 485 of 708
                                           TABLE C . 1
                                          (continued)




SAMPLING           DISSOLVED   CHROnlUM
STATION    QATJ   Cr(YI)                                 COPPER   COMMENTS
  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 486 of 708
                                           TABLE C , . 1
                                          (continued)




SAMPLING          DISSOLVED CHROMIUM
STATION    OATE




                                 <o .02
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 487 of 708
                                        TABLE C 1
                                       (continued)




SAMPLING        DISSOLVED CHROMIUM
STATION        -
               Cr(VI)          TOTAL          ARSEUlC   COPPER   COMMENTS
   Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 488 of 708




                               APPENDIX D

                           S O I L CHEMICAt   DATA


Table D.l:    Results of Soil Chemical Analyses
Table D.2:    Concentrations of Cr, As, and Cu in S            ow and Deep
              Soil Samples
Table 0.3 : Concentrations of Cr, As, and Cu in Near\Surface Soil
            Samples
Table D.4:    Chromium Concentrations                  in Soil Samples in
              Various Areas Relative to              .t and Sump Areas
Table D.5:    Summary of Soil          ysis for Chromium and Organic
              Carbon Content
Table D. 6:   Results     f   Analysis    of     Waste    Extraction   Test
              Leachat
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                                        TABLE D.1

                            RESULTS OF SOIL CHEMICAL ANALYSES




                                                       CONCENTRATION (DDm)


 LOCATION         SAMPLE l . . D          CHROMIUM

Upgradient        S-1, 1 '                    15
                  S"1, 3 '                    26
                  S-1, 6 '                    36
                  S-1, 10'                    32
                  S-1, 1 5 '                  49
                  S"1, 20'                    23



 Tr.eated         5-2,    1'                 29
  Wood            S"2,    3'                 23
 Storage          S-2,    6'                 36
  Area            S-2,    10'                50
                  S-2,    15'                44
                  S.2,    20'                25
                  S"3,    1'                 28
                  S.3,    3'
                  S.,3,   6'
                  5.3.    10'
                                             32
                                             27
                                            210
                                             50
                  94,     6'                 46
                  S"4,    10'                31
                  S-4, 1 5 '                 52
                  5-4, 2 0 '                 39



R e t o r t and   S"5, 0'                   130
Sump Area         95,     1'                130
                  S"5,    3'                 26
                  S-5,    6'                 39
                  S..5.   10'                32
                  S-5,    15'                42
                  5.5,    20'                29
                  S..6,   0'                 48
                  %6,     1'                 10
                  S-6,    3'                 53
                  S..6,   6'                 34
                  5.6,    10'                58
                  S..6,   15'                50
                  S-6,    20'                27
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                                  TABLE L . 1
                                 (Continued)


                                                CONCENTRATION (Porn)

 LOCATION       SAMPLE l ..D..       CHROMIUM         ARSENIC          COPPER

Retort and
Sump Area
(continued)




Unpaved and
 Untreated
   Wood
  Stor age
   Ar.ea
 Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 491 of 708



                                 TABLE D,.1
                                (Continued)



                                 -            CONCENTRATION ( D D ~ )

 LOCAT I O N    SAMPLE I..D..      CHROMIUM         ARSENIC             COPPER


Unpaved and     5-14.    1'
 Untreated      5-14,    3'
   wood         S-14,    6'
  Stwage        S..lC,   10'
   Area         S-14,    15'
(continued)     S-14,    20'
                S-15,    1'
                S.,15,   3'
                S-15,    6'
                S-15,    10'
                S.,15,   15'
                S.15,    20'
                S-16,    1'
                S..16,   3'
                S..16,   6'
                S-16,    10'
                5.16,    15'
                5-16,    20'
                S-17,    1'




                S..17,   20'
                5-18.    1'
                S..18,   3'
                S..18,   6'
                S.18,    10'
                S,.18,   15'
                S..18,   20'



Off-site and    S-19,    1'
Doungradient    S-19,    6'
   Areas        S..19,   10'
                S,,19,   15'
                S.19,    20'
                S.,20,   1'
                S.20.    3'
                5-20.    6'
                S-20,    10'
                S-20,    15'
                S.,20,   20'
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                                      TABLE h . 1
                                     (Continued)



                                                    CONCENTRATION (ppm)

 LOCAT l ON           SAMPLE 1.0,.       CHROUIUM        ARSENIC          COPPER

O f f - s i t e and   S-21,    1'
Downgradient          S-21,    3'
     Areas            S-21,    6'
(continued)           S-21.    10'
                      S-21,    15'
                      S-21,    20'
                      S.22,    1'
                      5-22,    3'
                      S-22,    6'
                      S,,22,   10'
                      S-22.    15'
                      S.22,    20'
                      S..23,   I'
                      S..23,   3'
                      5-23.    6'
                      +23,     10'
                      S-23,    15'
                      S-23,    20'
                      S..24,   1'
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                                            TABLE 0 . 1
                                           (Continued)



                                            --                CONCENTRATION   (DDm)


   LOCATION               SAMPLE I.D,.           CHROMIUM           ARSENIC           COPPER

   Throughout             G..1
   the Entire             G-2
     Site                 G..3
                          G..4
                          G-5
                          G.6
                          G.7
                          G..8
                          G-9, 1 '
                          G"10, 1 '
                          1    1 1'
                          G.,12, 2 '
                          G.13, 1 '
                          G.14, 1 '
                          G..15, 1 '
                          6-16. 1 '
                          G.,17, 1 '




NOTES:   1)   . - indicates Not Analyzed




Reference:    DlAppolonia Consulting Engineers, Inc., 1984.
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                                                    TABLE 0 . 2

                                       COYCEUTRATIOYS OF C r , As. AND Cu
                                        IN SHALLOU AWD DEEP S O I L SAMPLES



                                                       -          ARSENIC     COPPER

B O R I N G NO..

   S- 1

   S-2

   5-3

   5-4

   5.5

   5-6

   5-7

   S-8

   S.10

   S..ll

  S-12

   S-13



  S-15

  S..16

  S-17

  S-18

  S.19

  S-20

  S-21

  S.22

  S ,. 2 3

  5.24

  S-25

  5-26




Reference:         D'Appolonia Consulting Engineers,   Inc.,   1984
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                                                TABLE D..3

                                    CONCEYTRATIOWSOF CC, AS, and Cu
                                      IN YEAR-SURFACE SOIL SAMPLES




             -   -I.D.
             SAMPLE




Reference:    D'AppoLonia Consulting Engineers, Inc., 1 9 8 4 .
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                                               TABLE D . 4

                              CHROMIUM COWCENTRATIOUS ( p p ) IN SOIL SAMPLES
                           Ill VARIOUS AREAS RELATIVE TO RETORT AND SUMP AREAS




Background                    S..26            .. .      31

Retort and Sump Area          S 5             130      130
                              5.8             160       38
                              S.10            32        34

Doungradient




Reference:   D'Appokonia   Consulting Engineers, Inc., 1984.
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                                            TABLE D..5

                                     SUMMARY OF SOIL ANALYSES
                             FOR CHRORIUR AN0 ORGAWIC CARBON CONTEN1


                                                                                    ORGANIC
   SAMPLE                  HEXAVALENT             TOTAL                HEXAVALENT   CARBON
--
IDENTIFICATION              CHROMIUM             CHROMIUM              -CHROMIUM
                              wpm)                wpm)                     (%)        (X)

                               3,.0                580                                 NR(?)

                               NR                   NR                                0..86
                               1,.0                200                                 NR
                               1.0              260/26oc2)                             NR

                              <LO                   52                                 NR

                               NR                   NR                               <0..10

                            3,0/4,.0                58                                 NR
                               8..0                 69                                 NR

                               NR                   NR                                0..14




NOTES:   1) NR indicates that the corresponding test uas not requested by project   personnel   .
         2) The indicated sample was analyzed in duplicate.


Reference:   IT Corporation, June 1985
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                                             TABLE 0.6

                       RESULTS OF ANALYSIS OF YASTEEXTRACTIOY TEST LEACHATES




                                                                              of Health Services,
             January 11, 1984) version of the California Assessment Manual uhich requires a 4 8 , ,
             hour leaching period uith a 0.2M sodium citrate solution o f pH = 5 .
        2)   Values represent total elemental concentrations in the soil.
        3)   S represents soil boring samples; G designates a surface soil sample; the first and
             second numbers refer to the boring number and depth of sampling, respectively,.
        4)   STLC = Soluble Threshold Limit Concentration.
        5)   I t is assumed that all chromium compounds are subject to Leaching.
        6)   TTLC = Total Threshotd Limit Concentration.




Reference:    IT Corporation, June 1985.
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                             CHROMIUM IN SOIL, p p k




         0                        20                     40
                             CHROMIUId IN SO!;,   pprn
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                                                                         I
            --   *.-7--i--1--T-

                 20         40           60                 100   120   140

                                  CHROMIUM IN So!:.,   PP
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                                                       I    1    I    I   I
         0         20        40           60           80       100       120

                             CHROMIUM IN S O I L ppm
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j
+

i
a
W    -11
n
     -12
     -13
     -14




     -18
     -19
     -20            I      T        -                         -     -
           0                       20
                               CHROMIUM IN SOIL, p p m




                             20                          40             60

                               CHROMIUM IN SOIL, p p m
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     -19
     -20   I-
           0
                   I

                            20
                                                        -7
                                                         60
                                                                    1
                             CHROMIUM IN SOIL, pp
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                               5-26   (Bcckground)
                                                                               -
           0 .
      -I     -
      -2     -
      -3     -
             -




      'i
      -4
      -5     j
                                                              ./'
                                                         ./
2
".    -9
E'   -lo     L

W
n

                                                                    \,
     -14                                                             \,
                                                                         /.>




                             CHROMIUM IN SOIL, pp    1
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                                     Scenario 1


    1       rCONTROL INFORMATION*
        VELoCITY(M/DAY)------------------------            =        0 4750
        LONGITUDINAL DISPERSION COEF (M*M/OAY)-            =        0 4750
        TRANSVERSE DISPERSION COEF (M*M/DAY)---            =        0.0475
        HALF LENGTH OF SOURCE                              =       15 0000



        RADIOACTIVE DECAY CONSTANT(l/OAY)------            =           0 0000
        RETARDATION FACTOR---------------------            =           5 0000
        SOURCE DECAY FACTOR(l/DAY)-------------            =           0.0063


        TOTAL NUMBER OF X POSITIONS------------            =           8
        TOTAL NUMBER OF Y POSITIONS--.-----.----           =           4
        TOTAL NUMBER OF TIME POINTS--------.---            =           8


    1                VALUES OF CONCENTATION(C/C0)      AT TIME T=                      180.0   DAYS
                     ......................................................




                                              ~    ~~~~~           ~   ~   ~   ~   ~




          200 0         000000    0 00000          0000   0.00000
          250 ,, 0      0.00000   0.00000          0000   0.00000
    1                VALUES OF CONCENTATION        0) AT TIME T= 270.0                         DAYS




                        0 00000   0 00000   0 00000
                        0.00000   0.00000   0.00000   0 00000
                     VALUES OF CONCENTATION(C/C0) AT TIME T= 360.0                             DAYS
                                                           ......................
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                      VALUES OF CONCENTATION(C/CB) AT TIME T=                              540.0                DAYS
                     .*.**********.*.f.************.**************.*.******


                  V=0 475              A=   15 0                      DL= 0 . 4 7     DT= 0 05                   R=    5 00

                                   ALFA=0 0063                               LAMBDA=0 0000


                         Y= 0 . 0  Y= 20.0    Y= 40.0   Y= 6 0 . 0
                         0.38881   0,01761    0,.00000  0.00000
                         0,00991   0.00055    0.00000   0.00000
                         0.00000   0 ,, 00000 0 ,.00000 0.00000
                         0.00000   0,00000    0 00000   0..00000
                         0.00008   0 00000    0,.00000  0.00000
                         0.00000   0.00000    0 00000   0 00000
                         0 00000   0 ,00000   0.,00000  0 00000
                         0.00000   0.00000    0.00000   0.00000
                      VALUES OF CONCENTATION(C/CB) AT TIME T=                                                   DAYS
                     **.***...*.****        ...........................                          . . . . . .I




                                   ALFA-0 ,, 0063                             LAMBDArB ,0000


            X            Y= 0 . 0  Y= 20.0    Y= 40.0  Y= 80.0
           50.0          0.30551   0,01927    0.00000  0.00000
           750           0.21309   0 01599    0.00000  0.00000
          100 ,, 0       0.00350   0,00029    0.00000  0
          125 0          0 00000   0 00000    0.00000  0
          150.0          0,00800   0,00000    0.00000  0
          1750           0.00000   0,00000    0 .00000 0
          200 ,, 0       0 ,00000  0,00000    0 00000  0
          250 ,, 0       0.00000   0.00000 g.OOOOO     0
                      VALUES OF CONCWTATIO C/C0) AT TIME T= 900.0                                               DAYS
                     *~**.*l.*f*t.**...***.                               ******I**I********.*~.~I*~tI*




          -...              . -...
          250 0          0.00008   0.00000  0.0000~5 0 00000
      1               VALUES OF CONCENTATIONfC/CB) AT TIME T= 1080.0                                            DAYS
                                                                                                           I.*****
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              VALUES OF CONCENTATION(C/C0)                AT TIME T= 1 4 4 0 . 0   DAYS
             .**...4..*.l.***.*.***********************************
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                                                     Scenario 2


     1       *CONTROL INFORMATION.

         .--- - - . . ,,..,- ... ,
         LONGITUDINAL DISPERSION COEF (M*M/DAY)-                             =      1 4200
         TRANSVERSE DISPERSION COEF (M*M/DAY)                                =      0 1420
         HALF LENGTH OF SOURCE                                               =     15 0000



         RADIOACTIVE DECAY CONSTANT(l/DAY)------                             =       0 0000
         RETARDATION FACTOR                                                  =       5 0000
         SOURCE DECAY FACTOR(l/DAY)-------------                             =       0 0083


         TOTAL hUYBER OF X POSITIONS------------                             =       8
         TOTAL hUUBER OF Y POSITIOM-----------                               =       4
         TOTAL hUMBER OF TIUE POINTS-----------.                             =       8


                       VALUES OF CONCENTATION(C/C0) AT TIME T=                              180.0   DAYS
                     ..*.****.**...*.*.*..***                    **********.**.**.*********a***

                   V=0 475                      A=   16 0        DL= 1 42           DT= 0 14         R= 5 00

                                      ALFA=0 0083                       LAMBDA=# 0000




                                                     .   ~~~~~




           200 0          0.00000   0,00000                        00000   0 00000
           2500           0.00000   0.00000                        00000   0 ,, 00000
     1                 VALUES OF CONCENTATID                       C0) AT TIME T= 270.0             DAYS




                                     \
                             Y= 0.0 Y s 20.0 Y= 40.0
                          0,02829   0,.00252 0.08000
                          0 ,00086  0.00800   0.80000
                          0 ,.00000 0.00000   0,00080
                          0.00008   0.00000   0.00000
                          0.00000   0,00000   0.00080
                          0.00000 - 0.00000   0.00000
                          0 00000   0.00000   0 ,. 00000' 0 00000
                          0.00000   0.00000   0.00000     0 00000
                       VALUES OF CONCENTATION(C/CB) AT' TIME T= 380.0                               DAYS
                     a*...      *...*****.*.*..r.....**.*t**
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      1             VALUES OF CONCENTATION(C/CB) AT TIME T=                  540.0   DAYS
                   1..*.*.*.*****........*.*           ********.**I**.**************


                  V=0 475             A=       16 0   DL= 1 42      DT= 0 14          R= 5 00

                                 ALFA=0 0083                 LAMBDA=0 0000




                             ~          ~. ..
                                            -... ~       .
          i750         0 .00000  0.00000  0.00000    0.00000
          200 0        0.00000   0 00000  0.00000    0.00000
          250 0        0..'00000 0.00000  0.00000    0 ,.00000
      1             VALUES OF CONCENTATION(C/C0f AT TIME T= 720.0                    DAYS
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              VALUES OF CONCENTATION(C/C0)                      AT TIME T= 1 4 4 0 . 0   DAYS
             ......................................................
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                                             Scenario 3


       1       *CONTROL INFORMATION*


                                ; ~ S P E R S I O ~COEF (V.M/DAY) -
           L O N G I T U D ~ ~ ~O                                     =      2 3000
           TRAhSVERSE DISPERSIO\ COEF (M.U/DAY)---                    =      0 2300
           HALF LENGTH OF SOJRCE ( u ) - - - - - - - - - - - - - -    :     15 00ad



           RADIOACTIVE DECAY CDNSTANT(I/DAY)------                    =        0 0000
           RETARDATION FACTOR-------.-           -----                         5 0000
           SOURCE DECAY FACTOR(I/DAY)                                 =        0 0063


           TOTAL NUUBER OF X P0SIT:OhS------------                    =        S
           TOTAL hUUBER OF Y POSITIONS-----------                     =        4
           TOTAL NUYBER OF TIUE POiNTS-----------                     =        8


       1               VALUES OF CONCENTATIDN(C/C0) AT TIME T=                      180.0   DAYS
                      **.**.******t**.*************t*.*****tt.***********.**


                    V-0 475           A=      15 0       DL-   2 30            OT= 0 23      R= 5 00

                                 ALFA=0 0063                    LAMBDA-0 0000


               X          Y= 0.0     Y= 20.0             Y= 40.0          Ys 60.0
              50.0        0.00719    0.00070             0 ,00000         0 00000
              750         0 ,00001   0 00000             0 00000
             100 0        0 ,00000   0 ,, 00000          0 ,, 00000
             125 0        0 ,00000   0 ,00000            0.00000
             150 0        0,00000    0,00000             0 00000
             175 0        0.00000    0 00000             0 00000
             200 0        0 ,, 00000 0 ,0000
             250 0        0.00000    0.0000                 ,00000  0 00000
                       VALUES OF CONCENTAT                 /c0) AT TIME T= 270.0            DAYS
                      ....................                .............................
                    V-0 47            A=     1S 0                              DT= 0 23      R= 5 0 0

                                   L.FA=0 ,0063                 LAMBOA=00000




             1750         0.00000  0 ,00000  0 00000    0 ,. 00000
             200 0        0.00000  0 00000   0,00000    0 00000
             250 0        0.00000  0.00000   0.00000    0 ,, 00000
       1               VALUES OF CONCENTATION(C/C0) AT TIME T= 360.0                        DAYS
                      *..L.****.*****.******************.******.*****.******
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                       VALUES OF CONCENTATION(C/C0) AT TIME T=                                    540.0   DAYS
                     ******..**.****...*                            *i************.*tt*t*.*.**********.


                 V=0 475                       A=        15 0                    DL.= 2 30   DT= 0 23      R= 5 0 0
                                        ALFA=0 0063                                   LAMBDA=0 0000




                           0 00000  0.00000    0,00000   000000
                           0.00000  0.00000    0.00000   0 ,, 00000
                       VAL.UES OF CONCENTATION(C/CB) AT TIME T= 720.0                                     DAYS




                                                                                  0 00000y0 000y
                       VAI                                                       (CIC0I A TIME T 900.0    DAYS




               X                 0.0 Y= 20.0 Y = 40.0   Y= 6 0 . 0
              60 0             11617 0 03180 0,00014    0.00000
              750               9118 0 05616 0,00032    0.00000
             100 0              4989 0,04554 0 00031    0 00000
             125 0              5630 0.01743 0,00013    0 00000
             150 0              1012 0 00317 0,00003    0.00000
             175 0        0.00087    0 00027 0.00000    0.00000
             200 0        0 ,, 00004 0 00001 0.00080    0 00000
             2500         0 .00000   0.00000 0.00000    0 ,, 00000
                       VALUES OF CONCENTATION(C/C0) AT TIME T= 1080 0                                     DAYS
                     * * * ...................................................
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        1
                 *.
                  VALUES OF CONCENTATION(C/C0)                        AT TIME
                      ...................................................
                                                                                T= 1 4 4 0 . 0   DAYS
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                                                Scenario 4


      1       *CONTROL INFORMATION*

          .--"- - . ,..., -.. . ,
          LONGITUDINAL DISPERSION COEF (M.M/DAY)-                                =          i 7500
          TRANSVERSE DISPERSION COEF (M.U/OAY)---                                =         0 4750
          HALF LENGTH OF SOURCE                                                  =        16.0000



          RADIOACTIVE DECAY CONSTANT(l/OAY)-----.-                               =          0.0000
          RETARDATION FACTOR---                                                  s          5,0000
          SOURCE DECAY FACTOR(l/DAY)---------.----.                              =          0.0063


          TOTAL hUUBER OF X POSITIOhS------------                                =          8
          TOTAL NUMBER OF Y POSITIONS---.----.----                               =          4
          TOTAL NUMBER OF TIME POINTS-.----------                                =          8


      1                  VALUES OF CONCENTATION(C/CB) AT TIME T=                                 180.0   DAYS
                       *. ....................................................
                    V=0 475                As       16 0          DL= 4.75                  OT= 0 47      Rz 5 0 0

                                        ALFA=0 0083                         LAMBOA=0 0000


               X           Y=     0.0 Y= 20.0                     Y= 40.0            Y r 60.0
            5 0 ,, 0       0 04810    0.80839                     0,00000
            75.0           0.00129    0.00024                     0.00000
           100 0           0.00001    0 ,.00000                   0.00000
           1250            0.08000    0.80800                     0.00000
           150 0           0 ,.00000  000000                      0.00000
           175..0          0.08000    0.00000                     0,00000           0 00000
           200 0           0 ,, 00000 0.00000                                       0 00000
           250 ,, 0        0.00000    0.00000                                       0 00000
     1                  VALUES OF CONCENTATION                                     TIME T= 2 7 0 . 0     DAYS
                       ****...*.        **.*********.*                           **.**...**.*        *.*****..t




                                       ...-     -   ..--          -                      -~~~~
                                                         0 BBBBB
                                   ~                       ~




           250 0           0.00000  0.00000.  a.08000
     1                  VALUES OF CONCENTATION(CIC0I AT TIME T= 360.0                                    DAYS
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      1              VALUES OF CONCENTATION(C/C0)                                AT TIME T=    540.0      DAYS
                    ..*.***    ...............................................
                    k0.475             A=      15 0               DL= 4 7 5               DT= 0 47         R= 5 0 0

                                AL.FAz0 ,, 0083                              LAMBDA=0,0000




                                                  ~   ~   -        . .~~~~
                                                                         . ...~-
           200.0        000000   000000    0,00000    0,00000
,::        250.0        0.00000  0.00000   0 .BOB00   000000
      1              VALUES OF CONCENTATION(C/C0) AT TIME T= 720.0                                        DAYS
                    .**...*******.*            *****I***.************.*******.********


                V=0.475               A=       150                DL= 4 .75               DT= 0 4 7        R= 5 0 0

                                ALFA=0 0083                                 LAMBDA=00000




                                                                      . - ~ - -
          150 0         0.01048   0.00418   6,00017   B.,
          175 . 0       0.00171   0.00069   0.00003   0.,
          200 0         0.00018   0 00007   0.00080   0 ,,
          250.0         0.00000   0.00000   0.00000   0 ,,
      1              VALUES OF CONCENTATIONLC/C0) AT TIME T=                                   900.0      DAYS




                                                                  . .            ~       ~
                                                                                         -~~~~ ~      -
          \ZBe .0
                                                                                     -
                        0.00208  0 00894   0 ,, 00007 0.00000
          250.0         0.00003  0.00001    0.00000   0.00000
      1              VALUES OF CONCENTATION(C/CBI AT TIME T= 1090.0                                       DAYS
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             VALUES OF CONCENTATION(C/C0)                            AT TIME T= 1 4 4 0 . 0   DAYS
            *.D*..*******.*****.**.**************.*************E**
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                                              Scenario 5


1      *CONTROL INFORMATION*
    VELoCrTY(U/DAY)-              ---- -                                                   0      7130
    LONGITUDINAL DISPERSION COEF (Y.M/DAY)-                                        r       3      5800
    TRANSVERSE DISPERSION COEF (M*U/DAY)---                                        =       0      3680
    HALF LENGTh OF SOURCE                                                          s      15      0000



    RADIOACTIVE DECAY CONSTANT(l/DAY)------                                        =          0.0000
    RETARDATION FACTOR---------------------                                        =          5.0000
    SOURCE DECAY FACTOR(l/DAY)--,-----------                                       =          0.0083


    TOTAL NU!JBER OF X POSITIONS------------                                       =          8
    TOTAL NUUBER OF Y POSITIONS-----------                                         =          4
    TOTAL NUUBiR OF TIME POINTS-.--,--------                                       =          8


1                  VALUES OF CDNCENTATION(C/C0) AT TIME T=                                           180.0       DAYS
                  **d.***.*t*ll******..**.*******..**.*******.**********




         X            Y=   0.0  Y= 20.0                            Y= 40.0             Y= 80.0
       50 0           0,07549   0 ,01072                           0.00000             0,,
       75 0           0.00143   000022                             0,.00000            0.
      100 ,, 0        0 ,08000  0.00000                            0.00000             0 ,,
      125..0          0,00000   0,00000                            0,.00000            0,,
      150 0           0,00000   0 ,, 00000                         0 ,, 00000          0
      175.0           0.00000   0.00800                            0.00000             0.
      200.0           0.00000   0.00000
      250 0           0.00000   0.00000                                    0000   0.00000
                   VALUES OF CDNCENTATIO                                   0) AT TIME T= 270.0                   DAYS
                  ......................                                   **.***.***.*.*****..1             l..****




                 V=0 7 1 3                =      15.0                                         DT= 0 . 3 8

                                          ~0.0063                             LAMBDA=0.0000


        X                 Y=
                          0.0  Y= 20.0   Y= 40.0    Y= 60.0
           0          0.24281  0.04483   0 00000    0,00000
           0 .        0,03522  0.60898   0.00000    @,.WBt?00
         , 0          0.00111  0.40023   0.00000    0.,00000
          .0          0 00001  0 00000   0 ,.00000  0 ,.00000
         , 0          0,00000  8.00000   0.00000    0.00000
      1750            0.00000  0,.00000  0.00000    0.00000
      200.0           0 00000  0.00000   0 ,.00000  0.00000

1
      260 0
                  ...*0.00000  0.00000   0.00000    0.00080
                   VALUES OF CONCENTATIDN(C/CB) AT TIME TP 360.0
                          ..................................................
                                                                                                                  DAYS


                 V=0 ,713               A=       15 0              DL= 3..58                  Dl= 0 . 3 6              RE 5 . 0 0
                                  ALFA-0 0083                                 LAMBDA=0 0000
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             VALUES OF CONCENTATIDN(C/C0)                   AT TIME T= 1 4 4 0 . 0    DAYS
            .*   *.....*..*.**..**0********.***************~*******8*

           V=0.713            A=     15.0         DL= 3 . 6 8           DT= 0 . 3 8    R= 5 . 0 0
                          ALFA=0 0 0 6 3                  LAMBDA=0.,0000
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                       VALUES OF CONCENTATION(C/C0) AT TIME T=                                   640.0    DAYS
                    ..***..*..*t**.*..******.*.*.****************.********

                 V.0     ,950               A=       160                DL- 4..75      OT= 0 , . 4 7        R= 6 0 0
                                     ALFA-0.0083                             LAMBOA=0.0000

                          Y 3 0.0
                          0 18427
                          0 27982
                          0 27356
                          0 18128
                          0 05510
                          0 01088
                          0 00118
                          0.00000
                       VALUES OF (                                                                         DAYS
                                                                                                         ******.



                          Yn 0 . 0  Y= 2 0 . 0                          Y= 40.0     Y= 8 0 . 0
                          0 86972   0,01992                             0,.00023    0..00000
                          6.14023   0,84708                             0.00093     0 ,00080
                          0,21892   0.87901                             0.00215
                          0,24100   0.09180                             0.00300
                          0,18377   0.07187                             000283
                          0,09358   0,83720                             0,.00147
                          0,03127   0.01257                             0.00062
                          0.00096   0.00039                             0.00002
                       VALUES OF CDNCENTATIO                                        TIME T=      900.0     DAYS
                    **.*.*..***..***..*e*6




                                      ALFA=0.0083                            LAMBOA=0, . I 0 0 0


           X              Y=       Y= 2 0 . 0 Y= 40.0   Y= 6 0 . 0
          50,.0           0.8      0.00708    0.80011   0.00000
          75.0            0,.0     0.01950    0.00058   0.00000
             .  0         0 .1     0.04228    0.00177   000001
             .0           0,17047  0..07056   0.00364   0.00002
             .  0         0,.20578 0,88813    0,00618   0.00003
              0           0,18406  0.08064    0.00512   0,.00004
             ., 0         0,11948  0..05302   0.00368   0.00003
         260 ,, 0         0.01833  0.00827    0.00069   0.00001
     1                 VALUES OF CONCENTATION(C/C0) AT TIME TI 1080.0                                      DAYS
                     1911.1*..'*.***11****L**t.***~l*IL*t******b***.****b***
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              VALUES OF CONCENTATION(C/CB)   AT TIME T= 1 4 4 0 . 0   DAYS
             *.*..**.*..l.*..*..*****I****.*.*********************
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                                                       Scenario 7




      \ELOCIT'<(M/DA~)                                                                   =      0 4750
      L S ~ ~ C I T L D I N A LD l S P E R S l O h COEF (U.M/OAY)-                       =      3 3000
      TRANSVERSE D I S P E k S I O N COEF (*.u/DAY)---                                   =      0 2300
      h A L F L E N C T ~OF SOURCE ( M ) - - - - - - - - - - - - - -                     =     15 0000



      R A O I O A C T I V E DECAY C O N S T A N T ( l / D A Y ) - - -
      RETARDATION F A C T O R - - - - - - - - - - - - - - - - - - - - -
                                                                                --- ==           0 0000
                                                                                                 6 0000
      SOJRCE DECAY F A C T O R ( l / D A Y ) - - - - - - - - - - - - -                   =       0 0000


      T J T A L NLMBER OF X P O S I T I O N S - - - - - - - - - - - -                    =       8
      TOTA- NLKBER OF Y P O S I T I O h S - - - - - . - -                       --       =       4
      TJTAL h J U B E R OF T I M E P O I N T S - - - - - - - - - - -                     =       8



                     ....*
                       VALUES OF CONCENTATION(C/C0)
                                .................................................
                                                                                      A T T I M E TP    180.0    DAYS




           X              YE   0.0              YI  20.0              Y= 40.0             Y= 6
       500                0 02537               0 00233               0,00000            0.00
       75 0               0 00014               0 00001               0.00000            0 00
      100 0               0 00000               0 00000               0,00000            0 .OO
      125 0               0 00000               0 ,00000              0 ,, 00000         0 .OO
      150 0               0 00000               0 00000               0
      175 0               0 00000               0,00000               0
      200.0               0 00000               0,00000               0        0         000000
      258 0               0.00000               0.00000               0        0         0,00000
  1                 VALUES OF CONCENTATION(C                                        A T T I M E T=     270.0    DAYS
                  .........................



                          Ym  0.0               Y= 20.0              Y= 40.0             Y= 60.0
                          013943                0,01812              0,00000          0,000~0
                          0 00684               0.00099              0 00000          0,00000
                          0 00007               0,00001              0 00000         0.00000
                          0,00000               0.00000              0,00000          0.00000
      150 0               0.00000               0 ,00000             0 ,00000         0 00000
      175 0               0 00000               0 00000              0.00000          0.00000
      200 0               0 00000               0 00000              0 00000          0.00000
      250.0               0.00000               0.00000              0.08000          000000
  1                VALUES OF CONCENTATION(C/C0)                                 A T T I M E T= 360.0            DAYS
                  .**..*..*.........*~****.*........**.*.**..******.**.*
                V=0 476                  A=       16 0               DL-    3 30             D T = 0 23         A=     6 00
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      1            VALUES OF CONCENTATION(C/C0)              AT TIME TI         540.0     DAYS
                  ......................................................




          100.0         0.04692  0.01060   0,.00000                 8.00000
          125 0         0,08408  0,00086   0.80000                  0.00000
          1500          a.00018  0.08004   8.80800                  0.80888
          176,.0        0,00000  0,00000   0,.00000                 0.00000
          200 0         0,00000   0 00000   0 00000                  0 00000
          250 0         0.00000   0.00000   0.00000                  000000
      I              VALUES OF CDNCENTATION(C/C0) AT               TIME T-        720.0   DAYS
                   ......................................................
               V=0475                   A=   15 0    DL= 3..30            DT= 0 23         R= 5
                                  ALFA=0 0000                LAMBDA=0.0000


            X             YE 0 . 0Y= 20.0   YI 40.0   YS 6 0 . 0
           50 0           0 79060 0,16268   0,00012   0.00000
           750            0,47873 0,11595   0,00015   0
          100.0           0 18595 0,04839   0,00009   0
          125 0           004243  001145    000003    0
          150 0           000541  000149    0.00000   0
          175 0           0 00038 0,00010   000000    0
          200 0           0 00001 0 00000   0 00000   0
          250 0         O.OOOOO   O.OOOOOfiOOOOO      0 00000
                     VALUES OF CONCENTATID C/C0) A T TIME T= 900.0                        DAYS
                   ......................           * .............................



                                                                    Y= 6 0 . 0
                                                                    0 00000
                                                                    0 00000
                                                                    0 00000
                                                                    0 00000
                                                                    0 00000
                                                                    0 00000
                                                                    0 00000
                                                                    0 00000
                                                                   TIME T= 1 0 8 0 . 0    DAYS
                                                                 **************** *..***
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                VALUES OF CONCENTATION(C/C0)                 AT TIME T= 1 4 4 0 . 0   DAYS
               L***********.*..*....**************************a******
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                                 r   SOURCE- 3 0 METER STRIP


                                                  Y (meters)




                                                               FIGURE E-l


                                                         MODEL. GRID
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                                   APPENDIX E

I
                      SIMULATION OF CHROMIUM TRANSPORT
                             IN OFF-SITE AREAS
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E.5 SENSITIVITY ANALYSIS
To assess the model behavior in an attempt to simulate the
observed off-site concentrations, a sensitivity analysis was
performed. Factors considered for sensitivity analysis included
the porosity and dispersivities. The reason for selecting these
two factors was that none of these parameters were measured.
Parameters such as hydraulic conductivity, hydraulic gradient,
and retardation factor remained constant because measured values
were available.     For sensitivity analysis, three effective
porosities of 0.15, 0.2, and 0.3 were used. The longitudinal
dispersivities for sensitivity analysis were 1, 3, 5, and 10.
The transverse dispersivities were assumed to be equal to
10 percent of longitudinal dispersivities for each

The results of the sensitivity analy        are presented in the
attached computer outputs.    The conc    ,ations of chromium at
different grid points, as calculated       e model, are expressed
relative to t.heunit concentra   n at the source.

The results of the sensitivity I analysis show that at the plume
centerline (y = o       x = 250m), for a constant porosity, as
                        the relative concentration increases. At
                        y of 5 m, as porosity decreases, the
                         ncreases. Comparing the results of the
                           the observed concentrations, an attempt
was made to select the most represeratative model parameters. The
procedure is described below.

The original source concentration has been assumed to be
1.1 1   . This concentration represents the chromium concentra-
tion measured in Well CWP-8 in December 1984, shortly after the
cutoff wall was constructed. The model results for porosity of
0.3 and longitudinal dispersivity of 5 m indicate that after
1,080 days (about 3 years), the relative concentration at a
receptor 125 m downgradient of the source would be 0.11361. This
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distance corresponds approximately to the location of Well AT-2.
The predicted concentration is calculated to be 0.12 mg/l. The
most recent chromium concentration in Well AT-2 was 0.05 mg/l on
February 25, 1987 (Table 3.2, Appendix B).         The predicted
concentration is, however, on the order of measurements made in
late 1986.       Model results showed a relative chromium
concentration of 0.13587 at a location near Well FPT-3. This
indicates that using a source concentration sf 1 / 1 the
predicted concentration at FPT-3 would be 0.15 mg/l after about
3 years. The measured concentration for that time measured in
December 1987 is 0.04 mg/l.      Therefore, porosity of 0.3 and
longitudinal dispersivity of 5 m appear to be reasonable and
conservative for modeling purposes.

E. 6 RESULTS
Since all relative concentrations ar       less than unity, and
considering that the highest chromium c     ntration in any of the
off-site wells near the assu       strip source was 0.05 mg/l in
Well CWP-8 on February 25,          (Table B.2, Appendix 3), all
downgradient conc                 Id be less than the drinking
water standard. F      fore, if the chromium concentration at the
source does not                     model predictions show that
                                  e areas should not exceed 0.05
            instance, considering the model results after 1,440
                                   may be seen that the relative
chromium concentration, along the centerline y = 0, at 250 meters
from the site is. 0.00068. Therefore, the chromium concentration
will be equal to 3.4 x          mg/l or 0.034 ppb.     Because of
lateral dispersion, as 'y' increases, the calculated relative
concentration decreases further.        Therefore, the computed
concentration at y = o represents the maximum concentration.

If the chromium concentration at the source (Well CWP-8) were to
persist for a long period of time, the potential for off-site
contamination would exist.    To predict possible downgradient
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 chromium concentrations under such conditions, a simulation was
 performed by assuming a constant strip source, as shown in
 Figure E-1.   The results, shown in Scenario 7, indicate that at
 the centerline of the plume, where concentrations are highest,
 the relative concentration would be 0.00513 at 250 meters from
 the source. Assuming that the most recent data in Well CWP-8
 reflect the strength of the source, the predicted downgradient
 concentration would be 0.00077 mg/l if the source concentration
 remains at 0.15 mg/l for four years.      An increase in source
 concentration to 1 mg/l would result in a predicted downgradient
 concentration of 0.0513 at the same location. It should be noted
 that given the extraction of ground water from Well CWP-8,
 increased chromium concentration would not pe       t for long
 periods of time.

 Application of the model results to ot     known receptors, such
 as the Russian River, would result       insignificant chromium
 concentrations even using the   t conservative source strength.

                                  I
 It should be not       hat the model is based on a number of
 assumptions and,         the relative concentrations computed by
 the model should        sidered approximate. An attempt was made
             existing data to calibrate the model for predicting
             centrations. However, because of the complexity of
             ditions, such as construction of the slurry wall and
:the pumping history in Well HL-7, and limitations of the
 analytical techniques, .such calibration was not possible.    To
 include historical water quality data and site modifications to
 model chromium transport at the CWP site, a numerical model must
 be used. Such a model would first predict the two-dimensional
 flow field and compute chromium transport taking into considera-
 tion the initial concentrations existing in off-site areas. Such
 a model could also account for the change in flow regime as a
 result of slurry wall construction and pumping from Well HL-7.
 However, the use of such a numerical model for off-site areas is
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not warranted because of a lack of sufficient data to verify the
model results. Specifically, most, and sometimes all, off-site
wells show concentrations of chromium near detection limits.
Model calibration and verification becomes exceedingly difficult
under such conditions because of a lack of sensitivity and the
non-uniqueness of the model results.
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                                                 TABLE €..I


                                  COMPUTER MODEL TDAST I N P U T PARAMETERS




              PORE       LONGITUDINAL   TRANSVERSE                        RADIOACTIVE                      SOURCE
              WATER      DISPERSION     DISPERSIOW       HALF-LENGTH          DECAY          RETARDATIOW   DECAY
SCENARIO     VELOCITY    COEFFICIENT    COEFFICIENT       OF SOURCE           CONSTANT   ,      FACTOR
              (rn/day)                     (m2/day)                                                        <l/day)



    1          L475

    2          0..475

   3           0.475

   4           0,.475

   5           0,.713

   6           0,.950


   7            .
               0 475
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                             APPENDIX F

               OCCURRENCE, INTAKE, AND TOXICITY
            CHARACTERISTICS OF CHROMIUM AND ARSENIC
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                              APPENDIX F

                  OCCURRENCE, INTAKE, AND TOXICITY
             CHARACTERISTICS OF CHROMIUM AND ARSENIC

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                               APPENDIX F
                    OCCURRENCE, INTAKE, AND TOXICITY
                CHARACTERISTICS OF CHROMIUM AND ARSENIC


F.l  OCCURRENCE OF CHROMIUM IN THE ENVIRONMENT
Chromium occurs naturally in the earth's crust at levels of a few
parts per million to 300 ppm. Chromium is also released to the
atmosphere by industrial activities, and into the subsurface
environment via the disposal of industrial wastewaters and
landfilling 'of solid wastes, Between 1 9 7 7 and 1 9 8 0 , the mean
concentrations of chromium in air in the United States ranged from
0.0052 u9/m3 (background level) to 0.1568 uq/m3 (urban annual
average).       Chromium occurs naturally in surface waters at
concentrations ranging from 0 . 1 to 6 ug/l. A surve             14 ground
water and 69 surface water supplies in 8 3 United               tes cities
showed chromium levels from less than 5 u            1 7 ug/l.  In another
survey, analyses of 3 , 8 3 4 tap water samp        from 3 5 geogr aphical
locations showed that 28 percent of the ar         surveyed had chromium
levels above the detection lim          0 . 1 ug/l.     The concentrations
of chromium in selected United         es soils ranged from less than
1 to 1 , 0 0 0 mg/kg.                  rs have found that chromium
concentrations decr          in higher trophic level organisms in
aquatic ecosystems              t al., 1 9 7 8 ) .

                               OF CHROMIUM
                                ough both the respiratory and
gastrointestinal tracts (U,S. EPA, 1 9 7 8 ) . The principal routes of
human exposure to chromium are through drinking water, food, and
air. Inhalation is both the most predominant route of exposure to
chromium compounds in industry and the route most extensively
investigated. Concentrations of chromium in water are generally
less than 0 . 0 5 mg/l; however, approximately 2 1 5 , 0 0 0 people in the
United States use public water systems with water containing more
than 0.05 mg/l.     Dietary intake of chromium ranges from 5 to 500
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ug/day and a v e r a g e s 1 0 0 ug/day.          I n t a k e o f chromium from t h e a i r
r a n g e s from 0.03 t o 0.3 ug/day and a v e r a g e s 0 . 1 ug/day.                 Thus,
p e o p l e d r i n k i n g high-chromium w a t e r (0.05 mg/l) r e c e i v e a b o u t one-
h a l f o f t h e i r chromium i n t a k e from food and one-half from d r i n k i n g
water.          Those w i t h average-chromium w a t e r (0.005 mg/l) r e c e i v e
a b o u t 9 1 p e r c e n t o f t h e i r chromium i n t a k e from food and 9 p e r c e n t
from w a t e r .

I n t h e r e s p i r a t o r y t r a c t , w a t e r and serum s o l u b l e c h r o m a t e s a r e
a b s o r b e d i n t o t h e blood system, whereas i n s o l u b l e Cr (111) p a r t i c l e s
and t h e i n e r t o x i d e s and h y d r o x i d e s o f C r ( I I 1 ) remain i n l u n g
t i s s u e ( U . S . EPA, 1 9 7 8 ) . I n t h e blood stream, chromium compounds
a r e bound by p r o t e i n s (Gray and S t e r l i n g , 1950)       .    It      been shown
t h a t i o n i c Cr(V1) ( i n j e c t e d i n t r a v e n o u s l y ) p a s s e
membrane o f r e d blood c e l l s and b i n d s
hemoglobin.             Once i n s i d e t h e e r y t h r o c y
r a p i d l y reduced t o Cr (111) and a r e u n a b l                              h t h e cell
membrane ( A a s e t h , e t a l . , 198
h e a l t h y r e d c e l l s , Cr (111) is            t i a l l y bound t o hemoglobin and
p a r t i a l l y t o s m a l l molecular weight s u b s t a n c e s .
                               4
Chromium d i s a p p e a r s     k l y from t h e blood and i s t a k e n up by o t h e r
                 e body, where it is c o n c e n t r a t e d much more h e a v i l y (by
                  0 t o 100) t h a n i n t h e b l o o d . T h e r e f o r e , b l o o d l e v e l s
                  a y n o t b e a u s a b l e i n d i c a t o r o f chromium n ~ t r i . ~ i o n a l
s t a t u s (Mertz, 1969; Mertz and Roginski, 1 9 7 1 ) : .

A wide r a n g e o f v a l u e s f o r chromium c o n t e n t        i n b l o o d h a s been
reported.                                  .
                    Schroeder , e t a 1 ( 1 9 6 2 ) r e p o r t e d chromium l e v e l s i n
serum o f 0.52 and 0.17 mg/l, whereas Doisy, e t a l . (1969, 1 9 7 1 )
found a chromium c o n c e n t r a t i o n o f 2 u g / l i n serum. Other chromium
v a l u e s r e p o r t e d have ranged from 0 . 1 1 t o 55 u g / l i n human plasma,
and from 5 t o 54 u g / l i n r e d blood c e l l s (Underwood, 1 9 7 1 ) . Imbus,
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 et al. (1963), working with United States subjects, found blood
 chromium levels ranging from 13 to 55 ug/l, with a median of
 27 ug/l, while Hamilton, et al. (1973), studying subjects from the
 United Kingdom, reported a blood level of 7 0 ug/l chromium.

 A wide range of values for chromium content in urine has been
 reported. Hambidge (1971) reported chromium levels in urine of
 8.4 ug/l fox adults and 5.5 ug/l for children over a 24-hour
 period.     Imbus, et al.      (1963) reported median urinary
 concentrations of chromium for adult males of 3.77 ug/l. Renal
 excretion is the major pathway of chromium elimination, with more
 than 8 0 percent of injected chromium excreted in this manner
 (Mertz, 1969).

F.3 TOXICITY CHARACTERISTICS OF CHROMIUM
A number of investigations have been pe
                                                     f
                                           rmed to evaluate the
toxicity of chromium compounds. The mo t recent and complete
reviews are documents prepared   EPA (U.S. E P A , 1984; U.S. EPA,
1986) and by Life Systems, Inc.   tober 1985) for the EPA.



                             from chromite . and the production of
                             een associated with occupational
                             .s producing chromate pigments who
                              ad an estimated chromium exposure of
0.5 to 1.5 mg/m3 for 6 to 9 years.    To idate, chr.omium compounds
have not induced significantly increased incidences of tumors in
1abor.atory animals following exposure by the inhalation and
ingestion routes.     Neither trivalent nor hexavalent chromium
compounds have induced significantly increased incidences of lung
tumors by inhalation.
Cr(V1) easily crosses biological membranes and is highly toxic.
L L , \ ~levels
Tr..
          ~ , in air greater than 0.05 mg/m3 are associated with
       IT,"r
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I
    high risk of injury to nasal tissues. Levels as low as 0.01 mg/m3
    can produce strong irritation in the nose, even after short
    exposure. The lethal oral dose of Cr (VI) (single dose basis for
    humans) is estimated to be 10 mg/kg body weight. The most common
    manifestation of Cr(V1) poisoning is kidney damage.        Repeated
    exposure to chromium compounds causes dermal sensitization in some
    workers; such sensitized individuals may react to solutions as
    dilute as 0.005 percent K2Cr20,. Concentrated C r ( v I ) solutions
    (3 to 10 percent by weight) are corrosive to skin, causing slow-
    to-heal ulcers.

     Local effects on the respiratory system a r e the primary toxic
     effects observed in workers exposed to chromium in t.
     Cr(VI), in the form of chromic acid, has been assoc     ed for many
    years with the development of perforati.
    The implication of chromic acid as the ca             t results from
    the common occurrence of this disorde                  .omium-plating
     industry, where exposure is r                          I) compound.
    Other Cr(V1) compounds may a1        articipate in the etiology of
    perforated nasal se                       order has been reported in
    the chromate manu        uring industry, where the predominant
    exposures are to Cr(      and the Cr(V1) compounds, sodium chromate
                                              c acid mist may also be
                        ants. Severe irritation of the throat and lower
                   tract have been associated with Cr(V1)             at
    concentrations as low as i0.12 mg/m3. Hyper sensitivity may result
    from dermal. or inhalation exposure to either Cr (VT) or Cr (111);
    however, there is little information available on the levels of
    exposure necessary to induce an allergic response.

    Little information is available on systemic effects of inhalation
    of chromium compounds, although Pascale, et al. (1952) and Mutti,
    et al. (1979) reported liver i~juryin a chromate worker and kidney
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injury in a welder exposed to chromium, respectively.        Acute
exposure of animals using a variety of routes of administration
has indicated that both Cr(V1) and Cr (111) compounds can produce
kidney and liver damage, although the dose levels employed were
relatively high. From the evidence available from both human case
reports and animals studies, it can only be speculated whether the
kidneys and liver may be target organs following chronic exposure
to chromium compounds.

Although inhalation studies of occupatipnal exposure to chromium
-indicate that exposure to some chromium compounds can res6l.t in
perforati.cn of the nasal septum, irritation of the respiratory
tract, pneumoconiosis, bronchitis, chronic lung c         stion, and
possible liver and kidney damage (as supported b          rget organ
toxicity in acute animal studies), ther                   cient data
available to make a quantitative risk                nt for ei.ther
chromium as a class or individual chromi\ni compounds from these
inhalation studies. The only        dies that provide any exposure
data are the studies of the occu        of perforated nasal septums.
However, these are nf limited a       estionable qua1i.t~. Also, in
the study by                           , inhalation exposure of mice

                      I
to chromium resul.ted ih marked effects to the respiratory tract.
              , including hyperplasia and necrosis, were likely to
               from the severe local irritation of the Ce.L& thing




P.3.2 Tnaestion
There are only a few instances of human exposure to overtly toxic
levels of chromium compounds by ingestion, and these represent
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acute exposure to massive doses which provide little information
on the safe levels of chromium following chronic exposure. A
number of animal studies have been performed in which the chromium
compound was administered in the food, w      ., or by gavage. The
acute oral toxicity data indicate that Cr(     is approximately 2 or
3 orders of magnitude more toxic than Cr(II1).     The difference in
valence state may be less relevant following chronic or subchronic
ingestion of chromium, since it is suggested that Cr.(VI) is reduced
to Cr(II1) under the acid conditions of the stomach.             The
determination as to whether Cr(1II) or Cr(V1) is more toxic after
chronic exposure, however, cannot be made, since none of the
studies employed a sufficiently hi.gh dose to produce a toxic
effect.

                                                             \
The only ingestion study in which an effect was observed was that
of Ivankovic and Preussman (1975) in wh        rats were fed diets
containing 2 or 5 percent cr,03(crf3), 5 d     a week, for 90 days.
The only observed effect was a r               e weight of the liver
and spleen in the treated ma1              compared with liver and
spleen weights of control anim             ar results were observed
in female rats maint     d on the same di,et. Neither. organ showed
macroscopic or micro     c abnormalities;and the authors concluded
                          t toxicologically impor.tant.. In a larger
              sing the same experimentat procedure and 60 animals
                     up, Ivankovic and Preussman (1975) did not
mention any treatment-related changes in organ weight, although it
was mentioned that no signs of chronic 3oxicity were observed.

F.3.3  Other Administered Routes
There is some positive evidence that chromium, particularly some
hexavalent chromium compounds, is carcinogenic following
subcutaneous    injection   or    intrabronchial,   intrapleural,
intramuscular, or intratrachealimplantation; however, implantation
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site tumors have only consistent.1~been demonstrated using
intramuscular implantation. Of all the chromium salts, calcium
chromate is the only one that has been consistently found to be
carcinogenic in rats by several routes.          Calcium chromate,
strontium chromate; zinc chromate, sodium dichromate, lead
chromate, lead chromate oxide, and sintered chromium trioxide have
produced local sarcomas or lung tumors in rats at the site of
application. although the studies available indicate that metallic
chromium powder and trivalent chromium compounds are not
carcinogenic, these compounds have been studied less extensively
than hexavalent chr.omiumcompounds. The relevance of studies.using
intr.amuscular implantation to human risk following inhalation or
oral exposure to chromium compounds is not clear;       ever, these
animal studies may indicate that some hexavalent chr
are likely to be the etiologic agent i                   um-related
cancer.

F.3.4  Reproductive Effects
While chromium compounds have      n shown to cause developmental
toxicity in experimental animal    eproductive effects (e.g., fetal
malformation) were o     ved only where maternal toxicity was also
present. Because o       e unnatural routes of exposure in these
                          us and intrapex itoneal injection), the
              hese developmental effects to environmental exposures



Chromium has adversely affected fetal development and male
reproduction in experimental animals,      Hamsters, administered
chromium trioxide intravenously on day 8 of gestation, had an
increased incidence of cleft palates in the young when examined on
day 15 of gestation. The malformations were strain-specific and
associated with maternal toxicity. Studies on mice indicated that
while some skeleta1 effects were present, increased incidence of
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cleft palate or fetal death were not observed. While several of

-
the studies reported fetal malformations only where maternal
toxicity was also present, not all studies reported data on
maternal effects. Therefore, definitive conclusions concerning
the correlation, if any, between fetal and maternal effects cannot
be made at this time.

Other reproductive effects of chromium include testicular
degeneration in rabbit.sreceiving 2 mg/kg/day for 6 weeks of either
Cr(II1) or Cr(V1) compounds by intraperitoneal injection. The
Cr (111) compound produced more severeeffectsin this study than did
the Cr (VI) compound (Behari, et al. , 19 78)    .
F.3.5  Acute Toxicity
                                                             i
                                               t
Acute toxicity studies indicate that the LCso for Cr(II1)
administered intravenously to rats is 1      g/kg. Many mammalian
and microbial studies indicate that Cr(V1) ompounds are mutagenic.
Acute chromium poisoning is           humans. Ingestion of 0.5 to
1.5 g of potassium                    be fatal, causing liver and
kidney damage as well as thrombdcytopenia and internal hemorrhage.

                       6
Acute toxicity values f r chromium(V1) are av9ilable for freshwat.er
animal sp ies in 2 7 genera and range f r o m 23-07 ug/l for a

           0
cladocera t 1,870,000 ug/l for a stonefly. These species include
a wide v iety of animals that perform a wide spectrum of
ecological functions. All five tested species of daphnids are
especially sensitive. The few data that are available indicate
that the acute toxicity of chromium(V1) decreases as hardness and
pH increase.

The acute toxicity of chromium(V1) to 23 saltwater vertebrate and
invertebrate species ranges from 2,000 ug/l for a polychaete worm
and a mysid to 105,000 uq/l for the mud snail. The chronic values
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for a polychaete range from less than 13 to 36.74 ug/l, whereas
that for a mysid is 132 ug/l. The acute-chronic ratios range from
15.38 to more than 238.5.   Toxicity to macroalgae was reported at
1,000 and 5,000 ug/l.   Bioconcentration factors for chromium(V1)
range from 125 to 236       for bivalve molluscs and polychaetes.

Acute values for chromium(111) are available for 20 freshwater
animal species in 18 genera ranging form 2,221 ug/i for a mayfly
to 71,060 ug/l ,for caddisfly. Hardness has a significant influence
on toxicity, w*h chromium(111) being more toxic in soft water.
                                                                    +
F.3.6  Chronic Toxicity


                                                          T
Chronic ingestion of water containing 1 mg/l of Cr      over a 3 -
year period did not produce any adverse health effec s in a Long
Island family which obtained drinking water from a private well;
It should be noted that the degree of m d c a l follow-up of this
family, as reported in the literature, {as limited to physical
examinations.

                                   P
Subchronic and .chronic exposure to Cr(V1) in the form of chromic
acid can cause cont
                      P    dermatitis and ulceration of the skin in
humans. Chronic inh 1 tion of dust or air containing Cr(V1) or,
                 cause respiratory effects including p e r forated or
                 a1 septa and decreased spirometric values. Recent
                 suggested that inhalation of Cr(II1) compounds does
n o t ~ o s ea significant carcinogenic risk to humans. :However, an
association between prolonged inhalation of Cr(V1) compounds and
the development of cancer of the respiratory tract has been
suggested by epidemiological studies.

The chronic value for both rainbow trout and brook trout is
264.6 ug/l, which is much lower than the chronic value of
1,987 ug/l for the fathead minnow. The acute-chronic ratios for
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these three fishes range form 18.55 to 260.8. In all three chronic
tests, a temporary reduction in growth occurred at low
concentrations. Six chronic tests with five species of daphnids
gave chronic values that range from less than 2.5 to 40 ug/l and
the acute-chronic ratios range from 1.130 to more than 9.680.
Except for the fathead minnow, all the chronic tests were conducted
in soft water. Green algae are quite sensitive to chromium(V1).
The bioconcentration factor obtained with rainbow trout is less
than 3.    Growth of chinook salmon was reduced at a measured
concentration of 16 ug/l.

A life-cycle test with Daphnia maqna in soft water gave a chronic
value of 66 ug/l. In a comparable test in hard wa       the lowest
test concentration of 44 ug/l inhibited reproduct       of Daphnia
m,but this effect may have resulted          ingested precipitated
chromium. In a life-cycle test with t       athead minnow in hard
water, the chronic value was 1,025             Toxicity data are
available for only two freshwat    lant species. A concentration
of 9,900 ug/l inhibited growth    roots of Eurasian watermilfoil.
A freshwater green a                by a concentration of 397 ug/l
in soft w.ater. No     oncentratio; factor has been measured for
chromium(II1) with f    water organisms.

             e values are available for chromium(II1) in saltwater;
              for the eastern oyster and 31,500 ug/l for the
mummichog.   In a chronic test, effects were not observed on a
polychaete worm at 50,400 ug/l at a pH of 7.9, but acute lethality
occurred at a pH of 4.5. Bioconcentration factors for saltwater
organisms and chromium(1IT) range from 86 to 153, similar to the
bioconcentration factors for chromium(V1) and saltwater species.
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F.3.7        -tic            T o x i c i t v of Chromium
Based on Q u a l i t y c r i t e r i a f o r Water 1986 ( U . S .                 EPA, May 1 9 8 6 ) , t h e
a q u a t i c t o x i c i t y of Cr(V1) and C r ( I I 1 ) is summarized below:

         o          Acute t o x i c i t y v a l u e s f o r C r ( V 1 ) v a r y from
                    23.07 u g / l f o r a c l a d o c e r a n t o 1,870,000 u g / l
                    f o r a s t o n e f l y , which a r e f r e s h w a t e r s p e c i e s .

         o          The c h r o n i c v a l u e f o r rainbow t r o u t and brook
                    t r o u t is 264.6 u g / l , which is less t h a n t h e
                    c h r o n i c v a l u e o f 1,987 u g / l f o r t h e f a t h e a d
                    minnow.        Growth of chinook salmon was reduced
                    a t a measured c o n c e n t r a t i o n o f 1 6 u g / l .

        o           Acute t o x i c i t y o f C r ( V I )                t o s a l t water
                    v e r t e b r a t e and i n v e r t e b r a t e s p e c i e s r a n g e s from
                    2,000 u g / l t o 105,000 u g / l . The c h r o n i c v a l u e s
                    a r e much less, r a n g i n g from less t h a n 1
                    132.
                                                                                             I
        o           The c o r r e s p o n d i n g c o n c e n t r a t i       for Cr(II1)
                    a r e higher than those c i t e d f o                      (vl)   -
        o           Acute t o x i c i t y o f C r ( V 1 ) d e c r e a + s      a s hardness
                    and pH i n c r e a s e .
                                                        A
According t o EPA, e x                                         ere a l o c a l l y import,ant s p e c i e s
is v e r y s e n s i t i v e ,            s h w a t e r a q u a t i c organisms s h o u l d n o t b e
a f f e c t e d unacceptabl                  t h e 4-day a v e r a g e c o n c e n t r a t i o n o f C r ( V I )
d o e s n o t exceed 11                              a n once i n e v e r y t h r e e y e a r s , on t h e
average,                  the     1-hour       average concentration does not                         exceed
16 u g / l m             t h a n once e v e r y t h r e e y e a r s , on t h e a v e r a g e .          (U.S.
EPA, May 1986)


F.4     TOXICITYCHARACTERISTICS OF ARSENIC
The i n f o r m a t i o n p r e s e n t e d i n t h i s s e c t i o n was p r o v i d e d by DHS.
According t o DHS, t h i s i n f o r m a t i o n was o b t a i n e d from t h e Agency                     fOr
T o x i c S u b s t a n c e s and is ease egist try (U.S. P u b l i c H e a l t h ~ e r v i c e ,
November 1987) and DHS Air U n i t Hazard valuation S e c t i o n (November
1987).
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F.4.1 Arsenic Occurrence in Environment
Arsenic occurs natur'ally in the earth's crust at levels of a few
parts per million. Arsenic is isolated commercially as a byproduct
during the refining of other metals. Arsenic is released to the
atmosphere in large amounts during industrial activities and has
resulted in significant local air and soil pollution.          The
contamination of drinking water is due to naturally-occurring
arsenic. The U.S. Geological Survey Has found levels of arsenic
in surface waters up to approximately 250,000 ug/l; however, the
majority of surface and ground waters contain less than 10 ug/l.
EPA estimates that most ground and surface water systems contain
less than 5 ug/l of arsenic.

F.4.2 Intake Characteristicsqf Arsenic                      t
Soluble inorganic arsenic salts are we1       sorbed (70 percent to
98 per cent) from the gastrointestinal          of humans ( C O U ~ S O ~ ,
et al., 1935; Bettley and 0'                   d animals (Coulson,
et al., 1935; Charbonneau, et                   Insoluble salts are
poorly absorbed (Mappes, 19 77)   .      ng the ingestion of 8.25 mg
of arsenic (as XA                        hree doses at eight-hour
intervals, human su             peak blood levels of arsenic within
24 hours, and absor      n was 9 7 percent to 98 percent complete
                                nalysis of human tissues at autopsy
              at arsenic distributes throughout the body and
                                s, hair, bone, and skin. Average
levels (ppm net weight) were.0.89 in nails; 0.18 in hair; 0.07 to
0.12 in bone and teeth; 0.06 in skin; 0.04 to 0.05 in heart, liver,
kidney and lung; and 0.03 in brain (Kadowaki, 1960). In animals
dosed with either. AS+^ or AS+', arsenic initially distributes in
soft tissues (liver, kidney, lung, spleen, skin, brain) but is
cleared quickly from these except for skin and brain (Hunter, et
al., 1942; Ducoff, et al., 1948; Crema, 1955; Ariyoshi and Ikeda,
1974; Cikrt and Bencko, 1974; Sabbioni, et ale, 1979).
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     I n o r g a n i c a r s e n i c compounds undergo m e t h y l a t i o n i n mammalian
     s p e c i e s t o p r o d u c e monomethyl and d i m e t h y l a r s e n i c . Buchet, e t a l .
      (1981) a d m i n i s t e r e d 500 ug o f a r s e n i t e t o human v o l u n t e e r s , and
     o b s e r v e d t h a t 2 5 p e r c e n t was e x c r e t e d i n u r i n e a s i n o r g a n i c
     a r s e n i c , 25 p e r c e n t a s monomethylarsenic a c i d , and 50 p e r c e n t a s
     t h e d i m e t h y l form.           I n humans i n g e s t i n g a r s e n i c - r i c h wine, a b o u t
     80 p e r c e n t o f t h e a r s e n i c i n g e s t e d (50 ug AS+^ and 1 3 ug AS'^) was
     e x c r e t e d i n u r i n e i n 6 1 h o u r s . of t h i s , 6 3 p e r c e n t was dimethyl-
     a r s e n i c a c i d , 18 p e r c e n t was monomethylarsenic a c i d , and a b o u t
     9 p e r c e n t e a c h was i n o r g a n i c AS+^ and dsi5 ( C r e c e l i u s , 1977).
     R e d u c t i o n o f a d m i n i s t e r e d AS*' t o AS+^ h a s been d e m o n s t r a t e d i n
     r a t s , mice and r a b b i t s (Rowland and Davies, 198                                  Vahter and
     E n v a l l , 1 9 8 3 ) , b u t i n v i v o r e d u c t i o n h a s n o t been              documented
     i n humans.             E x c r e t i o n o f a r s e n i c is p         a r i l y via the urine,
     i n i t i a l l y i n t h e same form a s t h e i n g e s t              d o s e and l a t e r a s t h e
     m e t h y l a t e d d e r i v a t i v e s (Creceli u s , 1 9 7 7 )       T h e r a t e of c l e a r a n c e
     depends somewhat on v a l e n c e                         d d o s e , b u t t y p i c a l l y 50 t o
     90 p e r c e n t is e x c r e t e d by huma                i t h i n two t o f o u r d a y s (Braman
     and Foreback, 1973;                                         77).      I n c o n t r a s t t o humans,
     a r s e n i c is r e t a i n e d          ed b l o o d c e l l s of t h e r a t , w i t h a h a l f - t i m e
     o f 60 t o 90 d a y s (La                  e t a l . , 1 9 5 0 ) . For t h i s r e a s o n , t h e r a t
                          p p r o p r i a t e model f o r a s s e s s i n g a r s e n i c t o x i c i t y i n



..   F. 4.3     T o x i c i t v :Char.acterist.ics o f Arsen%c
     The t o x i c i t y o f a r s e n i c depends upon its c h e m i c a l form and t h e
     r o u t e and d u r a t i o n of exposure.            I n g e n e r a l , a r s e n i t e s AS'^) are
     more t o x i c t h a n a r s e n a t e s AS+^), s o l u b l e compounds a r e more t o x i c
     t h a n i n s o l u b l e compounds, and i n o r g a n i c compounds a r e more t . o x i c
     t h a n o r g a n i c d e r i v a t i v e s . Short-term effects o f a r s e n i c p o i s o n i n g
     a r e s i m i l a r i n humans and animals.               With o r a l e x p o s u r e , symptoms
     i n c l u d e muscular cramps, f a c i a l edema, g a s t r o i n t e s t i n a l damage,
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    vomiting, diarrhea and general vascular collapse (U.S. EPA, 1984a).
    Long-term exposure produces effects similar to those observed
    following short-term exposure, along with signs of injury to the
    hematopoietic, renal and nervous systems.      In humans, chronic
    exposure to arsenic is associated with a characteristic pattern of
    skin lesions. For many years, Fowler's solution (AsZOJdissolved
    in potassium bicarbonate) was used as a medicinal. As described
    by Holland (3.904), a patient was usually given five drops (about
    9 mg AszO, or. 6.8 mg AS*^) three times a day.       The dose was
    increased one drop per day until the eyelids puffed and the bowels
    moved too freely.       Most people tolerated the dose of 6.8 mg
    ~ s + ~ / dwith
                a ~ no adverse effects.

    Accidental exposure of humans via ingestion of arsenic
    foods is another source of short-term d        in humans. Mizuta,
    et al. (1956) described an episode of ac       arsenic poisoning in
    Japan caused by arsenic-tainted soy sauce     xposure was estimated
    to be about 3 mg/day for two        three weeks, and 417 cases of
    illness attributed to the ar seni ere reported. Symptoms included
    catarrh and edema of                elids, along with signs of mild
    hematological, hepa                  inal and neurological effects.
    Hamamoto (1955) de                   nt in Japan where 130 deaths
                  among 12,000 infants exposed to arsenic-contaminated
                  stimated dose of arsenic in this case was about
                   about 3 3 days. Vallee, et al. (1960) estimated the
d   fatal dose fox arsenic trioxide for humansta be 70 to 180 mg, but
    noted that toxicity could result from much smaller quantities.

    Silver and Wainman (1952) described a patient who ingested 3 . 3 to
    6.7 mg AS*^ (as Fowler's solution) daily for 28 months. Signs of
    arsenic toxicity (increased freckling and darkening of the nipples
    along with gastrointestinal distress) first occurred after about
    1 3 months.   Neurological symptoms (paresthesia and weakness)
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occurred after two years. Zaldivar (1974) reported the incidence
of chronic ar senic poisoning in Antofagasta, Chile, where water
supplies contained arsenic at about 0.58 mg/l.      Poisoning was
diagnosed on the basis of weight loss, diarrhea, debility,
anorexia, bronchitis and skin disorders. The incidence of arsenic-
induced toxicity was 146/100,000 in males and 168/100,000 in
females. A majority of cases occurred in children (aged 0 to 10
years), with progressively fewer cases in each older age bracket.
Installation of a water treatment plant reduced arsenic levels to
0.08 mg/l and dramatically decreased the incidence of arsenic-
induced toxicity.

One of the most characteristic effects of chronic ar
in humans is a pattern of skin disorders, b
hyperpigmentation and keratosis, devel
squamous cell or basal cell carcinoma. T      effects have not been
consistently produced in laboratory ani         Sommers and McManus
(1953) reported 57 cases of                     cancers in humans.
Fifteen of the patients had use                tion, seven had been
treated with arsenic, two had                  to arsenical sprays
                           sure to sprays. In t.hree,the (presumed)
                           ,e was unknown.   Arsenical cancer was
                         f multiple keratoses of palms and soles.
             f internal cancers (not likely to have arisen by
                          cancers) was observed in ten (37 percent)
of the patients.. The time between arsenic exposur'eand development
of cancer in txese patients ranged from ;3 to 50 years, with a mean
value of 24 years. No precise estimate of exposure levels was
provided, but some of the patients took Fowler's solution in
nsmalln doses for only a few months. Fierz (1965) examined 262
patients who had received long courses of medicinal arsenic 6 to
25 years previously and found keratoses in 40 percent and typical
skin cancer in 8 percent.         There was evidence of a dose
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relationship for both keratoses and skin cancer. Patients who had
received more than 400 ml of Fowler's solution (4 g of arsenic
trioxide) had an incidence of hyperkeratoses of greater than
50 percent, but as little as 60 ml (600 mg of arsenic trioxide) had
resulted in keratotic changes in one patient, and only 75 ml
(750 mg of arsenic trioxide) had been consumed by one patient with
skin cancer. The shortest time to cancerous change was six years,
with an average of 14 years.

There have been a number of epidemiologic studies of the
relationship between arsenic in drinking water and skin cancer.
Tseng, et al. (1968) reported a high prevalence of skin cancer
(10.6 percent) in a study population of 40,400 ind       uals in an
area of Taiwan where drinking water was contaminat       ith 0.4 to
0.6 mg/l of arsenic. A number of epide       ogical studies in the
United States have failed to detect an a       ion between elevated
arsenic levels in drinking water and s        ncer. Goldsmith, et
al. (1972) evaluated the effect    f well water containing arsenic
at 0.1 to 1.4 mg/l on the heal      of 98 people in Lassen County,
California. Data w                 by questionnaire. No arsenic-
related illnesses we     etected. Morton, et al. (1976) performed
a retrospective ana                ancer incidence in Lane County,
              arsenic levels in water ranged form 0 to 2.15 mg/l.
             ses of nonmelanoma skin cancer, no significant
              th arsenic levels in water was detected. Harrington,
et al. (1978) found no signs of arsenic-induced toxicity in 211
individuals in Fairbanks, Alaska, ingesting water containing
arsenic at 0.001 to 2.45 mg/l.     Southwick, et al. (1981) found
signs of arsenic toxicity in 12 of 249 individuals in West Millard
County, Utah, where arsenic concentrations ranged from 0.05 to
0.75 mg/l, but no association was noted between arsenic dose and
skin lesions. Several studies suggest that low levels of arsenic
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may be beneficial to animals, but a beneficial role in humans has
not been established.

The International Agency for. Research on Cancer ( I A R C ) has reviewed
the evidence regarding the carcinogenic potential of arsenic, and
has concluded that arsenic is a Group 1 compound (sufficient
evidence for carcinogenicity in humans) (WHO, 1982). Applying the
criteria described in EPA1s proposed guidelines for assessment of
carcinogenic risk (U.S. EPA, 1984b), arsenic may be classified in
Group A: Human CaPcin~gen. TEis category inciudes agents for which
there is sufficient evidence t.0 support the casual, assoc$.at.ion
                                                                   d
between exposure to the agents and cancer. Only one study (Tseng,
et al., 1968) provides sufficient data to permit               antitative
assessment of cancer risk due to arsenic exposu                  Assuming
consumption of two liters of waterfday plu      average 'of 6.5 g/day
fish and shellfish by a 70-kg adult over      0.-yearlifetime, U.S.
EPA (1980) ca1cu:lated that drinking wat       ncentrations of 22,
2.2, and 0.2 g/l corresponded t     sk levels of lo"', lo"', and l.~"',
respective1.y.
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        trauoi: of 1(;0 pgjm'. A f x r 'IS mo~itlisof inha:alion thc rat; wc?c hckl
        under convrnlir>nd co:iciitions for 8 further yosr. Tkc crpcrin:entd &TOUp5
        comiskd of' 20 rats and the colliiol group of 40 rats.
           hlorr than 90% of the rats in each group reachcd I! years. At thc end of
        lllr slud) the mortalit$ rates mlounted to 358, 45% and 23% in thr 3
        sodium dichromate aerosol gdups, respcctivoly, and 504; in Lhc chromium
        oxide mixture aerosol group, which was not sigdfican~lgdiifcrcnt from that
        of the conlrols (42.5%), ft\'ini under the same conditions in fi!tered fresh
        air.
         ' In all kodiunl dichromate kspcwd groups significa!i~ rff~:cts wcrf xeither

        found clinically nor fnirn hematolorn and clinical chmmistry comparr:r! lo
        the conrrols. In the chromium oxide mixture group. ! l ~ w r r r r , thcre %as
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        effects are nlainly due to the iflcreased chromium lung t w d e n o! the rats.
            A t the md of the study the lung chromium retention was ahoui IO times
        higher for tllc ht; exposed tti chromium oxide :.rrsuc sodiunl dichrolnslz
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       a t an aerorol Cr.concentration of 100 pgim', wh:lr thc kidn1.y ckoci;cm               A I I ~ I I I exp,
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 TABLE
  NOMISAL AND MEASUREDTOTAL CHROMIUM A N D CHROMlUMiVI)
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'    itica (Bas&                        in the sodium dichromate noups exposed ro 25, 50 and 100pg,m3, rrqwc-
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     rrbidin~atric                      oxide acrosol, Thv cumulative mortality incidcn:?~ of the gmupi ore shown
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Fig 1 Body ucigl11,hlea~isof the conl.-uis nnd tile ~xperhnenth!g?oups continuous!y
e x p o d to chrvmium vcroxllt (Na,Cr,O, sodium dichrornare; Cr,O;, ch:om.~rr,(\'l!i..
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a further year,.

aL the end of the inhalation period (17th to 18th month) slight incrtases of
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molnent in this moup the mean white blood cell count was $..Y X 10' 2 1 . 5
x 109ii blood, which was significantly (P< 0.01) different korn that of the
controls (7 3 X lo9 2 1.4 X 109/1 blood), A t the end of the study (27Lh
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 562 of 708




         month) in this grou:) a!so, t h t rcd blood cell counts (Fir: 31tcgcLher ui:h i i c
         hemhtocrlls and thv blood hemo~lobinlevrls (not shoe:!?)\rrrtsigni!icact:y
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    study (thr 6111, 15th and 24th month). Comyarrd Lo the cunlrulb in all
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    this pnralnctcr h mnlnly affecred by Lhe age of thc rna!c r&, but s t rha end
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    conipnrison to the co!~trolsNritlier elevated rcrun) urea levels nor hcresjrd
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 564 of 708
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  h ) the rats of t h c CIjO,,..ixposcd m o u p
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                        COAST WOOD PRESERVING, INC.
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  Recording Requested by:
  Coast Wood Preserving, Inc.
                                              DEC 2 0 1989
  When Recorded, Mail to:                         .      .
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        Department of Health Services
        Toxic Substances Control
        Region 2
        2151 Berkeley Way, Annex 7
        Berkeley, California 94704
        Attention: Howard K. Hatayama, Chief


                           COVENANT AND AGREEMENT


  This Covenant and Agreement          (ppCovenant8p)
                                                   is made as of the
   25 th        day of September       ,   1989 by Coast Wood Preserving,

  Inc., a California Corporation, ("Covenantorpp)
                                                who is the owner
  of record of certain Property situated in Ukiah, State of
  California, described in Exhibit A, attached hereto and incorpo-
  rated herein by this reference ("the Propertypt)and by the
  California Department of Health Services, with reference to the
  following facts:


        This    Property    has   contained     and        currently   contains
        hazardous waste.


        This Property is the site of a wood preserving plant using
        chromated copper arsenate.          In the process of using this
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                  1             preservative some of the preservative has been released
                  2             into the soil on-site.      Various governmental agencies have
                  3             overseen the investigation of the site and                currently
                  4             oversee activities conducted at the site.
                  5

                  6             Pursuant to Section 25355.51a) (1)(B) of the Health and
                  7             Safety Code, the Department issued a Remedial Action Order
                  8             Docket No. HSA 88/89-015 on December 16, 1988 to require
                  9             Coast Wood Preserving, Inc. to implement a Remedial Action
                10              Plan (RAP).
                11
                12              The RAP requires continued extraction and treatment of
                1.3             contaminated groundwater,        and   complete    remediation of
                14              contaminated soil upon closure of the Property.
                15

                16              Contamination at the Property
                17
                18              1.    Chromated    copper   arsenate     is   a   wood   preserving
                19                    compound. Over the years of operation, the cumulative
                20                   drippings or spillage of the chemical solution has
                21                    resulted in soil ancl groundwater contamination.
                22

                23              2.    Soil underlying the Property has been contaminated
                24                   with chromium, arsenic and copper.           Arsenic has been
                25                    found in soils in concentrations as high as 220 parts
                26                   per million (ppm), chromium in concentrations as high
                27                    as 540 ppm and copper in concentrations as high as 230

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              ppm.   Generally, concentrations are highest near the
              retort and sump areas.


              Groundwater underlying and adjacent to the Property is
              contaminated with chromium (VI) and total chromium.
              Chromium (VI) and total chromium have been found in
              concentrations as high as 78 ppm.


  D.    Health Effects


  ARSENIC (AS)


  The principal uses of arsenic and arsenic compounds are in
  pesticides, cotton desicants, textiles, glass, alloys and in the
  manufacture of integrated circuits.          Arsenic is well absorbed
  via the oral, dermal and inhalation routes. Acute ingestion of
  a high dose of arsenic leads to a burning sensation in the
  mouth, nausea and vomiting.           This is followed by muscular
  twitches, liver, kidney and heart dysfunctions and by delirium,
  coma and death.     Chronic exposure to arsenic is associated with
  a persistent metallic taste in the mouth, hyperkeratosis, anemia
  and peripheral nerve disease.        Chronic exposure to arsenic has
  also been shown to increase the risk of developing skin cancer,
  aplastic anemia and leukemia.
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  CHROMIUM l Cr1


  Chromium is used in the metal, chemical, tanning, and paint
  industries.      Chromium has two biologically important oxidation
  states, the trivalent (111) and hexavalent (VI) forms.              Chromium
   (111) is a nutritionally essential trace metal thought to play a
  role in the metabolism of insulin and the regulation of blood
  glucose.     Chromium (VI) is a corrosive and ulcerogenic agent.
  Chronic     inhalation     of   chromium       (VI)   compounds   have   been
  associated with the development of lung disease including cancer
  in humans.




  Copper is a nutritionally essential trace element.                It is used
  extensively in a wide variety of industrial processes and salts
  of copper are also used as algicides and fungicides.               Copper is
  well-adsorbed by the oral route.               Acute inhalation of copper
  fumes or      dust   can   result   in     a    reversible   influenza-like
  syndrome.    Chronic ingestion of high levels of copper has been
  reported to cause hemolysis, fibrosis and cirrhosis of the
  liver, nervous system damage and kidney dysfunction.


        Routes of Exposure and Population at Risk


        There are several water wells within a one-mile radius of
        the Property.      The Russian River is downgradient about half
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          a mile from the Property.        Water wells and the Russian
          River are the primary water supply sources for the Ukiah
          region.


          Chromium, arsenic and copper present in surface soil may be
          dispersed and become airborne if the asphalt pavement is
          not   properly   maintained.      Potential    routes    of   human
          exposure resulting from wind blown dust are inhalation or
          ingestion of contaminated particles in the air.


          Covenantor desires and intends that in order to protect the
          present or future public health and safety, the Property
          shall be used in such a manner as to avoid potential harm
          to persons or Property which may result from hazardous
          wastes which have been deposited on the Property.


                                   ARTICLE I
                             GENERAL PROVISIONS


   1.01    Provisions to Run with the Land.       This Covenant sets forth
  protective provisions, covenants, restrictions and conditions
   (collectively referred to as '8Restrictionsw),upon and subject
  to which the Property and every portion thereof shall be
   improved, held, used, occupied, leased, sold, hypothecated,
   encumbered, and/or conveyed.        Each and all of the Restrictions
   shall run with the land, and pass with each and every portion,
   the Property, and shall apply to and bind the respective
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  successors in interest thereof.            Each and all of the Restric-
  tions are imposed upon the entire Property unless expressly
  stated as applicable t o a specific portion of the Property.
  Each and all of the Restrictions are imposed pursuant to Section
  25222.1 of the Health and Safety Code and run with the land
  pursuant to Section 25239 (a)(1) of the Health and Safety Code,
  Each and all of the Restrictions are for the benefit of and
  enforceable by the Department.


  1.02    Concurrence of Owners Presumed.         All purchasers, lessees,
  or possessors of any portion of the Property shall be deemed by
  their purchase, leasing, or possession of such Property to be in
  accord with the foregoing and to agree for and among themselves,
  their    heirs,    successors,       and   assignees,     and   the    agents,
  employees, and lessees of such owners, heirs, successors, and
  assignees that the Restrictions as herein established must be
  adhered to for the benefit of future Owners and Occupants and
  that their interest in the Property shall be subject to the
  Restrictions contained herein.


  1.03    Incor~oration into Deeds and Leases.             Covenantor desires
  and convenants that the Restrictions set out herein shall be
  incorporated      in,   and   this   Covenant   and     Agreement     shall be
  attached to, each and all deeds and leases of any portion of the
  Property.
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                                                              ARTICLE I11
                                           DEVELOPWENT, USE AND CONVEYANCE OF THE PROPERTY



                              3.01    Restrictions on Use.        Covenantor promises to restrict the
                              use of the Property, as described in Exhibit A, as follows:


                               (1) No owner or occupant of the Property shall act in any manner
                              that will aggravate or contribute to the existing contamination
                              at the Property or interfere with the implementation of any
                              remedial action at the Property.


                               (2) All owners and occupants of the Property or any portion
                              thereof shall maintain an asphalt or concrete cap over the
                              Property until such time as the soil remediation has begun in
                              accordance with the approved RAP and Remedial Design (RD).


                               (3) In the event of any proposed earth movement or excavation by
                              Owner or Occupant upon the Property, or any portion thereof, the
                              Owner or Occupant of said Property shall notify and receive
                               approval from the Director of such proposed activity 30 days
                              prior to the beginning of such earth movement or excavation
                               activities and shall:


                                     (A)    Comply   with   any    applicable   requirements        of   the
                                            California Occupational Health and Safety Agency, the
                                           Mendocino County Air Pollution Control District, the
                                           North Coast Regional Water Quality Control Board, the

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                            1                   United States Environmental Protection Agency, and the
                           2                    Department of Health Services;
                            3
                           4               (B) Utilize appropriate procedures to control dust during
                            5                   the period of earth movement or excavation;
                            6
                            7              (C) Handle all materials excavated on the premises as
                           8                    hazardous wastes unless shown otherwise by sampling
                            9                   and testing pursuant to the hazardous waste criteria
                         10                     set forth in Division         4, Chapter       30,   Title 22,
                         11                     California Code of Regulations; and
                         12
                         13                (D) Protect any stockpiled hazardous waste from wind,
                         14                     rain, and any other condition which may cause the
                         15                     dispersal of any such hazardous waste.
                         16
                         17         In the event of an emergency any owner or occupant of the
                         18         Property within twenty-four (24) hours of such an emergency may
                         19         request permission from the Department by telephone for any
                         20         proposed earth movement or excavation.            The Department shall
                         21         either approve or deny any such request within one business
                        22          working day of receipt of such a request.              A   written report
                         23         shall be      submitted within      five days     of   the   Department's
                         24         approval.     The report shall include a description of emergency
                         25         and its cause, period of time the proposed activity, and steps
                         26         taken to eliminate the emergency.
                         27

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   (4) No owner or occupant of the Property shall disturb the
   interim asphalt and concrete cover, slurry wall, the function of
   any portion of the groundwater extraction and treatment system
  or monitoring system, or surface water run-off control other
  than routine maintenance in accordance with approved RAP and RD.


   (5) Any or all wastes must be managed in accordance with all
   applicable requirements.


   (6) No production wells shall be drilled without the express

  prior written approval of the Director and any other agency with
   jurisdiction. Monitoring or other test wells are not subject to
   this provision.


   (7)   Without the express prior written approval of the Director
   no construction or placement of a building or structure shall
   occur on the Property which is intended for use as any of the
   following, nor shall any new use of an existing structure or
   building on the premises occur as any of the following:


         (A)   A   hospital:
         (B) A school for persons under 21 years of age;
         (C) A day-care center;
         (D) Any      permanently   occupied    human    habitation     other
               than those used for industrial purposes.
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                                 3.02     Convevance    of   Property.    Any   prospective     purchaser,
                                 lessee, or assignee of the Property or of an interest in the
                                 Property must demonstrate to the satisfaction of the Department
                                 that said purchaser, lessee or assignee of the Property is
                                 financially capable of implementing the selected remedial action
                                 for the Property.      The Owner or Owners shall provide thirty (30)
                                 days advance notice to the Department of any sale, lease, or
                                 other conveyance of the Property or an interest in the Property
                                to a third person.        The Owner(s) shall provide information of
                                 intended use for the Property by subsequent owner to the extent
                                 the existing owner(s) have such information.


                                 3.03    Enforcement.    Failure of the Owner to comply with any of
                                 the requirements, as set forth in paragraph 3.01 above, shall be
                                grounds for the Department, by reason of the Covenant, to
                                 require that the Owner or Occupants modify or remove any Improve.
                                ments constructed in violation of the paragraph.            This Covenant
                                 shall be enforceable by the Department pursuant to Section 25236
                                 of the Health and Safety Code.


                                 3.04    Notice in Aqr'eement.       A11 Owner's and Occupants shall
                                 execute a written instrument which shall accompany all purchase,
                                 lease, sublease, or rental agreements relating to the Property.
                                 The instrument shall contain the following statement:


                                        The land described herein contains hazardous waste.           Such
                                        condition renders the land and the owner, lessee, or other

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                  1             possessor of the land subject to requirements, restric-
                 2              tions, provisions, and liabilities contained in Chapter 6.5
                  .
                  1
                                (commencing with Section 25100) of Division 20 of the
                  4             Health and Safety Code.      This statement is not a declara-
                  5             tion that a hazard exists.
                  6
                  7      3.05    Disclaimer.    The State of California makes no representa-
                  8      tions as the suitability of the Property for any particular
                  S      purpose.
                10
                11                                       ARTICLE IV
                12                              VARIANCE AND TERMINATION
                13
                14       4.01    Variance.     Any Owner or, with the Owner's consent, any
                15       Occupant of the Property or any portion thereof may apply to the
                16       Department for a written variance from the provisions of this
                17       Covenant.    Such application shall contain 1) a statement of who
                18       is applying for the variance; 2) the proposed variance; and 3) a
                19       statement of reasons in support of the granting of the variance.
                2C       In addition, the owner shall demonstrate to the satisfaction of
                21       the Department that the proposed variance will not cause or
                22       allow any of the following effects associates with hazardous
                23       waste or extremely hazardous waste:
                24
                25              A.   The creation or increase of significant present or

                26                   future hazards to the public.
                27

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                        1                  Any significant diminution of the ability to mitigate
                        2                   any significant potential or actual hazard to public
                        3                  health.
                        4
                        5                  Any long-term increase in the number of humans or
                        6                   animals exposed to significant hazards which affect
                        7                   the health, well-being, or safety of the public.
                        8
                        9       Upon making a decision to approve or deny the proposed variance,
                      10        the Director shall issue and cause to be served the decision and
                      11        findings of fact on the owner of the land, the legislative body
                      12        of the city or county in whose jurisdiction the land is located,
                      13        and upon any other interested persons.         If the Department agrees
                     14         to the proposed variance, the director and all of the owers of
                      15        the land shall execute an instrument reflecting this agreement,
                      16        shall particularly describe the real property affected by the
                      17        variance, and the owner shall record the instrument in the
                      18        county in which the land is located within ten (10) days of the
                      19        date of execution.
                      2C
                      21        4.02   Termination.     Any Owner or, with the Owner's consent, an

                     22         Occupant of the Property or a portion thereof may apply to the
                      23        Department for a termination of the Restrictions as they apply
                      24        to all or any portion of the Property on the ground that the
                      25        waste no longer creates a significant existing or potential
                      26        hazard to present or future public health or safety.                  Any
                      27

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                           1       application shall contain sufficient evidence for the Department
                          2        to make a finding upon any or all of the following grounds:
                           3
                           4                   The hazardous waste which caused the land to be
                           5                   contaminated has since been removed or altered in a
                           6                   manner which precludes any significant existing sr
                           7                   potential hazard to present or future public health.
                           8
                           9                   New scientific evidence is available concerning either
                        10                     of the following:
                        11
                        12                     1.    The nature of the hazardous waste contamination;
                         13                          or
                        14                     2.    The    geology   or    other    physical   environmental
                         15                          characteristics of the contaminated land.
                        16
                         17        Upon making      a     decision to      approve   or deny    the   proposed
                         18        termination, the Director shall issue and cause to be served the
                         19        decision and findings of fact on the owners of the land, the
                         20        legislative body, and the city or county in whose jurisdiction
                        21         the land is located, and upon any other interested person,               If
                        22         the Department approves, in writing, the proposed termination of
                         23        the Restrictions, the Director and all of the owners of the land
                        24          shall record or cause to be recorded, a termination of the
                         25        Restrictions which shall particularly describe the real property
                         26         subject to the Restrictions and which shall be indexed by the
                         27         recorder in the grantor index in the name of the record title

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  owner of the real property subject to the Restrictions, and ir
  the grantee index in the name of the Department.


  4.03   m.      Unless terminated in accordance with paragraph 4.02
  above, by law or otherwise, this Covenant shall continue in
  effect in perpetuity.


                                   ARTICLE V
                                MISCELLANEOUS


  5.01   No Dedication Intended. Nothing set forth herein shall be
  construed to be a gift or dedication, or offer of a gift or
  dedication, of the Property or any portion thereof to the
  general public or for any purposes whatsoever.


  5.02 Notices.      Whenever any person gives or serves any notice,
  demand, or other communication with respect to this Covenant,
  each such notice, demand, or other communication shall be in
  writing and shall be deemed effective 1) when delivered, if
  personally delivered to the person being served or to an officer
  of a corporate party being served or official of a government
  agency being served, or 2) three (3) business days after deposit
  in the mail if mailed by United States mail, postage paid
  certified, return receipt requested:
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 583 of 708


         To:   Harold Logsdon
               Coast Wood Preserving, Inc.
               P.O. Box 673
               Ukiah, CA    95482


  Copy To:     Department of Health Services
               Toxic Substances Control Division
               Region 2
               2151 Berkeley Way, Annex     7

               Berkeley, CA    94704
               Attention:   Regional Section Chief


  5.03    Partial Invaliditv. If any portion of the Restriction set
  forth herein or terms is determined to be invalid for any
  reason, the remaining portion shall remain in full force and
  effect as if such portion had not been included herein.


  5.04    Article Headinas.          Headings at the beginning of each
  numbered article of this Covenant are solely for the convenience
  of the parties and are not a part of the Covenant.


  5.05     Recordation.       This    instrument   shall be   executed   by
  the Covenantor, and by         the Director, California Department
  of Health Services.          This instrument shall be recorded by
  the Owners in the County of Mendocino within ten (10) days
  of the date of execution.
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                        1       5.06    References.       All   references    t o Code     sections     include
                       2        successor provisions.
                        3
                       4        I N WITNESS WHEREOF, t h e p a r t i e s execute t h i s Covenant a s o f the
                       5        data s e t f o r t h above.
                       6
                        7                                             COAST WOOD PRESERVING, INC.
                       8
                        9                                             By:
                     10                                                       E a r o l d W. ~ o ~ s d o n

                     11                                               Title:

                     12
                     13                                               Date:-,

                     14
                     15
                     16                                               DEPARTMENT OF HEALTH SERVICES

                     17

                     18
                     19
                     20
                     21
                     22                                               Date:      9' 51 q
                     23
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  STATE OF CALIFORNIA


  COUNTY OF ALAMEDA




          on   0 4 3                                    -,   1989, before me, the undersigned,
  a Notary Public in and for said state, personally appearec
  Howard K. Hatavama, personally known to me or proved to me or
  the basis of satisfactory evidence to be the person who executed
  the within instrument as Resional Administrator. Recrion 2, Toxic
  Substances Control Prosram, De~artment of Health Services, of
  the agency that executed the within instrument, and acknowledged
  to me that such agency executed the same.


          WITNESS my hand and official seal.




                                                             Notary Public in and for said
                                                             County and State
                   C%A?:OTTE hl JACKSON


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Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 586 of 708


   STATE OF CALIFORNIA      )

                            )

   COUNTY OF STANISLAUS     )




         On    ,   ,      25         ,   1989, before me, the undersigned,

   a Notary Fwblic in and for said state, personally appearec
   Harold Loqsdon, personally known to me or proved to me on ths
   basis of satisfactory evidence to be the person who executed the
   within instrument as President of the corporation that executec
   the within instrument, and acknowledged to me that such corpora-
   tion executed the same pursuant to its bylaws or a resolution of
   its board of directors.


        WITNESS my hand and official seal.




                                         County and State
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                                           EXHIBIT A




 The d e s c r i p t i o n o f t h e two l o t s are   as follows:


 BEGINNING a t t h e p o i n t of i n t e r s e c t i o n of t h e South l i n e o f Lot

 70 of t h e Yokayo Rancho,             w i t h t h e E a s t l i n e of P a r c e l One, as

 conveyed i n t h e deed executed by Edgar W.                  Dutton e t a l . t o S t a t e

 of    California,        d a t e d November 29,       1961,    recorded        February 1,

  1962,    i n Volume 588 of           Official     Records,      page 142,       Mendocinc

 County      Records;       thence     along    the    exterior      boundary      of     said

 P a r c e l One,     North 5 d e g r e e s 52'     45" West 342.86         feet;       thence

 c o n t i n u i n g North 5 degrees 52' 45" West 145.0 f e e t ; t h e n c e Nortk

 80 d e g r e e s 3'7' 15" E a s t 386.91 f e e t t o t h e South l i n e of t h e 5C

  f o o t road d e s c r i b e d i n t h e deed t o C i t y of Ukiah, r e c o r d e d June

 8 , 1956     i n Volume 432 of O f f i c i a l Records, page 543, Mendocinc
 County      Records;       thence      along    the    South     line     of    said     road

 E a s t e r l y t o t h e W e s t l i n e of P a r c e l Two a s conveyed i n s a i d deed

  (588 0.R.142);         t h e n c e a l o n g s a i d West l i n e of P a r c e l Two South 7

 d e g r e e s 20'    46" E a s t 354.23 f e e t t o t h e s a i d South l i n e of Lot

 70:    thence        Westerly    along     said    South     line    to   the    point     of

 beginning.



 PARCEL 2 ,      a s numbered and d e s i g n a t e d on t h e P a r c e l Map f i l e d

 A p r i l 24,       1974 i n Map Case 2 ,         Drawer 23,      Page 89,       Mendocino

 County Records.
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                                          APPENDIX H


                                            Coast Wood Preserving Inc.
                                           Analysis of Public Comments
                                      t       Received on Draft RAP
                                                       June 1989

                     On May 25, 1989, the California Department of Health Services
                    held a public meeting on the proposed remedial action plan for
         ~.         the Co%st::.Wood Pseserving site? located in Ukiah, Mendocino
              '     County;'C"alifornia. The purpose of the meeti.ng was to provide the
+   ..        '     public with information regayding<the remedial action pl.an : (RAP)
                    and to solicit public comments'on the adequacy of theiplan; In
                    addition, from May 9, 1989 to. June 8, 1989, the California
                    Department of Health Services held a.pi&lic cqmment.peri.odon the
                    draft remedial action plan.
                    There were no written public comments receive6 by the Department
                    on the draft RAP, during this comment period. Therefore, the
                    draft RAP will be approved as the final RAP.
                   A copy of the transcript of the public meeting is available for
                   revzew at:
                   Department of Health Services
                   Toxic Substances Control Divisi~n
                   5850 Shellmound St. Suite 100
                   Emeryville, CA 94608
                   ~endocino'County Library
                   105 N. Main St.
                   Ukiah, CA 95402
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      FINAL REMEDIAL ACTION PLAN AMENDMENT APPROVAL
                          RECORD
                       SIGN-OFF SHEET


                        Coast Wood Preserving, Inc.




Project Manager




Unit Chief                                            Date




                                                             7 - 1   &--$4
Branch Chief      I/                                  Date
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                      PROPOSED AMENDMENT
                             TO THE
                     REMEDIAL ACTION PLAN
                               FOR
                   COAST WOOD PRESERVING, INC.
                        UKIAH, CALIFORNIA



                              May 19, 1999




                              Prepared for:

                       Coast Wood Presewing, Inc,
                       Plant Road and Taylor Drive
                               Ukiah, CA




                              Prepared by:

                          Montgome~yWatson
                        1340 Treat Blvd., Suite 300
                        Walnut Creek, CA 94596
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Proposed Amendment to Remedial Action Plan                                                                                                                                                                                               II
Coast Wood Preserving, Inc., Ukiah, California                                                                                                                                                           May 19. 1999



            INTRODUCTION                                                                                                                                                                                                                 1

                 Site Backgroun                                                                                                                                                                                                          1

                 Purpose and Objective                                                                                                                                                                                                   1

            DESCRIPTION OF EXISTING REMEDIAL ACTION                                                                                                                                                                                     2

                 Remedial Action Components

                 Remedial Effectivenes

           IN-SI7U GEOCHEMICAL FIXATION TECHNOLOGY

                 Background

                Experience with In-Sztu Reduction for Treatment of Chromium-Impacted Sods and
                Groundwater

          USE OF IN-SITU GEOCHEMICAL FIXATION AS AN ADDITIONAL REMEDIAL
          MEASURE AT COAST WOOD PRESERVING

                 Design Basi

         Conceptual Approac
     421    Soil
     422    Gro

5 0 PERFORMANCE STANDARDS . .                                                           ,   , , , , , ,, , ,   ,   . ,. .   ,   , ,,   . ..
                                                                                                                                        ,     , , , , ,   ..   ,   . , , . . ,, .   .   , ,,   .,.   .   , ,   ,   , , ,   .   , ,,   . ,7

6 0 MONITORING . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .7. . . . . . . . . . . . . .

7 0 SCHEDULE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .8. . . . . . . . . . . . . . . . .

Figure 1                       Site Location Map
Figure 2                       Extent of Chromium in Soil and Shallow Groundwater
Figure 3                       Conceptual Soil and Groundwater Approach

Appendix A                             Additional Infbrmation Regarding In-Sztu Geochemical Fixation
Appendix B                             Schedule
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Proposed Amendment to Remedial Action Plan                                                        1
Coast Wood Preserving, Inc., Ukiah, Califbrnia                                         May 19, 1999

1.0      INTRODUCTION

This document has been prepared for Coast Wood Preserving, Inc, (CWP) to propose an
amendment to the Remedial Action Plan (RAP) established for the CWP site in Ukiah,
California The original RAP was prepared by Geosystem Consultants, Inc, and approved by the
Califbrnia Environmental Protection Agency Department of Toxic Substances Control (DTSC)
in September 1989 This amendment to the RAP pxesents enhancements to the remedial action
program in place for soil and goundwater at the site CWP understands that a 30-day public
comment pexiod is required before approval of this amendment,

1.1      Site Background

The CWP site is located at the intersection of Taylor and Plant Roads in the city of Ukiah (Figure
1 ) CWP has used the site for wood preserving operations utilizing copper, chromate and arsenic
solutions since 1 9 7 1 In the early 1980's, groundwater impacts related to these operations were
observed Several phases of investigation and remediation have been conducted to characterize
impacts to soil and groundwater A more complete description of' site activities including
investigations, and remedial actions is provided in the RAP prepared for the site (Geosystem,
1989),

1.2      Purpose and Objectives

The purpose of amending the RAP is to incorporate technical advances made in the field of
metals remediation into the selected remedy Since the RAP was prepared and the Record of
Decision (ROD) was signed in 1989 by US EPA, new technology has become available which
has been proven to be more effective in remediating hexavalent chromium than the current
groundwater extraction and treatment system operating at the site As recommended by US EPA,
the revision of'the remedy selected for this site would:

       " b r i n g past decisions into line with the current state of knowledge with respect to
      remediation science and technology, and by doing so, improve the cost effectiveness of site
      remediation while ensuring reliable short and long term protection of human health and the
      environment " (Superfund Reforms : Updating Remedy Decisions, US EPA 1996)

The technology that is being recommended to enhance remedial actions for this site is in-situ
geochemical reduction. The proposed plan is to continue to execute all of the elements ofthe
original selected remedy for the site in addition to implementing in-situ technology.

The purpose of this RAP Amendment document is to briefly describe the proposed technology
and conceptual approach for implementation A more detailed Remedial Design (RD) document
will be prepared that provides additional information regarding the specific design and
methodology for implementation of this technology A draft of the RD document was submitted
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Proposed Amendment to Remedial Action Plan                                                         2
Coast Wood Preserving, Inc., Ukiah, California                                          May 19, 1999

to DTSC and the RWQCB on February 5, 1999 The RD will be finalized upon receipt of
comments from DTSC and the RWQCB and pending approval of this RAP Amendment

2.0      DESCRIPTION OF EXISTING REMEDIAL ACTION

The selected remedial action as presented in the RAP includes abatement measures such as
controlling storm water run-off and reusing collected water as process water, as well as active
remediation in the fbrm of extraction and treatment of groundwater (pump and treat) The site
has, and is currently implementing the remedial alte~nativeselected by the RAP with the
exception of' active treatment of the soils since the site is still perfbrming wood treatment
operations

2.1      Remedial Action Components

The selected remedy currently includes:

      Paving of exposed soils to prevent surface water infiltration and leaching of chromium from
      soils to groundwater

0     On site treatment of impacted soils using best available technology, following termination of
      wood treatment operations

      Hydraulic control of impacted groundwater using extraction wells

      Elect~ochemicaltreatment of extracted groundwater

0     Reuse, recycling or downgradient reinjection of treated groundwater

      Groundwater monitoring and sampling to ensure the effectiveness of remedial measures

2.2      Remedial Effectiveness

The remedial measures referenced above have been effective in limiting furthcr. impact to the
soils and groundwater at the site. In addition to the groundwater extraction outlined above, CWP
installed a cutoff'walllI.ecove~ytrench (HL-7) n e a the southeastern (downgradient) boundary of
the site to further limit the migration of impacted groundwater These measures have been
effective in controlling the plume of hexavalent ch~omiumin the groundwater Specifically,
these measures have maintained hydraulic control of the plume The levels of' hexavalent
chromium detected in the groundwater remain relatively constant. Based on experience with
similar sites underlain with inter-bedded fine grained soil, traditional pump and treat technology
will require many years to reach cleanup levels, and may not be technically feasible or financially
practical
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P~oposedAmendment to Remedial Action Plan                                                        3
Coast Wood Preserving, Inc., Ukiah, California                                        May 19, 1999

3.0     IN-SITU GEOCHEMICAL FIXATION TECHNOLOGY

In-situ geochemical fixation is a proven and innovative technology for the remediation of
chr&mium-impacted soil and groundwater Experience with this technology has shown a
significant reduction in the time required to reach clean-up levels as compared to conventional
pump and treat approaches alone Additionally, there is a reduction in the volume of waste
generated (via groundwater extraction and treatment), therefore making this approach more
economical. Chemically reducing the hexavalent chromium in-situ allows the use of natural
groundwater flow dynamics as well as naturally occurring physical processes to augment the
remediation of the soil and groundwater This technology has shown a significant and lasting
effect on the impact of hexavalent chromium in groundwater and soil at other wood preserving
sites Appendix A includes additional information regarding in-situ geochemical fixation,
provided in support of this proposed RAP Amendment.

3.1     Background

This technology has been tested and implemented at several sites in the United States and abroad,
The technology includes the use of'a chemical reductant to reduce hexavalent chromium, which
is highly soluble (therefore relatively mobile in groundwater), to trivalent chromium which is
relatively insoluble Additionally, hexavalent chromium is considered toxic and carcinogenic,
whereas trivalent chromium is considered non toxic The amount of chromium added to the soil
by the fixation of trivalent chromium is insignificant when compared to background (naturally
occurring) levels of chromium and does not represent a threat to human health or the
environment (see section 4 2 ) Experience with similar wood preserving sites has shown calcium
polysulfide to be the most effective reductant

3.2     Experience with In-Situ Reduction for Treatment of Chromium-Impacted Soils and
        Groundwater

Approval has been granted to operate full-scale remedial programs using calcium polysulfide at
similar wood preserving sites in California under approval by the Regional Water Quality
Control Board (RWQCB) and the US EPA

Locally (North Coast RWQCB region), a full-scale remediation program is being conducted at a
wood treatment facility in Windsor, California This technology was initiated at the site in 1996
In the shallow groundwater and vadose zones There has been a reduction in the size of the
hexavalent chromium plume in the shallow groundwater at this site of app~oximately75% The
vadose zone (soil) treatment at the Windsor site has shown a similar effect
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Proposed Amendment to Remedial Act~onPlan                                                         4
Coast Wood Preserving, Inc., Ukiah, California                                         May 19, 1999

4.0     USE OF IN-SITU GEOCHEMICAL FIXATION AS AN ADDITIONAL
        REMEDIAL MEASURE AT COAST WOOD PRESERVING

A variety of approaches have been used for delivery of the chemical reductant to impacted soil
and groundwater, depending on site specific conditions and remedial objectives A typical
approach is to enhance a pump and tIeat approach by amending extracted and treated
-
groundwater                                                                    -
              with chemical reductant and re-iniect the amended water in upgradient wells or
                                                                           A


plume periphery wells This approach is highly successful, generally resulting in rapid plume
cleanup if the aquifer is relatively permeable and homogeneous One such site located in
Turlock, California has been operating, with better than expected results, for approximately one
year under US EPA approval However, when the aquifer contains significant fine-grained
material, as is the case at the CWP site, dispersement of the reductant in the aquifer can be more
difficult and other delivery techniques must be used. Infiltration of reductant through impacted
vadose zone soils andlor direct pressure injection of reductant into highly-impacted portions of
the saturated zone has been used This approach has been successfully used at a site in Windsor,
California at which the geology is very similar to the CWP site An alternative passive approach
involves creating a geochemical barrier or treatment zone at the downgradient edge ofthe plume
to limit further migration. Experience with this technology has shown that the best approach
usually involves performing treatment in phases using the results of groundwater monitoring and
sampling as the basis f o ~additional reductant injection or infiltration,,

4.1     Design Basis

This section describes the design basis for the implementation of the in-situ fixation of
hexavalent chromium in soil and groundwater at the CWP site The site is underlain
predominantly by interbedded, fine-grained sediments (interbedded clays, silts, and gravelly
clays) Elevated concentrations of chromium in soil (greater than 100 mg/Kg) have been
detected in the areas shown in Figure 2. First groundwater occurs between approximately 3 to 15
feet below surface grade, with a south-easterly flow direction Seasonal groundwater level
fluctuations are observed, with groundwater being encountered very close to surface grade in the
late winter months fbllowing the significant precipitation received in the site vicinity. The
shallow groundwater exhibits concentrations of dissolved chromium ranging from less than
0 005 to approximately 3 0 parts per million (Figure 2) The current remedial activities have been
effective in preventing significant off site migration of the plume

4.2     Conceptual Approach

Based on the geologic conditions encountered at the site, direct pressure injection of reductant
into impacted portions of the shallow groundwater zone is anticipated to provide the best results
in achieving remedial objectives for groundwater The existing pump and treat remedial action
elements will continue as set forth in the R A P The approach to address both soil and
groundwater impacts is discussed below,,
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Proposed Amendment to Remedial Action Plan                                                          5
Coast Wood Preserving, Inc., Ukiah, California                                           May 19, 1999

4 2 1 Sod
Prior to developing any potentially-needed remedial approaches for the soil, additional evaluation
of the presence of residual hexavalent chromium in soil is appropriate Experience has shown
that the most appropriate evaluahon of residual impact in so11 that may continue to threaten
groundwater quality is through analysis of soil pore moisture

Pressure-vacuum lysimeters will be installed in locations which are reported to have elevated
concentrations of chromium detected in the soil (see Figure 2) Lysimeters allow the collection of
pore water samples If based on the results of the lysimeter data it appears that there is mobile
hexavalent chromium within the vadose zone in the source areas, direct application of the
reductant into the vadose zone is the most successful method of treatment Based on experience
at similar wood preserving sites, the most effective method is infiltration galleries. These
galleries are constructed by trenching throughout the source area to approximately 3 ft bsg,
backfilling the trenches with permeable material, and infiltrating reductant directly into the
vadose zone

At this time, it is technically impractical to install these infiltration galleries into the active
operations areas. However, until treatment can be safely accomplished in the ope~ationsarea, in
addition to the approach described below for groundwater, it is proposed that existing well CWP-
19 and the associated injection trench and three existing shallow wells (screened across the
vadose and shallowmost saturated zone) be used to deliver the reductant upgradient of the source
area (Figure 3)

During periods of high groundwater elevations, reductant addition to the upgradient trench and
shallow wells will allow infiltration into shallow pexmeable fill material underlying the plant
Based on the very shallow depth of groundwater during the winter months (within three feet of
the ground surfice), treatment of the majority of the chromium impacts in soil at the site using
this approach is anticipated. Additionally, by introducing the reductant in the vadose zone
upgradient during periods of lower groundwater levels, the natural groundwater flow assisted by
downgradient pumping (HL-7) will pull reductant under the source area ad&essing impacts to
the shallow groundwater under the plant If residual hexavalent chromium is detected in the soil
pore moisture in other potential source areas, such as the area south ofthe active wood treatment
area, a specific remedial design work plan to address these impacts will be developed. The
approach to address these soil zone impacts would conceptually be as described above (i.e via
infiltration or additional direct injection in source areas)

4 2 2 Groundwater
As stated above, di~ectinjection of reductant into impacted portions of the shallow groundwater
zone is proposed The direct injection will be accomplished using a ~ e o ~ r o rig   b eto ~push
                                                                                              ~ 314-
inch injection pipes to a taget depth at each location (actual locations to be determined based on
site conditions) At each location, the pipes will be withdrawn 5 feet and a calculated volume of
29 % calcium polysulfide will be injected using a piston pump Following the reductant, a
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C o a s t Wood Preserving, Inc., Ukiah, California                                           May 19, 1999

c a l c u l a t e d volume of water will be injected at each of the locations to assist in dispersing the
r e d u c t a n t solution Additional details concerning the actual locations for the di~ectinjection and
c a l c u l a t e d volumes of reductant and water will be presented in the Remedial Design. However,
the areas to be specifically considered are illustrated on Figure 3 These areas were selected
b a s e d on the observed concentrations of chromium in groundwater and also based on site
constraints posed by the active wood treatment oper.ations Additional injection locations may be
d e t e r m i n e d in the future pending the results of continued groundwater monitoring and sampling

As shown on Figure 3, it is proposed that a series of injection points be performed along several
t r a n s e c t lines to deliver reductant to accessible key impacted areas of groundwater:

        A line of injection points will be placed from the axea of CWP-20 to the northwest and then
       north, along the east and north extent of the wood treating operations, forming a reactive
       barrier to ensure that the plume will not migate around the north end of the cutoff
       trench/slurry wall

      A "U" shaped line of points is to be placed on the south, east, and north side of the tank farm
      t o aid in adhessing the source area. In addition, 2 additional east-west injection lines are
      proposed immediately southwestaf the retort area in the heart of the dissolved chromium
      plume to address this cr'itfcz6-Gea This area is considered to be located as close to the source
      a s currently practical The areas closer to the retort are paved with concrete, and penetration
      of the concrete to deliver reductant is not recommended at this time,,

      A north-east, south-west trending line will be emplaced across the center of'the shallow
      plume, to reduce the time for remediation by achieving in-situ fixation of chromium as the
      groundwater migrates from the source area towad the recovery trench, HL-7

      Additional injections will be placed throughout the body of the plume where access allows to
      deliver reductant to the shallow saturated zone

  In addition, to address the concern that dissolved chromium may be migrating beneath the slur~y
  wall into deeper groundwater (as evidenced by the results of routine sampling of CWP-8):

      A downgadient reactive banler will be established in a north-south direction, east of the cut-
      off trencNslu~rywall into Zone 2 to a depth of 25 feet bsg The injection will consist of a
      line of injection points spaced approximately twenty feet apart from a point south of CWP-8
      t o a point north of CWP-22

  Once injected, the 1,eductantwill come into contact with residual hexavalent chomium and
  achieve reduction of hexavalent chromium to the trivalent fb~m,followed by the sorption of'the
  trivalent chromium onto aquifer solids, The amount of trivalent chromium that will sorb onto the
  soil is estimated to increase chromium concentrations by approximately 5% in comparison to the
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existing background values of trivalent chromium in the aquifer solids Furthermore, the
trivalent chromium sorbed on aquifer solids is highly insoluble thus eliminating the threat of
continued groundwater impact 'The residual chromium levels will pose no threat to human
health or the environment

As stated above, existing downgradient extraction well HL-7 will continue to be pumped to
maintain hydraulic control of the plume and aide in dispersion of the reductant throughout the
impacted area of the plume As the reductant front migrates through the aquifer from points of
injection toward monitoring wells and HL-7, water quality parameters will be monitored to
evaluate remedial progress Furthermore, extraction will continue at HL-7 until chromium
concentrations decline to below the applicable MCL of 005 mg/L dissolved chromium Based
on experience, elevated sulfate levels (or other changes to general water quality) are not
expected Water quality monitoring will be performed to ensure that extracted water is of
appropriate quality for reuse in the wood preserving process, and treated water discharged into
the reinjection well does not exceed waste discharge requirements

5.0     PERFORMANCE STANDARDS

Performance standards originally established for the site will remain unchanged The state and
federal agencies responsible for overseeing the CWP remedial activities include the DTSC,
RWQCB and the EPA As stated in the ROD, the goal of the remedial efforts is to ensure that
the remedy be " protective oj human health and the environment, attain Federal and State
requirements that are applicable or relevant and appropriate to the remedial action, and is cost
and time effective"

6.0     MONITORING

The routine groundwater monitoring and sampling program which CWP currently executes will
continue as required by the RWQCB Additionally, prior to beginning the direct injection, as a
baseline, g~oundwatersamples will be collected from all appropriate onsite monitoring wells
Specific wells to be sampled will be discussed in the Remedial Design The groundwater
samples will be analyzed for total dissolved chromium and sulfate After the injection event,
select wells will be sampled monthly and quarterly as discussed in the Remedial Design Six
months and one year following the injection event, all the appropriate wells on site will be
sampled again

Lysimeters installed to evaluate the presence of residual hexavalent chromium in the vadose zone
will be sampled quarterly during the first y e a after installation Continued monitoring will be
based on the results Samples will be collected for total dissolved chromium analysis
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Proposed Amendment to Remedial Action Plan                                                 8
Coast Wood Preserving, Inc., Ukiah, California                                  May 19, 1999



7.0     SCHEDULE

A schedule for the project is attached in Appendix B As stated above, the draft document
Remedial Design, Remedial Action Plan Amendment, Coast Wood Preserving, Ukiah, Calijornia,
dated February 5, 1999 provides more specific details regarding the proposed remedial action
enhancements Coast Wood Preserving is p~eparedto begin implementing the in situ chromium
~eductionprogram immediately pending approval by the interested parties
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                                                      MONTGOMERY WATSON

                                                     COAST WOOD PRESERVING. INC
                                                          UKIAH, CALIFORNIA
                                                         SITE LOCATION MAP
 Scale: 1:24,000
 USGS Topographic Map 7 5' Elledge Peak 1980
                                                              FIGURE 1
      Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 601 of 708




 LEGEND
  +     MONITORING WELL
        CUT O f f WALL
--- CONCENTRAnON CONTOUR
 ( )    OISSOLVEO CHROMIUM CONCENTRATION (Mg/L)
        NOVEMBER 1998 SAMPLING EVENT

        APPROXIMATE UTERAL EXTENT OF CHROMIUM (> 100 mg/Kg)
        IN UPPER ONE FOOT OF SOIL




                                                                            MONTGOMERYWATWN

                                                                          COAST WOOD PRESERVING. INC
                                                                               UKIAH, CALIFORNIA
                                                                        EXTENT OF CHROMIUM IN SOIL AND
                           o                                               SHALLOW GROUNDWATER
                               SCALE IN FEET
                                                              o PO cw               FIGURE 2
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 602 of 708

LEGEND




                                                          hWNTGOMERYWATSON

                                                        COAST WOOD PRESERVING, INC
                                                             UKIAH, CALIFORNIA
                                                            C v > ~ ~ ~ p B E , ?S3Cb  Ab M D
                                                           .,.$ .; >..,7v,ba . ,t;.,t
                                                         xpp:,d,,.!! ,,,,
                                                                             ~   +~~.:
                                                                                       i:L!;vyj> <$$y

                                          0SLI.CW   I                       FIGURE 3
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                               Appendix A

       Additional Information Regarding In-Situ Geochemical Fixation
      Geochemical        fixation application
        Case 1:96-cv-06055-AWI-SAB                reduces
                                   Document 73 Filed 03/01/18                                   Page 604 of 708
                                                                                                      Geochemical Fixation
      costs a n d project life cycles for on-site                                                    Geochemical fixation a new metals
      treating plant chromium cleanup.                                                            cleanup technology developed by Fluor
                                                                                                  Daniel GTI, is now available to mini-
                                                                                                  mize the threat posed by chromium and
                         Treating                                                                 other metals in soil and groundwater.
                                                                                                  An improvement over the conventional
                                                                                                  pump- and-treat approach, geochemical

                       The Treatment                                                              fixation mixes chemical reagents hith a
                                                                                                  smaller volume of pt~nipedgroundwa-
                                                                                                  ter, and reinjects the treated water
                                                                                                  around the perimeter of a contaminated
                                                                                 times the vol-  plume
                                                                                 ume of the con-     As the treated plug of groundwater
                                                                                 taminated       moves through the plume, the reagent
                                                                                 plume-must      promotes subsurface reactions which
                                                                                 be pumped to    cause dissolved metals to change chem-
                                                                                 adequately dis- ical forms and bind or fix onto soil par-
                                                                                 lodge the metal ticles rendering them incrt and immo-
                                                                                 contaminants    bile This reduces the risk of environ-
                                                                                 from the soil   mental damage and human exposure by
                                                                                 Such aggressive metals left in place, and substantially
                                                                                pumping lowers   reduces the total volume of groundwa-
                                                                                the water table, ter which must be pumped-typically
                                                                                leaving chro-    calling for pumping just 10% of the
                                                                                mium trapped    total volume of groundwater otherwise
                                                                                in low-perme-   extracted using conventional pump-
                                                                                ability layers  and-treat methods
                                                                                such as clay        Reagents vary depending on soil

I     Figure 1 : Hexavalent chromium groundwater concentrations prior to
      treatment
                                                                                     "ger pre-  characteristics such as pH, clay content.
                                                                                                total organic carbon, iron and man-
                                                                                sent in virtually
                                                                                all aauifers
                                                                                   Trapped met-
                                                                                                ganese oxide content and cation ex-
                                                                                                change capacity For anion-mobile met-
               hromium contamination is pre-                                                    als such as hexavalent chromium and
                                                    als remain inaccessible to flushing until the
              sent at large numbers of wood         water table has had a chance to return to   selenium, the reagents of choice are
              treating facilities and many in-     normal levels (i e , once the pump has been  "reductants."
              1 sites throughout the U S ,         turned off or as a result of seasonal fluctu-    Accomplishing in months what would
     Nonetheless, few technologies exist           ations) Once the water table has returned    otherwise take years, geochemical fixa-
     which can effectively address this sub-       to normal, these isolated metals often find  tion technology can be up to 90% faster
     surface metals contamination within a         their way back into groundwater, recon-      and less expensive than conventional
     reasonable cost or time frame                 taminating a treated aquifer and prolonging  pump-and-treat methods for dealing
        Wood treating facilities impregnate        the life of the remediation project          with metals
     acidic solutions of copper, chromium and
     arsenic into lumber to forestall rot and
     prevent damage from insects Historical-
    ly, releases have resulted from process-.
    ing mishaps, handling accidents or from
    lumber which was not completely dry
    when exposed to rain These releases can
    leach down through unsaturated soils, ul-
    timately impacting saturated soils be-
    neath the water table
       The most widely used method to extract
    chromium and other metals from soil and
    groundwater involves the continuous
    pumping of groundwater Such pump-and-
    treat systems flush chromium from the
    soil, and treat the pumped groundwater at
    the surface. using standatd metals-removal
    processes Treated water is reinjected up-
    gradient of the aquifer or discharged under
    permit to a nearby stream or publicly
    owned treatment works
       The major shortcoming of the               Figure 2: Hexavalent chromium groundwater concentrations following three months of geo-
    pump-and-treat approach is that massive       chemical fixation treatment
    amounts of groundwater-commonly 50                                                                             --
    22    OCTOBER 1997 Timber Processing

                                                                                                                         -   -.
            Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 605 of 708
                                         -       duced significantly (See figures I and 2             Dnniel GTI was able to 5ignitiiantly re-
             Case History                            Currently. Fluor Daniel G I 7 is address-        d u c t engineering and cwistru~liimscosts
                                                 ins n fourth hot spot of ~hromiumctintan~i-              Fluor Dnniel G1'1 began iiorking un
       The owner of a Midwestern wood treat-     nation on site A series of five injection            tiiese projects in Junc 1995 Although i t
   ment plant was faced with the prospect of     wells has been installed at the upgradient           has heen necessary to adiipt to unerpect-
  cleaning up multiple areas o f soil and        edge of the plume These wells are given              ed site conditions completion o f the
  gn~mdivatercontaniinated with hexavalent       doses of concentrated reductant solution at          chromium cleanup is expected in 1997 at
  chlomium, a byproduct of copper chromi-        two-week intervals The reductatit migrates           a total cost of approximately $600 000 TP
  um arsenate solution (CCA) used to treat       downgradient where it is captured by one                 The nrlicle war submilfed by Flour Daniel
  nonJ With conventional pump and treat          o f the closed-loop treatment systems on the         GTI, iVorwoud, ,Wars. Conmcr Peggy Bliss a1
  technologies, cleaning up this site could      site B y piggy-backing this installation             (617) 769-7601)o r I inda De5irlo (101) 647-
  h n e tnkcn more than 10 years at 3 cost of    onto an existing treatment system Fluor              7578
  5everal n~illion  dollars
      With geochemical fixation, hexavalent
  chromium is quickly converted to trivalent
  chromium, which is stable, immobile and
  less tonic Instead of years, unacceptable
                                                 1 PENINSULA REPLACEMENT BAND SAW WHEELS
  levels ot chromium contamination and as-
  sociated liabilities are cleaned up within
  weeks or months of initiating tseatment
                                                   PENINSULA REBUILDING SERVICE:
     On this environmentally sensitive site
 there were four plumes threatening do-
                                                  Rebuild your bandsaw at a fraction of the cost 01
 mestic drinking wells downgradient from          a new system New wheels, arms. "modily
 the site One plume of contamination was          strain': shafts, bearings, base, sandblast & paint
 close to the property's boundary I n two         Reconditioning
                                                             ..    the parts or manufacturing new
 rrloritlis the hexavalent chromium in this
 critical zone was reduced to less than                     .           PENINSULA
 drinking water standards
     The basic method of treatment involved
 extracting and mixing groundwater with a
 reductant and reinjecting the treated water                                        For Fast, Free hfo Circle 882
 through upgradient soils and groundwater
 This closed-loop approach rapidly dis-
 persed reductant throughout the plume
 which transformed hexavalent chromium
 to i t s stable, immobile and less toxic form
    Two o f the other plumes were created
by storing treated wood on a non-covered
asphalt pad Water from rain or melting
snow leached some of the treatment solu-
tion trom the treated wood and migrated
off the asphalt, creating a "halo" plume of
contamination in soils surrounding the pad
    I n one case, the run-off reached a reten-
tion pond, which became the source of
chromium in groundwater Although con-
centrations were below drinking water
standards, the owner elected to treat
groundwater anyway This was accom-
~ l i s h e db y pumping groundwater from                                                                            Our product family
two nearby wells, mixing it with a reduc-                                                                            vailable in multiple
tant and recirculating i t back into the                                                                             these are the only
pond This closed-loop system distributed
enough reductant into the groundwater to
quickly reduce and render immobile the                       Large selection ready lo ship ,Fully reversible for uniform drying cycles
chromium contamination                                            Solid cast-aluminum blades for longest life in kiln environments
    Another plume was more serious be-
                                                       Precision hubs with stainless steel hardware, balanced for vibration-free operation
cause concentrations were significantly
higher Three recovery wells were placed
downgradient o f the plume as close as pos-
                                                                                                  .
                                                      Tested in certified lab using kiln shrouds Fast, easy and accurate blade angle setting

sible to the propelty line 'This created a re-
                                                         So size up Smithco propellers Because it's all we do, we do it better
covery zone, which prevented contamina-
                                                            SMITHCO MANUFACTURING
tion from migrating off-site Water from
these wells was mixed with a reductant
and reinjected into the subsurface upgradi-
                                                                                             -
                                                                          PO Box 25516 Portland, Oregon 97298
                                                                                .
                                                                  503-295-6590 800-764.8456 U S Only. Fax: 503-295-6822
ent by way of six vertical injection wells
                                                                  -
                                                                                                                                              -
    After three months o f treatment.
chromium concentrations had been re-                                                For Fast, Free Info Circle U83

                                                                                     Timber Processing OCTOBER 1997                           23
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              PROCEEDINGS


            Eighty-Skth Annual Meeting

                          of' the



           AMERICAN
        WOOD-PRESERVERS'
          ASSOCIATION

           Op~ylandHotel, Nashville, Tennessee
               April 30,31,   M a y 1 , 5 1990




                       VOLUME 86
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       In-Place Cleanup of Hea\y Metal Contamination of Soil and
                Ground Water at Wood Preservation Sites
                                            Jim V.Rouse, R C.,
                                            Dincror of C20hydmlo.w

                                                      and




                 Lh;TRODUCT1ON                             rnents varies depending on the orranism and the
                                                           uptake mechanism
    As noted by Hartford (1986) copper, chromium              Dr. Hem? S,. B r o m (1986) noted that essential;),
  and arsenic (CC.4) preservation solutions have           all so&, rocks, and water contain arsenic, chmmium,
  emerged after over half a centuq of hials as an          and copper He presented an excellent ~mmar).          of'
    ~tstvldingwater..borne preser ative. CCA formu-        the natural abundance of the three elements in nu-
    tion solutions undergo complex reactions during        face materials and water. He also presented a &
  the trearment proceis in which the active ingredi-       cussion of their relative mobility. and concluded that
 ents are fired in the wood without being rendered         arsenic and copper are generdy rwice as mobile as
 inactive. Simifar fixation reactions occur when CCA      chromium in the environment. As noted by Rouse
 sotutions encounter natural earthen materials It IS      (1988). this conclusion is valid for the t h e e elements
 important for wood p r e m a t i o n industp personnel   in their natural valence stat€, hut hexavalent chrw
 to recopize that the degree of fixation of the various   mium is much more mobile than either copper or
 constituents of CCA solutions varies as a Function of    anenic., In the hexavalent state, chromium is not as
 roil prope*es. It is also important to recognize that    readily attenuated under natural conditions Rouse
 copper, chromium, and arsenic d have stringent           (1988)went on to note that natural mechanism were
 environmental control associated with their use and      available which could be used to achieve in-situ im-
 dispersal in the environment.                            mobilization of chromium The baris for these mech-
    All three of the elements described above are cov-    anisms is the conversion of the hexavalent chrominm
 ered by EPA Drinking Water Standards. Arsenicand         to the trivalent form, and the subsequent sorption
 chromium are limited by Primq' Drinking Water            of the reduced chromium on natural earthen na
 Standards of 0.05 mglliter each; copper has a S e c      terials ?his paper presents further discussion of the
 ondary Drinking Water Standard of 1 mg!liter The         approach utilized in such in-sib remediation. and
 relativel? high copper standard is a reco-mition of      offers the approach as a cost,effective alternative to
the fact that copper is not toxic to humans in this       more conventional remediation practices,,
concentrstion range; in fact it u an important mace
element required for metaboiism. B> contrat. fresh
and salt water aquatic life are severely affected b?,             GEOCHEMICAL ATTESUXIIOX
copper concen~ations,as well as by concentrations
of arsenicand chromium F'or example, the Canadian            Xumerous intestigators have provided insignt into
fresh-wate: aquatic guideline for copper is a function    the geochemical processes that are at work when
of the hardness of the water but rmges from 2 to 6        acidic solutions containing dissolved inorganic can..
micrograms:liter Tnis range is generally lower than       stituents penetrate the subsurface .an excellent de.
the fresh water aquatic guidelines cited for both ar-     scription or the ground.uater mobiiit? of various
senic and chromium The impact of the three el*            contaminants is ~robidedb? Cherr?. Shepherd, and
              Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 608 of 708




     Morin (Februar: 1980) .Another discussion of con            controlled b! the number of pore volumes of acid
     taminant mi~ration.as it relates to the phosphate           uater that will react uith a given tolume ol porous
     industry, is provided b: Rouse and Bromwell (htarch         media to dissolve all the calcite
     19633                                                          ,% the contaminant plume migrates doun pa..
       Numerous investigations have been published for           dient a total of three distinct zones develop ( F i p r e
    uranium, base metal, and precious metal operations           1i ?he first zone. which ma! be termed the ""core'
    throughout the United States and Australia (Rouse            zone, consists of ground ueater with a qualit! uhich
    m d P f l , 1983; Rouse. Februar? 1961; Taylor and           is rirtuall) identical to that of the source of the see..
    Antonmaria, Sovember 19'76; Wilson and Rouse.                page The uater is characterized b> extremel! lo-,
    May !980) f i e geochemical processes that work as           pH, v e p high dissolved solids concentrations. and
    acidic solutions come in contact uith natural m a t e        high concentrations of h e a ~metals In the case of
    rials are extremel) d.yamic. Some of the reactions
                     ~   ~
                                                                 CCA solutions, high concentrations of copper, chro.
    tend to remove contaminants, while others erchange           mium and arsenic would be expected to           present
    one con taminant for another. or actuall! ma? add           m fluid of the core zone. In the core zone, virtuall?
   contaminants into the system These d.mamic proc              ali the carbonate minerals in the soil or bedrock have
   esser must be understood beiore waterqualit? data            been removed b! chemical reaction
   can be correctly interpreted or effective remedial               The second zcne in the conceptual model is
   measures can be desiped..                                    termed the ""active"zone. and is the area of active
       When acidic, metal-bearing solutions such as CCA         calcite dissolution and the formation of chemical pre-
   treatment solutions enter natural soil or rock ma-           cipitates including g?psum and m e d hydroxides.
   terial, a complex series of geochemical reactions are        Water in this zone is characterized b) high levels of
  initiated which act to retard or prevent the migra..          some dissolved metals, in accordance uith the se-
  tion of contaminants To understand the complex                quence of h a \ ? metal h y d r o ~ d eremold. Srrenic
  reactions and the resultant data, it is helpful to vis-      and copper are generally removed w i t h the active
  ualize a conceptual geochemical model such as the            zone, in rerponse to the formation of metal oxide
  one described by Rouse and P . 6 (September                  coatings and mprecipitates
  1985) This conceptual geochemical model of con.                  The down gradient of the three zones has bcen
  tuninvrt migration and attenuation is briefly sum..          t e m e d the "neutralized" zone. Water in &A zone
 mvized below.                                                 is characterized by high concentrations of total dis-
      By far, the single most si&cznt       geochemical        solved solids. and is frequentl: saturated with respect
  procr?s that ulres place between acidic seepage and          to g?psum Ve:er).IOU concentrationr of arsenic and
  natural earthen materials is the reaction and dko.           copper would generally be present within the m u -
  lution of a r b o n a t e miner& Hydrogen ions in the       tnlized zone
 acidic solution react uith Filcite (GC03)or other                 For any conceptual model. there are c-*ah ex.,
 cubonate minerals which may be present in the                 ceptions to the n d e Unfortunately for the wood
 underlying soil, sediment or bedrock in the course            treating industq, he .adent chromiu n is the ex..
 of the reaction. hydrogen ions are consumed to new            ception. Experience has shown that hexavalent chro.
 tralize the acidity of the seepage.                          mium is ve? -'consen,ative" in roil ar.d ~ o u n d -
      Neutnti+ttion of an acidic seepage establishes pH       water environments, that is to s q that the chfumium
 conditions which are favorable to the functioning of         move, at the same rate as the ground uater and is
 geochemical mechanisms such as ion exchange, s o p           not attenuated to a q significant extent by naturally
 tioh and precipitation Precipitation of h e a y m e t a l    occumng geochemical reactions
 hydroxides ir one mechanism which can be initiated               Chromium h a a unique geochemical behatior in
 b : calcite dissolution and acid neutralization. Metal       natural uater systems Chromium is amphotfric in
 precipitation is pH dependent and results in the s e         nature and is soluble in u l t e r in both anionic and
 quentiaI r e m o d of metaJsas a function of increasing      cationic f o m . 'Trivalent chromium is the most com-
p H Iron is the earliest common metal hydroxide to            mon form of naturallyaxurring chromium, but is
be precipitated. followed in turn b!, aluminum. c o p         largel! immobile in the natural enrironment, with
per, zinc and fmally manganese Other metals and              natural uaters having only traces of chromium unless
trace elements are co-precipitated along with the            the pH is exnemel: IOU Under strongl), oxidizing
metal hydroxide on aquifer grain coatings As an              conditions, chromium is present in th ? t.exa\ d e n t
acidic waste percolates into tne subsurface, geo-            state, and persist in anionic form as chromate. .';at..
chemical processes begin to occur 3s a reaction front        ural chromates are rare: houeter, the use of h e x
ad~ancesDepending upon the cdcite content of thp             avaient chromium in CC.4 soiutions cmr introduce
natursl subsurface material. the acid iron: is retarded      h i ~ hconcentrations of oxidized chromium
in its doun..gadient mo\ement rela:i\e to the rate               Typicall!, chromium in the reduced form is spar-
of h i d adxance The adlance of the acid front is            ing!: soluble but shous \ i;tuall> limitless soiu+oilit!
                      Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 609 of 708




 in the oxidized c h r o m t e f o m .This behavior is very
  rimilar to the geochemical behavior of uranium.
 ahich ih readily soluble in the oxidized (+6) form              Experience kained from the remediation of in,.situ
 and insoluble in the reduced (.+3)fomr. Such gec-            uranium leaching operations has been utilized to
 chemical behavior has previously been used to ad- develop a phased approach for evaluating the f e ?
 vantage in uranium leach mining. S i r sibit? of in-situ remediation of copper, chromium,
 geochemical behavior of chromium has the potential and vsenic contamination of roil or ground water.
for being used to advantage in remediation of soil As was noted above. copper and arsenic mobilih is
and ground..water contamination by hexavalent                 largely controlled b>.the pH of the migrating s o h
chromium                                                      tions, 'Thus,it is possible to achieve i n - s i t u ~ m e d i s -
    Cleanup of chromate can be achieved in place tion of copper and arsenic b\. modification tc the pIU
(below the land surface) b) introducing a chemical regime, so long as other conditions such as redox
reagent capable of reducing hexavalent chromium conditions are maintained within an appropriate
to the trivalent state. and allowing the t r i d e n t chro- range, in same cases, it ma? be nece-               to form a
mium to geochemicall~ react with natural soil of cwprecipitate of ferric oxyhydroxides and ferric ar-
sediment material. If the geochemical properties of senates, where the natcral suusuriace materials do
the sediment are fa~ornblefor this interaction, the not have adequate geochemical sorptire capacit:
trivalent chromium wiU be "'fued" and immobilized               'The author's experience has been :hat it is br;r to
in geochemical traps in the subsurface it is possible utilize a phased evaluation of the ieasibiliq of iz..
to predict the behavior of the trivalent chromium place chromium remediation In the first phue. nab
' ? e\aluation of a range of sediment properties             ural earthen materids are anal!zed for cer:m gee..
   hich facilitate thk interaction,                          chemical properties which experience has n o u n
                Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 610 of 708




     limit the mobilit! of trivalent chromium 'These cies can be approached uith the data to allow
     properties include acid and base neutralizing poten permitting of the in..situ remrdiation approach
     tial, iron and manganese hvdrous.axide content, total These data are necesaq prior to actual permitting
     organic carbon, cation exchange capacit? and ex- under the EP4 Underground lnjection Control reg.
     changeable cations Based on the result of these anal.. ulations. The reagents utilized in the in..situapproach
     v s ~a,preliminary decision is made whether the site are innocuous, and the injected water would meet
    would be suitable for geochemical remediation un- drinking water standards prior to reinjection
    der near-ambient conditions of whether signscant
    geochemical modifications would be necessary
       Subsequent to the evduation of the geochemical                   AXTlCIPAIED ECONOMIC AND
                  a series of laborator) testwork utilizing            ET\TROh'ME%TAL ADVAhTAGES
    the sequential batch test and the column test a y
    preach are usuall, required to define the degree of           Capital costs for in-place cleanup of contamination
    chromium mobility at a particular sift F i p e 2 pre.. b! means of geochemical attenuation are generally
    sents results of three paired c o h n n experiments uti. equivalent to the capital costs for cleanup b? means
    W i g actual chromium-contaminated aquiier of the cleanwater sweep" approach. Capital costs
    matcrial from a wwd..treating facilit). in the Central associated uith recoven wells and surface treatment
   Valley of California in each of the pairs of curves, ?stems are common to both techniques The in-
   the upper curve represents the ambient chromium place remediation equipment is often slightlr less
   concentration using the clean-water sweep ap. expensive since i t does not have to operate for as
   proach The lower curve reflects duplicate test long as does the equipment required in pump and
   wherein an innocuous rsagent was added in order treat options This saving is offset b the need for
   to reduce the hexavalent chromium to the trivalent reinjection wells andicr pits required for in..place
   form, which in turn was immobilized by geochemical remediation, Monitoring costs for in-place rcmedia-
   interaction with the aquifer material,                     tion are also more expensive; however, the moni-
      Upon completion of the laboratory evaluations de- toring program need not be operated for as long ar
  scribed above. an actual field p i l o t - d e test must be in the case of conventional techniques
  conducted. 'Typical field tests most commonly use              The major cost saving of in-place remediation, re]..
  the "push-pull" approach. The purpose of the push.. ative to cmventional techniques, comes in the area
  pull field test is to evaluate restontion feasibilip of operating cost Such cats are directl) related to
  under field conditions having significant vertical var- the volume of water which must b: pumped under
  iability                                                    each technique For cost comparison putpses, it is
      In the typic4 puh..pull procedure, an actual c o n a.ssumed that in..plarr remediation o i a plume re-
  tamhated well within the hexavalent chromium quires w i t h d r a ~ dof 5 pore volumes and the clean..
 ground-water plume is selected and is pumped in water sweep approach requires pumpage of 30 pore
 o r d e r to withdraw a finite, measured quantity of volumcs, or 6 times as much pumpape M'hilc each
 contaminated water. The chromium.contarninated rite has different requirements associated uith the
 water is then heated for chromium removal, excess geochemistry, experience has shown the ration com-
 reagent added to the water. and the water is adjusted monly is higher. to xalues up to 00,,
 to optimal geochemical conditions in order to pro.             Since beatment costs are directl!' relater' tp p u m
 mote chromium fixation in the subsurface.The clan page requirements, it is obvious thaf in-place
 ified, treated water is then decanted back down the methods enjoy a significant economic advantage
 production well, forming a cylinder of contaminant over operating costs for conventional techniques iis.
 Free uater immediately adjacent to the weU bore ing the ration 016 mentioned above. and a treatment
 After the uater equilibriates uith the aquifer ma- cost of $ 5 0 per 1.000 gallons, a plume 500 f t r i d e
terial, the well is again pumped in order to nithdraw by 0.000 ft. long br 200 ft thick (100.000.,000-cu ft..
a measured quantit) of uater. '131ispump discharge or 1,500,,000.000gallons] would have treatment costs
is sampled for chromium concentration as a function of Sl2.5.000 for in-situ remediation and S750.000 for
of pumpage volume. If the addition of the reducing conventional treatment.. The significant cost s; \ ing
agent is effective at establishing favorable gemhem. of ;*place remediation is evident,
ical conditions for fuation of chromium in-place.               In..place remediation also has significant en\iron..
bredthrough of contaminant levels is retarded reL mcntal adxantapes over conventional techniques A i
ative to tha: anticipated under p l u ~ f l o ncontami,. described above in-place techniques inrolbe much
nant migration conditions The amount of less pumping and subsequent surface discharge,,ar.
retardation is a measure of the in-place effectiveness ad~antagein areas of uater scarcit? !fucn lsss treat..
     Upon completion of the laborator? and field test.. ment is required which results in less treatn~ent..
work described abore the various r e y l a t o ~a g e n plant sludge for disposal In the c a e o i chromium
                  Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 611 of 708




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Figure 1 Chromium Conrrntratian in Paired Column Efllucntr rr   a   Function of Pore \ olumr Throu~hout
             Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 612 of 708

treatment, the sludge must be disposed into secure         Rouse, ]im \' and Bromuell L G , )larch 1963,
landfilfs, which are under increasing demrnd for r e         "\\'aste Sources and Impact 0: N'aste Disposal on
ceiving waste Disposal cosrs are again directl! re..        Area liater Resourc~.flonan Phosphate Indus-
lated to sludge production Sludge disposal also             t q ," Preprint 6.610. SUE-.+IME
                                                           Rouse.,Jim 1': and Pvrih. Roman 2..September 1965
carries a significant future liabilit? uhich can be dl..    "Xatural Ceochemicai Attenuation of Gntami.
rectly related to the quantity of material disposed,        nmts Contained in .AcidicSeepage."' Proceedings;
                                                            International Conference on Neu Frontiers for
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   and Cu in Soils and Water."                         senic in the Environment: Satural Concentrations
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 Systems. Inc..
Rouse. lim V. and Pvrih. Roman 2.. 1983. 'Summart
  Fiep& on ~eohyhrologicaland keochkmical Con-
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 itoring Prognm, Uravan hrea, Colorado."'
 Presented by UhiFICO Minerals C o p at August.
  1984 Colorado Dept of Health hearing
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                             Appendix B

                              Schedule
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                                                                      RAP Amendment Schedule
                                                                   Coast Wood Preservlng, Ukiah, CA
                                                                                                                            cember                              I                       January                         I
 ID        Task Name                                                       Start             Finish                         12/13          1     12/20   1   12/27   1   113     1   I / l O , [ 1/17    1   1/24   1       1/31
  1    I
       I
           RAP AMENDMENT
  2          CWP Drafts RAP Amendment

==RWQCB                       Review Draft RAP Amendment
  4    1     CWP addresses CalEPNRWQCB Comments
             Cal EPNRWQCB review revised RAP Amendment


             Public Comment
                              -
             CWP Finali~eRap Amendment for Public Comment




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                                                                         Thu 5/20/99
                                                                          Thu 6/3/99
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                                                                                             Tue 7/6/99




             CWP Prepares Draft RD


T R R W Q C Bdrafts revised WDR
~ - ~ w i ~ % i p p r o v e ~ i ~WDR
                                  i s e(July
                                         d Board Mceting)
  14         CWP addresses Comments on Draft RD
                                                             --
                                                                          Fri 7/16/99   1   Thu 7/22/99
  15         CdlEPAlRWQCB Approves RD

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  17   1     In Situ Rcmediatmn Commences As Described in the RD         Wed 9/1/99     1   Wed 9/1/99




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                                                                      RAP Amendment Schedule
                                                                   Coast Wood Presewmg. Ukiah, CA
                                                                                                February                                           I                     March                          I                     Apt
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        RAP AMENDMENT                                                    Tue 12/29/98
             CWP Drafts RAP Amendment                                    Tue 12/29/98
                                  -                                  I              -
             CalEPAIRWQCB Rev~ewDraft RAP Amendment                  I    Tue 1/19/99
             CWP addresses CalEPA/RWQCB Comments
             Cal EPNRWQCB revlew rev~sedRAP Amendment
                                                                     I
             CWP Finalize Rap Amendment for Public Comment           1     Thu 6/3/99
             Public Comment                                               Mon 6/7/99
             CalEPNRWQCB Approves RAP Amendment                      I    Wed 7/7/99
        REMEDIAL DESIGN
             CWP Prepares Draft RD                                        Mon 1/4/99
             CalEPAIRWQCB Rev~ew                                           Tue 2/9/99
             RWQCB drafts rev~sedWDR                                       Tue 2/9/99
             RWQCB Approves Rev~sedWDR (July Board Meetmg)           /   Thu 7/22/99
             CWP addresses Comments on Draft RD                           Fri 7/16/99
             CalEPNRWQCB Approves RD                                      Fri 7/23/99
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        IN SITU REMEDITATION                                              Wed 9/1/99
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                                 Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 616 of 708
                                                                       RAP Amendment Schedule
                                                                    Coast Wood Preserving, Ukiah, CA

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 ID        TaskName                                                             Start            4/18     1   4/25   1   512   1   519      1 5/16   1   5/23    I   !
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  2           CWP Drafts RAP Amendment
              CalEPAlRWQCB Rev~ewDraft RAP Amendment
              CWP addresses CalEPAlRWQCB Comments
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- ~ C ~ A / K W Q revtew
                   C B revlsed RAP Amendment                           I    Thu 5120199
  6    1      CWP Finalize Rar, Amendment for Public Comment           /     Thu 6/3/99      1
                                                                            Wed 7/7/99
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           REMEDIAL DESIGN                                                  Mon 1/4/99
              CWP Prepares Draft RD                                         Mon 1/4/99




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 14           CWP addresses Comments on Draft RD                             Fri 7/16/99
 15           CalEPNRWQCB Approves RD                                        Fri 7/23/99
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  16       IN SlTU REMEDITATION                                             Wed 9/1/99
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                                                                     RAP Amendment Schedule
                                                                  Coast Wood Presewmg, Ukiah, CA

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                                                                           Start            6127    1   714               1   7/11    7/181           1   7/25   811   1   818    1 8/15   1   8/22   1   ;
          RAP AMENDMENT                                               Tue 12/29/98
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            CWP Drafts RAP Amendment                                  Tue 12/29/98
            CalEPNRWQCB Rev~ewDraft RAP Amendment                      Tue 1/19/99
            CWP addresses CalEPAmWQCB Comments                         Thu 511 3/99
            Cal EPAmWQCB revlew rev~sedRAP Amendment                   Thu 5120199
            CWP Finalize Rap Amendment for Public Comment                Thu 6/3/99
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            Public Comment
 8          CalEPNRWQCB Approves RAP Amendment

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 10         CWP Prepares Draft RD
11          CalEPAlRWQCB Rev~ew
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12          RWQCB drafts rev~sedWDR

~ r t
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            RWQCB Approves Rev~sedWDR (July Board Meet~ng)             Thu 7/22/99
            CWP addresses Co~nmentson Draft RD                           Fri 7/16/99
            CalEPNRWQCB Approves RD                                     Fri 7/23/99
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                    APPENDIX F
            Remedial Cost Estimate
              and Cover Letter
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                           Department of Toxic Substances Control
                                        Barbara A Lee, Director
  Matthew Rodriquez                                                               Edmund G. Brown Jr.
      Secretary for
                                           700 Heinz Avenue
                                                                                       Governor
Environmental Protection             Berkeley, California 94710-2721



      June 29 , 2016



      Gene Pietila
      Coast Wood Preserving , Inc.
      P.O. Box 673
      Ukiah, California 94582
      info@wetreatwood.com

      2016 TRI-ANNUAL REVIEW OF REMEDIAL ACTION COST, COAST WOOD
      PRESERVING, UKIAH, CALIFORNIA

     Dear Mr. Pietila:

      The Department of Toxic Substances Control (DTSC) Cost Estimating Work Group
      (CEWG) engineering staff has reviewed the 2016 Remedial Cost Estimate. The 2006
      Consent Decree CV-F-96-6055 AWILJO requires Coast Wood Preserving to submit a
      Remedial Cost Estimate every three years. The last Remedial Cost Estimate was
      accepted in February 2016 . The Remedial Action Order HAS 88189-015, Section 5.10
      Financial Assurance, requires that Coast Wood Preserving provide Financial Assurance
      sufficient to fund all costs associated with the approved Remedial Action Plan. The
      2016 Remedial Cost Estimate identifies $976,063 in post-closure costs. The 2016
      Remedial Cost Estimate is approved.

      If you have any questions regarding this letter, please contact me at (510) 540-3776 or
      at Tom .Lanphar@dtsc.ca.gov.

      Sincerely,




      Thomas P. Lanphar
      Senior Environmental Scientist
      Brownfields and Environmental Restoration Program




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Mr. Gene Pietila
June 29, 2016
Page 2

cc:   Bob Schmidt
      Coast Wood Preserving, Inc.
      P.O. Box 1805
      Turlock, California 95381
      CFVWoodPreserve@aol.com

      Richard Thomasser
      Montgomery Watson Harza
      2121 California Boulevard
      Walnut Creek, California 94597
      rickmatt@sbcglobal.net

      Tu Nguyen
      CA Site Cleanup Section II
      United States Environmental Protection Agency Region 9
      75 Hawthorne Street (SFD-7-2)
      San Francisco, California 94105
      Nguyen.Anhtu@epamail.epa

      Kristine Mcllvenna
      MWH
      Kristine.Mcllvenna@us.mwhglobal.com
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                   APPENDIX G
                          Site Map
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          STATEMENT OF WORK FOR COAST WOOD PRESERVING, INC.

1. Project Schedule.

Within thirty (30) days of the cessation of wood treatment and sale business operations
at the Site Coast Wood Preserving, Inc. (“Performing Settling Defendant”) shall submit
to the California Department of Toxic Substances Control (“DTSC”) a project schedule
for review and approval. The project schedule shall include all items listed in this
Statement of Work.

2. Update on status of operations at the Site

If within one year from the lodging of this Consent Decree Performing Settling
Defendant has not ceased business operations at the Site, Performing Settling
Defendant will send a letter to DTSC and to EPA detailing the level of operations that
continued at the Site in that year, and a projection of the extent of operations for the
next year. This annual report of past year operations and future year operations shall
repeat on an annual basis until Performing Settling Defendant ceases business
operations at the site and submits the Post Closure Work Plan as specified below.

3. Post Closure Work Plan – Additional Site Characterization.

Ninety (90) days after business operations cease at the Coast Wood Preserving Site,
located at the southwest corner of Taylor Drive and Plant Road in the city of Ukiah
(“Site”), Performing Settling Defendant shall submit to DTSC and EPA a Post Closure
Work Plan for Additional Soil Characterization, consistent with and as provided in the
Remedial Cost Estimate. Additional Site Characterization shall include the following:

   a) Sampling and Analysis Workplan. The Sampling and Analysis Workplan shall
      describe the activities, if any, proposed to further characterize soil at the Site.
      The workplan shall also include the previously approvedSite health and safety
      plan, quality assurance project plan, sampling plan, and implementation
      schedule, which plans and schedule shall be modified by Performing Settling
      Defendant as appropriate.

   b) Implementation. Implementation of the approved workplan in accordance with
      the approved implementation schedule.

   c) Soil Characterization Report. The Soil Characterization Report shall include the
      data, summarize the findings of all prior investigations, and include
      recommendations and conclusions.

4. Quality Assurance Project Plan (“QAPP”).

Performing Settling Defendant shall submit to DTSC the previously approved QAPP,
modified by Performing Settling Defendant as appropriate, with, if needed, a Post



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Closure Work Plan for Additional Site Characterization. All sampling and analysis shall
be performed in accordance with a DTSC-approved QAPP.

5. Health and Safety Plan.

Prior to performing any additional investigation or remedial work at the Site, Performing
Settling Defendant shall submit the previously approved Site Health and Safety Plan,
modified by Performing Settling Defendant as appropriate, in accordance with California
Code of Regulations, title 8, section 5192.

6. Post Closure Work Plan - Soil Excavation (also known as the Remedial Design and
   Implementation Plan (“RDIP”).

Within ninety (90) days of DTSC’s approval of the Post Closure Soil Characterization
Report, the Performing Settling Defendant shall submit to DTSC a Post Closure Work
Plan for Soil Excavation (also known as a Remedial Design and Implementation Plan)
describing, in detail, how the Remedial Action Plan will be implemented, and shall
include the following:

   a) Technical and operational plans and engineering designs for implementation of
      the approved remedial or removal action alternative(s);

   b) A schedule for implementing the construction phase;

   c) A description of the construction equipment to be employed;

   d) A site specific hazardous waste transportation plan (if necessary);

   e) Any required registration requirements for contractors, transporters and other
      persons conducting the removal and remedial activities for the Site;

   f) Post-remedial sampling and monitoring procedures for air, soil, surface water
      and groundwater;

   g) Operation and maintenance procedures and schedules;

   h) A health and safety plan; and

   i) A community air monitoring plan, if required by DTSC.

7. Implementation of Final RAP.

Upon DTSC approval of the RDIP and schedule, the final RAP shall be implemented as
approved in accordance with the approved RDIP and schedule. RAP implementation
includes confirmatory soil and groundwater sampling.




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8. Changes During Implementation of the Final RAP.

During implementation of the final RAP and RDIP, DTSC may specify such additions,
modifications and revisions to the RDIP as deemed necessary to protect human health
and safety or the environment or to implement the RAP.

9. Groundwater In-Situ Reductant and Trench Infiltration.

A Groundwater Injection Work Plan shall be prepared using the same format and
general content as the previously approved groundwater injection work plans for the
Site and be submitted for approval by DTSC before implementation of any additional in-
situ groundwater treatment(s). Each treatment event shall be followed by a
Groundwater Treatment Report, submitted by Performing Settling Defendant to DTSC
for review and comment. A Final Groundwater Completion Report shall be prepared for
approval by DTSC when the contaminants in groundwater meet the remedial goals for
the Site.

10. Groundwater Monitoring and Sampling and Reporting.

Performing Settling Defendant shall submit to DTSC a semi-annual groundwater
monitoring and sampling in conformance with the North Coast Regional Water Quality
Control Board’s Monitoring and Reporting Program Order No. R1-2012-0055.

11. Public Participation.

   a) Performing Settling Defendant shall prepare an updated mailing list for review
      and approval by DTSC prior to implementation of the approved Post Closure
      Workplan.

   b) On a periodic basis as requested by DTSC, Performing Settling Defendant shall
      produce appropriate fact sheets for review and approval by DTSC. Fact sheets
      shall be printed and distributed upon DTSC approval using the approved
      community mailing list.

   c) Work Notices shall be reviewed and approved by DTSC when specifically
      requested by DTSC. Prior to implementation of the RDIP, following DTSC’s
      approval of the Work Notice, such Work Notice shall be printed and distributed
      using the approved community mailing list.

12. Land Use Covenant.

As noted in the Consent Decree, a Land Use Covenant (“LUC”) has been recorded for
portions of the Site. Because additional cleanup will be occurring at the Site, new or
revised institutional controls may be appropriate, based on the success of remedy
implementation. Under California law, specifically California Code of Regulations, title
22, section 67391.1, if waste remains in place that does not allow for unrestricted use



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of the Site, a LUC must be executed and recorded to ensure that use of the Site, as
cleaned up under the remedy implemented, will remain protective into the future.
Performing Settling Defendant shall prepare, execute, and record new LUC’s, or amend
the existing LUC as appropriate, to ensure the protectiveness of the remedy in
perpetuity. Compliance with California law, including but not limited to, California Code
of Regulations, title 22, section 67391.1, the California Health and Safety Code, and
California Civil Code section1471, will guide DTSC in determining the institutional
controls deemed necessary to ensure full protection of the environment and human
health.

13. Operation and Maintenance (“O&M”) Plan and O&M Agreement.

Performing Settling Defendant shall submit an O&M Plan that sets forth any and all
operation and maintenance requirements for the remedy as implemented in accordance
with the final RAP, or a DTSC-approved RDIP. The proposed O&M Plan shall be
submitted within ninety (90) days of approval the RDIP. An enforceable O&M
Agreement with DTSC may also be required to ensure implementation of the approved
O&M Plan.

14. Pre-Certification Inspection, Remedial Action Plan Implementation Report

Within ninety (90) days after Performing Settling Defendant concludes that the
Remedial Action has been fully performed and that the Performance Standards have
been achieved, Performing Settling Defendant shall schedule and conduct a pre-
certification inspection. This inspection will include representatives of Performing
Settling Defendant, EPA and DTSC. After the joint pre-certification inspection noted
above, and after receiving written comments from DTSC and EPA regarding that
inspection, if Performing Settling Defendant believes that the Remedial Action has been
fully performed and the Performance Standards have been achieved, Performing
Settling Defendant shall request certification by submitting a written report to DTSC for
approval, with a copy to EPA, pursuant to Section XI (DTSC Approval of Plans, Reports,
and Other Deliverables). Within sixty (60) days of completion of implementation of the
RDIP, an Implementation Report documenting the implementation of the final RAP and
implementation of the RDIP shall be submitted. This report must note any deviations
from the approved plan.

15. Financial Assurance.

As required by the terms of the Consent Decree, and by California Health and Safety
Code section 25355.2, Performing Settling Defendant shall demonstrate and maintain
adequate financial assurance for remedy implementation, performance of all obligations
as set forth in the Consent Decree and this SOW, and for required O&M activities, LUC-
related activities, and for Five-Year Review activities following remedy implementation.
Financial Assurance will also include amounts necessary for payment of DTSC’s
incurred costs in overseeing the activities.




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16. Five-Year Reviews.

As noted in the National Contingency Plan, a review of the performance of the remedial
action shall be completed every five years to determine if the remedy as implemented
remains protective. The sixth Five-Year Review is scheduled for 2021. Performing
Settling Defendant shall prepare and provide to DTSC and EPA for review all the
information necessary for approval of the Five-Year Review, and shall implement the
necessary public participation and publication requirements as set forth under federal
and state law.




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                    APPENDIX I
      Performance Trust Guarantee
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                               TRUST AGREEMENT
                       Coast Wood Preserving, Inc. Superfund Site
                              Dated: ________ __, 2017

        This Trust Agreement (the “Agreement”) relating to [insert trustee-provided
trust account number] is entered into as of _______ __, 2016 between Coast Wood
Preserving, Inc., a California corporation (the “Grantor”), and [insert name of trustee],
[insert as appropriate: “incorporated in the state of [insert name of state]” or “a
national bank”] (the “Trustee”).

       Whereas, the California Department of Toxic Substances Control (“DTSC”), and
the United States Environmental Protection Agency (“EPA”) and the Grantor have
entered into a Consent Decree dated __________ __, 2016, Civil Action Number CV-F-
96-6055AWI LJO (hereinafter, “Settlement Agreement”), pursuant to the Comprehensive
Environmental Response, Compensation, and Liability Act (“CERCLA”), 42 U.S.C. §§
9601-9675;

       Whereas, the Settlement Agreement provides that the Grantor shall provide
assurance that funds will be available as and when needed for performance of the Work
required by the Settlement Agreement;

        Whereas, in order to provide such financial assurance, Grantor has agreed to
establish and fund the trust created by this Agreement; and

        Whereas, the Grantor, acting through its duly authorized officers, has selected the
Trustee to be the trustee under this Agreement, and the Trustee has agreed to act as
trustee hereunder.

       Now, therefore, the Grantor and the Trustee agree as follows:

       Section 1. Definitions. As used in this Agreement:

                (a)     The term “Agreement” shall have the meaning assigned thereto in
the first paragraph of this Agreement.

               (b)     The term “Beneficiary” shall have the meaning assigned thereto in
Section 3 of this Agreement.

               (c)    The term “CERCLA” shall have the meaning assigned thereto in
the second paragraph of this Agreement.

               (d)    The term “DTSC” shall have the same meaning assigned thereto in
the second paragraph of this Agreement.

              (e)     The term “EPA” shall have the meaning assigned thereto in the
second paragraph of this Agreement.


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               (f)     The term “Fund” shall have the meaning assigned thereto in
Section 3 of this Agreement.

                (g)     The term “Grantor” shall have the meaning assigned thereto in the
first paragraph of this Agreement, along with any successors or assigns of the Grantor.

                (h)    The term “Settlement Agreement” shall have the meaning assigned
thereto in the second paragraph of this Agreement.

               (i)     The term “Site” shall have the meaning assigned thereto in
Section 2 of this Agreement.

               (j)     The term “State” shall mean the State of California.

               (k)     The term “Trust” shall have the meaning assigned thereto in
Section 3 of this Agreement.

             (l)    The term “Trustee” shall mean the Trustee who enters into this
Agreement and any successor Trustee.

              (m)   The term “Work” shall have the meaning assigned thereto in the
Settlement Agreement.

        Section 2. Identification of Site and Cost Estimate. This Agreement pertains to
costs for Work required at the Coast Wood Preserving, Inc., Superfund Site in the City of
Ukiah, Mendocino County, California (the “Site”), pursuant to the Settlement Agreement.

         Section 3. Establishment of Trust Fund. The Grantor and the Trustee hereby
establish a trust (the “Trust”), for the benefit of DTSC and/or EPA (the “Beneficiary”), to
ensure that funds are available to pay for performance of the Work in accordance with the
terms of the Settlement Agreement. The Grantor and the Trustee intend that no third
party shall have access to monies or other property in the Trust except as directed by the
Beneficiary provided herein. The Trust is established initially as consisting of cash and/or
cash equivalents in the amount of $ 9xx,xxx.00, which is acceptable to the Trustee and
described in Schedule A attached hereto. Such funds, along with any other cash and/or
cash equivalents hereafter deposited into the Trust, and together with all earnings and
profits thereon, less any payments or distributions made by the Trustee pursuant to this
Agreement, are referred to herein collectively as the “Fund.” The Fund shall be held by
the Trustee, IN TRUST, as hereinafter provided. The Trustee shall not be responsible nor
shall it undertake any responsibility for the amount or adequacy of, nor any duty to
collect from the Grantor, any payments necessary to discharge any liabilities of the
Grantor established by the Beneficiary.




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        Section 4. Payment for Work Required Under the Settlement Agreement.
The Trustee shall make payments from the Fund in accordance with the following
procedures:
               (a)     From time to time, the Grantor and/or its representatives or
contractors may request that the Trustee make payment from the Fund for Work
performed under the Settlement Agreement by delivering to the Trustee and DTSC (with
a copy to EPA) a written invoice and certificate (together, a “Claim Certificate”) signed
by an officer of the Grantor (or the relevant representative or contractor). Any Claim
Certificate should be in a form substantially identical to the sample provided in Exhibit A
and, at a minimum, must contain the following:

                       (i)     Include a certification that the invoice is for Work:
                               a. the scope and cost of which has been previouly
                                   reviewed and approved in writing by DTSC
                               b. performed at the Site in accordance with the Settlement
                                   Agreement and the approval of DTSC;

                       (ii)    Describe the Work that has been performed;

                       (iii)   Specify the amount of funds requested from the Trust; and

                       (iv)    Identify the payee(s) of the funds request.

                 (b)    DTSC may object to any payment requested in a Claim Certificate
submitted by the Grantor (or its representatives or contractors), in whole or in part, by
delivering to the Trustee a written notice (an “Objection Notice”) within 30 days after the
date of DTSC’s receipt of the Claim Certificate as shown on the relevant return receipt.
An Objection Notice sent by DTSCshall state (i) whether DTSC objects to all or only part
of the payment requested in the relevant Claim Certificate; (ii) the basis for such
objection, (iii) that DTSC has sent a copy of such Objection Notice to the Grantor and the
date on which such copy was sent; and (iv) the portion of the payment requested in the
Claim Certificate, if any, which is not objected to by DTSC. DTSC may object to a
request for payment contained in a Claim Certificate only on the grounds that the
requested payment is either (x) not for the costs of Work under the Settlement Agreement
or previously approved by DTSC or (y) otherwise inconsistent with the terms and
conditions of the Settlement Agreement or the DTSC approval.

                (c)     If the Trustee receives a Claim Certificate and does not receive an
Objection Notice from DTSC within the time period specified in Section 4(b) above, the
Trustee shall, after the expiration of such time period, promptly make the payment from
the Fund requested in such Claim Certificate.

                 (d)     If the Trustee receives a Claim Certificate and also receives an
Objection Notice from DTSC within the time period specified in Section 4(b) above, but
which Objection Notice objects to only a portion of the requested payment, the Trustee
shall, after the expiration of such time period, promptly make payment from the Fund of


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the uncontested amount as requested in the Claim Certificate. The Trustee shall not make
any payment from the Fund for the portion of the requested payment to which DTSC has
objected in its Objection Notice.

              (e)    If the Trustee receives a Claim Certificate and also receives an
Objection Notice from DTSC within the time period specified in Section 4(b) above,
which Objection Notice objects to all of the requested payment, the Trustee shall not
make any payment from the Fund for amounts requested in such Claim Certificate.

                (f)    If, at any time during the term of this Agreement, DTSC
implements a “Work Takeover” pursuant to the terms of the Settlement Agreement and
intends to direct payment of monies from the Fund to pay for performance of Work
during the period of such Work Takeover, DTSC shall notify the Trustee in writing of
DTSC’s commencement of such Work Takeover. Upon receiving such written notice
from DTSC, the disbursement procedures set forth in Sections 4(a)-(e) above shall
immediately be suspended for costs of Work taken over by DTSC, and the Trustee shall
thereafter make payments from the Fund only to such person(s) as the DSTC may direct
in writing from time to time for the sole purpose of providing payment for performance
of Work required by the Settlement Agreement. Further, after receiving such written
notice from DTSC, the Trustee shall not make any disbursements to Grantor for costs of
Work taken over by DTSC from the Fund at the request of the Grantor, including its
representatives and/or contractors, or of any other person except at the express written
direction of DTSC. If DTSC ceases such a Work Takeover in accordance with the terms
of the Settlement Agreement, DTSC may so notify the Trustee in writing and, upon the
Trustee’s receipt of such notice, the disbursement procedures specified in Sections 4(a)-
(e) above shall be reinstated.

                (g)     While this Agreement is in effect, disbursements from the Fund are
governed exclusively by the express terms of this Agreement. Resolution of disputes
relative to objections to disbursements shall be governed by the dispute resolution
provisions of the Settlement Agreement.

        Section 5. Trustee Management. The Trustee shall invest and reinvest the
principal and income of the Fund and keep the Fund invested as a single fund, without
distinction between principal and income, in accordance with general investment policies
and guidelines which the Grantor may communicate in writing to the Trustee from time
to time, subject, however, to the provisions of this Section. In investing, reinvesting,
exchanging, selling, and managing the Fund, the Trustee shall discharge its duties with
respect to the Trust solely in the interest of the Beneficiary and with the care, skill,
prudence, and diligence under the circumstances then prevailing which persons of
prudence, acting in a like capacity and familiar with such matters, would use in the
conduct of an enterprise of a like character and with like aims; except that:
                (a) Securities or other obligations of the Grantor, or any other owner or
operator of the Site shall not be acquired or held by the Trustee with monies comprising
the Fund, unless they are securities or other obligations of the Federal government or
California state government;


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                (b) The Trustee is authorized to invest the Fund in time or demand
deposits of the Trustee, to the extent such deposits are insured by an agency of the
Federal government or California state government; and
                (c)The Trustee is authorized to hold cash awaiting investment or
distribution uninvested for a reasonable time and without liability for the payment of
interest thereon.

         Section 6. Commingling and Investment. The Trustee is expressly authorized in
its discretion to transfer from time to time any or all of the assets of the Fund to any
common, commingled, or collective trust fund created by the Trustee in which the Fund
is eligible to participate, subject to all of the provisions thereof, to be commingled with
the assets of other trusts participating therein

        Section 7. Express Powers of Trustee. Without in any way limiting the powers
and discretion conferred upon the Trustee by the other provisions of this Agreement or by
law, the Trustee is expressly authorized and empowered:
                (a) To make, execute, acknowledge and deliver any and all documents of
transfer and conveyance and any and all other instruments that may be necessary or
appropriate to carry out the powers herein granted;
                (b) To register any securities held in the Fund in its own name or in the
name of a nominee and to hold any security in bearer form or in book entry, or to
combine certificates representing such securities with certificates of the same issue held
by the Trustee in other fiduciary capacities, or to deposit or arrange for the deposit of
such securities in a qualified central depositary even though, when so deposited, such
securities may be merged and held in bulk in the name of the nominee of such depositary
with other securities deposited therein by another person, or to deposit or arrange for the
deposit of any securities issued by the United States Government, or any agency or
instrumentality thereof, with a Federal Reserve bank, but the books and records of the
Trustee shall at all times show that all such securities are part of the Fund; and
                (c) To deposit any cash in the Fund in interest-bearing accounts
maintained or savings certificates issued by the Trustee, in its separate corporate capacity,
or in any other banking institution affiliated with the Trustee, to the extent insured by an
agency of the Federal government or California state government.

        Section 8. Taxes and Expenses. All taxes of any kind that may be assessed or
levied against or in respect of the Fund shall be paid from the Fund. All other expenses
and charges incurred by the Trustee in connection with the administration of the Fund
and this Trust shall be paid by the Grantor.

        Section 9. Annual Valuation. The Trustee shall annually, no more than 30 days
after the anniversary date of establishment of the Fund, furnish to the Grantor and to the
Beneficiary a statement confirming the value of the Trust. The annual valuation shall
include an accounting of any fees or expenses levied against the Fund. The Trustee shall
also provide such information concerning the Fund and this Trust as DTSC or EPA may
request from time to time.



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        Section 10. Advice of Counsel. The Trustee may from time to time consult with
counsel with respect to any question arising as to the construction of this Agreement or
any action to be taken hereunder; provided, however, that any counsel retained by the
Trustee for such purposes may not, during the period of its representation of the Trustee,
serve as counsel to the Grantor.

        Section 11. Trustee Compensation. The Trustee shall be entitled to reasonable
compensation for its services as agreed upon in writing with the Grantor and as notified
in writing to the Beneficiary; provided, however, that the Trustee shall have minimal
duties and shall be entitled to minimal compensation, if any, for time periods in which the
Trustee does not make payments from the Fund for Work performed under the Settlement
Agreement.

        Section 12. Trustee and Successor Trustee. The Trustee and any replacement
Trustee must not be affiliated with the Grantor. The Trustee may resign or the Grantor
may replace the Trustee, but such resignation or replacement shall not be effective until
the Grantor has appointed a successor trustee and this successor accepts such
appointment. The successor trustee shall have the same powers and duties as those
conferred upon the Trustee hereunder. Upon the successor trustee’s acceptance of the
appointment, the Trustee shall assign, transfer, and pay over to the successor trustee the
cash and/or cash equivalents then constituting the Fund. If for any reason the Grantor
cannot or does not act in the event of the resignation of the Trustee, the Trustee may
apply to a court of competent jurisdiction for the appointment of a successor trustee or for
instructions. The successor trustee shall specify the date on which it assumes
administration of the Fund and the Trust in a writing sent to the Grantor, the Beneficiary,
and the present Trustee by certified mail no less than 10 days before such change
becomes effective. Any expenses incurred by the Trustee as a result of any of the acts
contemplated by this Section shall be paid as provided in Section 8.

        Section 13. Instructions to the Trustee. All orders, requests, and instructions by
the Grantor to the Trustee shall be in writing, signed by such persons as are empowered
to act on behalf of the entity sending such orders, requests, and instructions to the
Trustee, including those designated in the attached Exhibit A or such other designees as
the Grantor may designate by amendment to Exhibit A. The Trustee shall be fully
protected in acting without inquiry on such written instructions given in accordance with
the Grantor's orders, requests and instructions. All orders, requests and instructions by the
Beneficiary to the Trustee shall be in writing, signed by the Beneficiary designees, and
the Trustee shall act and shall be fully protected in acting in accordance with such orders,
requests and instructions. The Trustee shall have the right to assume, in the absence of
written notice to the contrary, that no event constituting a change or a termination of the
authority of any person to act on behalf of the Grantor or the Beneficiary hereunder has
occurred. The Trustee shall have no duty to act in the absence of such written instructions
from the Grantor and/or Beneficiary, except as expressly provided for herein.

       Section 14. Amendment of Agreement. This Agreement may be amended by an
instrument in writing executed by the Grantor and the Trustee, and with the prior written


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consent of DTSC and EPA, or by the Trustee and the Beneficiary, if the Grantor ceases to
exist.

       Section 15. Irrevocability and Termination. Subject to the right of the parties to
amend this Agreement as provided in Section 14, this Trust shall be irrevocable and shall
continue until terminated at the written agreement of the Grantor, the Trustee, and the
Beneficiary, or by the Trustee and the Beneficiary, if the Grantor ceases to exist. Upon
termination of the Trust, all remaining trust property, less final trust administration
expenses, shall be delivered to the Grantor.

         Section 16. Immunity and Indemnification. The Trustee shall not incur personal
liability of any nature in connection with any act or omission, made in good faith, in the
administration of this Trust, or in carrying out any directions by the Grantor or the
Beneficiary issued in accordance with this Agreement. The Trustee shall be indemnified
and saved harmless by the Grantor from and against any personal liability to which the
Trustee may be subjected by reason of any act or conduct made by the Trustee in its
official capacity, including all expenses reasonably incurred in its defense in the event the
Grantor fails to provide such defense.

       Section 17. Choice of Law. This Agreement shall be administered, construed,
and enforced according to the laws of the state of California.

        Section 18. Interpretation. As used in this Agreement, words in the singular
include the plural and words in the plural include the singular. The descriptive headings
for each Section of this Agreement shall not affect the interpretation or the legal efficacy
of this Agreement.

        Section 19. Notices. All notices and other communications given under this
Agreement shall be in writing, identify the Site, provide a contact person (and contact
information), and be addressed to the parties as follows or to such other address as the
parties shall by written notice designate:

   (a) If to the Grantor, to Mr. Thomas Pike, Attorney, C/O Environmental Liability
   Transfer, Inc., 1650 Des Peres Road, Ste. 303, St. Louis, MO 63131, PH: 314-835-
   2801, tpike@cdcco.com.

   (b) If to the Trustee, to [insert name(s), title(s), address(es), and contact
   information (phone number(s), email address(es), etc.)].

   (c) If to EPA, to [insert name(s), title(s), address(es), and contact information
   (phone number(s), email address(es), etc.) of appropriate EPA official/staff (e.g.,
   Superfund Division Director, Remedial Project Manager, and/or Office of
   Regional Counsel contact)].

   (d) If to DTSC, to [insert name(s), title(s), address(es), and contact information
   (phone number(s), email address(es), etc.) of appropriate DTSC official/staff


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   (e.g., Deputy Director, Project Manager, and/or Office of Legal Counsel
   contact)].

        Section 20. Other. The Grantor shall provide a copy of the Settlement Agreement
to the Trustee, and the Grantor shall submit an originally-signed duplicate of the executed
Agreement to EPA.

       In Witness Whereof, the parties hereto have caused this Agreement to be
executed by their respective officers duly authorized and their corporate seals to be
hereunto affixed and attested as of the date first above written:




                                  FOR THE GRANTOR:

       Date: _____________            By [signature]:        ________________________
                                      Printed name:          ________________________
                                      Title:                 ________________________

[Seal of Corporation - Grantor]




State of [insert state]
County of [insert county]


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On this [insert date], before me personally came [insert name of PRP/Settling
Defendant’s signatory] to me known, who, being by me duly sworn, did depose and say
that she/he is [insert title] of [insert name of PRP/Settling Defendant], the corporation
described in and which executed the above instrument; that she/he knows the seal of said
corporation; that the seal affixed to such instrument is such corporate seal; that it was so
affixed by order of the Board of Directors of said corporation, and that she/he signed
her/his name thereto by like order.

_______________________
[Signature of Notary Public]




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                                  FOR THE TRUSTEE:

       Date: _____________           By [signature]:       ________________________
                                     Printed name:         ________________________
                                     Title:                ________________________



[Seal of Corporation - Trustee]




State of [insert state]
County of [insert county]

On this [insert date], before me personally came [insert name of Trustee’s signatory]
to me known, who, being by me duly sworn, did depose and say that she/he is [insert
title] of [insert name of Trustee], the entity described in and which executed the above
instrument; and that she/he signed her/his name thereto.

_______________________
[Signature of Notary Public]




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                                           Schedule A
                                     Initial Trust Funding

DATE                                           FUNDING VALUE FOR WORK
[Insert relevant initial date (e.g., within    [Insert initial funding amount]
30 days of the Effective Date of the
settlement)]




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                                       Exhibit A
          Grantor-Designated Individuals Authorized for Orders, Requests, and
                                  Instructions

[Grantor to insert person(s) (and relevant contact information) designated to
provide/make orders, requests, and instructions to the Trustee pursuant to Section
[13] of trust agreement]




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                    APPENDIX J
         Community Relations Plan
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      May 13, 1999

      Ms. Rachell Maricq
      California Environmental Protection Agency
      Department of Toxic Substances Control
      700 Heinz Avenue, Suite 200
      Berkeley, CA 94 710

       Subject:                Coast Wood Preserving, Ukiah, California
                               RAP Amendment

       Dear Ms. Maricq:

       This letter serves to transmit the draft revised Community Relations Plan (CRP) for the
       Coast Wood Preserving (CWP) site. As discussed in my phone message to you, we
       understand that Allan Lui of DTSC submitted information to the DTSC CEQA staff on
       Apri126, 1999 for a negative declaration regarding the proposed Amendment to the
       Remedial Action Plan prepared for the site. We are also in the process of preparing a fact
       sheet, which provides information about the site and the proposed RAP Amendment and
       announces the required 30 day comment period. The draft fact sheet should be available
       next week for your review.

       Please coordinate the schedule of your review of these documents with Robert Feather of
       DTSC. Please call either Bob Schmidt of CWP at (209) 632-9931 or me at (925) 975-
       3436 if you have any questions or comments.




  :    c:               Jan Goebel, RWQCB
                        Penny McDaniels, USEPA
                        Jim Rouse, Montgomery Watson
                        CWP




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             Walnut Creek, Cahforma
             !l4!i!l}
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                            Coast Wood Preserving Site
                                 Ukiah, California



                             Community Relations Plan



                                 Revised May 12, 1999




                                     Prepared for:
                                Coast Wood Preserving
                                  Ukiah, California




                                     Prepared by:
                                 Montgomery Watson
                             .  1340 Treat Blvd., #300
                             Walnut Creek, California 94596
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1.0     INTRODUCTION

This revised Community Relations Plan (CRP) describes the community relations program
that Coast Wood Preserving, Inc. (CWP) plans to implement during the Remedial Action
(site cleanup) activities at the Coast Wood Preserving (Coast Wood) site in Ukiah,
California. The purpose of the community relations program is to inform community
members and other interested persons about the cleanup process, as well as to encourage
communication between the Ukiah community, the regulatory agencies, and CWP. The
State of California Department of Substance Control (DTSC) is overseeing the remedial
action and will oversee community relations activities at the site. The Regional Water
Quality Control Board (RWQCB) North Coast Region is also involved with site cleanup,
surface water and groundwater monitoring and sampling.

The original Community Relations Plan was based on information gathered in interviews
with representatives of the City of Ukiah, Mendocino County, local businesses,
community groups, and interested citizens. These interviews were conducted in Ukiah in
1uly 1987. This revised plan incorporates site historical information and provides
updated information regarding the current site activities and plans.

Also included in this plan are two appendices: Appendix A is an updated mailing list for
the site that includes community members, elected officials, and agency representatives.
Appendix B provides the locations for information repositories and public meetings to be
held in Ukiah.

The DTSC contact for the site is Robert Feather. He can be reached by telephone at
(510) 540-2122. The RWQCB contact for the site is Jan Goebel. She can be reached by
telephone at (707) 576-2220.


2.0     SITE HISTORY

The Coast Wood site is located in Medndocino County, California, approximately two
miles south of the city of Ukiah (see Figure 1). The site is bounded by U.S. highway 101
on the west, Taylor Drive on the east, Plant"Road on the north, and by agricultural lands
to the south. The Coast Wood site is approximately one-half mile west of the Russian
River. The river supports major beneficial uses in Northern California, including
domestic water supplies, agricultural water supplies, fish habitats, wildlife habitats, and
recreation activities. Two tributaries of the Russian River flow through the Coast Wood
facility.

The primary activity at the Coast Wood facility is wood preserving. Since 1971, Coast
Wood has been treating timber products with a preservative comprised of sodium
dichromate, copper sulfate, and an arsenic acid commonly known as CCA. In May of
1999, CWP switched to using a premix of CCA oxides instead of the aforementioned
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chemical salts. Wood is pressure-treated with CCA and then stored on-site along with
wastes from the treatment process and treatment chemicals.

Regulatory agencies have been involved in activities at the Coast Wood site since the
early 1970's. In April 1972, the RWQCB first established waste discharge requirements
for Coast Wood. The requirements prohibited Coast Wood from discharging wood
treatment chemicals to surface or groundwater. Just before establishing these
requirements, the RWQCB issued a Cleanup and Abatement Order to Coast Wood
requiring it to stop discharges of chromium, copper, and arsenic that had been observed
in storm water runoff. In January 1973, the Mendocino County Superior Court ordered
Coast Wood to provide enough storage space to retain any contaminated rainwater
runoff. Coast complied with this order by paving areas where lumber dripped, installing
a storage tank and recycling system, and expanding waste and chemical storage areas.

The Coast Wood facility expanded significantly in the mid-1970s. Sampling by the
RWQCB in the winter of 1980-81 indicated that wood treating chemicals were again
being discharged to surface water. Concerned that these discharges might have
contaminated groundwater supplies, the RWQCB requested Coast Wood to develop a
plan for investigating possible groundwater contamination. In March 1981, the RWQCB
established a schedule of interim action for Coast Wood to take in order to stop the
release of contamination to surface and groundwater. In September 1981, Coast Wood
submitted a study that reported chromium in monitoring wells under the plant.

The RWQCB referred the case to the State Attorney General in September 1981. Later
that year, the RWQCB used emergency cleanup funds to drill five wells beyond the site
property; results from these wells indicated that contamination also was present in off-site
locations. In December 1981, the Mendocino Superior Court ordered Coast Wood to
comply with the RWQCB order. The company installed a 300,000 gallon holding tank, a
system to collect water for reuse, and roofs over treated lumber storage areas.

From 1982 to 1987, Coast Wood conducted studies to determine more precisely the
extent of groundwater contamination. Reports submitted by Coast Wood to the RWQCB
and DTSC showed that soil and groundwater on the site property were contaminated with
chromium. A narrow plume of chromium in groundwater extending southeast in the
direction of the river was identified. Hexavalent chromium, the type of chromium
identified at the Coast Wood site, is less stable than other forms of chromium and also is
more toxic. While small amounts of chromium are essential to the human diet, exposure
to significant amounts of chromium can lead to skin irritation, and respiratory system
damage. The Environmental Protection Agency (EPA) and the International Agency for
Research on Cancer have determined that hexavalent chromium, when inhaled, can be a
human carcinogen. Chromium also is on the California list of chemicals known to cause
cancer or reproductive toxicity, developed by the Governor under the Safe Drinking
Water and Toxic Enforcement Act of 1986 (Proposition 65).

 In October 1983, Coast Wood constructed a slurry wall, an underground barrier, along
 the eastern boundary of the facility property to intercept the chromium plume. In
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addition, the entire facility has been paved with asphalt, and berms, designed to control
the flow of liquid within a specific area, have been installed at the site to catch all runoff
and storm water. This prevents contamination from exiting the site as surface runofff. In
1983, the Coast Wood site was listed on the federal National Priorities List (NPL).

In January 1984, after a public hearing, the RWQCB issued a Cleanup and Abatement
Order. Under the terms of the Order, Coast Wood submitted to DTSC a work plan for
cleaning up contaminated soils at the site. In June 1985, at the request of DTSC, the
RWQCB, and EPA, Coast Wood submitted a plan for controlling groundwater
contamination at the site. The agencies allowed Coast Wood to implement its plan. The
plan involves extracting groundwater and either a) recycling the water for use in wood
preserving operations, or b) treating it by an electrochemical process to reduce chromium
concentrations below detectable levels. After treatment, the water is reinjected into the
groundwater at the plant site. In addition, the plan called for the continued use of the
slurry wall to prevent the groundwater contamination plume from spreading.

During the 1980s, Coast Wood and the agencies worked to define the extent of
contamination in the site area and develop long-term cleanup solutions. Because the site
is being addressed by DTSC and EPA under both state and federal programs, the solution
to the problem must meet the requirements of the federal Comprehensive Environmental
Response, Compensation, and Liability Act (CERCLA, or "Superfund"). Progress at the
site also is being monitored by the National Oceanographic Atomospheric Administration
(NOAA), the California Department of Fish and Game, the Mendocino County Health
Department, and the City of Ukiah, who are concerned about the potential impact of
contamination on the Russian River. In the fall of 1987, Coast Wood submitted a
Remedial Action Plan (RAP), or long-term cleanup proposal, to the RWQCB, DTSC, and
EPA. The draft RAP was submitted to the public for a thirty-day review and comment
period.

The final, approved Remedial Action Plan (Geosystem, 1989) includes the aforementioned
abatement measures such as controlling storm water run-off and reusing process water, as
well as active remediation in the form of extraction and subsequent treatment of groundwater
(pump and treat). CWP has implemented all of the remedial action elements prescribed by
the RAP with the exception of on site treatment of impacted soils using best available
technology. When the RAP was approved in 1989, soil remediation was to be evaluated
upon termination of the wood treating operations because it was deemed technically
impractical to fully address soil while the plant continues to operate. Currently the plant is
still in operation, and no closure date has been forecast by CWP.



3.0     CURRENT SITE STATUS

The remedial measures referenced above have been effective in limiting further impact to the
soils and groundwater at the site by the continuing wood preservation operations. The most
effective measures have been the abatement measures which have significantly limited the
potential for further impact to the subsurface. In addition, the slurry cut-off wall in
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conjunction with groundwater extraction has caused a marked decrease in the extent of the
plume. A comparison of the size of the plume from January 1986 to November 1998
illustrates a decrease of approximately 60 percent. The effectiveness of the remedial
measures on reducing the mass/concentration of dissolved chromium is not as dramatic or
obvious. A review of the available data shows fluctuations in the reported concentrations of
up to an order of magnitude.

CWP has proposed to amend the RAP and the existing site cleanup activities using recent
technology enhancements for the treatment of chromium in soil and groundwater. The
proposed Remedial Action Plan Amendment, (Montgomery Watson, 1999) addresses
technology enhancements that can address groundwater impacts as well as soil impacts at the
site while the plant is in operation.

This Community Relations Plan has been revised and updated in consideration of public
involvement during the approval process of the RAP Amendment.


4.0     COMMUNITY BACKGROUND


4.1     Community Profile

The Coast Wood site is located just south of the City of Ukiah in Mendocino County,
California. The Mendocino County area has traditionally relied on lumber and
agriculture for its economic base. Tourism is also important to the area's economy. The
area around Ukiah, the County seat, has a population of about 30,000 people. Coast
Wood is one of many lumber facilities in the Ukiah area.

According to local officials and community members, awareness of environmental issues
in Mendocino County is fairly high. Many County residents work in the lumber and
agriculture industries. In addition, the County has an active group of environmentalists
who have established an Environmental Center in Ukiah.



4.2      History of Community Involvement

According to the original CRP, community involvement at the Coast Wood site began
with several Regional Board hearings held periodically between 1981 and 1986. In that
time period a number of people from the Ukiah area telephoned and wrote letters to the
Regional Board expressing concern about the contamination problems at the site and
potential impacts on the Russian River. A few Ukiah residents attended the Board
hearings, most of which were held about sixty miles south of Ukiah in Santa Rosa. In
addition, water purveyors and cities south (downriver) from Coast Wood submitted
letters to the Regional Board and attended hearings to express their concern about the
impact of contamination on water quality in the Russian River.
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In the summer of 1986, the Mendocino County Planning Department received inquiries
about the Coast Wood site from the Ukiah Board of Realtors (UBR). A representative
from the UBR reports becoming aware of the site when a local realtor was informed that
construction in the immediate area of the site was restricted. In an effort to learn more
about this reported building restriction and its ramifications on realtors in terms of
disclosure requirements to potential property buyers, the UBR contacted the Planning
Department. The Planning Department in turn contacted DTSC in Sacramento to find out
more about the notification procedures that must be followed when a permit is filed.
After exchanging letters and telephone calls for several months, Planning Department
representatives and the Board of Realtors participated in a company-sponsored tour of the
Coast Wood facility.

County officials reported having received inquiries about the Coast Wood site during the
period that the site has been under regulatory agency review. Officials said that calls
were infrequent in the past few years.

Most individuals contacted in preparing the original CRP perceived that the Coast Wood
site has attracted relatively little attention in the community when compared with other
environmental issues in the County. An issue cited by several people contacted for this
plan occurred in 1985, when members of the Ukiah community opposed a proposal by
the city and the Northern California power Agency to build a turbine power plant in the
area. A coalition of individuals from civic and environmental groups requested that an
Environmental Impact Statement be prepared. The plant was eventually constructed
elsewhere. One of the outcomes of the power paint issue was the establishment by the
city of an electrical energy conservation committee that studied the economic impacts of
energy conservation practices in Ukiah. City officials report that the city is collecting
data to implement the study's recommendations in the future. Another outcome of the
power plant issue was the formation of Citizens for Adequate Review (CIFAR). This
citizens' action group is interested in helping the County examine and rewrite air
pollution regulations.

Other issues cited as important in the area by the people interviewed for the original CRP
included offshore oil drilling, clearcutting of forests, and spraying apple orchards with
pesticides to eliminate apple maggots. Environmental activists report that they are
concerned about potential contamination and groundwater problems at wood-treating
facilities throughout the county. The Regional Board reported that a survey conducted in
the Russian River area of facilities which might have use, stored, or disposed of toxic
chemicals had shown little interest in the Ukiah area, despite extensive public
participation efforts by the Board.

In recent years, most community involvement regarding the Coast Wood site has occured
when the RWQCB is reviewing changes to the plants permits.
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4.3     Key Community Issues and Concerns

The following community issues and concerns were expressed to DTSC representatives
in interviews with local government officials, agency representatives, members of
community groups, and residents as part of preparation of the original CRP. The issues
and concerns presented here provide the basis for the next section: Highlights of the
Community Relations Program at the Coast Wood Site.

        •    Potential impact of contamination on the Russian River and surrounding
             areas. The Russian River is the drinking water source for about one-half
             million people in Mendocino and Sonoma counties. In addition, the river is
             used for agriculture, recreational purposes, and food sources. Since the
             Regional Board issued its first Enforcement Order to Coast Wood in 1981,
             community members, government agencies, and downstream water purveyors
             and jurisdictions have written letters and attended meeting to express their
             concern about the possibility of contamination from the Coast Wood site
             reaching the river. Some agency officials contacted during preparation of the
             plan expressed a lesser degree of concern about the potential impact of
             contamination on residences and orchards located near the site. Individuals
             who have a working knowledge of actions taken to date to stop the
             contamination are pleased that measures have been taken to mitigate the
             problem, although some community members expressed concern about the
             effectiveness of these measures.

        •    Need for more information about the Superfund program and how it relates to
             the Coast Wood site. The Coast Wood site is the first Superfund site in the
             County. Most people in Ukiah, including elected officials, agency
             representatives, and community members, expressed interest in learning more
             about the Superfund program and process. Environmental and civic groups,
             County agencies, elected officials, and business organizations had questions
             for DTSC representatives about the timeframe for site cleanup, the roles and
             responsibilities of involved agencies and parties, requirements for disclosure
             and future liability associated with Superfund sites, and other Superfund site
             with similar problems in the State.

             Many individuals contacted in preparation of the original CRP expressed the need
             for better information about the site. These people said they were unsure about
             the precise nature of the problem and any threats posed by the site to public
             health. Some representatives from government agencies and environmental
             groups said they had encountered difficulty in the past in obtaining information
             about the site from DTSC and the Regional Board.

         •   Impact of the site on economic development. Some members of the business
             community said that their level of concern about the site, which is presently low,
             would likely increase should the site have adverse effects on the area's economy.
             These individuals pointed out that Coast Wood, while important to the local
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             economy, is not a primary employer in the area; they added that if the site were
             one of the larger lumber companies in Ukiah, the level of concern would be
             significantly greater.

        •    Effectiveness of cleanup measures and their impact on the environment. Elected
             officials and members of environmental organization had questions about how the
             water collection system that Coa~t Wood has installed at the site works. Several ·
             people questioned the effectiveness of the system. In particular, environmentalists
             wondered whether the electro-chemical process to remove contaminants from
             runoff and waste water creates air pollution problems by releasing the
             contaminants into the air. These people believed that the process involved an air
             stripping tower.

        •    Impact of Proposition 65 on site cleanup standards. A representative of one
             elected official asked how Proposition 65, a ballot initiative approved by
             California votes in November 1986, will impact cleanup at the site. Proposition
             65 requires the establishment of cleanup standards for a list of chemicals
             established by the governor. This individual questioned what the cleanup target
             levels for heavy metals would be at Coast Wood.


5.0     COMMUNITY RELATIONS PROGRAM

Regulatory agencies have been working with Coast Wood for several years to address the
contamination problems at the site. The community relations program addresses the
concerns expressed by the Ukiah community and neighboring jurisdictions while informing
the community about upcoming site-related issues and activities. Keeping this information in
mind, the primary objective of the community relations program for the site will be to
establish three-way communication between Coast Wood, agency project staff and
community members. Other objectives include informing the community about the
Superfund process and the Coast Wood site, and providing accurate, timely and easily-
accessible information about site-related activities to interested community members. These
objectives, and the actions that will be taken to fulfill them, are described below.



5.1      Community Relations Objectives

         •   Establish three-way communication between Coast Wood agency project staff
             and community members. An integral part of the Superfund program is to
             establish a dialogue between the community potentially affected by or interested
             in a Superfund site and the agency staff and others involved in the investigation
             and subsequent cleanup of the site. The first step in ensuring that such
             opportunities for dialogue occur at the Coast Wood site was the community
             assessment interviews that were the basis for developing the original CRP. DTSC
             will continue this dialogue by responding to information needs identified.
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            CWP will hold public meetings as required by law whenever changes occur with
            respect to the remedy being implemented at the site. In addition, the State
            requires that the draft RAP amendment be available for public review for a
            minimum of 30 days. The RAP amendment will be placed in the information
            repository.

        •   Inform the community about the Superfund process and the Coast Wood site.
            DTSC will provide the community with basic information about the State Toxics
            program such as how the program is funded, and the steps involved in site
            investigation and cleanup. DTSC also will provide the community with a
            description of site activities and a summary of the regulatory agency actions. This
            information can be included in a fact sheet that will be distributed to the
            community prior to the release of the draft RAP amendment for public comment.

            As the cleanup proceeds, the community will be provided with information
            updates. All informational materials will be mailed to individuals on the mailing
            list that has been established for the site. Informational materials and site-related
            documents also will be placed in the information repository located in the
            Mendocino County library in Ukiah.

            Because the Ukiah community has an awareness of and interest in environmental
            issues, it is expected that community members may have questions not directly
            related to the Coast Wood site. DTSC representatives will be prepared to provide
            community members with available information on other environmental issues
            and topics. In addition, DTSC will refer questions it cannot answer to the
            appropriate individuals or agencies. Placing a list of such agencies and
            individuals in the site information repository will be important to the success of
            the community relations program for the Coast Wood site.

        •   Provide accurate, timely. and easily-accessible information about site-related
            activities to interested community members. In addition to preparing fact sheets
            and updates providing background information and site-related activities, site-
            related reports and documents will be made available to community members.
            All such materials will be placed in the information repository located in the
            Mendicino County library in Ukiah.



5.2     COMMUNITY RELATIONS ACTIVITIES

Recommended DTSC community relations activities for the Coast Wood site are listed below
as they correspond to remedial technical milestones. An overall schedule is provided in
Figure 2.
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       Technical Milestones                        Community Relations Activities

1. During the Remedial Investigation (Rl)    •   Establish mailing list
                                             •   Establish information repository
2. Upon Completion of Draft Remedial         •   Prepare fact sheet summarizing site
Action Plan (RAP)                                history, RI findings, draft RAP, and
                                                 Superfund program
                                             •   Provide public comment period on draft
                                                 RAP
                                             •   Announce availability of RAP and
                                                 public comment period through news
                                                 releases and community publications
                                             •   Hold public meeting to receive
                                                 comments on proposed alternatives
                                             •   Respond to comments received on draft
                                                 RAP

3. Upon Completion of Final RAP              •   Notify meeting participants and mailing
                                                 list of selected alternative
                                             •   Update information repository with
                                                 Final RAP
4. Prior to Implementation of RAP            •   Update mailing list
                                             •   Revise Community Relations Plan
5. During Remedial Action                    •   Maintain updated mailing list
                                             •   Revise Community Relations Plan to
                                                 address any changes to the remedial
                                                 action program                           i
                                                                                          I
                                             •   Hold public meetings to keep             I
                                                 community appraised of activities at the
                                                 site.



Shaded area reflects completed activities.
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                                                               Figure 2
                               Schedule of Community Relation Activities at the Coast Wood Preserving Site
                                                           Ukiah, California

                                                                            Technical Milestones

 Community Relations         During Remedial                   Upon Completion of Draft                  Upon Completion                    Future
     Activities              Investigation (RI)                   Remedial Action Plan                      of Final RAP                    Events
                                                                           (RAP)
Information Repository     ------------------------------------------------Reports included as available------------------------------------------
Mailing List               --------------------------------------------------------0 n going-----------------------------------------------------------
(update as needed)
Designate Central
Contact Person
Fact Sheets                                                                   X                                                               X
Updates                                                                                                            X                          X
Public Comment Period                                                         X                                                               X
(minimum 30 days)
Public Meeting                                                                X                                    X                          X
Responsiveness                                                                                                     X
Summary
Revise Community                                                                                                                              X
Relations Plan as needed
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                                      Appendix A
                        List of interested Parties and Contacts

A.    Federal Elected Officials

      Senator Dianne Feinstein                 415.536.6868
      525 Market Street Suite 3670
      San Francisco, CA. 94105

      Senator Barbara Boxer                    415.403.0100
      1700 Montgomery Suite 240
      San Francisco, CA. 94111

      House of Representatives -   1st   District
      Mike Thompson                             707.962.0933
      P 0 Box 2208
      Fort Bragg, CA. 95427

B.    State Elected Officials

      Senator- Chesboro                        707.468.8914
      P 0 Box 785
      Ukiah, CA. 95482

      Assemblywoman Virginia Strom Martin             916.319.2001
      104 West Church Street
      Ukiah, CA. 95482

C.    Local Officials

      Michael Delbar, Supervisor               707.463.4221

D.    State and Local Agencies

      City of Ukiah- Administration            707.463.6200

      Ukiah Valley Fire District
      1500 S. State Street
      Ukiah, CA. 94582

      County of Mendocino Environmental Health
      501 Low Gap Road, Room 1326
      Ukiah, CA. 94582
      John D. Rogers                   707.463.4466

      "Hazardous Materials" - Roger Foote             707.463.5425
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E..   Community Organizations

      CATS
      P 0 Box 1195
      Arcada, CA. 95518
      Patty Cleary

      Mendocino Environmental Center
      106 W. Standley Street
      Ukiah, CA. 94582
      Betty Ball

F.    Citizens and Other Interested Parties

      Sonoma County Water Agency              Mr. Harold Logsdon
      P 0 Box 11628                           Coast Wood Preserving, Inc.
      Santa Rosa, CA. 95406-1628              P 0 Box 1805
                                              Turlock, CA. 95381

      Cordes Langley                          Rick Thomasser
      Coast Wood Preserving                   Montgomery Watson
      P 0 Box 723                             1340 Treat Blvd., Suite 300
      Ukiah, CA. 94582                        Walnut Creek, CA. 94596

      Mitchell N amura                        Gene Pietila
      SANWABank                               Coast Wood Preserving
      444 Market Street, 23rd Floor           P 0 Box 723
      San Francisco, CA. 94111                Ukiah, CA. 94582

      Bart Van Voorhis                        Dan Thomas
      P 0 Box 311                             P 0 Box 748
      Redwood Valley, CA. 94570               Ukiah, CA. 94582

      Bob Schmidt                             Timothy McDonald
      Coast Wood Preserving, Inc.             Geological Technics, Inc.
      P 0 Box 1805                            2741 River Road
      Turlock, CA. 95381                      Modesto, CA. 95351-4907

      Julia Hicks
      Redwood Health Club
      3101 S. State Street
      Ukiah, CA. 94582
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 695 of 708


G.   Media

     Ukiah Daily Journal          468.3500
     P 0 Box 749
     Ukiah, CA. 94582
     Glenda Anderson

      Anderson Valley Advertisor 895.3016

H.    Regulatory Agencies

      US EPA
      Source Water Protection Section
      Drinking Water Protection
      Water Management Division
      75 Hawthorne Street
      San Francisco, CA. 94105
      Milton Moraly (W-6-3)
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 696 of 708




                                    Appendix B
               Suggested Information Repository and Meeting Locations


Suggested Information Repository

Mendocino County Library
105 N. Main Street
Ukiah, CA. 95482
707.463.4491
Contact: Pat Hunt, Reference Librarian


Suggested Meeting Locations

Mendocino County Health Department Confrence Room
880 N. Bush Street
Ukiah, CA 95482
707.463.4461
Contact: John D. Rogers
Capacity :    50 People


Little Theater
Ukiah High School
1000 Lone Gap Road
Ukiah, CA 94582
707.463.5253
Contact: Maricela Zamora
Capacity:      500-800 People
Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 697 of 708
~     MONTGOMERY WATSON




June 4, 1999

Mr. Mark Piros
California Environmental Protection Agency
Department of Toxic Substances Control
700 Heinz A venue, Suite 200
Berkeley, CA 94 710

Subject:                 Coast Wood Preserving, Ukiah, California
                         Final Proposed RAP Amendment

Dear Mr Piros:

This letter serves to transmit the final Proposed RAP Amendment ·for the Coast Wood
Preserving (CWP) site. As discussed, the document is being sent to the information
repositories for public comment between June 7 to July 6, 1999.

Also en~losed are copies of the Public Notice that will Post in the Ukiah Daily Journal on
Monday June 7, 1999 and the Fact Sheet that will be mailed to the approved mailing list
on June 4, 1999. The CWP site mailing list is also enclosed.

Please call either Bob Schmidt of CWP at (209) 632-9931 or me at (925) 975-3436 if you
have any questions or comments.




c:           Jan Goebel, RWQCB
             Penny McDaniels, USEPA
             Jim Rouse, Montgomery Watson
             CWP, Ukiah and Turlock Offices
             Pat Hunt, Mendocmo County Public Library Reference Desk


    Enclosures




       1340Treat81vd.                    Tel :925 933 2250             Servtng the World's Envtronmental Needs
       SUite300                          Fax 925 945 1760
       Walnut Creek, Cahfornta
       945!13
       Case 1:96-cv-06055-AWI-SAB Document 73 Filed 03/01/18 Page 698 of 708



                               FACT SHEET
                  COAST WOOD PRESERVING SUPERFUND SITE
                             UKIAH, CALIFORNIA
    CALIFORNIA ENVIRONMENTAL PROTECTION AGENCY                                   MAY1999

    COAST WOOD PRESERVING PROPOSES REMEDIAL
            ACTION PLAN AMENDMENT
Introduction                                       Site Background
This Fact Sheet provides information about         The CWP site is located at the intersection of
continued environmental cleanup activities at      Taylor and Plant Roads in the city of Ukiah
the Coast Wood Preserving (CWP) Site in            (see Figure l). CWP has used the site for wood
Ukiah, California. In response to improvements     preserving operations       utilizing copper,
in cleanup technologies and to enhance the         chromate and arsenic solutions since 1971.
cleanup actions at the site, CWP proposes to
amend the Remedial Action Plan (RAP)
established for the site.        The proposed
amendment        involves     incorporating    a
technology known as in-situ geochemical
fixation into the cleanup program at the site.

The original RAP was approved by the
California Environmental Protection Agency
Department of Toxic Substances Control
(DTSC) in September 1989. A 30-day public
comment period is required under the
California Environmental Quality Act before
DTSC can approve the proposed amendment to
the RAP. The public is encouraged to review
and comment on the proposed RAP
Amendment during the public comment period
from June l through July 1, 1999. A copy of
the RAP Amendment and other site reports is
available for review at the Ukiah Public            Figure 1: Site Location
Library. In addition, the public is invited to
attend a public meeting at the Ukiah               In the early 1980's, groundwater impacts
Community Center on June 23, 1999.                 related to these operations were observed.
                                                   Several phases of investigation and cleanup
                                                   have been conducted to characterize and
                                                   address impacts to soil and groundwater.
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Current Site Cleanup Activities                      impact of hexavalent chromium in groundwater
                                                     and soil at other wood preserving sites.
The selected cleanup activities as presented in
the RAP include abatement measures such as           This technology has been tested and
controlling storm water run-off and reusing          implemented at several sites in the United
collected water as process water, as well as         States and abroad. The technology includes the
active cleanup in the form of extraction and         use of a chemical reductant to reduce
treatment of groundwater. CWP is currently           hexavalent chromium, which is highly soluble
implementing the cleanup activities selected by      (therefore relatively mobile in groundwater}, to
the RAP with the exception of active treatment       trivalent chromium which is relatively
of the soils since CWP is still performing wood      insoluble. Additionally, hexavalent chromium
treatment operations.                                is considered toxic and carcinogenic, whereas
                                                     trivalent chromium is considered non toxic.
These cleanup activities have been effective in      The amount of chromium added to the soil by
limiting further impact to the soils and              the fixation of trivalent chromium is
groundwater at the site. In addition to the           insignificant when compared to background
groundwater extraction outlined above, CWP            (naturally occurring} levels of chromium and
installed a cutoff walVrecovery trench near the       does not represent a threat to human health or
southeastern (downgradient} boundary of the           the environment.
site to further limit the migration of impacted
groundwater.       These measures have been          Cleanup programs at other similar wood
effective in controlling the migration of            preserving sites in California are implementing
hexavalent chromium in the groundwater.              this technology under approval by the Regional
 However, the levels of hexavalent chromium          Water Quality Control Board (RWQCB) and
 detected in the groundwater remain relatively       the US EPA. Locally (North Coast RWQCB
 constant. Based on experience with similar          region), a cleanup program is being conducted
 sites underlain with inter-bedded fine-grained      at a wood treatment facility in Windsor,
 soil, the current actions will require many.years   California. The in-situ fixation technology
 to reach cleanup levels.                            was initiated at the site in 1996 in the shallow
                                                     groundwater and soil. There has been a
 In-Situ Geochemical Fixation                         reduction in the size of the area impacted by
                                                      hexavalent chromium in groundwater at this
 In-situ . (in place} geochemical fixation is a       site of approximately 75%~ The soil treatment
 proven and innovative technology for the             at the Windsor site has shown a similar effect.
 cleanup of chromium-impacted soil and
 groundwater. Experience with this technology         Conceptual Approach
 has shown a significant reduction in the time
 required to reach cleanup levels as compared to      Based on the geologic conditions encountered
 conventional pump and treat approaches alone.        at the CWP site, direct pressure injection of
 Chemically reducing the hexavalent chromium          reductant into impacted portions of the shallow
 in place allows the use of natural groundwater       groundwater zone is anticipated to provide the
 flow dynamics as well as naturally occurring         best results in achieving remedial objectives for
  physical processes to augment the cleanup of        groundwater. The existing pump and treat
  the soil and groundwater. This technology has       remedial action elements will continue as set
  shown a significant and lasting effect on the       forth in the RAP. The approach to address both
                                                      soil and groundwater impacts is discussed
                                                      below.
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                                                    chromium in the soil. The trivalent chromium
Soil                                                sorbed onto the soil is highly insoluble thus
Soil moisture (pore water) samples will be          eliminating the threat of continued groundwater
collected from locations which are reported to      impact. The residual chromium levels will
have elevated concentrations of chromium            pose no threat to human health or the
detected in the soil. If the results of these       environment.
samples indicate that there is mobile hexavalent
chromium within the vadose zone in the source         The existing downgradient extraction well will
areas, direct application of reductant into the       continue to be pumped to maintain hydraulic
vadose zone is the most successful method of          control of the plume and aide in dispersion of
treatment. Based on experience at similar             the reductant throughout the impacted area of
wood preserving sites, the most effective             the site. As the reductant front migrates
delivery method is via infiltration galleries.        through the aquifer from points of injection
These galleries are constructed by trenching          toward monitoring wells and the extraction
throughout the source area to approximately 3       · well, water quality parameters will be
feet in depth and backfilling the trenches with       monitored to evaluate cleanup progress.
permeable material, and .inflltrating reductant       Groundwater extraction will continue until
directly into the vadose zone. Due to active          chromium concentrations decline to below the
wood treatment operations, it may not be              applicable State of California Maximum
practical to install these galleries in certain       Contaminant Level (MCL) of 0.05 mg/L
areas of the site at this time.                       dissolved chromium.

Groundwater                                         Groundwater Monitoring
As stated above, direct injection of reductant
into impacted portions of the shallow               The routine groundwater monitoring and
groundwater zone is proposed. The direct            sampling program which CWP currently
injection will be accomplished using a              executes will continue as required by the
GeoprobeTM rig to push 3/4-inch injection pipes     RWQCB. Additionally, prior to beginning the
to a target depth (approximately 15 feet) at        direct injection, as a baseline, groundwater
each location (actual locations to be determined    samples will be collected from all appropriate
based on site conditions). At each location, the    onsite monitoring wells. The groundwater
pipes will be withdrawn 5 feet and a calculated     samples will be analyzed for total dissolved
volume of reductant will be injected using a        chromium and sulfate. After the injection
piston pump. Following the reductant, a             event, select wells will be sampled monthly and
calculated volume of water will be injected at      quarterly. Six months and one year following
each of the locations to assist in dispersing the   the injection event, all the appropriate wells on
reductant solution. Once injected, the reductant    site will be sampled again.
will come into contact with residual hexavalent
chromium and achieve reduction of hexavalent        Lysimeters installed to evaluate the presence of
chromium to the trivalent form, followed by the     residual hexavalent chromium in soil moisture
sorption of the trivalent chromium onto soils in    in the vadose zone will be sampled quarterly
the groundwater zone. The amount of trivalent       during the first year after installation.
chromium that will sorb onto the soil is            Continued monitoring will be based on the
estimated to increase chromium concentrations       results. Samples will be collected for total
by approximately 5% in comparison to the .          dissolved chromium analysis.
existing background values of trivalent
California Environmental Protection Agency
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Derpartment of Toxic Substances Control
700 Heinz Avenue, Suite 200
Berkeley, CA 94710




                                                lPiace Address Label Here!




      ----------------------------------------------------~old Here----------------------------------------------~----------




 The public is invited to attend              For More Information or to                    PUBLIC MEETING
 a meeting regarding proposed                 Comment Contact:
 changes to the environmental                                                               June 23, 1999
 cleanup program at the Coast                 California Environmental                      7:00PM
 Wood Preserving Superfund                    Protection Agency
 Site in Ukiah, California (see               Department of Toxic                            Mendocino County Health
 details inside). The changes are             Substances Control                             Department Conference Room
 being proposed to enhance the                700 Heinz Avenue, Suite 200                    880 N. Bush Street
 current cleanup activities. All              Berkeley, CA 94710                             Ukiah, California 95482
 interested parties are                                                                      (707) 463-4461
 encouraged to attend.                        Robert ~eather
                                              Site Manager                                   INFORMATION
 In addition, a 30 day public                 (510) 540-3804L                                REPOSITORY:
 comment period from June 1-                                                                 (to review site reports)
 July 1, 1999 is being held by the            Rachell Maricq
 California Environmental                     Public Participation Coordinator               Mendocino County Public
 Protection Agency.                           (510) 540-3910                                 Library
                                                                                             105 N. Main Street
                                                                                             Ukiah, California 95482
                                                                                             (707) 463-4491
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                                    ~-------P_U_B_L_I_C_N_O_T_I_C_E________~I'

                                 PUBLIC COMMENT PERIOD AND PUBLIC MEETING
                                 PROPOSED REMEDIAL ACTION PLAN AMENDMENT
                                                  ANDA
                                      PROPOSED NEGATIVE DECLARATION

                                          Coast Wood Preserving Superfund Site
                                         Plant and Taylor Roads, Ukiah, California

The California Environmental Protection Agency, Department of Toxic Substances Control (DTSC), requests public comments
on proposed documents relating to remediation activities at the Coast Wood Preserving Superfund Site in Ukiah, California.
These activttles include soil and groundwater cleanup related to impacts from wood treatment operations at the site.

     The proposed documents are:

      •   A proposed Remedial Action Plan (RAP) Amendment, which proposes to add a technology known as in-siw
          geochemical fixation into the cleanup program at the site. The cleanup plan (RAP) was approved in 1989 and has
          been implemented since that time.

     •    A proposed Negative Declaration, prepared by DTSC under the provisions of the California Environmental Quality
          Act. The proposed Negative Declaration finds that implementing the RAP Amendment would not result in
          significant adverse environmental impacts.

DTSC will accept comments on these documents during a public comment period, which begins on June 7, 1999, and ends on
July 6, 1999. All written comments should be sent to Mark Piros, DTSC Project Manager at the address shown below:

The full Administrative Record pertaining to this matter is avmlable for public review at the DTSC File Room located at:

                                         California Environmental Protection Agency
                                  Department of Toxic Substances Control (DTSC), Region 2
                                 700 Heinz Avenue, Suite 200, Berkeley, California 94710-2737
                                                        (510) 540-3800

You can review the proposed RAP Amendment and proposed Negative Declaration, along with other site-related documents at
the address above or at the following location:

                                             Mendocino County Public Library
                                                     105 N. Main Street
                                                      Ukiah, CA 95482

A public meeting will be held on June 23, 1999 at the Mendocino County Board of Supervisors - Board Chambers- 50 I Low
Gap Road, Ukiah at 7:00PM to discuss the proposed RAP Amendment and Negative Declaration and to receive public
comments. All interested parties are encouraged to attend.

At the close of the public comment period, DTSC wtll carefully consider all publtc comments received and make a final
decision on the proposed RAP Amendment and proposed Negative Declaration. All commentors wtll be notified of the
decision and wtll receive a copy of the response to comments. A copy of the response to comments wtll also be available tn
the information repositories at the above addresses.

If you have any questtons regardtng thts project please contact etther Mark Ptros, Project Manager at (51 0)540-3832 or
Rachelle Maricq, Public Partictpation Coordinator at (51 0)540-391 0.
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                     COAST WOOD PRESERVING
                       UKIAH, CALIFORNIA

                     FACT SHEET MAILING LIST
                                                                                            51 Mailing Labels

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Rebt~cca .Hull                        Ron Baker                                John Kopchik
                                      Csi/EPA DTSC Sacramento Ofc.             Contra Costa Co. Fish &WiJdflfe em
348 Harris Avenue •                   10151 Croydon Way                        651 Pine Street. North Wmg, 4th R
Rodeo, CA 94572 •                     Sacramento, CA 95827                     Martinez. CA 94553-0095


AmadorUma                              Larry Woodson                           Jane Williams
                                       CaVEPA DTSC Sacramento Ofc.             Desert Citizens Against PoUutlon
5630 Airtine Highway                   10151 Croydon Way                       3813 50th Street West
Hollister, CA 95023                    Sacramento. CA 95827                    Rosamond, CA 93560



William Travis                         Vidor Weisser                           David Roe
BCDC                                   Calif. Council far Env. & Eco. Bal.     Environmental Defense Fund
30 Van Ness Avenue, #2011              100 Spear Street, #805                  5655 College Avenue, #304
San Francisco, CA 94102                San Francisco, CA 94105                 Oakland, CA 94618
                                                    '

 Steve DeYoung                                                                 Diane Takvorian
 Bechtel                               Cslif. Dept. of Fish and Game           Environmental Health Coalition
 50 Beale Street 45126/A11             P.O. Box47                              1717 Kettner Boulevard, Suite 100
 San Francisco, CA 94105-1895          Yountville, CA 94599                    San Diego, CA 92101-2532


 Mary Raftery                          Roger Pearson                           Bradley Angel
 CALPIRG Legislative Advocate          Calif. Environmental Insider            Greenaction
 926 J Street, Suite 713               689 Santa Rosa Avenue                   915 Cold Street, P.O. Box 249
 Sacramento, CA 95814                  Berkeley, CA 94707                      San Francisco, CA94117


 BeaMcKamey                            Robert R. Treanor                        Bradley Angel
 CaVEPA DTSC Berkeley Ofc.             Calif. Fish & Game Commission            Greenaction
 700 Heinz Avenue, #200                1416 Ninth Street. Room 1207-5           915 Cole Street. P.O. Box249
 Berkeley, CA 94710-2737               Sacramento, CA 95814                     San Francisco, CA 94117



  Carol Northrup                        Melanie Denninger                       Karen Susag
  CaVEPA DTSC Berkeley Ofc.             Cslif. State Coastal Conservation       Greenaction
  700 Heinz Avenue. #200                1330 Broadway, Suite 1100               915 Cole Street. P.0. Box 249
  Berkeley, CA 94710-2737               Oakland, CA 94612                       San Francisco, CA 94117


  James Stettler                        Phillip Banal                           Cherilyn Widell
  CsVEPA DTSC Duty Officer              Csltrans Distrid 4                      Historical Resources Commission
  700 Heinz Street Suite 200            P.O. Box 23660                          P.o. Box 942896
  Berkeley, CA 94710-2737               Oakland, CA 94623-0600                  Sacramento, CA 94296


   Pat Grim                             Florence LaRiviere                       Natural Resources Chair
   CaVEPA DTSC Legislation              Cit. Comm. to Complete the Refuge        League of Women Voters
   P.O. Box 806 HQ-14                   453 Tennessee Lane                       500 St. Mary's Road
   Sacramento. CA 95812                 Palo Alto, CA 94306                      Lafayette, CA 94549


   Jim Marxen                            Julia May                               Anne Coombes
   CaVEPA DTSC Public Participation      Communities for a Better Environmen     League of Women Voters
   P.O. Box 806 HQ-15                    500 Ho'ward Street, #506                65 Avalon Drive
   Sacramento, CA 95812                  San Francisco, CA 94105-3000            Los Altos. CA 94022



Cai/EPA, DTSC                                           06/01/99                               Page No.
                                                                                       51   l\llaillng   LaDBIS


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The Monorable Dion S. Aroner         Bonnie Holmes                         ChuctcWhite
Member of the Assembly               Sierra Club                           Waste Management. Inc.
918 Parker Street                    1414 K Street, #300                   915 LStreet#1430
Berkeley, CA 9471~2571               Sacramento, CA 95814                  ~acramento, CA 95814



John Bors
Morrison Knudsen Corporation         State Clearinghouse
1 Market Plaza. Strt. Twr, Ste 400   1400-10th Street
San Francisco, CA 94105              Sacramento, CA 95814


James Bybee                          Calvin Womble
National Marine Fisheries Service    The Ellington Group
m Sonoma Avenue, Room 325            442 Post Street 8th Floor
Santa Rosa, CA 95404                 San Francisco, CA 94102


 Walburga Giguere                    Donald Preiser
 National Marine Fisheries Service   The Preiser Group VII
 3150 Paradise Drive                 893 Elizabeth Street
 Tiburon, CA 94920                   San Francisco, CA 94114



 Matt McCarron                        JodySparks
 PAC - Greater Oakland Diredor        Taxies Assessment Group
 250 Frank H. Ogawa Plaza, 2nd Fl.    P.O. Box 73620
 Oakland, CA 94612                    Davis, CA 95617-3620


 General Counsel Patton               Patricia Port
 Planning & Conservation League       U.S. Department of Interior
 926 J Street. Suite 612              600 Harrison Street. Suite 515
 Sacramento. CA 95814                 San Francisco, CA 94107-1376



  Loretta Barsamian                   Gwendolyn Eng
  RWQCB - SF Bay Region               U.S. EPA, Region 9
  1515 Clay Street, Suite 1400        75 Hawthorne Street
  Oakland, CA 94612                   San Franicsco, CA 94105


  Jane Kay
  San Francisco Examiner               U.S. Fish & Wildlife Service
  P.O. Box 7280                        3310 El Camino Avenue Suite 130
  San Francisco. CA 94120-7260         Sacramento, CA 95821-6340



                                       The Honorable Barbara Boxer
  Sequoia Audobon Society              United States Senate
  30 West 39th Avenue, #202            1700 Montgomery Street, Suite 240
  San Mateo, CA 94403                  San Franciso, CA 94111



   Liz Allen                           The Honorable Dianne Feinstein
   Sierra Club                         United States Senate
   394 Blaisdell                       525 Market Street. #3670
   Claremont, CA 91711                 San Francisco, CA 94105-2708



CaVEPA, DTSC                                         06/01/99                               Page No.              2
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Cordes Lan_g!ey                                   Mitchell Namura
Coast Wood Preserving                             SANWABank
POBox 723                                         444 Market Street. 23rd Floor
Ukiah. CA. 94582                                  San Francisco, CA. 94111



Mitchell Namura                                   Gene Pietila
SANWABank                                         Coast Wood Preserving
444 Market Street, 23rd Floor                     POBox 723
San Francisco, CA. 94111                          Ukiah, CA. 94582



Bart Van Voorhis                                   Dan Thomas
PO Box 311                                         Alex R. Thomas & Co.
Redwood Valley, CA. 94570                          POBox748
                                                   Ukiah. CA. 94582



Bob Schmidt                                        Timothy McDonald
Coast Wood Preserving, Inc.                        Geological Technics, Inc.
P 0 Box 1805                                       27 41 River Road
Turlock, CA. 95381                                 Modesto, CA. 9535 1-4907



 Ukiah Solid Waste                                 Bev Sanders Reality
 3151 Taylor Drive                                 320 State Street
 Ukiah, CA 94582                                   Ukiah, CA 94582




 Peter Chevalier                                    Mendocino Transit Authority
 3551 Taylor Drive                                  241 Plant Road
 Ukiah, CA 95482                                    Ukiah, CA 94582




 Julia Hicks                                        Wardway Lumber
 Redwood Health Club                                240 Plant Road
 3101 S. State Street                               Ukiah, CA 94582
 Ukiah, CA. 94582                                   Richard Mattern
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Senator Dianne Feinstein                           Senator Barbara Boxer
525 Market Street Suite 3670                       1700 Montgomery Suite 240
San Francisco. CA. 94105                           San Francisco, CA. 94111




House of Representatives - 1st District
                                                   Senator- Wesley Chesboro
Mike Thompson
                                                   PO Box 785
P0Box2208
                                                   Ukiah, CA. 95482
Fort Bragg, CA. 95427




Assemblywoman Virginia Strom Martin
                                                   Michael Delbar, Supervisor
104 West Church Street
                                                   501 Low Gap Road. Room 1090
Ukiah, CA. 95482
                                                   Ukiah, CA 95482




City of Ukiah -Administration
                                                    Ukiah Valley Fire District
300 Seminary Avenue
                                                    1500 S. State Street
Ukiah, CA 95482
                                                    Ukiah, CA. 94582




 County of Mendocino Environmental Health           County of Mendocino Environmental Health
 501 Low Gap Road, Room 1326                        501 Low Gap Road, Room 1326
 Ukiah, CA. 94582                                   Ukiah, CA. 94582
 John D. Rogers                                     Hazardous Materials - Roger Foote



 CATS                                               Mendocino Environmental Center
 POBox 1195                                         106 W. Standley Street
 Arcata. CA. 95518                                  Ukiah, CA. 94582
 Patty Cleary                                       Linda McClure



 Sonoma County Water Agency                         Mr. Harold Logsdon
 POBox 11628                                        Coast Wood Preserving, Inc.
 Santa Rosa., CA. 95406-1628                        POBox 1805
                                                    Turlock, CA. 95381 ·
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US EPA                                             DTSC File Room
       Source Water Protection Section             700 Heinz Avenue .
       Drinking Water Protection                   Berkeley, CA 94710
       Water Management Division
       75 Hawthorne Street
       San Francisco, CA. 94105
       Milton Moraly (W-6-3)
California Regioncil Water Quality Control Board
       North Coast Region
       5550 Skylane Blvd. Suite A
       Santa Rosa, CA. 95403
       Jan Goebel
       (707) 576-2220
